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            EXHIBIT K
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                                                                  (Amendment to




   IEEE Standard for
   Telecommunications and information exchange between systems

   Specific requirements

   Part 11: Wireless LAN Medium Access Control
   (MAC) and Physical Layer (PHY) Specifications

   Amendment 4: Enhancements for Very High
   Throughput for Operation in Bands below 6 GHz


   Sponsor
   LAN/MAN Standards Committee
   of the
   IEEE Computer Society

   Approved 11 December 2013
   IEEE-SA Standards Board
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   Abstract: The purpose of this amendment is to
   network (WLAN) user experience by providing significantly higher basic service set (BSS)
   throughput for existing WLAN application areas and to enable new market segments for operation
   below 6 GHz including distribution of multiple multimedia/data streams.

   Keywords: 256-QAM, beamforming, IEEE 802.11                                                 MIMO, noncontiguous
   frequency segments, very high throughput, wider bandwidth




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    Introduction
        This introduction is not part of
        Telecommunications and information exchange be
                                          reless LAN Medium Access Control (MAC) and Physical Layer (PHY)
                                      Enhancements for Very High Throughput for Operation in Bands below 6 GHz.

    The purpose of this amendment is to improve the IEEE 802.11 wireless local area network (WLAN) user
    experience by providing significantly higher basic service set (BSS) throughput for existing WLAN
    application areas and to enable new market segments for operation below 6 GHz including distribution of
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    IEEE Standard for
    Telecommunications and information exchange between systems

    Specific requirements

    Part 11: Wireless LAN Medium Access Control
    (MAC) and Physical Layer (PHY) Specifications

    Amendment 4: Enhancements for Very High
    Throughput for Operation in Bands below 6 GHz


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    IEEE
    Std 802.11ac-2013          LOCAL AND METROPOLITAN AR


    3. Definitions, acronyms and abbreviations

    3.1 Definitions

    Delete the following definition from 3.1 (note that the definition is inserted with changes into 3.2):

    medium access control (MAC) management protocol data unit (MMPDU)


    Insert the following definitions into 3.1 in alphabetic order:

    aggregate medium access control (MAC) protocol data unit (A-MPDU) subframe: A portion of an A-
    MPDU containing a delimiter and optionally containing an MPDU plus any necessary padding.

    contiguous transmission: A transmission that uses only one frequency segment.

    downlink multi-user multiple input, multiple output (DL-MU-MIMO): A technique by which an access
    point (AP) with more than one antenna transmits a physical layer (PHY) protocol data unit (PPDU) to
    multiple receiving non-AP stations (STAs) over the same radio frequencies, wherein each non-AP STA
    simultaneously receives one or more distinct space-time streams.

    frequency segment: A contiguous block of spectrum used by a transmission.

    multi-user multiple input, multiple output (MU-MIMO): A technique by which multiple stations
    (STAs), each with one or more antennas, either simultaneously transmit to a single STA or simultaneously
    receive from a single STA independent data streams over the same radio frequencies.
                                               (DL) MU-MIMO. See DL-MU-MIMO.

    multi-user (MU) physical layer (PHY) protocol data unit (PPDU): A PPDU that carries one or more
    PHY service data units (PSDUs) for one or more stations (STAs) using the downlink multi-user multiple
    input, multiple output (DL-MU-MIMO) technique.

    noncontiguous transmission: A transmission that uses nonadjacent frequency segments.

    single-user (SU) physical layer (PHY) protocol data unit (PPDU): A PPDU with a format that is capable
    of carrying only a single PHY service data unit (PSDU), or no PSDU.


    3.2 Definitions specific to IEEE 802.11

    Change the following definitions in 3.2:

    20 MHz mask physical layer (PHY) convergence procedure (PLCP) protocol data unit (PPDU): A
    Clause 18 PPDU, a Clause 19 orthogonal frequency division multiplexing (OFDM) PPDU, or a Clause 20
    20 MHz high-throughput (HT) PPDU with the TXVECTOR parameter CH_BANDWIDTH equal to
    HT_CBW20 and the CH_OFFSET parameter equal to CH_OFF_20. The PPDU is transmitted using a 20
    MHz transmit spectral mask defined in Clause 18, Clause 19, or Clause 20. One of the following PPDUs:
        a)   A Clause 18 PPDU transmitted using the transmit spectral mask defined in Clause 18.
        b)   A Clause 19 orthogonal frequency division multiplexing (OFDM) PPDU transmitted using the
             transmit spectral mask defined in Clause 19.




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                                                                                                        IEEE
    FOR VERY HIGH THROUGHPUT FOR OPERATION IN BANDS BELOW 6 GHz                            Std 802.11ac-2013


       c)    A high-throughput (HT) PPDU with the TXVECTOR parameter CH_BANDWIDTH equal to
             HT_CBW20 and the CH_OFFSET parameter equal to CH_OFF_20 transmitted using the 20 MHz
             transmit spectral mask defined in Clause 20.
       d)    A very high throughput (VHT) PPDU with TXVECTOR parameter CH_BANDWIDTH equal to
             CBW20 transmitted using the 20 MHz transmit spectral mask defined in Clause 22.
       e)    A Clause 18 PPDU transmitted by a VHT STA using the transmit spectral mask defined in
             Clause 22.
       f)    A HT PPDU with the TXVECTOR parameter CH_BANDWIDTH equal to HT_CBW20 and the
             CH_OFFSET parameter equal to CH_OFF_20 transmitted by a VHT STA using the 20 MHz
             transmit spectral mask defined in Clause 22.

    20 MHz physical layer (PHY) convergence procedure (PLCP) protocol data unit (PPDU): A Clause 16
    PPDU, Clause 18 PPDU (when using 20 MHz channel spacing), Clause 17 PPDU, Clause 19 orthogonal
    frequency division multiplexing (OFDM) PPDU, or Clause 20 20 MHz high-throughput (HT) PPDU with
    the TXVECTOR parameter CH_BANDWIDTH equal to HT_CBW20 or Clause 22 20 MHz very high
    throughput (VHT) PPDU with the TXVECTOR parameter CH_BANDWIDTH equal to CBW20.

    40 MHz mask physical layer (PHY) convergence procedure (PLCP) protocol data unit (PPDU): One
    of the following PPDUs:
             1)   aA 40 MHz high-throughput (HT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal
                  to HT_CBW40) transmitted using the 40 MHz transmit spectral mask defined in Clause 20.;
             2)   aA 40 MHz non-HT duplicate PPDU (TXVECTOR parameter CH_BANDWIDTH equal to
                  NON_HT_CBW40) transmitted by a non-very-high-throughput (non-VHT) STA using the
                  40 MHz transmit spectral mask defined in Clause 20.; or
             3)   A 40 MHz non-HT duplicate PPDU (TXVECTOR parameter CH_BANDWIDTH equal to
                  CBW40) transmitted by a very high throughput (VHT) STA using the 40 MHz transmit
                  spectral mask defined in Clause 22.
             4)   a Clause 20 A 20 MHz HT PPDU with the TXVECTOR parameter CH_BANDWIDTH equal
                  to HT_CBW20 and the CH_OFFSET parameter equal to either CH_OFF_20U or
                  CH_OFF_20L transmitted using the 40 MHz transmit spectral mask defined in Clause 20.
             5)   A 20 MHz VHT PPDU with the TXVECTOR parameter CH_BANDWIDTH equal to CBW20
                  transmitted using the 40 MHz transmit spectral mask defined in Clause 22.
             6)   A 40 MHz VHT PPDU with the TXVECTOR parameter CH_BANDWIDTH equal to CBW40
                  transmitted using the 40 MHz transmit spectral mask defined in Clause 22.
             7)   A 40 MHz HT PPDU (TXVECTOR parameter CH_BANDWIDTH equal to HT_CBW40)
                  transmitted by a VHT STA using the 40 MHz transmit spectral mask defined in Clause 22.
             8)   A 20 MHz non-HT PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW20)
                  transmitted using the 40 MHz transmit spectral mask defined in Clause 20.
             9)   A 20 MHz non-HT PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW20)
                  transmitted by a VHT STA using the 40 MHz transmit spectral mask defined in Clause 22.

    The PPDU is transmitted using a 40 MHz transmit spectral mask defined in Clause 20 (High Throughput (HT)
    PHY specification).

    40 MHz physical layer (PHY) convergence procedure (PLCP) protocol data unit (PPDU): A 40 MHz
    high-throughput (HT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal to HT_CBW40), or a
    40 MHz non-HT duplicate PPDU (TXVECTOR parameter CH_BANDWIDTH equal to NON_HT_CBW40
    or TXVECTOR parameter CH_BANDWIDTH equal to CBW40) as defined in Clause 20, or a 40 MHz very
    high throughput (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW40).




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    high-throughput (HT) null data packet (NDP) announcement: A physical layer (PHY) convergence
    procedure (PLCP) protocol data unit (PPDU) that contains one or more +HTC frames (i.e., frames with an
    HT (high-throughput) Control field) that have the HT NDP Announcement subfield equal to 1.

    modulation and coding scheme (MCS): A specification of the high-throughput (HT) physical layer (PHY)
    parameters that consists of modulation order (e.g., BPSK, QPSK, 16-QAM, 64-QAM, and 256-QAM) and
    forward error correction (FEC) coding rate (e.g., 1/2, 2/3, 3/4, 5/6) and, depending on the context, the
    number of space-time streams.

    non-high-throughput (non-HT) duplicate: A transmission format of the physical layer (PHY) that
    duplicates a 20 MHz non-HT transmission in two adjacent or more 20 MHz channels and allows a station
    (STA) in a non-HT basic service set (BSS) on either channel any one of the 20 MHz channels to receive the
    transmission. A non-HT duplicate format is one of the following:
            1)   40 MHz non-HT duplicate: A transmission format of the PHY that replicates a 20 MHz non-
                 HT transmission in two adjacent 20 MHz channels.
            2)   80 MHz non-HT duplicate: A transmission format of the PHY that replicates a 20 MHz non-
                 HT transmission in four adjacent 20 MHz channels.
            3)   160 MHz non-HT duplicate: A transmission format of the PHY that replicates a 20 MHz non-
                 HT transmission in eight adjacent 20 MHz channels.
            4)   80+80 MHz non-HT duplicate: A transmission format of the PHY that replicates a 20 MHz
                 non-HT transmission in two frequency segments of four adjacent 20 MHz channels where the
                 two frequency segments of channels are not adjacent.

    non-high-throughput (non-HT) duplicate physical layer (PHY) convergence procedure (PLCP)
    protocol data unit (PPDU): A PPDU transmitted by a Clause 20 or Clause 22 physical layer (PHY) with
    the TXVECTOR FORMAT parameter equal to NON_HT and the CH_BANDWIDTH parameter equal to
    NON_HT_CBW40, CBW40, CBW80, CBW160, or CBW80+80.

    non-high-throughput (non-HT) physical layer (PHY) convergence procedure (PLCP) protocol data
    unit (PPDU): A Clause 20 or Clause 22 physical layer (PHY) PPDU with the TXVECTOR FORMAT
    parameter equal to NON_HT.

    payload protected (PP) aggregate medium access control (MAC) service data unit (A-MSDU): An
    A-MSDU that is protected with CTR with CBC-MAC Protocol (CCMP) or Galois Counter Mode Protocol
    (GCMP) but does not include the A-MSDU Present field (bit 7 of the QoS Control field) in the construction
    of the additional authentication data (AAD).

    per-frame sequence counter: For Temporal Key Integrity Protocol (TKIP), the counter that is used as the
    nonce in the derivation of the per-frame encryption key. For Counter mode with Cipher-block chaining
    Message authentication code Protocol (CCMP) or Galois Counter Mode Protocol (GCMP), the per-frame
    initialization vector (IV).

    robust-security-network-association- (RSNA-) capable equipment: A device that contains a station
    (STA) that is able to create RSNAs. Such a device might use pre-RSNAs because of configuration. Notice
    that RSNA-capable does not imply full compliance with the RSNA Protocol Implementation Conformance
    Statement (PICS). A legacy device that has been upgraded to support Temporal Key Integrity Protocol
    (TKIP) might be RSNA-capable, but is not compliant with the PICS if it does not also support Counter mode
    with Cipher-block chaining Message authentication code Protocol (CCMP) using CCMP-128.

    secondary channel: A 20 MHz channel associated with a primary channel used by high-throughput (HT)
    stations (STAs) for the purpose of creating a 40 MHz channel or used by very high throughput (VHT)
    stations (STAs) for the purpose of creating the primary 40 MHz channel.




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    signaling and payload protected (SPP) aggregate medium access control (MAC) service data unit
    (A-MSDU): An A-MSDU that is protected with CTR with CBC-MAC Protocol (CCMP) or Galois Counter
    Mode Protocol (GCMP) and that includes the A-MSDU Present field (bit 7 of the QoS Control field) in the
    construction of the additional authentication data (AAD).

    Insert the following definitions in 3.2 in alphabetic order:

    80 MHz mask physical layer (PHY) protocol data unit (PPDU): A PPDU that is transmitted using the
    80 MHz transmit spectral mask defined in Clause 22 and that is one of the following:
       a)    An 80 MHz very high throughput (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal
             to CBW80)
       b)    An 80 MHz non-high-throughput (non-HT)                duplicate   PPDU   (TXVECTOR    parameter
             CH_BANDWIDTH equal to CBW80)
       c)    A 20 MHz non-HT, high-throughput (HT), or VHT PPDU (TXVECTOR parameter
             CH_BANDWIDTH equal to CBW20)
       d)    A 40 MHz non-HT duplicate, HT, or VHT PPDU (TXVECTOR parameter CH_BANDWIDTH
             equal to CBW40)

    80 MHz physical layer (PHY) protocol data unit (PPDU): A Clause 22 80 MHz very high throughput
    (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW80) or a Clause 22 80 MHz non-
    high-throughput (non-HT) duplicate PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW80).

    160 MHz mask physical layer (PHY) protocol data unit (PPDU): A PPDU that is transmitted using the
    160 MHz transmit spectral mask defined in Clause 22 and that is one of the following:
       a)    A 160 MHz very high throughput (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH set to
             CBW160)
       b)    A 160 MHz non-high-throughput (non-HT)                duplicate   PPDU   (TXVECTOR    parameter
             CH_BANDWIDTH equal to CBW160)
       c)    A 20 MHz non-HT, high-throughput (HT), or VHT PPDU (TXVECTOR parameter
             CH_BANDWIDTH equal to CBW20)
       d)    A 40 MHz non-HT duplicate, HT, or VHT PPDU (TXVECTOR parameter CH_BANDWIDTH
             equal to CBW40)
       e)    An 80 MHz non-HT duplicate or VHT PPDU (TXVECTOR parameter CH_BANDWIDTH equal to
             CBW80)

    160 MHz physical layer (PHY) protocol data unit (PPDU): A Clause 22 160 MHz very high throughput
    (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW160) or a Clause 22 160 MHz
    non-high-throughput (non-HT) duplicate PPDU (TXVECTOR parameter CH_BANDWIDTH equal to
    CBW160).

    80+80 MHz mask physical layer (PHY) protocol data unit (PPDU): A PPDU that is transmitted using the
    80+80 MHz transmit spectral mask defined in Clause 22 and that is one of the following:
       a)    An 80+80 MHz very high throughput (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH
             set to CBW80+80)
       b)    An 80+80 MHz non-high-throughput (non-HT) duplicate PPDU (TXVECTOR parameter
             CH_BANDWIDTH set to CBW80+80)

    80+80 MHz physical layer (PHY) protocol data unit (PPDU): A Clause 22 80+80 MHz very high
    throughput (VHT) PPDU (TXVECTOR parameter CH_BANDWIDTH equal to CBW80+80) or a
    Clause 22 80+80 MHz non-high-throughput (non-HT) duplicate PPDU (TXVECTOR parameter
    CH_BANDWIDTH equal to CBW80+80).



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    bandwidth signaling transmitter address (TA): A TA that is used by a very high throughput (VHT)
    station (STA) to indicate the presence of additional signaling related to the bandwidth to be used in
    subsequent transmission in an enhanced distributed channel access (EDCA) transmission opportunity
    (TXOP). It is represented by the IEEE medium access control (MAC) individual address of the transmitting
    VHT STA but with the Individual/Group bit set to 1.

    basic service set (BSS) basic very high throughput (VHT) modulation and coding scheme (MCS) and
    number of spatial streams (NSS) set (BSS basic VHT-MCS and NSS set): The set of MCS and NSS
    tuples that are supported by all VHT stations (STAs) that are members of a VHT BSS.

    beamforming steering matrix: A matrix that describes the mapping of space-time streams to transmit
    antennas and for which the values have been determined using knowledge of the channel between
    transmitter and receiver with the goal of improving reception at the receiver.

    dynamic bandwidth operation: A feature of a very high throughput (VHT) station (STA) in which the
    request-to-send/clear-to-send (RTS/CTS) exchange, using non-high-throughput (non-HT) duplicate physical
    layer (PHY) protocol data units (PPDUs), negotiates a potentially reduced channel width (compared to the
    channel width indicated by the RTS) for subsequent transmissions within the current transmission
    opportunity (TXOP).

    end-of-frame (EOF) pad: The 0 to 3 octets used to pad an aggregate medium access control (MAC)
    protocol data unit (A-MPDU) to the last octet of the associated physical layer convergence procedure
    (PLCP) service data unit (PSDU) when the A-MPDU is carried in a very high throughput (VHT) physical
    layer (PHY) protocol data unit (PPDU).

    high-throughput (HT) beamformee: An HT station (STA) that receives an HT physical layer (PHY)
    protocol data unit (PPDU) that was transmitted using a beamforming steering matrix and that supports an
    HT transmit beamforming feedback mechanism as described in either 9.29.2 or 9.29.3.

    high-throughput (HT) beamformer: An HT station (STA) that transmits an HT physical layer (PHY)
    protocol data unit (PPDU) using a beamforming steering matrix.

    medium access control (MAC) management protocol data unit (MMPDU): The unit of data exchanged
    between two peer MAC entities, using services of the physical layer (PHY), to implement the MAC
    management protocol. The MMPDU is transported in one or more management MPDUs. The MMPDU
    might include a Mesh Control field or Management MIC element, but does not include a MAC header, an
    frame check sequence (FCS), or any other security encapsulation overhead.
                                   a position in the management plane similar to that of the MAC service data unit
    (MSDU) in the data plane. The MMPDU can be fragmented (under certain circumstances) and in that case is carried in
    multiple management MPDUs. This illustrates the similarity of the MMPDU to the MSDU.

    multi-user (MU) beamformee: A non-access-point (non-AP) station (STA) that receives a physical layer
    (PHY) protocol data unit (PPDU) that was transmitted using a multi-user beamforming steering matrix and
    that supports the very high throughput (VHT) transmit beamforming feedback mechanism with a VHT null
    data packet (NDP) Announcement frame that includes more than one STA Info field as described in 9.31.5.

    multi-user (MU) beamformer: An access point (AP) station (STA) that transmits a physical layer (PHY)
    protocol data unit (PPDU) using a multi-user beamforming steering matrix.

    non-bandwidth signaling transmitter address (TA): An address in the TA field of an medium access
    control (MAC) protocol data unit (MPDU) in which the Individual/Group bit has the value 0.

    non-high-throughput (non-HT): A modifier meaning neither high-throughput (HT) nor very high
    throughput (VHT).



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    non-primary channel: In a 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz very high throughput (VHT) basic
    service set (BSS), any 20 MHz channel other than the primary 20 MHz channel.

    physical layer (PHY) protocol data unit (PPDU): The unit of data exchanged between two peer PHY
    entities to provide the PHY data service. When the PHY is partitioned into physical layer convergence
    protocol (PLCP) and physical medium dependent (PMD) sublayers, the format of the PPDU is defined by
    the PLCP.

    primary 20 MHz channel: In a 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz very high throughput (VHT)
    basic service set (BSS), the 20 MHz channel that is used to transmit 20 MHz physical layer (PHY) protocol
    data units (PPDUs). In a VHT BSS, the primary 20 MHz channel is also the primary channel.

    primary 40 MHz channel: In an 80 MHz, 160 MHz, or 80+80 MHz very high throughput (VHT) basic
    service set (BSS), the 40 MHz channel that is used to transmit 40 MHz physical layer (PHY) protocol data
    units (PPDUs).

    primary 80 MHz channel: In a 160 MHz or 80+80 MHz very high throughput (VHT) basic service set
    (BSS), the 80 MHz channel that is used to transmit 80 MHz physical layer (PHY) protocol data units
    (PPDUs).

    primary access category (AC): The access category (AC) associated with the enhanced distributed channel
    access function (EDCAF) that gains channel access.

    secondary 20 MHz channel: In a 40 MHz very high throughput (VHT) basic service set (BSS), the 20 MHz
    channel adjacent to the primary 20 MHz channel that together form the 40 MHz channel of the 40 MHz
    VHT BSS. In an 80 MHz VHT BSS, the 20 MHz channel adjacent to the primary 20 MHz channel that
    together form the primary 40 MHz channel of the 80 MHz VHT BSS. In a 160 MHz or 80+80 MHz VHT
    BSS, the 20 MHz channel adjacent to the primary 20 MHz channel that together form the primary 40 MHz
    channel of the 160 MHz or 80+80 MHz VHT BSS. In a VHT BSS, the secondary 20 MHz channel is also
    the secondary channel.

    secondary 40 MHz channel: In an 80 MHz very high throughput (VHT) basic service set (BSS), the
    40 MHz channel adjacent to the primary 40 MHz channel that together form the 80 MHz channel of the
    80 MHz VHT BSS. In a 160 or 80+80 MHz VHT BSS, the 40 MHz channel adjacent to the primary 40 MHz
    channel that together form the primary 80 MHz channel.

    secondary 80 MHz channel: In a 160 MHz or 80+80 MHz very high throughput (VHT) basic service set
    (BSS), the 80 MHz channel not including the primary 20 MHz channel, that together with the primary
    80 MHz channel forms the 160 MHz or 80+80 MHz channel of the 160 MHz or 80+80 MHz VHT BSS.

    secondary access category (AC): An access category (AC) that is not associated with the enhanced
    distributed channel access function (EDCAF) that gains channel access.
                                   a secondary AC can be included in a multi-user (MU) physical layer (PHY) protocol
    data unit (MU PPDU) that includes traffic associated with the primary AC. There could be multiple secondary ACs at a
    given time.

    user: An individual or group of stations (STAs) identified by a single receive address (RA) in the context of
    single-user multiple input, multiple output (SU-MIMO) or multi-user multiple input, multiple output
    (MU-MIMO).

    very high throughput (VHT) basic service set (BSS): A BSS in which a Beacon frame transmitted by a
    VHT station (STA) includes the VHT Operation element.




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    very high throughput (VHT) beamformee: A VHT station (STA) that receives a VHT physical layer
    (PHY) protocol data unit (PPDU) that was transmitted using a beamforming steering matrix and that
    supports the VHT transmit beamforming feedback mechanism as described in 9.31.5.

    very high throughput (VHT) beamformer: A VHT station (STA) that transmits a VHT physical layer
    (PHY) protocol data unit (PPDU) using a beamforming steering matrix.

    very high throughput modulation and coding scheme (VHT-MCS): A specification of the VHT physical
    layer (PHY) parameters that consists of modulation order (e.g., BPSK, QPSK, 16-QAM, 64-QAM, 256-
    QAM) and forward error correction (FEC) coding rate (e.g., 1/2, 2/3, 3/4, 5/6) and that is used in a VHT
    PHY protocol data unit (PPDU).

    very high throughput (VHT) multi-user (MU) physical layer (PHY) protocol data unit (PPDU): A
    VHT PPDU with a format that is capable of carrying up to four PHY service data units (PSDUs) for up to
    four users and is transmitted using the downlink multi-user multiple input, multiple output (DL-MU-MIMO)
    technique.

    very high throughput (VHT) physical layer (PHY) protocol data unit (PPDU): A PPDU transmitted
    with the TXVECTOR parameter FORMAT equal to VHT.

    very high throughput (VHT) single medium access control (MAC) protocol data unit (VHT single
    MPDU): An MPDU that is the only MPDU in an aggregate MPDU (A-MPDU) carried in a VHT physical
    layer (PHY) protocol data unit (PPDU) and that is carried in an A-MPDU subframe with the EOF subfield of
    the MPDU delimiter field equal to 1.

    very high throughput (VHT) single-user-only (SU-only) beamformee: A VHT beamformee that does not
    receive VHT multi-user (MU) physical layer (PHY) protocol data units (PPDUs).

    very high throughput (VHT) single-user-only (SU-only) beamformer: A VHT beamformer that does not
    transmit VHT multi-user (MU) physical layer (PHY) protocol data units (PPDUs).

    very high throughput (VHT) single-user (SU) physical layer (PHY) protocol data unit (PPDU): A VHT
    PPDU transmitted with the TXVECTOR parameters FORMAT equal to VHT and GROUP_ID equal to 0 or
    63.


    3.3 Abbreviations and acronyms

    Change the following abbreviation in 3.3:

    PPDU                     PLCP protocol data unit or PHY protocol data unit

    Insert the following abbreviations into 3.3 in alphabetic order:

    BW                       bandwidth
    DL-MU-MIMO               downlink multi-user multiple input, multiple output
    EOF                      end-of-frame
    GCMP                     Galois Counter Mode Protocol
    GID                      group identifier
    MU                       multi-user
    MU-MIMO                  multi-user multiple input, multiple output
    NSS                      number of spatial streams
    STF                      Short Training field



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    SU                          single-user
    SU-MIMO                     single-user multiple input, multiple output
    VHT                         very high throughput




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    4. General description

    4.3 Components of the IEEE 802.11 architecture

    4.3.4 Distribution system (DS) concepts

    4.3.4.3 Robust security network association (RSNA)

    Change the first paragraph of 4.3.4.3 as follows:

    An RSNA defines a number of security features in addition to wired equivalent privacy (WEP) and
    IEEE 802.11 authentication. These features include the following:




                                           capsulation mechanisms, such as Counter mode with Cipher-block
            chaining Message authentication code Protocol (CCMP), Galois Counter Mode Protocol (GCMP),
            and, optionally, Temporal Key Integrity Protocol (TKIP).
                                        transition (FT) mechanism
                                                        anisms for robust management frames

    Insert the following subclause, 4.3.10a, after 4.3.10:

    4.3.10a Very high throughput (VHT) STA

    This subclause summarizes the normative requirements for an IEEE 802.11 VHT STA stated elsewhere in
    this standard.

    The IEEE 802.11 VHT STA operates in frequency bands below 6 GHz excluding the 2.4 GHz band.

    A VHT STA is an HT STA that, in addition to features supported as an HT STA, supports VHT features
    identified in Clause 8, Clause 9, Clause 10, Clause 13, Clause 18, and Clause 22.

    The main PHY features in a VHT STA that are not present in an HT STA are the following:




    The main MAC features in a VHT STA that are not present in an HT STA are the following:




            parameters CH_BANDWIDTH_IN_NON_HT and DYN_BANDWIDTH_IN_NON_HT) in a non-
            HT and non-HT duplicate RTS frame




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                                                            (pre-EOF) padding (see 9.12.2 (A-MPDU length
            limit rules)) of up to 1 048 575 octets


    Most VHT features, among other benefits, increase the maximum throughput achievable between two VHT
    STAs over that achievable using HT features alone. The VHT features are available to VHT STAs
    associated with a VHT AP in a BSS. A subset of the VHT features is available for use between two VHT
    STAs that are members of the same IBSS. Similarly, a subset of the VHT features is available for use
    between two VHT STAs that have established mesh peering. A subset of the VHT features is available for
    use between two VHT STAs that have established a TDLS link.

    The support for VHT transmit beamforming sounding and VHT MU PPDUs in a VHT AP and more than
    one VHT STA within a VHT BSS enables the optional use of downlink MU multiple input, multiple output
    (DL-MU-MIMO). With DL-MU-MIMO the AP can create up to four A-MPDUs, each carrying MPDUs
    destined for an associated MU-capable STA. The AP uses group identifiers (GIDs) to signal potential
    recipient STAs. The AP transmits the A-MPDUs simultaneously in separate space-time streams such that
    each recipient STA is able to demodulate the space-time streams carrying its A-MPDU. The simultaneous
    transmission of A-MPDUs in a single VHT MU PPDU provides a means to increase aggregate throughput
    over that achieved by sending the A-MPDUs in separate SU PPDUs.

    The use of certain HT features, such as RIFS, is not permitted for STAs operating as VHT STAs.


    4.5 Overview of the services

    4.5.4 Access control and data confidentiality services

    4.5.4.1 General

    Change the last paragraph of 4.5.4.1 as follows:

    An RSNA uses the IEEE 802.1X authentication service along with enhanced data cryptographic
    encapsulation mechanisms, such as TKIP, and CCMP, and GCMP to provide access control. The IEEE
    802.11 station management entity (SME) provides key management via an exchange of IEEE 802.1X
    EAPOL-Key frames. Data confidentiality and data integrity are provided by RSN key management together
    with the enhanced data cryptographic encapsulation mechanisms.

    4.5.4.7 Replay detection

    Change 4.5.4.7 as follows:

    The replay detection mechanism defines a means by which a STA that receives a data or protected Robust
    Management frame from another STA can detect whether the received frame is an unauthorized
    retransmission. This replay protection mechanism is provided for data frames for STAs that use enhanced
    data cryptographic encapsulation mechanisms. The replay protection mechanism is also provided for robust
    management frames for STAs that use CCMP, GCMP, and Broadcast/Multicast Integrity Protocol (BIP).

    4.5.4.9 Robust management frame protection

    Change the second and third paragraphs of 4.5.4.9 as follows:

    Management frame protection protocols in an infrastructure BSS or IBSS apply to robust management
    frames after RSNA PTK establishment for protection of individually addressed frames is completed and




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    after delivery of the IGTK to protect group addressed frames. Robust management frame protection is
    implemented by CCMP, GCMP, BIP, and the SA Query procedure.

    Management frame protection protocols in an MBSS apply to individually addressed frames after
    establishment of the RSNA MTK, and to group addressed frames indicated as
    in Table 8-38. Robust management frame protection is implemented by with CCMP and GCMP.


    4.9 Reference model

    4.9.1 General

    Insert the following paragraph after the first paragraph of 4.9.1:

    The description of the VHT PHY in Clause 22 is provided as one layer and is not separated into PLCP and
    PMD sublayers.




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    5. MAC service definition

    5.1 Overview of MAC services

    5.1.2 Security services

    Change the first, second, and fifth paragraphs of 5.1.2 as follows:

    Security services in IEEE Std 802.11 are provided by the authentication service and the CCMP, GCMP, and
    BIP mechanisms. The scope of the security services provided is limited to station-to-station data and robust
    management frame transmissions. When CCMP or GCMP is used, the data confidentiality service is
    provided for data frames and individually addressed robust management frames. For the purposes of this
    standard, CCMP and GCMP are is viewed as a logical services located within the MAC sublayer as shown
    in the reference model, Figure 4-14 (in 4.9). Actual implementations of CCMP and GCMP are transparent to
    the LLC and other layers above the MAC sublayer.

    The security services provided by CCMP and GCMP in IEEE Std 802.11 are as follows:
       a)    Data Confidentiality;
       b)    Authentication; and
       c)    Access control in conjunction with layer management.

    BIP provides message integrity and access control for group addressed robust management frames.

    During the authentication exchange, both parties exchange authentication information as described in Clause
    11 and Clause 12.

    The MAC sublayer security services provided by CCMP, GCMP, and BIP rely on information from
    nonlayer-2 management or system entities. Management entities communicate information to CCMP,
    GCMP, and BIP through a set of MAC sublayer management entity (MLME) interfaces and MIB attributes;
    in particular, the decision tree for CCMP, GCMP, and BIP defined in 11.8 is driven by MIB attributes.


    5.2 MAC data service specification

    5.2.2 MA-UNITDATA.request

    5.2.2.2 Semantics of the service primitive

    Change the fifth paragraph of 5.2.2.2 as follows:

    The data parameter specifies the MSDU to be transmitted by the MAC sublayer entity. For IEEE Std 802.11,
    tThe length of the MSDU shall be less than or equal to the value shown in Table 8-0aTable 8-13c.




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    6. Layer management

    6.1 Overview of management model

    Insert the following paragraph after the third paragraph of 6.1:

    The description of the VHT PHY in Clause 22 is provided as one layer and is not separated into PLCP and
    PMD sublayers.


    6.3 MLME SAP interface

    6.3.3 Scan

    6.3.3.3 MLME-SCAN.confirm

    6.3.3.3.2 Semantics of the service primitive

    Insert the following rows at the end of the untitled table describing BSSDescriptions in 6.3.3.3.2:

         Name                Type           Valid range                Description                IBSS adoption
    VHT Capabilities    As defined in   As defined in         The values from the VHT          Do not adopt
                        frame format    8.4.2.160             Capabilities element. The
                                                              parameter is present if
                                                              dot11VHTOptionImplemented
                                                              is true and a VHT Capabilities
                                                              element was present in the
                                                              Probe Response or Beacon
                                                              frame from which the
                                                              BSSDescription was
                                                              determined. The parameter is
                                                              not present otherwise.
    VHT Operation       As defined in   As defined in         The values from the VHT          Adopt
                        frame format    8.4.2.161             Operation element. The
                                                              parameter is present if
                                                              dot11VHTOptionImplemented
                                                              is true and a VHT Operation
                                                              element was present in the
                                                              Probe Response or Beacon
                                                              frame from which the
                                                              BSSDescription was
                                                              determined. The parameter is
                                                              not present otherwise.

    6.3.4 Synchronize

    6.3.4.2 MLME-JOIN.request

    6.3.4.2.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.4.2.2 as follows:

    The primitive parameters are as follows:
      MLME-JOIN.request(
                                               SelectedBSS,
                                               JoinFailureTimeout,
                                               ProbeDelay,
                                               OperationalRateSet,
                                               HTOperationalMCSSet,



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                                                  OperationalVHTMCS_NSSSet,
                                                  VendorSpecificInfo
                                                  )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.4.2.2:

             Name                      Type                 Valid range                        Description
      OperationalVHTMCS        Set of <VHT-MCS,         As defined in the Rx    The set of VHT-MCS values for each
      _NSSSet                  NSS> tuples, con-        VHT-MCS Map and         number of spatial streams that the STA
                               strained so that the     Rx Highest Sup-         desires to use for communication within the
                               MCS values are           ported Long GI Data     BSS. This set is a superset of the <VHT-
                               expressible using the    Rate subfields in the   MCS, NSS> tuples in the BSS basic VHT-
                               encoding described for   Supported VHT-MCS       MCS and NSS set (see 10.39.7).
                               the Supported VHT-       and NSS Set field in
                               MCS and NSS Set          8.4.2.160.3             The parameter is present if
                               field in 8.4.2.160.3                             dot11VHTOptionImplemented is true and
                                                                                not present otherwise.

    6.3.4.2.4 Effect of receipt

    Insert the following paragraph at the end of 6.3.4.2.4:

    If the MLME of a VHT STA receives an MLME-JOIN.request primitive with a SelectedBSS parameter
    containing a BSSDescription with a Basic VHT-MCS and NSS Set field in the VHT Operation element that
    contains any unsupported <VHT-MCS, NSS> tuple, the MLME response in the resulting MLME-
    JOIN.confirm primitive shall contain a ResultCode parameter that is not set to the value SUCCESS.

    6.3.7 Associate

    6.3.7.2 MLME-ASSOCIATE.request

    6.3.7.2.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.7.2.2 as follows:

    The primitive parameters are as follows:
      MLME-ASSOCIATE.request(
                                                  PeerSTAAddress,
                                                  AssociateFailureTimeout,
                                                  CapabilityInformation,
                                                  ListenInterval,
                                                  Supported Channels,
                                                  RSN,
                                                  QoSCapability,
                                                  Content of FT Authentication elements,
                                                  SupportedOperatingClasses,
                                                  HT Capabilities,
                                                  Extended Capabilities,
                                                  20/40 BSS Coexistence,
                                                  QoSTrafficCapability,
                                                  TIMBroadcastRequest,
                                                  EmergencyServices,
                                                  DMG Capabilities,
                                                  Multi-band local,
                                                  Multi-band peer,
                                                  MMS,



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                                               VHT Capabilities,
                                               VendorSpecificInfo
                                               )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.7.2.2:

             Name                   Type                Valid range                     Description
      VHT Capabilities      As defined in VHT       As defined in        Specifies the parameters in the VHT
                            Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                         the STA. The parameter is present if
                                                                         dot11VHTOptionImplemented is true and
                                                                         not present otherwise.

    6.3.7.3 MLME-ASSOCIATE.confirm

    6.3.7.3.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.7.3.2 as follows:

    The primitive parameters are as follows:
      MLME-ASSOCIATE.confirm(
                                               ResultCode,
                                               CapabilityInformation,
                                               AssociationID,
                                               SupportedRates,
                                               EDCAParameterSet,
                                               RCPI.request,
                                               RSNI.request,
                                               RCPI.response,
                                               RSNI.response,
                                               RMEnabledCapabilities,
                                               Content of FT Authentication elements,
                                               SupportedOperatingClasses,
                                               HT Capabilities,
                                               Extended Capabilities,
                                               20/40 BSS Coexistence,
                                               TimeoutInterval,
                                               BSSMaxIdlePeriod,
                                               TIMBroadcastResponse,
                                               QoSMapSet,
                                               QMFPolicy,
                                               DMG Capabilities,
                                               Multi-band local,
                                               Multi-band peer,
                                               MMS,
                                               VHT Capabilities,
                                               VendorSpecificInfo
                                               )




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    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.7.3.2:

             Name                      Type                Valid range                     Description
      VHT Capabilities         As defined in VHT       As defined in        Specifies the parameters in the VHT
                               Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                            the AP. The parameter is present if
                                                                            dot11VHTOptionImplemented is true and
                                                                            the VHT Capabilities element is present in
                                                                            the Association Response frame received
                                                                            from the AP. The parameter is not present
                                                                            otherwise.

    6.3.7.4 MLME-ASSOCIATE.indication

    6.3.7.4.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.7.4.2 as follows:

    The primitive parameters are as follows:
      MLME-ASSOCIATE.indication(
                                                  PeerSTAAddress,
                                                  CapabilityInformation,
                                                  ListenInterval,
                                                  SSID,
                                                  SupportedRates,
                                                  RSN,
                                                  QoSCapability,
                                                  RCPI,
                                                  RSNI,
                                                  RMEnabledCapabilities,
                                                  Content of FT Authentication elements,
                                                  SupportedOperatingClasses,
                                                  DSERegisteredLocation,
                                                  HT Capabilities,
                                                  Extended Capabilities,
                                                  20/40 BSS Coexistence,
                                                  QoSTrafficCapability,
                                                  TIMBroadcastRequest,
                                                  EmergencyServices,
                                                  DMG Capabilities,
                                                  Multi-band local,
                                                  Multi-band peer,
                                                  MMS,
                                                  VHT Capabilities,
                                                  VendorSpecificInfo
                                                  )




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    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.7.4.2:

             Name                   Type                Valid range                     Description
      VHT Capabilities      As defined in VHT       As defined in        Specifies the parameters in the VHT
                            Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                         the STA. The parameter is present if
                                                                         dot11VHTOptionImplemented is true and
                                                                         the VHT Capabilities element is present in
                                                                         the Association Request frame received
                                                                         from the STA. The parameter is not present
                                                                         otherwise.

    6.3.7.5 MLME-ASSOCIATE.response

    6.3.7.5.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.7.5.2 as follows:

    The primitive parameters are as follows:
      MLME-ASSOCIATE.response(
                                               PeerSTAAddress,
                                               ResultCode,
                                               CapabilityInformation,
                                               AssociationID,
                                               EDCAParameterSet,
                                               RCPI,
                                               RSNI,
                                               RMEnabledCapabilities,
                                               Content of FT Authentication elements,
                                               SupportedOperatingClasses,
                                               DSERegisteredLocation,
                                               HTCapabilities,
                                               Extended Capabilities,
                                               20/40 BSS Coexistence,
                                               TimeoutInterval,
                                               BSSMaxIdlePeriod,
                                               TIMBroadcastResponse,
                                               QoSMapSet,
                                               QMFPolicy,
                                               DMG Capabilities,
                                               Multi-band local,
                                               Multi-band peer,
                                               MMS,
                                               VHT Capabilities,
                                               VendorSpecificInfo
                                               )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.7.5.2:

             Name                   Type                Valid range                     Description
      VHT Capabilities      As defined in VHT       As defined in        Specifies the parameters in the VHT
                            Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                         the AP. The parameter is present if
                                                                         dot11VHTOptionImplemented is true and
                                                                         not present otherwise.




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    6.3.8 Reassociate

    6.3.8.2 MLME-REASSOCIATE.request

    6.3.8.2.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.8.2.2 as follows:

    The primitive parameters are as follows:
      MLME-REASSOCIATE.request(
                                                  NewPCPorAPAddress,
                                                  ReassociateFailureTimeout,
                                                  CapabilityInformation,
                                                  ListenInterval,
                                                  Supported Channels,
                                                  RSN,
                                                  QoSCapability,
                                                  Content of FT Authentication elements,
                                                  SupportedOperatingClasses,
                                                  HT Capabilities,
                                                  Extended Capabilities,
                                                  20/40 BSS Coexistence,
                                                  QoSTrafficCapability,
                                                  TIMBroadcastRequest,
                                                  FMSRequest,
                                                  DMSRequest,
                                                  EmergencyServices,
                                                  DMG Capabilities,
                                                  Multi-band local,
                                                  Multi-band peer,
                                                  MMS,
                                                  VHT Capabilities,
                                                  VendorSpecificInfo
                                                  )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.8.2.2:

             Name                      Type                Valid range                     Description
      VHT Capabilities         As defined in VHT       As defined in        Specifies the parameters in the VHT
                               Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                            the STA. The parameter is present if
                                                                            dot11VHTOptionImplemented is true and
                                                                            not present otherwise.

    6.3.8.3 MLME-REASSOCIATE.confirm

    6.3.8.3.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.8.3.2 as follows:

    The primitive parameters are as follows:
      MLME-REASSOCIATE.confirm(
                                                  ResultCode,
                                                  CapabilityInformation,



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                                               AssociationID,
                                               SupportedRates,
                                               EDCAParameterSet,
                                               RCPI.request,
                                               RSNI.request,
                                               RCPI.response,
                                               RSNI.response,
                                               RMEnabledCapabilities,
                                               Content of FT Authentication elements,
                                               SupportedOperatingClasses,
                                               HT Capabilities,
                                               Extended Capabilities,
                                               20/40 BSS Coexistence,
                                               TimeoutInterval,
                                               BSSMaxIdlePeriod,
                                               TIMBroadcastResponse,
                                               FMSResponse,
                                               DMSResponse,
                                               QoSMapSet,
                                               QMFPolicy,
                                               DMG Capabilities,
                                               Multi-band local,
                                               Multi-band peer,
                                               MMS,
                                               VHT Capabilities,
                                               VendorSpecificInfo
                                               )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.8.3.2:

             Name                   Type                Valid range                     Description
      VHT Capabilities      As defined in VHT       As defined in        Specifies the parameters in the VHT
                            Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                         the AP. The parameter is present if
                                                                         dot11VHTOptionImplemented is true and
                                                                         the VHT Capabilities element is present in
                                                                         the Reassociation Response frame received
                                                                         from the AP. The parameter is not present
                                                                         otherwise.

    6.3.8.4 MLME-REASSOCIATE.indication

    6.3.8.4.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.8.4.2 as follows:

    The primitive parameters are as follows:
      MLME-REASSOCIATE.indication(
                                               PeerSTAAddress,
                                               CurrentAPAddress,
                                               CapabilityInformation,
                                               ListenInterval,
                                               SSID,
                                               SupportedRates,
                                               RSN,



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                                                  QoSCapability,
                                                  RCPI,
                                                  RSNI,
                                                  RMEnabledCapabilities,
                                                  Content of FT Authentication elements,
                                                  SupportedOperatingClasses,
                                                  DSERegisteredLocation,
                                                  HT Capabilities,
                                                  Extended Capabilities,
                                                  20/40 BSS Coexistence,
                                                  QoSTrafficCapability,
                                                  TIMBroadcastRequest,
                                                  FMSRequest,
                                                  DMSRequest,
                                                  EmergencyServices,
                                                  DMG Capabilities,
                                                  Multi-band local,
                                                  Multi-band peer,
                                                  MMS,
                                                  VHT Capabilities,
                                                  VendorSpecificInfo
                                                  )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.8.4.2:

             Name                      Type                Valid range                     Description
      VHT Capabilities         As defined in VHT       As defined in        Specifies the parameters in the VHT
                               Capabilities element    8.4.2.160            Capabilities element that are supported by
                                                                            the STA. The parameter is present if
                                                                            dot11VHTOptionImplemented is true and
                                                                            the VHT Capabilities element is present in
                                                                            the Reassociation Request frame received
                                                                            from the STA. The parameter is not present
                                                                            otherwise.

    6.3.8.5 MLME-REASSOCIATE.response

    6.3.8.5.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.8.5.2 as follows:

    The primitive parameters are as follows:
      MLME-REASSOCIATE.response(
                                                  PeerSTAAddress,
                                                  ResultCode,
                                                  CapabilityInformation,
                                                  AssociationID,
                                                  EDCAParameterSet,
                                                  RCPI,
                                                  RSNI,
                                                  RMEnabledCapabilities,
                                                  Content of FT Authentication elements,
                                                  SupportedOperatingClasses,
                                                  DSERegisteredLocation,
                                                  HT Capabilities,



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                                               Extended Capabilities,
                                               20/40 BSS Coexistence,
                                               TimeoutInterval,
                                               BSSMaxIdlePeriod,
                                               TIMBroadcastResponse,
                                               FMSResponse,
                                               DMSResponse,
                                               QoSMapSet,
                                               QMFPolicy,
                                               DMG Capabilities,
                                               Multi-band local,
                                               Multi-band peer,
                                               MMS,
                                               VHT Capabilities,
                                               VendorSpecificInfo
                                               )

    Insert the following row before the VendorSpecificInfo row in the parameter table in 6.3.8.5.2:

             Name                  Type                 Valid range                    Description
      VHT Capabilities     As defined in VHT        As defined in       Specifies the parameters in the VHT
                           Capabilities element     8.4.2.160           Capabilities element that are supported by
                                                                        the AP. The parameter is present if
                                                                        dot11VHTOptionImplemented is true and
                                                                        not present otherwise.

    6.3.11 Start

    6.3.11.2 MLME-START.request

    6.3.11.2.2 Semantics of the service primitive

    Change the primitive parameter list in 6.3.11.2.2 as follows:

    The primitive parameters are as follows:
      MLME-START.request(
                                               SSID,
                                               SSIDEncoding,
                                               BSSType,
                                               BeaconPeriod,
                                               DTIMPeriod,
                                               CF parameter set,
                                               PHY parameter set,
                                               IBSS parameter set,
                                               ProbeDelay,
                                               CapabilityInformation,
                                               BSSBasicRateSet,
                                               OperationalRateSet,
                                               Country,
                                               IBSS DFS Recovery Interval,
                                               EDCAParameterSet,
                                               DSERegisteredLocation,
                                               HT Capabilities,
                                               HT Operation,




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                                                   BSSMembershipSelectorSet,
                                                   BSSBasicMCSSet,
                                                   HTOperationalMCSSet,
                                                   Extended Capabilities,
                                                   20/40 BSS Coexistence,
                                                   Overlapping BSS Scan Parameters,
                                                   MultipleBSSID,
                                                   InterworkingInfo,
                                                   AdvertismentProtocolInfo,
                                                   RoamingConsortiumInfo,
                                                   Mesh ID,
                                                   Mesh Configuration,
                                                   QMFPolicy,
                                                   DMG Capabilities,
                                                   Multi-band,
                                                   MMS,
                                                   DMG Operation,
                                                   Clustering Control,
                                                   CBAP Only,
                                                   PCP Association Ready,
                                                   VHT Capabilities,
                                                   VHT Operation,
                                                   VendorSpecificInfo
                                                   )

    Insert the following rows before the VendorSpecificInfo row in the parameter table in 6.3.11.2.2:

             Name                      Type                 Valid range                   Description
      VHT Capabilities         As defined in VHT        As defined in      Specifies the parameters in the VHT
                               Capabilities element     8.4.2.160          Capabilities element that are supported by
                                                                           the STA. The parameter is present if
                                                                           dot11VHTOptionImplemented is true and
                                                                           not present otherwise.
      VHT Operation            As defined in VHT        As defined in      Provides additional information for
                               Operation element        8.4.2.161          operating the VHT BSS. The parameter is
                                                                           present if dot11VHTOptionImplemented is
                                                                           true and not present otherwise.

    6.3.11.2.4 Effect of receipt

    Insert the following paragraph before the last paragraph of 6.3.11.2.4:

    If the MLME of a VHT STA receives an MLME-START.request primitive with a Basic VHT-MCS and
    NSS Set field in the VHT Operation parameter containing any unsupported <VHT-MCS, NSS> tuple, the
    MLME response in the resulting MLME-START.confirm primitive shall contain a ResultCode parameter
    that is not set to the value SUCCESS.




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    6.3.19 SetKeys

    6.3.19.1 MLME-SETKEYS.request

    6.3.19.1.2 Semantics of the service primitive

    Change the following row in the untitled table describing SetKeyDescriptors in 6.3.19.1.2 as follows:

               Name                  Type             Valid range                       Description
      Key ID               Integer                                     Key identifier
                                                  with WEP, TKIP,
                                                  and CCMP, and
                                                  GCMP

                                                  reserved.


    6.5 PLME SAP interface

    6.5.4 PLME-CHARACTERISTICS.confirm

    6.5.4.2 Semantics of the service primitive

    Change 6.5.4.2 as follows (note that the entire untitled parameter table is not shown):

    The primitive provides the following parameters:
      PLME-CHARACTERISTICS.confirm(
                                            aSlotTime,
                                            aSIFSTime,
                                            aSignalExtension,
                                            aCCATime,
                                            aCCAMidTime,
                                            aPHY-RX-START-Delay,
                                            aRxTxTurnaroundTime,
                                            aTxPLCPDelay,
                                            aRxPLCPDelay,
                                            aRxTxSwitchTime,
                                            aTxRampOnTime,
                                            aTxRampOffTime,
                                            aTxRFDelay,
                                            aRxRFDelay,
                                            aAirPropagationTime,
                                            aMACProcessingDelay,
                                            aPreambleLength,
                                            aRIFSTime,
                                            aSymbolLength,
                                            aSTFOneLength,
                                            aSTFTwoLength,
                                            aLTFOneLength,
                                            aLTFTwoLength,
                                            aPLCPHeaderLength,
                                            aPLCPSigTwoLength,
                                            aPLCPServiceLength,
                                            aPLCPConvolutionalTailLength,




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                                                  aMPDUDurationFactor,
                                                  aMPDUMaxLength,
                                                  aPSDUMaxLength,
                                                  aPPDUMaxTime,
                                                  aIUSTime,
                                                  aDTT2UTTTime,
                                                  aCWmin,
                                                  aCWmax,
                                                  aMaxCSIMatricesReportDelay,
                                                  aMaxTODError,
                                                  aMaxTOAError,
                                                  aTxPmdTxStartRFDelay,
                                                  aTxPmdTxStartRMS,
                                                  aTxPHYDelay,
                                                  aRxPHYDelay,
                                                  aTxPHYTxStartRFDelay,
                                                  aTxPHYTxStartRMS
                                                  )

    The values assigned to the parameters is are as specified in the PLME SAP interface specification contained
    within each PHY subclass of this standard. The parameter aMPDUDurationFactor is not used by all PHYs
    defined within this standard. The parameters aSignalExtension, aRIFSTime, aSymbolLength,
    aSTFOneLength,       aSTFTwoLength,        aLTFOneLength,        aLTFTwoLength,     aPLCPSigTwoLength,
    aPLCPServiceLength, aPLCPConvolutionalTailLength, aMPDUDurationFactor, aMPDUMaxLength,
    aPSDUMaxLength, aPPDUMaxTime, aIUSTime, aDTT2UTTTime, and aMaxCSIMatricesReportDelay are
    not used by all PHYs defined within this standard. Not all parameters are used by all PHYs defined within
    this standard.

               Name                    Type                                        Description
     ...
     aCCATime                      integer         For Clause 14 through Clause 19 PHYs and Clause 21 PHYs, tThe
                                                   maximum time (in microseconds) the CCA mechanism has available to
                                                   assess the medium within every time slot to determine whether the medium
                                                   is busy or idle. For Clause 20 and Clause 22 PHYs, the maximum time (in
                                                   microseconds) that the CCA mechanism has available to detect the start of
                                                   a valid IEEE 802.11 transmission within the primary channel and to assess
                                                   the energy on the medium within the primary, secondary, secondary40
                                                   (Clause 22 PHY only), and secondary80 (Clause 22 PHY only) channels
                                                   that fall inside the operating channel, in order to determine the values of the
                                                   STATE and channel-list parameters of the PHY-CCA.indication primitive.
     aCCAMidTime                   integer         For Clause 22 PHYs, the maximum time (in microseconds) the CCA
                                                   mechanism has available to assess the medium to determine whether an
                                                   IEEE 802.11 transmission is present on a non-primary channel.
     ...
     aRxTxTurnaroundTime           integer         The maximum time (in microseconds) that the PHY requires to change
                                                   from receiving to transmitting the start of the first symbol.
                                                   When transmitting a non-VHT PPDU, the The following equation is used
                                                   to derive aRxTxTurnaroundTime:
                                                   aTxPLCPDelay + aRxTxSwitchTime + aTxRampOnTime + aTxRFDelay.
                                                   When transmitting a VHT PPDU, the following equation is used to derive
                                                   aRxTxTurnaroundTime:
                                                   aTxPHYDelay + aRxTxSwitchTime + aTxRampOnTime.
     aTxPLCPDelay                  integer         The When transmitting a non-VHT PPDU, the nominal time (in
                                                   microseconds) that the PLCP uses to deliver a symbol from the MAC
                                                   interface to the transmit data path of the physical medium dependent
                                                   (PMD).
     aRxPLCPDelay                  integer         The When receiving a non-VHT PPDU, the nominal time (in
                                                   microseconds) that the PLCP uses to deliver the last bit of a received frame
                                                   from the PMD receive path to the MAC.




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              Name                Type                                       Description
      aRxTxSwitchTime         integer        The When transmitting a non-VHT PPDU, the nominal time (in
                                             microseconds) that the PMD takes to switch from Receive to Transmit.
                                             When transmitting a VHT PPDU, the nominal time (in microseconds) that
                                             the PHY takes to switch from Receive to Transmit.
      aTxRampOnTime           integer        The When transmitting a non-VHT PPDU, the maximum time (in
                                             microseconds) that the PMD takes to turn the Transmitter on.
                                             When transmitting a VHT PPDU, the maximum time (in microseconds)
                                             that the PHY takes to turn the Transmitter on.
      aTxRampOffTime          integer        The When transmitting a non-VHT PPDU, the nominal time (in
                                             microseconds) that the PMD takes to turn the Transmit Power Amplifier
                                             off.
                                             When transmitting a VHT PPDU, the nominal time (in microseconds) that
                                             the PHY takes to turn the Transmit Power Amplifier off.
      aTxRFDelay              integer        The When transmitting a non-VHT PPDU, the nominal time (in
                                             microseconds) between the issuance of a PMD_DATA.request primitive to
                                             the PMD and the start of the corresponding symbol at the air interface. The
                                             start of a symbol is defined to be 1/2 symbol period prior to the center of
                                             the symbol for FH, or 1/2 chip period prior to the center of the first chip of
                                             the symbol for DS, or 1/2 slot time prior to the center of the corresponding
                                             slot for infrared (IR).
      aRxRFDelay              integer        The When receiving a non-VHT PPDU, the nominal time (in
                                             microseconds) between the end of a symbol at the air interface to the
                                             issuance of a PMD_DATA.indication primitive to the PLCP. The end of a
                                             symbol is defined to be 1/2 symbol period after the center of the symbol for
                                             FH, or 1/2 chip period after the center of the last chip of the symbol for DS,
                                             or 1/2 slot time after the center of the corresponding slot for IR.
      ...
      aTxPmdTxStartRFDelay    integer        The When transmitting a non-VHT PPDU, the delay (in units of 0.5 ns)
                                             between PMD_TXSTART.request being issued and the first frame energy
                                             sent by the transmitting port, for the current channel.
      aTxPmdTxStartRMS        integer        The When transmitting a non-VHT PPDU, the RMS time of departure error
                                             (in units of 0.5 ns), where the time of departure error equals the difference
                                             between TIME_OF_DEPARTURE and the time of departure measured by
                                             a reference entity using a clock synchronized to the start time and mean

      aTxPHYDelay             integer        When transmitting a VHT PPDU, the nominal time (in microseconds) that
                                             the PHY uses to deliver a symbol from the MAC interface to the air
                                             interface.
      aRxPHYDelay             integer        When receiving a VHT PPDU, the nominal time (in microseconds) that the
                                             PHY uses to deliver the last bit of a received frame from the end of the last
                                             OFDM symbol at the air interface to the MAC.
      aTxPHYTxStartRFDelay    integer        When transmitting a VHT PPDU, the delay (in units of 0.5 ns) between
                                             PMD_TXSTART.request being issued and the first frame energy sent by
                                             the transmitting port, for the current channel.
      aTxPHYTxStartRMS        integer        When transmitting a VHT PPDU, the RMS time of departure error (in units
                                             of 0.5 ns), where the time of departure error equals the difference between
                                             TIME_OF_DEPARTURE and the time of departure measured by a
                                             reference entity using a clock synchronized to the start time and mean
                                             frequency of the local PHY entity clock.



    6.5.8 PLME-TXTIME.confirm

    Change 6.5.8.1 and 6.5.8.2 as follows:

    6.5.8.1 Function

    This primitive indicates the time required to transmit the PPDU described in the corresponding PLME-
    TXTIME.request.

    When the TXVECTOR parameter FORMAT in the corresponding PLME-TXTIME.request primitive is
    VHT, the primitive also provides the number of octets, per user, required to fill the PPDU.




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    6.5.8.2 Semantics of the service primitive

    This primitive provides the following parameters:
      PLME-TXTIME.confirm(
                                             TXTIME,
                                             PSDU_LENGTH[]
                                             )

    The TXTIME represents the time, in microseconds, required to transmit the PPDU described in the
    corresponding PLME-TXTIME.request primitive. If the calculated time includes a fractional microsecond, a
    non-DMG STA rounds the TXTIME value up to the next higher integer. A DMG STA does not round the
    TXTIME value up or down (see 21.12.3).

    The PSDU_LENGTH[] parameter is an array of size TXVECTOR parameter NUM_USERS. Each value in
    the array indicates the number of octets required to fill the PPDU for the user represented by that array
    index. The parameter is present only when the TXVECTOR FORMAT parameter is VHT.




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    7. PHY service specification

    7.1 Scope

    Insert the following paragraph at the end of 7.1:

    The description of the VHT PHY in Clause 22 is provided as one layer and is not separated into PLCP and
    PMD sublayers.


    7.2 PHY functions

    Insert the following paragraph at the end of 7.2:

    The description of the VHT PHY in Clause 22 is provided as one layer and is not separated into PLCP and
    PMD sublayers.


    7.3 Detailed PHY service specifications

    7.3.2 Overview of the service

    Insert the following paragraph at the end of 7.3.2:

    The description of the VHT PHY in Clause 22 is provided as one layer and is not separated into PLCP and
    PMD sublayers.

    7.3.4 Basic service and options

    7.3.4.5 Vector descriptions

    Insert the following rows at the end of Table 7-4:




               Parameter                       Associate vector                         Value

      GROUP_ID_MANAGEMENT            PHYCONFIG_VECTOR                   Specifies membership status and STA
                                                                        position for each of the group IDs as
                                                                        described in 8.5.23.3

      PARTIAL_AID_LIST_GID00         PHYCONFIG_VECTOR                   Includes the list of partial AIDs, of
                                                                        which the STA is an intended
                                                                        recipient, associated with group ID 0.
                                                                        The settings of the PARTIAL_AID are
                                                                        specified in 9.17a).
      PARTIAL_AID_LIST_GID63         PHYCONFIG_VECTOR                   Includes the list of partial AIDs, of
                                                                        which the STA is an intended
                                                                        recipient, associated with group ID 63.
                                                                        The settings of the PARTIAL_AID are
                                                                        specified in 9.17a).




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                Parameter                         Associate vector                          Value

      LISTEN_TO_GID00                     PHYCONFIG_VECTOR                  When true, indicates to the PHY not to
                                                                            filter out PPDUs with GROUP_ID
                                                                            field equal to the value 0.

      LISTEN_TO_GID63                     PHYCONFIG_VECTOR                  When true, indicates to the PHY not to
                                                                            filter out PPDUs with GROUP_ID
                                                                            field equal to the value 63.



    7.3.5 PHY-SAP detailed service specification

    7.3.5.2 PHY-DATA.request

    7.3.5.2.2 Semantics of the service primitive

    Change 7.3.5.2.2 as follows:

    The primitive provides the following parameters:
      PHY-DATA.request(
                                            DATA,
                                            USER_INDEX
                                            )

    The DATA parameter is an octet of value X'00' to X'FF'.

    The USER_INDEX parameter (typically identified as u for a VHT STA; see NOTE 1 at the end of Table 22-
    1) is present for a VHT MU PPDU and indicates the index of the user in the TXVECTOR to which the
    accompanying DATA octet applies; otherwise, this parameter is not present.

    7.3.5.3 PHY-DATA.indication

    7.3.5.3.3 When generated

    Change 7.3.5.3.3 as follows:

    The PHY-DATA.indication primitive is generated by a receiving PHY entity to transfer the received octet of
    data to the local MAC entity. The For a non-VHT PPDU, the time between receipt of the last bit of the
    provided octet from the WM and the receipt of this primitive by the MAC entity is the sum of aRxRFDelay
    + aRxPLCPDelay. For a VHT PPDU, the time between receipt of the last bit of the last provided octet from
    the WM and the receipt of this primitive by the MAC entity is aRxPHYDelay.

    7.3.5.6 PHY-TXSTART.confirm

    7.3.5.6.3 When generated

    Change 7.3.5.6.3 as follows:

    This primitive is issued by the PHY to the MAC entity once all of the following conditions are met:
                                                          quest primitive from the MAC entity.




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                When transmitting a non-VHT PPDU, the PLCP has issued PMD.TXSTATUS.request primitive
            if dot11MgmtOptionTODActivated is true and the TXVECTOR parameter TIME_OF_
            DEPARTURE_REQUESTED in the PHY-TXSTART.request(TXVECTOR) primitive is true.
                                                outgoing data octets from the MAC.

    7.3.5.11 PHY-CCA.indication

    7.3.5.11.2 Semantics of the service primitive

    Change the fourth paragraph, and insert the new table (Table 7-5), one new paragraph, and two new
    figures (Figure 7-1 and Figure 7-2) at the end of 7.3.5.11.2 as follows:

    When STATE is IDLE or when, for the type of PHY in operation, CCA is determined by a single channel,
    the channel-list parameter is absent. Otherwise, it carries a set indicating which channels are busy,
    represented by the values {primary}, {primary, secondary}, and {secondary}. The channel-list parameter in
    a PHY-CCA.indication primitive generated by a VHT STA contains at most a single element. Table 7-5
    defines the members of this set.




              channel-list element                                     Meaning

                    primary            For an HT STA that is not a VHT STA, indicates that the primary 20 MHz
                                       channel is busy.
                                       For a VHT STA, indicates that the primary 20 MHz channel is busy
                                       according to the rules specified in 22.3.19.5.3.

                   secondary           For an HT STA that is not a VHT STA, indicates that the secondary
                                       channel is busy.
                                       For a VHT STA, indicates that the secondary 20 MHz channel is busy
                                       according to the rules specified in 22.3.19.5.4.

                  secondary40          Indicates that the secondary 40 MHz channel is busy according to the rules
                                       specified in 22.3.19.5.4.

                  secondary80          Indicates that the secondary 80 MHz channel is busy according to the rules
                                       specified in 22.3.19.5.4.



    The relationship of the channel-list parameter elements to the 40 MHz, 80 MHz, and 160 MHz BSS
    operating channel is illustrated by example in Figure 7-1. The relationship of the channel-list parameter
    elements to the 80+80 MHz BSS operating channel is illustrated by example in Figure 7-2.




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                                                                                                               secondary80
                               secondary40




                                                                                         secondary
                                                                   primary
                                                                                40 MHz

                                                          80 MHz

                                                                                                     160 MHz


                                                                                 ter element for 40 MHz, 80 MHz,
                                                                   and 160 MHz channel width




                                                                                                                             secondary80
                 secondary40




                                                                    secondary
                                                primary




                                                                                               80+80 MHz




    7.3.5.11.3 When generated

    Change 7.3.5.11.3 as follows:

    For Clause 14 through Clause 21 PHYs, tThis primitive is generated within aCCATime of the occurrence of
    a change in the status of the channel(s) from channel idle to channel busy or from channel busy to channel
    idle or when the elements of the channel-list parameter change; otherwise, this primitive is generated when
    the status of the channel(s) changes from channel idle to channel busy or from channel busy to channel idle
    or when the elements of the channel-list parameter change. This includes the period of time when the PHY is
    receiving data. Refer to specific PHY clauses for details about CCA behavior for a given PHY.

                                             , the timing information is omitted here and is defined in 22.3.19.5.

    If the STA is an HT STA but not a VHT STA and the operating channel width is 20 MHz, the PHY
    maintains the channel busy indication until the period indicated by the LENGTH field has expired, where
    the LENGTH field is




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    If the STA is an HT STA but not a VHT STA and the operating channel width is 40 MHz, the PHY
    maintains the channel busy indication until the period indicated by the LENGTH field has expired, where
    the LENGTH field is
                                                           is NON_HT and the PPDU is received in the primary
            channel
                                                     PPDU is HT_MF or HT_GF provided that the PPDU is
            either a 20 MHz PPDU received in the primary channel or a 40 MHz PPDU

    7.3.5.13 PHY-RXEND.indication

    7.3.5.13.2 Semantics of the service primitive

    Insert the following list item and note at the end of the list of error conditions after the second paragraph
    of 7.3.5.13.2:

            Filtered. This value is used to indicate that during the reception of the PPDU, the PPDU was filtered
            out due to a condition set in the PHYCONFIG_VECTOR.
                                                                A due to GROUP_ID or PARTIAL_AID filtering in
            the PHY layer.




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    8. Frame formats

    8.2 MAC frame formats

    8.2.3 General frame format

    Change Figure 8-1 as follows:

   Octets:
     2           2             6             6            6              2        6         2         4                   4
                                                                                                              variable

   Frame     Duration        Address      Address      Address     Sequence    Address     QoS       HT        Frame     FCS
   Control     /ID              1            2            3         Control       4       Control   Control    Body


                                                    MAC Header




    Change the second paragraph of 8.2.3 and delete the entire Table 8-0a (represented here by only its title)
    as follows:

    The Frame Body field is of variable size, constrained as defined in 8.2.4.7.1. The maximum frame body size
    is determined by the maximum MSDU size (see Table 8-0a), plus the length of the Mesh Control field (6,
    12, or 18 octets) if present, the maximum unencrypted MMPDU size excluding the MAC header and FCS or
    the maximum A-MSDU size (see Table 8-0a), plus any overhead from security encapsulation. The
    maximum MPDU length transmitted by a DMG STA is 7995 octets.

                                                       Maximum MSDU and A-MSDU sizes

    8.2.4 Frame fields

    8.2.4.1 Frame Control field

    8.2.4.1.3 Type and Subtype fields

    Change Table 8-1 as follows:




                 Type value                 Type              Subtype value
                                                                                      Subtype description
                   b3 b2                 description           b7 b6 b5 b4

                        01             Control                0000-0101 0011   Reserved
                        01             Control                    0100         Beamforming Report Poll

                        01             Control                    0101         VHT NDP Announcement

    8.2.4.1.8 More Data field

    Insert the following paragraph after the sixth para
    addressed frames ..

    The More Data field is set to 1 in individually addressed frames transmitted by a VHT AP to a VHT STA
    when both support the TXOP power save feature (as determined from their VHT Capabilities elements) to
    indicate that at least one additional buffered BU is present for the STA. See 10.2.1.19.


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    8.2.4.1.10 Order field

    Change the second bullet in the dashed list of the first paragraph of 8.2.4.1.10 as follows:

                                                 frame transmitted with a value of HT_GF or, HT_MF, or
             VHT for the FORMAT parameter of the TXVECTOR to indicate that the frame contains an HT
             Control field.

    8.2.4.2 Duration/ID field

    Change the fourth paragraph of 8.2.4.2 as follows:

    The Duration/ID fields in the MAC headers of MPDUs in an A-MPDU all carry the same value. The
    Duration/ID fields in the MAC headers of MPDUs in A-MPDUs carried in the same VHT MU PPDU all
    carry the same value.

    8.2.4.3 Address fields

    8.2.4.3.8 TA field

    Change 8.2.4.3.8 as follows:

    The TA field contains an IEEE MAC individual address that identifies the STA that has transmitted, onto
    the WM, the MPDU contained in the frame body field. If the Individual/Group bit is 0, then the TA field is
    the individual address of the STA; otherwise, the TA field is a bandwidth signaling TA, indicating that the
    frame carries additional information in the scrambling sequence (see 8.3.1.2, 9.7.6.6, and 9.7.10). The
    Individual/Group bit is always transmitted as a 0 in the transmitter address.

    8.2.4.5 QoS Control field

    8.2.4.5.4 Ack Policy subfield

    Change the first row in Table 8-6 as follows:




      Bits in QoS Control field
                                                                        Meaning
          Bit 5         Bit 6

      0             0              Normal Ack or Implicit Block Ack Request.

                                   In a frame that is a non-A-MPDU frame or VHT single MPDU:
                                   The addressed recipient returns an ACK or QoS +CF-Ack frame after a short
                                   interframe space (SIFS) period, according to the procedures defined in 9.3.2.8 and
                                   9.19.3.5. For a non-DMG STA, this is the only permissible value for the Ack Policy
                                   subfield for individually addressed QoS Null (no data) frames.

                                   In a frame that is part of an A-MPDUOtherwise:
                                   The addressed recipient returns a BlockAck MPDU, either individually or as part of
                                   an A-MPDU starting a SIFS after the PPDU carrying the frame, according to the
                                   procedures defined in 9.3.2.9, 9.21.7.5, 9.21.8.3, 9.25.3, 9.25.4, and 9.29.3.




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     Change 8.2.4.6, including inserting new text, one new figure (Figure 8-5a), and two new subclause titles
     and moving two existing tables (without renumbering at this time), as follows:

     8.2.4.6 HT Control field

     8.2.4.6.1 General

     The HT Control field is always present in a Control Wrapper frame and is present in QoS Data and
     management frames as determined by the Order bit of the Frame Control field as defined in 8.2.4.1.10.

                                                  which HT Control field is present is the Control Wrapper frame. A control
     frame that is described as +HTC (e.g., RTS+HTC, CTS+HTC, BlockAck+HTC or BlockAckReq+HTC) implies the use
     of the Control Wrapper frame to carry that control frame.

     The format of the 4-octet HT Control field is shown in Figure 8-5.

             B0 B15           B16 B17           B18 B19    B20 B21    B22 B23           B24        B25 B28   B29           B30       B31

              Link           Calibration    Calibration                  CSI/        NDP                                   AC        RDG/
            Adaptation        Position      Sequence       Reserved    Steering    Announce-      Reserved   DEI        Constraint   More
             Control                                                                 ment                                            PPDU

    Bits:      16                2                 2           2           2             1             4      1             1         1




                                           B0             B1                      B29            B30              B31

                                                                                                 AC          RDG/More
                                           VHT                 HT Control Middle              Constraint      PPDU

                      Bits                  1                         29                          1                1




     The HT Control field has two forms, the HT variant and the VHT variant. The two forms differ in the format
     of the HT Control Middle subfield, described in 8.2.4.6.2 for the HT variant and in 8.2.4.6.3 for the VHT
     variant and in the value of the VHT subfield.

     The VHT subfield of the HT Control field indicates whether the HT Control Middle subfield is the VHT
     Variant or the HT Variant. The VHT subfield is set to 1 to indicate that the HT Control Middle subfield is
     the VHT Variant and is set to 0 to indicate that the HT Control Middle subfield is the HT Variant.

     The AC Constraint subfield of the HT Control field indicates whether the mapped AC of an RD data frame
     is constrained to a single AC, as defined in Table 8-12.

     Table 8-12 remains unchanged.

     The RDG/More PPDU subfield of the HT Control field is interpreted differently depending on whether it is
     transmitted by an RD initiator or an RD responder, as defined in Table 8-13.

     Table 8-13 remains unchanged.

     8.2.4.6.2 HT variant

     The format of the HT Control Middle subfield of the HT variant HT Control field is shown in Figure 8-5a.



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                  B1        B15    B16       B17   B18       B19   B20 B21      B22 B23              B24        B25 B28         B29

                    Link                                                                        HT NDP
                  Adaptation       Calibration     Calibration     Reserved       CSI/         Announce         Reserved        DEI
                                    Position       Sequence                     Steering
                   Control                                                                       ment

         Bits:         15                2               2            2              2                1               4          1




    The format of the Link Adaptation Control subfield of the HT variant HT Control field is defined in
    Figure 8-6.

                                    B0                   B1          B2         B5       B6          B8    B9             B15

                                  Reserved            TRQ                 MAI                 MFSI         MFB/ASELC

                   Bits:             1                   1                4                    3                  7




    (including Table 8-7, Table 8-8, Figure 8-7, and Figure 8-8) remains unchanged.

    Change the note in Table 8-9 as follows (note that the body of the table is omitted here):




                                               Interpretation of ASEL
                 ASEL Command                                                                      ASEL Data
                                                     Command

                        ...

                                     HT Control field is carried in a sounding PPDU, then the value of the ASEL
          Data field contains the remaining number of sounding frames following the current one. If null data packet
          (NDP) sounding frame is used, then the value in the ASEL Data field contains the number of NDPs
          following a non-NDP+HTC. The HT NDP Announcement subfield in the HT Control field is set to 1 to
          indicate NDP sounding.


    The Calibration Position and Calibration Sequence subfields of the HT variant HT Control field are defined
    in Table 8-10.

    The Calibration Sequence subfield identifies an instance of the calibration procedure. The subfield is
    included in each frame within a calibration procedure, and its value is unchanged for frames within the same
    calibration procedure.

    Table 8-10 remains unchanged.

    The CSI/Steering subfield of the HT variant HT Control field indicates the type of feedback, as shown in
    Table 8-11.

    Table 8-11 remains unchanged.

    The HT NDP Announcement subfield of the HT variant HT Control field indicates that an NDP will be
    transmitted after the frame (according to the rules described in 9.31). It is set to 1 to indicate that an NDP
    will follow; otherwise, it is set to 0.



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    The DEI subfield is 1 bit in length and is set by the transmitting STA to indicate the suitability of the
    corresponding MSDU or A-MSDU to be discarded if there are insufficient resources at the receiving STA. If
    there are insufficient resources, a STA that receives an MPDU whose DEI subfield is equal to 1 carrying all
    or part of an MSDU or A-MSDU should discard the MSDU or any MSDUs contained within the A-MSDU
    in preference to MSDUs carried in MPDUs whose DEI subfield is equal to 0. See 10.26.2. In an MMPDU,
    the DEI subfield is reserved. The mechanisms for determining whether the resources are insufficient or
    when to discard MSDUs or A-MSDUs are beyond the scope of this standard.

    The AC Constraint subfield of the HT Control field indicates whether the mapped AC of an RD data frame
    is constrained to a single AC, as defined in Table 8-12.

    The RDG/More PPDU subfield of the HT Control field is interpreted differently depending on whether it is
    transmitted by an RD initiator or an RD responder, as defined in Table 8-13.

    Insert the following subclause, 8.2.4.6.3 (including Figure 8-8a, Figure 8-8b, Figure 8-8c, Table 8-13a,
    and Table 8-13b), after 8.2.4.6.2:

    8.2.4.6.3 VHT variant

    The format of the HT Control Middle subfield of the VHT variant HT Control field is shown in Figure 8-8a.

                   B1          B2     B3 B5       B6 B8      B9 B23     B24 B26        B27          B28         B29

                                      MSI/        MFSI/                               Coding      FB Tx     Unsolicited
                Reserved     MRQ      STBC        GID-L       MFB        GID-H         Type       Type        MFB

                 Bits: 1       1        3           3          15           3            1           1            1


                                                                         of the VHT variant HT Control field

    The subfields of VHT variant HT Control field are defined in Table 8-13a.




           Subfield                 Meaning                                            Definition

      MRQ                    VHT-MCS                    Set to 1 to request VHT-MCS feedback (solicited MFB); otherwise,
                             feedback request           set to 0.
      MSI/STBC               MRQ sequence               If the Unsolicited MFB subfield is 0 and the MRQ subfield is 1, the
                             identifier/STBC            MSI/STBC subfield contains a sequence number in the range 0 to 6
                             indication                 that identifies the specific MCS feedback request.
                                                        If the Unsolicited MFB subfield is 0 and the MRQ subfield is 0, the
                                                        MSI/STBC subfield is reserved.
                                                        If the Unsolicited MFB subfield is 1 and the MFB does not contain the

                                                        contains the Compressed MSI and STBC Indication subfields as
                                                        shown in Figure 8-8b.
                                                        The STBC Indication subfield indicates whether the estimate in the
                                                        MFB subfield is computed based on a PPDU using STBC encoding:
                                                          Set to 0 if the PPDU was not STBC encoded
                                                          Set to 1 if the PPDU was STBC encoded
                                                        The Compressed MSI subfield contains a sequence number that
                                                        identifies the specific MCS feedback request. It is in the range 0 to 3 if
                                                        STBC Indication equals 0 or in the range 0 to 2 if STBC Indication
                                                        equals 1.
                                                        Otherwise, the MSI/STBC subfield is reserved.



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            Subfield        Meaning                                        Definition

      MFSI/GID-L        MFB sequence         If the Unsolicited MFB subfield is 0, the MFSI/GID-L subfield
                        identifier/LSBs of   contains the received value of MSI contained in the frame to which the
                        group ID             MFB information refers.

                                             If the Unsolicited MFB subfield is 1, the MFB does not contain the

                                             from a VHT MU PPDU, then the MFSI/GID-L subfield contains the
                                             lowest 3 bits of group ID of that PPDU from which the MFB was
                                             estimated (bit 0 of the group ID appears in the lowest numbered bit of
                                             the field MFSI/GID-L). If the unsolicited MFB is estimated from an
                                             SU PPDU, the MFSI/GID-L subfield is set to all ones.

                                             Otherwise, this subfield is reserved.

      MFB               NUM_STS, VHT-        MFB subfield is interpreted as defined in Table 8-13b. This subfield
                        MCS, BW and          contains the recommended MFB. The combination of VHT-MCS=15
                        SNR feedback         and NUM_STS=7 indicates that no feedback is present.

      GID-H             MSBs of group ID     If the Unsolicited MFB subfield is 1, the MFB does not contain the

                                             is estimated from a VHT MU PPDU, then the GID-H subfield contains
                                             the highest 3 bits of group ID of the PPDU from which the unsolicited
                                             MFB was estimated (bit 3 of the group ID appears in the lowest
                                             numbered bit of the field GID-H). If the unsolicited MFB is estimated
                                             from an SU PPDU, the GID-H subfield is set to all ones.

                                             Otherwise, this subfield is reserved.
      Coding Type       Coding type of the   If the Unsolicited MFB subfield is 1 and the MFB does not contain the
                        measured PPDU
                                             contains the Coding information (0 for BCC and 1 for LDPC) of the
                                             PPDU from which the unsolicited MFB was estimated.
                                             Otherwise, this subfield is reserved.

      FB Tx Type        Transmission type    If the Unsolicited MFB subfield is 1, the MFB does not contain the
                        of the measured
                        PPDU                 is 0, then the unsolicited MFB is estimated from a VHT PPDU with
                                             RXVECTOR parameter BEAMFORMED equal to 0.

                                             If the Unsolicited MFB subfield is 1, the MFB does not contain the

                                             subfield is 1, then the unsolicited MFB is estimated from a VHT
                                             PPDU with RXVECTOR parameter BEAMFORMED equal to 1.

                                             Otherwise, this subfield is reserved.
      Unsolicited MFB   Unsolicited VHT-     Set to 1 if the MFB is not a response to an MRQ.
                        MCS feedback         Set to 0 if the MFB is a response to an MRQ.
                        indicator




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    The format of the MSI/STBC subfield when the Unsolicited subfield is 1 is shown in Figure 8-8b.


                                                  B3                B4              B5

                                                      Compressed MSI       STBC Indication

                                          Bits:              2                      1




    The format of the MFB subfield in the VHT variant HT Control field is shown in Figure 8-8c.


                                            B9         B11       B12 B15    B16 B17         B18 B23

                                             NUM_STS             VHT-MCS       BW             SNR

                                  Bits:           3                 4           2               6




    The subfields of the MFB subfield in the VHT variant HT Control field are defined in Table 8-13b.




            Subfield              Meaning                                               Definition

      NUM_STS                 Recommended             Indicates the recommended NUM_STS as defined in 9.28.3.
                              NUM_STS                 The NUM_STS subfield contains an unsigned integer representing the
                                                      number of space-time streams minus 1.

      VHT-MCS                 Recommended             Indicates the recommended VHT-MCS as defined in 9.28.3.
                              VHT-MCS                 The VHT-MCS subfield contains an unsigned integer in the range 0 to 9
                                                      representing a VHT-MCS Index value (defined in 22.5).

      BW                      Bandwidth of the        If the Unsolicited MFB subfield is 1, the BW subfield indicates the
                              recommended             bandwidth for which the recommended VHT-MCS is intended, as
                              VHT-MCS                 defined in 9.28.3:
                                                          Set to 0 for 20 MHz
                                                          Set to 1 for 40 MHz
                                                          Set to 2 for 80 MHz
                                                          Set to 3 for 160 MHz and 80+80 MHz.
                                                      If the Unsolicited MFB subfield is 0, the BW subfield is reserved.

      SNR                     Average SNR             Indicates the average SNR, which is an SNR averaged over data
                                                      subcarriers and space-time streams.
                                                      The SNR is averaged over all the space-time streams and data
                                                      subcarriers and is encoded as a 6-bit twos complement number of
                                                      SNR_average 22, where SNR_average is the sum of the values of
                                                      SNR per frequency tone (in decibels) per space-time stream divided by
                                                      the product of the number of space-time streams, as indicated in the
                                                      NUM_STS subfield, and the number of frequency tones represented in
                                                      the bandwidth in which the MFB was estimated. This encoding covers
                                                      the SNR range from 10 dB to 53 dB in 1 dB steps.




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    8.2.4.7 Frame Body field

    8.2.4.7.1 General

    Change 8.2.4.7.1, including inserting a new table (Table 8-13c), as follows:

    The Frame Body is a variable-length field that contains information specific to individual frame types and
    subtypes. The minimum length of the frame body is 0 octets. The maximum length of the frame body is
    defined by the maximum length MSDU plus the length of Mesh Control field as defined in 8.2.4.7.3, if
    present, plus any overhead for encryption as defined in Clause 11, or by the maximum length A-MSDU plus
    any overhead for encryption as defined in Clause 11.constrained or affected by the following:
             The maximum MMPDU, MSDU, A-MSDU, and MPDU sizes supported by the recipient(s) for the
             PPDU format in use, as specified in Table 8-13c
             The maximum PPDU duration (e.g., HT_MF L-SIG L_LENGTH, HT_GF, VHT, or DMG
             aPPDUMaxTime (see Table 8-13c); any nonzero TXOP Limit; any regulatory constraints (e.g.,
             CS4-msBehavior))
             The fields present in the MAC header (e.g., QoS Control, Address 4, HT Control)
             The presence of security encapsulation (e.g., TKIP, CCMP or GCMP Header and MIC)
             The presence of Mesh Control fields (see 8.2.4.7.2)

                                              field is located in the A-MSDU Subframe Header (see Figure 8-33). In an
    MMPDU, the Mesh Control field is located within the MMPDU (see 8.5.18). Such Mesh Control fields need to be taken
    into account if a maximum A-MSDU or MMPDU size constraint applies as well as if a maximum MPDU size constraint
    applies.

                                                (see 11.1.6) or MMPDUs (see 11.4.4.1) and, therefore, need not be
    taken into account if a maximum A-MSDU or MMPDU size constraint applies.




                                           durations (in microseconds)

                          Non-HT non-VHT
                          non-DMG PPDU
                                                     HT PPDU                VHT PPDU                DMG PPDU
                            and non-HT
                           duplicate PPDU

         MMPDU size              2304                   2304                See NOTE 1                  2304
          MSDU size              2304                   2304                    2304                    7920

         A-MSDU size      3839 or 4065 (see       3839 or 7935 (see         See NOTE 3                  7935
                           NOTE 2) or 7935        also Table 8-124)
                          (HT STA, see also
                            Table 8-124) or
                          N/A (non-HT STA,
                             see also 9.11)

          MPDU size          See NOTE 4             See NOTE 5            3895 or 7991 or           See NOTE 5
                                                                          11 454 (see also
                                                                           Table 8-183v)
      PSDU size (see     213 1 (Clause 16, see          216 1            4 692 480 (~222.16)            218 1
        NOTE 7)               Table 16-2)         (see Table 20-25)       (see Table 22-29)       (see Table 21-17)
                           212 1 (others, see
                         Table 17-5, Table 18-
                            7, Table 19-8)




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                                     durations (in microseconds)

                           Non-HT non-VHT
                           non-DMG PPDU
                                                          HT PPDU               VHT PPDU              DMG PPDU
                             and non-HT
                            duplicate PPDU

      PPDU duration            See NOTE 6              5484 (HT_MF; see             5484                  2000
      (see NOTE 7)                                      9.23.4) or 10 000     (see Table 22-29)     (see Table 21-31)
                                                          (HT_GF; see
                                                          Table 20-25)

                                                  ximum MMPDU size; indirectly constrained by the maximum MPDU size
     (see 8.3.3.1).
                                    m the maximum PSDU size: 212 1 octets minus the minimum QoS Data MPDU
     overhead (26 octets for the MAC header and 4 octets for the FCS).
                                                  ximum A-MSDU size; indirectly constrained by the maximum MPDU size.
                                   e maximum MPDU size; indirectly constrained by the maximum MSDU/
     MMPDU or (for HT STAs only) A-MSDU size.
                                                  ximum MPDU size; indirectly constrained by the maximum A-MSDU size.
                                                               n, but an L_LENGTH value above 2332 might not be
     supported by some receivers (see last NOTE in 9.23.4).
                                      m PSDU size and maximum PPDU duration are informative only. References to the
     normative requirements are provided.



    8.2.5 Duration/ID field (QoS STA)

    8.2.5.1 General

    Change the third paragraph of 8.2.5.1 as follows:

    All times are calculated in microseconds. If a calculated duration includes a fractional microsecond, that
    value inserted in the Duration/ID field is rounded up to the next higher integer. If a calculated duration
    results in a negative value, the value of the Duration/ID field is 0.

    8.2.5.2 Setting for single and multiple protection under enhanced distributed channel
    access (EDCA)

    Change the first paragraph of 8.2.5.2 as follows:

    Within a frame (excluding data frames containing QoS CF-Poll, PSMP frames, and frames that have the
    RDG/More PPDU subfield equal to 1) transmitted under EDCA by a STA that initiates a TXOP, there are
    two classes of duration settings: single protection and multiple protection. In single protection, the value of
    the Duration/ID field of the frame can set a NAV value at receiving STAs that protects up to the end of any
    following data, management, or response frame plus any additional overhead frames as described below. In
    multiple protection, the value of the Duration/ID field of the frame can set a NAV that protects up to the
    estimated end of a sequence of multiple frames. Frames that have the RDG/More PPDU subfield equal to 1
    always use multiple protection. PSMP frames always use multiple protection. The STA selects between
    single and multiple protection when it transmits the first frame of a TXOP. All subsequent frames
    transmitted by the STA in the same TXOP use the same class of duration settings. VHT NDP
    Announcement frames and Beamforming Report Poll frames always use multiple protection settings.



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    Change item b)2) in the ordered list of the second paragraph of 8.2.5.2 as follows:

         b)   Multiple protection settings. The Duration/ID field is set to a value D as follows:
              2)    Else if TTXOP = 0 and TEND_NAV > 0, then D = TEND_NAV TPPDU
              2)    Else if TTXOP = 0 and TEND_NAV > 0, then D = max(0, TEND_NAV TPPDU)

    Change the following descriptions in the variable list in item b) of the second paragraph of 8.2.5.2:

                    TSINGLE-MSDU     is the estimated time required for the transmission of the allowed frame
                                     exchange sequence defined in 8.4.2.319.19.2.2 (for a TXOP limit value of 0),
                                     including applicable IFS durations
                    TPENDING         is the estimated time required for the transmission of



                                                    NDP, VHT NDP, or Beamforming Report Poll frame
                                         transmissions and explicit feedback response frames




    Insert the following paragraph at the end of 8.2.5.2:

    The estimated time required for transmission of a VHT Compressed Beamforming frame response is
    determined by assuming the following:
                                                                are transmitted, even if a Beamforming Report Poll
              frame is used and not all the bits in the included Feedback Segment Retransmission Bitmap field are
              equal to 1.


                                                              Width fields are as specified in 9.31.5.
                                                                 the Feedback Type field is MU, or to the greatest
                   value allowed by 9.31.5 if the Feedback Type field is SU.



                                                                    ssed Beamforming frame by the TXOP responder, the
    TXOP holder can, if the duration estimates prove excessive, indicate truncation of the TXOP by using a CF-End frame,
    provided that the remaining duration of the TXOP after the transmission of the last frame can accommodate the CF-End
    frame (see 9.19.2.7).


    8.3 Format of individual frame types

    8.3.1 Control frames

    8.3.1.2 RTS frame format

    Change the third paragraph of 8.3.1.2 as follows:

    The TA field value is the address of the STA transmitting the RTS frame or a bandwidth signaling TA. In an
    RTS frame transmitted by a VHT STA in a non-HT or non-HT duplicate format and where the scrambling
    sequence     carries     the    TXVECTOR         parameters     CH_BANDWIDTH_IN_NON_HT                 and
    DYN_BANDWIDTH_IN_NON_HT (see 9.3.2.5a), the TA field value is a bandwidth signaling TA.




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    8.3.1.3 CTS frame format

    Change the second paragraph of 8.3.1.3 as follows:

    When the CTS frame follows is a response to an RTS frame, the value of the RA field of the CTS frame is
    the address copied from the TA field of the immediately previous RTS frame to which the CTS is a response
    with the Individual/Group bit forced to the value 0. When the CTS is the first frame in a frame exchange, the
    RA field is set to the MAC address of the transmitter.

    8.3.1.4 ACK frame format

    Change the second paragraph of 8.3.1.4 as follows:

    The value of the RA field of the ACK frame is copied the non-bandwidth signaling TA from the Address 2
    field of the immediately previous individually addressed data, management, BlockAckReq, BlockAck, or
    PS-Poll frames.

    8.3.1.5 PS-Poll frame format

    Change the second paragraph of 8.3.1.5 as follows:

    The BSSID is the address of the STA contained in the AP. The TA field value is the address of the STA
    transmitting the frame or a bandwidth signaling TA. In a PS-Poll frame transmitted by a VHT STA in a non-
    HT or non-HT duplicate format and where the scrambling sequence carries the TXVECTOR parameter
    CH_BANDWIDTH_IN_NON_HT, the TA field value is a bandwidth signaling TA. The AID is the value
    assigned to the STA transmitting the frame by the AP in the association response frame that established that


    8.3.1.6 CF-End frame format

    Change the fifth paragraph of 8.3.1.6 as follows:

    When transmitted by a non-DMG STA, the BSSID (TA) field is set to the address of the STA contained in
    the AP except that the Individual/Group bit of the BSSID (TA) field is set to 1 in a CF-End frame
    transmitted by a VHT STA to a VHT AP in a non-HT or non-HT duplicate format to indicate that the
    scrambling sequence carries the TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT. When
    transmitted by a DMG STA, the TA field is the MAC address of the STA transmitting the frame.

    8.3.1.8 BlockAckReq frame format

    8.3.1.8.1 Overview

    Change the fourth paragraph of 8.3.1.8.1 as follows:

    The TA field value is the address of the STA transmitting the BlockAckReq frame or a bandwidth signaling
    TA. In a BlockAckReq frame transmitted by a VHT STA in a non-HT or non-HT duplicate format and
    where the scrambling sequence carries the TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT, the
    TA field value is a bandwidth signaling TA.




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    8.3.1.9 BlockAck frame format

    8.3.1.9.1 Overview

    Change the fourth paragraph of 8.3.1.9.1 as follows:

    The TA field value is the address of the STA transmitting the BlockAck frame or a bandwidth signaling TA
    in the context of HT-delayed Block Ack. In a BlockAck frame transmitted in the context of HT-delayed
    Block Ack by a VHT STA in a non-HT or non-HT duplicate format and where the scrambling sequence
    carries the TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT, the TA field value is a bandwidth
    signaling TA.

    Insert the following subclauses, 8.3.1.20 and 8.3.1.21 (including Figure 8-29j to Figure 8-29m and
    Table 8-18a), after 8.3.1.19:

    8.3.1.20 VHT NDP Announcement frame format

    The frame format of the VHT NDP Announcement frame is shown in Figure 8-29j.



                   Frame                                       Sounding
                              Duration      RA        TA        Dialog                                               FCS
                   Control                                      Token

         Octets:        2        2           6        6             1              2                     2            4




    The Duration field is set as defined in 8.2.5.

    The VHT NDP Announcement frame contains at least one STA Info field. If the VHT NDP Announcement
    frame contains only one STA Info field, then the RA field value is the address of the STA identified by the
    AID in the STA Info field. If the VHT NDP Announcement frame contains more than one STA Info field,
    then the RA field value is the broadcast address.

    The TA field value is the address of the STA transmitting the VHT NDP Announcement frame or a
    bandwidth signaling TA. In a VHT NDP Announcement frame transmitted by a VHT STA in a non-HT or
    non-HT duplicate format and where the scrambling sequence carries the TXVECTOR parameter
    CH_BANDWIDTH_IN_NON_HT, the TA field value is a bandwidth signaling TA.

    The format of the Sounding Dialog Token field is shown in Figure 8-29k.


                                                 B0            B1   B2                 B7

                                                  Reserved              Sounding Dialog
                                                                         Token Number

                                         Bits:             2                  6




    The Sounding Dialog Token Number subfield in the Sounding Dialog Token field contains a value selected
    by the beamformer to identify the VHT NDP Announcement frame.



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    The format of the STA Info field is shown in Figure 8-29l.


                                          B0           B11        B12             B13       B15

                                               AID12         Feedback Type           Nc Index

                                Bits:             12               1                    3




    The subfields in the STA Info field are described in Table 8-18a.




                  Field                                             Description

            AID12                Contains the 12 least significant bits of the AID of a STA expected to process the
                                 following VHT NDP and prepare the sounding feedback. Equal to 0 if the STA is
                                 an AP, mesh STA, or STA that is a member of an IBSS.

            Feedback Type        Indicates the type of feedback requested.
                                    Set to 0 for SU.
                                    Set to 1 for MU.
            Nc Index             If the Feedback Type field indicates MU, then Nc Index indicates the number of
                                 columns, Nc, in the Compressed Beamforming Feedback Matrix subfield minus 1:
                                     Set to 0 to request Nc = 1
                                     Set to 1 to request Nc = 2

                                   Set to 7 to request Nc = 8
                                 Reserved if the Feedback Type field indicates SU.



    8.3.1.21 Beamforming Report Poll frame format

    The Beamforming Report Poll frame is shown in Figure 8-29m.


                                Frame           Duration     RA        TA     Feedback Segment           FCS
                                Control                                      Retransmission Bitmap

                   Octets:         2                   2      6         6               1                 4




    The Duration field is set as defined in 8.2.5.

    The RA field value is the address of the intended recipient.

    The TA field value is the address of the STA transmitting the Beamforming Report Poll or a bandwidth
    signaling TA. In a Beamforming Report Poll frame transmitted by a VHT STA in a non-HT or non-HT
    duplicate format and where the scrambling sequence carries the TXVECTOR parameter
    CH_BANDWIDTH_IN_NON_HT, the TA field value is a bandwidth signaling TA.




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    The Feedback Segment Retransmission Bitmap field indicates the requested feedback segments of a VHT
    Compressed Beamforming report (see 9.31.5.3). If the bit in position n (n=0 for LSB and n=7 for MSB) is 1,
    then the feedback segment with the Remaining Feedback Segments subfield in the VHT MIMO Control
    field equal to n is requested. If the bit in position n is 0, then the feedback segment with the Remaining
    Feedback Segments subfield in the VHT MIMO Control field equal to n is not requested.

    8.3.2 Data frames

    8.3.2.1 Data frame format

    Change Figure 8-30 as follows:


   Octets:                                                                                                     0-7599
     2          2              6         6           6              2           6           2          4                    4
                                                                                                               variable

   Frame     Duration/     Address    Address      Address       Sequence    Address      QoS        HT        Frame      FCS
   Control      ID            1          2            3           Control       4        Control    Control    Body


                                                 MAC Header




    8.3.2.2 Aggregate MSDU (A-MSDU) format

    8.3.2.2.1 General

    Change Figure 8-32 as follows:


                                                                        0-2304 (non-DMG STA)
                        Octets: 6            6               2                                         0-3
                                                                              variable

                          DA              SA             Length                MSDU                  Padding



                               A-MSDU subframe header




    8.3.3 Management frames

    8.3.3.1 Format of management frames

    Change the first paragraph and note in 8.3.3.1 as follows:

    The format of a management frame is defined in Figure 8-34. The Frame Control, Duration, Address 1,
    Address 2, Address 3, and Sequence Control fields are present in all management frame subtypes. The In an
    MMPDU carried in one or more non-VHT PPDUs the maximum unencrypted MMPDU size, excluding the
    MAC header and FCS, is 2304 octets is specified in Table 8-13c. In an MMPDU carried in one or more
    PPDU(s), all of which are VHT PPDU(s), the maximum MMPDU size specified in Table 8-13c is the
    maximum MPDU size supported by the recipient(s) less the shortest management frame MAC header and




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    FCS. In an MMPDU carried in one or more PPDU(s), none of which are VHT PPDU(s), the maximum
    unencrypted MMPDU size is 2304 octets.

                                                              of which are VHT PPDUs, the presence of encryption
    overhead (i.e., the MMPDU is transmitted in robust management frames) or an HT Control field might cause an
    MMPDU to be fragmented that would not otherwise need to be fragmented.

    Change Figure 8-34 as follows:

                                                                                                           0-2328
   Octets:       2            2            6            6            6             2            4          variable     4

              Frame       Duration     Address 1     Address 2   Address 3    Sequence        HT         Frame Body    FCS
              Control                                                          Control       Control




    Delete the following note in 8.3.3.1:

                                                                      for GCMP encryption with a maximum-size MMPDU
    (note TKIP encryption is not allowed and any Mesh Control field is held within the MMPDU, not as a separate header).
    The frame body size might be greater if a vendor-specific cipher suite is used.

    8.3.3.2 Beacon frame format

    Insert the following rows into Table 8-20 before the Last row:




                  Order              Information                                  Notes

                     60           VHT Capabilities       The VHT Capabilities element is present when the
                                                         dot11VHTOptionImplemented is true.

                     61           VHT Operation          The VHT Operation element is present when the
                                                         dot11VHTOptionImplemented is true; otherwise, it is
                                                         not present.
                     62           VHT Transmit Power     One VHT Transmit Power Envelope element is present
                                  Envelope element       for each distinct value of the Local Maximum Transmit
                                                         Power Unit Interpretation subfield that is supported for
                                                         the BSS if both of the following conditions are met:

                                                                                            ementRequired is true
                                                              or dot11RadioMeasurementActivated is true.
                                                         Otherwise, this parameter is not present.
                     63           Channel Switch         The Channel Switch Wrapper element is optionally
                                  Wrapper element        present if dot11VHTOptionImplemented is true and at
                                                         least one of a Channel Switch Announcement element or
                                                         an Extended Channel Switch Announcement element is
                                                         also present in the Beacon frame and the Channel Switch
                                                         Wrapper element contains at least one subelement.

                     64           Extended BSS Load      The Extended BSS Load element is optionally present if
                                  element                dot11QosOptionImplemented,
                                                         dot11QBSSLoadImplemented and
                                                         dot11VHTOptionImplemented are true.




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                 Order          Information                               Notes

                   65       Quiet Channel         Either one Quiet Channel element containing an AP
                                                  Quiet Mode field equal to 0 or one or more Quiet
                                                  Channel elements each containing an AP Quiet Mode
                                                  field equal to 1 are optionally present if
                                                  dot11VHTOptionImplemented is true, and either
                                                  dot11SpectrumManagementRequired or
                                                  dot11RadioMeasurementActivated is true.
                   66       Operating Mode        The Operating Mode Notification element is optionally
                            Notification          present if dot11OperatingModeNotificationImplemented
                                                  is true.



    8.3.3.5 Association Request frame format

    Insert the following rows into Table 8-22 before the Last row:




                 Order          Information                               Notes

                   22       VHT Capabilities      The VHT Capabilities element is present when the
                                                  dot11VHTOptionImplemented is true.

                   23       Operating Mode        The Operating Mode Notification element is optionally
                            Notification          present if dot11OperatingModeNotificationImplemented
                                                  is true.



    8.3.3.6 Association Response frame format

    Insert the following rows into Table 8-23 before the Last row:




                 Order          Information                               Notes

                   27       VHT Capabilities      The VHT Capabilities element is present when the
                                                  dot11VHTOptionImplemented is true.
                   28       VHT Operation         The VHT Operation element is present when the
                                                  dot11VHTOptionImplemented is true; otherwise, it is
                                                  not present.

                   29       Operating Mode        The Operating Mode Notification element is optionally
                            Notification          present if dot11OperatingModeNotificationImplemented
                                                  is true.




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    8.3.3.7 Reassociation Request frame format

    Insert the following rows into Table 8-24 before the Last row:




                 Order              Information                             Notes

                   27          VHT Capabilities    The VHT Capabilities element is present when the
                                                   dot11VHTOptionImplemented is true.
                   28          Operating Mode      The Operating Mode Notification element is optionally
                               Notification        present if dot11OperatingModeNotificationImplemented
                                                   is true.



    8.3.3.8 Reassociation Response frame format

    Insert the following rows into Table 8-25 before the Last row:




                  Order             Information                            Notes

                    31          VHT Capabilities   The VHT Capabilities element is present when the
                                                   dot11VHTOptionImplemented is true.

                    32          VHT Operation      The VHT Operation element is present when the
                                                   dot11VHTOptionImplemented is true; otherwise, it is not
                                                   present.
                    33          Operating Mode     The Operating Mode Notification element is optionally
                                Notification       present if dot11OperatingModeNotificationImplemented
                                                   is true.



    8.3.3.9 Probe Request frame format

    Insert the following row into Table 8-26 before the Last row:




                 Order              Information                             Notes

                   17          VHT Capabilities    The VHT Capabilities element is present when the
                                                   dot11VHTOptionImplemented is true.




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    8.3.3.10 Probe Response frame format




                Order       Information                                Notes

                  62    VHT Capabilities     The VHT Capabilities element is present when the
                                             dot11VHTOptionImplemented is true.
                  63    VHT Operation        The VHT Operation element is present when the
                                             dot11VHTOptionImplemented is true; otherwise, it is not
                                             present.

                  64    VHT Transmit Power   One VHT Transmit Power Envelope element is present
                        Envelope element     for each distinct value of the Local Maximum Transmit
                                             Power Unit Interpretation subfield that is supported for
                                             the BSS if both of the following conditions are met:

                                                                              agementRequired is true
                                                  or dot11RadioMeasurementActivated is true.
                                             Otherwise, this parameter is not present.
                  65    Channel Switch       The Channel Switch Wrapper element is optionally
                        Wrapper element      present if dot11VHTOptionImplemented is true and at
                                             least one Channel Switch Announcement element or
                                             Extended Channel Switch Announcement element is also
                                             present in the Beacon frame and the Channel Switch
                                             Wrapper element contains at least one subelement.

                  66    Extended BSS Load    The Extended BSS Load element is optionally present if
                        element              dot11QosOptionImplemented,
                                             dot11QBSSLoadImplemented and
                                             dot11VHTOptionImplemented are true.

                  67    Quiet Channel        Either one Quiet Channel element containing an AP Quiet
                                             Mode field equal to 0 or one or more Quiet Channel
                                             elements each containing an AP Quiet Mode field equal to
                                             1 are optionally present if dot11VHTOptionImplemented
                                             is true, and either dot11SpectrumManagementRequired or
                                             dot11RadioMeasurementActivated is true.

                  68    Operating Mode       The Operating Mode Notification element is optionally
                        Notification         present if dot11OperatingModeNotificationImplemented
                                             is true.




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    8.4 Management and Extension frames body components

    8.4.1 Fields that are not information elements

    8.4.1.9 Status Code field

    Insert the following row into Table 8-37 in numeric order, and change the reserved values accordingly:




           Status code                    Name                                        Meaning

                104                                                Association denied because the requesting STA
                                                                   does not support VHT features.



    8.4.1.11 Action field

    Insert the following row into Table 8-38 in numeric order, and change the reserved values accordingly:




                                                                                         Group
                                                                                                          Action
               Code            Meaning             See subclause         Robust         addressed
                                                                                                          frame
                                                                                         privacy

          21             VHT                      8.5.23                   No              No



    8.4.1.27 CSI Report field

    Change the first paragraph of 8.4.1.27 as follows:

    The CSI Report field is used by the CSI frame (see 8.5.12.6) to carry explicit channel state information to a
    transmit HT beamformer, as described in 9.29.3.

    8.4.1.28 Noncompressed Beamforming Report field

    Change the first paragraph of 8.4.1.28 as follows:

    The Noncompressed Beamforming Report field is used by the Noncompressed Beamforming frame to carry
    explicit feedback in the form of noncompressed beamforming feedback matrices V for use by a transmit HT
    beamformer to determine steering matrices Q, as described in 9.29.3 and 20.3.12.3.

    Change the fourth paragraph of 8.4.1.28 as follows:

    The SNR values in Table 8-46 and Table 8-47 are encoded as an 8-bit twos complement value of
                                             age is the sum of the values of SNR per tone (in decibels) divided
    by the number of tones represented. This encoding
    0.25 dB steps. The SNR in space-time stream i corresponds to the SNR associated with the column i of the
    beamforming feedback matrix V. Each SNR corresponds to the predicted SNR at HT beamformee when the
    HT beamformer applies the matrix V.


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    8.4.1.29 Compressed Beamforming Report field

    Change the first paragraph of 8.4.1.29 as follows:

    The Compressed Beamforming Report field is used by the Compressed Beamforming frame (see 8.5.12.8)
    to carry explicit feedback information in the form of angles representing compressed beamforming feedback
    matrices V for use by a transmit HT beamformer to determine steering matrices Q, as described in 9.29.3 and
    20.3.12.3.

    Change the seventh paragraph of 8.4.1.29 as follows:

    The SNR values in Table 8-50 and Table 8-51 are encoded as an 8-bit twos complement value of 4 ×

    the number of tones represented. Th
    steps. Each SNR value per tone in stream i (before being averaged) corresponds to the SNR associated with
    the column i of the beamforming feedback matrix V determined at the HT beamformee. Each SNR
    corresponds to the predicted SNR at the HT beamformee when the HT beamformer applies the matrix V.

    8.4.1.32 Rate Identification field

    Change 8.4.1.32, including inserting a new figure (Figure 8-70a), as follows:

    The Rate Identification field is 4 octets in length and contains the rate identification information for a frame
    hat is not the current frame transmitted or received by a STA. This information allows services to exchange
    frame rate information prior to use of the frames that use the rate specified by the Rate Identification field.
    The contents of the field is defined in Figure 8-69.

    Figure 8-69 remains unchanged.

    The Mask field specifies which other fields in the Rate Identification field are used by a STA. The format of
    the Mask field is shown in Figure 8-70.

    Figure 8-70 remains unchanged.

    The MCS Selector field set to value 0 indicates that the MCS Index field is reserved. The MCS Selector field
    set to value 1 indicates that the MCS Index field specifies an index value that is taken from Table 20-30
    through Table 20-33 and Table 20-39 through Table 20-41 in 20.6. The MCS Selector field set to value 2
    indicates that the MCS Index field specifies an index value that is taken from Table 20-34 through
    Table 20-38 and Table 20-43 through Table 20-44 in 20.6.

    The MCS Selector field value 3 indicates that the MCS Index field specifies values that are taken from
    Table 22-30 through Table 22-37, indicating a VHT-MCS for a 20 MHz channel width.

    The MCS Selector field value 4 indicates that the MCS Index field specifies values that are taken from
    Table 22-38 through Table 22-45, indicating a VHT-MCS for a 40 MHz channel width.

    The MCS Selector field value 5 indicates that the MCS Index field specifies values that are taken from
    Table 22-46 through Table 22-53, indicating a VHT-MCS for an 80 MHz channel width.

    The MCS Selector field value 6 indicates that the MCS Index field specifies values that are taken from
    Table 22-54 through Table 22-61, indicating a VHT-MCS for a 160 MHz or 80+80 MHz channel width.

    The MCS Selector field values 3 to 7 are is reserved.




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     The Rate Type field set to 0 indicates the Rate field is reserved. The Rate Type field set to 1 indicates the
     Rate field specifies a data rate that is in the basic rate set. The Rate Type field set to 2 indicates the Rate field
     specifies a data rate that is not in the basic rate set.

     If MCS Selector is 1 or 2, tThe MCS Index field is a 1-octet unsigned integer that specifies the row index for
     one of the MCS parameter tables in 20.6.

     If MCS Selector is 3, 4, 5, or 6, the MCS Index field format is as shown in Figure 8-70a. The NSS subfield
     indicates the number of spatial streams, and the VHT-MCS Index Row subfield indicates a value from the
      VHT-MCS Index column of Table 22-30 through Table 22-61 in 22.5 that corresponds to the channel
     width and NSS values.

                                                       B0         B2    B3          B6          B7

                                                            NSS          VHT-MCS            Reserved
                                                                         Index Row

                                             Bits            3                 4                1


                                                                                   the MCS Selector field is 3, 4, 5, or 6

     The Rate field contains a 2-octet unsigned integer that specifies the PHY rate in 0.5 Mb/s units.

     Insert the following subclauses, 8.4.1.47 to 8.4.1.52 (including Figure 8-80d to Figure 8-80g and Table 8-
     53c to Table 8-53l), after 8.4.1.46:

     8.4.1.47 VHT MIMO Control field

     The VHT MIMO Control field is included in every VHT Compressed Beamforming frame (see 8.5.23.2).
     The VHT MIMO Control field is defined in Figure 8-80d.

  B0 B2     B3 B5    B6       B7   B8       B9         B10               B11              B12B14         B15      B16 B17    B18 B23

                                                                                                                             Sounding
     Nc       Nr     Channel                         Codebook          Feedback          Remaining       First                Dialog
                                   Grouping                                              Feedback      Feedback   Reserved
   Index    Index     Width                         Information          Type            Segments      Segment                 Token
                                                                                                                              Number

  Bits: 3     3           2             2               1                 1                 3             1          2           6




     The subfields of the VHT MIMO Control field are defined in Table 8-53c.

     In a VHT Compressed Beamforming frame not carrying all or part of a VHT Compressed Beamforming
     report (see 9.31.5 for a description of such a case), the Nc Index, Nr Index, Channel Width, Grouping,
     Codebook Information, Feedback Type and Sounding Dialog Token Number fields are reserved, the First
     Feedback Segment field is set to 0 and the Remaining Feedback Segments field is set to 7.




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                                                              e VHT MIMO Control field

            Subfield                                                Description

      Nc Index            Indicates the number of columns, Nc, in the compressed beamforming feedback matrix
                          minus 1:
                             Set to 0 for Nc = 1
                             Set to 1 for Nc = 2

                            Set to 7 for Nc = 8

      Nr Index            Indicates the number of rows, Nr, in the compressed beamforming feedback matrix minus
                          1:
                             Set to 0 for Nr = 1
                             Set to 1 for Nr = 2

                            Set to 7 for Nr = 8

      Channel Width       Indicates the width of the channel in which the measurement to create the compressed
                          beamforming feedback matrix was made:
                             Set to 0 for 20 MHz
                             Set to 1 for 40 MHz
                             Set to 2 for 80 MHz
                             Set to 3 for 160 MHz or 80+80 MHz

      Grouping            Indicates the subcarrier grouping, Ng, used for the compressed beamforming feedback
                          matrix:
                             Set to 0 for Ng = 1 (No grouping)
                             Set to 1 for Ng = 2
                             Set to 2 for Ng = 4
                             The value 3 is reserved

      Codebook            Indicates the size of codebook entries:
      Information         If Feedback Type is SU:
                             Set to 0 for 2 bits for , 4 bits for
                             Set to 1 for 4 bits for , 6 bits for
                          If Feedback Type is MU:
                             Set to 0 for 5 bits for , 7 bits for
                             Set to 1 for 7 bits for , 9 bits for
      Feedback Type       Indicates the feedback type:
                             Set to 0 for SU
                             Set to 1 for MU
      Remaining           Indicates the number of remaining feedback segments for the associated VHT Compressed
      Feedback Segments   Beamforming frame:
                             Set to 0 for the last feedback segment of a segmented report or the only feedback
                             segment of an unsegmented report.
                             Set to a value between 1 and 6 for a feedback segment that is neither the first nor the last
                             of a segmented report.
                             Set to a value between 1 and 7 for a feedback segment that is not the last feedback
                             segment of a segmented report.
                          In a retransmitted feedback segment, the field is set to the same value associated with the
                          feedback segment in the original transmission.

      First Feedback      Set to 1 for the first feedback segment of a segmented report or the only feedback segment
      Segment             of an unsegmented report; set to 0 if it is not the first feedback segment or if the VHT
                          Compressed Beamforming Report field and MU Exclusive Beamforming Report field are
                          not present in the frame.
                          In a retransmitted feedback segment, the field is set to the same value associated with the
                          feedback segment in the original transmission.

      Sounding Dialog     The sounding dialog token from the VHT NDP Announcement frame soliciting feedback
      Token Number




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    8.4.1.48 VHT Compressed Beamforming Report field

    The VHT Compressed Beamforming Report field is used by the VHT Compressed Beamforming feedback
    (see 8.5.23.2) to carry explicit feedback information in the form of angles representing compressed
    beamforming feedback matrices V for use by a transmit beamformer to determine steering matrices Q, as
    described in 9.29.3 and 20.3.12.3.

    The size of the VHT Compressed Beamforming Report field depends on the values in the VHT MIMO
    Control field. The VHT Compressed Beamforming Report field contains VHT Compressed Beamforming
    Report information or successive (possibly zero-length) portions thereof in the case of segmented VHT
    Compressed Beamforming feedback (see 9.31.5). VHT Compressed Beamforming Report information is
    always included in the VHT Compressed Beamforming feedback.

    The VHT Compressed Beamforming Report information contains the channel matrix elements indexed,
    first, by matrix angles in the order shown in Table 8-53d and, second, by data subcarrier index from lowest
    frequency to highest frequency. The explanation on how these angles are generated from the beamforming
    feedback matrix V is given in 20.3.12.3.6. In Table 8-53d,
       Nc     is the number of columns in a compressed beamforming feedback matrix determined by the Nc
              Index field of the VHT MIMO Control field,
       Nr     is the number of rows in a compressed beamforming feedback matrix determined by the Nr Index
              field of the VHT MIMO Control field.



                                                    Matrix subfield

         Size of V      Number of         The order of angles in the Compressed Beamforming Feedback Matrix
         (Nr × Nc)      angles (Na)                                     subfield

            2×1              2           11, 21
            2×2              2           11, 21

            3×1              4           11, 21,   21,   31
            3×2              6           11, 21,   21,   31, 22,     32

            3×3              6           11, 21,   21,   31, 22,     32

            4×1              6           11, 21, 31,     21,   31,   41
            4×2              10          11, 21, 31,     21,   31,   41, 22, 32,   32,   42

            4×3              12          11, 21, 31,     21,   31,   41, 22, 32,   32,   42, 33,   43
            4×4              12          11, 21, 31,     21,   31,   41, 22, 32,   32,   42, 33,   43

            5×1              8           11, 21, 31, 41, 21, 31, 41, 51

            5×2              14          11, 21, 31, 41, 21, 31, 41, 51, 22, 32, 42, 32, 42, 52
            5×3              18          11, 21, 31, 41, 21, 31, 41, 51, 22, 32, 42, 32, 42, 52, 33, 43,
                                         43, 53
            5×4              20          11, 21, 31, 41, 21, 31, 41, 51, 22, 32, 42, 32, 42, 52, 33, 43,
                                         43, 53, 44, 54
            5×5              20          11, 21, 31, 41, 21, 31, 41, 51, 22, 32, 42, 32, 42, 52, 33, 43,
                                         43, 53, 44, 54




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                                            Matrix subfield

         Size of V      Number of      The order of angles in the Compressed Beamforming Feedback Matrix
         (Nr × Nc)      angles (Na)                                  subfield

           6×1              10        11, 21, 31, 41, 51, 21, 31, 41, 51, 61

           6×2              18        11, 21, 31, 41, 51, 21, 31, 41, 51, 61, 22, 32, 42, 52, 32, 42,
                                      52, 62

           6×3              24        11, 21, 31, 41, 51, 21, 31, 41, 51, 61, 22, 32, 42, 52, 32, 42,
                                      52, 62, 33, 43, 53, 43, 53, 63

           6×4              28        11, 21, 31, 41, 51, 21, 31, 41, 51, 61, 22, 32, 42, 52, 32, 42,
                                      52, 62, 33, 43, 53, 43, 53, 63, 44, 54, 54, 64

           6×5              30        11, 21, 31, 41, 51, 21, 31, 41, 51, 61, 22, 32, 42, 52, 32, 42,
                                      52, 62, 33, 43, 53, 43, 53, 63, 44, 54, 54, 64, 55, 65

           6×6              30        11, 21, 31, 41, 51, 21, 31, 41, 51, 61, 22, 32, 42, 52, 32, 42,
                                      52, 62, 33, 43, 53, 43, 53, 63, 44, 54, 54, 64, 55, 65

           7×1              12        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71
           7×2              22        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71, 22, 32, 42, 52,
                                      62, 32, 42, 52, 62, 72

           7×3              30        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71, 22, 32, 42, 52,
                                      62, 32, 42, 52, 62, 72, 33, 43, 53, 63, 43, 53, 63, 73
           7×4              36        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71, 22, 32, 42, 52,
                                      62, 32, 42, 52, 62, 72, 33, 43, 53, 63, 43, 53, 63, 73, 44,
                                      54, 64, 54, 64, 74

           7×5              40        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71, 22, 32, 42, 52,
                                      62, 32, 42, 52, 62, 72, 33, 43, 53, 63, 43, 53, 63, 73, 44,
                                      54, 64, 54, 64, 74, 55, 65, 65, 75
           7×6              42        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71, 22, 32, 42, 52,
                                      62, 32, 42, 52, 62, 72, 33, 43, 53, 63, 43, 53, 63, 73, 44,
                                      54, 64, 54, 64, 74, 55, 65, 65, 75, 66, 76

           7×7              42        11, 21, 31, 41, 51, 61, 21, 31, 41, 51, 61, 71, 22, 32, 42, 52,
                                      62, 32, 42, 52, 62, 72, 33, 43, 53, 63, 43, 53, 63, 73, 44,
                                      54, 64, 54, 64, 74, 55, 65, 65, 75, 66, 76

           8×1              14        11, 21, 31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81

           8×2              26        11, 21, 31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                      42, 52, 62, 72, 32, 42, 52, 62, 72, 82

           8×3              36        11, 21, 31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                      42, 52, 62, 72, 32, 42, 52, 62, 72, 82, 33, 43, 53, 63, 73,
                                      43, 53, 63, 73, 83
           8×4              44        11, 21, 31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                      42, 52, 62, 72, 32, 42, 52, 62, 72, 82, 33, 43, 53, 63, 73,
                                      43, 53, 63, 73, 83, 44, 54, 64, 74, 54, 64, 74, 84

           8×5              50        11,   21,    31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                      42,   52,    62, 72, 32, 42, 52, 62, 72, 82, 33, 43, 53, 63, 73,
                                      43,    53,    63, 73, 83, 44, 54, 64, 74, 54, 64, 74, 84, 55, 65,
                                      75,   65,     75, 85




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                                                      Matrix subfield

         Size of V         Number of             The order of angles in the Compressed Beamforming Feedback Matrix
         (Nr × Nc)         angles (Na)                                         subfield

            8×6                 54              11,   21,    31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                                42,   52,    62, 72, 32, 42, 52, 62, 72, 82, 33, 43, 53, 63, 73,
                                                43,    53,    63, 73, 83, 44, 54, 64, 74, 54, 64, 74, 84, 55, 65,
                                                75,   65,     75, 85, 66, 76, 76, 86
            8×7                 56              11,   21,    31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                                42,   52,    62, 72, 32, 42, 52, 62, 72, 82, 33, 43, 53, 63, 73,
                                                43,    53,    63, 73, 83, 44, 54, 64, 74, 54, 64, 74, 84, 55, 65,
                                                75,   65,     75, 85, 66, 76, 76, 86, 77, 87
            8×8                 56              11,   21,    31, 41, 51, 61, 71, 21, 31, 41, 51, 61, 71, 81, 22, 32,
                                                42,   52,    62, 72, 32, 42, 52, 62, 72, 82, 33, 43, 53, 63, 73,
                                                43,    53,    63, 73, 83, 44, 54, 64, 74, 54, 64, 74, 84, 55, 65,
                                                75,   65,     75, 85, 66, 76, 76, 86, 77, 87



    The beamforming feedback matrix V is formed by the beamformee as follows. The beamformer transmits an
    NDP with NSTS,NDP space-time streams, where NSTS,NDP may take a value between 2 and 8. Based on this
    NDP, the beamformee estimates the N RX BFEE N STS NDP channel, and based on that channel it determines
    a Nr×Nc orthonormal matrix V, where Nr and Nc satisfy Equation (8-1).

       Nr = N STS      NDP    Nc       min(N STS    NDP      N RX   BFEE)                                                       (8-1)

    Further restrictions on Nc are described in 9.31.5.

    The angles are quantized as defined in Table 8-53e.




                                   Quantized                                                   Quantized

                           k - + --------------
                     = -------------                                                    k - + -------
                                                                                  = ------------
                                                radians
                          b +1         b +2                                            b 1         b radians
                       2             2                                              2            2
            where                                                           where
                                       b                                                           b
               k = 0 1             2       1                                  k = 0 1          2       1

               b          is the number of bits used to quantize              b        is the number of bits used to quantize
                          (defined by the Codebook Information                         (defined by the Codebook Information
                          field of the VHT MIMO Control field                          field of the VHT MIMO Control field
                          (see 8.4.1.47)                                               (see 8.4.1.47)



    The VHT Compressed Beamforming Report information has the structure and order defined in Table 8-53f,
    where Na is the number of angles used for the compressed beamforming feedback matrix subfield (see
    Table 8-53d).




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                                                                Size
                              Field                                                        Meaning
                                                               (bits)

      Average SNR of Space-Time Stream 1                         8           Signal-to-noise ratio at the
                                                                             beamformee for space-time stream 1
                                                                             averaged over all data subcarriers.
                                                                             See Table 8-53h.



      Average SNR of Space-Time Stream Nc                        8           Signal-to-noise ratio at the
                                                                             beamformee for space-time stream
                                                                             Nc averaged over all data subcarriers.
                                                                             See Table 8-53h.

      Compressed Beamforming Feedback Matrix V for        Na×(b +b )/2       Compressed beamforming feedback
      subcarrier k = scidx(0)                                                matrix as defined in Table 8-53d

      Compressed Beamforming Feedback Matrix V for        Na×(b +b )/2       Compressed beamforming feedback
      subcarrier k = scidx(1)                                                matrix as defined in Table 8-53d

      Compressed Beamforming Feedback Matrix V for        Na×(b +b )/2       Compressed beamforming feedback
      subcarrier k = scidx(2)                                                matrix as defined in Table 8-53d




      Compressed Beamforming Feedback Matrix V for        Na×( b +b )/2      Compressed beamforming feedback
      subcarrier k = scidx(Ns 1)                                             matrix as defined in Table 8-53d

              scidx() is defined in Table 8-53g



    Ns is the number of subcarriers for which the Compressed Beamforming Feedback Matrix subfield is sent
    back to the beamformer. A beamformee may choose to reduce Ns by using a method referred to as grouping,
    in which only a single Compressed Beamforming Feedback Matrix is reported for each group of Ng adjacent
    subcarriers. Ns is a function of the Channel Width and Grouping subfields in the VHT MIMO Control field
    (see 8.4.1.47). Table 8-53g lists Ns, the exact subcarrier indices and their order for which the Compressed
    Beamforming Feedback Matrix subfield is sent back. No padding is present between angles in the VHT
    Compressed Beamforming Report information, even if they correspond to different subcarriers. If the size of
    the VHT Compressed Beamforming Report information is not an integral multiple of 8 bits, up to seven
    zeros are appended to the end of the field to make its size an integral multiple of 8 bits.




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                                                         is sent back

       Channel                          Subcarriers for which Compressed Feedback Beamforming Matrix subfield
                      Ng        Ns
        Width                                            is sent: scidx(0), scidx  scidx(Ns-1)


                                                                                                  8, 9, 10, 11, 12, 13, 14, 15,
                       1        52      16, 17, 18, 19, 20, 22, 23, 24, 25, 26, 27, 28

        20 MHz                                                                   nd DC subcarrier (0) are skipped
                                                                                                                 1, 2, 4, 6, 8,
                       2        30
                                        10, 12, 14, 16, 18, 20, 22, 24, 26, 28
                                                                              1, 4, 8, 12, 16, 20, 24, 28




                                                                               9, 10, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21,
                       1       108
                                        22, 23, 24, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44,
                                        45, 46, 47, 48, 49, 50, 51, 52, 54, 55, 56, 57, 58

        40 MHz                                                                       and DC subcarriers (0, ±1) are skipped.


                       2        58
                                        16, 18, 20, 22, 24, 26, 28, 30, 32, 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56, 58

                       4        30
                                        14, 18, 22, 26, 30, 34, 38, 42, 46, 50, 54, 58




                                                                                                  8, 9, 10, 12, 13, 14, 15, 16,
                       1       234      17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38,
                                        40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60, 61,
                                        62, 63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 73, 74, 76, 77, 78, 79, 80, 81, 82, 83, 84,
                                        85, 86, 87, 88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 104, 105,
                                        106, 107, 108, 109, 110, 111, 112, 113, 114, 115, 116, 117, 118, 119, 120, 121,
                                        122
        80 MHz
                                                                           ±75, ±39, ±11) and DC subcarriers (0, ±1) are
                                        skipped.




                       2       122
                                        8, 10, 12, 14, 16, 18, 20, 22, 24, 26, 28, 30, 32, 34, 36, 38, 40, 42, 44, 46, 48, 50,
                                        52, 54, 56, 58, 60, 62, 64, 66, 68, 70, 72, 74, 76, 78, 80, 82, 84, 86, 88, 90, 92, 94,
                                        96, 98, 100, 102, 104, 106, 108, 110, 112, 114, 116, 118, 120, 122


                       4        62
                                        10, 14, 18, 22, 26, 30, 34, 38, 42, 46, 50, 54, 58, 62, 66, 70, 74, 78, 82, 86, 90, 94,
                                        98, 102, 106, 110, 114, 118, 122




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                                           is sent back

         Channel                   Subcarriers for which Compressed Feedback Beamforming Matrix subfield
                        Ng   Ns
          Width                                     is sent: scidx(0), scidx  scidx(Ns-1)




                        1    468
                                   16, 17, 18, 19, 20, 21, 22, 23, 24, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38,
                                   39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 54, 55, 56, 57, 58, 59, 60, 61,
                                   62, 63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83,
                                   84, 85, 86, 87, 88, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104,
                                   105, 106, 107, 108, 109, 110, 111, 112, 113, 114, 115, 116, 118, 119, 120, 121,
                                   122, 123, 124, 125, 126, 130, 131, 132, 133, 134, 135, 136, 137, 138, 140, 141,
                                   142, 143, 144, 145, 146, 147, 148, 149, 150, 151, 152, 153, 154, 155, 156, 157,
                                   158, 159, 160, 161, 162, 163, 164, 165, 166, 168, 169, 170, 171, 172, 173, 174,
         160 MHz                   175, 176, 177, 178, 179, 180, 181, 182, 183, 184, 185, 186, 187, 188, 189, 190,
                                   191, 192, 193, 194, 195, 196, 197, 198, 199, 200, 201, 202, 204, 205, 206, 207,
                                   208, 209, 210, 211, 212, 213, 214, 215, 216, 217, 218, 219, 220, 221, 222, 223,
                                   224, 225, 226, 227, 228, 229, 230, 232, 233, 234, 235, 236, 237, 238, 239, 240,
                                   241, 242, 243, 244, 245, 246, 247, 248, 249, 250

                                                                             167, ±139, ±117, ±89, ±53, ±25), DC
                                   subcarriers (0, ±1, ±2, ±3, ±4, ±5) and subcarriers ±127, ±128, ±129 are skipped.




                                                                                                         14, 16, 18, 20,
                        2    244
                                   22, 24, 26, 28, 30, 32, 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56, 58, 60, 62, 64,
                                   66, 68, 70, 72, 74, 76, 78, 80, 82, 84, 86, 88, 90, 92, 94, 96, 98, 100, 102, 104,
                                   106, 108, 110, 112, 114, 116, 118, 120, 122, 124, 126, 130, 132, 134, 136, 138,
                                   140, 142, 144, 146, 148, 150, 152, 154, 156, 158, 160, 162, 164, 166, 168, 170,
                                   172, 174, 176, 178, 180, 182, 184, 186, 188, 190, 192, 194, 196, 198, 200, 202,
                                   204, 206, 208, 210, 212, 214, 216, 218, 220, 222, 224, 226, 228, 230, 232, 234,
                                   236, 238, 240, 242, 244, 246, 248, 250

                                                                    ±4 and ±128 are skipped.




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                                                  is sent back

       Channel                          Subcarriers for which Compressed Feedback Beamforming Matrix subfield
                      Ng        Ns
        Width                                            is sent: scidx(0), scidx  scidx(Ns-1)




                                                                          , 6, 10, 14, 18, 22, 26, 30, 34, 38, 42, 46, 50, 54,
       160 MHz         4       124
                                        58, 62, 66, 70, 74, 78, 82, 86, 90, 94, 98, 102, 106, 110, 114, 118, 122, 126, 130,
                                        134, 138, 142, 146, 150, 154, 158, 162, 166, 170, 174, 178, 182, 186, 190, 194,
                                        198, 202, 206, 210, 214, 218, 222, 226, 230, 234, 238, 242, 246, 250




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                                           is sent back

         Channel                   Subcarriers for which Compressed Feedback Beamforming Matrix subfield
                        Ng   Ns
          Width                                     is sent: scidx(0), scidx  scidx(Ns-1)




                                   15(L), 16(L), 17(L), 18(L), 19(L), 20(L), 21(L), 22(L), 23(L), 24(L), 25(L),
                                   26(L), 27(L), 28(L), 29(L), 30(L), 31(L), 32(L), 33(L), 34(L), 35(L), 36(L),
                                   37(L), 38(L), 40(L), 41(L), 42(L), 43(L), 44(L), 45(L), 46(L), 47(L), 48(L),
                                   49(L), 50(L), 51(L), 52(L), 53(L), 54(L), 55(L), 56(L), 57(L), 58(L), 59(L),
                                   60(L), 61(L), 62(L), 63(L), 64(L), 65(L), 66(L), 67(L), 68(L), 69(L), 70(L),
                                   71(L), 72(L), 73(L), 74(L), 76(L), 77(L), 78(L), 79(L), 80(L), 81(L), 82(L),
                                   83(L), 84(L), 85(L), 86(L), 87(L), 88(L), 89(L), 90(L), 91(L), 92(L), 93(L),
                                   94(L), 95(L), 96(L), 97(L), 98(L), 99(L), 100(L), 101(L), 102(L), 104(L), 105(L),
                                   106(L), 107(L), 108(L), 109(L), 110(L), 111(L), 112(L), 113(L), 114(L), 115(L),




          80+80
                        1    468
           MHz




                                   4(H), 5(H), 6(H), 7(H), 8(H), 9(H), 10(H), 12(H), 13(H), 14(H), 15(H), 16(H),
                                   17(H), 18(H), 19(H), 20(H), 21(H), 22(H), 23(H), 24(H), 25(H), 26(H), 27(H),
                                   28(H), 29(H), 30(H), 31(H), 32(H), 33(H), 34(H), 35(H), 36(H), 37(H), 38(H),
                                   40(H), 41(H), 42(H), 43(H), 44(H), 45(H), 46(H), 47(H), 48(H), 49(H), 50(H),
                                   51(H), 52(H), 53(H), 54(H), 55(H), 56(H), 57(H), 58(H), 59(H), 60(H), 61(H),
                                   62(H), 63(H), 64(H), 65(H), 66(H), 67(H), 68(H), 69(H), 70(H), 71(H), 72(H),
                                   73(H), 74(H), 76(H), 77(H), 78(H), 79(H), 80(H), 81(H), 82(H), 83(H), 84(H),
                                   85(H), 86(H), 87(H), 88(H), 89(H), 90(H), 91(H), 92(H), 93(H), 94(H), 95(H),
                                   96(H), 97(H), 98(H), 99(H), 100(H), 101(H), 102(H), 104(H), 105(H), 106(H),
                                   107(H), 108(H), 109(H), 110(H), 111(H), 112(H), 113(H), 114(H), 115(H),
                                   116(H), 117(H), 118(H), 119(H), 120(H), 121(H), 122(H)

                                                         x(L) denotes subcarrier index x in the frequency segment
                                   lower in frequency, and subcarrier x(H) denotes subcarrier index x in the
                                   frequency segment higher in frequency.

                                                                    ±75, ±39, ±11) and DC subcarriers (0, ±1) are
                                   skipped in each frequency segment.




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                                                  is sent back

       Channel                          Subcarriers for which Compressed Feedback Beamforming Matrix subfield
                      Ng        Ns
        Width                                            is sent: scidx(0), scidx  scidx(Ns-1)




                                        18(L), 20(L), 22(L), 24(L), 26(L), 28(L), 30(L), 32(L), 34(L), 36(L), 38(L),
                                        40(L), 42(L), 44(L), 46(L), 48(L), 50(L), 52(L), 54(L), 56(L), 58(L), 60(L),
                                        62(L), 64(L), 66(L), 68(L), 70(L), 72(L), 74(L), 76(L), 78(L), 80(L), 82(L),
                                        84(L), 86(L), 88(L), 90(L), 92(L), 94(L), 96(L), 98(L), 100(L), 102(L), 104(L),
                                        106(L), 108(L), 110(L), 112(L), 114(L), 116(L), 118(L), 120(L), 122(L),
                       2       244




         80+80
          MHz                           8(H), 10(H), 12(H), 14(H), 16(H), 18(H), 20(H), 22(H), 24(H), 26(H), 28(H),
                                        30(H), 32(H), 34(H), 36(H), 38(H), 40(H), 42(H), 44(H), 46(H), 48(H), 50(H),
                                        52(H), 54(H), 56(H), 58(H), 60(H), 62(H), 64(H), 66(H), 68(H), 70(H), 72(H),
                                        74(H), 76(H), 78(H), 80(H), 82(H), 84(H), 86(H), 88(H), 90(H), 92(H), 94(H),
                                        96(H), 98(H), 100(H), 102(H), 104(H), 106(H), 108(H), 110(H), 112(H), 114(H),
                                        116(H), 118(H), 120(H), 122(H)




                                        42(L), 46(L), 50(L), 54(L), 58(L), 62(L), 66(L), 70(L), 74(L), 78(L), 82(L),
                                        86(L), 90(L), 94(L), 98(L), 102(L), 106(L), 110(L), 114(L), 118(L), 122(L),
                       4       124


                                                                                H), 6(H), 10(H), 14(H), 18(H), 22(H),
                                        26(H), 30(H), 34(H), 38(H), 42(H), 46(H), 50(H), 54(H), 58(H), 62(H), 66(H),
                                        70(H), 74(H), 78(H), 82(H), 86(H), 90(H), 94(H), 98(H), 102(H), 106(H),
                                        110(H), 114(H), 118(H), 122(H)




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    The Average SNR of Space-Time Stream i subfield in the Table 8-53f is an 8-bit twos complement integer
    whose definition is shown in Table 8-53h.


                                                                                        subfield

                        Average SNR of Space-Time Stream i subfield               AvgSNRi

                                                                                     10 dB




                                           +126                                    53.5 dB

                                           +127                                    53.75 dB



    The AvgSNRi in Table 8-53h is found by computing the SNR per subcarrier in decibels for the subcarriers
    identified in Table 8-53g, and then computing the arithmetic mean of those values. Each SNR value per tone
    in stream i (before being averaged) corresponds to the SNR associated with the column i of the beamforming
    feedback matrix V determined at the beamformee. Each SNR corresponds to the predicted SNR at the
    beamformee when the beamformer applies all columns of the matrix V.

    A STA with a 40 MHz, 80 MHz, or 160 MHz operating channel width and sending feedback for a 20 MHz
    channel width includes only subcarriers corresponding to the primary 20 MHz channel in the Compressed
    Feedback Beamforming Matrix subfield.

    A STA with an 80 MHz or 160 MHz operating channel width and sending feedback for a 40 MHz channel
    width includes only subcarriers corresponding to the primary 40 MHz channel in the Compressed Feedback
    Beamforming Matrix subfield.

    A STA with a 160 MHz or 80+80 MHz operating channel width and sending feedback for an 80 MHz
    channel width includes only subcarriers corresponding to the primary 80 MHz channel in the Compressed
    Feedback Beamforming Matrix subfield.

                                                        ng to the bit-ordering specification detailed in 8.2.2.

    8.4.1.49 MU Exclusive Beamforming Report field

    The MU Exclusive Beamforming Report field is used by the VHT Compressed Beamforming feedback (see
    8.5.23.2) to carry explicit feedback information in the form of delta SNRs. The information in the VHT
    Compressed Beamforming Report field and the MU Exclusive Beamforming Report field can be used by the
    transmit MU beamformer to determine steering matrices Q, as described in 9.29.3, 20.3.12.3, and
    Table 22.3.11.

    The size of the MU Exclusive Beamforming Report field depends on the values in the VHT MIMO Control
    field. The MU Exclusive Beamforming Report field contains MU Exclusive Beamforming Report
    information or successive (possibly zero-length) portions thereof in the case of segmented VHT Compressed
    Beamforming feedback (see 9.31.5). The MU Exclusive Beamforming Report information is included in the
    VHT Compressed Beamforming feedback if the Feedback Type subfield in the VHT MIMO Control field
    indicates MU (see 8.4.1.47).




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    The MU Exclusive Beamforming Report information consists of Delta SNR subfields for each space-time
    stream (1 to Nc) of a subset of the subcarriers typically spaced 2Ng apart, where Ng is signaled in the
    Grouping subfield of the VHT MIMO Control field, starting from the lowest frequency subcarrier and
    continuing to the highest frequency subcarrier. No padding is present between SNR k i in the MU
    Exclusive Beamforming Report field, even if they correspond to different subcarriers. The subset of
    subcarriers included is determined by the values of the Channel Width and Grouping subfields of the VHT
    MIMO Control field as listed in Table 8-53j. For each subcarrier included, the deviation in dB of the SNR of
    that subcarrier for each column of V relative to the average SNR of the corresponding space-time stream is
    computed using Equation (8-2).

                                                                        2
                                                  Hk V k i
           SNRk   i   = min(max(round(10 log 10 ----------------------       SNRi)   8) 7)                                        (8-2)
                                                         N

    where
       k               is the subcarrier index in the range of sscidx                     sscidx(Ns
       i                                                                                  Nc
       Hk              is the estimated MIMO channel for subcarrier k

       Vk   i          is column i of the beamforming matrix V for subcarrier k

       N               is the average noise plus interference power, measured at the beamformee, that was used to
                       calculate SNR i

       SNR i          is the average SNR of space-time stream i reported in the VHT Compressed Beamforming
                      Report information (Average SNR in Space-Time Stream i field)

    Each Delta SNR subfield contains the                 SNR k      i   computed using Equation (8-2) and quantized to 4 bits in
                                                                         structure of the MU Exclusive Beamforming Report field
    is shown in Table 8-53i.




                                                              Size
                             Field                                                                    Meaning
                                                             (Bits)

     Delta SNR for space-time stream 1 for                      4            SNR sscidx         as defined in Equation (8-2)
                                                                                          0 1
     subcarrier k = sscidx(0)



     Delta SNR for space-time stream Nc for                     4            SNR sscidx          as defined in Equation (8-2)
                                                                                          0 Nc
     subcarrier k = sscidx(0)

     Delta SNR for space-time stream 1 for                      4            SNR sscidx         as defined in Equation (8-2)
                                                                                          1 1
     subcarrier k = sscidx(1)



     Delta SNR for space-time stream Nc for                     4            SNR sscidx          as defined in Equation (8-2)
                                                                                          1 Nc
     subcarrier k = sscidx(1)




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                                                        Size
                         Field                                                               Meaning
                                                       (Bits)

     Delta SNR for space-time stream 1 for                4         SNR sscidx             as defined in Equation (8-2)
                                                                                 Ns' 1 1
     subcarrier



     Delta SNR for space-time stream Nc for               4         SNR sscidx               as defined in Equation (8-2)
                                                                                 Ns' 1 Nc
     subcarrier
               sscidx() is defined in Table 8-53j.



    In Table 8-53i, Ns' is the number of subcarriers for which the Delta SNR subfield is sent back to the
    beamformer. Table 8-53j shows Ns', the exact subcarrier indices and their order for which the Delta SNR is
    sent back.


                                                                  rriers and subcarrier mapping

     Channel                             Subcarriers for which the Delta SNR subfield is sent: sscidx(0), sscidx
                    Ng        Ns'
      Width                                                             sscidx(   1)

                                                                                                                    2, 4, 6, 8, 10,
                     1         30
                                       12, 14, 16, 18, 20, 22, 24, 26, 28
      20 MHz




                     1         58
                                       22, 24, 26, 28, 30, 32, 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56, 58
      40 MHz
                     2         30
                                       18, 22, 26, 30, 34, 38, 42, 46, 50, 54, 58




                     1        122                                                                               8, 10, 12, 14, 16,
                                       18, 20, 22, 24, 26, 28, 30, 32, 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56, 58, 60, 62,
                                       64, 66, 68, 70, 72, 74, 76, 78, 80, 82, 84, 86, 88, 90, 92, 94, 96, 98, 100, 102, 104,
                                       106, 108, 110, 112, 114, 116, 118, 120, 122
      80 MHz

                     2         62
                                       14, 18, 22, 26, 30, 34, 38, 42, 46, 50, 54, 58, 62, 66, 70, 74, 78, 82, 86, 90, 94, 98,
                                       102, 106, 110, 114, 118, 122

                     4         32
                                       10, 18, 26, 34, 42, 50, 58, 66, 74, 82, 90, 98, 106, 114, 122




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     Channel                            Subcarriers for which the Delta SNR subfield is sent: sscidx(0), sscidx
                    Ng        Ns'
      Width                                                            sscidx(   1)




                     1       244                                                      8, 10, 12, 14, 16, 18, 20, 22, 24, 26, 28,
                                      30, 32, 34, 36, 38, 40, 42, 44, 46, 48, 50, 52, 54, 56, 58, 60, 62, 64, 66, 68, 70, 72, 74,
                                      76, 78, 80, 82, 84, 86, 88, 90, 92, 94, 96, 98, 100, 102, 104, 106, 108, 110, 112, 114,
                                      116, 118, 120, 122, 124, 126, 130, 132, 134, 136, 138, 140, 142, 144, 146, 148, 150,
                                      152, 154, 156, 158, 160, 162, 164, 166, 168, 170, 172, 174, 176, 178, 180, 182, 184,
                                      186, 188, 190, 192, 194, 196, 198, 200, 202, 204, 206, 208, 210, 212, 214, 216, 218,
                                      220, 222, 224, 226, 228, 230, 232, 234, 236, 238, 240, 242, 244, 246, 248, 250

     160 MHz                                                           and ±128 are skipped.




                                                                                    30, 34, 38, 42, 46, 50, 54, 58, 62, 66, 70,
                     2       124
                                      74, 78, 82, 86, 90, 94, 98, 102, 106, 110, 114, 118, 122, 126, 130, 134, 138, 142, 146,
                                      150, 154, 158, 162, 166, 170, 174, 178, 182, 186, 190, 194, 198, 202, 206, 210, 214,
                                      218, 222, 226, 230, 234, 238, 242, 246, 250




                     4        64
                                                                                62, 70, 78, 86, 94, 102, 110, 118, 126, 130,
                                      138, 146, 154, 162, 170, 178, 186, 194, 202, 210, 218, 226, 234, 242, 250




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     Channel                              Subcarriers for which the Delta SNR subfield is sent: sscidx(0), sscidx
                     Ng        Ns'
      Width                                                              sscidx(   1)




                                       26(L), 28(L), 30(L), 32(L), 34(L), 36(L), 38(L), 40(L), 42(L), 44(L), 46(L), 48(L),
                                       50(L), 52(L), 54(L), 56(L), 58(L), 60(L), 62(L), 64(L), 66(L), 68(L), 70(L), 72(L),
                                       74(L), 76(L), 78(L), 80(L), 82(L), 84(L), 86(L), 88(L), 90(L), 92(L), 94(L), 96(L),
                                       98(L), 100(L), 102(L), 104(L), 106(L), 108(L), 110(L), 112(L), 114(L), 116(L),
                      1        244




                                       14(H), 16(H), 18(H), 20(H), 22(H), 24(H), 26(H), 28(H), 30(H), 32(H), 34(H), 36(H),
                                       38(H), 40(H), 42(H), 44(H), 46(H), 48(H), 50(H), 52(H), 54(H), 56(H), 58(H), 60(H),
                                       62(H), 64(H), 66(H), 68(H), 70(H), 72(H), 74(H), 76(H), 78(H), 80(H), 82(H), 84(H),
         80+80                         86(H), 88(H), 90(H), 92(H), 94(H), 96(H), 98(H), 100(H), 102(H), 104(H), 106(H),
          MHz                          108(H), 110(H), 112(H), 114(H), 116(H), 118(H), 120(H), 122(H)




                                                                                 (L), 22(L), 26(L), 30(L), 34(L), 38(L),
                                       42(L), 46(L), 50(L), 54(L), 58(L), 62(L), 66(L), 70(L), 74(L), 78(L), 82(L), 86(L),
                      2        124


                                                                              22(H), 26(H), 30(H), 34(H), 38(H), 42(H),
                                       46(H), 50(H), 54(H), 58(H), 62(H), 66(H), 70(H), 74(H), 78(H), 82(H), 86(H), 90(H),
                                       94(H), 98(H), 102(H), 106(H), 110(H), 114(H), 118(H), 122(H)




                      4        64

                                       34(H), 42(H), 50(H), 58(H), 66(H), 74(H), 82(H), 90(H), 98(H), 106(H), 114(H),
                                       122(H)
                 sscidx() is defined in Table 8-53i.

                           x(L) denotes subcarrier index x in the frequency segment lower in frequency, and subcarrier x(H)
     denotes subcarrier index x in the frequency segment higher in frequency.



    8.4.1.50 Operating Mode field

    The Operating Mode field is present in the Operating Mode Notification frame (see 8.5.23.4) and Operating
    Mode Notification element (see 8.4.2.168).




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     The Operating Mode field is shown in Figure 8-80e.


                                     B0            B1       B2       B3     B4         B6       B7

                                      Channel Width          Reserved        Rx NSS         Rx NSS Type

                             Bits:           2                   2               3               1




     The STA transmitting this field indicates its current operating channel width and the number of spatial
     streams it can receive using the settings defined in Table 8-53k.




                  Subfield                                                Description

            Channel Width            If the Rx NSS Type subfield is 0, indicates the supported channel width:
                                         Set to 0 for 20 MHz
                                         Set to 1 for 40 MHz
                                         Set to 2 for 80 MHz
                                         Set to 3 for 160 MHz or 80+80 MHz

                                     Reserved if the Rx NSS Type subfield is 1.
            Rx NSS                   If the Rx NSS Type subfield is 0, indicates the maximum number of spatial
                                     streams that the STA can receive.

                                     If the Rx NSS Type subfield is 1, indicates the maximum number of spatial
                                     streams that the STA can receive as a beamformee in an SU PPDU using a
                                     beamforming steering matrix derived from a VHT Compressed Beamforming
                                     report with Feedback Type subfield indicating MU in the corresponding VHT
                                     Compressed Beamforming frame sent by the STA.

                                     Set to 0 for NSS = 1
                                     Set to 1 for NSS = 2

                                     Set to 7 for NSS = 8
            Rx NSS Type              Set to 0 to indicate that the Rx NSS subfield carries the maximum number of
                                     spatial streams that the STA can receive.
                                     Set to 1 to indicate that the Rx NSS subfield carries the maximum number of
                                     spatial streams that the STA can receive in an SU PPDU using a beamforming
                                     steering matrix derived from a VHT Compressed Beamforming report with the
                                     Feedback Type subfield indicating MU in the corresponding VHT Compressed
                                     Beamforming frame sent by the STA.

                                                                 ts this field to 0.



     8.4.1.51 Membership Status Array field

     The Membership Status Array field is used in the Group ID Management frame (see 8.5.23.3). The length of
     the field is 8 octets. An 8 octet Membership Status Array field (indexed by the group ID) consists of a 1-bit
     Membership Status subfield for each of the 64 group IDs, as shown in Figure 8-80f.




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                                        B0                       B1                                   B63

                               Membership Status      Membership Status                     Membership Status
                                 In Group ID 0          In Group ID 1                        In Group ID 63

                   Bits:                1                        1                                     1




     Within the 8 octet Membership Status Array field, the 1-bit Membership Status subfield for each group ID is
     set as follows:




     The Membership Status subfields for group ID 0 (transmissions to AP) and group ID 63 (downlink SU
     transmissions) are reserved.

     8.4.1.52 User Position Array field

     The User Position Array field is used in the Group ID Management frame (see 8.5.23.3). The length of the
     field is 16 octets. A 16 octet User Position Array field (indexed by the Group ID) consists of a 2-bit User
     Position subfield for each of the 64 group IDs, as shown in Figure 8-80g.

                                   B0            B1    B2             B3                   B126        B127

                                   User Position In    User Position In                    User Position In
                                     Group ID 0          Group ID 1                         Group ID 63

                           Bits:             2                   2                                2




     If the Membership Status subfield for a particular group ID is 1, then the corresponding User Position
     subfield is encoded as shown in Table 8-53l.




                                        User Position subfield
                                                                           User position
                                               value

                                                 00                             0

                                                 01                             1
                                                 10                             2

                                                 11                             3



     If the Membership Status subfield for a group ID is 0 (meaning the STA is not a member of that group), then
     the corresponding User Position subfield in the User Position Array field is reserved.

     The User Position subfields for group ID 0 (transmissions to AP) and group ID 63 (downlink SU
     transmissions) are reserved.




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     8.4.2 Information elements

     8.4.2.1 General

     Insert the following rows into Table 8-54 in numeric order, and change the reserved values accordingly:




                                                                                      Length of indicated
                             Element                               Element ID                                   Extensible
                                                                                      element (in octets)

       VHT Capabilities (see 8.4.2.160)                                 191                     14                  Yes

       VHT Operation (see 8.4.2.161)                                    192                      7                  Yes
       Extended BSS Load (see 8.4.2.162)                                193                      8                  Yes

       Wide Bandwidth Channel Switch (see 8.4.2.163)                    194                      5                  Yes
       VHT Transmit Power Envelope (see 8.4.2.164)                      195                    5 or 7               Yes

       Channel Switch Wrapper (see 8.4.2.165)                           196                 7 to 257           Subelements

       AID (see 8.4.2.166)                                              197                      4
       Quiet Channel                                                    198                    3 or 9               Yes

       Operating Mode Notification                                      199                      3                  Yes



     8.4.2.3 Supported Rates element

     Change Table 8-55 as follows:




                Value           Feature                                       Interpretation

                 127            HT PHY            Support for the mandatory features of Clause 20 is required in order
                                                  to join the BSS that was the source of the Supported Rates element or
                                                  Extended Supported Rates element containing this value.
                 126           VHT PHY            Support for the mandatory features of Clause 22 is required in order
                                                  to join the BSS that was the source of the Supported Rates element or
                                                  Extended Supported Rates element containing this value.



     8.4.2.10 Country element

     Change 8.4.2.10 (including inserting Figure 8-90a to Figure 8-90d) as follows:

     The Country element contains the information required to allow a STA to identify the regulatory domain in
     which the STA is located and to configure its PHY for operation in that regulatory domain. The format of
     this element is as shown in Figure 8-90.




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                                                                          These three fields are repeated,
                                                                         as determined by the Length field

                                                                   First Channel     Number of       Maximum
                                                                     Number /                         Transmit
               Element ID            Length         Country          Operating       Channels /     Power Level          Pad
                                                     String                          Operating                      (if needed)
                                                                     Extension         Class        / Coverage
                                                                      Identifier                       Class

     Octets:        1                  1                3                1                1              1            0 or 1


                                      Element ID      Length       Country String      Triplet       Pad (if
                                                                                                    needed)

                        Octets:            1                1            3                    3       0 or 1




     The element ID for this element is set to the value for Country, specified in Table 8-54. The length of the
     element is variable, as the element may contains the variable-length Triplet field. more than one triplet
     comprising the First Channel Number, Number of Channels, and Maximum Transmit Power Level fields
     and referred to as subband triplets. Alternatively, where dot11OperatingClassesRequired is true and the First
     Channel Number/Operating Extension Identifier octet has a positive integer value of 201 or greater, then
     that triplet comprises the Operating Extension Identifier, Operating Class, and Coverage Class fields.
     Together they are referred to as an operating triplet. The minimum length of the element is 8 octets.

     If dot11OperatingClassesRequired is false, then the Triplet field is a single Subband Triplet Sequence field,
     as shown in Figure 8-90a, that is composed of Q Subband Triplet fields, where Q is one or more. The format
     of the Subband Triplet field is shown in Figure 8-90b.

                                                                    One or more

                                                                      Subband
                                                                       Triplet

                                                        Octets:          3




                                                   First Channel     Number of       Maximum
                                                                                     Transmit
                                                      Number         Channels       Power Level

                                       Octets:           1               1                1




     If dot11OperatingClassesRequired is true, then the Triplet field is composed of zero or more Subband
     Triplet fields followed by one or more Operating/Subband Sequences, as shown in Figure 8-90c. Each
     Operating/Subband Sequence is composed of one Operating Triplet field followed by one Subband Triplet
     Sequence field, as shown in Figure 8-90d. Each Subband Triplet Sequence field is composed of zero or
     more Subband Triplet fields. If dot11OperatingClassesRequired is true, the number of triplets in the Triplet
                           M

     field is Q = N +             1 + P(m) , where N is the total number of Subband Triplet fields and M is the total
                         m=1




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     number of Operating/Subband Sequences contained in Country element and P(m) is the number of Subband
     Triplet fields making up Operating/Subband Sequence field m.

                                                                             One or more indexed by
                                                   Zero or more
                                                                             m = 1 2     M; M 1

                                                                                 Operating/Subband
                                                 Subband Triplet                     Sequence

                              Octets:                    3                               3


                                                                     1OperaratingClassRequired is true


                                                 Operating Triplet
                                                                                     Subband Triplet Sequence
                                  Operating                                          made up of P(m) Subband
                                  Extension         Operating         Coverage      Triplet fields, where P(m) 0
                                                     Class             Class
                                  Identifier

                    Octets:             1               1                1                     3


                                                             -th Operating/Subband Sequence field


     The number Q of Subband fields or Operating triplet fields in the element is determined by the Length field.

     An operating class for an 80+80 MHz channel width is expressed by two consecutive Operating/Subband
     Sequences, where the first Operating/Subband Sequence field contains an Operating Triplet field indicating
     an 80 MHz Channel Spacing with an 80+ Behavior Limit and the second Operating/Subband Sequence field
     contains an Operating Triplet field indicating an 80 MHz Channel Spacing without an 80+ Behavior Limit.

     Operating/Subband Sequence fields that contain an Operating Class fi
                    in the appropriate table in Annex E equals 80 or 160 contain zero Subband Triplet fields.

                                            eld indicating 80 MHz, 160 MHz, and 80+80 MHz can be omitted from the Country
     element (see 9.18.5).

                                            nvelope element is always used for TPC for 80 MHz, 160 MHz, or 80+80 MHz
     operating classes instead of Subband Triplet fields (see 10.39.1).

     The first octet in each Subband Triplet field or Operating Triplet field contains an unsigned integer and
     identifies the type of field. If the integer has a value less than or equal to 200, then the field is a Subband
     Triplet field. If the integer has a value of 201 or greater, then the field is an Operating Triplet field.

     The minimum length of the element is 8 octets.

     The Country String field of the element is 3 octets in length. The AP and mesh STA set this field to the value
     contained in the dot11CountryString attribute before transmission in a Beacon or Probe Response frame.
     Upon reception of this element, a STA sets the value of the dot11CountryString to the value contained in
     this field. The three octets of the Country String have additional structure as defined by dot11CountryString
     (see Annex C).

     The First Channel Number/Operating Extension Identifier field is 1 octet in length. If the field has a positive
     integer value less than 201, then it contains a positive integer value that indicates the lowest channel number
     in the Subband Triplet field subband described in this element. The group of channels described by each
     pair of the No channel is indicated by more than one pair of First Channel Number and the Number of
     Channels fields within a Subband Triplet Sequence field do not have overlapping channel identifiers. [For


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     example, the (First Channel Number, Number of Channels) pairs (2, 4) and (5, 2) in 2.4 GHz each indicate
     channel 5 overlap and, therefore, are not used within the same Subband Triplet Sequence field together.]
     The First Channel Numbers are monotonically increasing within a Subband Triplet Sequence field where
     dot11OperatingClassesRequired is not true.

     Where dot11OperatingClassesRequired is true, consecutive subband triplets following an operating triplet
     have monotonically increasing First Channel Number fields.

     The Number of Channels subfield of the subelement is 1 octet in length. Outside the 2.4 GHz band, the
     channel numbers that are included in a group of channels are separated by the operating channel width. For
     Subband Triplet fields that are not within an Operating/Subband Sequence field, the operating channel width
     is 20 MHz. For Subband Triplet fields that are within an Operating/Subband Sequence field, the operating
     channel width is as indicated by the operating class in the same Operating/Subband Sequence field. In the
     2.4 GHz band, the channel numbers that are included in a group of channels are separated by 5 MHz (for
     both 20 and 40 MHz operating channel width), except that channel 14 is treated as if it were 5 MHz above
     channel 13.

                                                               band can be represented using one Subband Triplet subfield
     with First Channel Number = 1 and Number of Channels = 11. The channels 36, 40, 44 and 48 with 20 MHz operating
     channel width in the 5 GHz band can be represented using one Subband Triplet subfield with First Channel Number = 36
     and Number of Channels = 4. The six channels 183, 184, 185, 187, 188 and 189 (but not 186) with 10 MHz operating
     channel width can be represented using three Subband Triplet subfields: one with First Channel Number = 183 and
     Number of Channels = 4, one with First Channel Number = 184 and Number of Channels = 1 and one with First Channel
     Number = 188 and Number of Channels = 1.

     The Maximum Transmit Power Level field is a signed number and is 1 octet in length. It The Maximum
     Transmit Power Level field indicates the maximum power, in dBm, allowed to be transmitted. As the
     method of measurement for maximum transmit power level differs by regulatory domain, the value in this
     field is interpreted according to the regulations applicable for the domain identified by the Country String.

     An operating class is an index into a set of values for radio equipment sets of rules. The Operating Class
     field is 1 octet in length.

     A coverage class is an index into a set of values for aAirPropagationTime. The Coverage Class field is 1
     octet in length.

     The Coverage Class field of the operating triplet Operating Triplet field specifies the aAirPropagationTime
     characteristic used in BSS operation, as shown in Table 8-56. The characteristic aAirPropagationTime
     describes variations in actual propagation time that are accounted for in a BSS and, together with maximum
     transmit power level, allow control of BSS diameter.

     The Pad field is 0 or 1 octet in length. The length of the Country element is evenly divisible by 2. The Pad is
     used to add a single octet to the element if the length is not evenly divisible by 2. The value of the Pad field
     is 0.

     8.4.2.17 Power Capability element

     Change the third and fourth paragraphs in 8.4.2.17 as follows:

     The Minimum Transmit Power Capability field is set to the nominal minimum transmit power with which
     the STA is capable of transmitting in the current channel, with a tolerance ± 5 dB. The field is coded as a
     signed integer in units of decibels relative to 1 mW. Further interpretation of this field is defined in 10.8.3.




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     The Maximum Transmit Power Capability field is set to the nominal maximum transmit power with which
     the STA is capable of transmitting in the current channel, with a tolerance ± 5 dB. The field is coded as a
     signed integer in units of decibels relative to 1 mW. Further interpretation of this field is defined in 10.8.3.

     8.4.2.22 Secondary Channel Offset element

     Change the first paragraph of 8.4.2.22 as follows:

     The Secondary Channel Offset element is used by an AP in a BSS, a STA in an IBSS, or a mesh STA in an
     MBSS together with the Channel Switch Announcement element when changing to a new 40 MHz or wider
     channel. The format of the Secondary Channel Offset element is shown in Figure 8-103.

     8.4.2.23 Measurement Request element

     8.4.2.23.2 Basic request

     Change the second paragraph of 8.4.2.23.2 as follows:

     The Channel Number field is set to the channel number for which the measurement request applies (as
     defined in 18.3.8.4.3) where the channel number is a value from the hannel set olumn in Table E-4, in a
     row having the same value in the hannel spacing (MHz) olumn as the width of the primary channel of
     the BSS.

     8.4.2.23.3 CCA request

     Change the second paragraph of 8.4.2.23.3 as follows:

     The Channel Number field is set to the channel number for which the measurement request applies (as
     defined in 18.3.8.4.3) where the channel number is a value from the hannel set olumn in Table E-4, in a
     row having the same value in the hannel spacing (MHz) olumn as the width of the primary channel of
     the BSS.

     8.4.2.23.4 RPI histogram request

     Change the second paragraph of 8.4.2.23.4 as follows:

     The Channel Number field is set to the channel number for which the measurement request applies (as
     defined in 18.3.8.4.3) where the channel number is a value from the hannel set olumn in Table E-4, in a
     row having the same value in the hannel spacing (MHz) olumn as the width of the primary channel of
     the BSS.

     8.4.2.23.5 Channel Load request

     Change the second and third paragraphs of 8.4.2.23.5 (including combining them into one paragraph),
     and insert a subsequent note and new third paragraph as follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in
     Annex E, excluding operating classes that encompass a primary channel but do not identify the location of
     the primary channel. The Channel Number field indicates the channel number for which the measurement
     request applies. Channel Nnumber is defined within an Operating Class operating class as shown in
     Annex E.


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                                                 encompass a primary channel but do not identify the location of the primary
     channel are operating classes with a value of 80 or 160 in the hannel Spacing (MHz) olumn in the applicable table
     in Annex E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement request applies, and the Operating Class
     field and Channel Number field together specify the primary channel and primary 40 MHz channel within
     the channel identified by the Wide Bandwidth Channel Switch subelement.

     Change Table 8-60 as follows:




                                                                                        Length field
              Subelement ID                              Name                                              Extensible
                                                                                          (octets)

                     0                Reserved

                     1                Channel Load Reporting Information                     2                 Yes
                         220          Reserved

                    163               Wide Bandwidth Channel Switch                          3                 Yes
                                      Reserved

                    221               Vendor Specific                                     1 to 244




     Insert the following paragraph before the last paragraph of 8.4.2.23.5:

     The Wide Bandwidth Channel Switch subelement has the same format as the corresponding element (see
     8.4.2.163), with the constraint that the New Channel Width field indicates an 80 MHz, 160 MHz, or
     80+80 MHz operating channel width.

     8.4.2.23.6 Noise Histogram Request

     Change the second and third paragraphs of 8.4.2.23.6 (including combining them into one paragraph),
     and insert a new third paragraph as follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in
     Annex E, excluding operating classes that encompass a primary channel but do not identify the location of
     the primary channel. The Channel Number field indicates the channel number for which the measurement
     request applies. Channel Nnumber is defined within an Operating Class operating class as shown in Annex
     E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement request applies, and the Operating Class
     and Channel Number together specify the primary channel and primary 40 MHz channel within the channel
     identified by the Wide Bandwidth Channel Switch subelement.




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     Change Table 8-62 as follows:




                                                                               Length field
             Subelement ID                              Name                                     Extensible
                                                                                 (octets)

                     0                Reserved
                     1                Noise Histogram Reporting Information         2               Yes
                         220          Reserved

                   163                Wide Bandwidth Channel Switch                 3               Yes
                                      Reserved

                   221                Vendor Specific                            1 to 244




     Insert the following paragraph before the last paragraph of 8.4.2.23.6:

     The Wide Bandwidth Channel Switch subelement has the same format as the corresponding element (see
     8.4.2.163), with the constraint that the New Channel Width field indicates an 80 MHz, 160 MHz, or
     80+80 MHz operating channel width.

     8.4.2.23.7 Beacon Request

     Change the second and third paragraphs (including creating several new paragraphs) in 8.4.2.23.7 as
     follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in
     Annex E.

     For operating classes that encompass a primary channel but do not identify the location of the primary
     channel, the Channel Number field value is either 0 or 255; otherwise, the Channel Number field value is 0,
     255, or Channel Number indicates the channel number for which the measurement request applies and.
     Channel Number is defined within an Operating Class operating class as shown in Annex E.

     For operating classes that identify the location of the primary channel, aA Channel Number field value of 0
     indicates a request to make iterative measurements for all supported channels in the Operating Class
     operating class where the measurement is permitted on the channel and the channel is valid for the current
     regulatory domain.

     For operating classes that encompass a primary channel but do not identify the location of the primary
     channel, a Channel Number field value of 0 indicates a request to make iterative measurements for all
     primary channel positions within all requested and supported channels where the measurement is permitted
     on the channel and the channel is valid for the current regulatory domain.




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     For operating classes that identify the location of the primary channel, aA Channel Number field value of
     255 indicates a request to make iterative measurements for all supported channels in the current Operating
     Class operating class listed in the latest AP Channel Report received from the serving AP.

     For operating classes that encompass a primary channel but do not identify the location of the primary
     channel, a Channel Number field value of 255 indicates a request to make iterative measurements for all
     primary channel positions within all channels listed in the AP Channel Report subelement where the channel
     is supported, the measurement is permitted on the channel, and the channel is valid for the current regulatory
     domain. The procedures for iterative measurements on multiple channels are described in 10.11.9.1.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement report applies, and the Operating Class
     and Channel Number fields together specify the primary channel and primary 40 MHz channel within the
     channel identified by the Wide Bandwidth Channel Switch subelement.

     Change the following rows in Table 8-65 as follows:




                                                                                 Length field
             Subelement ID                           Name                                            Extensible
                                                                                   (octets)

                        220         Reserved

                   163              Wide Bandwidth Channel Switch                      3                 Yes
                                    Reserved



     Change the second to last paragraph of 8.4.2.23.7 as follows:

     The Request, AP Channel Report, and Vendor Specific subelements have the same format as their
     corresponding elements (see 8.4.2.13, 8.4.2.38, and 8.4.2.28, respectively). Multiple AP Channel Report and
     Vendor Specific subelements can be included in the list of optional subelements. An AP Channel Report
     subelement containing an operating class with an 80+ Behavior Limit (as defined in Annex E) is interpreted
     in conjunction with following AP Channel Report elements as defined in 10.11.9.1.

     8.4.2.23.8 Frame request

     Change the second and third paragraphs of 8.4.2.23.8 (including combining them into one paragraph),
     and insert a new third paragraph as follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in
     Annex E, excluding operating classes that encompass a primary channel but do not identify the location of
     the primary channel. The Channel Number field indicates the channel number for which the measurement
     report applies. Channel Nnumber is defined within an Operating Class operating class as shown in Annex E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement request applies, and the Operating Class
     and Channel Number fields together specify the primary channel and primary 40 MHz channel within the
     channel identified by the Wide Bandwidth Channel Switch subelement.



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     Change Table 8-68 as follows:




                                                                               Length field
             Subelement ID                              Name                                    Extensible
                                                                                 (octets)

                      220             Reserved
                   163                Wide Bandwidth Channel Switch                 3              Yes
                                      Reserved

                   221                Vendor Specific                            1 to 137




     Insert the following paragraph before the last paragraph of 8.4.2.23.8:

     The Wide Bandwidth Channel Switch subelement has the same format as the corresponding element (see
     8.4.2.163), with the constraint that the New Channel Width field indicates an 80 MHz, 160 MHz, or
     80+80 MHz operating channel width.

     8.4.2.24 Measurement Report element

     8.4.2.24.2 Basic report

     Change the second paragraph of 8.4.2.24.2 as follows:

     The Channel Number field is set to the channel number to which the basic report applies (as defined in
     18.3.8.4.3) where the Channel Number is a value from the hannel set olumn in Table E-4, in a row
     having the same value in the hannel spacing (MHz) olumn as the width of the primary channel of the
     BSS.

     8.4.2.24.3 CCA report

     Change the second paragraph of 8.4.2.24.3 as follows:

     The Channel Number field contains the channel number to which the CCA report applies (as defined in
     18.3.8.4.3) where the Channel Number is a value from the hannel set olumn in Table E-4, in a row
     having the same value in the hannel spacing (MHz) olumn as the width of the primary channel of the
     BSS.

     8.4.2.24.4 RPI histogram report

     Change the second paragraph of 8.4.2.24.4 as follows:

     The Channel Number field is set to the channel number to which the RPI histogram report applies (as
     defined in 18.3.8.4.3) where the Channel Number is a value from the hannel set olumn in Table E-4, in
     a row having the same value in the hannel spacing (MHz) olumn as the width of the primary channel of
     the BSS.




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     8.4.2.24.5 Channel Load request

     Change the second and third paragraphs of 8.4.2.24.5 (including combining them into one paragraph),
     and insert a new note and new third paragraph as follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in
     Annex E, excluding operating classes that encompass a primary channel but do not identify the location of
     the primary channel. The Channel Number field indicates the channel number for which the measurement
     request applies. Channel Nnumber is defined within an Operating Class operating class as shown in
     Annex E.
                                                 encompass a primary channel but do not identify the location of the primary
     channel are operating classes with a value of 80 or 160 in the hannel Spacing (MHz) olumn of the applicable table
     in Annex E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement request applies, and the Operating Class
     and Channel Number fields together specify the primary channel and primary 40 MHz channel within the
     channel identified by the Wide Bandwidth Channel Switch subelement.

     Change Table 8-83 as follows:




                                                                                        Length field
              Subelement ID                              Name                                              Extensible
                                                                                          (octets)

                        220           Reserved

                    163               Wide Bandwidth Channel Switch                          3                 Yes

                                      Reserved
                    221               Vendor Specific                                     1 to 237




     Insert the following paragraph before the last paragraph of 8.4.2.24.5:

     The Wide Bandwidth Channel Switch subelement has the same format as the corresponding element (see
     8.4.2.163), with the constraint that the New Channel Width field indicates an 80 MHz, 160 MHz, or
     80+80 MHz operating channel width.

     8.4.2.24.6 Noise Histogram Report

     Change the second and third paragraphs of 8.4.2.24.6 (including combining them into one paragraph),
     and insert a new third paragraph as follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in



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     Annex E, excluding operating classes that encompass a primary channel but do not identify the location of
     the primary channel. The Channel Number field indicates the channel number for which the measurement
     report applies. Channel Nnumber is defined within an Operating Class operating class as shown in Annex E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement report applies, and the Operating Class
     and Channel Number together specify the primary channel and primary 40 MHz channel within the channel
     identified by the Wide Bandwidth Channel Switch subelement.

     Change Table 8-85 as follows:




                                                                                 Length field
             Subelement ID                              Name                                       Extensible
                                                                                   (octets)

                      220             Reserved

                   163                Wide Bandwidth Channel Switch                    3               Yes
                                      Reserved

                   221                Vendor Specific                              1 to 225




     8.4.2.24.7 Beacon Report

     Change the second and third paragraphs of 8.4.2.24.7, and insert a new fourth paragraph as follows:

     The Operating Class field indicates the operating class that identifies the channel set of the received Beacon
     or Probe Response frame channel set for which the measurement request applies. The Country, Operating
     Class, and Channel Number fields together specify the channel frequency and spacing of the received
     Beacon or Probe Response frame for which the measurement request applies. Valid values of Operating
     Class operating classes are shown listed in Annex E.

     The Channel Number field indicates the channel number of the received Beacon or Probe Response frame
     for which the measurement report applies. Channel Nnumber is defined within an Operating Class operating
     class as shown in Annex E.

     If the PPDU carrying the received frame comprises noncontiguous frequency segments, the Operating Class
     and Channel Number fields identify the center frequency of frequency segment 0, and a Wide Bandwidth
     Channel Switch subelement is included.

     8.4.2.24.8 Frame Report

     Change the second and third paragraphs of 8.4.2.24.8 (including combining them into one paragraph),
     and insert a new third paragraph as follows:

     If the Wide Bandwidth Channel Switch subelement is not included, the Operating Class field indicates the
     operating class that identifies the channel set for which the measurement request applies. The Country,
     Operating Class, and Channel Number fields together specify the channel frequency and spacing for which
     the measurement request applies. Valid values of Operating Class operating classes are shown listed in
     Annex E, excluding operating classes that encompass a primary channel but do not identify the location of



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     the primary channel. The Channel Number field indicates the channel number for which the measurement
     report applies. Channel Nnumber is defined within an Operating Class operating class as shown in Annex E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the channel for which the measurement report applies, and the Operating Class
     and Channel Number fields together specify the primary channel and primary 40 MHz channel within the
     channel identified by the Wide Bandwidth Channel Switch subelement.

     Change Table 8-87 as follows:




                                                                               Length field
             Subelement ID                          Name                                           Extensible
                                                                                 (octets)

                   0              Reserved

                   1              Frame Count Report                             0 to 228
                        220       Reserved

                  163             Wide Bandwidth Channel Switch                      3                 Yes
                                  Reserved

                  221             Vendor Specific                                1 to 238




     Insert the following paragraph as the second to last paragraph of 8.4.2.24.8:

     The Wide Bandwidth Channel Switch subelement has the same format as the corresponding element (see
     8.4.2.163), with the constraint that the New Channel Width field indicates an 80 MHz, 160 MHz, or
     80+80 MHz operating channel width.

     8.4.2.27 RSNE

     8.4.2.27.1 General




     8.4.2.27.2 Cipher suites

     Insert the following paragraph after the third paragr
     8.4.2.27.2:

     The use of GCMP as a group cipher suite with a pairwise cipher suite other than GCMP is not supported.




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     Change the following rows in Table 8-99, insert the new rows into the table in numeric order, and change
     the reserved values accordingly:




                        OUI              Suite type                        Meaning

                 00-0F-AC                     4       CCMP-128
                                                      group cipher suite for data frames in an RSNA

                 00-0F-AC                     6       BIP-CMAC-128                       gement cipher
                                                      suite in an RSNA with management frame protection
                                                      enabled
                 00-0F-AC                     8       GCMP-128

                 00-0F-AC                     9       GCMP-256
                 00-0F-AC                     10      CCMP-256

                 00-0F-AC                     11      BIP-GMAC-128
                 00-0F-AC                     12      BIP-GMAC-256

                 00-0F-AC                     13      BIP-CMAC-256



     Change the now tenth paragraph of 8.4.2.27.2 as follows:

     The cipher suite selector 00-0F-AC:4 (CCMP-128) is the default cipher suite value.

     Change the following rows in Table 8-100, and insert the new rows at the end of the table:




                          Cipher suite selector        GTK               PTK             IGTK

                        CCMP-128                        Yes               Yes              No

                        BIP-CMAC-128                    No                No               Yes
                        GCMP-128                        Yes               Yes              No

                        GCMP-256                        Yes               Yes              No
                        CCMP-256                        Yes               Yes              No

                        BIP-GMAC-128                    No                No               Yes

                        BIP-GMAC-256                    No                No               Yes
                        BIP-CMAC-256                    No                No               Yes




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     8.4.2.27.3 AKM suites

     Insert the following rows in Table 8-101 in numeric order, and change the reserved values accordingly:




                                                                            Meaning
          OUI           Suite type
                                                                                                          Key derivation
                                         Authentication type            Key management type
                                                                                                               type

      00-0F-AC             11         Authentication negotiated      RSNA key management as            Defined in
                                      over IEEE 802.1X or using      defined in 11.6 or using          11.6.1.7.2 using
                                      PMKSA caching as defined       PMKSA caching as defined          HMAC-SHA256
                                      in 11.5.9.3 using a Suite B    in 11.5.9.3 with HMAC-
                                      compliant EAP method           SHA256
                                      supporting EC of
                                      GF(p=256)
      00-0F-AC             12         Authentication negotiated      RSNA key management as            Defined in
                                      over IEEE 802.1X or using      defined in 11.6 or using          11.6.1.7.2 using
                                      PMKSA caching as defined       PMKSA caching as defined          HMAC-SHA384
                                      in 11.5.9.3 using a Suite B    in 11.5.9.3 with HMAC-
                                      compliant EAP method           SHA384
                                      supporting EC of
                                      GP(p=384)

      00-0F-AC             13         FT authentication              FT key management as              Defined in
                                      negotiated over IEEE           defined in 11.6.1.7 with          11.6.1.7.2 using
                                      802.1X                         HMAC-SHA384                       HMAC-SHA384



     Insert the following paragraph at the end of 8.4.2.27.3:

     The AKM suite selector value 00-0F-AC:11 shall be used only with cipher suite selector values 00-0F-AC:8
     (GCMP-128) and 00-0F-AC:11 (BIP-GMAC-128). The AKM suite selector value 00-0F-AC:12 shall be
     used only with cipher suite selector values 00-0F-AC:9 (GCMP-256), 00-0F-AC:10 (CCMP-256), 00-0F-
     AC:13 (BIP-CMAC-256), and 00-0F-AC:12 (BIP-GMAC-256).

     8.4.2.29 Extended Capabilities element

     Insert the following rows in Table 8-103, and change the reserved bits accordingly:




          Bit           Information                                          Description

          61       TDLS Wider              The TDLS Wider Bandwidth subfield indicates whether the STA supports a
                   Bandwidth               wider bandwidth than the BSS bandwidth for a TDLS direct link on the base
                                           channel. The field is set to 1 to indicate that the STA supports a wider bandwidth
                                           on the base channel and to 0 to indicate that the STA does not support a wider
                                           bandwidth on the base channel. A 160 MHz bandwidth is defined to be identical
                                           to an 80+80 MHz bandwidth (i.e., one is not wider than the other).




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         Bit           Information                                          Description

          62        Operating Mode        If dot11OperatingModeNotificationImplemented is true, the Operating Mode
                    Notification          Notification field is set to 1 to indicate support for reception of the Operating
                                          Mode Notification element and the Operating Mode Notification frame.
                                          If dot11OperatingModeNotificationImplemented is false or not present, the
                                          Operating Mode Notification field is set to 0 to indicate lack of support for
                                          reception of the Operating Mode Notification element and the Operating Mode
                                          Notification frame.
                                          Indicates the maximum number of MSDUs in an A-MSDU that the STA is able
                    MSDUs In A-           to receive:
                    MSDU                  Set to 0 to indicate that no limit applies.
                                          Set to 1 for 32.
                                          Set to 2 for 16.
                                          Set to 3 for 8
                                          Reserved, if A-MSDU is not supported.



     8.4.2.31 EDCA Parameter Set element

     Change Table 8-105 as follows:



                                            if dot11OCBActivated is false

                                                                                                TXOP limit

                                                                                                 For PHYs defined
        AC             CWmin                      CWmax         AIFSN       For PHYs defined       in Clause 18,     Other
                                                                             in Clause 16 and     Clause 19, and
                                                                                 Clause 17        Clause 20, and     PHYs
                                                                                                     Clause 22

      AC_BK            aCWmin                     aCWmax            7               0                   0              0
      AC_BE            aCWmin                     aCWmax            3               0                   0              0




     8.4.2.38 AP Channel Report element

     Change the first paragraph of 8.4.2.38 as follows:

     The AP Channel Report element contains a list of channels where a STA is likely to find an AP. The format
     of the AP Channel Report element is shown in Figure 8-214. See 10.11.6 10.11.18 for details.




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     8.4.2.39 Neighbor Report element

     Change Figure 8-216 as follows:


                  B0                                                                                                     B12
                                    B2          B3          B4       B9     B10                B11            B12
                  B1                                                                                                     B13 B31

                 AP             Security     Key Scope      Capabilities   Mobility           High         Very High
              Reachability                                                 Domain          Throughput     Throughput     Reserved

      Bits:        2                1               1            6            1                 1              1           20 19




     Insert the following paragraph afte

     The Very High Throughput bit is set to 1 to indicate that the AP represented by this BSSID is a VHT AP
     and that the VHT Capabilities element, if included as a subelement in the report, is identical in content to the
     VHT Capabilities element incl

     Change the now 13th, 14th, and 15th paragraphs of 8.4.2.39 as follows:

     Bits 1213

     Operating Class field indicates the channel set of the AP indicated by this BSSID. The Country, Operating
     Class, and Channel Number fields together specify the channel frequency and spacing for the channel on
     which the Beacon frames are being transmitted for the BSS being reportedAP indicated by this BSSID.
     Valid values of Operating Class operating classes are shown listed in Annex E.

     The Channel Number field indicates the last known operating primary channel of the AP indicated by this
     BSSID. Channel Nnumber is defined within an Operating Class operating class as shown in Annex E.

     Change Table 8-115 as follows:




                                                                             Length field
                 Subelement ID                          Name                                            Extensible
                                                                               (octets)

                              190        Reserved

                        191              VHT Capabilities                         12                       Yes

                        192              VHT Operation                                5                    Yes
                                         Reserved



     Insert the following paragraphs after the now 27th paragraph


     The VHT Capabilities subelement is the same as the VHT Capabilities element as defined in 8.4.2.160.

     The VHT Operation subelement is the same as the VHT Operation element as defined in 8.4.2.161.



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     8.4.2.40 RCPI element

     Change the last paragraph of 8.4.2.40 as follows:

     The RCPI field contains an RCPI value as specified for certain PHYs in Clause 16, Clause 18, Clause 17,
     Clause 19, and Clause 20, and Clause 22.

     8.4.2.48 Multiple BSSID element

     Change the fourth bullet in the dashed list of the eighth paragraph of 8.4.2.48 as follows:

     The Nontransmitted BSSID Profile subelement contains a list of elements for one or more APs or DMG
     STAs that have nontransmitted BSSIDs and is defined as follows:

            Set, Country, FH Parameters, FH Pattern Table, Channel Switch Assignment, Extended Channel
            Switch Announcement, Wide Bandwidth Channel Switch, VHT Transmit Power Envelope,
            Supported Operating Classes, IBSS DFS, ERP Information, HT Capabilities, and HT Operation,
            VHT Capabilities, and VHT Operation elements are not included in the Nontransmitted BSSID
            Profile field; the values of these elements for each nontransmitted BSSID are always the same as the
            corresponding transmitted BSSID element values.

     8.4.2.56 Supported Operating Classes element

     Change 8.4.2.56, including inserting two new figures (Figure 8-246a and Figure 8-246b), as follows:

     The Supported Operating Classes element is used by a STA to advertise the operating classes that it is
     capable of operating with in this country. The format of the Supported Operating Classes element is shown
     in Figure 8-246.


                                                   Current                 Current Operating     Operating
                                                              Operating     Class Extension     Class Duple
                         Element ID      Length   Operating    Classes         Sequence          Sequence
                                                    Class
                                                                               (optional)        (optional)

             Octets:          1             1        1         variable         variable          variable




     The value of the Length field of the Supported Operating Classes element is between 2 and 253.

     The Current Operating Class octet field, concatenated with the Current Operating Class Extension field
     within the Current Operating Class Extension Sequence field if present, indicates the operating class in use
     for transmission and reception. If the operating class in use is a single octet, the Current Operating Class
     Extension Sequence field is not present. If the operating class in use is more than a single octet, then the
     Current Operating Class Extension Sequence field is present, and the concatenation of the Current Operating
     Class field with the Current Operating Class Extension Sequence field comprises N (where N 0) Operating
     Class octets with an 80+ Behavior Limit followed by one Operating Class octet without an 80+ Behavior
     Limit (as defined in Annex E).

     The Operating Classes field lists in ascending order all single-octet operating classes that the STA is capable
     of operating with in this country. The Operating Classes field terminates immediately before a
     OneHundredAndThirty Delimiter (see Figure 8-246a), a Zero Delimiter (see Figure 8-246b), or the end of
     the element.




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     The format of the optional Current Operating Class Extension Sequence field is shown in Figure 8-246a.

                                                                                      one or more entries

                                                  OneHundredAndThirty Delimiter       Current Operating
                                                                                       Class Extension

                                  Octets:                       1                               variable




     The OneHundredAndThirty Delimiter field is set to 130.

     The Current Operating Class Extension field comprises N (where N 0) Operating Class octets with an 80+
     Behavior Limit followed by one Operating Class octet without an 80+ Behavior Limit (as defined in Annex
     E).

     The format of the Operating Class Duple Sequence field is shown in Figure 8-246b.

                                                                               one or more entries

                                                          Zero Delimiter        Operating Class
                                                                                  Duple List

                                            Octets:             1                      2




     The Zero Delimiter is set to 0.

     The Operating Class Duple List subfield lists all two-octet operating classes that the STA is capable of
     operating with in this country. Each operating class in the Operating Class Duple List subfield contains an
     Operating Class octet with an 80+ Behavior Limit followed by one Operating Class octet without an 80+
     Behavior Limit (as defined in Annex E). Operating classes are transmitted in ascending order using the first
     octet in the operating class as the primary sort key and then the second octet in the operating class as the
     secondary sort key. If there are no two-octet operating classes that the STA is capable of operating with in
     this country, then the Operating Class Duple Sequence field is omitted from the Supported Operating
     Classes element. The Operating Class Duple List subfield terminates immediately before another zero octet
     or the end of the element.

     The use of this element is described in 10.10.1 10.10.2 and 10.11.9.1.

     8.4.2.57 Management MIC element

     Change Figure 8-247 as follows:

                                      Element ID         Length        KeyID               IPN              MIC

                        Octets:               1             1              2                6              8 or 16




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     Change the third paragraph of 8.4.2.57 as follows:

     The Length field is set to 16 or 24.

     Change the last paragraph of 8.4.2.57 as follows:

     The MIC field contains a message integrity code calculated over the robust management frame as specified
     in 11.4.4.5 and 11.4.4.6. The length of the MIC field depends on the specific cipher negotiated and is either
     8 octets (for BIP) or 16 octets (for BIP-CMAC-256, BIP-GMAC-128, and BIP-GMAC-256).

     8.4.2.58 HT Capabilities element

     8.4.2.58.2 HT Capabilities Info field

     Change the following row in Table 8-124:


                                                                  HT Capabilities Info field

          Subfield                      Definition                                       Encoding

       Supported         Indicates the channel widths supported    Set to 0 if only 20 MHz operation is supported
       Channel Width     by the STA. See 10.15.                    Set to 1 if both 20 MHz and 40 MHz operation is
       Set                                                         supported

                                                                   This field is reserved when the transmitting or
                                                                   receiving STA is operating in an Operating Class
                                                                   that includes 20 in the Channel spacing (MHz)
                                                                   column an operating class that does not include a
                                                                   value of 13 or 14 in the behavior limits, as specified
                                                                   of the appropriate table in Annex E.



     8.4.2.58.4 Supported MCS Set field

     Change the first paragraph of 8.4.2.58.4 as follows:

     The Supported MCS Set field of the HT Capabilities element indicates which HT MCSs a STA supports.

     Change the fifth paragraph of 8.4.2.58.4 as follows:

     The Rx Highest Supported Data Rate subfield of the Supported MCS Set field defines the highest HT PPDU
     data rate that the STA is able to receive, in units of 1 Mb/s, where 1 represents 1 Mb/s, and incrementing by
     1 Mb/s steps to the value 1023, which represents 1023 Mb/s. If the maximum data rate expressed in Mb/s is
     not an integer, then the value is rounded up down to the next integer. The value 0 indicates that this subfield
     does not specify the highest HT PPDU data rate that the STA is able to receive; see 9.7.6.5.3.




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     8.4.2.58.5 HT Extended Capabilities field

     Change Figure 8-252 as follows:

                     B0     B1             B2     B3       B7    B8         B9         B10             B11        B12         B15


                    PCO           PCO             Reserved             MCS          +HTC-HT             RD          Reserved
                             Transition Time                         Feedback        Support         Responder

         Bits:        1             2                  5                2               1               1                 4




     Change the following row in Table 8-127:




           Subfield                       Definition                                           Encoding

      +HTC-HT               Indicates support of the HT variant HT       Set to 0 if not supported
      Support               Control field. See 9.9.                      Set to 1 if supported



     8.4.2.58.6 Transmit Beamforming Capabilities

     Change the following rows in Table 8-128:




                 Subfield                           Definition                                        Encoding

      CSI Number of              Indicates the maximum number of beamformer            Set to 0 for single Tx antenna sounding
      Beamformer                 antennas the HT beamformee can support when           Set to 1 for 2 Tx antenna sounding
      Antennas Supported         CSI feedback is required                              Set to 2 for 3 Tx antenna sounding
                                                                                       Set to 3 for 4 Tx antenna sounding
      Noncompressed              Indicates the maximum number of beamformer            Set to 0 for single Tx antenna sounding
      Steering Number of         antennas the HT beamformee can support when           Set to 1 for 2 Tx antenna sounding
      Beamformer                 noncompressed beamforming feedback matrix is          Set to 2 for 3 Tx antenna sounding
      Antennas Supported         required                                              Set to 3 for 4 Tx antenna sounding

      Compressed                 Indicates the maximum number of beamformer            Set to 0 for single Tx antenna sounding
      Steering Number of         antennas the HT beamformee can support when           Set to 1 for 2 Tx antenna sounding
      Beamformer                 compressed beamforming feedback matrix is             Set to 2 for 3 Tx antenna sounding
      Antennas Supported         required                                              Set to 3 for 4 Tx antenna sounding
      CSI Max Number of          Indicates the maximum number of rows of CSI           Set to 0 for a single row of CSI
      Rows Beamformer            explicit feedback from the HT beamformee or           Set to 1 for 2 rows of CSI
      Supported                  calibration responder or transmit ASEL                Set to 2 for 3 rows of CSI
                                 responder that an HT beamformer or calibration        Set to 3 for 4 rows of CSI
                                 initiator or transmit ASEL initiator can support
                                 when CSI feedback is required.




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     8.4.2.59 HT Operation element

     Change the following row in Table 8-130:




                                                                                              Reserved      Reserved
        Subfield                 Definition                         Encoding
                                                                                              in IBSS?     in MBSS?

     Basic MCS Set      Indicates the HT MCS values    The Basic MCS Set is a bitmap of          N             N
                        that are supported by all HT   size 128 bits. Bit 0 corresponds to
                        STAs in the BSS.               MCS 0. A bit is set to 1 to indicate
                        Present in Beacon, Probe       support for that MCS and 0
                        Response, Mesh Peering         otherwise.
                        Open, and Mesh Peering
                        Confirm frames. Otherwise,     MCS values are defined in
                        reserved.                      8.4.2.58.4.



     8.4.2.69 Event Request element

     8.4.2.69.4 Peer-to-Peer Link event request

     Change the eighth paragraph of 8.4.2.69.4 as follows:

     The Channel Number subelement(s) identifies identify the channel for the Peer-to-Peer links to be reported.
     Excluding this subelement from the Event Request element indicates a request for Peer-to-Peer Link events
     for any channel. The format of the Channel Number subelement is shown in Figure 8-280. The identified
     channel is indicated by N+1 Channel Number subelements where the first N subelements contains an
     Operating Class octet with an 80+ Behavior Limit and the last subelement contains an Operating Class octet
     without an 80+ Behavior Limit (as defined in Annex E).

     Change the 12th paragraph of 8.4.2.69.4 as follows:

     The Channel Number field indicates the channel number, or center frequency index of the frequency
     segment if the identified channel comprises noncontiguous frequency segments, of the Peer-to-Peer Link
     events requested and included in the Peer-to-Peer Link event report. A Channel Number of 0 in all N+1
     Channel Number subelements indicates a request to report any Peer-to-Peer Link event for any supported
     channel in the specified filtering Operating Class.

     8.4.2.70 Event Report element

     8.4.2.70.4 Peer-to-Peer Link event report

     Change the sixth paragraph of 8.4.2.70.4 follows:

     The STA Tx Power field indicates the target transmit power at the antenna (i.e., EIRP) in dBm with a
     tolerance of ± 5 dB of the lowest basic rate of the reporting STA.




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     8.4.2.71 Diagnostic Request element

     8.4.2.71.5 Diagnostic Information subelement descriptions

     Insert the following paragraph and note into 8.4.2.71.5 after Figure 8-290:

     The set of current operating classes and channel widths of the AP is indicated by N+1 AP descriptor
     subelements where the first N subelements contain an Operating Class octet with an 80+ Behavior Limit and
     the last subelement contains an Operating Class octet without an 80+ Behavior Limit (as defined in
     Annex E).

                                            AP descriptor subelements for 20/40 MHz, 80 MHz, 80+ MHz (for the
     secondary 80 MHz frequency segment), and 80 MHz (for the primary 80 MHz frequency segment).

     Change the now 12th and 13th paragraphs of 8.4.2.71.5 as follows:

     The Operating Class field contains an enumerated value from Annex E specifying a channel width or
     frequency segment index and width (if the indicated channel comprises noncontiguous frequency segments)
     as well as the frequency band in which the Channel Number is valid.

     The Channel Number field indicates the a current operating channel, or a center frequency index of the
     frequency segment (if the indicated channel comprises noncontiguous frequency segments), of the AP
     identified by the BSSID in the AP Descriptor.

     Insert the following row into Table 8-147 in numeric order, and change the reserved values accordingly:




                                       Power Save Mode                      Bit

                              TXOP Power Save                               15



     Change the now 52nd paragraph of 8.4.2.71.5 as follows:

     The Tx Power field indicates the target transmit power level(s) at the antenna(s) (i.e., EIRP), where the
     actual power is within ±5 dB to the target. Each transmit power level is encoded in a single octet as a twos
     complement value in dBm, rounded to the nearest integer. If the Tx Power Mode field is 0, then the Tx
     Power field contains one or more transmit power levels in increasing numerical order. If the Tx Power Mode
     field is 1, the Tx Power field contains the STA's minimum and nonzero maximum transmit power levels, in
     that order.

     8.4.2.73 Location Parameters element

     8.4.2.73.3 Location Indication Channels subelement

     Insert the following paragraph at the end of 8.4.2.73.3:

     Channel Entry fields may be grouped together to identify a noncontiguous channel. A noncontiguous
     channel is indicated by a group of N+1 Channel Entry fields where the first N Channel Entry fields contain
     an Operating Class field with an 80+ Behavior Limit and the last Channel Entry field in the group contains
     an Operating Class octet without an 80+ Behavior Limit (as defined in Annex E).




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     8.4.2.73.5 Radio Information subelement

     Change the fourth paragraph of 8.4.2.73.5 as follows:

     The Transmit Power field is the transmit power used to transmit the current Location Track Notification
     frame containing the Location Parameters element with the Radio Information subelement and is a signed
     integer, 1 octet in length, reported as an EIRP
     unknown. The tolerance for the transmit power value reported in the Radio Information subelement is
     ± 5 dB. This tolerance is defined as the maximum possible difference, in decibels, between the reported
     power value and the total transmitted power across all antennas of the STA, which are measured when
     transmitting Location Request frames.

     8.4.2.73.8 Time of Departure subelement

     Change the fifth paragraph of 8.4.2.73.8 as follows:

     The TOD RMS field specifies the RMS time of departure error in units equal to 1/TOD Clock Rate, where
     the TOD Clock Rate is specified in the TOD Clock Rate field, where the time of departure error equals the
     difference between the TOD Timestamp field and the time of departure measured by a reference entity using
     a clock synchronized to the start time and mean                                               TOD RMS
     field is determined from aTxPmdTxStartRMS for a non-VHT PPDU or from aTxPHYTxStartRMS for a
     VHT PPDU in units equal to 1/TOD Clock Rate, where the TOD Clock Rate is specified in the TOD Clock
     Rate field.

     8.4.2.88 Channel Usage element

     Change the fifth paragraph of 8.4.2.88 as follows:

     The Channel Entry field includes zero or more Operating Class and Channel pairs. The format of the
     Channel Entry field is shown in Figure 8-313. Channel Entry fields may be grouped together to identify a
     noncontiguous channel as described in 8.4.2.73.3.

     Insert the following subclauses, 8.4.2.160 to 8.4.2.168 (including Figure 8-401bp to Figure 8-401cc and
     Table 8-183v to Table 8-183z), after 8.4.2.159:

     8.4.2.160 VHT Capabilities element

     8.4.2.160.1 VHT Capabilities element structure

     A VHT STA declares that it is a VHT STA by transmitting the VHT Capabilities element.

     The VHT Capabilities element contains a number of fields that are used to advertise VHT capabilities of a
     VHT STA. The VHT Capabilities element is defined in Figure 8-401bp.


                                    Element       Length    VHT Capabilities    Supported VHT-
                                       ID                        Info          MCS and NSS Set

                         Octets:        1           1              4                  8




     The Element ID field is set to the value for VHT Capabilities element defined in Table 8-54.



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     The Length field of the VHT Capabilities element is set to 12.

     8.4.2.160.2 VHT Capabilities Info field

     The structure of the VHT Capabilities Info field is defined in Figure 8-401bq.


                B0        B1 B2          B3      B4           B5             B6             B7    B8 B10          B11          B12         B13       B15

                                                                           Short GI                                        SU
                Maximum         Supported        Rx         Short GI       for 160       Tx          Rx           SU
                 MPDU            Channel                     for 80          and                              Beamforme Beamform Beamformee
                 Length         Width Set       LDPC          MHz           80+80       STBC        STBC       r Capable   ee    STS Capability
                                                                                                                         Capable
                                                                             MHz

    Bits:             2              2            1            1              1             1         3            1            1                3




   B16          B18        B19           B20          B21          B22            B23       B25 B26       B27       B28              B29         B30 B31

   Number Of                MU          MU             VHT                        Maximum        VHT Link       Rx Antenna     Tx Antenna
                          Beamfor    Beamform                  +HTC-VHT           A-MPDU
    Sounding                mer         ee            TXOP      Capable            Length        Adaptation       Pattern        Pattern   Reserved
   Dimensions                                          PS                                         Capable       Consistency    Consistency
                          Capable     Capable                                     Exponent

            3               1             1            1               1                3             2                1              1              2




     The subfields of the VHT Capabilities Info field are defined in Table 8-183v.




                          Subfield                          Definition                                          Encoding

                 Maximum MPDU                 Indicates the maximum MPDU                    Set to 0 for 3895 octets.
                 Length                       length (see 9.11).                            Set to 1 for 7991 octets.
                                                                                            Set to 2 for 11 454 octets.
                                                                                            The value 3 is reserved.
                 Supported Channel            Indicates the channel widths                  Set to 0 if the STA does not support either 160
                 Width Set                    supported by the STA. See                     or 80+80 MHz.
                                              10.39.                                        Set to 1 if the STA supports 160 MHz.
                                                                                            Set to 2 if the STA supports 160 MHz and
                                                                                            80+80 MHz.
                                                                                            The value 3 is reserved.

                 Rx LDPC                      Indicates support for receiving               Set to 0 if not supported.
                                              LDPC encoded packets.                         Set to 1 if supported.
                 Short GI for 80              Indicates short GI support for                Set to 0 if not supported.
                 MHz                          the reception of packets                      Set to 1 if supported.
                                              transmitted with TXVECTOR
                                              parameters FORMAT equal to
                                              VHT and CH_BANDWIDTH
                                              equal to CBW80.




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                Subfield                     Definition                                 Encoding

           Short GI for 160       Indicates short GI support for     Set to 0 if not supported.
           and 80+80 MHz          the reception of packets           Set to 1 if supported.
                                  transmitted with TXVECTOR
                                  parameters FORMAT equal to
                                  VHT and CH_BANDWIDTH
                                  equal to CBW160 or
                                  CBW80+80.
           Tx STBC                Indicates support for the          Set to 0 if not supported.
                                  transmission of at least 2x1       Set to 1 if supported.
                                  STBC.

           Rx STBC                Indicates support for the          Set to 0 for no support.
                                  reception of PPDUs using           Set to 1 for support of one spatial stream.
                                  STBC.                              Set to 2 for support of one and two spatial
                                                                     streams.
                                                                     Set to 3 for support of one, two, and three
                                                                     spatial streams.
                                                                     Set to 4 for support of one, two, three, and four
                                                                     spatial streams.
                                                                     The values 5, 6, 7 are reserved.
           SU Beamformer          Indicates support for operation    Set to 0 if not supported.
           Capable                as an SU beamformer (see           Set to 1 if supported.
                                  9.31.5).

           SU Beamformee          Indicates support for operation    Set to 0 if not supported.
           Capable                as an SU beamformee (see           Set to 1 if supported.
                                  9.31.5).
           Beamformee STS         The maximum number of              If SU beamformee capable, set to maximum
           Capability             space-time streams that the STA    number of space-time streams that the STA can
                                  can receive in a VHT NDP, the      receive in a VHT NDP minus 1.
                                  maximum value for NSTS,total       Otherwise, reserved.
                                  that can be sent to the STA in a
                                  VHT MU PPDU if the STA is
                                  MU beamformee capable, and
                                  the maximum value of Nr that
                                  the STA transmits in a VHT
                                  Compressed Beamforming
                                  frame.
           Number of                                                 If SU beamformer capable, set to the maximum
           Sounding               indicating the maximum value       supported value of the TXVECTOR parameter
           Dimensions             of the TXVECTOR parameter          NUM_STS minus 1.
                                  NUM_STS for a VHT NDP.             Otherwise, reserved.
           MU Beamformer          Indicates support for operation    Set to 0 if not supported or if SU Beamformer
           Capable                as an MU beamformer (see           Capable is set to 0 or if sent by a non-AP STA.
                                  9.31.5).                           Set to 1 if supported and SU Beamformer
                                                                     Capable is set to 1.
           MU Beamformee          Indicates support for operation    Set to 0 if not supported or if SU Beamformee
           Capable                as an MU beamformee (see           Capable is set to 0 or if sent by an AP.
                                  9.31.5).                           Set to 1 if supported and SU Beamformee
                                                                     Capable is set to 1.




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                Subfield                    Definition                                  Encoding

           VHT TXOP PS           Indicates whether the AP          Set to 0 if the AP does not support TXOP
                                 supports VHT TXOP Power           Power Save Mode.
                                 Save Mode or whether the non-     Set to 1 if the AP supports TXOP Power Save
                                 AP STA has enabled VHT            Mode.
                                 TXOP Power Save mode.             Set to 0 if the non-AP STA does not enable
                                                                   TXOP Power Save Mode.
                                                                   Set to 1 if the non-AP STA enables TXOP
                                                                   Power Save Mode.
           +HTC-VHT              Indicates whether the STA         Set to 0 if not supported.
           Capable               supports receiving a VHT          Set to 1 if supported.
                                 variant HT Control field.

           Maximum A-            Indicates the maximum length      This field is an integer in the range of 0 to 7.
           MPDU Length           of A-MPDU that the STA can        The length defined by this field is equal to
           Exponent              receive. EOF padding is not        2
                                                                        13 + Maximum A-MPDU Length Exponent
                                                                                                              1
                                 included in this limit.
                                                                   octets.

           VHT Link              Indicates whether the STA         If +HTC-VHT Capable is 1:
           Adaptation            supports link adaptation using       Set to 0 (No Feedback) if the STA does not
           Capable               VHT variant HT Control field.        provide VHT MFB.
                                                                      Set to 2 (Unsolicited) if the STA provides
                                                                      only unsolicited VHT MFB.
                                                                      Set to 3 (Both) if the STA can provide VHT
                                                                      MFB in response to VHT MRQ and if the
                                                                      STA provides unsolicited VHT MFB.
                                                                      The value 1 is reserved.
                                                                   Reserved if +HTC-VHT Capable is 0.

           Rx Antenna            Indicates the possibility of a    Set to 0 if the receive antenna pattern might
           Pattern               receive antenna pattern change.   change during the lifetime of the current
           Consistency                                             association.
                                                                   Set to 1 if the receive antenna pattern does not
                                                                   change during the lifetime of the current
                                                                   association.
                                                                   See 10.39.6.

           Tx Antenna            Indicates the possibility of a    Set to 0 if the transmit antenna pattern might
           Pattern               transmit antenna pattern          change during the lifetime of the current
           Consistency           change.                           association.
                                                                   Set to 1 if the transmit antenna pattern does not
                                                                   change during the lifetime of the current
                                                                   association.
                                                                   See 10.39.6.
                                           amformer Capable to 1 can transmit a VHT MU PPDU with only one
           nonzero TXVECTOR parameter NUM_STS[p], for 0 p 3. However, a STA that sets MU Beamformee
           Capable to 0 is not required to be able to demodulate a VHT MU PPDU with only one nonzero
           RXVECTOR parameter NUM_STS[p], for 0 p 3.

                                                                         the VHT Capabilities Info field imposes a
           constraint on the allowed value of the Maximum MPDU Length in the HT Capabilities Info field of the
           HT Capabilities element carried in the same frame (see 9.11).



     Support for short GI for the reception of packets with TXVECTOR parameter CH_BANDWIDTH equal to
     CBW20 or CBW40 is indicated in the HT Capabilities Info field of the HT Capabilities element.



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     8.4.2.160.3 Supported VHT-MCS and NSS Set field

     The Supported VHT-MCS and NSS Set field is used to convey the combinations of VHT-MCSs and spatial
     streams that a STA supports for reception and the combinations that it supports for transmission. The
     structure of the field is shown in Figure 8-401br.

                        B0         B15   B16        B28   B29 B31     B32        B47   B48        B60   B61 B63

                                          Rx Highest                                    Tx Highest
                        Rx VHT-MCS        Supported       Reserved    Tx VHT-MCS        Supported       Reserved
                            Map            Long GI                        Map            Long GI
                                          Data Rate                                     Data Rate

                Bits:         16               13             3             16               13             3




     The Supported VHT-MCS and NSS Set subfields are defined in Table 8-183w.




                Subfield                     Definition                                 Encoding

           Rx VHT-MCS              Indicates the maximum value of    The format and encoding of this subfield are
           Map                     the RXVECTOR parameter            defined in Figure 8-401bs and the associated
                                   MCS of a PPDU that can be         description.
                                   received at all channel widths
                                   supported by this STA for each
                                   number of spatial streams.

           Rx Highest              Indicates the highest long GI     The largest integer value less than or equal to
           Supported Long GI       VHT PPDU data rate that the       the highest long GI VHT PPDU data rate in
           Data Rate               STA is able to receive.           Mb/s the STA is able to receive (see 9.7.11.1).

                                                                     The value 0 indicates that this subfield does not
                                                                     specify the highest long GI VHT PPDU data
                                                                     rate that the STA is able to receive.

           Tx VHT-MCS              Indicates the maximum value of    The format and encoding of this subfield are
           Map                     the TXVECTOR parameter            defined in Figure 8-401bs and the associated
                                   MCS of a PPDU that can be         description.
                                   transmitted at all channel
                                   widths supported by this STA
                                   for each number of spatial
                                   streams.

           Tx Highest              Indicates the highest long GI     The largest integer value less than or equal to
           Supported Long GI       VHT PPDU data rate that the       the highest long GI VHT PPDU data rate in
           Data Rate               STA is able to transmit at.       Mb/s that the STA is able to transmit (see
                                                                     9.7.11.2).

                                                                     The value 0 indicates that this subfield does not
                                                                     specify the highest long GI VHT PPDU data
                                                                     rate that the STA is able to transmit.



     The Rx VHT-MCS Map subfield and the Tx VHT-MCS Map subfield have the structure shown in Figure 8-
     401bs.




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                 B0        B1   B2       B3       B4        B5       B6         B7   B8           B9     B10       B11       B12       B13   B14       B15

                 Max VHT-       Max VHT-          Max VHT-           Max VHT-        Max VHT-            Max VHT-            Max VHT-        Max VHT-
                 MCS For        MCS For           MCS For            MCS For         MCS For             MCS For             MCS For         MCS For
                   1 SS           2 SS              3 SS               4 SS            5 SS                6 SS                7 SS            8 SS

         Bits:         2             2                 2                   2                  2                2                   2               2



                                             and Basic VHT-MCS and NSS Set field

     The Max VHT-MCS For n SS subfield (where n = 1, ..., 8) is encoded as follows:
                                                                          n spatial streams
                                                                          n spatial streams
                                                                          n spatial streams
                                n spatial streams is not supported

                                                      in the VHT-MCS Map fields for a particular number of spatial streams
     might not be valid at all bandwidths (see 22.5) and might be limited by the declaration of Tx Highest Supported Long GI
     Data Rates and Rx Highest Supported Long GI Data Rates and might be affected by 9.7.11.3.

     8.4.2.161 VHT Operation element

     The operation of VHT STAs in the BSS is controlled by the HT Operation element and the VHT Operation
     element. The format of the VHT Operation element is defined in Figure 8-401bt.


                                         Element ID          Length              VHT Operation               Basic VHT-MCS
                                                                                  Information                 and NSS Set

                           Octets:            1                  1                        3                              2




     The Element ID field is set to the value for VHT Operation element defined in Table 8-54.

     The structure of the VHT Operation Information field is defined in Figure 8-401bu.


                                Channel Width              Channel Center Frequency                    Channel Center Frequency
                                                                 Segment 0                                   Segment 1

                      Octets:            1                                  1                                            1




     The VHT STA gets the primary channel information from the HT Operation element. The subfields of the
     VHT Operation Information field are defined in Table 8-183x.

     The Basic VHT-MCS and NSS Set field indicates the VHT-MCSs for each number of spatial streams in
     VHT PPDUs that are supported by all VHT STAs in the BSS (including IBSS and MBSS). The Basic VHT-
     MCS and NSS Set field is a bitmap of size 16 bits; each 2 bits indicates the supported VHT-MCS set for NSS
     from 1 to 8. The Basic VHT-MCS and NSS Set field is defined in Figure 8-401bs.




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               Field                        Definition                                                                       Encoding

      Channel Width            This field, together with the HT                                    Set to 0 for 20 MHz or 40 MHz operating channel
                               Operation element STA Channel                                       width.
                               Width field, defines the BSS                                        Set to 1 for 80 MHz operating channel width.
                               operating channel width (see                                        Set to 2 for 160 MHz operating channel width.
                               10.39.1).                                                           Set to 3 for 80+80 MHz operating channel width.
                                                                                                   Values in the range 4 to 255 are reserved.

      Channel Center           Defines the channel center frequency                                For 80 MHz or 160 MHz operating channel width,
      Frequency Segment        for an 80 and 160 MHz VHT BSS                                       indicates the channel center frequency index for the
      0                        and the frequency segment 0 channel                                 80 MHz or 160 MHz channel on which the VHT
                               center frequency for an 80+80 MHz                                   BSS operates.
                               VHT BSS. See 22.3.14.                                               For 80+80 MHz operating channel width, indicates
                                                                                                   the channel center frequency index for the 80 MHz
                                                                                                   channel of frequency segment 0 on which the VHT
                                                                                                   BSS operates.
                                                                                                   Reserved otherwise.

      Channel Center           Defines the frequency segment 1                                     For an 80+80 MHz operating channel width,
      Frequency Segment        channel center frequency for an                                     indicates the channel center frequency index of the
      1                        80+80 MHz VHT BSS. See 22.3.14.                                     80 MHz channel of frequency segment 1 on which
                                                                                                   the VHT BSS operates. Reserved otherwise.



     8.4.2.162 Extended BSS Load element

     The Extended BSS Load element reported by the AP contains information on MIMO spatial stream
     underutilization and bandwidth utilization. The element format is defined in Figure 8-401bv. A STA
     receiving the element might use the information it conveys in an implementation-specific AP selection
     algorithm.


                                         MU-MIMO                                                               Observable      Observable    Observable
                Element                                               Spatial Stream                           Secondary       Secondary     Secondary
                   ID        Length     Capable STA                   Underutilization                          20 MHz          40 MHz        80 MHz
                                           Count
                                                                                                               Utilization     Utilization   Utilization

     Octets:       1           1              2                                      1                               1             1              1




     The Element ID field is set to the value for the Extended BSS Load element in Table 8-54.

     The Length field is set to 6.

     The MU-MIMO Capable STA Count field indicates the total number of STAs currently associated with this
     BSS that have a 1 in the MU Beamformee Capable field of their VHT Capabilities element.

     The Spatial Stream Underutilization field is defined as the percentage of time, linearly scaled with 255
     representing 100%, that the AP has underutilized spatial domain resources for given busy time of the
     medium. The spatial stream underutilization is calculated only for the primary channel. This percentage is
     computed using the formula,
                                                  N max_SS T busy T utilized
       Spatial Stream Underutilization =          ----------------------------------------------------------   255
                                                             N max_SS T busy

     where


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       N max_SS is the maximum number of spatial streams supported by the AP.

       T busy is the number of microseconds during which CCA indicated the channel was busy during the
                      measurement duration. The resolution of the CCA busy measurement is in microseconds.

                                  N
       T utilized is                    N SS i T i , where T i is the time interval, in units of microseconds, during which the primary
                               i=1
                      20 MHz channel is busy due to the transmission of one or more spatial streams by the AP to
                      MU-capable STAs; NSS,i is the number of spatial streams transmitted during the time interval T i ;
                      and N is the number of busy events that occurred during the total measurement time which is less
                      than or equal to dot11ChannelUtilizationBeaconIntervals consecutive beacon intervals.

     If T busy is 0, the Spatial Stream Underutilization field is reserved.

     The measurement of the observable loading on each of the secondary 20 MHz channel, secondary 40 MHz
     channel, and secondary 80 MHz channel in conjunction with the measurement on the primary 20 MHz
     channel provides a STA with the loading on the 40 MHz, 80 MHz, 160 MHz, and 80+80 MHz channels.

     The Observable Secondary 20 MHz Utilization, Observable Secondary 40 MHz Utilization, and Observable
     Secondary 80 MHz Utilization fields are defined using Equation (8-3).


       Observable Secondary W1 Utilization =                                                                                                                                                              (8-3)
                                                                                     T busy W1
          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                                                                  -   255
          dot11ChannelUtilizationBeaconIntervals dot11BeaconPeriod 1024

     where
       dot11ChannelUtilizationBeaconIntervals represents the number of consecutive beacon intervals during
             which the secondary channel busy time is measured.
       Tbusy,W1 is computed as the sum of the times from PHY-CCA.indication(BUSY,{W2}) to the next issue
              of a PHY-CCA.indication primitive and that overlap the measurement interval, for W1 = 20, 40, or
              80, and where W2 equals secondary, secondary40, or secondary80 for W1 = 20, 40, or 80,
              respectively.

     If the AP indicates a channel width of 20 MHz, 40 MHz, or 80 MHz in the STA Channel Width field in the
     HT Operation element and in the Channel Width field in the VHT Operation element, then the Observable
     Secondary 80 MHz Utilization field is reserved. If the AP indicates a channel width of 20 MHz or 40 MHz
     in the STA Channel Width field in the HT Operation element, then the Observable Secondary 40 MHz
     Utilization field is reserved. If the AP indicates a channel width of 20 MHz in the STA Channel Width field
     in the HT Operation element, then the Observable Secondary 20 MHz Utilization field is reserved.

     8.4.2.163 Wide Bandwidth Channel Switch element

     The Wide Bandwidth Channel Switch element is included in Channel Switch Announcement frames, as
     described in 8.5.2.6 (Channel Switch Announcement frame format), Extended Channel Switch
     Announcement frames, as described in 8.5.8.7, and TDLS Channel Switch Request frames, as described in
     8.5.13.7 (TDLS Channel Switch Request frame format). The format of the Wide Bandwidth Channel Switch
     element is shown in Figure 8-401bw.




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                                                                                   New                New
                         Element            Length              New           Channel Center     Channel Center
                            ID                              Channel Width       Frequency          Frequency
                                                                                Segment 0          Segment 1

                        Octets: 1                1                1                   1                  1




     The Element ID field is set to the value for the Wide Bandwidth Channel Switch element in Table 8-54.

     The Length field is set to 3.

     The subfields New Channel Width, New Channel Center Frequency Segment 0, and New Channel Center
     Frequency Segment 1 have the same definition, respectively, as Channel Width, Channel Center Frequency
     Segment 0, and Channel Center Frequency Segment 1 in the VHT Operation Information field, described in
     Table 8-183x.

     8.4.2.164 VHT Transmit Power Envelope element

     The VHT Transmit Power Envelope element conveys the local maximum transmit power for various
     transmission bandwidths. The format of the VHT Transmit Power Envelope element is shown in Figure 8-
     401bx.

                                       Transmit            Local Maximum     Local Maximum       Local Maximum        Local Maximum
            Element      Length         Power              Transmit Power    Transmit Power      Transmit Power     Transmit Power For
               ID
                                     Information             For 20 MHz        For 40 MHz          For 80 MHz         160/80+80 MHz

  Octets:       1           1                1                    1               0 or 1             0 or 1                0 or 1




     The Element ID field is set to the value for the VHT Transmit Power Envelope element defined in Table 8-
     54.

     The Length field specifies the number of octets in the element following the Length field.

     The format of the Transmit Power Information field is defined in Figure 8-401by.

                                    Bits:            B0         B2    B3              B5    B6      B7

                                                     Local Maximum     Local Maximum
                                                     Transmit Power    Transmit Power         Reserved
                                                         Count        Unit Interpretation




     The Local Maximum Transmit Power Count subfield indicates the number of Local Maximum Transmit
     Power For X MHz fields (where X = 20, 40, 80, or 160/80+80) minus 1 in the VHT Transmit Power
     Envelope element, as shown in Table 8-183y.

     The Local Maximum Transmit Power Unit Interpretation subfield provides additional interpretation for the
     units of the Local Maximum Transmit Power For X MHz fields (where X = 20, 40, 80, or 160/80+80) and is
     defined in Table 8-183z. Allowed values are further constrained as defined in Annex E.




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                              Value                                Field(s) present

                                0             Local Maximum Transmit Power For 20 MHz.
                                1             Local Maximum Transmit Power For 20 MHz and
                                              Local Maximum Transmit Power For 40 MHz.

                                2             Local Maximum Transmit Power For 20 MHz,
                                              Local Maximum Transmit Power For 40 MHz, and
                                              Local Maximum Transmit Power For 80 MHz.
                                3             Local Maximum Transmit Power For 20 MHz,
                                              Local Maximum Transmit Power For 40 MHz,
                                              Local Maximum Transmit Power For 80 MHz, and
                                              Local Maximum Transmit Power For 160/80+80 MHz.




                                                  al Maximum Transmit Power Unit Interpretation subfield

                                                             Unit interpretation of the
                              Value
                                                  Local Maximum Transmit Power For X MHz fields

                                0             EIRP


                                                                  ted only if regulatory domains mandate
                        the use of transmit power control with limits that cannot be converted into an
                        EIRP value per PPDU bandwidth.



     Local Maximum Transmit Power For X MHz fields (where X = 20, 40, 80, or 160/80+80) define the local
     maximum transmit power limit of the transmission bandwidth X MHz. Each Local Maximum Transmit
     Power For X MHz field is encoded as an 8-bit twos comple
     63 dBm with a 0.5 dB step. The value of 63.5 dBm indicates 63.5 dBm or higher (i.e., no local maximum
     transmit power constraint).

     8.4.2.165 Channel Switch Wrapper element

     The Channel Switch Wrapper element contains subelements that indicate characteristics of the BSS after a
     channel switch. The format of the Channel Switch Wrapper element is defined in Figure 8-401bz.


                                                                           Wide Bandwidth        New VHT
                             Element                     New Country       Channel Switch     Transmit Power
                                            Length       subelement                              Envelope
                                ID                        (optional)        subelement          subelement
                                                                              (optional)
                                                                                                 (optional)

                 Octets:         1            1             variable           variable           variable




     The Element ID field is set to the value for the Channel Switch Wrapper element in Table 8-54.

     The Length field specifies the number of octets in the element following the Length field.




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     The New Country subelement is present when an AP or mesh STA performs extended channel switching to
     a new Country, new Operating Class Table, or a changed set of operating classes relative to the contents of
     the Country element sent in the Beacon; otherwise, this subelement is not present. The format of the New
     Country subelement is defined to be the same as the format of the Country element (see 8.4.2.10), except
     that no Subband Triplet fields are present in the New Country subelement. The Country String field in the
     New Country subelement indicates the Country and Operating Class Table of the BSS after extended
     channel switching, and Operating Triplet fields within the New Country subelement indicate the operating
     classes of the BSS after extended channel switching (see 10.39.1).

     The Wide Bandwidth Channel Switch subelement is present under the following conditions:




     The Wide Bandwidth Channel Switch subelement is optionally present if extended channel switching to a
     BSS operating channel width of 40 MHz. The Wide Bandwidth Channel Switch subelement is not present if
     channel switching to a 20 MHz BSS operating channel width.

     The format of the Wide Bandwidth Channel Switch subelement is the same as the Wide Bandwidth Channel
     Switch element (see 8.4.2.163) except for the following:
                                                            fies only a 40 MHz BSS Operating Channel Width.

            Segment 0 field indicates the channel center frequency index for the 40 MHz channel after the
            channel switch.

     If present, the Wide Bandwidth Channel Switch subelement indicates the BSS operating channel width after
     channel switching (see 10.39.1). For example, when switching to a 40 MHz operating channel width on
     channel indices 36 and 40, the New Channel Width field is set to 0, and the New Channel Center Frequency
     Segment 0 field is set to 38.

     Each New VHT Transmit Power Envelope subelement that is present is defined to have the same format as
     the VHT Transmit Power Envelope element (see 8.4.2.164) and includes a distinct value of the Local
     Maximum Transmit Power Unit Interpretation subfield. Each New VHT Transmit Power Envelope
     subelement indicates the local maximum transmit powers for the BSS for the indicated bandwidths with an
     indicated unit interpretation after channel switching (see 10.39.1).

     8.4.2.166 AID element

     The AID element includes the AID assigned by an AP during association that represents the 16-bit ID of a
     STA. The format of the AID element is shown in Figure 8-401ca.

                                                  Element   Length        AID
                                                     ID

                                        Octets:     1          1           2




     The Element ID field is set to the value for the AID element in Table 8-54.

     The Length field is set to 2.

     The AID field is defined in 8.4.1.8.




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     8.4.2.167 Quiet Channel element

     The Quiet Channel element is used to indicate that the secondary 80 MHz channel of a VHT BSS is to be
     quieted during a quiet interval indicated by either a Quiet element (see 8.4.2.25) or the Quiet Channel
     element if its AP Quiet Mode field is equal to 1. Furthermore, the Quiet Channel element indicates the
     conditions under which the primary 80 MHz channel of the VHT BSS may be used during the quiet interval.

     The Quiet Channel element may be included in Beacon frames, as described in 8.3.3.2, and Probe Response
     frames, as described in 8.3.3.10. The use of Quiet Channel elements is described in 10.9.3.

     The format of the Quiet Channel element is shown in Figure 8-401cb.

                                                                                                 Quiet
                   Element       Length            AP Quiet     Quiet Count   Quiet Period      Duration       Quiet Offset
                      ID                            Mode         (optional)    (optional)                       (optional)
                                                                                               (optional)

        Octets:         1            1                1           0 or 1         0 or 1          0 or 2           0 or 2




     The Element ID field is defined in Table 8-54.

     The Length field specifies the number of octets in the element following the Length field.

     The AP Quiet Mode field specifies STA behavior during the quiet intervals. When communications to the
     AP are allowed within the primary 80 MHz channel of the BSS, then the AP Quiet Mode field is set to 1.
     Otherwise, the AP Quiet Mode field is set to 0.

     If the AP Quiet Mode field is 1, then the Quiet Count field, Quiet Period field, Quiet Duration field, and
     Quiet Offset field are present in the Quiet Channel element; otherwise, these fields are not present in the
     Quiet Channel element.

     The Quiet Count field, Quiet Period field, Quiet Duration field, and Quiet Offset field have the same
     definition as described in 8.4.2.25.

     8.4.2.168 Operating Mode Notification element

     The Operating Mode Notification element is used to notify STAs that the transmitting STA is changing its
     operating channel width, the maximum number of spatial streams it can receive, or both. The format of the
     Operating Mode Notification element is defined in Figure 8-401cc.

                                                      Element        Length      Operating
                                                         ID                       Mode

                                         Octets:          1             1            1




     The Element ID field is set to the value for the Operating Mode Notification element in Table 8-54.

     The Length field is set to 1.

     The Operating Mode field is defined in 8.4.1.50.




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     8.5 Action frame format details

     8.5.2 Spectrum management Action frames

     8.5.2.6 Channel Switch Announcement frame format

     Change Figure 8-436 as follows:

                                                                                            Optional         Zero or more

                                                                          Mesh Channel                         New VHT
                         Spectrum       Channel Switch    Secondary          Switch      Wide Bandwidth
             Category   Management      Announcement     Channel Offset                  Channel Switch     Transmit Power
                          Action           element         element         Parameters                          Envelope
                                                                            element         element            element

   Octets:      1             1                5               3               6             0 or 5            variable




     Change the fifth and sixth paragraphs of 8.5.2.6, and insert new seventh and eighth paragraphs as
     follows:

     The Secondary Channel Offset element is defined in 8.4.2.22. This element is present when switching to a
     40 MHz or wider channel. It may be present when switching to a 20 MHz channel (in which case the
     secondary channel offset Secondary Channel Offset field is set to SCN).

     The Mesh Channel Switch Parameters element is defined in 8.4.2.105. This element is present when a mesh
     STA performs an MBSS channel switch. Otherwise, tThe Mesh Channel Switch Parameters element is not
     present included for channel switch other than MBSS.

     The Wide Bandwidth Channel Switch element is defined in 8.4.2.163. This information element is present
     when switching to a channel width wider than 40 MHz.

     Each New VHT Transmit Power Envelope element that is present is defined to have the same format as the
     VHT Transmit Power Envelope element (see 8.4.2.164) and includes a distinct value of the Local
     Maximum Transmit Power Unit Interpretation subfield. If present, the New VHT Transmit Power Envelope
     element indicates the local maximum transmit powers for the BSS for the indicated bandwidths with an
     indicated unit interpretation after channel switching (see 10.39.1).




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     8.5.4 DLS Action frame details

     8.5.4.2 DLS Request frame format

     Insert the following rows into Table 8-199 in numeric order:




            Order                 Information                                    Notes

              10         AID                             The AID element containing the AID of the STA
                                                         sending the frame is present if
                                                         dot11VHTOptionImplemented is true.

              11         VHT Capabilities                The VHT Capabilities element is present if the
                                                         dot11VHTOptionImplemented is true.



     8.5.4.3 DLS Response frame format

     Insert the following rows into Table 8-200 in numeric order:




            Order                Information                                     Notes

              10         AID                           The AID element containing the AID of the STA sending
                                                       the frame is present if dot11VHTOptionImplemented is
                                                       true.

              11         VHT Capabilities              The VHT Capabilities element is present if the
                                                       dot11VHTOptionImplemented is true.



     8.5.8 Public Action details

     8.5.8.3 Measurement Pilot frame format

     Change the eighth and ninth paragraphs of 8.5.8.3 (including combining them into one paragraph), and
     insert a new ninth paragraph as follows:

     If the Wide Bandwidth Channel Switch element is not included, the Operating Class field indicates the
     operating class value for the operating channel. The Country, Operating Class, and Channel Number fields
     together specify the channel frequency and spacing for the operating channel. Valid values of Operating
     Class operating classes are shown listed in Annex E, excluding Operating Classes that encompass a primary
     channel but do not identify the location of the primary channel. The Channel Number field indicates the
     operating channel. Channel Nnumber is defined within an Operating Class operating class as shown in
     Annex E.

     If the Wide Bandwidth Channel Switch subelement is included, the fields in the Wide Bandwidth Channel
     Switch subelement indicate the operating channel, and the Operating Class and Channel Number together
     specify the primary channel and primary 40 MHz channel within the channel identified by the Wide
     Bandwidth Channel Switch subelement.




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     8.5.8.7 Extended Channel Switch Announcement frame format

     Change Figure 8-449 as shown:

                                                                                            Zero or     Zero or    Zero or
                                                                                             one         one        more

                                               New                            Mesh                       Wide      New VHT
                                   Channel               New      Channel    Channel          New      Bandwidth   Transmit
                          Public    Switch    Operati   Channel    Switch     Switch
              Category    Action                ng                                          Country     Channel     Power
                                    Mode      Class     Number     Count    Parameters      element      Switch    Envelope
                                                                             element                    element    element
    Octets:      1          1         1            1      1         1           6           variable    variable   variable




     Insert the following paragraphs at the end of 8.5.8.7:

     The New Country element is present when an AP or mesh STA performs extended channel switching to a
     new Country, new Operating Class Table, or a changed set of operating classes relative to the contents of the
     Country element sent in the Beacon; otherwise, this element is not present. The format of the New Country
     element is defined to be the same as the format of the Country element (see 8.4.2.10), except that no
     Subband Triplet fields are present in the New Country element. The Country String field in the New
     Country element indicates the Country and Operating Class Table of the BSS after extended channel
     switching and Operating Triplet fields within the New Country element indicate the operating classes of the
     BSS after extended channel switching (see 10.39.1).

     This Wide Bandwidth Channel Switch element is present when extended channel switching to a channel
     width wider than 40 MHz; otherwise, this element is not present. The Wide Bandwidth Channel Switch
     element is defined in 8.4.2.163. The Wide Bandwidth Channel Switch element indicates the BSS operating
     channel width after extended channel switching (see 10.39.1).

     Each New VHT Transmit Power Envelope element that is present is defined to have the same format as the
     VHT Transmit Power Envelope element (see 8.4.2.164) and includes a distinct value of the Local Maximum
     Transmit Power Unit Interpretation subfield. If present, the New VHT Transmit Power Envelope element
     indicates the maximum transmit powers for the BSS for the indicated bandwidths with an indicated unit
     interpretation after extended channel switching (see 10.39.1).

     8.5.8.16 TDLS Discovery Response frame format

     Insert the following row into Table 8-220 in numeric order:




              Order                Information                                      Notes

               17          VHT Capabilities             VHT Capabilities element (optional). The VHT Capabilities
                                                        element is present if the dot11VHTOptionImplemented is true.
                                                        The VHT Capabilities element is defined in 8.4.2.160.




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     8.5.13 TDLS Action frame details

     8.5.13.2 TDLS Setup Request Action field format

     Insert the following rows into Table 8-239 in numeric order:




           Order                Information                                    Notes

             19         AID                           The AID element containing the AID of the STA sending
                                                      the frame is present if dot11VHTOptionImplemented is
                                                      true.

             20         VHT Capabilities              The VHT Capabilities element is present if the
                                                      dot11VHTOptionImplemented is true.



     8.5.13.3 TDLS Setup Response Action field format

     Insert the following rows into Table 8-240 in numeric order:




            Order               Information                                    Notes

              20        AID                           The AID element containing the AID of the STA sending
                                                      the frame is present if dot11VHTOptionImplemented is
                                                      true.

              21        VHT Capabilities              The VHT Capabilities element is present if the
                                                      dot11VHTOptionImplemented is true.

              22        Operating Mode Notification   The Operating Mode Notification element is optionally
                                                      present if the TDLS Setup Request frame contained an
                                                      Extended Capabilities element with the Operating Mode
                                                      Notification field is equal to 1.




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     8.5.13.4 TDLS Setup Confirm Action field format

     Insert the following rows into Table 8-241 in numeric order:




            Order                   Information                                    Notes

              11          VHT Operation                 VHT Operation element (optional). The VHT Operation
                                                        element is present if the dot11VHTOptionImplemented is
                                                        true, the TDLS Setup Response frame contained a VHT
                                                        Capabilities element, the status code is 0 (Successful), and
                                                        the TDLS direct link is not established in 2.4 GHz band.
                                                        The VHT Operation element is defined in 8.4.2.160.

              12          Operating Mode Notification   The Operating Mode Notification element is optionally
                                                        present if the TDLS Setup Request frame contained an
                                                        Extended Capabilities element with the Operating Mode
                                                        Notification field is equal to 1.



     8.5.13.7 TDLS Channel Switch Request Action field format

     Insert the following rows into Table 8-244 in numeric order:




            Order                   Information                                    Notes

               8          Wide Bandwidth Channel        Wide Bandwidth Channel Switch element (optional). The
                          Switch                        Wide Bandwidth Channel Switch element is included
                                                        when a switch to an 80 MHz, 160 MHz, or 80+80 MHz
                                                        direct link is indicated. See 8.4.2.163.

               9          Country                       Country element (optional). The Country element is
                                                        included to change operating classes when a switch to a
                                                        direct link is indicated. The Country element indicates the
                                                        same country as the BSS and includes zero Subband
                                                        Triplet fields.
              10          VHT Transmit Power Envelope   VHT Transmit Power Envelope element (zero or more).
                                                        Each VHT Transmit Power Envelope element that is
                                                        present includes a distinct value of the Local Maximum
                                                        Transmit Power Unit Interpretation subfield. If present,
                                                        the New VHT Transmit Power Envelope element
                                                        indicates the maximum transmit powers for the direct link
                                                        for the indicated bandwidths with an indicated unit
                                                        interpretation after a switch to a direct link (see
                                                        10.22.6.4.1).




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     8.5.14 WNM Action fields

     8.5.14.24 Channel Usage Response frame format

     Change Figure 8-495 as shown:


                                                                                                        VHT
                                                                           Power          EDCA
                                                    Channel                             Parameter    Transmit
                                           Dialog    Usage     Country   Constraint        Set         Power
                     Category   Action     Token                String    Element                    Envelope
                                                    Elements             (optional)      Element
                                                                                        (optional)    element
                                                                                                     (optional)
           Octets:      1         1          1      variable     3         0 or 3        0 or 20      variable




     Insert the following paragraph at the end of 8.5.14.24:

     The VHT Transmit Power Envelope element conveys the local maximum transmit power for various
     transmission bandwidths. The format of the VHT Transmit Power Envelope element is shown in Figure 8-
     401bx.

     8.5.16 Self-protected Action frame details

     8.5.16.2 Mesh Peering Open frame format

     8.5.16.2.2 Mesh Peering Open frame details

     Insert the following rows into Table 8-262 in numeric order:




            Order                Information                                          Notes

              19        VHT Capabilities                  The VHT Capabilities element is present when
                                                          dot11VHTOptionImplemented is true.

              20        VHT Operation                     The VHT Operation element is present when
                                                          dot11VHTOptionImplemented is true.
              21        Operating Mode Notification       The Operating Mode Notification element is optionally
                                                          present if dot11OperatingModeNotificationImplemented
                                                          is true.




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     8.5.16.3 Mesh Peering Confirm frame format

     8.5.16.3.2 Mesh Peering Confirm frame details

     Insert the following rows into Table 8-263 in numeric order:




            Order                   Information                                     Notes

              15          VHT Capabilities                  The VHT Capabilities element is present when
                                                            dot11VHTOptionImplemented is true.
              16          VHT Operation                     The VHT Operation element is present when
                                                            dot11VHTOptionImplemented is true.

              17          Operating Mode Notification       The Operating Mode Notification element is optionally
                                                            present if dot11OperatingModeNotificationImplemented
                                                            is true.




     Insert the following subclauses, 8.5.23 to 8.5.23.4 (including Table 8-281ah to Table 8-281ak), after
     8.5.22.3:

     8.5.23 VHT Action frame details

     8.5.23.1 VHT Action field

     Several Action frame formats are defined to support VHT functionality. A VHT Action field, in the octet
     immediately after the Category field, differentiates the VHT Action frame formats. The VHT Action field
     values associated with each frame format within the VHT category are defined in Table 8-281ah.




                        Value                             Meaning                           Time Priority

                           0            VHT Compressed Beamforming                              Yes

                           1            Group ID Management                                      No

                           2            Operating Mode Notification                              No




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     8.5.23.2 VHT Compressed Beamforming frame format

     The VHT Compressed Beamforming frame is an Action No Ack frame of category VHT. The Action field
     of a VHT Compressed Beamforming frame contains the information shown in Table 8-281ai.


                                                                 forming frame Action field format

                        Order                                    Information

                          1        Category
                          2        VHT Action
                          3        VHT MIMO Control (see 8.4.1.47)

                          4        VHT Compressed Beamforming Report (see 8.4.1.48)

                          5        MU Exclusive Beamforming Report (see 8.4.1.49)



     The Category field is set to the value for VHT, specified in Table 8-38.

     The VHT Action field is set to the value for VHT Compressed Beamforming, specified in Table 8-281ah.

     The VHT MIMO Control field is always present in the frame. The presence and contents of the VHT
     Compressed Beamforming Report field and the MU Exclusive Beamforming Report field are dependent on
     the values of the Feedback Type, Remaining Feedback Segments, and First Feedback Segment subfields of
     the VHT MIMO Control field (see 8.4.1.47, 8.4.1.48, 8.4.1.49, and 9.31.5).

     No vendor-specific elements are present in a VHT Compressed Beamforming frame.

     8.5.23.3 Group ID Management frame format

     The Group ID Management frame is an Action frame of category VHT. It is transmitted by the AP to assign
     or change the user position of a STA for one or more group IDs. The Action field of a Group ID
     Management frame contains the information shown in Table 8-281aj.




                  Order                                          Information

                    1           Category

                    2           VHT Action

                    3           Membership Status Array (see 8.4.1.51)
                    4           User Position Array (see 8.4.1.52)



     The Category field is set to the value for VHT, specified in Table 8-38.

     The VHT Action field is set to the value for Group ID Management, specified in Table 8-281ah.




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     8.5.23.4 Operating Mode Notification frame format

     The Operating Mode Notification frame is an Action frame of category VHT. It is used to notify STAs that
     the transmitting STA is changing its operating channel width, the maximum number of spatial streams it can
     receive, or both.

     The Action field of the Operating Mode Notification frame contains the information shown in Table 8-
     281ak.




                   Order                                          Information

                       1          Category

                       2          VHT Action

                       3          Operating Mode (see 8.4.1.50)



     The Category field is set to the value for VHT, specified in Table 8-38.

     The VHT Action field is set to the value for Operating Mode Notification, specified in Table 8-281ah.


     8.6 Aggregate MPDU (A-MPDU)

     8.6.1 A-MPDU format

     Change 8.6.1 as follows:

     An A-MPDU consists of a sequence of one or more A-MPDU subframes and 0 to 3 octets of EOF pad, as
     shown in Figure 8-503.



             Octets:           variable               variable                  variable            0-3




     The structure of the A-MPDU subframe is shown in Figure 8-504. Each A-MPDU subframe consists of an
     MPDU delimiter optionally followed by an MPDU. Each nonfinal A-MPDU subframe in an A-MPDU has
     Except when an A-MPDU subframe is the last one in an A-MPDU, padding pad octets are appended to
     make each A-MPDU the subframe a multiple of 4 octets in length. In a VHT PPDU, the final A-MPDU
     subframe is padded to the last octet of the PSDU or to a multiple of 4 octets in length, whichever comes first
     (see 9.12.6). In an HT PPDU, the final A-MPDU subframe is not padded. In a VHT PPDU, the number of
     EOF pad octets is determined as described in 9.12.6. In an HT PPDU, the EOF Pad field is not present.

     An A-MPDU pre-EOF padding is
            The portion of the A-MPDU up to but excluding the first A-MPDU subframe with 0 in the MPDU
            Length field and 1 in the EOF field and also excluding any subframe padding in the last subframe, or
            The portion of the A-MPDU up to and including the last A-MPDU subframe if no A-MPDU
            subframes with 0 in the MPDU Length field and 1 in the EOF field are present, but excluding any
            subframe padding in the last subframe.



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                                                  s any A-MPDU subframes with 0 in the MPDU Length field and 0 in the
     EOF field inserted in order to meet the minimum MPDU start spacing requirement.

     The A-MPDU maximum length for a non-DMG STA of an A-MPDU in an HT PPDU is 65 535 octets. The
     A-MPDU maximum length for a DMG STA of an A-MPDU in a DMG PPDU is 262 143 octets.
     The maximum length of an A-MPDU pre-EOF padding in a VHT PPDU is 1 048 575 octets. The length of
     an A-MPDU addressed to a particular STA may be further constrained as described in 9.12.2.

                                                      MPDU delimiter         MPDU              pad

                                      Octets:               4                variable          0-3




     The MPDU delimiter is 4 octets in length. The structure of the MPDU delimiter when transmitted by a
     non-DMG STA is defined in Figure 8-505. The structure of the MPDU Delimiter field when transmitted by
     a DMG STA is shown in Figure 8-505a.

                                       B0 B3
                               B0        B1            B4 B2     B15   B16     B23       B24             B31

                               EOF    Reserved        MPDU Length        CRC             Delimiter Signature




                 B0       B2          B3                   B15          B16                B23           B24            B31

                 Reserved                  MPDU Length                           CRC                     Delimiter Signature

        Bits:         3                          13                                8                              8




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     The fields of the MPDU delimiter when transmitted by a non-DMG STA are defined in Table 8-282. The
     fields of the MPDU delimiter when transmitted by a DMG STA are defined in Table 8-282a.




               Field          Size (bits)                                        Description

         EOF                         1            End of frame indication. Set to 1 in an A-MPDU subframe that has 0 in
                                                  the MPDU Length field and that is used to pad the A-MPDU in a VHT
                                                  PPDU as described in 9.12.6. Set to 1 in the MPDU delimiter of a VHT
                                                  single MPDU as described in 9.12.7. Set to 0 otherwise.

         Reserved                 41
         MPDU Llength            1214             Length of the MPDU in octets. Set to 0 if no MPDU is present. An A-
                                                  MPDU subframe with 0 in the MPDU Length field is used as defined in
                                                  9.12.3 to meet the minimum MPDU start spacing requirement and also to
                                                  pad the A-MPDU to fill the available octets in a VHT PPDU as defined in
                                                  9.12.6.
         CRC                         8            8-bit CRC of the preceding 16 bits

         Delimiter                   8            Pattern that may be used to detect an MPDU delimiter when scanning for
         Signature                                an MPDU delimiter.
                                                  The unique pattern is set to the value 0x4E (see NOTE below).
                                                                                gnature field was created by the IEEE 802.11

                                                  pattern.

                  The ASCII value of the character 'N' was chosen as the unique pattern for the value in the Delimiter
         Signature field.




       MPDU Delimiter           Size
                                                                                Description
           field               (bits)

      Reserved                   3

      MPDU length                13            Length of MPDU in octets
      CRC                        8             8-bit CRC on preceding 16 bits

      Delimiter Signature        8             Pattern that can be used to detect an MPDU delimiter when scanning for a
                                               delimiter. The unique pattern is set to the value 0x4E.



     The format of the MPDU Length field is shown in Figure 8-505a1. The MPDU Length Low subfield
     contains the 12 low order bits of the MPDU length. In a VHT PPDU, the MPDU Length High subfield
     contains the two high order bits of the MPDU length. In an HT PPDU, the MPDU Length High subfield is
     reserved.

                                         B2                      B3   B4                   B15

                                              MPDU Length High             MPDU Length Low




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     The MPDU length value is derived from the MPDU Length field subfields as follows:

                     L low + L high    4096   VHT PPDU
       L MPDU =
                     L low   HT PPDU
                                                                                                                     (8-4)

     where
       Llow         is the value of the MPDU Length Low subfield
       Lhigh        is the value of the MPDU Length High subfield

                                          field maintains a common encoding structure for both VHT and HT PPDUs.
     For HT PPDUs, only the MPDU Length Low subfield is used, while for VHT PPDUs, both subfields are used.

     The purpose of the MPDU delimiter is to locate the MPDUs within the A-MPDU so that the structure of the
     A-MPDU can usually be recovered when one or more MPDU delimiters are received with errors. See S.2 for
     a description of a deaggregation algorithm.

     A delimiter with MPDU length of 0 is valid. This value is used as defined in 9.12.3 to meet the minimum
     MPDU start spacing requirement.

     8.6.3 A-MPDU contents

     Change 8.6.3 as follows:

     In a non-DMG PPDU, an A-MPDU is a sequence of A-MPDU subframes carried in a single PPDU with one
     of the following combinations of RXVECTOR or TXVECTOR parameter values:
               The FORMAT parameter set to VHT
               The FORMAT parameter set to HT_MF or HT_GF and the AGGREGATION parameter set to 1

     In a DMG PPDU, aAn A-MPDU is a sequence of MPDUs carried in a single PPDU with the TXVECTOR/
     RXVECTOR AGGREGATION parameter set to 1.

     All the MPDUs within an A-MPDU are addressed to the same RA. All QoS data frames within an A-MPDU
     that have a TID for which an HT-immediate Block Ack agreement exists have the same value for the Ack
     Policy subfield of the QoS Control field.

     All protected MPDUs within an A-MPDU have the same Key ID.

     The Duration/ID fields in the MAC headers of all MPDUs in an A-MPDU carry the same value.

     An A-MPDU is transmitted in one of the contexts specified in Table 8-283 as defined by the description in
     the                       column, independently of whether the A-MPDU is contained in a VHT MU
     PPDU or an SU PPDU. Ordering of MPDUs within an A-MPDU is not constrained, except where noted in
     these tables. See 9.12.1.

     A VHT MU PPDU does not carry more than one A-MPDU that contains one or more MPDUs soliciting an
     immediate response.

                                            abled A-MPDU context are also constrained by the channel access rules (for a
     TXOP holder, see 9.19.2 and 9.19.3) and the RD response rules (for an RD responder, see 9.24.4). This is not shown in
     these tables.




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                                                        imited to a maximum length of 4095 octets. If a STA supports A-
     MSDUs of 7935 octets (indicated by the Maximum A-MSDU Length field in the HT Capabilities element), A-MSDUs
     transmitted by that STA within an A-MPDU carried in a PPDU with FORMAT HT_MF or HT_GF are constrained so
     that the length of the QoS data MPDU carrying the A-MSDU is no more than 4095 octets. The 4095-octet MPDU length
     limit does not apply to A-MPDUs carried in VHT or DMG PPDUs. The use of A-MSDU within A-MPDU might be
     further constrained as described in 8.4.1.14 through the operation of the A-MSDU Supported field.




                                                                                                     Table defining
        Name of Context                            Definition of Context                           permitted contents

       Data Enabled           The A-MPDU is transmitted outside a PSMP sequence by a                   Table 8-284
       Immediate              TXOP holder or an RD responder including potential
       Response               immediate responses.


       Data Enabled No        The A-MPDU is transmitted outside a PSMP sequence by a                   Table 8-285
       Immediate              TXOP holder that does not include or solicit an immediate
       Response               response.
                              See NOTE.
       PSMP                   The A-MPDU is transmitted within a PSMP sequence.                        Table 8-286



       Control Response       The A-MPDU is transmitted by a STA that is neither a TXOP                Table 8-287
                              holder nor an RD responder that also needs to transmit one of
                              the following immediate response frames:
                              AckACK
                              BlockAck with a TID for which an HT-immediate Block Ack
                              agreement exists

       VHT single MPDU        The A-MPDU is transmitted within a VHT PPDU and                          Table 8-288
       context                contains a VHT single MPDU.



                                                   no response is generated or when a response is generated later by the
       operation of the delayed Block Ack rules.



     Table 8-284, Table 8-285, Table 8-286, and Table 8-287 remain unchanged.




                      MPDU                                          Conditions

                  Any MPDU           A VHT single MPDU.




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      9. MAC sublayer functional description

      9.2 MAC architecture

      9.2.1 General

      Change the first paragraph of 9.2.1 as follows:

      The MAC architecture is shown in Figure 9-1. When operating with any of the Clause 14 through Clause 20
      PHYs or the Clause 22 PHY, the MAC provides the HCF, including the PCF, through the services of the
      DCF. In a non-DMG QoS STA implementation, both DCF and HCF are present. In a non-DMG non-QoS
      STA implementation, only DCF is present. PCF is optional in all non-DMG STAs.

      Replace Figure 9-1 with the following:


                                                               Used for Contention Services,
             Required for Prioritized QoS
                                                               basis for PCF and HCF
             Services

     Required for Parameterized                     Required for
     QoS Services                                   Controlled Mesh                                       Used for        Used for Dynamic
                                                    Services                                              Contention      Allocation Services
                                                                                                          Services
   Required for Contention-                                                                    Used for non-                            Used for Scheduled
   Free Services for non-QoS                                                                   data services                            Services
                                                         Mesh Coordination Function (MCF)
   STA, optional otherwise

                                                                                        Used for beamforming
                               Hybrid Coordination Function (HCF)
                                                                                        with the PCP/AP                       Dynamic Allocation


                                                                                                                             CBAP
                                                                                                                            Access
                             Point             HCF             HCF            MCF
                                                                                                                             (HCF
                          Coordination      Controlled      Contention     Controlled               A-BFT         ATI                         SP
                                                                                                                           Contention
               MAC         Function          Access          Access          Access                 Access       Access                     Access
                                                                                                                            Access)
               extent       (PCF)            (HCCA)          (EDCA)         (MCCA)
                                                                                                                              DCF


                                    Distributed Coordination Function (DCF)                                    DMG Channel Access



                          FHSS, IR, DSSS, OFDM, HR/DSSS, ERP, HT, or VHT PHY                                       DMG PHY




                                                Non-DMG STA                                                          DMG STA




      9.2.4 Hybrid coordination function (HCF)

      9.2.4.1 General

      Change the last paragraph of 9.2.4.1 as follows:

      Time priority management frames are transmitted outside of the normal MAC queuing process as per
      individually described transmission rules. Frames listed in Table 8-229 and Table 8-281ah with a value of
                                           are time priority management frames. No other frames are time priority
      management frames.



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     9.2.4.2 HCF contention-based channel access (EDCA)

     Change the seventh paragraph of 9.2.4.2 as follows:

     If dot11QMFActivated is false or not present for a QoS STA, a QoS STA should send individually
     addressed Management frames that are addressed to a non-QoS STA using the access category AC_BE and
     shall send all other management frames using the access category AC_VO, whether or not it is associated
     with a BSS or there is a QoS facility in the BSS. If dot11QMFActivated is false or not present for a QoS
     STA, a QoS STA that does not send individually addressed Management frames that are addressed to a non-
     QoS STA using the access category AC_BE shall send them using the access category AC_VO.
     Management frames are exempted from any and all restrictions on transmissions arising from admission
     control procedures. If dot11QMFActivated is true for a STA, the STA shall send management frames as
     described in 10.25 (Quality-of-Service management frame). BlockAckReq and BlockAck frames shall be
     sent using the same access category as the corresponding QoS data frames. PS-Poll frames shall be sent
     using the access category AC_BE (to reduce the likelihood of collision following a Beacon frame) and are
     exempted from any and all restrictions on transmissions arising from admission control procedures. When
     the first frame in a frame exchange sequence is an RTS or CTS frame, the RTS or CTS frame shall be
     transmitted using the access category of the corresponding QoS Data/QoS Null frame(s) or AC_VO for
     management frames. Control Wrapper frames shall be sent using the access category that would apply to the
     carried control frame. A beamformer may send a VHT NDP Announcement frame or Beamforming Report
     Poll frame using any access category and without being restricted by admission control procedures.

     9.2.7 Fragmentation/defragmentation overview

     Change the second paragraph of 9.2.7 as follows:

     An MSDU transmitted under HT-immediate or HT-delayed Block Ack agreement shall not be fragmented
     even if its length exceeds dot11FragmentationThreshold. An MSDU or MMPDU transmitted within an
     A-MPDU that does not contain a VHT single MPDU (see 9.12.7) shall not be fragmented even if its length
     exceeds dot11FragmentationThreshold. Group addressed MSDUs or MMPDUs shall not be fragmented
     even if their length exceeds dot11FragmentationThreshold.

     Change the third and fourth paragraphs of 9.2.7 (including combining them into one paragraph) as
     follows:

     Except as described below, when an individually addressed MSDU is received from the LLC or an
     individually addressed MMPDU is received from the MLME that would result in an MPDU of length
     greater than dot11FragmentationThreshold, the MSDU or MMPDU shall be fragmented. Except as
     described below, when an individually addressed MMPDU received from the MLME would result in an
     MPDU of length greater than dot11FragmentationThreshold, the MMPDU shall be fragmented. The
     exception applies when an MSDU is transmitted using an HT-immediate or HT-delayed Block Ack
     agreement or when the MSDU or MMPDU is carried in an A-MPDU that does not contain a VHT single
     MPDU, in which case the MSDU or MMPDU is transmitted without fragmentation. Each fragment is a
     frame no longer than dot11FragmentationThreshold, if security encapsulation is not invoked for the MPDU.
     If security encapsulation is active for the MPDU, then the fragments shall be expanded by the encapsulation
     overhead and this may result in a fragment larger than dot11FragmentationThreshold. It is possible that any
     fragment may be a frame smaller than dot11FragmentationThreshold. An illustration of fragmentation is
     shown in Figure 9-2.




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     9.3 DCF

     9.3.1 General

     Change the eighth paragraph of 9.3.1 as follows:

     The RTS/CTS exchange also performs both a type of fast collision inference and a transmission path check.
     If the return CTS is not detected by the STA originating the RTS, the originating STA may repeat the
     process (after observing the other medium-use rules) more quickly than if the long data frame had been
     transmitted and a return ACK frame had not been detected. An RTS/CTS exchange by VHT STAs also
     performs fast collision inference on the secondary 20 MHz channel, secondary 40 MHz channel, and
     secondary 80 MHz channel and helps the VHT STA transmitting the RTS to determine the available
     bandwidth at the responder.

     Change the 12th paragraph of 9.3.1 as follows:

     All STAs that are members of a BSS are able to receive and transmit at all the data rates in the
     BSSBasicRateSet parameter of the MLME-START.request primitive or BSSBasicRateSet parameter of the
     BSSDescription representing the SelectedBSS parameter of the MLME-JOIN.request primitive; see
     6.3.4.2.4 and 6.3.11.2.4. All HT STAs and DMG STAs that are members of a BSS are able to receive and
     transmit using all the MCSs in the BSSBasicMCSSet parameter of the MLME-START.request primitive or
     BSSBasicMCSSet parameter of the BSSDescription representing the SelectedBSS parameter of the MLME-
     JOIN.request primitive; see 6.3.4.2.4 and 6.3.11.2.4. All VHT STAs that are members of a BSS are able to
     receive and transmit using all the <VHT-MCS, NSS> tuples in the BSS basic VHT-MCS and NSS set (see
     10.39.7) except as constrained by the rules of 9.7.11. To support the proper operation of the RTS/CTS by
     non-DMG STAs, RTS/DMG CTS by DMG STAs, and the virtual CS mechanism, all non-DMG STAs shall
     be able to interpret control frames with the Subtype field set equal to RTS or CTS, and all DMG STAs shall
     be able to interpret control frames with the Subtype field set equal to RTS or DMG CTS.

     9.3.2 Procedures common to both DCF and EDCAF

     9.3.2.3 IFS

     9.3.2.3.2 RIFS

     Insert the following paragraph at the beginning of 9.3.2.3.2:

     The use of RIFS by non-DMG STAs is obsolete, and support for such use might be subject to removal in a
     future revision of the standard. A VHT STA shall not transmit frames separated by a RIFS.

     9.3.2.3.4 PIFS

     Change the second paragraph of 9.3.2.3.4 as follows:

     The PIFS may be used as described in the following list and shall not be used otherwise:




                                              as described in 9.19.3.2.3

            expected reception in a CAP as described in 9.19.3.2.4




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                                                                      ission of the CTS2 as described in 9.3.2.7
                                                               transmission failure as described in 9.19.2.4
            A TXOP holder transmitting an RTS with a bandwidth signaling TA within a multiple frame
            transmission sequence as specified in 9.19.2.4
                                                          ing error recovery as described in 9.25.3
                                                                       MP recovery frame as described in 9.26.1.3
                                                         ent (CCA) in the secondary channel before
            transmitting a 40 MHz mask PPDU using EDCA channel access as described in 10.15.9
                                                  a GCR-Block-Ack TXOP after the failure to receive a BlockAck as
            described in 9.21.10
            A VHT STA performing CCA in the secondary 20 MHz, 40 MHz, and 80 MHz channels before
            transmitting a 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz mask PPDU using EDCA channel access
            as described in 9.19.2.8
                                                   in the AT after a transmission failure during the AT (9.33.3)
                                                     tinuing to transmit after a transmission failure as described in
            9.33.6.2
                                                                     allocated CBAP as described in 9.33.5

     Insert the following subclause, 9.3.2.5a, after 9.3.2.5:

     9.3.2.5a VHT RTS procedure

     A VHT STA transmitting an RTS frame carried in non-HT or non-HT duplicate format and addressed to a
     VHT STA shall set the TA field to a bandwidth signaling TA and shall set the TXVECTOR parameters
     CH_BANDWIDTH_IN_NON_HT and CH_BANDWIDTH to the same value. If the STA sending the RTS
     frame is capable of dynamic bandwidth operation (see 9.3.2.6), the STA shall set the TXVECTOR
     parameter DYN_BANDWIDTH_IN_NON_HT to Dynamic. Otherwise, the STA shall set the TXVECTOR
     parameter DYN_BANDWIDTH_IN_NON_HT to Static.

     A VHT STA that initiates a TXOP by transmitting an RTS frame with the TA field set to a bandwidth
     signaling TA shall not send an RTS frame to a non-VHT STA for the duration of the TXOP.

                                                    h signaling TA as the address of the TXOP holder. If an RTS frame is
     sent to a non-VHT STA during a TXOP that is initiated by an RTS frame with a bandwidth signaling TA, the non-VHT
     STA does not recognize the RTS sender as the TXOP holder.

     9.3.2.6 CTS and DMG CTS procedure

     Insert the following paragraphs at the beginning of 9.3.2.6:

     A STA that receives an RTS frame addressed to it considers the NAV in determining whether to respond
     with CTS, unless the NAV was set by a frame originating from the STA sending the RTS frame (see
                                                                         ount is 0 or that the NAV count is
     nonzero but the non-bandwidth signaling TA obtained from the TA field of the RTS frame matches the
     saved TXOP holder address.

     A VHT STA that is addressed by an RTS frame in a non-HT or non-HT duplicate PPDU that has a
     bandwidth signaling TA and that has the RXVECTOR parameter DYN_BANDWIDTH_IN_NON_HT
     equal to Static behaves as follows:
                                                          le for all secondary channels (secondary 20 MHz
            channel, secondary 40 MHz channel, and secondary 80 MHz channel) in the channel width indicated



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                                                            CH_BANDWIDTH_IN_NON_HT for a PIFS period
            prior to the start of the RTS frame, then the STA shall respond with a CTS frame carried in a non-HT
            or non-HT duplicate PPDU after a SIFS peri
            CH_BANDWIDTH and CH_BANDWIDTH_IN_NON_HT shall be set to the same value as the

                                          respond with a CTS frame.

     A VHT STA that is addressed by an RTS frame in a non-HT or non-HT duplicate PPDU that has a
     bandwidth signaling TA and that has the RXVECTOR parameter DYN_BANDWIDTH_IN_NON_HT
     equal to Dynamic behaves as follows:
                                                            respond with a CTS frame in a non-HT or non-HT
            duplicate PPDU after a SIFS period. The CTS
            and CH_BANDWIDTH_IN_NON_HT may be set to any channel width for which CCA on all
            secondary channels has been idle for a PIFS prior to the start of the RTS frame and that is equal to or
            less than the channel width indicated in
            CH_BANDWIDTH_IN_NON_HT.
                                          respond with a CTS frame.

     A non-VHT STA that is addressed by an RTS frame or a VHT STA that is addressed by an RTS frame
     carried in a non-HT or non-HT duplicate PPDU that has a non-bandwidth signaling TA or a VHT STA that
     is addressed by an RTS frame in a format other than non-HT or non-HT duplicate behaves as follows:
                                                          ond with a CTS frame after a SIFS period.
                                          respond with a CTS frame.

     Change the now fifth paragraph of 9.3.2.6 as follows:

     A STA that is addressed by an RTS frame shall transmit a CTS frame after a SIFS period if the NAV at the
     STA receiving the RTS frame indicates that the medium is idle. If the NAV at the STA receiving the RTS
     indicates the medium is not idle, that STA shall not respond to the RTS frame. The RA field of the CTS
     frame shall be set to the value non-bandwidth signaling TA obtained from the TA field of the RTS frame to
     which this CTS frame is a response. The Duration field in the CTS frame shall be the duration field from the
     received RTS frame, adjusted by subtraction of aSIFSTime and the number of microseconds required to
     transmit the CTS frame at a data rate determined by the rules in 9.7.

     9.3.2.7 Dual CTS protection

     9.3.2.7.1 Dual CTS protection procedure

     Insert the following paragraphs at the beginning of 9.3.2.7.1:

     A VHT STA shall not transmit VHT PPDUs in a TXOP protected by dual CTS protection.

     A VHT AP shall not transmit an HT Operation element with the Dual CTS Protection field set to 1.

     Insert the following subclause, 9.3.2.9a (including Figure 9-9a and Figure 9-9b), after 9.3.2.9:

     9.3.2.9a MU acknowledgment procedure

     The acknowledgment procedure performed by a STA that receives MPDUs that were transmitted within a
     VHT MU PPDU is the same as the acknowledgment procedure for MPDUs that were not transmitted within
     a VHT MU PPDU.




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     8.6.3 prevent an immediate response to more than one of the A-MPDUs.

     Responses to A-MPDUs within a VHT MU PPDU that are not immediate responses to the VHT MU PPDU
     are transmitted in response to explicit BlockAckRequest frames by the AP. Examples of VHT MU PPDU
     frame exchange sequences are shown in Figure 9-9a and Figure 9-9b.


                                         SIFS                SIFS            SIFS                SIFS            SIFS

         AP        VHT MU PPDU                                      BAR                                 BAR


      STA 1                                       BA/ACK


      STA 2                                                                          BA/ACK


      STA 3                                                                                                              BA/ACK


                                                   ontaining a VHT MU PPDU transmission
                          with an immediate acknowledgment to the VHT MU PPDU



                                      SIFS            SIFS                SIFS            SIFS                SIFS            SIFS

    AP          VHT MU PPDU                     BAR                                 BAR                                 BAR


   STA 1                                                      BA/ACK


   STA 2                                                                                          BA/ACK


   STA 3                                                                                                                              BA/ACK



                          with no immediate acknowledgment to the VHT MU PPDU


     Recovery within the TXOP that contains a VHT MU PPDU can be performed according to the rules of
     9.19.2.4. BlockAckRequest frames related to A-MPDUs within a VHT MU PPDU can be transmitted in a
     TXOP separate from the one that contained the VHT MU PPDU.

                                                              immediate response to the BlockAckReq frame for HT-
     immediate or HT-delayed Block Ack, respectively. An ACK frame might be sent in immediate response to a VHT single
     MPDU in the VHT MU PPDU.

                                           ypically not be sent to a STA in the case where the A-MPDU to the STA
     contained no MPDUs requiring acknowledgment. It could be sent if MPDUs in a previous A-MPDU remain
     unacknowledged.




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     9.3.4 DCF access procedure

     9.3.4.4 Recovery procedures and retransmit limits

     Insert the following paragraph at the end of 9.3.4.4:

     An AP that fails to receive an acknowledgment after the AP transmits a frame with the More Data field set to
     0 to a non-AP VHT STA that is in VHT TXOP power save mode retransmits the frame within the current
     TXOP under certain conditions as described in 10.2.1.19.

     9.3.7 DCF timing relations

     Insert the following note after the first paragr

                                                                equal to aRxPHYDelay and referenced from the end of
     the last symbol of a PPDU on the medium.

     Change the third paragraph of 9.3.7 as follows:

     aSIFSTime and aSlotTime are determined per PHY, aSIFSTime is fixed, and aSlotTime can change
     dynamically as aAirPropagationTime changes (see 9.18.6).
       When transmitting a non-VHT PPDU,
          aSIFSTime is: aRxRFDelay + aRxPLCPDelay + aMACProcessingDelay + aRxTxTurnaroundTime.
       When transmitting a VHT PPDU,
          aSIFSTime is: aRxPHYDelay + aMACProcessingDelay + aRxTxTurnaroundTime.
          aSlotTime is: aCCATime + aRxTxTurnaroundTime + aAirPropagationTime + aMACProcessingDelay.


     9.5 Fragmentation

     Change the third paragraph of 9.5, including breaking it into three paragraphs, as follows:

     A fragment is an MPDU, the payload of which carries all or a portion of an MSDU or MMPDU. When data
     are to be transmitted, the number of octets in the fragment (before processing by the security mechanism)
     shall be determined by dot11FragmentationThreshold and the number of octets in the MPDU that have yet
     to be assigned to a fragment at the instant the fragment is constructed for the first time. Once a fragment is
     transmitted for the first time, its frame body content and length shall be fixed until it is successfully
     delivered to the immediate receiving STA.

     A STA shall be capable of receiving fragments, containing all or part of an MSDU, of arbitrary length that is
     less than or equal to the maximum allowed MSDU size as defined in 8.2.3, plus any security encapsulation
     headers overhead, plus MAC header and FCS.

     A STA shall be capable of receiving fragments, containing all or part of an MMPDU, of arbitrary length that
     is less than or equal to the minimum of
             The maximum MMPDU size as defined in 8.3.3.1, plus any security encapsulation overhead, plus
             MAC header and FCS
             Any maximum MPDU length advertised by the STA




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     9.7 Multirate support

     9.7.1 Overview

     Change the last paragraph of 9.7.1 as follows:

     For the Clause 18, Clause 17, Clause 19, Clause 20, and Clause 21, and Clause 22 PHYs, the time required
     to transmit a frame for use in calculating the value for the Duration/ID field is determined using the PLME-
     TXTIME.request primitive (see 6.5.7) and the PLME-TXTIME.confirm primitive (see 6.5.8), both defined
     in 18.4.3, 17.3.4, 19.8.3.2, 19.8.3.3, 19.8.3.4, 20.4.3, or 21.12.3, or 22.4.3 depending on the PHY options. In
     QoS STAs, the Duration/ID field may cover multiple frames and may involve using the PLME-
     TXTIME.request primitive several times.

     9.7.4 Basic Rate Set and Basic MCS Set for mesh STA

     Change the last two paragraphs of 9.7.4 as follows:

     Mesh STAs should adopt the mandatory PHY rates as the default BSSBasicRateSet to reduce the risk that a
     candidate peer mesh STA utilizes a different BSSBasicRateSet. If the mesh STA is also an HT STA, it
     should adopt the MCSs of mandatory HT MCSs as the default BSSBasicMCSSet. If the mesh STA is also a
     VHT STA, it should adopt <VHT-MCS, NSS> tuples formed from the mandatory VHT-MCSs and NSS = 1
     as the default BSS basic VHT-MCS and NSS set (see 10.39.7).

     Once the mesh STA establishes a mesh peering with a mesh STA, it shall not change neither the
     BSSBasicRateSet, nor the BSSBasicMCSSet, or BSS basic VHT-MCS and NSS set.

     9.7.5 Rate selection for data and management frames

     9.7.5.3 Rate selection for other group addressed data and management frames

     Insert the following paragraph before the last paragraph of 9.7.5.3:

     If the BSSBasicRateSet parameter is empty and the BSSBasicMCSSet parameter is empty and the BSS
     basic VHT-MCS and NSS set is not empty, the frame shall be transmitted in a VHT PPDU using one of the
     <VHT-MCS. NSS> tuples included in the BSS basic VHT-MCS and NSS set.

     Change the last paragraph of 9.7.5.3 as follows:

     If both the BSSBasicRateSet parameter, and the BSSBasicMCSSet parameter, and the BSS basic VHT-
     MCS and NSS set are empty (e.g., a scanning STA that is not yet associated with a BSS), the frame shall be
     transmitted in a non-HT PPDU using one of the mandatory PHY rates.

     Insert the following subclause, 9.7.5.5a, after 9.7.5.5:

     9.7.5.5a Rate selection for data frames sent within an FMS stream

     Data frames sent within an FMS stream are sent at a rate negotiated during the establishment of the FMS
     stream. See 10.23.7.




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     Change 9.7.5.6 (including the subclause title) as follows:

     9.7.5.6 Rate selection for other individually addressed data and management frames

     A data or management frame not identified in 9.7.5.1 through 9.7.5.5 9.7.5.5a shall be sent using any data
     rate, or MCS, or <VHT-MCS, NSS> tuple subject to the following constraints:
                                                            MCS that is not supported by the receiver STA or
            STAs, as reported in any Supported Rates element, Extended Supported Rates element, or Supported
            MCS Set field in management frames transmitted by the receiver STA.
            A STA shall not transmit a frame using a <VHT-MCS, NSS> tuple that is not supported by the
            receiver STA, as reported in any Supported VHT-MCS and NSS Set field in management frames
            transmitted by the receiver STA.
            If at least one Operating Mode field with the Rx NSS Type subfield equal to 0 was received from the
            receiver STA:
                A STA shall not transmit a frame with the number of spatial streams greater than that indicated in
                the Rx NSS subfield in the most recently received Operating Mode field with the Rx NSS Type
                subfield equal to 0 from the receiver STA.
            If at least one Operating Mode field with the Rx NSS Type subfield equal to 1 was received from the
            receiver STA:
                A STA shall not transmit an SU PPDU frame using a beamforming steering matrix with the
                number of spatial streams greater than that indicated in the Rx NSS subfield in the most recently
                received Operating Mode field with the Rx NSS Type subfield equal to 1 from the receiver STA
                if the beamforming steering matrix was derived from a VHT Compressed Beamforming report
                with Feedback Type subfield indicating MU in the VHT Compressed Beamforming frame(s).
                                                         value for the CH_BANDWIDTH parameter of the
            TXVECTOR that is not supported by the receiver STA, as reported in any HT Capabilities element
            or VHT Capabilities element received from the intended receiver.
            An HT STA that is a member of a BSS and that is not a VHT STA shall not transmit a frame using a
            value for the CH_BANDWIDTH parameter of the TXVECTOR that is not permitted for use in the
            BSS, as reported in the most recently received HT Operation element with the exception
            transmissions on a TDLS off-channel link, which follow the rules described in 10.22.6.1 and
            10.22.6.2.
            A VHT STA that is a member of a BSS shall not transmit a frame using a value for the
            CH_BANDWIDTH parameter of the TXVECTOR that is not permitted for use in the BSS, as
            reported in the most recently received VHT Operation element with the following exceptions:
                Transmissions on a TDLS off-channel link follow the rules described in 10.22.6.1 and 10.22.6.2.
                Transmissions by a VHT STA on a TDLS link follow the rules described in 10.22.1 and
                10.22.6.4.
            If at least one Operating Mode field with the Rx NSS Type subfield equal to 0 was received from the
            receiver STA:
                A STA shall not transmit a frame using a value for the TXVECTOR parameter
                CH_BANDWIDTH that is not supported by the receiver STA as reported in the most recently
                received Operating Mode field with the Rx NSS Type subfield equal to 0 from the receiver STA.
                                             on of a frame at a data rate higher than the greatest rate in the
            OperationalRateSet, or using an MCS that is not in the HTOperationalMCSSet, or using a <VHT-
            MCS, NSS> tuple that is not in the OperationalVHTMCS_NSSSet, which are parameters of the
            MLME-JOIN.request primitive.

     When the supported rate set of the receiving STA is not known, the transmitting STA shall transmit using a
     rate in the BSSBasicRateSet parameter, or an MCS in the BSSBasicMCSSet parameter, or a <VHT-MCS,




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     NSS> tuple in the BSS basic VHT-MCS and NSS set, or a rate from the mandatory rate set of the attached
     PHY if both the BSSBasicRateSet, and the BSSBasicMCSSet, and the BSS basic VHT-MCS and NSS set
     are empty.

     The rules in this subclause also apply to A-MPDUs that aggregate MPDUs of type Data or Management
     with any other types of MPDU.

     9.7.6 Rate selection for control frames

     9.7.6.1 General rules for rate selection for control frames

     Change 9.7.6.1 as follows:

     Control frames carried in an A-MPDU that does not contain a VHT single MPDU shall be sent at a rate
     selected from the rules defined in 9.7.5.6.

                                              ugh 9.7.6.5 apply only to control frames not carried in an A-MPDU that does
     not contain a VHT single MPDU.

     The following rules determine whether a control frame is carried in an HT PPDU or non-HT, HT, or VHT
     PPDU:
       a)    A control frame shall be carried in an HT PPDU when the control frame meets any of the following
             conditions:
             1)   The control frame contains an L-SIG duration value (see 9.23.5), or
             2)   The control frame is sent using an STBC frame.
       b)    A control response frame shall be carried in an HT PPDU when the control frame is a response to a
             frame that meets any of the following conditions:
             1)   The frame eliciting the response included an HT variant HT Control field with the TRQ field
                  equal to 1 and the HT NDP Announcement subfield equal to 0, and this responder set the
                  Implicit Transmit Beamforming Receiving Capable field to 1 in its last transmitted HT
                  Capabilities element; or
             2)   The frame eliciting the response was an RTS frame carried in an HT PPDU; or
             3)   The frame eliciting the response was an STBC frame, and the Dual CTS Protection field was
                  equal to 1 in the last HT Operation element received from its AP or transmitted by the STA (see
                  9.3.2.7).
       c)    A control frame may be carried in an HT PPDU when the control frame meets any of the following
             conditions:
             1)   The control frame contains an HT variant HT Control field with the MRQ subfield equal to 1,
                  or
             2)   The control frame contains an HT variant HT Control field with the TRQ field equal to 1.
                                                         specified in 9.27, 9.28.2, and 9.29 further constrain the choice of
                  non-HT or HT PPDU.
       d)    A control frame may be carried in a VHT PPDU when the control frame contains an HT Control
             field or is an STBC frame.
       e)    A control response frame shall be carried in a VHT PPDU if the eliciting frame was an RTS frame
             carried in a VHT PPDU that contains an HT Control field with MRQ subfield equal to 1.
       f)    Otherwise, the control frame shall be carried in a non-HT PPDU.

                           , the requirements specified in 9.27, 9.28.2, and 9.29 further constrain the choice of non-HT, HT,
     or VHT PPDU.




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     If an Operating Mode field has been received from the intended receiver STA, the following constraints also
     apply:
            If at least one Operating Mode field with the Rx NSS Type subfield equal to 0 was received from the
            receiver STA:
                A STA shall not transmit a frame with the number of spatial streams greater than that indicated in
                the Rx NSS subfield in the most recently received Operating Mode field with the Rx NSS Type
                subfield equal to 0 from the receiver STA.
            If at least one Operating Mode field with the Rx NSS Type subfield equal to 1 was received from the
            receiver STA:
                A STA shall not transmit an SU PPDU frame using a beamforming steering matrix with the
                number of spatial streams greater than that indicated in the Rx NSS subfield in the most recently
                received Operating Mode field with the Rx NSS Type subfield equal to 1 from the receiver STA
                if the beamforming steering matrix was derived from a VHT Compressed Beamforming report
                with Feedback Type subfield indicating MU in the VHT Compressed Beamforming frame(s).

     Selection of channel width is defined in 9.7.6.6.

     A control response frame is a control frame that is transmitted as a response to the reception of a frame a
     SIFS time after the PPDU containing the frame that elicited the response, e.g. a CTS in response to an RTS
     reception, an ACK in response to a DATA reception, a BlockAck in response to a BlockAckReq reception.
     In some situations, the transmission of a control frame is not a control response transmission, such as when a
     CTS is used to initiate a TXOP.

     9.7.6.2 Rate selection for control frames that initiate a TXOP

     Change the first paragraph of 9.7.6.2 as follows:

     This subclause describes the rate selection rules for control frames that initiate a TXOP and that are either a
     VHT single MPDU or not carried in an A-MPDU.

     Insert the following paragraph at the end of 9.7.6.2:

     When transmitting a VHT PPDU, a STA shall select a <VHT-MCS, NSS> tuple from the BSS basic VHT-
     MCS and NSS set when protection is required (as defined in 9.23) and shall select a <VHT-MCS, NSS>
     tuple from the SupportedVHTMCS_NSSSet parameter of the intended receiver when protection is not
     required.

     9.7.6.4 Rate selection for control frames that are not control response frames

     Change the first paragraph of 9.7.6.4 as follows:

     This subclause describes the rate selection rules for control frames that are not control response frames, are
     not the frame that initiates a TXOP, are not the frame that terminates a TXOP, and are either a VHT single
     MPDU or not carried in an A-MPDU.

     Change the fourth paragraph of 9.7.6.4 as follows:

     A frame that is carried in an HT PPDU shall be transmitted by the STA using an MCS supported by the
     receiver STA, as reported in the Supported MCS Set field in the HT Capabilities element in management
     frames transmitted by received from that STA. When the supported rate MCS set of the receiving STA or
     STAs is not known, the transmitting STA shall transmit using an MCS in the BSSBasicMCSSet parameter.




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     Insert the following paragraph at the end of 9.7.6.4:

     A frame that is carried in a VHT PPDU shall be transmitted by the STA using a <VHT-MCS, NSS> tuple
     supported by the receiver STA. A <VHT-MCS, NSS> tuple is supported if reported as such in the Supported
     VHT-MCS and NSS Set field in the VHT Capabilities element received from that STA. When the Supported
     VHT-MCS and NSS set of the receiving STA or STAs is not known, the transmitting STA shall transmit
     using a <VHT-MCS, NSS> tuple in the BSS basic VHT-MCS and NSS set.

     9.7.6.5 Rate selection for control response frames

     9.7.6.5.1 Introduction

     Change 9.7.6.5.1 as follows:

     Subclauses 9.7.6.5.2 through 9.7.6.5.5 describe the rate selection rules for control response frames that are
     either a VHT single MPDU or not carried in an A-MPDU.

     9.7.6.5.2 Selection of a rate or MCS

     Change the second bullet in the dashed list of the first paragraph of 9.7.6.5.2 as follows:

                                                 immediate response to either an implicit BlockAck request or to a
            BlockAckReq frame that was carried in an HT or VHT PPDU and the BlockAck frame is carried in a
            non-HT PPDU, the primary rate is defined to be the highest rate in the BSSBasicRateSet parameter
            that is less than or equal to the rate (or non-HT reference rate; see 9.7.9) of the previous frame. If no
            rate in the BSSBasicRateSet parameter meets these conditions, the primary rate is defined to be the
            highest mandatory rate of the attached PHY that is less than or equal to the rate (or non-HT reference
            rate; see 9.7.9) of the previous frame. The STA may select an alternate rate according to the rules in
            9.7.6.5.4. The STA shall transmit the non-HT PPDU BlockAck control response frame at either the
            primary rate or the alternate rate, if one exists.

     Change the fifth bullet in the dashed list of the first paragraph of 9.7.6.5.2 as follows:

                                                                PPDU, then it is transmitted at using an
            MCS or <VHT-MCS, NSS> tuple as determined by the procedure defined in 9.7.6.5.3.

     Change the second paragraph of 9.7.6.5.2 as follows:

     The modulation class of the control response frame shall be selected according to the following rules:
                                                tion class other than HT or VHT and the control response frame
            is carried in a non-HT PPDU, the control response frame shall be transmitted using the same
            modulation class as the received frame. In addition, the control response frame shall be sent using the
            same value for the TXVECTOR parameter PREAMBLE_TYPE as the received frame.
                                                                      and the control response frame is carried
            in a non-HT PPDU, the control response frame shall be transmitted using one of the ERP-OFDM or
            OFDM modulation classes.
                                                          HT PPDU, the modulation class shall be HT.
            If the control response frame is carried in a VHT PPDU, the modulation class shall be VHT.




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     9.7.6.5.3 Control response frame MCS computation

     Change 9.7.6.5.3 as follows:

     If a control response frame is to be transmitted within an HT or VHT PPDU, the channel width
     (CH_BANDWIDTH parameter of the TXVECTOR) shall be selected first according to 9.7.6.6, and then the
     MCS or <VHT-MCS, NSS> tuple shall be selected from a set of MCSs and <VHT-MCS, NSS> tuples
     called the CandidateMCSSet as described in this subclause.

     If the frame eliciting the response was transmitted by an HT STA that is not a VHT STA, tThe Rx Supported
     MCS Set of the STA that transmitted the frame eliciting the response is determined from the its Supported
     MCS Set field in the HT Capabilities element received from the STA, as follows:



            in megabits per second) of the corresponding MCS is less than or equal to the rate represented by the
            Rx Highest Supported Data Rate subfield, then the MCS is supported by the STA on receive. If the
            Rx Highest Supported Data Rate subfield is equal to 0 and a bit in the Rx MCS Bitmask is equal to 1,
            then the corresponding MCS is supported by the STA on receive.

     If the frame eliciting the response was transmitted by a VHT STA, the Rx Supported MCS Set is determined
     for VHT PPDUs as described in 9.7.11 and for HT PPDUs from the Supported MCS Set field in the HT
     Capabilities element received from the STA as follows:
            If a bit in the Rx MCS Bitmask subfield is equal to 0, the corresponding MCS is not supported.
            If a bit in the Rx MCS Bitmask subfield is equal to 1 and the integer part of the data rate (expressed
            in megabits per second) of the corresponding MCS is less than or equal to the rate represented by the
            Rx Highest Supported Data Rate subfield, then the MCS is supported by the STA on receive. If the
            Rx Highest Supported Data Rate subfield is equal to 0 and a bit in the Rx MCS Bitmask is equal to 1,
            then the corresponding MCS is supported by the STA on receive.

     The CandidateMCSSet is determined using the following rules:
                                            was an STBC frame and the Dual CTS Protection bit is equal to 1,
            the CandidateMCSSet shall contain only the basic STBC MCS.
                                                              duration value (see 9.23.5) and initiates a TXOP, the
            CandidateMCSSet is the MCS Set consisting of the intersection of the Rx Supported MCS Set of the
            STA that sent the frame that is eliciting the response and the set of MCSs that the responding STA is
            capable of transmitting.
                                                                                           BSSBasicMCSSet
            and the BSS basic VHT-MCS and NSS set parameter. If the frame eliciting the response was an RTS
            frame carried in a VHT PPDU, then the CandidateMCSSet may additionally include the <VHT-
            MCS, NSS> tuple with the same MCS and number of spatial streams as the VHT PPDU. If the
            combined BSSBasicMCSSet parameter is empty, the CandidateMCSSet shall consist of
                tThe set of mandatory HT PHY MCSs if the STA eliciting the response is an HT STA that is not
                a VHT STA
                The set of mandatory HT MCSs plus the set of <VHT MCS, NSS> tuples corresponding to the
                mandatory VHT PHY MCSs with NSS = 1 if the STA eliciting the response is a VHT STA.

     MCS values from the CandidateMCSSet that cannot be transmitted with the selected CH_BANDWIDTH
     parameter value shall be eliminated from the CandidateMCSSet.

     The choice of a response MCS is made as follows:
       a)   If the frame eliciting the response is within a non-HT PPDU,




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             1)   Eliminate from the CandidateMCSSet all <VHT-MCS, NSS> tuples. Moreover, eliminate all
                  MCSs that have a data rate greater than the data rate of the received PPDU (the mapping of
                  MCS to data rate is defined in 20.6).
             2)   Find the highest indexed MCS from the CandidateMCSSet. The index of this MCS is the index
                  of the MCS that is the primary MCS for the response transmission.
             3)   If the CandidateMCSSet is empty, the primary MCS is the lowest indexed MCS of the
                  mandatory MCSs.
       b)    If the frame eliciting the response is within an HT PPDU,
             1)   Eliminate from the CandidateMCSSet all <VHT-MCS, NSS> tuples. Moreover, eliminate all
                  MCSs that have an index that is higher than the index of the MCS of the received frame. Also
                  eliminate all MCSs that have a number of spatial streams greater than that indicated in the Rx
                  NSS subfield in the most recent Operating Mode field with the Rx NSS Type subfield equal to
                  0 from the intended receiver STA, if at least one Operating Mode field with the Rx NSS Type
                  subfield equal to 0 was received from the intended receiver STA.
             2)   Determine the highest number of spatial streams (NSS) value of the MCSs in the
                  CandidateMCSSet that is less than or equal to the NSS value of the MCS of the received frame.
                  Eliminate all MCSs from the CandidateMCSSet that have an NSS value that is not equal to this
                  NSS value. The mapping from MCS to NSS is dependent on the attached PHY. For the HT PHY,
                  see 20.6.
             3)   Find the highest indexed MCS of the CandidateMCSSet for which the modulation value of
                  each stream is less than or equal to the modulation value of each stream of the MCS of the
                  received frame and for which the coding rate value is less than or equal to the coding rate value
                  of the MCS from the received frame. The index of this MCS is the index of the MCS thatThis is
                  the primary MCS for the response transmission. The mapping from MCS to modulation and
                  coding rate is dependent on the attached PHY. For the HT PHY, see 20.6. For the purpose of
                  comparing modulation values, the following sequence shows increasing modulation values:
                  BPSK, QPSK, 16-QAM, 64-QAM.
             4)   If no MCS meets the condition in step 3), remove each MCS from the CandidateMCSSet that
                  has the highest value of NSS in the CandidateMCSSet. If the resulting CandidateMCSSet is
                  empty, then set the CandidateMCSSet to the HT PHY mandatory MCSs. Repeat step 3) using
                  the modified CandidateMCSSet.
       c)    If the frame eliciting the response is within a VHT PPDU,
             1)   Eliminate from the CandidateMCSSet all MCSs and all <VHT-MCS, NSS> tuples that meet
                  any of the following conditions:
                  i)    Have a data rate that is higher than the data rate of the <VHT-MCS, NSS> tuple of the
                        received frame using the largest possible value of CH_BANDWIDTH that is no larger
                        than the value of CH_BANDWIDTH of the received frame
                  ii)   Have a number of spatial streams greater than that indicated in the Rx NSS subfield in the
                        most recent Operating Mode field with the Rx NSS Type subfield equal to 0 from the
                        intended receiver STA, if at least one Operating Mode field with the Rx NSS Type
                        subfield equal to 0 was received from the intended receiver STA
                  iii) Have a number of spatial streams greater than that indicated in the Rx NSS subfield in the
                       most recent Operating Mode field with the Rx NSS Type subfield equal to 1 from the
                       intended receiver STA if at least one Operating Mode field with the Rx NSS Type subfield
                       equal to 1 was received from the receiver STA and the control response frame is an SU
                       PPDU frame with a beamforming steering matrix and the beamforming steering matrix
                       was derived from a VHT Compressed Beamforming report with Feedback Type subfield
                       indicating MU in the VHT Compressed Beamforming frame(s)
             2)   Determine the highest number of spatial streams (NSS) value of the MCSs and <VHT-MCS,
                  NSS> tuples in the CandidateMCSSet that is less than or equal to the NSS value of the received



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                   frame. Eliminate all MCSs from the CandidateMCSSet that have an NSS value that is not equal
                   to this NSS value. The mapping from MCS to NSS is dependent on the attached PHY. For the
                   HT PHY, see 20.6.
             3)    Find the highest rate MCS or <VHT-MCS, NSS> tuple of the CandidateMCSSet for which the
                   modulation value of each stream is less than or equal to the modulation value of each stream of
                   the MCS of the received frame and for which the coding rate is less than or equal to the coding
                   rate of the MCS from the received frame. This MCS or <VHT-MCS, NSS> tuple is the primary
                   MCS for the response transmission. The mapping from MCS or <VHT-MCS, NSS> tuple to
                   modulation and coding rate is dependent on the attached PHY. For the HT PHY, see 20.6; for
                   the VHT PHY, see 22.5. For the purpose of comparing modulation values, the following
                   sequence shows increasing modulation values: BPSK, QPSK, 16-QAM, 64-QAM, 256-QAM.
             4)    If no MCS meets the condition in step 3), remove each MCS or <VHT-MCS, NSS> tuple from
                   the CandidateMCSSet that has the highest value of NSS in the CandidateMCSSet. If the
                   resulting CandidateMCSSet is empty, then set the CandidateMCSSet to the VHT PHY
                   mandatory MCSs. Repeat step 3) using the modified CandidateMCSSet.

     Once the primary MCS or <VHT-MCS, NSS> tuple has been selected, the STA may select an alternate
     MCS according to 9.7.6.5.4. The STA shall transmit the HT PPDU control response frame using either the
     primary MCS or the alternate MCS, if one exists.

     9.7.6.6 Channel Width selection for control frames

     Change 9.7.6.6 as follows:

     An HT STA that receives a frame that elicits a control frame transmission shall send the control frame
     response using a value for the CH_BANDWIDTH parameter that is based on the CH_BANDWIDTH
     parameter value of the received frame according to Table 9-3.


                                      CH_BANDWIDTH control frame response mapping

                             CH_BANDWIDTH                              CH_BANDWIDTH
                             RXVECTOR value                            TXVECTOR value

                                 HT_CBW20                       HT_CBW20 or NON_HT_CBW20
                                 HT_CBW40                       HT_CBW40 or NON_HT_CBW40

                              NON_HT_CBW20                      HT_CBW20 or NON_HT_CBW20

                              NON_HT_CBW40                      HT_CBW40 or NON_HT_CBW40



                       The rules in this subclause, combined with the rules in 9.7.5.1 (General rules for rate selection for
     control frames), determines the format of control response frames.

     If a VHT STA transmits to another VHT STA a control frame that is not an RTS frame or a CF-End frame,
     if that control frame elicits a control response frame or a VHT Compressed Beamforming frame, and
             If the control frame is transmitted in a non-HT duplicate PPDU (channel width 40 MHz or wider),
             the transmitting VHT STA shall set the TA field to a bandwidth signaling TA.
             If the control frame is transmitted in a non-HT PPDU (channel width 20 MHz), the transmitting
             VHT STA may set the TA field to a bandwidth signaling TA.

     If the TA is a bandwidth signaling TA, the transmitting VHT STA shall set the TXVECTOR parameters
     CH_BANDWIDTH_IN_NON_HT and CH_BANDWIDTH to the same value.



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                                           ckReq frames, BlockAck frames in the context of HT-delayed Block Ack,
     PS-Poll frames, VHT NDP Announcement frames, and Beamforming Report Poll frames.

                                                            aining to the carried control frame (see 9.10).

     Channel width selection rules for RTS frames are described in 9.3.2.5a.

     A VHT STA that transmits a CF-End frame in a non-HT duplicate PPDU (channel width 40 MHz or wider)
     addressed to a VHT AP shall set the Individual/Group bit in the BSSID(TA) field to 1.

     A VHT STA that transmits a CF-End frame in a non-HT PPDU (channel width 20 MHz) addressed to a
     VHT AP may set the Individual/Group bit in the BSSID(TA) field to 1.

     If the Individual/Group bit in the BSSID(TA) field of the CF-End frame is set to 1, the transmitting VHT
     STA shall set the TXVECTOR parameters CH_BANDWIDTH_IN_NON_HT and CH_BANDWIDTH to
     the same value.

     A STA that sends a control frame in response to a frame carried in an HT PPDU or a VHT PPDU shall set
     the TXVECTOR parameter CH_BANDWIDTH to indicate a channel width that is the same as the channel
     width indicated by the RXVECTOR parameter CH_BANDWIDTH of the frame eliciting the response.

     A STA that sends a control frame in response to a frame carried in a non-HT or non-HT duplicate PPDU
     with a non-bandwidth signaling TA
             Should set the TXVECTOR parameter CH_BANDWIDTH to the same value as the RXVECTOR
             parameter CH_BANDWIDTH for the frame eliciting the response.
             Shall not set the TXVECTOR parameter CH_BANDWIDTH to a value greater than the
             RXVECTOR parameter CH_BANDWIDTH for the frame eliciting the response.

                                     , a STA can respond with a 20 MHz PPDU if it receives a non-HT duplicate frame but is
     not able to detect the channel width occupied by the frame (whether by design or because the frame was received over a
     channel that is narrower than the channel on which it was transmitted).

     A VHT STA that sends a control frame that is in response to a non-HT or non-HT duplicate format frame
     with a bandwidth signaling TA and that is not a CTS shall set the channel width indicated by the
     TXVECTOR parameter CH_BANDWIDTH to the same value as the channel width indicated by the
     RXVECTOR parameter CH_BANDWIDTH_IN_NON_HT for the frame eliciting the response. The RA
     field of a control frame that is not a CF-End frame and that is sent in response to a control frame with a
     bandwidth signaling TA shall be set to a non-bandwidth signaling TA obtained from the TA field of the
     immediate previous control frame. For the channel width selection rules for CTS sent in response to an RTS
     with a bandwidth signaling TA, see 9.3.2.6.

     A frame that is intended to provide protection is transmitted using a channel width selected by the rules
     defined in 9.23.

     An HT STA that uses a non-HT duplicate frame to establish protection of its TXOP shall send any CF-End
     frame using a non-HT duplicate frame except during the 40 MHz phase of PCO operation. During the
     40 MHz phase of PCO operation, the rules in 10.16 apply.

     The TXOP holder should set the TXVECTOR parameter CH_BANDWIDTH of a CF-End frame to the
     maximum bandwidth allowed by the rules in 9.19.2.4.

                                                                     after receiving a CF-End frame is considered a control
     response frame.




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     9.7.8 Modulation classes

     Change 9.7.8 as follows:

     In order to determine the rules for response frames given in 9.7, the following modulation classes are defined in
     Table 9-4. Each row defines a modulation class. Modulations described within the same row have the same
     modulation class, while modulations described in different rows have different modulation classes. For
     Clause 20 PHY transmissions, the modulation class is determined by the FORMAT and
     NON_HT_MODULATION parameters of the TXVECTOR/RXVECTOR. Otherwise, the modulation class is
     determined by the clause or subclause number defining that modulation.

     Table 9-4 defines modulation classes for the rules for response frames in 9.7.




                                                          Condition that selects this modulation class
     Modulation         Description of
       class             modulation        Clause 14 to Clause 19
                                                PHYs and                Clause 20 PHY              Clause 22 PHY
                                              Clause 21 PHY

           1        Infrared (IR)          Clause 15 transmission   N/A                        N/A

           2        Frequency-hopping      Clause 14 transmission   N/A                        N/A
                    spread spectrum
                    (FHSS)

           3        DSSS and HR/           Clause 16 or Clause 17   FORMAT is NON_HT.          N/A
                    DSSS                   transmission             NON_HT_MODULAT
                                                                    ION is ERP-DSSS or
                                                                    ERP-CCK.

           4        ERP-PBCC               19.6 transmission        FORMAT is NON_HT.          N/A
                                                                    NON_HT_MODULAT
                                                                    ION is ERP-PBCC.

           5        DSSS-OFDM              19.7 transmission        FORMAT is NON_HT.          N/A
                                                                    NON_HT_MODULAT
                    The use of the                                  ION is DSSS-OFDM.
                    DSSS-OFDM
                    option is
                    deprecated, and this
                    option may be
                    removed in a later
                    revision of the
                    standard.

           6        ERP-OFDM               19.5 transmission        FORMAT is NON_HT.          N/A
                                                                    NON_HT_MODULAT
                                                                    ION is ERP-OFDM.

           7        OFDM                   Clause 18 transmission   FORMAT is NON_HT.          FORMAT is NON_HT.
                                                                    NON_HT_MODULAT             NON_HT_MODULAT
                                                                    ION is OFDM or             ION is OFDM
                                                                    NON_HT_DUP_OFD             or
                                                                    M.                         NON_HT_DUP_OFD
                                                                                               M.




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                                                            Condition that selects this modulation class
     Modulation           Description of
       class               modulation        Clause 14 to Clause 19
                                                  PHYs and                Clause 20 PHY             Clause 22 PHY
                                                Clause 21 PHY

            8          HT                    N/A                      FORMAT is HT_MF or        FORMAT is HT_MF or
                                                                      HT_GF.                    HT_GF.

            9          DMG Control           21.4 transmission        N/A                       N/A

            10         DMG SC                21.6 transmission        N/A                       N/A

            11         DMG OFDM              21.5 transmission        N/A                       N/A

            12         DMG low power         21.7 transmission        N/A                       N/A
                       SC

            13         VHT                   N/A                      N/A                       FORMAT is VHT.



     9.7.9 Non-HT basic rate calculation

     Change the first paragraph of 9.7.9 as follows (note that footnote 27 remains unchanged):

     This subclause defines how to convert an HT MCSs and VHT-MCSs to a non-HT basic rate for the purpose
     of determining the rate of the a response frame. It consists of two steps as follows:
       a)        Use the modulation and coding rate determined from the HT MCS (defined in 20.6) or VHT-MCS
                 (defined in 22.5) to locate a non-HT reference rate by lookup into Table 9-5.27 In the case of an
                 MCS with UEQM, the modulation of stream 1 is used.
       b)        The non-HT basic rate is the highest rate in the BSSBasicRateSet that is less than or equal to this
                 non-HT reference rate.

     Insert the following rows at the end of Table 9-5:




                                                     Coding rate         Non-HT reference
                                  Modulation
                                                        (R)                  (Mb/s)

                               256-QAM                    3/4                    54
                               256-QAM                    5/6                    54



     Insert the following subclauses, 9.7.10 to 9.7.11.3 (including Table 9-5a), after 9.7.9:

     9.7.10 Channel Width in non-HT and non-HT duplicate PPDUs

     A non-VHT STA shall include neither the CH_BANDWIDTH_IN_NON_HT parameter nor the
     DYN_BANDWIDTH_IN_NON_HT parameter in either of the Clause 18 TXVECTOR or RXVECTOR. A
     non-VHT STA shall not set the TA field to a bandwidth signaling TA. A VHT STA shall include neither the
     CH_BANDWIDTH_IN_NON_HT parameter nor the DYN_BANDWIDTH_IN_NON_HT parameter in the


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     Clause 22 TXVECTOR of a non-HT PPDU addressed to a non-VHT STA. A VHT STA shall not set the TA
     field to a bandwidth signaling TA in a frame addressed to a non-VHT STA. A VHT STA that includes the
     DYN_BANDWIDTH_IN_NON_HT parameter in the TXVECTOR shall also include the
     CH_BANDWIDTH_IN_NON_HT parameter in the TXVECTOR. A VHT STA shall not include the
     DYN_BANDWIDTH_IN_NON_HT parameter in the TXVECTOR for transmitted frames other than RTS
     frames with bandwidth signaling TA and that are sent in a non-HT PPDU. A STA that transmits an RTS
     frame with a bandwidth signaling TA shall include the DYN_BANDWIDTH_IN_NON_HT parameter in
     the TXVECTOR. A VHT STA shall include both the CH_BANDWIDTH_IN_NON_HT and
     DYN_BANDWIDTH_IN_NON_HT parameters in the Clause 18 RXVECTOR.

     A bandwidth signaling TA may be included only in non-HT and non-HT duplicate PPDUs and shall not be
     included otherwise. If the TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT is present and a
     control MPDU other than a CTS is being transmitted, then the TA field shall be set to a bandwidth signaling
     TA; otherwise, the TA field shall be set to an individual address.

                                                      ve a TA field, can also be transmitted with the TXVECTOR parameter
     CH_BANDWIDTH_IN_NON_HT present.

     The TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT shall not be present in PPDUs carrying
     management or data frames.

     9.7.11 Rate selection constraints for VHT STAs

     9.7.11.1 Rx Supported VHT-MCS and NSS Set

     The Rx Supported VHT-MCS and NSS Set of a VHT STA is determined for each <VHT-MCS, NSS> tuple

     Supported VHT-MCS and NSS Set field as follows:
                                                              at that bandwidth is mandatory (see 22.5), then
             the <VHT-MCS, NSS> tuple at that bandwidth is supported by the STA on receive.
                                                   n SS subfield (n = NSS) in the Rx VHT-MCS Map subfield
             indicates support and the Rx Highest Supported Long GI Data Rate subfield is equal to 0, then the
             <VHT-MCS, NSS> tuple at that bandwidth is supported by the STA on receive.
                                                      n SS subfield (n = NSS) in the Rx VHT-MCS Map subfield
             indicates support and the data rate for long GI of the MCS for NSS spatial streams at that bandwidth
             (expressed as the largest integer in Mb/s that is less than or equal to the data rate) is less than or equal
             to the rate represented by the Rx Highest Supported Long GI Data Rate subfield, then the <VHT-
             MCS, NSS> tuple at that bandwidth is supported by the STA on receive.
                                                                  bandwidth is not supported by the STA on receive.

     The <VHT-MCS, NSS> tuples excluded by 9.7.11.3 are also eliminated from the Rx Supported VHT-MCS
     and NSS Set.

     A VHT STA shall not, unless explicitly stated otherwise, transmit a VHT PPDU unless the <VHT-MCS,
     NSS> tuple and bandwidth used are in the Rx Supported VHT-MCS and NSS Set of the receiving STA(s).

                                                      e at a given bandwidth implies support for both long GI and short GI on
     receive, if short GI is supported at that bandwidth.

     9.7.11.2 Tx Supported VHT-MCS and NSS Set

     The Tx Supported VHT-MCS and NSS Set of a VHT STA is determined for each <VHT-MCS, NSS> tuple

     Supported VHT-MCS and NSS Set field as follows:



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                                                             bandwidth is mandatory (see 22.5), then the
            <VHT-MCS, NSS> tuple at that bandwidth is supported by the STA on transmit.
                                                  n SS subfield (n = NSS) in the Tx VHT-MCS Map subfield
            indicates support and the Tx Highest Supported Long GI Data Rate subfield is equal to 0, then the
            <VHT-MCS, NSS> tuple at that bandwidth is supported by the STA on transmit.
                                                    n SS subfield (n = NSS) in the Tx VHT-MCS Map subfield
            indicates support and the data rate for long GI of the <VHT-MCS, NSS> tuple at that bandwidth
            (expressed as the largest integer in Mb/s that is less than or equal to the data rate) is less than or equal
            to the rate represented by the Tx Highest Supported Long GI Data Rate subfield, then the <VHT-
            MCS, NSS> tuple at that bandwidth is supported by the STA on transmit.
                                                                 bandwidth is not supported by the STA on transmit.

                                       ansmit cannot be determined.

     9.7.11.3 Additional rate selection constraints for VHT PPDUs

     The following apply for a STA that transmits a VHT PPDU with a number of spatial streams (NSS) less than
     or equal to 4:

            <VHT-MCS, NSS> tuple if the VHT-MCS is equal to 0, 1, 2, or 3 and the HT MCS with value
            VHT-MCS + 8 (NSS 1) is marked as unsupported in the Rx MCS bitmask of the HT capabilities
            element of the receiver STA.
                                                         CBW80, CBW160, or CBW80+80, then the STA
            should not use a <VHT-MCS, NSS> tuple if the VHT-MCS is equal to 0 or 1 and both the HT MCS
            values 2 VHT-MCS + 8 (NSS 1) and 2 (VHT-MCS + 1) + 8 (NSS 1) are marked as
            unsupported in the Rx MCS bitmask of the HT capabilities element of the receiver STA.

     An example tabulation of this behavior is given in Table 9-5a.




                                             <VHT-MCS, NSS> tuples that        <VHT-MCS, NSS> tuples that
                 HT MCSs that are
                                                  are not used for               are not used for CBW80,
               marked as unsupported
                                                CBW20 and CBW40                 CBW160, and CBW80+80




                          0, 1                       <0, 1>, <1, 1>                       <0, 1>
                          2, 3                       <2, 1>, <3, 1>                       <1, 1>

                        0, 1, 8, 9            <0, 1>, <1, 1>, <0, 2>, <1, 2>          <0, 1>, <0, 2>




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     9.9 HT Control field operation

     Change 9.9 as follows:

     If the value of dot11HTControlFieldSupported is true, a STA shall set the +HTC-HT Support subfield of the
     HT Extended Capabilities field of the HT Capabilities element to 1 in HT Capabilities elements that it
     transmits. If the value of dot11VHTControlFieldOptionImplemented is true, a STA shall set the +HTC-VHT
     Support subfield of the VHT Capabilities Info field of the VHT Capabilities element to 1 in VHT
     Capabilities elements that it transmits.

     A STA that has a value of true for at least one of dot11RDResponderOptionImplemented,
     dot11MCSFeedbackOptionImplemented,      and     dot11AlternateEDCAImplemented          shall set
     dot11HTControlFieldSupported or dot11VHTControlFieldOptionImplemented or both to true.

     An HT variant HT Control field shall not be present in a frame addressed to a STA unless that STA declares
     support for +HTC-HT in the HT Extended Capabilities field of its HT Capabilities element (see 8.4.2.58).

     A VHT variant HT Control field shall not be present in a frame addressed to a STA unless that STA declares
     support for +HTC-VHT in the VHT Capabilities Info field of its VHT Capabilities element.

                                      upport +HTC (HT or VHT variant) that receives a +HTC frame addressed to another
     STA still performs the CRC on the actual length of the MPDU and uses the Duration/ID field to update the NAV, as
     described in 9.3.2.4.

     If the HT Control field is present in an MPDU aggregated in an A-MPDU, then all MPDUs of the same
     frame type (i.e., having the same value for the Type subfield of the Frame Control field) aggregated in the
     same A-MPDU shall contain an HT Control field. The HT Control field of all MPDUs containing the HT
     Control field aggregated in the same A-MPDU shall be set to the same value.


     9.11 A-MSDU operation

     Change the 11th paragraph of 9.11 as follows:

     Support for the reception of an A-MSDU, where the A-MSDU is carried in a QoS data MPDU with Ack
     Policy equal to Normal Ack and the A-MSDU is not aggregated within an A-MPDU, is mandatory for an
     HT STA is mandatory in the following cases:
            For an HT STA if the A-MSDU is not aggregated within an A-MPDU
            For a VHT STA if the A-MSDU is sent as a VHT single MPDU.

     Change the 13th paragraph of 9.11, and insert the subsequent paragraphs and note as follows:

     A STA shall not transmit an A-MSDU in an HT PPDU to a STA that exceeds its maximum A-MSDU length
     capability if the A-MSDU length exceeds the value indicated by the Maximum A-MSDU Length field of the
     HT Capabilities element received from the recipient STA.

     A VHT STA that sets the Maximum MPDU Length in the VHT Capabilities element to indicate 3895 octets
     shall set the Maximum A-MSDU Length in the HT Capabilities element to indicate 3839 octets. A VHT
     STA that sets the Maximum MPDU Length in the VHT Capabilities element to indicate 7991 octets or
     11 454 octets shall set the Maximum A-MSDU Length in the HT Capabilities element to indicate
     7935 octets.

     The length of an A-MSDU transmitted in a VHT PPDU is limited by the maximum MPDU size supported
     by the recipient STA (see 9.12.5).



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                                                                 for transmission in a VHT PPDU might exceed the A-
     MSDU length limit for an HT PPDU, in which case it cannot be retransmitted in an HT PPDU.

     NOTE 2                                          es not affect the maximum size of MSDU transported by the MA-
     UNITDATA primitives.

     A VHT STA shall not transmit to a recipient VHT STA an A-MSDU that includes a number of MSDUs
     greater than the value indicated by the Max Number of MSDUs in A-MSDU field in the Extended
     Capabilities element received from the recipient STA.


     9.12 A-MPDU operation

     9.12.2 A-MPDU length limit rules

     Change 9.12.2 as follows:

     An HT STA and a DMG STA indicates a value in the Maximum A-MPDU Length Exponent field in its HT
     Capabilities element or DMG Capabilities element, respectively, that defines the maximum A-MPDU length
     that it can receive in an HT PPDU. A STA indicates in the Maximum A-MPDU Length Exponent field in its
     VHT Capabilities element the maximum length of the A-MPDU pre-EOF padding that it can receive in a
     VHT PPDU. A DMG STA indicates in the Maximum A-MPDU Length Exponent field in its DMG
     Capabilities element the maximum A-MPDU length that it can receive. The encoding of this field these
     fields is defined in Table 8-125 for an HT STA HT PPDU, in Table 8-183v for a VHT PPDU, and in
     Table 8-183f for a DMG STA.

     A VHT STA that sets the Maximum A-MPDU Length Exponent field in its VHT Capabilities element to a
     value in the range 0 to 3 shall set the Maximum A-MPDU Length Exponent in its HT Capabilities to the
     same value. A VHT STA that sets the Maximum A-MPDU Length Exponent field in the VHT Capabilities
     element to a value larger than 3 shall set the Maximum A-MPDU Length Exponent in its HT Capabilities
     element to 3.

     Using this field the Maximum A-MPDU Length Exponent fields in the HT Capabilities and VHT
     Capabilities elements, the STA establishes at association the maximum length of A-MPDUsan A-MPDU
     pre-EOF padding that can be sent to it. TheAn HT STA shall be capable of receiving A-MPDUs of length up
     to the value indicated by this fieldthe Maximum A-MPDU Length Exponent field in its HT Capabilities
     element. A VHT STA shall be capable of receiving A-MPDUs where the A-MPDU pre-EOF padding length
     is up to the value indicated by the Maximum A-MPDU Length Exponent field in its VHT Capabilities
     element.

     An HT STA and a DMG STA shall not transmit an A-MPDU in an HT PPDU that is longer than the value
     indicated by the Maximum A-MPDU Length Exponent field in the HT Capabilities element received from
     declared by the intended receiver. A STA shall not transmit an A-MPDU in a VHT PPDU where the A-
     MPDU pre-EOF padding length is longer than the value indicated by the Maximum A-MPDU Length
     Exponent field in the VHT Capabilities element received from the intended receiver. A DMG STA shall not
     transmit an A-MPDU that is longer than the value indicated by the Maximum A-MPDU Length Exponent
     field in the DMG Capabilities element received from the intended receiver.

     A STA shall not transmit a VHT PPDU if the PPDU duration exceeds aPPDUMaxTime defined in Table 22-
     29.

                                            mum value in the LENGTH field in the L-SIG field of a VHT PPDU to 4095.

                                           pplies to the maximum length of the PSDU that might be received. If the A-MPDU
     includes any padding delimiters (i.e., delimiters with the Length field equal to 0) in order to meet the MPDU start
     spacing requirement, this padding is included in this length limit.


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     9.12.3 Minimum MPDU Start Spacing field

     Change the first paragraph of 9.12.3 as follows:

     An HT STA and a DMG STA shall not start the transmission of more than one MPDU within the time limit
     described in the Minimum MPDU Start Spacing field declared by the intended receiver. To satisfy this
     requirement, the number of octets between the start of two consecutive MPDUs in an A-MPDU, measured at
     the PHY SAP, shall be equal to or greater than
       t MMSS   r 8

     where
       t MMSS
                   and of Table 8-183f for a DMG STA for the value of the Minimum MPDU Start Spacing field
       r          is the value of the PHY Data Rate (in megabits per second) defined in Clause 21 for a DMG
                  STA, and defined in 20.6 for an HT STA HT PPDUs, and in 22.5 for VHT PPDUs based on
                  the TXVECTOR parameters: MCS, GI_TYPE, and CH_BANDWIDTH

     9.12.4 A-MPDU aggregation of group addressed data frames

     Change 9.12.4 as follows:

     An HT STA that is neither an AP nor a mesh STA shall not transmit an A-MPDU containing an MPDU with
     a group addressed RA.

     NOTE 1                                                A-MPDU containing MPDUs with a group addressed RA.

                                      STA, NOTE 1 also applies to VHT APs and VHT mesh STAs.

     A STA that is an An HT AP and an HT or a mesh STA shall not transmit an A-MPDU containing group
     addressed MPDUs if the HT Protection field is equal to non-HT mixed mode.

     A DMG STA may transmit an A-MPDU containing MPDUs with a group addressed RA.

     When a STA transmits a PPDU containing at least one A-MPDU that contains MPDUs with a group
     addressed RA, the following rules shall apply:

             minimum value in the Maximum A-MPDU Length Exponent subfields of the A-MPDU Parameters
             fields of the HT Capabilities elements across all HT STAs associated with the transmitting AP or
             across all peer HT mesh STAs of the transmitting mesh STA.
                                                                mum MPDU start spacing that applies is the
             maximum value in the Minimum MPDU Start Spacing subfields of the A-MPDU Parameters fields
             of the HT Capabilities elements across all HT STAs associated with the transmitting AP or across all
             peer HT mesh STAs of the transmitting mesh STA.
             If the PPDU is a VHT PPDU, the value of maximum A-MPDU length exponent that applies is the
             minimum value in the Maximum A-MPDU Length Exponent subfields of the A-MPDU Parameters
             fields of the VHT Capabilities elements across all VHT STAs associated with the transmitting AP or
             across all peer VHT mesh STAs.
             If the PPDU is a VHT PPDU, the value of minimum MPDU start spacing that applies is the
             maximum value in the Minimum MPDU Start Spacing subfields of the A-MPDU Parameters fields
             of the HT Capabilities elements across all VHT STAs associated with the transmitting AP or across
             all peer VHT mesh STAs of the transmitting mesh STA.



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            minimum value in the Maximum A-MPDU Length Exponent subfields of the A-MPDU Parameters
            fields of the DMG Capabilities elements across all DMG STAs associated with the PCP/AP.
                                                           nimum MPDU start spacing that applies is the
            maximum value in the Minimum MPDU Start Spacing subfields of the A-MPDU Parameters fields
            of the DMG Capabilities elements across all DMG STAs associated with the PCP/AP.

     9.12.5 Transport of A-MPDU by the PHY data service

     Change 9.12.5 as follows:

     An A-MPDU shall be transmitted in a PSDU associated with a PHY-TXSTART.request primitive with the
     TXVECTOR parameter AGGREGATION parameter set to 1 or the TXVECTOR parameter FORMAT set
     to VHT. A received PSDU is determined to be an A-MPDU when the associated PHY-
     RXSTART.indication primitive RXVECTOR parameter AGGREGATION parameter is equal to 1 or the
     RXVECTOR parameter FORMAT is equal to VHT.

     MPDUs in an A-MPDU carried in an HT PPDU shall be limited to a maximum length of 4095 octets.

     A STA shall not transmit an MPDU in a VHT PPDU to a STA that exceeds the maximum MPDU length
     capability indicated in the VHT Capabilities element received from the recipient STA.

     Insert the following subclauses, 9.12.6 to 9.12.8, after 9.12.5:

     9.12.6 A-MPDU padding for VHT PPDU

     A VHT STA that transmits a VHT PPDU, which contains one or more PSDUs, each of which contains an
     A-MPDU, shall construct the A-MPDU(s) as described in this subclause.

     An A-MPDU pre-EOF padding (see 9.12.2) is constructed for each user from any of the following:
                                                                         lable for transmission that have a TID value
            that maps to the primary AC


     provided that each added subframe and the A-MPDU pre-EOF padding meet all the following:
                                          nts (see 9.12.1) for the intended recipient
                                                          6.1 and 9.12.2) for the intended recipient
                                                             ee 9.12.3) for the intended recipient


     The A-MPDU_Length[n] for user n is initialized as the length of the resulting A-MPDU pre-EOF padding.

     This initial value of A-MPDU_Length[n] for user n is used as the APEP_LENGTH[n] parameter value for
     the PLME-TXTIME.request primitive (see 6.5.7). The PLME-TXTIME.request primitive is then invoked
     once for the VHT PPDU. The PLME-TXTIME.confirm primitive (see 6.5.8) provides the TXTIME
     parameter and PSDU_LENGTH[] parameters for all the users for the transmission.

     Subsequently, for each user n, as permitted by the rules for EDCA TXOP Sharing (see 9.19.2.3a), a VHT
     STA may add A-MPDU subframes to the A-MPDU for that user that meets either of the following
     conditions:




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                                 Length field and 0 in the EOF field

     provided that each added subframe and the resulting A-MPDU meet all of the following:
                                      nts (see 9.12.1) for the intended recipient




     and provided that, after incrementing the A-MPDU_Length[n] with the length of each such added A-MPDU
     subframe, the relationship A-MPDU_Length[n] PSDU_LENGTH[n] is true.

                                                       1 from carrying MPDUs of more than one TID.

     Subsequently, for each user n, a VHT STA may add A-MPDU subframes to the A-MPDU for that user that
     meet the following condition:
                             DU Length field

     provided that each added subframe and the resulting A-MPDU meet the following condition:


     and provided that, after incrementing the A-MPDU_Length[n] with the length of each such added A-MPDU
     subframe, the relationship A-MPDU_Length[n] PSDU_LENGTH[n] is true.

     An implementation may reduce the A-MPDU_Length[n] by the amount of padding for user n which was
     added subsequent to the addition of a subframe for user n that contains 1 in the EOF field.

     The final value of A-MPDU_Length[] shall be used as APEP_LENGTH[] in the PHY-TXSTART.request
     primitive for the VHT PPDU.

     Padding is then added for each user such that the resulting A-MPDU contains exactly PSDU_LENGTH
     octets for that user as follows:
                                         n] < PSDU_LENGTH[n] and A-MPDU_Length[n] mod 4                      0, add a
            subframe pad octet and increment A-MPDU_Length[n] by 1.
                                          n] + 4 PSDU_LENGTH[n], add an A-MPDU subframe with 0 in
            the MPDU Length field and 1 in the EOF field and increment A-MPDU_Length[n] by 4.
                                               n] < PSDU_LENGTH[n], add an EOF pad octet and increment
            A-MPDU_Length[n] by 1.

     An A-MPDU subframe with EOF set to 1 and with MPDU Length field set to 0 shall not be added before
     any A-MPDU subframe with EOF set to 0.

     An A-MPDU subframe with EOF set to 1 and with MPDU Length field set to 0 shall not be added before an
     A-MPDU subframe that contains a VHT single MPDU (see 9.12.7).

     An EOF pad octet shall not be added before any A-MPDU subframe.

     The values of the subframe pad octets and EOF pad octets are unspecified.

     9.12.7 Setting the EOF field of the MPDU delimiter

     The EOF field of an A-MPDU subframe with an MPDU Length field with a nonzero value that is the only
     A-MPDU subframe with an MPDU Length field with a nonzero value in an A-MPDU carried in a VHT
     PPDU may be set to 1. The EOF field of each A-MPDU subframe with an MPDU Length field with a



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     nonzero value that is not the only A-MPDU subframe with MPDU Length field with a nonzero value in the
     A-MPDU carried in a VHT PPDU shall be set to 0. The EOF field shall be set to 0 in all A-MPDU
     subframes that are carried in an HT PPDU.

     An MPDU that is the only MPDU in an A-MPDU and that is carried in an A-MPDU subframe with 1 in the
     EOF field is called a VHT single MPDU.

     9.12.8 Transport of VHT single MPDUs

     The rules for VHT single MPDU operation are the same as the rules for non-A-MPDU frame operation with
     other types of non-A-MPDU.

                             following behavior:
                                                   an MSDU or MMPDU (see 9.2.7).
                                    l responses (see 9.7).

            response (see 8.2.4.5.4).
                                                                                    cits an ACK immediate response. No
            Block Ack agreement is needed in this case (see 8.2.4.5.4).
                                            nt frame that solicits an ACK response (see 8.6.3).


     9.15 STBC operation

     Change 9.15 as follows:

     Only a A STA that has not sets the Tx STBC subfield to 1 in the HT Capabilities element may shall not
     transmit frames HT PPDUs with a TXVECTOR parameter STBC set to a nonzero value to a STA from
     which the most recently received value of the Rx STBC field of the HT Capabilities element is nonzero. A
     STA that has not set the Tx STBC subfield to 1 in the VHT Capabilities element shall not transmit VHT SU
     PPDUs with a TXVECTOR parameter STBC set to a nonzero value.

     A STA shall not send a HT PPDU with the TXVECTOR parameter STBC set to a nonzero value to a
     recipient STA unless the recipient STA has indicated in the Rx STBC field of its HT Capabilities element
     that it supports the reception of PPDUs using STBC with a number of spatial streams equal to or greater than
     the number of spatial streams in the HT PPDU. A STA shall not send a VHT PPDU with the TXVECTOR
     parameter STBC set to a nonzero value to a recipient STA unless the recipient STA has indicated in the Rx
     STBC field of its VHT Capabilities element that it supports the reception of PPDUs using STBC with a
     number of spatial streams equal to or greater than the number of spatial streams in the VHT PPDU.


     9.16 Short GI operation

     Change 9.16 as follows:

     A STA may transmit a frame with TXVECTOR parameters CH_BANDWIDTH set to HT_CBW20
     CBW20 and GI_TYPE set to SHORT_GI only if all of the following conditions are met:


                                                                           or HT_GF, or VHT.
                                              to a STA for which the Short GI for 20 MHz subfield of the most
            recently received HT Capabilities element contained a value of 1.


     A STA may transmit a frame with TXVECTOR parameters CH_BANDWIDTH set to HT_CBW40
     CBW40 and GI_TYPE set to SHORT_GI only if all of the following conditions are met:



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                                                                      or HT_GF, or VHT.
                                              to a STA for which the Short GI for 40 MHz subfield of the most
            recently received HT Capabilities element contained a value of 1.


     A STA shall not transmit a frame with TXVECTOR parameters CH_BANDWIDTH set to CBW80 and
     GI_TYPE set to SHORT_GI unless all of the following conditions are met:
            The STA is a VHT STA.
            The TXVECTOR parameter FORMAT is equal to VHT.
            The RA of the frame corresponds to a STA for which the Short GI for 80 MHz subfield of the VHT
            Capabilities element contained a value of 1.
            dot11VHTShortGIOptionIn80Activated is present and is true.

     A STA may transmit a frame with TXVECTOR parameters CH_BANDWIDTH set to CBW160 or
     CBW80+80 and GI_TYPE set to SHORT_GI only if all of the following conditions are met:
            The STA is a VHT STA.
            The TXVECTOR parameter FORMAT is equal to VHT.
            The RA of the frame corresponds to a STA for which the Short GI for 160 and 80+80 MHz subfield
            of the VHT Capabilities element contained a value of 1.
            dot11VHTShortGIOptionIn160and80p80Activated is present and is true.

     A STA may transmit a frame with TXVECTOR parameters FORMAT set to VHT, NUM_USERS set to
     greater than 1, and GI_TYPE set to SHORT_GI only if all of the following conditions are met:
            The STA is a VHT STA.
            The TXVECTOR parameter FORMAT is equal to VHT.
            The RAs of all MPDUs in the VHT MU PPDU correspond to STAs for which the Short GI subfield
            of the following conditions are satisfied:
                If the TXVECTOR parameter CH_BANDWIDTH is set to CBW20, the Short GI for 20 MHz
                subfields of the HT Capabilities element contained a value of 1, and
                dot11ShortGIOptionInTwentyActivated is present and is true.
                If the TXVECTOR parameter CH_BANDWIDTH is set to CBW40, the Short GI for 40 MHz
                subfields of the HT Capabilities element contained a value of 1, and
                dot11ShortGIOptionInFortyActivated is present and is true.
                If the TXVECTOR parameter CH_BANDWIDTH is set to CBW80, the Short GI for 80 MHz
                subfields of the VHT Capabilities element contained a value of 1, and
                dot11ShortGIOptionIn80Activated is present and is true.
                If the TXVECTOR parameter CH_BANDWIDTH is set to CBW160 or CBW80+80, the Short
                GI for 160 MHz and 80+80 MHz subfields of the VHT Capabilities element contained a value of
                1, and dot11VHTShortGIOptionIn160and80p80Activated is present and is true.

     An HT STA shall not transmit a frame with the TXVECTOR parameter FORMAT set to HT_GF and the
     GI_TYPE parameter set to SHORT_GI when the MCS parameter indicates a single spatial stream.

     Further restrictions on TXVECTOR parameter values may apply due to rules found in 9.22 and 9.7.




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     Insert the following subclause, 9.17a (including Table 9-5b), after 9.17:


     9.17a Group ID and partial AID in VHT PPDUs

     The partial AID is a non-unique STA identifier defined in Table 9-5b. The partial AID is carried in the
     TXVECTOR parameter PARTIAL_AID of a VHT SU PPDU and is limited to 9 bits.

     A STA transmitting a VHT SU PPDU carrying one or more group addressed MPDUs or transmitting a VHT
     NDP intended for multiple recipients shall set the TXVECTOR parameters GROUP_ID to 63 and
     PARTIAL_AID to 0. The intended recipient of a VHT NDP is defined in 9.31.6.

     A STA transmitting a VHT SU PPDU carrying one or more individually addressed MPDUs or a VHT NDP
     intended for a single recipient shall set the TXVECTOR parameters GROUP_ID and PARTIAL_AID as
     shown in Table 9-5b.


                                 ngs for the TXVECTOR parameters GROUP_ID and PARTIAL_AID

            Condition             GROUP_ID                                        PARTIAL_AID

     Addressed to AP                    0           BSSID[39:47]

     Addressed to Mesh STA              0           RA[39:47]

     Sent by an AP and
     addressed to a STA                                 dec(AID[0:8]) + dec(BSSID[44:47]        BSSID[40:43])      (9-8a)
                                                                           5       9
     associated with that AP                                              2 mod 2
     or
     sent by a DLS or TDLS                          where
     STA in a direct path to a
                                        63                    is a bitwise exclusive OR operation
     DLS or TDLS peer STA
                                                         mod X indicates the X-modulo operation
                                                         dec(A[b:c]) is the cast to decimal operator where b is scaled by
                                                               20 and c by 2c-b
     Otherwise (see NOTE)               63          0

                                 rs the following cases:


                                       explicitly listed elsewhere in the table



     In Table 9-5b:
                 b:c] represents bits b to c inclusive of the AID of the recipient STA with bit 0 being the first
            transmitted.
                     b:c] represents bits b to c inclusive of the BSSID, with bit 0 being the Individual/Group bit.
            In this representation, the Individual/Group bit is BSSID[0] and BSSID[47] is the last transmitted
            bit.
                 b:c] represents bits b to c inclusive of the RA field, with bit 0 being the Individual/Group bit. In
            this representation, the Individual/Group bit is RA[0] and RA[47] is the last transmitted bit.

     A STA shall include the values computed in Table 9-5b in the PHYCONFIG_VECTOR parameters
     PARTIAL_AID_LIST_GID00 and PARTIAL_AID_LIST_GID63.



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     A STA that transmits a VHT PPDU to a DLS or TDLS peer STA obtains the AID for the peer STA from the
     DLS Setup Request, DLS Setup Response, TDLS Setup Request or TDLS Setup Response frame.

     An AP should not assign an AID to a STA that results in a 0 value PARTIAL_AID (as computed using
     Equation (9-8a)).

     A STA transmitting a VHT MU PPDU sets the TXVECTOR parameter GROUP_ID as described in
     22.3.11.4.

     As an example of the GROUP_ID and PARTIAL_AID setting, consider the case of a BSS with BSSID 00-
     21-6A-AC-53-522 that has as a member a non-AP STA assigned AID 5. In VHT PPDUs sent to an AP, the
     GROUP_ID is set to 0 and the PARTIAL_AID is set to 164. In VHT PPDUs sent by the AP to the non-AP
     STA associated with that AP, the GROUP_ID is set to 63 and PARTIAL_AID is set to 229.


     9.18 Operation across regulatory domains

     Change 9.18.5 (including the subclause title) as follows:

     9.18.5 Operation with operating classes and the VHT Transmit Power Envelope element

     When dot11OperatingClassesImplemented is true, the following statements apply:
                                                                   ere operating classes domain information is not
             present in a STA, that STA is not required to change its operation in response to an element or
             element-specific Information field that contains an operating class.
                                                                where operating classes domain information is
             present in a STA, the STA shall indicate current operating class information in the Country element
             and Supported Operating Classes element, except that a VHT STA may omit, from the Country
             element, any Operating Triplet field for an Operating Class for which the Channel spacing (MHz)
             column indicates 80 MHz or wider and for which the Behavior limits set column in the applicable
             table in Annex E contains only a blank entry or either or both of                         0+     nd
                seEirpForVHTTxPowEnv

             STA is capable of operating as specified in more than one operating class, the STA shall include the
             Supported Operating Classes element in Association frames and Reassociation frames.
                                                                   where operating classes domain information is
             present and the STA parsing a Country element finds an invalid First Channel Number field or
             Operating Class field with a value that is reserved, the STA shall ignore the remainder of the Country
             element and shall parse any remaining management frame body for additional elements.

     A VHT STA that has dot11SpectrumManagementRequired or dot11RadioMeasurementActivated equal to
     true shall determine a local maximum transmit power from a VHT Transmit Power Envelope element for
     which the Local Maximum Transmit Power Unit Interpretation subfield indicates EIRP.

     A STA that sends two or more VHT Transmit Power Envelope elements in a frame shall order the elements
     by increasing values of their Local Maximum Transmit Power Unit Interpretation subfields.

     When a VHT STA finds an unknown value in the Local Maximum Transmit Power Unit Interpretation
     subfield in a VHT Transmit Power Envelope element, then the STA shall ignore that and subsequent VHT
     Transmit Power Envelope elements.

     2As described in IEEE Std 802-2001, the use of hyphens for the BSSID indicates hexadecimal representation rather than
     bit-reversed representation.



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     A STA that receives two or more VHT Transmit Power Envelope elements in the same frame with known
     values in their Local Maximum Transmit Power Unit Interpretation subfields shall process all the elements
     according to the local regulations known at the STA.

                                                 it Power Envelope elements, each with a known value in the Local
     Maximum Transmit Power Unit Interpretation subfield, then the expected possibilities are as follows:
           The STA complies with either element (shared spectrum),
           The STA complies with both elements (tightened regulations), or
           The STA complies with the second element (changed regulations).


     9.19 HCF

     9.19.2 HCF contention-based channel access (EDCA)

     9.19.2.2 EDCA TXOPs

     Change the first paragraph of 9.19.2.2 as follows:

     There are two three modes of EDCA TXOP defined, the initiation of the EDCA TXOP, the sharing of the
     EDCA TXOP, and the multiple frame transmission within an EDCA TXOP. An initiation of the TXOP
     occurs when the EDCA rules permit access to the medium. The sharing of the EDCA TXOP occurs when an
     EDCAF has obtained access to the medium, making the corresponding AC the primary AC, and includes
     traffic from queues associated with other ACs in VHT MU PPDUs transmitted during the TXOP. A multiple
     frame transmission within the TXOP occurs when an EDCAF retains the right to access the medium
     following the completion of a frame exchange sequence, such as on receipt of an ACK frame.

     Change the third paragraph of 9.19.2.2 as follows:

     A TXOP limit value of 0 indicates that the TXOP holder may transmit or cause to be transmitted (as
     responses) the following within the current TXOP:
       a)    A single MSDU, MMPDU, A-MSDU, or A-MPDU One of the following at any rate, subject to the
             rules in 9.7:
             1)   SU PPDUs carrying fragments of a single MSDU or MMPDU
             2)   An SU PPDU or a VHT MU PPDU carrying a single MSDU, a single MMPDU, a single A-
                  MSDU, or a single A-MPDU
             3)   A VHT MU PPDU carrying A-MPDUs to different users
       b)    Any required acknowledgments
       c)    Any frames required for protection, including one of the following:
             1)   An RTS/CTS exchange
             2)   CTS to itself
             3)   Dual CTS as specified in 9.3.2.8 (Dual CTS protection)
       d)    Any frames required for beamforming as specified in 9.27 and in 9.31.5
       e)    Any frames required for link adaptation as specified in 9.28
       f)    Any number of BlockAckReq and BlockAck frames

                                                  r. A TXOP responder need not be aware of the TXOP limit nor of when the
     TXOP was started.

                                         of RD when the TXOP limit is 0.




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     Change the sixth paragraph of 9.19.2.2 as follows:

     When the TXOP limit is nonzero, a STA shall fragment an individually addressed MSDU so that the
     transmission of the first MPDU of the TXOP does not cause the TXOP limit to be exceeded at the PHY rate
     selected for the initial transmission attempt of that MPDU. The TXOP limit may be exceeded, when using a
     lower PHY rate than selected for the initial transmission attempt of the first MPDU, for a retransmission of
     an MPDU, for the initial transmission of an MPDU if any previous MPDU in the current MSDU has been
     retransmitted, or for group addressed MSDUs. The TXOP limit may also be exceeded by transmitting a
     VHT NDP Announcement frame and NDP or by transmitting a Beamforming Report Poll frame that fit
     within the TXOP limit but the response and the immediately preceding SIFS cause the TXOP limit to be
     exceeded. When the TXOP limit is exceeded due to the retransmission of an MPDU at a reduced PHY rate,
     the STA shall not transmit more than one MPDU in the TXOP.

     Change the last paragraph of 9.19.2.2 as follows:

     A STA shall save the TXOP holder address for the BSS in which it is associated, which is the MAC address
     from the Address 2 field of the frame that initiated a frame exchange sequence except when this is a CTS
     frame, in which case the TXOP holder address is the Address 1 field. If the TXOP holder address is obtained
     from a control frame, a VHT STA shall save the non-bandwidth signaling TA value obtained from the
     Address 2 field. If a non-VHT STA receives an RTS frame is received with the RA address matching the
     MAC address of the STA and the MAC address in the TA field in the RTS frame matches the saved TXOP
     holder address, then the STA shall send the CTS frame after SIFS, without regard for, and without resetting,
     its NAV. If a VHT STA receives an RTS frame with the RA address matching the MAC address of the STA
     and the non-bandwidth signaling TA value obtained from the Address 2 field in the RTS frame matches the
     saved TXOP holder address, then the STA shall send the CTS frame after SIFS, without regard for, and
     without resetting, its NAV. When a STA receives a frame addressed to it that requires an immediate
     response, except in the case of an for RTS, it shall transmit the response independent of its NAV. The saved
     TXOP holder address shall be cleared when the NAV is reset or when the NAV counts down to 0.

     9.19.2.3 Obtaining an EDCA TXOP

     Insert the following paragraph at the beginning of 9.19.2.3:

     When a STA and the BSS, of which the STA is a member, both support multiple channel widths, an EDCA
     TXOP is obtained based solely on

     has been obtained according to this subclause, further constraints defined in 10.15.9 and 9.19.2.8 might limit
     the width of transmission during the TXOP or deny the channel access, based on the state of CCA on
     secondary channel, secondary 40 MHz channel, or secondary 80 MHz channel.

     Change the now fifth paragraph of 9.19.2.3 (including inserting a note) as follows:

     On specific slot boundaries as determined on the primary channel, each EDCAF shall make a determination to
     perform one and only one of the following functions:
                                                   exchange sequence for that access function.
                                            for that access function.


                               at access function.

                                                          e channel and transmits MSDUs, A-MSDUs, or MMPDUs from a
     secondary AC, the EDCAF of the secondary AC is not affected by this operation. If the EDCAF of a secondary AC
     experiences an internal collision with the EDCAF that gained access to the channel, it performs the backoff procedure
     regardless of the transmission of any of its MSDUs, A-MSDUs, or MMPDUs.




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     Insert the following subclause, 9.19.2.3a (including Figure 9-20a), after 9.19.2.3:

     9.19.2.3a Sharing an EDCA TXOP

     This mode applies only to an AP that supports DL-MU-MIMO. The AC associated with the EDCAF that
     gains an EDCA TXOP becomes the primary AC. TXOP sharing is allowed when primary AC traffic is
     transmitted in a VHT MU PPDU and resources permit traffic from secondary ACs to be included, targeting
     up to four STAs. The inclusion of secondary AC traffic in a VHT MU PPDU shall not increase the duration
     of the VHT MU PPDU beyond that required to transport the primary AC traffic. If a destination is targeted
     by frames in the queues of both the primary AC and at least one secondary AC, the frames in the primary
     AC queue shall be transmitted to the destination first, among a series of downlink transmissions within a
     TXOP. The decision of which secondary ACs and destinations are selected for TXOP sharing, as well as the
     order of transmissions, are implementation specific and out of scope for this specification.

     When sharing, the TXOP duration that applies is the TXOP limit of the primary AC.

                                      ate response by preceding the VHT MU PPDU (which might have TXVECTOR
     parameter NUM_USERS > 1) with an RTS/CTS exchange or a CTS-to-self transmission.

     An illustration of TXOP sharing is shown in Figure 9-20a. In this figure, the AP has frames in queues of
     three of its ACs. It is assumed that the TXOP was obtained by AC_VI and is shared by AC_VO and AC_BE.
     It is also assumed that these frames are targeting three STAs, STA-1 to STA-3.

     9.19.2.4 Multiple frame transmission in an EDCA TXOP

     Change 9.19.2.4 as follows:

     Multiple frames may be transmitted in an EDCA TXOP that was acquired following the rules in 9.19.2.3 if
     there is more than one frame pending in the primary AC for which the channel has been acquired. However,
     those frames that are pending in other ACs shall not be transmitted in this EDCA TXOP except when sent in
     a VHT MU PPDU with TXVECTOR parameter NUM_USERS > 1 and if allowed by the rules in 9.19.2.3a.
     If a TXOP holder has in its transmit queue an additional frame of the same primary AC as the one just
     transmitted and the duration of transmission of that frame plus any expected acknowledgment for that frame
     is less than the remaining TXNAV timer value, then the STA TXOP holder may commence transmission of
     that frame a SIFS (or RIFS, under if the conditions defined in 9.3.2.3.2 are met) after the completion of the
     immediately preceding frame exchange sequence, subject to the TXOP limit restriction as described in
     9.19.2.2. A STA shall not commence the transmission of an RTS with a bandwidth signaling TA until at
     least PIFS time after the immediately preceding frame exchange sequence. An HT STA that is a TXOP
     holder may transmit multiple MPDUs of the same AC within an A-MPDU as long as the duration of
     transmission of the A-MPDU plus any expected BlockAck response is less than the remaining TXNAV
     timer value.

                                                       CCA in the secondary 20 MHz, 40 MHz, and 80 MHz channels
     before receiving RTS.

     NOTE 2                                       le MPDUs as described in 9.24.4.

     The TXNAV timer is a timer that is initialized with the duration from the Duration/ID field in the frame
     most recently successfully transmitted by the TXOP holder. The TXNAV timer begins counting down from
     the end of the transmission of the PPDU containing that frame. Following the BlockAck response, the HT
     STA may start transmission of another MPDU or A-MPDU a SIFS after the completion of the immediately
     preceding frame exchange sequence. The HT STA may retransmit unacknowledged MPDUs within the
     same TXOP or in a subsequent TXOP.




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                                                                                                               (MSDU, UP)




                                                                             AC_VO                      AC_VI             AC_BE                 AC_BK
                                                                                                       (primary)
                                                                                                      (4) (to STA-3)
                                                                                                                        (3) (to STA-2)
                                                                                                      (3) (to STA-1)
                                                                                                                        (2) (to STA-3)
                                                                                                      (2) (to STA-1)
                                                                           (1) (to STA-2)             (1) (to STA-1)    (1) (to STA-2)




                                                                             EDCAF                      EDCAF            EDCAF                  EDCAF




                                                                                                             TXOP

                       RA = STA-1, AC_VI (1)   pad                                             RA = STA-1, AC_VI (2)                                                      RA = STA-1, AC_VI (3)




                                                                                                                                                               Preamble
            Preamble




                                                                                    Preamble




     AP                RA = STA-2, AC_BE (1)   pad                                             RA = STA-2, AC_VO (1)      pad                                             RA = STA-2, AC_BE (3)
                                                          BAR




                                                                     BAR




                                                                                                                                         BAR




                                                                                                                                                    BAR




                                                                                                                                                                                                       BAR
                       RA = STA-3, AC_VI (4)                                                   RA = STA-3, AC_BE (2)




                                                                                                                                                               pad
    STA-1                                            BA                                                                            BA                                                             BA


    STA-2                                                       BA                                                                             BA                                                            BA


    STA-3                                                                   BA                                                                            BA

                                                                                                                       Time




     After a valid response to the initial frame of a TXOP, if the Duration/ID field is set for multiple frame
     transmission and there is a subsequent transmission failure, the corresponding channel access function may
     transmit after the CS mechanism (see 9.3.2.1) indicates that the medium is idle at the TxPIFS slot boundary
     (defined in 9.3.7) before the expiry of the TXNAV timer. At the expiry of the TXNAV timer, if the channel
     access function has not regained access to the medium, then the EDCAF shall invoke the backoff procedure
     that is described in 9.19.2.5. Transmission failure is defined in 9.19.2.5.

     All other channel access functions at the STA shall treat the medium as busy until the expiry of the TXNAV
     timer.

     A frame exchange may be a group addressed frame, a frame transmitted with No Ack policy (for which
     there is no expected acknowledgment), or an individually addressed frame followed by a correctly received
     ACK frame transmitted by a STA (either a non-AP STA or an AP).

     A frame exchange may be one of the following:
                         A frame not requiring immediate acknowledgment (such as a group addressed frame or a frame
                         transmitted with No Ack policy or Block Ack policy) or an A-MPDU containing only such frames




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             A frame requiring acknowledgment (such as an individually addressed frame transmitted with
             Normal Ack policy) or an A-MPDU containing at least one such frame, followed after SIFS by a
             corresponding acknowledgment frame
             Either
                   a VHT NDP Announcement frame followed after SIFS by a VHT NDP, or
                   a Beamforming Report Poll frame

             followed after SIFS by a PPDU containing one or more VHT Compressed Beamforming frames

     Note that, as for an EDCA TXOP, a multiple frame transmission is granted to an EDCAF, not to a STA, so
     that the multiple frame transmission is permitted only for the transmission of a frame of the same AC as the
     frame that was granted the EDCA TXOP, unless the EDCA TXOP obtained is used by an AP for a PSMP
     sequence or a VHT MU PPDU with TXVECTOR parameter NUM_USERS > 1.

     In such a the case of PSMP, this AC transmission restriction does not apply to either the AP or the STAs
     participating in the PSMP sequence, but the specific restrictions on transmission during a PSMP sequence
     described in 9.26 do apply.

     When permitted by the rules in 9.19.2.3a, traffic from secondary ACs may be transmitted in a VHT MU
     PPDU that has TXVECTOR parameter NUM_USERS > 1 and that carries traffic for the primary AC.

     If a TXOP is protected by an RTS or CTS frame carried in a non-HT or a non-HT duplicate PPDU, the
     TXOP holder shall set the TXVECTOR parameter CH_BANDWIDTH of a PPDU as follows:
             To be the same or narrower than RXVECTOR parameter CH_BANDWIDTH_IN_NON_HT of the
             last received CTS frame in the same TXOP, if the RTS frame with a bandwidth signaling TA and
             TXVECTOR parameter DYN_BANDWIDTH_IN_NON_HT set to Dynamic has been sent by the
             TXOP holder in the last RTS/CTS exchange.
             Otherwise, to be the same or narrower than the TXVECTOR parameter CH_BANDWIDTH of the
             RTS frame that has been sent by the TXOP holder in the last RTS/CTS in the same TXOP.

     If there is no RTS/CTS exchange in non-HT duplicate format in a TXOP and there is at least one non-HT
     duplicate frame exchange in a TXOP, the TXOP holder shall set the CH_BANDWIDTH parameter in
     TXVECTOR of a PPDU sent after the first non-HT duplicate frame to be the same or narrower than the
     CH_BANDWIDTH parameter in TXVECTOR of the initial frame in the first non-HT duplicate frame
     exchange in the same TXOP.

     If there is no non-HT duplicate frame exchange in a TXOP, the TXOP holder shall set the TXVECTOR
     parameter CH_BANDWIDTH of a non-initial PPDU to be the same or narrower than the TXVECTOR
     parameter CH_BANDWIDTH of the preceding PPDU that it has transmitted in the same TXOP.

     If a TXOP is protected by a CTS-to-self frame carried in a non-HT or non-HT duplicate PPDU, the TXOP
     holder shall set the TXVECTOR parameter CH_BANDWIDTH of a PPDU to be the same or narrower than
     the TXVECTOR parameter CH_BANDWIDTH of the CTS-to-self in the same TXOP.

                                                  does not constrain the bandwidth of an immediate data response to that PS-
     Poll frame.

     9.19.2.5 EDCA backoff procedure

     Change 9.19.2.5 as follows:

     Each EDCAF shall maintain a state variable CW[AC], which shall be initialized to the value of the parameter
     CWmin[AC].



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     For the purposes of this subclause, successful transmission and transmission failure of an MPDU are defined
     as follows:
                                         (regardless of whether even if it is carried in an A-MPDU or as part of
             a VHT MU PPDU that might have TXVECTOR parameter NUM_USERS > 1) that requires an
             immediate frame as a response, the STA shall wait for a timeout interval of duration of aSIFSTime +
             aSlotTime + aPHY-RX-START-Delay, starting at the PHY-TXEND.confirm primitive. If a
             PHYRXSTART.indication does not occur during the timeout interval, the STA concludes that the
             transmission of the MPDU has failed.
                                                   tive does occur during the timeout interval, the STA shall wait
             for the corresponding PHY-RXEND.indication primitive to determine whether the MPDU
             transmission was successful. The recognition of a valid response frame sent by the recipient of the
             MPDU requiring a response, corresponding to this PHY-RXEND.indication primitive, shall be
             interpreted as a successful response.
                                                             recipient of a PS-Poll frame shall also be accepted
             as successful acknowledgment of the PS-Poll frame.
                The transmission of an MPDU that does not require an immediate frame as a response is defined
             as a successful transmission, unless it is one of the nonfinal (re)transmissions of an MPDU that is
             delivered using the GCR unsolicited retry retransmission policy (9.19.2.6.2).
                                                                    is delivered using the GCR unsolicited retry
             retransmission policy (9.19.2.6.2)) is defined to be a failure.
                                                                  is delivered using the GCR unsolicited retry
             retransmission policy (9.19.2.6.2) is defined as a successful transmission.

             the MPDU transmission.

     The backoff procedure shall be invoked for an EDCAF when any of the following events occurs:
       a)    A frame with that AC is requested to be transmitted, the medium is busy on the primary channel as
             indicated by either physical or virtual CS, and the backoff timer has a value of 0 for that AC.
       b)    The final transmission of the MPDU in the final PPDU transmitted by the TXOP holder initiated
             during the TXOP for that AC was successful as defined in this subclause and the TXNAV timer has
             expired, and the AC was a primary AC.
       c)    The transmission of expected immediate response to the initial frame of a TXOP of that AC fails is
             not received, and the AC was a primary AC.
       d)    An internal collision is reported for that EDCAF (see 9.19.2.3). The transmission attempt collides
             internally with another EDCAF of an AC that has higher priority, that is, two or more EDCAFs in
             the same STA are granted a TXOP at the same time.
       e)    The transmission attempt of a STA coordinated by an MM-SME collides internally with another
             STA coordinated by the same MM-SME (see 10.33), which is indicated to the first MAC entity with
             a PHY-TxBusy.indication (BUSY) as response to the PHY-TXSTART.request primitive.

                                               reception of a valid immediate response to any of the MPDUs in this PPDU
     determines that transmission of all MPDUs in the PPDU was successful.

     In addition, the backoff procedure may be invoked for an EDCAF when the transmission of the MPDUs in a
     non-initial frame PPDU by the TXOP holder fails.

                                                                  19.2.4 or perform a backoff as described in the previous
     paragraph as a response to transmission failure within a TXOP. How it chooses between these two is implementation
     dependent.

     A STA that performs a backoff within its existing TXOP shall not extend the TXNAV timer value.




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                                                    tion of the TXOP, not the start of a new TXOP.

     If the backoff procedure is invoked for reason a) above, the value of CW[AC] shall be left unchanged. If the
     backoff procedure is invoked because of reason b) above, the value of CW[AC] shall be reset to CWmin[AC].

                                                                e backoff for the associated EDCAF continues without
     change to the backoff counter or to the value of CW[AC].

     QoS STAs shall maintain a short retry counter and a long retry counter for each MSDU, A-MSDU, or
     MMPDU that belongs to a TC that requires acknowledgment. The initial value for the short and long retry
     counters shall be 0. QoS STAs also maintain a short retry counter and a long retry counter for each AC. They
     are defined as QSRC[AC] and QLRC[AC], respectively, and each is initialized to a value of 0. When
     dot11RobustAVStreamingImplemented is true, QoS STAs shall maintain a short drop-eligible retry counter
     and a long drop-eligible retry counter for each AC. They are defined as QSDRC[AC] and QLDRC[AC],
     respectively, and each is initialized to a value of zero. APs with dot11RobustAVStreamingImplemented true
     and mesh STAs with dot11MeshGCRImplemented true, shall maintain an unsolicited retry counter.

     If the backoff procedure is invoked because of a failure event [reason c) or d) or e) above or the transmission
     failure of a non-initial frame by the TXOP holder], the value of CW[AC] shall be updated as follows before
     invoking the backoff procedure:
                                                             S STA has reached dot11ShortRetryLimit or
             dot11LongRetryLimit, respectively, CW[AC] shall be reset to CWmin[AC].
                                                          AC] for the QoS STA in which
             dot11RobustAVStreamingImplemented is true has reached dot11ShortDEIRetryLimit or
             dot11LongDEIRetryLimit, respectively, CW[AC] shall be reset to CWmin[AC].



                                                                      all remain unchanged for the remainder of any
                 retries.

     The backoff timer is set to an integer value chosen randomly with a uniform distribution taking values in the
     range [0,CW[AC]] inclusive.

     All backoff slots occur following an AIFS[AC] period during which the medium is determined to be idle on the
     primary channel
     during which the medium is determined to be idle on the primary channel
     + AIFS[AC] period, as appropriate (see 9.3.2.3), except as defined in 9.19.2.3, which allows the medium to
     be busy during the initial aSIFSTime of this period under certain conditions.

     If the backoff procedure is invoked following the transmission of a 40 MHz mask PPDU, the backoff
     counter shall be decremented based on a medium busy indication that ignores activity in the secondary
     channel. Additional 40 MHz mask PPDU backoff rules are found in 10.15.9.

     9.19.2.6 Retransmit procedures

     9.19.2.6.1 General

     Change the second paragraph of 9.19.2.6.1 as follows:

     QSRC[AC] shall be incremented every time transmission of an A-MPDU or frame of length less than or
     equal to dot11RTSThreshold fails, regardless of the presence or value of the DEI field. When
     dot11RobustAVStreamingImplemented is true, QSDRC[AC] shall be incremented every time transmission
     of an A-MPDU or frame in which the HT variant HT Control field is present, the DEI field is equal to 1, and



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     the length of the frame is less than or equal to dot11RTSThreshold fails. This short retry count and the QoS
     STA QSRC[AC] shall be reset when an A-MPDU or frame of length less than or equal to
     dot11RTSThreshold succeeds. When dot11RobustAVStreamingImplemented is true, the QSDRC[AC] shall
     be reset when an A-MPDU or frame of length less than or equal to dot11RTSThreshold succeeds, regardless
     of the presence or value of the DEI field.

     Change the fourth paragraph of 9.19.2.6.1 as follows:

     QLRC[AC] shall be incremented every time transmission of an A-MPDU or frame of length greater than or
     equal to dot11RTSThreshold fails, regardless of the presence or value of the DEI field. This long retry count
     and the QLRC[AC] shall be reset when an A-MPDU or frame of length greater than dot11RTSThreshold
     succeeds. When dot11RobustAVStreamingImplemented is true, QLDRC[AC] shall be incremented every
     time transmission fails for an A-MPDU or frame of length greater than dot11RTSThreshold in which the
     HT variant HT Control field is present and the DEI field is equal to 1. The QLDRC[AC] shall be reset when
     an A-MPDU or frame of length greater than dot11RTSThreshold succeeds, regardless of the presence or
     value of the DEI field.

     9.19.2.7 Truncation of a TXOP

     Change the fourth paragraph of 9.19.2.7, insert a new note after the existing note after this paragraph,


     In a non-DMG network, a STA shall interpret the reception of a CF-End frame as a NAV reset, i.e., it resets
     its NAV timer to 0 at the end of the PPDU containing this frame. After receiving a CF-End frame with a
     matching BSSID(TA) without comparing Individual/Group bit, an AP may respond by transmitting a CF-
     End frame after SIFS.

     NOTE 1                                      nd frame by the TXOP holder resets the NAV of STAs hearing the TXOP
     holder. There may be STAs that could hear the TXOP responder that had set their NAV that do not hear this NAV reset.
     Those STAs are prevented from contending for the medium until the original NAV reservation expires.

                                     T STA that is a member of a VHT BSS can include the TXVECTOR
     parameter CH_BANDWIDTH_IN_NON_HT as defined in 9.7.6.6 in case it elicits a CF-End response.

     Insert the following subclause, 9.19.2.8 (including Table 9-8a), after 9.19.2.7:

     9.19.2.8 EDCA channel access in a VHT BSS

     If the MAC receives a PHY-CCA.indication primitive with the channel-list parameter present, the channels
     considered idle are defined in Table 9-8a.




                     PHY-CCA.indication
                                                                      Idle channels
                      channel-list element

                   primary                      None
                   secondary                    Primary 20 MHz channel

                   secondary40                  Primary 20 MHz channel and secondary 20 MHz channel

                   secondary80                  Primary 20 MHz channel, secondary 20 MHz channel, and
                                                secondary 40 MHz channel




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     In the following description, the CCA is sampled according to the timing relationships defined in 9.3.7. Slot
     boundaries are determined solely by activity on the prima
     means that whenever CCA is sampled during the period of PIFS that ends at the start of transmission, the
     CCA for that channel was determined to be idle.

     If a STA is permitted to begin a TXOP (as defined in 9.19.2.3) and the STA has at least one MSDU pending
     for transmission for the AC of the permitted TXOP, the STA shall perform exactly one of the following
     steps:
       a)    Transmit a 160 MHz or 80+80 MHz mask PPDU if the secondary channel, the secondary 40 MHz
             channel, and the secondary 80 MHz channel were idle during an interval of PIFS immediately
             preceding the start of the TXOP.
       b)    Transmit an 80 MHz mask PPDU on the primary 80 MHz channel if both the secondary channel and
             the secondary 40 MHz channel were idle during an interval of PIFS immediately preceding the start
             of the TXOP.
       c)    Transmit a 40 MHz mask PPDU on the primary 40 MHz channel if the secondary channel was idle
             during an interval of PIFS immediately preceding the start of the TXOP.
       d)    Transmit a 20 MHz mask PPDU on the primary 20 MHz channel.
       e)    Restart the channel access attempt by invoking the backoff procedure as specified in 9.19.2 as
             though the medium is busy on the primary channel as indicated by either physical or virtual CS and
             the backoff timer has a value of 0.

                                               selects a new random number using the current value of CW[AC], and the retry
     counters are not updated (as described in 9.19.2.5; backoff procedure invoked for event a)).

                                                  an EDCA TXOP is obtained based on activity on the primary channel (see
     9.19.2.3). The width of transmission is determined by the CCA status of the non-primary channels during the PIFS
     interval before transmission (see 9.19.2.4).

     9.19.3 HCCA

     9.19.3.2 HCCA procedure

     9.19.3.2.4 Recovery from the absence of an expected reception

     Change the second paragraph of 9.19.3.2.4 as follows:

     The beginning of reception of an expected response is detected by the occurrence of
     PHYCCA.indication(BUSY, channel-list) primitive at the STA that is expecting the response where the
     channel-list parameter is absent o
             The channel-list parameter is absent, or
             The channel-list is equal to {primary} and the HT STA expected to transmit the expected response
             supports 20 MHz operation only, or
             The channel-list is equal to either {primary} or {primary, secondary} and the HT STA expected to
             transmit the expected response supports both 20 MHz and 40 MHz operation (see 10.15.2).

     9.19.3.5 HCCA transfer rules

     9.19.3.5.3 Use of RTS/CTS

     Insert the following subclause, 9.19.3.5.4, after 9.19.3.5.3:




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     9.19.3.5.4 HCCA transfer rules for a VHT STA

     A VHT STA in a BSS that supports multiple channel widths is granted a TXOP for a specified duration and
     for a channel width that is equal to the channel width of the frame containing the QoS CF-Poll.


     9.21 Block Acknowledgment (Block Ack)

     9.21.10 GCR Block Ack

     9.21.10.3 GCR Block Ack BlockAckReq and BlockAck frame exchanges

     Change the eighth paragraph of 9.21.10.3 as follows:

     The beginning of reception of an expected response to a BlockAckRequest frame is detected by the
     occurrence of a PHY-CCA.indication(BUSY, channel-list) primitive at the STA that is expecting the
     response where the channel-list parameter is absent or, if present, includes rimary one of the following
     conditions exists:
            The channel-list parameter is absent; or
            The channel-list is equal to {primary}, and the HT STA expected to transmit the expected response
            supports 20 MHz operation only; or
            The channel-list is equal to either {primary} or {primary, secondary}, and the HT STA expected to
            transmit the expected response supports both 20 MHz and 40 MHz operation (see 10.15.2).


     9.23 Protection mechanisms

     9.23.5 L-SIG TXOP protection

     9.23.5.3 L-SIG TXOP protection rules at the TXOP responder

     Insert the following paragraph at the end of 9.23.5.3:

     A VHT STA shall set the HT Capabilities element HT Capabilities Info field L-SIG TXOP Protection
     Support subfield to 0 during association and reassociation. A VHT AP shall set the HT Operation element
     HT Operation Information field L-SIG TXOP Protection Full Support subfield to 0.

     Insert the following subclause, 9.23.6, after 9.23.5.4:

     9.23.6 Protection Rules for VHT STAs

     A VHT STA is subject to all of the rules for HT STAs that apply to its operating band. This defines
     protection accorded to non-HT STAs.


     9.25 Reverse Direction Protocol

     9.25.1 Reverse direction (RD) exchange sequence

     Insert the following note after the existing note after the first paragraph of 9.25.1, and number the


                                                               e burst can contain VHT MU PPDUs that might have
     TXVECTOR parameter NUM_USERS > 1.




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     9.25.3 Rules for RD initiator

     Change the third paragraph of 9.25.3 as follows:

     Transmission of a +HTC/DMG frame by an RD initiator with the RDG/More PPDU subfield equal to 1
     (either transmitted as a non-A-MPDU frame or VHT single MPDU or within an A-MPDU) indicates that the
     duration indicated by the Duration/ID field is available for the RD response burst and RD initiator final
     PPDU (if present).

     Change the last paragraph of 9.25.3 as follows:

     A STA that transmits a QoS +CF-ACK data frame according to the rules in 9.19.3.5 may also include an
     RDG in that frame provided that
                                                               , and
                                                  to the Address 1 field of the frame.

     9.25.4 Rules for responder

     Change the third paragraph of 9.25.4 as follows:

     An RD responder that is a non-DMG STA may transmit a +CF-ACK non-A-MPDU frame or VHT single
     MPDU in response to a non-A-MPDU QoS Data +HTC non-A-MPDU frame or VHT single MPDU that has
     the Ack Policy field equal to Normal Ack and the RDG/More PPDU subfield equal to 1.

     Change the seventh paragraph of 9.25.4 as follows:

     During an RDG, any PPDU transmitted by an RD responder shall contain at least one MPDU with an
     Address 1 field that matches the MAC address of the RD initiator, and the inclusion of traffic to STAs other
     than the RD initiator in a VHT MU PPDU shall not increase the duration of the VHT MU PPDU beyond that
     required to transport the traffic to the RD initiator. tThe RD responder shall not transmit any frames causing
     a response after SIFS with an Address 1 field that does not match the MAC address of the RD initiator. The
     RD responder shall not transmit any PPDUs with a CH_BANDWIDTH that is wider than the
     CH_BANDWIDTH of the PPDU containing the frame(s) that delivered the RD grant.


     9.26 PSMP operation

     9.26.1 Frame transmission mechanism during PSMP

     9.26.1.2 PSMP downlink transmission (PSMP-DTT)

     Change the third paragraph of 9.26.1.2 as follows:

     The PSMP-DTT may contain one or more PPDUs, each of which may contain either an A-MPDU or a
     single (non-A-MPDU) MPDU. Data may be transmitted using either format, provided that the format is
     supported by both the transmitter and the receiver.




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     9.27 Sounding PPDUs

     Insert the following paragraph at the beginning of 9.27:

     The behavior described in this subclause is specific to the use of the HT variant HT Control field.

     Change the now third paragraph through the beginning of the fifth paragraph of 9.27 as follows:

     A STA transmits sounding PPDUs when it operates in the following roles:


                              Beamformee responding to a training request, calibration initiator, or responder
            involved in implicit transmit beamforming (see 9.29.2.2, 9.29.2.3, and 9.29.2.4)
                             Beamformer involved in explicit transmit beamforming (see 9.29.3)
                                                             transmitter involved in ASEL (see 9.30.2)

     A STA receives sounding PPDUs when it operates in the following roles:


                              Beamformer sending a training request, calibration initiator, or responder involved
            in implicit transmit beamforming (see 9.29.2.2, 9.29.2.3, and 9.29.2.4)
                             Beamformee involved in explicit transmit beamforming (see 9.29.3)
                                                   receiver involved in ASEL (see 9.30.2)

     When transmitting a sounding PPDU, the transmitting STA follows the rules stated below to determine the
     maximum number of space-time streams for which channel coefficients can be simultaneously estimated:



                                                   ame with the TRQ field equal to 1, or

                                  beamformer involved in explicit transmit beamforming, or
                                     receive ASEL exchanges,


     9.28 Link adaptation

     Change the title of 9.28.2 as follows:

     9.28.2 Link adaptation using the HT variant HT Control field

     Insert the following paragraph at the beginning of 9.28.2:

     The behavior described in this subclause is specific to the HT variant HT Control field.

     Change the now fifth paragraph of 9.28.2 as follows:

     An MFB requester shall transmit +HTC frames with the MRQ subfield equal to 1 in one of the following
     ways:


                         NDP Announcement subfield in the +HTC frame set to 1 and following the +HTC
            frame by an NDP transmission




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     Change the now seventh paragraph of 9.28.2 as follows:

     An MFB-capable STA (identified by the MCS Feedback field in Extended HT Capabilities Info field equal
     to 3) shall support the following:
                                             eceipt of MRQ (MRQ=1 in +HTC) in a sounding
            PPDU for which the RXVECTOR NUM_EXTEN_SS parameter contains 0 in the
            PHYRXSTART.indication primitive.
                                                            eceipt of MRQ (MRQ=1 in +HTC) in a staggered
            sounding PPDU if this STA declares support for receive staggered sounding by setting the Receive
            Staggered Sounding Capable subfield of the Transmit Beamforming Capabilities field to 1.
                                             feedback on the receipt of NDP (see 9.31) if this STA declares
            support for receiving NDP sounding by setting the Receive NDP Capable subfield of the Transmit
            Beamforming Capabilities field to 1. The MFB requester shall set the MRQ subfield to 1 in the frame
            where the HT NDP Announcement subfield is equal to 1.

     Change the last paragraph of 9.28.2 as follows:

     If an HT beamformer transmits a PPDU with the TXVECTOR EXPANSION_MAT_TYPE set to either
     COMPRESSED_SV or NON_COMPRESSED_SV, it should use the recommended MCS associated with
     those matrices reported in a Noncompressed Beamforming frame or a Compressed Beamforming frame.

     Insert the following subclause, 9.28.3, after 9.28.2:

     9.28.3 Link adaptation using the VHT variant HT Control field

     The behavior described in this subclause is specific to the VHT variant HT Control field.

     A STA that supports VHT link adaptation using the VHT variant HT Control field shall set the VHT Link
     Adaptation Capable subfield in the VHT Capabilities Info field in the VHT Capabilities element to
     Unsolicited or Both, depending on its specific link adaptation feedback capability. A STA shall not send an
     MRQ to STAs that have not set VHT Link Adaptation Capable subfield to Both in the VHT Capabilities
     Info field of the VHT Capabilities element. A STA whose VHT Link Adaptation Capable subfield of the
     VHT Capabilities Info field of the VHT Capabilities element is either set to Unsolicited or Both may
     transmit unsolicited MFB in any frame that contains a VHT variant HT Control field.

     The MFB requester may set the MRQ field to 1 in the VHT variant HT Control field of a frame to request a
     STA to provide link adaptation feedback. In each request the MFB requester shall set the MSI/STBC field to
     a value in the ranges 0 to 6, 0 to 2, or 0 to 3, depending on the settings in the Unsolicited MFB and STBC
     fields (see 8.2.4.6.3). The choice of MSI value is implementation dependent.

     The appearance of more than one instance of a VHT variant HT Control field with the MRQ field equal to 1
     within a single PPDU shall be interpreted by the receiver as a single request for link adaptation feedback.

     An MFB responder that has set the VHT Link Adaptation Capable subfield to Both in the VHT Capabilities
     Info field of the VHT Capabilities element shall support both of the following:
                                                              the receipt of an MFB request (MRQ equal to 1
            in the VHT variant HT Control field) in a PPDU that is not a VHT NDP Announcement frame
                                                            the receipt of an MFB request (MRQ equal to 1
            in VHT variant HT Control field) in a VHT NDP Announcement frame and the receipt of VHT
            NDPs (see 9.31) if this STA set the SU Beamformee Capable subfield of the VHT Capabilities Info
            field of the VHT Capabilities element to 1




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     On receipt of a VHT variant HT Control field with the MRQ field equal to 1, an MFB responder computes
     the VHT-MCS, NUM_STS, and SNR estimates based on the PPDU carrying the MRQ or, in the case of a
     VHT NDP Announcement frame carrying the MRQ, based on the subsequent VHT NDP. The MFB
     responder labels the result of this computation with the MSI value from the VHT variant HT Control field in
     the received frame carrying the MRQ. The MFB responder may include the received MSI value in the MFSI
     field of the corresponding response frame. In the case of a delayed response, this allows the MFB requester
     to associate the MFB with the soliciting MRQ.

     An MFB responder that sends a solicited MFB shall set the Unsolicited MFB subfield in VHT variant HT
     Control field to 0.

     The MFB responder may send a solicited response frame with any of the following combinations of VHT-
     MCS, NUM_STS, and MFSI:

            immediately preceding request or for any other pending request. This combination is used when the
            responder is required to include a VHT variant HT Control field due to other protocols that use this
            field (e.g., the Reverse Direction Protocol) and when no MFB is available. It has no effect on the
            status of any pending MRQ.

            now providing, and will never provide, feedback for the request that had the MSI value that matches
            the MFSI value.

            the responder is providing feedback for the request that had the MSI value that matches the MFSI
            value.

     An MFB responder that discards or abandons the MFB estimates computed in response to an MRQ may
     indicate that it has done so by setting the VHT-MCS to 15 and NUM_STS to 7 in the MFB subfield in the
     next frame addressed to the MFB requester that includes the VHT variant HT Control field. The value of the
     MFSI is set to the value of the MSI/STBC subfield of the frame that contains an MRQ for which the
     computation was abandoned, regardless of whether the MSI/STBC subfield contains an MSI or a
     Compressed MSI and STBC Indication subfields.

     The STA receiving MFB may use the received MFB to compute the appropriate VHT-MCS, SNR, and
     NUM_STS.

     A STA sending unsolicited MFB feedback using the VHT variant HT Control field shall set the Unsolicited
     MFB subfield to 1.

     Unsolicited VHT-MCS, NUM_STS, BW, and SNR estimates reported in the MFB subfield of a VHT
     variant HT Control field sent by a STA are computed based on the most recent PPDU received by the STA
     that matches the description indicated by the GID-L, GID-H, Coding Type, STBC Indication, and FB Tx
     Type fields in the same VHT variant HT Control field.

     In an unsolicited MFB response the GID-L, GID-H, Coding Type, STBC Indication, FB Tx Type, and BW
     fields are set according to the RXVECTOR parameters of the received PPDU from which the VHT-MCS,
     SNR, BW, and NUM_STS are estimated, as follows:
                                                                    ated from a VHT MU PPDU, then the GID-L
            field is set to the 3 least significant bits and the GID-H field to the 3 most significant bits of the
            parameter GROUP_ID.
                                                    _STS are estimated from an SU PPDU, then the GID-L field
            and GID-H field are set to all ones.




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                                                        meter FEC_CODING is equal to BCC_CODING and set
            to 1 if equal to LDPC_CODING.
                                                             meter STBC is equal to 1 and set to 0 if the STBC
            parameter is equal to 0.

            to 0.
                                                                  or less than the bandwidth indicated by the
            parameter CH_BANDWIDTH.

     In an MFB response solicited by an MRQ that was not carried in a VHT NDP Announcement frame, the
     MFB is computed based on RXVECTOR parameters CH_BANDWIDTH, GROUP_ID, NUM_STS,
     FEC_CODING, BEAMFORMED, and STBC of the received PPDU that carried the MRQ and might
     additionally be based on other factors that are not part of the RXVECTOR. The NUM_STS subfield of the
     MFB subfield of VHT variant HT Control field shall be set to an equal or smaller value than the
     RXVECTOR parameter NUM_STS of the received PPDU that triggered the MRQ.

     If the MFB is in the same MPDU as a VHT Compressed Beamforming frame, the MFB responder shall
     estimate the recommended MFB under the assumption that the beamformer will use the steering matrices
     contained therein for performing an SU beamformed transmission. In this case the value of the NUM_STS
     field in the MFB subfield of the VHT variant HT Control field shall be the same as the value of the Nc Index
     field in the VHT MIMO Control field of the VHT Compressed Beamforming frame and, if the MFB is
     unsolicited, the Coding Type shall be set to BCC and the FB Tx Type shall be set to 0. Additionally, MFB
     estimate shall be based on the bandwidth indicated by the Channel Width subfield of the VHT MIMO
     Control field of the VHT Compressed Beamforming frame. In this case the SNR and BW subfields are
     reserved and set to 0.

     If an unsolicited MFB is not in the same MPDU as a VHT Compressed Beamforming frame, the NUM_STS
     subfield of the MFB subfield of the VHT variant HT Control field shall be set to an equal or smaller value
     than the RXVECTOR parameter NUM_STS of the received PPDU from which the MFB parameters are
     estimated.

     If the MFB requester sends the MRQ in a VHT NDP Announcement frame, then the MFB responder shall
     include the corresponding MFB in (all of) the VHT Compressed Beamforming frame(s) sent in response to
     the same VHT NDP Announcement frame and NDP sequence.

     If the value of the NUM_STS subfield of the MFB field (solicited or unsolicited) is a smaller value than the
     RXVECTOR parameter NUM_STS of the received PPDU on which the MFB is based, the MFB responder
     shall estimate the recommended VHT-MCS under the assumption that the MFB requester will transmit the
     first NSTS space-time streams in the corresponding PPDU carrying MRQ. If the MFB is based on an SU
     PPDU the first NSTS space-time streams correspond to columns 1, ..., NSTS of the spatial mapping matrix Q.
     If the MFB is based on a VHT MU PPDU, then for the user u the first NSTS space-time streams correspond to
     columns Mu+1, ..., Mu+NSTS,u of the spatial mapping matrix Q (Mu is defined in 22.3.10.11.1).

     A VHT NDP Announcement frame that contains multiple STA Info fields and that contains a VHT format
     of HT Control field with the MRQ subfield equal to 1 solicits an MFB response from all the STAs listed in
     the STA Info fields.

     When the MFB requester sets the MRQ subfield to 1 and sets the MSI/STBC subfield to a value that
     matches the MSI/STBC subfield value of a previous request for which the responder has not yet provided
     feedback, the responder shall discard or abandon the computation for the MRQ that corresponds to the
     previous use of that MSI/STBC subfield value and start a new computation based on the new request.




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     A STA may respond immediately to a current request for MFB with a frame containing an MFSI field value
     and an MFB field value that correspond to a request that precedes the current request.

     Bidirectional request/responses are supported. A STA may act as both the MFB requester for one direction
     of a duplex link and the MFB responder for the other direction and include both an MRQ and an MFB in the
     same VHT variant HT Control field.


     9.29 Transmit beamforming

     Change 9.29.1 (including the subclause title) as follows:

     9.29.1 General HT steering matrix calculations

     In order for an HT beamformer to calculate an appropriate steering matrix for transmit spatial processing
     when transmitting to a specific HT beamformee, the HT beamformer needs to have an accurate estimate of
     the channel over which it is transmitting. Two methods of calculation are defined as follows:
            Implicit feedback: When using implicit feedback, the beamformer receives long training symbols
            transmitted by the HT beamformee, which allow the MIMO channel between the HT beamformee
            and HT beamformer to be estimated. If the channel is reciprocal, the HT beamformer can use the
            training symbols that it receives from the HT beamformee to make a channel estimate suitable for
            computing the transmit steering matrix. Generally, calibrated radios in MIMO systems can improve
            reciprocity. See 9.29.2.
            Explicit feedback: When using explicit feedback, the HT beamformee makes a direct estimate of the
            channel from training symbols sent to the HT beamformee by the HT beamformer. The HT
            beamformee may prepare CSI or steering feedback based on an observation of these training
            symbols. The HT beamformee quantizes the feedback and sends it to the HT beamformer. The HT
            beamformer can use the feedback as the basis for determining transmit steering vectors. See 9.29.3.

     An HT STA shall not transmit a PPDU with the TXVECTOR EXPANSION_MAT parameter present if
     dot11BeamFormingOptionActivated is false.

     Change the title of 9.29.2 as follows:

     9.29.2 HT tTransmit beamforming with implicit feedback

     9.29.2.1 General

     Change 9.29.2.1 as follows:

     The procedures for HT transmit beamforming with implicit feedback use only HT and non-HT PPDUs, and
     the HT Control field, when present, is the HT variant HT Control field.

     Transmit beamforming with implicit feedback can operate in a unidirectional or bidirectional manner. In
     unidirectional implicit transmit beamforming, only the HT beamformer sends beamformed transmissions. In
     bidirectional implicit transmit beamforming, both STAs send beamformed transmissions, i.e., a STA may
     act as both HT beamformer and HT beamformee.

     Calibration of receive/transmit chains should be done to improve performance of transmit beamforming
     using implicit feedback. Over-the-air calibration is described in 9.29.2.4. For implicit transmit
     beamforming, only the HT beamformer, which is sending the beamformed transmissions, needs to be
     calibrated.




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     A STA that advertises itself as being capable of being an HT beamformer and/or HT beamformee using
     implicit feedback shall support the requirements in Table 9-11.

     Table 9-11 remains unchanged.

     A STA that performs one of the roles related to transmit beamforming with implicit feedback shall support
     the associated capabilities shown in Table 9-12.




                 Role                                                Required support

      HT bBeamformee:               Shall transmit sounding PPDUs as a response to TRQ=1.
      A receiver of transmit
      beamformed PPDUs
      Beamformer:                   Can receive sounding PPDUs.
      A transmitter of              Can compute steering matrices from MIMO channel estimates obtained from long
      beamformed PPDUs              training symbols in sounding PPDUs received from the HT beamformee.

      A responder in a              Can receive and transmit sounding PPDUs.
      calibration exchange          Can respond with a CSI frame that contains channel measurement information
                                    obtained during reception of a sounding PPDU.
      An initiator in a             Can receive and transmit sounding PPDUs.
      calibration exchange          Can receive a CSI frame sent by a calibration responder.



     When an HT beamformee transmits a sounding PPDU, the SOUNDING parameter in the TXVECTOR in
     the PHYTXSTART.request primitive shall be set to SOUNDING. If the HT beamformee is capable of
     implicit transmit beamforming and the HT beamformer is capable of receiving implicit transmit
     beamforming, the sounding PPDU from the HT beamformee may be steered.

     A PPDU containing one or more +HTC MPDUs in which the TRQ field is equal to 1 shall not be sent to a
     STA that sets the Implicit Transmit Beamforming Receiving Capable subfield of the Transmit Beamforming
     field of the HT Capabilities element to 0.

     If a PPDU containing one or more +HTC MPDUs in which the TRQ field is equal to 1 requires an
     immediate response, either the response from the HT beamformee shall be included in a sounding PPDU, or
     the HT NDP Announcement subfield of the HT Control field shall be set to 1 and the PPDU shall be
     followed by an NDP. If the PPDU in which the TRQ field is equal to 1 does not require an immediate
     response, either the HT beamformee shall transmit a sounding PPDU in the next TXOP obtained by the HT
     beamformee, or the HT beamformee shall transmit a PPDU in the next TXOP obtained by the HT
     beamformee in which the HT NDP Announcement subfield of the HT Control field is set to 1 and that PPDU
     shall be followed by an NDP. The use of NDP as a sounding PPDU is described in 9.31.

                                      beamformer using implicit feedback expects to receive a sounding PPDU in response
     to a training request. The STA can compute steering matrices from the channel estimates obtained from the received
     sounding PPDU.

     At the end of the TXOP, the final PPDU from the HT beamformer shall not have the TRQ field set to 1 in a
     frame that requests an immediate response if there is not enough time left in the TXOP for the HT
     beamformee to transmit the longest valid sounding PPDU with its response.




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     9.29.2.3 Bidirectional implicit transmit beamforming

     Change the first paragraph of 9.29.2.3 as follows:

     Figure 9-36 shows an example of a PPDU exchange used in bidirectional implicit transmit beamforming,
     using the Clause 20 PHY. In this example, sounding PPDUs are used that carry MPDUs. STA A initiates the
     frame exchange, and STA A and STA B alternate in the roles of HT beamformer and HT beamformee.

     9.29.2.4 Calibration

     9.29.2.4.1 Introduction

     Change the second paragraph of 9.29.2.4.1 as follows:

     A STA acting as a HT beamformer should be calibrated to maximize performance. A STA acting only as a
     HT beamformee does not need to be calibrated. If calibration is desired, it is performed using the over-the-
     air calibration procedure described below.

     9.29.2.4.3 Sounding exchange for calibration

                                                                                   ce each in Figure 9-38 and
     Figure 9-39.

     Change the 13th paragraph of 9.29.2.4.3 as follows:

     NDP transmission within a calibration procedure follows the rules defined in 9.31.1. STA A transmits a
     Calibration Start frame (i.e., with the Calibration Position subfield set to 1) with the HT NDP
     Announcement subfield set to 1 and CSI/Steering subfield of the HT Control field set to 1. Only the current
     TXOP holder may set both the Calibration Position and HT NDP Announcement subfields to 1. This frame
     initiates a calibration procedure.

     9.29.2.4.4 CSI reporting for calibration

     Change the fourth paragraph of 9.29.2.4.4 as follows:

     STA B should finish transmission of the first CSI frame within aMaxCSIMatricesReportDelay (in
     milliseconds) after the reception of the frame containing the CSI feedback request or HT NDP
     announcement.

     9.29.3 Explicit feedback beamforming

     Insert the following paragraph at the beginning of 9.29.3:

     The procedures for explicit feedback beamforming use only HT and non-HT PPDUs, and the HT Control
     field, when present, is the HT variant HT Control field.



     and Table 9-14).

     Insert the following paragraph afte                                      beamformee that sets the Explicit




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     The value of Nr within an explicit Beamforming feedback frame transmitted by a VHT beamformee will not
     exceed the value indicated in the Beamformee STS Capability subfield of the VHT Capabilities element.

     Insert the following subclause, 9.29.4, after 9.29.3:

     9.29.4 VHT MU beamforming

     An MU beamformer may transmit a VHT MU PPDU with a single nonzero TXVECTOR parameter
     NUM_STS[p], where 0 p 3 .

     An MU beamformer shall not transmit a VHT MU PPDU with a nonzero TXVECTOR parameter
     NUM_STS[p], where 0 p 3 , to a STA whose MU Beamformee Capable field is equal to 0.

     When transmitting a VHT MU PPDU, an MU beamformer shall order the per-user arrays of TXVECTOR
     parameters so that the per-user USER_POSITION array is in ascending order.


     9.30 Antenna selection (ASEL)

     9.30.1 Introduction

     Insert the following paragraph at the beginning of 9.30.1:

     The procedures for antenna selection use only HT and non-HT PPDUs, and the HT Control field, when
     present, is the HT variant HT Control field.


     9.31 Null data packet (NDP) sounding

     Change 9.31.1 through 9.31.4 (including subclause titles) as follows:

     9.31.1 NDP rules

     Sounding may be accomplished using either staggered sounding PPDU or HT NDP, as described in 20.3.13
     (HT Preamble format for sounding PPDUs). The MAC rules associated with sounding using HT NDP are
     described in 9.31.1 to 9.31.4.

     An HT STA that has set the Receive NDP Capable field of its HT Capabilities element to 1 during
     association processes an HT NDP as a sounding packet if the destination of the sounding packet is
     determined to match itself as described in 9.31.3 and if the source of the sounding packet can be ascertained
     as described in 9.31.4.

     An RXVECTOR LENGTH parameter equal to 0 indicates that the PPDU is an HT NDP.

     A STA that is a TXOP holder or an RD responder shall not set both the HT NDP Announcement and RDG/
     More PPDU subfields to 1 simultaneously. The Calibration Position subfield shall not be set to any value
     except 0 and 1 in any +HTC frame in a PPDU that is also an HT NDP announcement. The Calibration
     Position subfield shall be set to 0 in any +HTC frame in a PPDU that is an HT NDP announcement that also
     contains any +HTC frame with the MAI subfield equal to ASELI. The Calibration Position subfield shall be
     set to 0 in all +HTC frames in a PPDU that is an HT NDP announcement and that contains any +HTC frame
     with the MRQ subfield equal to 1. The TRQ field shall be set to 0 in all +HTC frames in a PPDU that is an
     HT NDP announcement.

     An NDP sequence contains at least one non-NDP PPDU and at least one HT NDP PPDU. Only one PPDU
     in the NDP sequence may contain an HT NDP announcement. An NDP sequence begins with an HT NDP


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     announcement. The NDP sequence ends at the end of the transmission of the last HT NDP PPDU that is
     announced by the HT NDP announcement. A STA that transmits the first PPDU of an NDP sequence is the
     NDP sequence owner. In the NDP sequence, only PPDUs carrying HT NDP and PPDUs carrying
     non-A-MPDU single MPDU control frames may follow th

     A STA shall transmit only one HT NDP per HT NDP announcement, unless the HT NDP announcement
     includes a value in the ASEL Data subfield of the ASEL Command subfield of the HTC Control field that is
     greater than one. Each PPDU in an NDP sequence shall start a SIFS interval after end of the previous PPDU.

     A STA shall not transmit a VHT NDP in a NDP sequence that contains an HT NDP announcement.

     The +HTC field of a A CTS frame that is a +HTC frame shall not contain the HT NDP Announcement
     subfield set to 1.

                                                    NDP announcement: if the CTS frame is a response to an RTS frame, the
     optional NAV reset timeout that starts at the end of the RTS frame does not include the additional HT NDP and SIFS
     duration (see 9.3.2.5). Also, if the CTS were the first frame of an NDP sequence, it would not be possible to determine
     the destination address of the HT NDP.

     A STA shall transmit an HT NDP as follows:
       a)    A SIFS interval after sending a PPDU that is an HT NDP announcement and that does not contain an
             MPDU that requires an immediate response.
       b)    A SIFS interval after successfully receiving a correctly formed and addressed immediate response to
             a PPDU that is an HT NDP announcement and that contains an MPDU that requires an immediate
             response.
       c)    A SIFS interval after transmitting an HT NDP if the HT NDP announcement contains an ASEL
             Command subfield equal to TXASSI, TXASSI-CSI, or RXASSI and the ASEL Data subfield is
             equal to value greater than 0 and if the number of HT NDPs sent before this one is less than the
             value in the ASEL Data subfield + 1.

                                                   NDPs is equal to the value of in the ASEL Data subfield + 1.

       d)    A SIFS interval after receiving an HT NDP from a STA whose HT NDP announcement contained
             one or more +HTC frames with the Calibration Position subfield equal to 1, when the receiving STA
             supports transmitting sounding PPDUs for which more than one channel dimension can be
             estimated (i.e., more than one column of the MIMO channel matrix).

     This rule enables the NDP receiver to know that it will receive an HT NDP and can determine the source and
     destination of the HT NDP. It enables the receiver and transmitter to know when the immediate response
     and HT NDP will be transmitted relative to the frame containing the HT NDP announcement indication.

     A STA that has transmitted an HT NDP announcement in a frame that requires an immediate response and
     that does not receive the expected response shall terminate the NDP sequence at that point (i.e., the STA
     does not transmit an HT NDP in the current NDP sequence).

     A STA that has received an HT NDP announcement in a +HTC with the Calibration Position equal to 1 or 2,
     and that does not receive the HT NDP PPDU expected shall terminate the NDP sequence at that point (i.e.,
     does not transmit an HT NDP in the current NDP sequence) and not transmit any further frames that are a
     part of this calibration sequence shown in Step 1 of Figure 9-37 (Calibration procedure with NDP).

     Feedback information generated from the reception of an HT NDP is transmitted using any of the feedback
     rules and signaling as appropriate, e.g., immediate or delayed.




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     9.31.2 Transmission of an HT NDP

     A STA that transmits an HT NDP shall set the LENGTH, SOUNDING, STBC, MCS, and
     NUM_EXTEN_SS parameters of the TXVECTOR as specified in this subclause.




     The number of spatial streams sounded is indicated by the MCS parameter of the TXVECTOR and shall not
     exceed the limit indicated by the Channel Estimation Capability field in the Transmit Beamforming
     Capabilities field transmitted by the STA that is the intended receiver of the HT NDP. The MCS parameter
     may be set to any value, subject to the constraint of the previous sentence, regardless of the value of the
     Supported MCS Set field of the HT Capabilities field at either the transmitter or recipient of the HT NDP. A
     STA shall set the NUM_EXTEN_SS parameter of the TXVECTOR to 0 in the PHY-TXSTART.request
     primitive corresponding to an HT NDP transmission.

     A STA shall not transmit an HT NDP announcement with a RA corresponding to another STA unless it has
     received an HT Capabilities element from the destination STA in which the Receive NDP Capable field is
     equal to 1.

     9.31.3 Determination of HT NDP destination

     The destination of an HT NDP is determined at the NDP receiver by examining the HT NDP announcement
     as follows:
                                                  NDP in the NDP sequence is equal to the RA of any MPDU within
             HT NDP announcement.
                                                                  NDP announcement at the NDP receiver, the
             destination of the second HT NDP is equal to the TA of that frame. Otherwise, the destination of the
             second and any subsequent HT NDPs is equal to the destination of the previous HT NDP.

     See S.4 for an illustration of these rules.

     9.31.4 Determination of HT NDP source

     The source of an HT NDP is determined at the NDP receiver
     PPDU as follows:
                                          NDP announcement contains two or more addresses, the source of the
             first HT NDP is equal to the TA of that frame.
                                    NDP announcement contains one address), the source of the first HT NDP is
             equal to the RA of the MPDU to which the HT NDP announcement is a response.
                                                                                    NDP announcement, the
             source of the second HT NDP is equal to the RA of that MPDU. Otherwise, the source of the second
             and any subsequent HT NDPs is equal to the source of the previous NDP.

     See S.4 for an illustration of these rules.




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     Insert the following subclauses, 9.31.5 to 9.31.6 (including Figure 9-41a and Figure 9-41b), after 9.31.4:

     9.31.5 VHT sounding protocol

     9.31.5.1 General

     Transmit beamforming and DL-MU-MIMO require knowledge of the channel state to compute a steering
     matrix that is applied to the transmitted signal to optimize reception at one or more receivers. The STA
     transmitting using the steering matrix is called the VHT beamformer and a STA for which reception is
     optimized is called a VHT beamformee. An explicit feedback mechanism is used where the VHT
     beamformee directly measures the channel from the training symbols transmitted by the VHT beamformer
     and sends back a transformed estimate of the channel state to the VHT beamformer. The VHT beamformer
     then uses this estimate, perhaps combining estimates from multiple VHT beamformees, to derive the
     steering matrix.

     If dot11VHTSUBeamformerOptionImplemented is true, a STA shall set the SU Beamformer Capable field
     in the VHT Capabilities element to 1. If dot11VHTSUBeamformeeOptionImplemented is true, a STA shall
     set the SU Beamformee Capable field in the VHT Capabilities element to 1.

     If dot11VHTMUBeamformerOptionImplemented is true, a STA shall set the MU Beamformer Capable field
     in the VHT Capabilities element to 1. If dot11VHTMUBeamformeeOptionImplemented is true, a STA shall
     set the MU Beamformee Capable field in the VHT Capabilities element to 1.

     If      dot11VHTMUBeamformerOptionImplemented        is    true,     a STA    shall    set
     dot11VHTSUBeamformerOptionImplemented to true. If dot11VHTMUBeamformeeOptionImplemented is
     true, a STA shall set dot11VHTSUBeamformeeOptionImplemented to true.

     A STA is a VHT SU-only beamformer if it sets the SU Beamformer Capable field to 1 but sets the MU
     Beamformer Capable field to 0 in transmitted VHT Capabilities elements. A STA is an SU-only
     beamformee if it sets the SU Beamformee Capable field to 1 but sets the MU Beamformee Capable field to
     0 in transmitted VHT Capabilities elements.

     If dot11VHTSUBeamformerOptionImplemented is false, a STA shall not act in the role of a VHT
     beamformer. If dot11VHTSUBeamformeeOptionImplemented is false, a STA shall not act in the role of a
     VHT beamformee.

     9.31.5.2 Rules for VHT sounding protocol sequences

     A VHT beamformer shall initiate a sounding feedback sequence by transmitting a VHT NDP
     Announcement frame followed by a VHT NDP after a SIFS. The VHT beamformer shall include in the
     VHT NDP Announcement frame one STA Info field for each VHT beamformee that is expected to prepare
     VHT Compressed Beamforming feedback and shall identify the VHT beamformee by including the VHT
                                          ld of the STA Info field. The VHT NDP Announcement frame shall
     include at least one STA Info field.

     NOTE A STA that transmits a VHT NDP Announcement frame to a DLS or TDLS peer STA obtains the AID for the
     peer STA from the DLS Setup Request, DLS Setup Response, TDLS Setup Request, or TDLS Setup Response frame.

     A VHT beamformer shall not transmit either a VHT NDP Announcement+HTC frame or a Beamforming
     Report Poll+HTC frame that contains an HT variant HT Control field.

     A VHT NDP shall be transmitted only following a SIFS after a VHT NDP Announcement frame. A VHT
     NDP Announcement frame shall be followed by a VHT NDP after SIFS.




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     A VHT beamformer that has not received from a STA a VHT Capabilities element or where the last VHT
     Capabilities element received from the STA has the SU Beamformee Capable field set to 0 shall not transmit
     either of the following:
                                                  ame addressed to the STA or that
            the STA Info fields


     A VHT beamformer that transmits a VHT NDP Announcement frame to a VHT SU-only beamformee shall
     include only one STA Info field in the VHT NDP Announcement frame and set the Feedback Type subfield
     of the STA Info field to SU.

     If the VHT NDP Announcement frame includes more than one STA Info field, the RA of the VHT NDP
     Announcement frame shall be set to the broadcast address. If the VHT NDP Announcement frame includes
     a single STA Info field, the RA of the VHT NDP Announcement frame shall be set to the MAC address of
     the VHT beamformee.

     A VHT NDP Announcement frame shall not include two or more STA Info fields with same value in the
     AID subfield.

     A VHT beamformer that transmits a VHT NDP Announcement frame to a VHT beamformee that is an AP,
     mesh STA or STA that is a member of an IBSS, shall include a single STA Info field in the VHT NDP
     Announcement frame and shall set the AID field in the STA Info field to 0.

     A VHT NDP Announcement frame with more than one STA Info field shall not carry a VHT variant HT
     Control field, unless all the STAs listed in the AID field of the STA Info fields have set +HTC-VHT
     Capable to 1 in the VHT Capabilities Info field.

     A VHT beamformer that transmits a VHT NDP Announcement frame with more than one STA Info field
     should transmit any Beamforming Report Poll frames used to retrieve VHT Compressed Beamforming
     feedback from the intended VHT beamformees in the same TXOP. If the duration of the TXOP that
     contained the VHT NDP Announcement frame has insufficient duration to accommodate the transmission of
     all of the feedback reports, the VHT beamformer may poll for the remaining VHT Compressed
     Beamforming feedback in subsequent TXOPs.

                                                                       VHT NDP, VHT Compressed Beamforming, and
     Beamforming Report Poll frames is subject to the rules in 9.19.2.4.

     A VHT beamformer that sets the Feedback Type subfield of a STA Info field to MU shall set the Nc Index
     subfield of the same STA Info field to a value equal to or less than the minimum of both the following:
                                                                 l streams according to the corresponding VHT
                                                                the Supported VHT-MCS and NSS Set field
                                                                according to the Rx NSS subfield value in the
            Operating Mode field of the most recently received Operating Mode Notification frame or Operating
            Mode Notification element with the Rx NSS Type subfield equal to 0 from the corresponding VHT
            beamformee

     A non-AP VHT beamformee that receives a VHT NDP Announcement frame from a VHT beamformer with
     which it is associated or has an established DLS or TDLS session and that contains the VHT beamformee's
     AID in the AID subfield of the first (or only) STA Info field and also receives a VHT NDP a SIFS after the
     VHT NDP Announcement frame shall transmit the PPDU containing its VHT Compressed Beamforming
     feedback a SIFS after the VHT NDP. A VHT beamformee that is an AP, mesh STA, or STA that is a
     member of an IBSS, that receives a VHT NDP Announcement frame with the RA matching its MAC
     address and the AID subfield of the only STA Info field set to 0, and that also receives a VHT NDP a SIFS



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      after the VHT NDP Announcement frame shall transmit the PPDU containing its VHT Compressed
      Beamforming feedback a SIFS after the VHT NDP. The TXVECTOR parameter CH_BANDWIDTH of the
      PPDU containing the VHT Compressed Beamforming feedback shall be set to indicate a bandwidth not
      wider than that indicated in the RXVECTOR parameter CH_BANDWIDTH of the received VHT NDP
      frame. A STA ignores received VHT NDP Announcement, VHT NDP, and Beamforming Report Poll
      frames if dot11VHTSUBeamformeeImplemented is false.

      A VHT beamformee shall indicate the maximum number of space-time streams it can receive in a VHT
      NDP in the Beamformee STS Capability field. If the beamformee is a non-AP STA, this shall also be the
      maximum total number of space-time streams that the STA can receive in a VHT MU PPDU.

      An example of the VHT sounding protocol with a single VHT beamformee is shown in Figure 9-41a.


                                                       VHT NDP
                                    Beamformer         Announce-             NDP
                                                         ment                                  VHT
                                    Beamformee                                              Compressed
                                                                      SIFS         SIFS
                                                                                            Beamforming

                                                                             otocol with a single VHT beamformee

      A non-AP VHT beamformee that receives a VHT NDP Announcement frame from a VHT beamformer with
      which it is associated or has an established DLS or TDLS session and that c
      AID in the AID subfield of a STA Info field that is not the first STA Info field shall transmit its VHT
      Compressed Beamforming feedback a SIFS after receiving a Beamforming Report Poll with RA matching
      its MAC address and a non-bandwidth signaling TA obtained from the TA field matching the MAC address
      of the VHT beamformer. If the RXVECTOR parameter CH_BANDWIDTH_IN_NON_HT of the received
      Beamforming Report Poll frame is valid, the TXVECTOR parameter CH_BANDWIDTH of the PPDU
      containing the VHT Compressed Beamforming feedback shall be set to indicate a bandwidth not wider than
      that indicated by the RXVECTOR parameter CH_BANDWIDTH_IN_NON_HT of the Beamforming
      Report Poll frame; otherwise, the TXVECTOR parameter CH_BANDWIDTH of the PPDU containing
      VHT Compressed Beamforming feedback shall be set to indicate a bandwidth not wider than that indicated
      by the RXVECTOR parameter CH_BANDWIDTH of the Beamforming Report Poll frame.

      An example of the VHT sounding protocol with more than one VHT beamformee is shown in Figure 9-41b.


                 VHT NDP
                                                                      Beamforming                                Beamforming
                             SIFS




                                          SIFS




                                                               SIFS




                                                                                                          SIFS




                                                                                                                                SIFS




                 Announce-          NDP
                                                                                     SIFS




  Beamformer                                                           Report Poll                                Report Poll
                   ment                             VHT
                                                 Compressed
  Beamformee 1
                                                 Beamforming                                   VHT
                                                                                            Compressed
  Beamformee 2
                                                                                            Beamforming                                   VHT
                                                                                                                                       Compressed
  Beamformee 3
                                                                                                                                       Beamforming




      The RA field of the VHT Compressed Beamforming frame(s) of the VHT Compressed Beamforming
      feedback shall be set to a non-bandwidth signaling TA obtained from the TA field of the VHT NDP
      Announcement frame or the Beamforming Report Poll frame to which this VHT Compressed Beamforming
      feedback is a response.




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     If the VHT Beamformee is transmitting VHT Compressed Beamforming frame(s) a SIFS after the VHT
     NDP, then the VHT Compressed Beamforming frame(s) shall include the VHT Compressed Beamforming
     Report information and, for the case of MU feedback, the MU Exclusive Beamforming Report information.

     A VHT beamformee that transmits a VHT Compressed Beamforming frame shall set the Feedback Type
     field in the VHT MIMO Control field to the same value as the Feedback Type field in the corresponding
     STA Info field in the VHT NDP Announcement frame. If the Feedback Type field indicates MU, the STA
     shall send a VHT Compressed Beamforming frame with the Nc Index field value in the VHT MIMO
     Control field equal to the minimum of all the following:
                                                             STA Info field in the VHT NDP Announcement frame
                                        ted spatial streams according to its Rx VHT-MCS Map subfield in
            the Supported VHT-MCS and NSS Set field
                                                              according to its Rx NSS subfield value in the
            Operating Mode field of the Operating Mode Notification frame or Operating Mode Notification
            element transmitted most recently by the VHT beamformee

     If the Feedback Type indicates SU, the Nc Index field value in the VHT MIMO Control field is determined
     by the VHT beamformee.

     The Nr Index field in the VHT MIMO Control field shall be set to the same value as the RXVECTOR
     parameter NUM_STS of the corresponding VHT NDP. The Nc Index field shall not be set to a value larger
     than the Nr Index value in the VHT MIMO Control field. A VHT beamformee shall set the value of the
     Channel Width subfield in the VHT MIMO Control field of a VHT Compressed Beamforming frame to the
     same value as the RXVECTOR parameter CH_BANDWIDTH of the corresponding VHT NDP frame.

     A VHT beamformee shall not include MU Exclusive Beamforming Report information in VHT Compressed
     Beamforming feedback if the Feedback Type subfield in the MIMO Control field of the VHT Compressed
     Beamforming frame(s) indicates SU. A VHT beamformee shall include both VHT Compressed
     Beamforming Report information and MU Exclusive Beamforming Report information in VHT
     Compressed Beamforming feedback if the Feedback Type subfield in the MIMO Control field of the VHT
     Compressed Beamforming frame(s) indicates MU.

     A VHT beamformee that transmits VHT Compressed Beamforming feedback shall include neither the VHT
     Compressed Beamforming Report information and nor the MU Exclusive Beamforming Report information
     if the transmission duration of the PPDU carrying the VHT Compressed Beamforming Report information
     and any MU Exclusive Beamforming Report information would exceed the maximum PPDU duration.

     The value of the Sounding Dialog Token Number subfield in the VHT MIMO Control field shall be set to
     the same value as the Sounding Dialog Token Number subfield in the Sounding Dialog Token field in the
     corresponding VHT NDP Announcement frame.

                                        n use the sounding dialog token in the VHT Compressed Beamforming frame(s) of
     the VHT Compressed Beamforming feedback to associate the feedback with a prior VHT NDP Announcement frame
     and thus compute the delay between sounding and receiving the feedback. The VHT beamformer can use this delay time
     when making a decision regarding the applicability of the feedback for the link.

                                                               to a VHT NDP Announcement or Beamforming Report Poll
     frame follows the rules for multiple frame transmission in an EDCA TXOP (see 9.19.2.4).

     VHT Compressed Beamforming feedback is comprised of the VHT Compressed Beamforming Report
     information (see Table 8-53f) and the MU Exclusive Beamforming Report information (see Table 8-53i).
     Subclause 8.5.23.2 specifies how VHT Compressed Beamforming feedback is converted into a VHT
     Compressed Beamforming frame, and it also specifies the rules for the presence or absence of the two fields
     listed here.



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     9.31.5.3 Rules for fragmented feedback in VHT sounding protocol sequences

     VHT Compressed Beamforming feedback shall be transmitted in a single VHT Compressed Beamforming
     frame unless the result would be a VHT Compressed Beamforming frame that exceeds the VHT
     beamformer's maximum MPDU length capability.


     capable of receiving.

     If VHT Compressed Beamforming feedback would result in a VHT Compressed Beamforming frame that
                                           ximum MPDU length capability, the VHT Compressed Beamforming
     feedback shall be split into up to 8 feedback segments, with each feedback segment sent in a different VHT
     Compressed Beamforming frame and containing successive portions of the VHT Compressed Beamforming
     feedback consisting of the VHT Compressed Beamforming Report information followed by any MU
     Exclusive Beamforming Report information. Each of the feedback segments except the last shall contain the

     feedback segment may be smaller. Each feedback segment is identified by the value of the Remaining
     Feedback Segments subfield and the First Feedback Segment subfield in the VHT MIMO Control field as
     defined in 8.4.1.47; the other nonreserved subfields of the VHT MIMO Control field shall be the same for
     all feedback segments. All feedback segments shall be sent in a single A-MPDU and shall be included in the
     A-MPDU in the descending order of the Remaining Feedback Segments subfield values.

                                                               amforming report are not MSDU/MMPDU fragments and
     can be included in an A-MPDU as described in this subclause.

     A VHT beamformer, in its first attempt to retrieve VHT Compressed Beamforming feedback from a VHT
     beamformee that is not the one indicated by the first STA Info field, shall transmit a Beamforming Report
     Poll frame to poll all possible feedback segments of the VHT Compressed Beamforming feedback from the
     VHT beamformee, by setting all the bits in the Feedback Segment Retransmission Bitmap field of the
     Beamforming Report Poll frame to 1.

     If a VHT beamformer fails to receive some or all feedback segments of VHT Compressed Beamforming
     feedback, the VHT beamformer may, subject to the condition on VHT SU-only beamformees described at
     the end of this subclause, request a selective retransmission of missing feedback segments by transmitting a
     Beamforming Report Poll frame with the Feedback Segment Retransmission Bitmap field set as described in
     8.3.1.21 to indicate the feedback segments requested for retransmission. If the VHT beamformer fails to
     receive the feedback segment with the First Feedback Segment field set to 1, the VHT beamformer may
     request a selective retransmission of missing feedback segments assuming the VHT Compressed
     Beamforming feedback is split into 8 feedback segments. The VHT beamformer may also request the
     retransmission of all feedback segments by setting all the bits in the Feedback Segment Retransmission
     Bitmap field of the Beamforming Report Poll frame to 1.

     A VHT beamformee that transmits VHT Compressed Beamforming feedback including the VHT
     Compressed Beamforming Report information and any MU Exclusive Beamforming Report information in
     response to a Beamforming Report Poll frame shall either transmit only the feedback segments indicated in
     the Feedback Segment Retransmission Bitmap field in the Beamforming Report Poll frame excluding the
     indicated feedback segments that do not exist at the VHT beamformee or transmit all the feedback segments
     that exist at the VHT beamformee disregarding the Feedback Segment Retransmission Bitmap field in the
     Beamforming Report Poll fame.

     A VHT beamformer shall not transmit a Beamforming Report Poll frame to a VHT SU-only beamformee
     unless the VHT beamformer has received at least one feedback segment of the VHT Compressed
     Beamforming feedback from the VHT beamformee in the current frame exchange sequence.




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     9.31.6 Transmission of a VHT NDP

     A VHT NDP shall use the SU PPDU format as described in 22.1.4. A STA shall transmit a VHT NDP using
     the following TXVECTOR parameters:



                                            more space-time streams

            preceding VHT NDP Announcement frame


     The number of space-time streams sounded and as indicated by the NUM_STS parameter shall not exceed
     the value indicated in the Beamformee STS Capability field in the VHT Capabilities element of any
     intended recipient of the VHT NDP. The NUM_STS parameter may be set to any value, subject to the
     constraint of the previous sentence, regardless of the value of the Supported VHT-MCS and NSS Set field of
     the VHT Capabilities element at either the transmitter or recipient of the NDP.

     The destination of a VHT NDP is equal to the RA of the immediately preceding VHT NDP Announcement
     frame.

     The source of a VHT NDP is equal to the TA of the immediately preceding VHT NDP Announcement
     frame.




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     10. MLME

     10.1 Synchronization

     10.1.3 Maintaining synchronization

     10.1.3.2 Beacon generation in non-DMG infrastructure networks

     Change the last paragraph of 10.1.3.2 as follows:

     An AP whose last transmitted values for the Tx STBC subfield and Rx STBC subfield of the HT
     Capabilities Info field of the HT Capabilities element are both nonzero may transmit an STBC Beacon frame
     and group addressed traffic using the basic STBC MCS, as defined in 9.7.3. An AP that transmits an STBC
     Beacon shall set the Dual Beacon field to 1 in transmitted HT Operation elements. A VHT AP shall set the
     Dual Beacon field to 0 in transmitted HT Operation elements. The STBC Beacon field shall be set to 1 to
     identify an STBC Beacon frame. The TBTT for the STBC Beacon frame shall be offset by half of a beacon
     interval from the TBTT of the non-STBC Beacon frame. Except for the setting of the STBC Beacon field,
     TIM field, and TSF field, all other fields inside the STBC Beacon frame shall be identical to the non-STBC
     Beacon frame.


     10.2 Power management

     10.2.1 Power management in a non-DMG infrastructure network

     10.2.1.17 TIM broadcast

     Change the 11th paragraph of 10.2.1.17 as follows:

     The AP shall increase the value (modulo 256) of the Check Beacon field in the next transmitted TIM
     frame(s) when a critical update occurs to any of the elements inside the Beacon frame. The following events
     shall classify as a critical update:
       a)   Inclusion of a Channel Switch Announcement
       b)   Inclusion of an Extended Channel Switch Announcement
       c)   Modification of the EDCA parameters
       d)   Inclusion of a Quiet element
       e)   Modification of the DSSS Parameter Set
       f)   Modification of the CF Parameter Set
       g)   Modification of the FH Parameter Set
       h)   Modification of the HT Operation element
       i)   Inclusion of a Wide Bandwidth Channel Switch element
       j)   Inclusion of a Channel Switch Wrapper element
       k)   Inclusion of a Operating Mode Notification element
       l)   Inclusion of a Quiet Channel element
       m)   Modification of the VHT Operating element




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     Insert the following subclause, 10.2.1.19, after 10.2.1.18.3:

     10.2.1.19 VHT TXOP power save

     A VHT AP supports the operation of non-AP VHT STAs in TXOP power save mode in a BSS when the
     dot11VHTTXOPPowerSaveOptionImplemented at the AP is true. Non-AP VHT STAs that are in Active
     mode (see Table 10-1) and have dot11VHTTXOPPowerSaveOptionImplemented equal to true operate in
     TXOP power save mode. A STA that has dot11VHTTXOPPowerSaveOptionImplemented equal to true
     shall set the VHT TXOP Power Save field in the VHT Capabilities element to 1; otherwise, the STA shall
     set the field to 0. A VHT AP may allow non-AP VHT STAs in TXOP power save mode to enter the Doze
     state during a TXOP. A VHT AP shall indicate this by transmitting a VHT PPDU with the TXVECTOR
     parameter TXOP_PS_NOT_ALLOWED set to 0. The value of this parameter in the TXVECTOR of all
     VHT PPDUs transmitted by the VHT AP may be changed from 1 to 0 during the TXOP to enable TXOP PS
     for the remainder of the TXOP. The value of this parameter in the TXVECTOR of all VHT PPDUs
     transmitted by VHT AP shall not be changed from 0 to 1 during the TXOP. If the
     dot11VHTTXOPPowerSaveOptionImplemented at VHT AP is false then the VHT AP shall set the
     TXOP_PS_NOT_ALLOWED to 1 in the TXVECTOR of the frames with FORMAT VHT.

     If the AP allows non-AP VHT STAs to enter Doze state during a TXOP, then a non-AP VHT STA that is in
     VHT TXOP power save mode may enter the Doze state till the end of that TXOP when one of the following
     conditions is met:
                                         e STA determines that it is not a member of the group indicated
            by the RXVECTOR parameter GROUP_ID.
                                              e STA determines that the RXVECTOR parameter PARTIAL_AID is


            the MAC header of the corresponding frame that is received correctly does not match the MAC
            address of the STA.
                                         RXVECTOR parameter NUM_STS equal to 0 if it is a member of
            group indicated by RXVECTOR GROUP_ID.
                                               ent frame, the STA finds that the RXVECTOR parameter
            PARTIAL_AID is 0 and the AID in the STA Info field is not its AID.
                                                              More Data field equal to 0 and the Ack Policy
            subfield in the QoS Control field is equal to No Ack or sends an acknowledgment if Ack Policy
            subfield is not equal to No Ack.

     The VHT AP shall include a NAV-set sequence (e.g., RTS/CTS) at the beginning of such a TXOP with the
     Duration/ID value set to the remainder of the TXOP duration. A VHT AP shall not transmit frames to a non-
     AP VHT STA that has been allowed to enter Doze state according to the conditions above for the remainder
     of the TXOP.

                                                           rrent TXOP if the AP has already transmitted a VHT
     PPDU with the TXVECTOR parameter TXOP_PS_NOT_ALLOWED set to 0 in the same TXOP and does not want the
     STAs that are in Awake state to enter the Doze state.

     If a VHT AP truncates the TXOP in which it allowed STAs to enter Doze state, then the VHT AP shall not
     transmit frames to the STAs that were allowed to enter the Doze state until the NAV set at the start of the
     TXOP has expired.

     If the AP does not receive an acknowledgment after transmitting an individually addressed frame containing
     all or part of an MSDU, A-MSDU or MMPDU sent with the More Data field equal to 0 to a non-AP VHT
     STA that is in VHT TXOP power save mode and the AP had set the TXVECTOR parameter
     TXOP_PS_NOT_ALLOWED to 0, it shall retransmit that frame at least once within the same TXOP,


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     subject to applicable retry or lifetime limit, TXOP limit and the rules on TXOP sharing (see 9.19.2.3a). If an
     acknowledgment to the retransmission of this last frame in the same TXOP is not received, it may wait until
     the next TXOP to further retransmit that frame, subject to its applicable retry or lifetime limit.

                                   m a VHT STA in TXOP power save mode a BlockAck frame that is a response to an A-
     MPDU containing MPDUs with the More Data field equal to 0 cannot expect to receive a response to subsequent
     MPDUs retransmitted in the same TXOP because the VHT STA might be in the Doze state.

     A VHT STA that is in TXOP power save mode and has entered Doze state shall continue to operate its NAV
     timer during Doze state and shall transition into Awake state on expiry of the NAV timer.

                                         ss to the medium immediately on the expiry of the NAV timer.


     10.3 STA authentication and association

     10.3.5 Association, reassociation, and disassociation

     10.3.5.3 PCP/AP association receipt procedures

     Insert a new list item h) into the lettered list of the second paragraph of 10.3.5.3, and re-letter the
     subsequent list items accordingly:

       h)    The SME shall refuse an association request from a VHT STA that does not support all the <VHT-
             MCS, NSS> tuples indicated by the Basic VHT-MCS and NSS Set field of the VHT Operation
             parameter in the MLME-START.request primitive.

     10.3.5.5 PCP/AP reassociation receipt procedures

     Insert a new list item g) into the lettered list of the second paragraph of 10.3.5.5, and re-letter the
     subsequent list items accordingly:

       g)    The SME shall refuse a reassociation request from a VHT STA that does not support all the <VHT-
             MCS, NSS> tuples indicated by the Basic VHT-MCS and NSS Set field of the VHT Operation
             parameter in the MLME-START.request primitive.


     10.8 TPC procedures

     10.8.2 Association based on transmit power capability

     Insert the following paragraph and note at the end of 10.8.2:

     If a STA sends a Country element, a Power Constraint element, and a VHT Transmit Power Envelope
     element, where the interpretation of the Maximum Transmit Power Level field in the Country element for a
     20 MHz or 40 MHz Subband Triplet field is the same as the Local Maximum Transmit Power Unit
     Interpretation subfield, then at least one of local power constraints indicated by the Local Maximum
     Transmit Power For 20 MHz and Local Maximum Transmit Power For 40 MHz fields in the VHT Transmit
     Power Envelope element shall be the same as the indicated local power constraint expressed by the
     combination of Country element and Power Constraint element.

                                                              m Transmit Power Level field in the Country element for
     a 20 MHz or 40 MHz Subband Triplet field is the same as the Local Maximum Transmit Power Unit Interpretation
     subfield is when both are EIRP.




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     Insert the following subclause, 10.8.3a, after 10.8.3:

     10.8.3a Interpretation of transmit power capability

     If the Beacon or Probe Response frame most recently received from an AP by a VHT STA that has
     dot11SpectrumManagementRequired or dot11RadioMeasurementActivated equal to true includes one or
     more VHT Transmit Power Envelope elements, then the units of the Minimum Transmit Power Capability

     (Re)Association Request frame to the AP shall be interpreted according to the Local Maximum Transmit
     Power Unit Interpretation subfield in the Transmit Power Information field in the VHT Transmit Power
     Envelope element (see 8.4.2.164) sent first in the Beacon or Probe Response frame; otherwise, the units of
     the Minimum Transmit Power Capability and Maximum Transmit Power Capability fields within the Power
                                         (Re)Association Request frame to the AP shall be interpreted as EIRP.

     If the Beacon or Probe Response frame most recently received from a neighbor mesh STA by a VHT mesh
     STA that has dot11SpectrumManagementRequired or dot11RadioMeasurementActivated equal to true
     includes one or more VHT Transmit Power Envelope elements, then the units of the Minimum Transmit
     Power Capability and Maximum Transmit Power Capability fields within the Power Capability element sent
     in the Mesh Peering Open frame to the neighbor mesh STA shall be interpreted according to the Local
     Maximum Transmit Power Unit Interpretation subfield in the Transmit Power Information field in the VHT
     Transmit Power Envelope element (see 8.4.2.164) sent first in the Beacon or Probe Response frame.
     Otherwise, the units of the Minimum Transmit Power Capability and Maximum Transmit Power Capability
     fields within the Power Capability element sent in                            eering Open frame to the
     neighbor mesh STA shall be interpreted as EIRP.

     10.8.4 Specification of regulatory and local maximum transmit power levels

     Change the second and third paragraphs of 10.8.4, and insert a new fourth paragraph as follows:

     A STA shall determine a local maximum transmit power for the current channel by selecting the minimum
     of the following:
                                                              a VHT Transmit Power Envelope element for a
            channel width of 20 MHz and 40 MHz, Aany local maximum transmit power received in the
            combination of a Country element and a Power Constraint element from the AP in its BSS, PCP in
            its PBSS, another STA in its IBSS, or a neighbor peer mesh STA in its MBSS and
            Any local maximum transmit power received in a VHT Transmit Power Envelope element from the
            AP in its BSS, another STA in its IBSS, or a neighbor peer mesh STA in its MBSS

            other sources.

     The Local Power Constraint field of any transmitted Power Constraint element and each Local Maximum
     Transmit Power For X MHz field (where X = 20, 40, 80, or 160/80+80) in the VHT Transmit Power
     Envelope element shall be set to a value that allows the mitigation requirements to be satisfied in the current
     channel.

     A STA that transmits a VHT Transmit Power Envelope element shall set the Local Maximum Transmit
     Power Unit Interpretation subfield in the Transmit Power Information field to an allowed value as defined
     in Annex E.




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     Insert the following paragraphs after the now seventh                                      BSS, a STA in an IBSS,


     A VHT AP in a BSS, a VHT STA in an IBSS, and a VHT mesh STA in a MBSS shall advertise the local
                                                            annel in Beacon frames and Probe Response frames
     using one VHT Transmit Power Envelope element for each distinct value of the Local Maximum Transmit
     Power Unit Interpretation subfield that is supported by the BSS, IBSS, or MBSS, respectively. Each VHT
     Transmit Power Envelope element shall include a local power constraint for all channel widths supported by
     the BSS.

     VHT STAs that have dot11RadioMeasurementActivated equal to true should be able to reduce their EIRP to
     0 dBm.
                                                                   AP for radio resource management, a typical low value
     for the local power constraint is 0 dBm. A STA that cannot reduce its transmit power to this level or below will not be
     able to associate to the AP.

     Change the last paragraph of 10.8.4 as follows:

     Where TPC is being used for radio measurement without spectrum management, the inclusion of a Power
     Constraint element and a VHT Transmit Power Envelope element in Beacon, DMG Beacon, Announce, and
     Probe Response frames shall be optional.

     10.9 DFS procedures

     10.9.3 Quieting channels for testing

     Change 10.9.3 as follows:

     A PCP/AP in a DMG BSS may measure one or more channels itself, or the PCP/AP may request associated
     non-PCP/non-AP STAs in the same BSS to measure one or more channels, either in a dedicated
     measurement interval or during normal operation. The PCP/AP in a DMG BSS may schedule a service
     period allocated to itself to quiet the associated STAs and use the self-allocated SP for measurement.

     An AP in a BSS or a mesh STA in an MBSS may schedule quiet intervals by transmitting one or more Quiet
     elements and/or one or more Quiet Channel elements with the AP Quiet Mode field equal to 1 in Beacon
     frames and Probe Response frames.

     A non-VHT AP shall not transmit a Quiet Channel element. An AP shall not transmit a Quiet Channel
     element with the AP Quiet Mode equal to 0 in frames that do not include at least one Quiet element. An AP
     shall not transmit more than one Quiet Channel element with the AP Quiet Mode equal to 0. An AP shall not
     transmit a Quiet Channel element if the BSS operating channel width is neither 160 MHz nor 80+80 MHz.

     The AP or mesh STA may stop scheduling quiet intervals or change the value of the Quiet Period field, the
     Quiet Duration field, and the Quiet Offset field in Quiet elements as required or Quiet Channel elements
     with the AP Quiet Mode field equal to 1. Only the most recently received Beacon frame or Probe Response
     frame defines all future quiet intervals; therefore, quiet intervals based on older Beacon frames or Probe
     Response frames shall be discarded.

     A STA in an IBSS may schedule quiet intervals only if it is the DFS owner. It shall In order to set a quiet
     interval schedule, the STA transmits by transmitting one or more Quiet elements or Quiet Channel elements
     with the AP Quiet Mode field equal to 1 in the first Beacon frame establishing the IBSS. All STAs in an
     IBSS shall continue these quiet interval schedules by including appropriate Quiet elements or Quiet Channel
     elements with the AP Quiet Mode field equal to 1 in any transmitted Beacon frames or Probe Response
     frames.



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     Multiple independent quiet intervals may be scheduled, so that not all quiet intervals have the same timing
     relationship to TBTT, by including multiple Quiet elements or Quiet Channel elements with the AP Quiet
     Mode field equal to 1 in Beacon frames or Probe Response frames.

     Control of the channel is lost at the start of a quiet interval, and the following quieting rules apply:
                                                   STAs in the BSS for the length of the quiet interval established
            by a Quiet element.
            The NAV set by all the VHT STAs in the BSS for the duration of the quiet interval established by a
            Quiet element if a Quiet Channel element was not sent or received with the Quiet element.
            A VHT STA in the BSS shall not transmit PPDUs that occupy the secondary 80 MHz channel or
            transmit PPDUs to the AP during the quiet interval established by a Quiet element if a Quiet Channel
            element with the AP Quiet Mode equal to 0 was sent or received with the Quiet element.
            A VHT STA shall not transmit PPDUs that occupy the secondary 80 MHz channel during the quiet
            interval established by a Quiet Channel element with the AP Quiet Mode field in the Quiet Channel
            element equal to 1.
                                             STA in the BSS of any MPDU and any associated acknowledgment
            of the BSS within either the primary channel or the secondary channel (if present) of the BSS shall
            be complete before the start of the quiet interval.
            Transmission by any VHT STA in the BSS of any MPDU and any associated acknowledgment of the
            BSS shall complete before the start of the quiet interval established by a Quiet element if a Quiet
            Channel element was not sent or received with the Quiet element.
            Transmission by any VHT STA in the BSS of any PPDUs that occupy the secondary 80 MHz
            channel or are directed to the AP, and any associated acknowledgment of the BSS, shall complete
            before the start of the quiet interval established by a Quiet element if a Quiet Channel element with
            the AP Quiet Mode equal to 0 was sent or received with the Quiet element.
            Transmission by any VHT STA in the BSS of any PPDUs that occupy the secondary 80 MHz
            channel and any associated acknowledgment of the BSS shall complete before the start of the quiet
            interval established by a Quiet Channel element with the AP Quiet Mode field in the Quiet Channel
            element equal to 1.

     If, before starting transmission of an MPDU, there is not enough time remaining to allow the transmission
     for an exchange to complete so that the first transmission in the exchange would be disallowed by the
     quieting rules before the quiet interval starts, then the STA shall defer the transmission by selecting a
     random backoff time, using the present CW (without advancing to the next value in the series). The short
     retry counter and long retry counter for the MSDU or A-MSDU are not affected.


     10.11 Radio measurement procedures

     10.11.9 Specific measurement usage

     10.11.9.1 Beacon Report

     Change the ninth paragraph of 10.11.9.1 as follows:

     On accepting an active or passive mode Beacon measurement request, a STA shall conduct measurements as
     follows:
                                       nd the Operating Class identifies the location of the primary channel,
            then a STA shall conduct iterative measurements on all supported channels in the specified
            Operating Class where measurement is permitted on the channel and the channel is valid for the
            current regulatory domain.




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            If the Channel Number is 0 and if the Operating Class encompasses a primary channel but does not
            identify the location of the primary channel, then a STA shall conduct iterative measurements on all
            primary channel positions within all requested and supported channels where the measurement is
            permitted on the channel and the channel is valid for the current regulatory domain.
                                             e Operating Class identifies the location of the primary channel, and
            the Beacon Request includes AP Channel Report subelements, then a STA shall conduct iterative
            measurements on all supported channels listed in the AP Channel Report subelements that are valid
            for the current regulatory domain. If there is no AP Channel Report subelement included in the
            Beacon Report request, a STA shall conduct iterative measurements on all supported channels listed
            in the latest AP Channel Report received from the serving AP that are valid for the current regulatory
            domain. If there are no AP Channel Report subelements included in the Beacon Request, and no AP
            Channel Report included in last received AP Beacon frame, the STA shall reject the Beacon Report
            request.
            If the Channel Number is 255, the Operating Class encompasses a primary channel but does not
            identify the location of the primary channel, and the Beacon Request includes AP Channel Report
            subelements, then a STA shall conduct iterative measurements on all primary channel positions
            within all requested (in the AP Channel Report) and supported channels that are valid for the current
            regulatory domain. If there are no AP Channel Report subelements included in the Beacon Request,
            the STA shall reject the Beacon Report request.

            measurements on the requested channel that Channel Number, where the measurement is permitted
            on the channel and the channel is valid for the current regulatory domain.

     Insert the following paragraphs at the end of 10.11.9.1:

     A non-VHT STA shall not include a Wide Bandwidth Channel Switch subelement in the Beacon Request. A
     VHT STA shall not include a Wide Bandwidth Channel Switch subelement in the Beacon Request or
     Beacon Report sent to a non-VHT STA. If the Wide Bandwidth Channel Switch subelement is included in a
     Beacon Request, then the Operating Class shall indicate a 40 MHz channel spacing.

     If N (where N 1) AP Channel Report subelements containing an Operating Class with an 80+ Behavior
     Limit (as defined in Annex E) are included contiguously in a Beacon Request, then the N subelements shall
     be followed by one AP Channel Report subelement containing an Operating Class without an 80+ Behavior
     Limit (as defined in Annex E). All N+1 Channel List fields in each of these subelements shall contain the
     same number L of channel numbers. This sequence of N+1 AP Channel Report subelements indicates a list
     of L noncontiguous channels comprising N+1 frequency segments, where the lth channel number in the nth
     Channel List field identifies the channel center frequency of the nth frequency segment.

     10.11.9.3 Channel Load Report

     Change 10.11.9.3 as follows:

     If dot11RMChannelLoadMeasurementActivated is true and a station accepts a Channel Load Request, it
     shall respond with a Radio Measurement Report frame containing one Measurement (Channel Load) Report
     element. The Channel Load field is defined as the percentage of time, linearly scaled with 255 representing
     100%, that the STA sensed the medium was busy, as indicated by either the physical or virtual carrier sense
     mechanism or the physical carrier sense mechanism over the requested channel width (together referred to
     as the CS mechanism)mechanism. This percentage is computed using the following formula:
       Channel Load = Integer((channel busy time/(MeasurementDuration         1024))    255)

     where channel busy time is defined to be the number of microseconds during which the CS mechanism, as
     defined in 9.3.2.1, has indicated a channel busy indication for the requested channel width.




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     If dot11RMChannelLoadMeasurementActivated is false, a station shall reject the received Channel Load
     Request and shall respond with a Channel Load Report with the Incapable bit in the Measurement Report
     Mode field set to 1.

     If dot11RMChannelLoadMeasurementActivated is true and if a Channel Load Reporting Information
     subelement is included in a Channel Load Request, the STA shall respond with a Channel Load Report if the
     indicated Channel Load Reporting Condition is true. Otherwise, the STA shall not respond with a Channel
     Load Report.

     A non-VHT STA shall not include a Wide Bandwidth Channel Switch subelement in the Channel Load
     Request. A VHT STA shall not include a Wide Bandwidth Channel Switch subelement in the Channel Load
     Request sent to a non-VHT STA. If the Wide Bandwidth Channel Switch subelement is included in a
     Channel Load Request or a Channel Load Report, then the Operating Class shall indicate a 40 MHz channel
     spacing.

     10.11.9.4 Noise Histogram Report

     Change the second paragraph of 10.11.9.4 as follows:

     To compute the IPI densities, the STA shall measure the IPI in the specified channel at the specified channel
     width as a function of time over the measurement duration when NAV is equal to 0 (when virtual CS
     mechanism indicates idle channel) except during frame transmission or reception. The time resolution of the
     IPI measurements shall be in microseconds. The IPI densities are then computed for each of the nine
     possible IPI values using:

     Insert the following paragraph at the end of 10.11.9.4:

     A non-VHT STA shall not include a Wide Bandwidth Channel Switch subelement in the Noise Histogram
     Request. A VHT STA shall not include a Wide Bandwidth Channel Switch subelement in the Noise
     Histogram Request sent to a non-VHT STA. If the Wide Bandwidth Channel Switch subelement is included
     in a Noise Histogram Request or a Noise Histogram Report, then the Operating Class shall indicate a
     40 MHz channel spacing.

     10.11.18 AP Channel Report

     Change the first paragraph of 10.11.18 as follows:

     The AP Channel Report element contains a list of channels in an operating class where a STA is likely to
     find receive the Beacon or Probe Response frames sent by an AP, excluding the AP transmitting the AP
     Channel Report. An AP Channel Report element only includes channels that are valid for the regulatory
     domain in which the AP transmitting the element is operating and consistent with the Country element in the
     frame in which it appears. One AP Channel Report element is included in the Beacon frame for each
     regulatory domain, which includes channels on which a STA is likely to find receive the Beacon or Probe
     Response frames sent by an AP.


     10.15 20/40 MHz BSS operation

     10.15.2 Basic 20/40 MHz BSS functionality

     Change the last paragraph of 10.15.2 as follows:

     An HT STA that is a member of an IBSS adopts the value of the Secondary Channel Offset field in received
     frames according to the rules in 10.1.5 and shall not transmit either of the following:



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             A value for the Secondary Channel Offset field that differs from the most recently adopted value.
            An operating class in the Extended Channel Switch Announcement frame or element
            with a different behavior than the currently adopted PrimaryChannelLowerBehavior or
            PrimaryChannelUpperBehavior

     10.15.8 Support for DSSS/CCK in 40 MHz

     Change 10.15.8 as follows:

     Transmission and reception of PPDUs using DSSS/CCK by FC HT STAs is managed using the DSSS/CCK
     Mode in 40 MHz subfield of the HT Capabilities Info field in the HT Capabilities element (see 8.4.2.58.2).

     An HT STA declares its capability to use DSSS/CCK rates while it has a 40 MHz operating channel width
     through the DSSS/CCK Mode in 40 MHz subfield of its (Re)Association Request frames.

     If the DSSS/CCK Mode in 40 MHz subfield is equal to 1 in Beacon and Probe Response frames, an
     associated HT STA in a 20/40 MHz BSS may generate DSSS/CCK transmissions. If the subfield is equal to
     0, then the following apply:
                                             nerate DSSS/CCK transmissions.
                                                     in its Beacon and Probe Response frames.


                                                          a STA that includes only DSSS/CCK rates in its
            Supported Rates and Extended Supported Rates elements.

     A STA not operating in the 2.4 GHz band shall set the DSSS/CCK Mode in 40 MHz subfield to 0.

     10.15.9 STA CCA sensing in a 20/40 MHz BSS

     Insert the following paragraph at the beginning of 10.15.9:

     This subclause defines CCA sensing rules for an HT STA that is not a VHT STA. For rules related to a VHT
     STA, see 9.3.2.5a, 9.19.2.4, and 9.19.2.8.

     10.15.12 Switching between 40 MHz and 20 MHz

     Insert the following paragraph at the end of 10.15.12:

     A VHT STA is not required to perform any of the behavior described in this subclause associated with
     Information Request and 20 MHz BSS Width Request.


     10.16 Phased coexistence operation (PCO)

     10.16.1 General description of PCO

     Insert the following paragraph at the end of 10.16.1:

     A VHT STA shall not transmit VHT PPDUs during a PCO 40 MHz phase.




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     10.17 20/40 BSS Coexistence Management frame usage

     Change the last paragraph of 10.17 as follows:

     A non-VHT STA that receives a 20/40 BSS Coexistence element with the Information Request field equal to
     1, a value for the Address 1 field that matches the receiving STA using an individual address, and a
     nonwildcard BSSID fiel
     BSS Coexistence Management frame with the transmitting STA as the recipient.


     10.22 Tunneled direct link setup

     10.22.1 General

     Change the seventh paragraph of 10.22.1, and insert the subsequent paragraphs as follows:

     Features that are not supported by the BSS but that are supported by both TDLS peer STAs may be used on
     a TDLS direct link between those STAs, except PCO. An example is the use of an HT MCS on a TDLS
     direct link between HT STAs when these STAs are associated with a non-HT BSS. Features that are
     supported by the BSS shall follow the BSS rules when they are used on a TDLS direct link on the base
     channel. The channel width of the TDLS direct link on the base channel shall not exceed the channel width
     of the BSS to which the TDLS peer STAs are associated, except when the TDLS Wider Bandwidth subfield
     in the Extended Capabilities element of the TDLS Setup Request frame or the TDLS Setup Response frame
     is 1 for both TDLS peer STAs. A TDLS direct link on the base channel shall not have a wider bandwidth
     than the BSS bandwidth if either of the STAs indicate that they are incapable of supporting wider bandwidth
     operation on the base channel.

     A VHT STA with a TDLS link that is not an off-channel direct link shall use as its primary channel the
     channel indicated by the Primary Channel field in the HT Operation element. The channel width of a VHT
     TDLS link shall not be wider than the maximum channel width supported by either the TDLS initiator STA
     or the TDLS responder STA.

     A 160 MHz bandwidth is defined to be identical to an 80+80 MHz bandwidth (i.e., one bandwidth is not
     wider than the other).

     A STA shall not participate in a TDLS direct link with the same primary 80 MHz channel as the
     infrastructure BSS or another TDLS direct link of the STA but with a different secondary 80 MHz channel.

     Insert the following paragraph at the end of 10.22.1:

     The VHT Operation element shall be present in a TDLS Setup Confirm frame when both STAs are VHT
     capable and the TDLS direct link is not established in 2.4 GHz band. When TDLS Setup Confirm frame
     includes a VHT Operation element, the Basic VHT-MCS and NSS Set is reserved.




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     10.22.6 TDLS channel switching

     10.22.6.3 TDLS channel switching and power saving

     Insert the following subclauses, 10.22.6.4 to 10.22.6.4.5, after 10.22.6.3:

     10.22.6.4 Setting up a wide bandwidth off-channel direct link

     10.22.6.4.1 General

     A wideband TDLS off-channel TDLS direct link is a 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz off-
     channel TDLS direct link.

     A wideband off-channel TDLS direct link may be started if both TDLS peer STAs indicated wideband
     support in the Supported Channel Width Set subfield of the VHT Capabilities element VHT Capabilities
     Info field included in the TDLS Setup Request frame or the TDLS Setup Response frame.

     Switching to a wideband off-channel direct link is achieved by including any of the following information in
     the TDLS Channel Switch Request frame:
                                          ndicating 40 MHz Channel Spacing
                                          element indicating SCA or SCB

            width

     The operating class in TDLS Channel Switch Request frame shall have a value representing 5 GHz for the
     channel starting frequency.

     A TDLS peer VHT STA that announces new TPC parameters that come into effect at the same time as the
     switch to an off-channel direct link, shall include at least one VHT Transmit Power Envelope element in the
     transmitted the TDLS Channel Switch Request frame. The recipient TDLS peer VHT STA that has
     dot11SpectrumManagementRequired or dot11RadioMeasurementActivated equal to true shall use the
     parameters in these received element(s) in the recipient STA's TPC calculations for the off-channel direct
     link.

     When announcing new operating classes or both a new operating class table index and new operating classes
     that come into effect at the same time as the switch to the direct link and that express new regulatory
     requirements, the TDLS peer VHT STA initiating the switch shall include a Country element in a
     transmitted TDLS Channel Switch Request frame. The Country element shall contain all the Operating
     Classes for the off-channel direct link in Operating Triplet fields and zero Subband Triplet fields. The
     Country element shall include one Operating Triplet field that contains the same Operating Class as the
     Operating Class field in the same frame. The country indicated by the Country string in the TDLS Channel
     Switch Request frame shall be equal to the country indicated by the Country string of the BSS. The recipient
     TDLS         peer       VHT         STA        that       has       dot11MultiDomainCapabilityActivated,
     dot11SpectrumManagementRequired, or dot11RadioMeasurementActivated equal to true shall use the
     parameters in the received Country element in the TDLS Channel Switch Request frame in order to maintain
     regulatory compliance.

     The TDLS peer STA initiating the switch to the wideband off-channel shall be the DO STA on that channel.




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     10.22.6.4.2 Basic wideband functionality

     TDLS peer STAs may transmit up to 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz PPDUs on a 40 MHz,
     80 MHz, 160 MHz, or 80+80 MHz direct link, respectively. A TDLS peer STA shall not transmit a 20 MHz
     PPDU in the non-primary channel of its 80 MHz, 160 MHz, or 80+80 MHz direct link.

     A TDLS peer STA shall not transmit a 40 MHz PPDU that does not use the primary 40 MHz channel of its
     80 MHz, 160 MHz, or 80+80 MHz direct link. A TDLS peer STA shall not transmit an 80 MHz PPDU that
     does not use the primary 80 MHz channel of its 160 MHz or 80+80 MHz direct link.

     10.22.6.4.3 Channel selection for a wideband off-channel direct link

     If a TDLS peer STA chooses to start a wideband direct link, the TDLS peer STA shall follow the primary
     channel selection rules defined in 10.39.2 and 10.23.14 and the secondary 80 MHz channel rule defined in
     10.22.1.

     10.22.6.4.4 Switching from a wideband to a 20 MHz direct link

     Switching from a wideband off-channel direct link to a 20 MHz off-channel direct link is established
     through a TDLS channel switch. A STA operating on a wideband off-channel direct link shall accept a
     requested switch to a 20 MHz direct link.

     10.22.6.4.5 CCA sensing and NAV assertion in a 20 MHz, 40 MHz, 80 MHz, 160 MHz, or
     80+80 MHz direct link

     TDLS peer VHT STAs shall follow the CCA rules defined in 9.3.2.5a, 9.19.2.4, and 9.19.2.8 and the NAV
     rules defined in 10.39.5.


     10.25 Quality-of-Service management frame (QMF)

     10.25.1 General

     10.25.1.2 Default QMF policy

     Insert the following row into Table 10-12 in numeric order by category value:




                                      Management Frame
                                                            Category value                  QMF access
              Description             Subtype value from                     Action class
                                                           from Table 8-38                   category
                                          Table 8-1




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     Insert the following subclauses, 10.39 to 10.41 (including Table 10-19), after 10.38:


     10.39 VHT BSS operation

     10.39.1 Basic VHT BSS functionality

     A VHT STA has dot11VHTOptionImplemented equal to true.

     A STA that is starting a VHT BSS shall be able to receive and transmit at each of the <VHT-MCS, NSS>
     tuple values indicated by the Basic VHT-MCS and NSS Set field of the VHT Operation parameter of the
     MLME-START.request primitive and shall be able to receive at each of the <VHT-MCS, NSS> tuple values
     indicated by the Supported VHT-MCS and NSS Set field of the VHT Capabilities parameter of the MLME-
     START.request primitive.

     A STA for which dot11VHTOptionImplemented is true shall set dot11HighThroughputOptionImplemented
     to true.

     A STA that is a VHT AP or a VHT mesh STA declares its channel width capability in the Supported
     Channel Width Set subfield of the VHT Capabilities element VHT Capabilities Info field as described in
     Table 8-183v.

     A VHT STA shall set the Supported Channel Width Set subfield in its HT Capabilities element HT
     Capabilities Info field to 1, indicating that both 20 MHz operation and 40 MHz operation are supported.

     At a minimum, a VHT STA sets the Rx MCS Bitmask of the Supported MCS Set field of its HT Capabilities
     element according to the setting of the Rx VHT-MCS Map subfield of the Supported VHT-MCS and NSS
     Set field of its VHT Capabilities element as follows: for each subfield Max VHT-MCS For n SS, 1 n 4 ,
     of the Rx VHT-MCS Map field with a value other than 3 (no support for that number of spatial streams), the
     STA shall indicate support for MCSs 8( 1) to 8( 1)+7 in the Rx MCS Bitmask, where n is the number of
     spatial streams, except for those MCSs marked as unsupported as described in 9.7.11.3.

     A STA that is a VHT AP or a VHT mesh STA shall set the STA Channel Width subfield in the HT
     Operation element HT Operation Information field and the Channel Width subfield in the VHT Operation
     element VHT Operation Information field to indicate the BSS operating channel width as defined in
     Table 10-19.




                    HT Operation element
                                              VHT Operation element       BSS operating channel
                     STA Channel Width
                                               Channel Width field               width
                           field

                               0                         0                       20 MHz
                               1                         0                       40 MHz

                               1                         1                       80 MHz
                               1                         2                       160 MHz

                               1                         3                     80+80 MHz




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     A VHT STA shall determine the channelization using the combination of the information in the HT
     Operation element Primary Channel field and the VHT Operation element VHT Operation Information field
     Channel Center Frequency Segment 0 and Channel Center Frequency Segment 1 subfields (see 22.3.14).

     A VHT AP or a VHT mesh STA shall set the HT Operation element HT Operation Information field
     Secondary Channel Offset subfield to indicate the secondary 20 MHz channel as defined in Table 8-130, if
     the BSS operating channel width is more than 20 MHz.

     A VHT STA that is a member of a VHT BSS shall not transmit a 20 MHz VHT PPDU on a channel other
     than the primary 20 MHz channel of the BSS, except for a 20 MHz VHT PPDU transmission on an off-
     channel TDLS direct link as constrained by 10.22.6.4.2.

     A VHT STA that is a member of a VHT BSS with a 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz operating
     channel width shall not transmit a 40 MHz VHT PPDU that does not use the primary 40 MHz channel of the
     BSS, except for a 40 MHz VHT PPDU transmission on an off-channel TDLS direct link.

     A VHT STA that is a member of a VHT BSS with an 80 MHz, 160 MHz, or 80+80 MHz operating channel
     width shall not transmit an 80 MHz VHT PPDU that does not use the primary 80 MHz channel of the BSS,
     except for an 80 MHz VHT PPDU transmission on an off-channel TDLS direct link.

     A VHT STA that is a member of a VHT BSS with a 160 MHz or 80+80 MHz operating channel width shall
     not transmit a 160 MHz or 80+80 MHz VHT PPDU that does not use the primary 80 MHz channel and the
     secondary 80 MHz channel of the BSS, except for a 160 MHz or 80+80 MHz VHT PPDU transmission on
     an off-channel TDLS direct link.

     A VHT STA shall not transmit to a second VHT STA using a bandwidth that is not indicated as supported in
     the Supported Channel Width Set subfield in the HT Capabilities element or VHT Capabilities element
     received from that VHT STA.

     A VHT AP shall set the RIFS Mode field in the HT Operation element to 0.

     10.39.2 Channel selection methods for a VHT BSS

     Before a STA starts a VHT BSS, the STA shall perform a minimum of dot11VHTOBSSScanCount OBSS
     scan operations to search for existing BSSs (see 10.39.3).

     If an AP or a mesh STA starts a VHT BSS that occupies some or all channels of any existing BSSs, the AP
     or mesh STA may select a primary channel of the new VHT BSS that is identical to the primary channel of
     any one of the existing BSSs.

     If an AP or a mesh STA selects a primary channel for a new VHT BSS with a 40 MHz, 80 MHz, 160 MHz,
     or 80+80 MHz operating channel width from among the channels on which no beacons are detected during
     the OBSS scans, then the selected primary channel meets the following conditions:
                                                     MHz channel of any existing BSSs with a 40 MHz,
            80 MHz, 160 MHz, or 80+80 MHz operating channel width.

            80+80 MHz operating channel width.

     A STA that is an AP or mesh STA should not start a VHT BSS with a 20 MHz operating channel width on a
     channel that is the secondary 20 MHz channel of any existing BSSs with a 40 MHz, 80 MHz, 160 MHz, or
     80+80 MHz operating channel width, or is overlapped with the secondary 40 MHz channel of any existing
     BSSs with a 160 MHz or 80+80 MHz operating channel width.




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                                                                a 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz operating
     channel width, on detecting
     might switch to 20 MHz BSS operation and/or move to a different channel.

     10.39.3 Scanning requirements for VHT STA

     An OBSS scan operation is a passive or active scan of a set of channels that are potentially affected by VHT
     BSS operation (see 10.1.4.1). Each channel in the set may be scanned more than once during a single OBSS
     scan operation. OBSS scans are performed by STAs that start a VHT BSS.

     During an individual scan within an OBSS scan operation, the minimum per-channel scan duration is
     dot11OBSSScanPassiveDwell TUs (for a passive scan) or dot11OBSSScanActiveDwell TUs (for an active
     scan). During an OBSS scan operation, each channel in the set is scanned at least once per
     dot11BSSWidthTriggerScanInterval seconds, and the minimum total scan time (i.e., the sum of the scan
     durations) per channel within a single OBSS scan operation is dot11OBSSScanPassiveTotalPerChannel
     TUs (for a passive scan) or dot11OBSSScanActiveTotalPerChannel TUs (for an active scan).

                                                             are minimum requirements. For some combinations of
     parameter values the minimum might be exceeded for some parameters in order to meet the minimum value constraints
     of other parameters.

     10.39.4 Channel switching methods for a VHT BSS

     A VHT AP announces a switch of operating channel by either of the following:
                                                                    Channel Switch Announcement frame, or both,
            following the procedure described in 10.9.8.2

            Announcement frame, or both, following the procedure described in 10.10

     A VHT mesh STA announces a switch attempt of operating channel by either of the following:
                                                                    Channel Switch Announcement frame, or both,
            following the procedure described in 10.9.8.4

            Announcement frame, or both, following the procedure described in 10.10

     A VHT AP or a VHT mesh STA may also announce a switch of operating channel width, a new Country
     String field (possibly including a new Operating Class table number), new operating classes, or new TPC
     parameters for the BSS that come into effect at the same time as the switch of operating channel.

                                             ng channel width are described in 10.41.

     The New Channel Number field in the Channel Switch Announcement element, Extended Channel Switch
     Announcement element, Channel Switch Announcement frame, or Extended Channel Switch
     Announcement frame identifies the primary 20 MHz channel after the switch. The value of the New
     Channel Number field is set to the value that dot11CurrentPrimaryChannel (see 22.3.14) will have after the
     switch.

     If a Channel Switch Announcement frame is used to announce a switch to a 20 MHz operating channel
     width, then neither a Wide Bandwidth Channel Switch element nor a Secondary Channel Offset element
     shall be present in the frame, except that a Secondary Channel Offset element may be present in a Channel
     Switch Announcement frame if the Secondary Channel Offset field within the Secondary Channel Offset
     element is set to SCN.




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     If a Channel Switch Announcement element in a Beacon frame or Probe Response frame is used to
     announce a switch to a 20 MHz operating channel width, then a Wide Bandwidth Channel Switch
     subelement in a Channel Switch Wrapper element shall not be present in the same frame.

     If an Extended Channel Switch Announcement element in a frame or an Extended Channel Switch
     Announcement frame is used to announce a switch to a 20 MHz operating channel width, then neither a
     Wide Bandwidth Channel Switch element nor a Wide Bandwidth Channel Switch subelement shall be
     present in the same frame.

                                               ent is never present with the Extended Channel Switch Announcement
     element in a frame or in the Extended Channel Switch Announcement frame. Instead, the indicated operating class
     within the Extended Channel Switch Announcement element or frame is used to differentiate between a BSS operating
     channel width of 20 MHz and a BSS operating channel width greater than 20 MHz as well as indicate the location of the
     secondary 20 MHz channel. When switching to a 20 MHz operating channel width, the operating class indicated within
     the Extended Channel Switch Announcement element or frame has a channel spacing of 20 MHz. When switching to an
     operating channel width greater than 20 MHz, the operating class indicated within the Extended Channel Switch
     Announcement element or frame has a channel spacing of 40 MHz.

     If a Channel Switch Announcement frame is used to announce a switch to a 40 MHz operating channel
     width, then the following apply:
                                                    ent shall be present in the frame.


     If a Channel Switch Announcement element is used in a Beacon or Probe Response frame to announce a
     switch to a 40 MHz operating channel width, then the Wide Bandwidth Channel Switch subelement in the
     Channel Switch Wrapper element shall also be present in the same frame.

     If an Extended Channel Switch Announcement element is used in a Beacon or Probe Response frame to
     announce a switch to a 40 MHz operating channel width, then the Wide Bandwidth Channel Switch
     subelement in the Channel Switch Wrapper element may be present in the same frame.

                                                ithin the Extended Channel Switch Announcement element identifies the
     bandwidth and the relative position of the primary 20 MHz and secondary 20 MHz channels. Hence a Wide Bandwidth
     Channel Switch subelement is unnecessary when the Extended Channel Switch Announcement element is used for a
     channel switch to a 40 MHz bandwidth.

     If a Channel Switch Announcement frame is used to announce a switch to an 80 MHz, 80+80 MHz, or
     160 MHz operating channel width, then both the Secondary Channel Offset element and the Wide
     Bandwidth Channel Switch element shall be present in the frame.

     If a Channel Switch Announcement element or an Extended Channel Switch Announcement element is used
     in a frame to announce a switch to an 80 MHz, 80+80 MHz, or 160 MHz operating channel width, then a
     Wide Bandwidth Channel Switch subelement in the Channel Switch Wrapper element shall be present in the
     same frame.

     If an Extended Channel Switch Announcement frame is used to announce a switch to an 80 MHz,
     80+80 MHz, or 160 MHz operating channel width, then the Wide Bandwidth Channel Switch element shall
     be present in the frame.

     If an Extended Channel Switch Announcement element or Extended Channel Switch Announcement frame
     is used to announce a switch to an 80 MHz, 80+80 MHz, or 160 MHz BSS operating channel width, then
                                                            identifies the primary 40 MHz channel, and

             indicate all the operating classes for the switched BSS.




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     If new BSS TPC parameters are announced that come into effect at the same time as the channel switch, then
     a STA that is a VHT AP, a VHT STA in an IBSS, or a VHT mesh STA in an MBSS shall include
                                                           pe element in a transmitted Channel Switch
             Announcement frame or Extended Channel Switch Announcement frame and

             element in Beacon and Probe Response frames.

     A recipient VHT STA in the BSS STA that has dot11SpectrumManagementRequired or
     dot11RadioMeasurementActivated equal to true and that maintains association with the BSS after the switch
     shall use the parameters in these received elements and subelements in the reci
     for the new operating channel and operating channel width (see 10.8). If both New VHT Transmit Power
     Envelope elements and New VHT Transmit Power Envelope subelements are transmitted for the switch, the
     set of New VHT Transmit Power Envelope elements and set of subelements shall contain the same set of
     values for the Local Maximum Transmit Power Unit Interpretation subfield, and New VHT Transmit Power
     Envelope elements and subelements that have the same value for the Local Maximum Transmit Power Unit
     Interpretation subfield shall also have the same values for their other fields.

     If a new country string, new operating classes or both, are coming into effect at the same time as the channel
     switch, then a STA that is a VHT AP, a VHT STA in an IBSS, or a VHT mesh STA in an MBSS shall
     include
                                                              nded Channel Switch Announcement frame and
                                                  ansmitted Channel Wrapper element.

     The New Country element or subelement shall contain all the Operating Classes for the BSS after the
     switch. The New Country element or subelement, transmitted in an Extended Channel Switch
     Announcement frame or in the same frame as an Extended Channel Switch Announcement element,
     respectively, shall include one Operating Triplet field that contains the same Operating Class as the New
     Operating Class field in the Extended Channel Switch Announcement frame or Extended Channel Switch
     Announcement         element.   A   recipient    VHT       STA      in    the  BSS     STA      that   has
     dot11MultiDomainCapabilityActivated,                  dot11SpectrumManagementRequired,                  or
     dot11RadioMeasurementActivated equal to true and that maintains association with the BSS after the switch
     shall use the parameters in these received elements and subelements in order to maintain regulatory
     compliance. If both New Country elements and New Country subelements are transmitted for the switch,
     their fields shall be the same.

     A Channel Switch Wrapper element shall not be included in Beacons and Probe Responses if the element
     contains zero subelements.

                                                    ned to carry subelements in the case of a switch to 20 MHz and when no
     change to the country string, operating classes or TPC parameters are announced.

     A VHT STA uses the VHT Transmit Power Envelope element only for TPC of 80 MHz, 160 MHz, and
     80+80 MHz transmissions. In the Country element, a VHT STA shall include zero Subband Triplet fields in
     a Operating/Subband Sequence field that contains an Operating Class field for


     An AP that switches the BSS to a lower operating channel width may recalculate the TS bandwidth budget
     and may delete one or more active TSs by invoking the MLME-DELTS.request primitive with a
     ReasonCode value of SERVICE_CHANGE_PRECLUDES_TS.

     A VHT STA that is a member of an IBSS shall not transmit values in the Wide Bandwidth Channel Switch
     element that change the frequency ordering of the primary 40 MHz channel and the secondary 40 MHz
     channel from the ordering of the most recently adopted operating channel, if the operating channel includes



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     a secondary 40 MHz channel. A VHT STA that is a member of an IBSS shall not transmit values in the
     Wide Bandwidth Channel Switch element that change the frequency ordering of the primary 80 MHz
     channel and the secondary 80 MHz channel from the ordering of the most recently adopted operating
     channel, if the operating channel includes a secondary 80 MHz channel.

     10.39.5 NAV assertion in a VHT BSS

     A VHT STA shall update its NAV as described in 9.3.2.4 using the Duration/ID field value in any frame that
     does not have an RA matching the                                      eceived in a 20 MHz PPDU in the
     primary 20 MHz channel or received in a 40 MHz PPDU in the primary 40 MHz channel or received in an
     80 MHz PPDU in the primary 80 MHz channel or received in a 160 MHz or 80+80 MHz PPDU.

                                                  PPDU as described in 22.3.21 or not receive a PPDU due to TXOP power
     saving described in 10.2.1.19. If so, frames in the PPDU are not received by the MAC and have no effect on the NAV.

     10.39.6 VHT STA antenna indication

     A VHT STA that does not change its Rx antenna pattern after association shall set the Rx Antenna Pattern
     Consistency subfield in the VHT Capabilities Info field to 1; otherwise, the STA shall set the Rx Antenna
     Pattern Consistency subfield in the VHT Capabilities Info field to 0.

     A VHT STA that does not change its Tx antenna pattern after association shall set the Tx Antenna Pattern
     Consistency subfield in the VHT Capabilities Info field to 1; otherwise, the STA shall set the Tx Antenna
     Pattern Consistency subfield in the VHT Capabilities Info field to 0.

     10.39.7 BSS basic VHT-MCS and NSS set operation

     The BSS basic VHT-MCS and NSS set is the set of <VHT-MCS, NSS> tuples that are supported by all VHT
     STAs that are members of a VHT BSS. It is established by the STA that starts the VHT BSS, indicated by
     the Basic VHT-MCS and NSS Set field of the VHT Operation element in the MLME-START.request
     primitive. Other VHT STAs determine the BSS basic VHT-MCS and NSS set from the Basic VHT-MCS
     and NSS Set field of the VHT Operation element in the BSSDescription derived through the scan
     mechanism (see 10.1.4.1).

     A VHT STA shall not attempt to join (MLME-JOIN.request) a BSS unless it supports (i.e., is able to both
     transmit and receive using) all the <VHT-MCS, NSS> tuples in the BSS basic VHT-MCS and NSS set.

     A VHT STA shall not attempt to (re)associate (MLME-ASSOCIATE.request and MLME-
     REASSOCIATE.request) with a VHT AP unless the STA supports (i.e., is able to both transmit and receive
     using) all the <VHT-MCS, NSS> tuples in the Basic VHT-MCS and NSS Set field in the VHT Operation
     element transmitted by the AP.


     10.40 Group ID management operation

     An AP determines the possible combinations of STAs that can be addressed by a VHT MU PPDU by
     assigning STAs to groups and to specific user positions within those groups.

     Assignments or changes of user positions corresponding to one or more Group IDs shall be performed using
     a Group ID Management frame defined in 8.5.23.3.

     A STA may be assigned to multiple groups by setting multiple subfields of the Membership Status Array
     field (see 8.4.1.51) to 1 in the Group ID Management frame addressed to that STA.




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                                    group of which the STA is a member is indicated by the associated subfield in
     the User Position Array field (see 8.4.1.52) in the Group ID Management frame addressed to the STA. For
     each Group ID, an AP may assign the same user position to multiple STAs. A STA shall have only one user
     position in each group of which the STA is a member.

     An AP may transmit a Group ID Management frame only if dot11VHTOptionImplemented is true. A Group
     ID Management frame shall not be sent to a VHT STA that does not have the MU Beamformee Capable
     field in the VHT Capabilities element equal to 1.

     A Group ID Management frame shall be sent as an individually addressed frame.

                                                           frame with a RA matching its MAC address shall
     issue a PHYCONFIG_VECTOR primitive with the GROUP_ID_MANAGEMENT parameter based on the
     content of the received Group ID Management frame in order to configure the following lookup tables in the
     PHY:
       a)    group ID to Membership Status, denoted by MembershipStatusInGroupID[g] for 1                g   62
       b)    group ID to User Position, denoted by UserPositionInGroupID[g] for 1           g   62

     Group ID values of 0 and 63 are used for SU PPDU and the PHY filtering of such PPDUs is controlled by
     the PHYCONFIG_VECTOR primitive LISTEN_TO_GID00 and LISTEN_TO_GID63 parameters. The
     User Position in Group ID information is interpreted by a STA receiving a VHT MU PPDU as explained in
     22.3.11.4.

     Transmission of a Group ID Management frame to a STA and any associated acknowledgment from the
     STA shall complete before the transmission of a VHT MU PPDU to the STA.

     A VHT MU PPDU shall be transmitted to a STA based on the content of the Group ID Management frame
     most recently transmitted to the STA and for which an acknowledgment was received.


     10.41 Notification of operating mode changes

     A STA whose dot11OperatingModeNotificationImplemented is true shall set the Operating Mode
     Notification field in the Extended Capabilities element to 1. A VHT STA shall set
     dot11OperatingModeNotificationImplemented to true. A STA that has the value true for
     dot11OperatingModeNotificationImplemented is referred to as operating mode notification capable.

     A STA that is operating mode notification capable and that transmits an Association Request, Reassociation
     Request, TDLS Setup Response, TDLS Setup Confirm, Mesh Peering Open, or Mesh Peering Confirm
     frame to a STA that is operating mode notification capable should notify the recipient STA of a change in its
     operating mode by including the Operating Mode Notification element in the frame.

     A first STA that is operating mode notification capable should notify a second STA that is operating mode
     notification cable of a change in its operating mode by transmitting an Operating Mode Notification frame to
     the second STA if the first STA has established any of the following with a second STA:




                                                                   to signal STA operating channel width changes to and
     from STAs that are not operating mode notification capable.




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     The Operating Mode field in the Operating Mode Notification frame or the Operating Mode Notification
     element is set to indicate that the transmitting STA is capable of receiving frames with a bandwidth up to
     and including the indicated channel width and with a number of spatial streams up to and including the value
     indicated by the Rx NSS subfield.

     The notification of a change in supported spatial streams should occur prior to a decrease in the maximum
     number of spatial streams and following an increase in the maximum number of spatial streams.

     The notification of a change in operating bandwidth should occur prior to a decrease in the operating
     channel width and following an increase in the operating channel width.

     A STA shall not transmit an individually addressed frame that contains the Operating Mode field unless the
     recipient is operating mode notification capable.

     An AP should notify associated STAs of a change in the maximum number of spatial streams it is able to
     receive through one or more of the following mechanisms:


                                                                 t in Beacon frames for a period of time that
            ensures that STAs in PS mode will receive the notification

            notification capable

     The notification should occur prior to a decrease in the maximum number of spatial streams and following
     an increase in the maximum number of spatial streams.


     HT STAs that are not operating mode notification capable would use the SM power save mechanism to notify the STAs
     that the AP is operating with a single receive chain.

     An AP should notify associated STAs of a change in its operating channel width through one or more of the
     following mechanisms:
                                              ncement element, Channel Switch Announcement frame or both
            following the procedure defined in 10.9.8.2

            Announcement frame or both, following the procedure described in 10.10
                                                                   tification frames and/or Notify Channel Width
            frames
                                                                   ation element and/or Channel Width field in the
            VHT Operation element

     The notification should occur prior to a decrease in the operating channel width and following an increase in
     the operating channel width.

     A VHT AP that has at least one VHT STA associated and that indicates a channel width change using
     management action frame(s) shall transmit Operating Mode Notification frame(s) to signal the channel
     width change. A VHT AP that has at least one non-VHT HT STA associated and that indicates a channel
     width change using management action frame(s) shall transmit Notify Channel Width frame(s) to signal the
     channel width change.

     A VHT STA shall not transmit an individually addressed Notify Channel Width frame to a VHT STA.




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     A VHT STA associated with a VHT AP shall ignore Notify Channel Width frames received from the VHT
     AP.

     An HT AP that is not a VHT AP that changes its operating channel width shall indicate the new operating
     channel width in the STA Channel Width field in the HT Operation element. A VHT AP that changes its
     operating channel width shall indicate the new operating channel width in the Channel Width field in the
     VHT Operation element and STA Channel Width field in the HT Operation element (see Table 10-19).

     An AP shall not include the Operating Mode Notification element in Beacon, Probe Response, Association
     Response, and Reassociation Response frames when not changing the maximum number of spatial streams
     the AP is able to receive.

     A STA shall not transmit an Operating Mode field with the value of the Rx NSS subfield indicating a
     number of spatial streams not supported by the recipient STA. The number of spatial streams supported by
     the recipient STA is reported in the Supported Rates element, Extended Supported Rates element, Supported
     MCS Set, or Supported VHT-MCS and NSS Set field transmitted in management frames by the recipient
     STA.

     A STA shall not transmit an Operating Mode field with the value of the Channel Width subfield indicating a
     bandwidth not supported by the STA, as reported in the Supported Channel Width Set subfield in the HT
     Capabilities Info field or the VHT Capabilities Info field in management frames transmitted by the STA.

     A STA that is operating mode notification capable shall not transmit a PPDU to a STA that uses a bandwidth
     that is greater than the channel width indicated in the most recently received Operating Mode Notification
     element or Operating Mode Notification frame from that STA. A STA that is operating mode notification
     capable shall not transmit a PPDU to a STA that uses a greater number of spatial streams than indicated in
     the most recently received Operating Mode Notification element or Operating Mode Notification frame
     received from that STA.

                                                       STA that sends an individually addressed Operating Mode Notification
     frame to a second VHT STA indicating reduced operating channel width and/or reduced active receive chains can
     continue with its current operating channel width and active receive chains until it infers that the second STA has
     processed this notification. The first VHT STA might make this inference from either of the following:
                                                 itself from the second VHT STA in a PPDU with a bandwidth and NSS that
             are equal to or less than the channel width and NSS, respectively, indicated in the Operating Mode Notification
             frame
                                                    me implementation dependent way, which is outside the scope of this
             standard

                                             STA to change its operating mode following the transmission of the Operating
     Mode Notification frame and during that time the STA might not be able to receive frames resulting in frame loss. If a
     non-AP STA cannot tolerate frame loss during that period it can set the Power Management subfield of the Frame
     Control field of the Operating Mode Notification frame to 1 to indicate that the STA has entered power save. When the
     non-AP STA has completed its operating mode change, it can send another frame (such as a QoS Null) with the Frame
     Control Power Management subfield set to 0 to indicate that the STA has exited power save.




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     11. Security

     11.4 RSNA confidentiality and integrity protocols

     11.4.3 CTR with CBC-MAC Protocol (CCMP)

     11.4.3.1 General

     Change the first paragraph of 11.4.3.1 as follows:

     Subclause 11.4.3.1 specifies the all variants of CCMP, which provides data confidentiality, authentication,
     integrity, and replay protection. In a non-DMG network, CCMP-128 is mandatory for RSN compliance.

     Change the third and fourth paragraphs in 11.4.3.1 (including creating a new fifth paragraph), and
     insert a new sixth paragraph as follows:

     The AES algorithm is defined in FIPS PUB 197-2001. All AES processing used within CCMP uses AES
     with either a 128-bit key (CCMP-128) or a 256-bit key (CCMP-256) and a 128-bit block size.

     CCM is defined in IETF RFC 3610. CCM is a generic mode that can be used with any block-oriented
     encryption algorithm. CCM has two parameters (M and L)., and

     CCMP-128 uses the following values for the CCM parameters:
              M = 8; indicating that the MIC is 8 octets.
              L = 2; indicating that the Length field is 2 octets, which is sufficient to hold the length of the largest
              possible IEEE 802.11 MPDU, expressed in octets.

     CCMP-256 uses the following values for the CCM parameters:
              M = 16; indicating that the MIC is 16 octets.
              L = 2; indicating that the Length field is 2 octets, which is sufficient to hold the length of the largest
              possible IEEE 802.11 MPDU, expressed in octets.

     11.4.3.2 CCMP MPDU format

     Change Figure 11-16 as follows:



                                                                                   Encrypted


                                                                                                     MIC
                                     CCMP Header                           Data (PDU)                MIC        FCS
       MAC Header                                                                                  8 octets
                                       8 octets                            >= 1 octets            8variable
                                                                                                     octets   4 octets




                                                 Ext   Key
        PN0      PN1     Rsvd        Rsvd                      PN2   PN3   PN4      PN5
                                                 IV     ID
                                b0          b4   b5    b6 b7
                                        Key ID octet




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     Change the second paragraph of 11.4.3.2 as follows:

     CCMP-128 processing expands the original MPDU size by 16 octets, 8 octets for the CCMP Header field
     and 8 octets for the MIC field. CCMP-256 processing expands the original MPDU size by 24 octets, 8 octets
     for the CCMP Header field, and 16 octets for the MIC field. The CCMP Header field is constructed from the
     PN, ExtIV, and Key ID subfields. PN is a 48-bit PN represented as an array of 6 octets. PN5 is the most
     significant octet of the PN, and PN0 is the least significant. Note that CCMP does not use the WEP ICV.

     11.4.3.3 CCMP cryptographic encapsulation

     11.4.3.3.6 CCM originator processing

     Change the third paragraph of 11.4.3.3.6 as follows:

     The CCM originator processing provides authentication and integrity of the frame body and the AAD as
     well as data confidentiality of the frame body. The output from the CCM originator processing consists of
     the encrypted data and 8 additional octets of an encrypted MIC (see Figure 11-16).

     11.4.3.4 CCMP decapsulation

     11.4.3.4.2 CCM recipient processing

     Change the second paragraph of 11.4.3.4.2 as follows:

     There are four inputs to CCM recipient processing:
            Key: the temporal key (16 octets).
            Nonce: the nonce (13 octets) constructed as described in 11.4.3.3.4.
            Encrypted frame body: the encrypted frame body from the received MPDU. The encrypted frame
            body includes the an 8-octet MIC.
            AAD: the AAD (22-30 octets) that is the canonical MPDU header as described in 11.4.3.3.3.

     11.4.4 Broadcast/Multicast Integrity Protocol (BIP)

     11.4.4.1 BIP overview

     Change 11.4.4.1 as follows:

     BIP provides data integrity and replay protection for group addressed robust management frames after
     successful establishment of an IGTKSA (see 11.5.1.1.9).

     BIP-CMAC-128 provides data integrity and replay protection, using AES-128 in CMAC Mode with a 128-
     bit integrity key and a CMAC TLen value of 128 (16 octets). BIP-CMAC-256 provides data integrity and
     replay protection, using AES-256 in CMAC Mode with a 256-bit integrity key and a CMAC TLen value of
     128 (16 octets). NIST SP 800-38B defines the CMAC algorithm, and NIST SP 800-38D defines the GMAC
     algorithm. All BIP processing uses AES with a 128-bit or 256-bit integrity key and a 128-bit block size, and
     a CMAC TLen value of 128 (16 octets). The CMAC output for both BIP-CMAC-128 and BIP-CMAC-256
     is truncated to 64 bits:
       MIC = L(CMAC Output, 0, 64)

     Where L is defined in 11.6.1.




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     BIP-GCMP-128 uses AES with a 128-bit integrity key, and BIP-GCMP-256 uses AES with a 256-bit
     integrity key. The authentication tag for both BIP-GCMP-128 and BIP-GCMP-256 is not truncated and shall
     be 128 bits (16 octets).

     BIP uses the IGTK to compute the MMPDU MIC. The authenticator shall distribute one new IGTK and
     IGTK PN (IPN) whenever it distributes a new GTK. The IGTK is identified by the MAC address of the
     transmitting STA plus an IGTK identifier that is encoded in the MME Key ID field.

     11.4.4.5 BIP transmission

     Change 11.4.4.5 as follows:

     When a STA transmits a protected group addressed robust management frame, it shall
       a)    Select the IGTK currently active for transmission of frames to the intended group of recipients and
             construct the MME (see 8.4.2.57) with the MIC field masked to 0 and the KeyID field set to the
             corresponding IGTK KeyID value. If the frame is not a GQMF, the transmitting STA shall insert a
             monotonically increasing non-negative integer into the MME IPN field. If the frame is a GQMF,
             then the transmitting STA shall maintain a 48-bit counter for use as the IPN, the counter shall be
             incremented for each GQMF until the two least significant bits of the counter match the ACI of the
             AC that is used to transmit the frame, and the counter value shall be inserted into the MME IPN field
             of the frame. For BIP-GMAC-128 and BIP-GMAC-256, the initialization vector passed to GMAC
             shall be a concatentation of address 2 from the MAC header of the MPDU and the non-negative
             integer inserted into the MMP IPN field.
       b)    Compute AAD as specified in 11.4.4.3.
       c)    Compute an integrity value AES-128-CMAC over the concatenation of (AAD || Management Frame
             Body including MME), and insert the 64-bit output into the MME MIC field. For BIP-CMAC-128,
             the integrity value is 64-bits and is computed using AES-128-CMAC; for BIP-CMAC-256, the
             integrity value is 128-bits and is computed using AES-256-CMAC; for BIP-GMAC-128, the
             integrity value is 128-bits and is computed using AES-128-GMAC; and, for BIP-GMAC-256, the
             integrity value is 128-bits and is computed using AES-256-GMAC.
       d)    Compose the frame as the IEEE 802.11 header, management frame body, including MME, and FCS.
             The MME shall appear last in the frame body.
       e)    Transmit the frame.

     11.4.4.6 BIP reception

     Change 11.4.4.6 as follows:

     When a STA with management frame protection negotiated receives a group addressed robust management
     frame protected by BIP-CMAC-128, BIP-CMAC-256, BIP-GMAC-128, or BIP-GMAC-256, it shall
       a)    Identify the appropriate IGTK key and associated state based on the MME KeyID field. If no such
             IGTK exists, silently drop the frame and terminate BIP processing for this reception.
       b)    Perform replay protection on the received frame. The receiver shall interpret the MME IPN field as
             a 48-bit unsigned integer.
             1)   If the frame is not a GQMF, the receiver shall compare this MME IPN integer value to the
                  value of the receive replay counter for the IGTK identified by the MME Key ID field. If the
                  integer value from the received MME IPN field is less than or equal to the replay counter value
                  for this IGTK, the receiver shall discard the frame and increment the
                  dot11RSNAStatsCMACReplays counter by 1.
             2)   If the frame is a GQMF, the receiver shall compare this MME IPN integer value to the value of
                  the receive replay counter for the IGTK identified by the MME Key ID field and the AC



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                  represented by the value of the ACI subfield of the received frame. If the integer value from the
                  received MME IPN field is less than or equal to the replay counter value for this IGTK and AC,
                  the receiver shall discard the frame and increment the dot11RSNAStatsCMACReplays counter
                  by 1.
             If the received frame is not discarded after comparison of the MME IPN to the replay counter, the
             receiver shall extract and save the received MIC value, and compute the AES-128-CMAC over the
             concatenation of (AAD || Management Frame Body including MME) with the MIC field masked to
             0 in the MME. If the result does not match the received MIC value, then the receiver shall discard
             the frame and increment the dot11RSNAStatsCMACICVErrors counter by 1. If replay protection
             fails, terminate BIP processing for this reception.
       c)   Compute AAD for this management frame, as specified in 11.4.4.3. For BIP-GMAC-128 and BIP-
            GMAC-256, an initialization vector for GMAC is constructed as the concatenation of address 2
            from the MAC header of the MPDU and the 48-bit unsigned integer from the MME IPN field.
       d)   Extract and save the received MIC value, and compute a verifier the AES-128-CMAC over the
            concatenation of (AAD || Management Frame Body || MME) with the MIC field masked to 0 in the
            MME. For BIP-CMAC-128, the verifier is AES-128-CMAC; for BIP-CMAC-256, the integrity
            value is 128-bits and is computed using AES-256-CMAC; for BIP-GMAC-128, the verifier is AES-
            128-GMAC; and, for BIP-GMAC-256, the verifier is AES-256-GMAC. If the result does not match
            the received MIC value, then the receiver shall discard the frame, increment the
            dot11RSNAStatsCMACICVErrors counter by 1, and terminate BIP processing for this reception.
       e)   Update the replay counter for the IGTK identified by the MME Key ID field with the integer value
            of the MME IPN field if the frame is not a GQMF.
       f)   Update the replay counter for the IGTK identified by the MME Key ID field and the AC represented
            by the value of the ACI subfield of the received frame with the integer value of the MME IPN field
            if the frame is a GQMF.

     If management frame protection is negotiated, group addressed robust management frames that are received
     without BIP protection shall be discarded.

     11.4.5 GCM with Galois Message Authentication Code (GMAC) Protocol (GCMP)

     11.4.5.1 GCMP overview

     Change the third paragraph of 11.4.5.1 as follows:

     The AES algorithm is defined in FIPS PUB 197-2001. All AES processing used within GCMP uses AES
     with a 128-bit key (GCMP-128) or a 256-bit key (GCMP-256) and a 128-bit block size.


     11.5 RSNA security association management

     11.5.3 RSNA policy selection in an ESS

     Insert the following note after the third parag

                                          HT STA, the elimination of TKIP also applies to VHT STAs.

     11.5.5 RSNA policy selection in an IBSS and for DLS

     Insert the following note after the existing note after the second paragraph of 11.5.5, and number the


                                                        elimination of TKIP also applies to VHT STAs.




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     11.5.7 RSNA policy selection in an MBSS

     Insert the following note at the end of 11.5.7:

                                             HT STA, the elimination of TKIP also applies to VHT STAs.


     11.6 Keys and key distribution

     11.6.1 Key hierarchy

     11.6.1.2 PRF

     Change 11.6.1.2 as follows:

     A PRF is used in a number of places in this standard. Depending on its use, it may need to output 128 bits,
     192 bits, 256 bits, 384 bits, or 512 bits, or 704 bits. This subclause defines sixfive functions:




            PRF-704, which outputs 704 bits

     In the following, K is a key; A is a unique label for each different purpose of the PRF; B is a variable-length
     string; Y is a single octet containing 0; X is a single octet containing the loop parameter i; and || denotes
     concatenation:

              H-SHA-1(K, A, B, X)         HMAC-SHA-1(K, A || Y || B || X)

              PRF(K, A, B, Len)
                      for i   0 to (Len+159)/160 do
                               R R || H-SHA-1(K, A, B, i)
                      return L(R, 0, Len)

              PRF-128(K, A, B) = PRF(K, A, B, 128)
              PRF-192(K, A, B) = PRF(K, A, B, 192)
              PRF-256(K, A, B) = PRF(K, A, B, 256)
              PRF-384(K, A, B) = PRF(K, A, B, 384)
              PRF-512(K, A, B) = PRF(K, A, B, 512)

     When the negotiated AKM is 00-0F-AC:5, or 00-0F-AC:6, or 00-0F-AC:11, the KDF specified in 11.6.1.7.2
     (Key derivation function (KDF)) shall be used instead of the PRF construction defined here. In this case, A is
     used as the KDF label and B as the KDF Context, and the PRF functions are defined as follows:

              PRF-128(K, A, B) = KDF-SHA256-128(K, A, B)
              PRF-192(K, A, B) = KDF-SHA256-192(K, A, B)
              PRF-256(K, A, B) = KDF-SHA256-256(K, A, B)
              PRF-384(K, A, B) = KDF-SHA256-384(K, A, B)
              PRF-512(K, A, B) = KDF-SHA256-512(K, A, B)




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     When the negotiated AKM is 00-0F-AC:12, the KDF specified in 11.6.1.7.2 shall be used instead of the PRF
     construction defined here. In this case, A is used as the KDF label and B as the KDF Context, and the PRF
     function is defined as follows:

               PRF-704(K, A, B) = KDF-SHA384-704(K, A, B)

     When the negotiated AKM is 00-0F-AC:13, the KDF specified in 11.6.1.7.2 shall be used instead of the PRF
     construction defined here. In this case, A is used as the KDF label and B as the KDF Context, and the PRF
     functions are defined as follows:

               PRF-384(K, A, B) = KDF-SHA384-384(K, A, B)
               PRF-512(K, A, B) = KDF-SHA384-512(K, A, B)
               PRF-704(K, A, B) = KDF-SHA384-704(K, A, B)

     11.6.1.3 Pairwise key hierarchy

     Change 11.6.1.3 as follows:

     Except when preauthentication is used, the pairwise key hierarchy utilizes PRF-384, or PRF-512, or PRF-
     704 to derive session-specific keys from a PMK, as depicted in Figure 11-24 (Pairwise key hierarchy). The
     PMK shall be 256 bits. When using AKM suite selector 00-0F-AC:12, the length of the PMK, PMK_bits,
     shall be 384 bits. With all other AKM suite selectors, the length of the PMK, PMK_bits, shall be 256 bits.
     The pairwise key hierarchy takes a PMK and generates a PTK. The PTK is partitioned into KCK, KEK, and
     temporal keys, which are used by the MAC to protect individually addressed communication between the
                                                               are used between a single Supplicant and a single
     Authenticator.

     Change Figure 11-24 as follows:


                                                              PTK, KCK_bits+KEK_bits, TK

     When not using a PSK, the PMK is derived from the MSK. The PMK shall be computed as the first 256
     PMK_bits                   PMK_bits 1) of the MSK: PMK             L(MSK, 0, 256PMK_bits). When this
     derivation is used, the MSK needs to consist of at least 256 bits.

     The PTK shall not be used longer than the PMK lifetime as determined by the minimum of the PMK lifetime
     indicated by the AS, e.g., Session-Timeout + dot1xAuthTxPeriod or from dot11RSNAConfigPMKLifetime.
     When RADIUS is used and the Session-Timeout attribute is not in the RADIUS Accept message, and if the
     key lifetime is not otherwise specified, then the PMK lifetime is infinite.

                                               Authenticator (or AP) and AS is RADIUS, then the MS-MPPE-Recv-Key
     attribute (vendor-id = 17; see Section 2.4.3 in IETF RFC 2548-1999 [B30]) is available to be used to transport the first
     32 octets of the MSKPMK to the AP, and the MS-MPPE-Send-Key attribute (vendor-id = 16; see Section 2.4.2 in IETF
     RFC 2548-1999 [B30]) is available to be used to transport the remaining 32 octets of the MSK.

                                                     the pairwise key, a race condition might occur. If a frame is received
     while MLME-SETKEYS.request primitive is being processed, the received frame might be decrypted with one key and
     the MIC checked with a different key. Two possible options to avoid this race condition are as follows: the frame might
     be checked against the old MIC key, and the received frames might be queued while the keys are changed.

                                                                          be configured into the STA and AP or a pass-phrase
     might be configured into the Supplicant or Authenticator. The method used to configure the PSK is outside this standard,
     but one method is via user interaction. If a pass-phrase is configured, then a 256-bit key is derived and used as the PSK.
     In any RSNA-PSK method, the PSK is used directly as the PMK. Implementations might support different PSKs for
     each pair of communicating STAs.



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     Here, the following assumptions apply:
                                                                 ted by the Supplicant; its value is taken when a
            PTK is instantiated and is sent to the PTK Authenticator.



                      PTK
                                         Min(ANonce,SNonce) || Max(ANonce,SNonce))
             where X = KCK_bits + KEK_bits256 + TK_bits. The values of KCK_bits and KEK_bits are AKM
             suite dependent and are listed in Table 11-9 (Integrity and key wrap algorithms). The value of
             TK_bits is cipher-suite dependent and is defined in Table 11-4 (Cipher suite key lengths). The Min
             and Max operations for IEEE 802 addresses are with the address converted to a positive integer
             treating the first transmitted octet as the most significant octet of the integer. The Min and Max
             operations for nonces are with the nonces treated as positive integers converted as specified in 8.2.2
             (Conventions).

                                                                       a PTK only once per association. A Supplicant or
             an Authenticator uses the 4-Way Handshake to derive a new PTK. Both the Authenticator and Supplicant create
             a new nonce value for each 4-Way Handshake instance.

                                                                  128                  KCK_bits 1) of the PTK:
                                                  KCK      L(PTK, 0, 128KCK_bits)
             The KCK is used by IEEE Std 802.1X-2004 to provide data origin authenticity in the 4-Way
             Handshake and Group Key Handshake messages.
                                                                                 of the PTK:
                                           KEK       L(PTK, 128KCK_bits, 128KEK_bits)
             The KEK is used by the EAPOL-Key frames to provide data confidentiality in the 4-Way
             Handshake and Group Key Handshake messages.
                                                   computed as the next TK_bits bits 256 to (255 + TK_bits) of the
             PTK:
                                        TK        L(PTK, KCK_bits+KEK_bits256, TK_bits)

     The EAPOL-Key state machines (see 11.6.10 and 11.6.11) use the MLME-SETKEYS.request primitive to
     configure the temporal key into the STA. The STA uses the temporal key with the pairwise cipher suite;
     interpretation of this value is cipher-suite specific.

     A PMK identifier is defined as
             PMKID = HMAC-SHA1-128(PMK, "PMK Name" || AA || SPA)

     Here, HMAC-SHA1-128 is the first 128 bits of the HMAC-SHA1 of its argument list.

     When the negotiated AKM is 00-0F-AC:5 or 00-0F-AC:6, HMAC-SHA-256 is used to calculate the
     PMKID, and the PMK identifier is defined as

             PMKID = Truncate-128(HMAC-SHA-256(PMK, "PMK Name" || AA || SPA))

     When the negotiated AKM is 00-0F-AC:11, HMAC-SHA-256 is used to calculate the PMKID, and the
     PMK identifier is defined as

             PMKID = Truncate-128(HMAC-SHA-256(KCK, "PMK Name" || AA || SPA))




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     When the negotiated AKM is 00-0F-AC:12, HMAC-SHA-384 is used to calculate the PMKID, and the
     PMK identifier is defined as

             PMKID = Truncate-128(HMAC-SHA-384(KCK, "PMK Name" || AA || SPA))

                                                                 rt of RSN preauthentication, the AKM has not yet been
     negotiated. In this case, the HMAC-SHA1-128 based derivation is used for the PMKID calculation.

     11.6.1.7 FT key hierarchy

     11.6.1.7.2 Key derivation function (KDF)

     Change 11.6.1.7.2 as follows:

     The KDF for the FT key hierarchy, and for AKMs 00-0F-AC:11 and 00-0F-AC:12, is a variant of the
     pseudorandom function (PRF) defined in 11.6.1.2 and is defined as follows:

             Output     KDF-Hash-Length (K, label, Context) where
             Input: K, a 256-bit key derivation key whose length equals the block size of the hash function
                     Hash, a cryptographically strong hash function
                     label, a string identifying the purpose of the keys derived using this KDF
                     Context, a bit string that provides context to identify the derived key
                     Length, the length of the derived key in bits
             Output: a Length-bit derived key

             result ""
             iterations (Length+255)/256
             do i = 1 to iterations
                      result    result || HMAC-HashSHA256(K, i || label || Context || Length)
             od
             return first Length bits of result, and securely delete all unused bits

     In this algorithm, i and Length are encoded as 16-bit unsigned integers, represented using the bit ordering
     conventions of 8.2.2. K, label, and Context are bit strings and are represented using the ordering conventions
     of 8.2.2.

     11.6.1.7.3 PMK-R0

     Change the first paragraph of 11.6.1.7.3 (including its variable list) as follows:

     The first-level key in the FT key hierarchy, PMK-R0, is derived using the KDF defined in 11.6.1.7.2. The
     PMK-R0 is the first level 256-bit keying material used to derive the next level keys (PMK-R1s):
             R0-Key-Data = KDF-Hash-Z384(XXKey, "FT-R0", SSIDlength || SSID || MDID || R0KHlength ||
                               R0KH-ID || S0KH-ID)
             PMK-R0 = L(R0-Key-Data, 0, 256L)
             PMK-R0Name-Salt = L(R0-Key-Data, 256L, 128)

     where

                          384 is the KDF as defined in 11.6.1.7.2 used to generate a key of length 384 bits.



             and XXKey shall be the second 256 bits of the MSK (which is derived from the IEEE 802.1X



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             authentication), i.e., XXKey = L(MSK, 256, 256). If the AKM negotiated is 00-0F-AC:4, then Hash
             shall be SHA256, Z shall be 384, L shall be 256, and XXKey shall be the PSK. If the AKM
             negotiated is 00-0F-AC:9, then Hash shall be SHA256, Z shall be 384, L shall be 256, and XXKey
             shall be the MPMK generated as the result of SAE authentication. If the AKM negotiated is 00-0F-
             AC:13, then Hash shall be SHA384, Z shall be 512, L shall be 384, and XXKey shall be the first
             384 bits of the MSK (which is derived from the IEEE 802.1X authentication), i.e., XXKey =
             L(MSK, 0, 384).


                                                          is the number of octets in the SSID.
                                                  a variable length sequence of octets, as it appears in the Beacon and
             Probe Response frames.

             domain association.


                                                    der of PMK-R0 in the Authenticator.


     11.6.1.7.4 PMK-R1

     Change the first paragraph of 11.6.1.7.4 (including its variable list) as follows:

     The second-level key in the FT key hierarchy, PMK-R1, is a 256-bit key used to derive the PTK. The PMK-
     R1 is derived using the KDF defined in 11.6.1.7.2:
             PMK-R1 = KDF-Hash-Z256(PMK-R0, "FT-R1", R1KH-ID || S1KH-ID)

     where
                           256 is the KDF as defined in 11.6.1.7.2 used to generate a key of length 256 bits.
             If the AKM negotiated is 00-0F-AC:3, 00-0F-AC:4, or 00-0F-AC:9, then Hash shall be SHA256,
              and Z shall be 256. If the AKM negotiated is 00-0F-AC:13, then Hash shall be SHA384, and Z shall
              be 384.



                                                              the PMK-R1 in the Authenticator of the AP.


     11.6.1.7.5 PTK

     Change the first eight paragraphs of 11.6.1.7.5 as follows:

     The third-level key in the FT key hierarchy is the PTK. This key is mutually derived by the S1KH and the
     R1KH used by the target AP, with the key length being a function of the negotiated cipher suite as defined
     by Table 11-4 in 11.6.2.

     Using the KDF defined in 11.6.1.7.2, the PTK derivation is as follows:
             PTK = KDF-Hash-PTKLen(PMK-R1, "FT-PTK", SNonce || ANonce || BSSID || STA-ADDR)

     where
                         PTKLen is the KDF as defined in 11.6.1.7.2 used to generate a PTK of length PTKLen.




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            If the AKM negotiated is 00-0F-AC:3, 00-0F-AC:4, or 00-0F-AC:9, then Hash shall be SHA256. If
             the AKM negotiated is 00-0F-A:13, then Hash shall be SHA384.
                                                  between the S1KH and the R1KH.




                                                             number of bits of the PTK. The length is dependent
             on the negotiated cipher suites and AKM suites as defined by Table 11-4 in 11.6.2 and Table 11-9 in
             11.6.3.

     Each PTK has three component keys, KCK, KEK, and a temporal key, derived as follows:

     The KCK shall be computed as the first 128KCK_bits                     KCK_bits 1) of the PTK:
           KCK = L(PTK, 0, 128KCK_bits)

     where L(-) is defined in 11.6.1.

     The KCK is used to provide data origin authenticity in EAPOL-Key messages, as defined in 11.6.2, and in
     the FT authentication sequence, as defined in 12.8.

     The KEK shall be computed as the next KEK_bits                    of the PTK:
           KEK = L(PTK, 128KCK_bits, 128KEK_bits)

     The KEK is used to provide data confidentiality for certain fields (KeyData) in EAPOL-Key messages, as
     defined in 11.6.2, and in the FT authentication sequence, as defined in 12.8.

     The temporal key (TK) shall be computed as the next TK_bits (see Table 11-4)                                  of
     the PTK:
            TK = L(PTK, 256KCK_bits+KEK_bits, 128TK_bits)

     11.6.2 EAPOL-Key frames

     Change Table 11-4 as follows:




                                                          Key length         TK_bits
                                   Cipher suite
                                                           (octets)           (bits)

                               WEP-40                         5                 40

                               WEP-104                        13               104

                               TKIP                           32               256
                               CCMP                           16               128

                               BIP                            16               128
                               GCMP-128                       16               128

                               GCMP-256                       32               256




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                                                             Key length      TK_bits
                                     Cipher suite
                                                              (octets)        (bits)

                                 CCMP-256                       32             256
                                 BIP-GMAC-128                   16             128

                                 BIP-GMAC-256                   32             256
                                 BIP-CMAC-256                   32             256



     11.6.3 EAPOL-Key frame construction and processing

     Change Table 11-9 as follows:




         AKM            Integrity algorithm       KCK_bits     Size of MIC   Key-wrap algorithm     KEK_bits

       Deprecated           HMAC-MD5                128              16              ARC4              128

       00-0F-AC:1        HMAC-SHA1-128              128              16      NIST AES Key Wrap         128

       00-0F-AC:2        HMAC-SHA1-128              128              16      NIST AES Key Wrap         128
       00-0F-AC:3         AES-128-CMAC              128              16      NIST AES Key Wrap         128

       00-0F-AC:4         AES-128-CMAC              128              16      NIST AES Key Wrap         128
       00-0F-AC:5         AES-128-CMAC              128              16      NIST AES Key Wrap         128

       00-0F-AC:6         AES-128-CMAC              128              16      NIST AES Key Wrap         128

      00-0F-AC:11         HMAC-SHA256               128              16      NIST AES Key Wrap         128
      00-0F-AC:12         HMAC-SHA384               192              24      NIST AES Key Wrap         256

      00-0F-AC:13         HMAC-SHA384               192              24      NIST AES Key Wrap         256



     11.7 Mapping EAPOL keys to IEEE 802.11 keys

     11.7.7 Mapping IGTK to BIP keys

     Change 11.7.7 as follows:

     See 11.6.1.5 for the definition of the IGTK key. A ST

     256-GMAC key.




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     13. MLME mesh procedures

     13.2 Mesh discovery

     13.2.4 Mesh STA configuration

     Change 13.2.4 as follows:

     The mesh STA configuration consists of the mesh profile (see 13.2.3), the Supported Rates element, the
     Extended Supported Rates element, and the HT Operations element (if present), and the VHT Operations
     element (if present).

     Mesh STA configurations are identical if the following conditions hold:




            For VHT mesh STAs, the Basic VHT-MCS and NSS fields in the VHT Operation element are
            identical.

     13.2.7 Candidate peer mesh STA

     Insert a new list item e) into the lettered list of the second paragraph of 13.2.7, and re-letter the
     subsequent list item accordingly:

       e)   If both the scanning mesh STA and the discovered neighbor STA are VHT STAs, the mesh STA
            uses the same value for the Basic VHT-MCS and NSS Set field in its VHT Operation element as
            received in the Beacon or Probe Response frame from the neighbor mesh STA.




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     18. Orthogonal frequency division multiplexing (OFDM) PHY specification

     18.2 OFDM PHY specific service parameter list

     18.2.2 TXVECTOR parameters

     18.2.2.1 General

     Insert the following rows at the end of the Table 18-1:




                    Parameter                        Associated primitive                      Value

       CH_BANDWIDTH_IN_NON_HT                     PHY-TXSTART.request          If present, CBW20, CBW40, CBW80,
                                                  (TXVECTOR)                   CBW160, or CBW80+80

       DYN_BANDWIDTH_IN_NON_HT                    PHY-TXSTART.request          If present, Static or Dynamic
                                                  (TXVECTOR)



     Insert the following subclauses, 18.2.2.7 and 18.2.2.8, after 18.2.2.6:

     18.2.2.7 TXVECTOR CH_BANDWIDTH_IN_NON_HT

     If present, the allowed values for CH_BANDWIDTH_IN_NON_HT are CBW20, CBW40, CBW80,
     CBW160, and CBW80+80. If present, this parameter is used to modify the first 7 bits of the scrambling
     sequence to indicate the bandwidth of the non-HT duplicate PPDU.

                                                            esent when the frame is transmitted by a non-VHT
     STA. The CH_BANDWIDTH_IN_NON_HT parameter is not present when the frame is transmitted by a VHT STA to a
     non-VHT STA. See 9.7.10.

     18.2.2.8 TXVECTOR DYN_BANDWIDTH_IN_NON_HT

     If present, the allowed values for DYN_BANDWIDTH_IN_NON_HT are Static and Dynamic. If present,
     this parameter is used to modify the first 7 bits of the scrambling sequence to indicate if the transmitter is
     capable of Static or Dynamic bandwidth operation. If DYN_BANDWIDTH_IN_NON_HT is present, then
     CH_BANDWIDTH_IN_NON_HT is also present.

                                          rameter is not present when the frame is transmitted by a non-
     VHT STA. The DYN_BANDWIDTH_IN_NON_HT parameter is not present when the frame is transmitted by a VHT
     STA to a non-VHT STA. See 9.7.10.




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     18.2.3 RXVECTOR parameters

     18.2.3.1 General

     Insert the following rows at the end of the Table 18-2:




                    Parameter                     Associated primitive                         Value

       CH_BANDWIDTH_IN_NON_HT                  PHY-RXSTART.request             If present, CBW20, CBW40, CBW80,
                                               (RXVECTOR)                      CBW160, or CBW80+80
       DYN_BANDWIDTH_IN_NON_HT                 PHY-RXSTART.request             If present, Static or Dynamic
                                               (RXVECTOR)



     Insert the following subclauses, 18.2.3.7 and 18.2.3.8, after 18.2.3.6:

     18.2.3.7 RXVECTOR CH_BANDWIDTH_IN_NON_HT

     If present, the allowed values for CH_BANDWIDTH_IN_NON_HT are CBW20, CBW40, CBW80,
     CBW160, and CBW80+80. If present and valid, this parameter indicates the bandwidth of the non-HT
     duplicate PPDU. This parameter is used by the MAC only when valid (see 9.3.2.6 and 9.7.6.6).

                                                       meter is not present when the frame is received by a non-VHT
     STA (see 9.7.10).

     18.2.3.8 RXVECTOR DYN_BANDWIDTH_IN_NON_HT

     If present, the allowed values for DYN_BANDWIDTH_IN_NON_HT are Static and Dynamic. If present
     and valid, this parameter indicates whether the transmitter is capable of Static or Dynamic bandwidth
     operation. This parameter is used by the MAC only when valid (see 9.3.2.6 and 9.7.6.6). If
     DYN_BANDWIDTH_IN_NON_HT is present, then CH_BANDWIDTH_IN_NON_HT is also present.

                                                                      esent when the frame is received by a non-VHT
     STA (see 9.7.10).


     18.3 OFDM PLCP sublayer

     18.3.2 PLCP frame format

     18.3.2.2 Overview of the PPDU encoding process

     Change step e) in the lettered list of the first paragraph of 18.3.2.2 as follows:

             e)   If the TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT is not present, iInitiate the
                  scrambler with a pseudorandom nonzero seed, and generate a scrambling sequence. If the
                  TXVECTOR parameter CH_BANDWIDTH_IN_NON_HT is present, construct the first 7 bits
                  of       the      scrambling       sequence      from       CH_BANDWIDTH_IN_NON_HT,
                  DYN_BANDWIDTH_IN_NON_HT (if present), and a pseudorandom integer constrained
                  such that the first 7 bits of the scrambling sequence are not all zeros; then set the scrambler
                  state to these 7 bits and generate the remainder of the scrambling sequence. , and XOR it the
                  scrambling sequence with the extended string of data bits. Refer to 18.3.5.5 for details.



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     18.3.5 DATA field

     18.3.5.5 PLCP DATA scrambler and descrambler

     Change 18.3.5.5 (including replacing Figure 18-7 and inserting Table 18-6a to Table 18-6d) as follows:

     The DATA field, composed of SERVICE, PSDU, tail, and pad parts, shall be scrambled with a length-127
     frame-synchronous scrambler. The octets of the PSDU are placed in the transmit serial bit stream, bit 0 first
     and bit 7 last. The frame synchronous scrambler uses the generator polynomial S(x) as follows and is
     illustrated in Figure 18-7:

                  7    4
       S x = x +x +1                                                                                          (18-14)

     Replace Figure 18-7 with the following:


                                                                During bits 0-6 of Scrambling Sequence
                                                                when CH_BANDWIDTH_IN_NON_HT
                                       First 7 bits of          is present
                                       Scrambling Sequence as
                                       defined in Table 18-6a
                                                                        Data In


                           X7 X6 X5               X4 X3 X2 X1


                                                                        Scrambled
                                                                        Data Out




     The 127-bit sequence generated repeatedly by the scrambler shall be (leftmost used first), 00001110
     11110010 11001001 00000010 00100110 00101110 10110110 00001100 11010100 11100111 10110100
     00101010 11111010 01010001 10111000 1111111, when the all ones initial state is used. The same
     scrambler is used to scramble transmit data and to descramble receive data. If the TXVECTOR parameter
     CH_BANDWIDTH_IN_NON_HT is not present, wWhen transmitting, the initial state of the scrambler
     shall be set to a pseudorandom nonzero state. If the TXVECTOR parameter
     CH_BANDWIDTH_IN_NON_HT is present,
            The first 7 bits of the scrambling sequence shall be set as shown in Table 18-6a (with field values
            defined in Table 18-6b and Table 18-6d) and shall be also used to initialize the state of the scrambler
            The scrambler with this initialization shall generate the remainder (i.e., after the first 7 bits) of the
            scrambling sequence as shown in Figure 18-7
                                                                        rst. For example, if CBW80 has a value of


     During reception by a VHT STA, the CbwInNonHtTemp variable shall be set to selected bits in the
     scrambling sequence as shown in Table 18-6a and then mapped as shown in Table 18-6c to the
     RXVECTOR parameter CH_BANDWIDTH_IN_NON_HT. During reception by a VHT STA, the
     RXVECTOR parameter DYN_BANDWIDTH_IN_NON_HT shall be set to selected bits in the scrambling
     sequence as shown in Table 18-6a. The fields shall be interpreted as being sent LSB-first.

                               nnot determine whether the CH_BANDWIDTH_IN_NON_HT and
     DYN_BANDWIDTH_IN_NON_HT parameters were present in the TXVECTOR of the transmitting PHY; therefore,



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     the receiving PHY in a VHT STA always includes values for the CH_BANDWIDTH_IN_NON_HT and
     DYN_BANDWIDTH_IN_NON_HT parameters in the Clause 18 RXVECTOR. It is the responsibility of the MAC to
     determine    the validity of the RXVECTOR       parameters   CH_BANDWIDTH_IN_NON_HT             and
     DYN_BANDWIDTH_IN_NON_HT.

                                                       ine     whether      the    TXVECTOR         parameter
     CH_BANDWIDTH_IN_NON_HT was present, but it does not matter since descrambling the DATA field is the same
     either way.

     The seven LSBs of the SERVICE field shall be set to all zeros prior to scrambling to enable estimation of the
     initial state of the scrambler in the receiver.

     An example of the scrambler output is illustrated in L.1.5.2 with CH_BANDWIDTH_IN_NON_HT not
     present.




                                                              First 7 bits of scrambling sequence

                                              B0               B3               B4                  B5            B6
      Parameter           Condition


                                                                       Transmit order
    TXVECTOR        CH_BANDWIDTH_I          5-bit pseudorandom nonzero integer if               CH_BANDWIDTH_
                    N_NON_HT is             CH_BANDWIDTH_IN_NON_HT equals CBW20                 IN_NON_HT
                    present and             and a 5-bit pseudorandom integer otherwise
                    DYN_BANDWIDTH
                    _IN_NOT_HT is not
                    present in
                    TXVECTOR
    TXVECTOR        CH_BANDWIDTH_I          4-bit pseudorandom         DYN_BANDWIDTH
                    N_NON_HT is             nonzero integer if         _IN_NON_HT
                    present and             CH_BANDWIDTH_IN_
                    DYN_BANDWIDTH           NON_HT equals CBW20
                    _IN_NOT_HT is           and
                    present in              DYN_BANDWIDTH_IN
                    TXVECTOR                _NON_HT equals Static,
                                            and a 4-bit pseudorandom
                                            integer otherwise
    RXVECTOR        CH_BANDWIDTH_I                                                              CbwInNonHtTemp is
                    N_NON_HT and                                       _IN_NON_HT               set to this subfield of
                    DYN_BANDWIDTH                                                               first 7 bits of
                    _IN_NOT_HT are                                                              scrambling sequence;
                    present in                                                                  then
                    RXVECTOR                                                                    CbwInNonHtTemp is
                                                                                                mapped according to
                                                                                                Table 18-6c to
                                                                                                CH_BANDWIDTH_
                                                                                                IN_NON_HT




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                                                                CH_BANDWIDTH_IN_NON_HT values

                                             Enumerated value                Value

                                    CBW20                                      0
                                    CBW40                                      1

                                    CBW80                                      2
                                    CBW160 or CBW80+80                         3



                                                                CH_BANDWIDTH_IN_NON_HT values

             CbwInNonHtTemp (see               dot11CurrentChannelCenter         RXVECTOR parameter
                 Table 18-6a)                       FrequencyIndex1           CH_BANDWIDTH_IN_NON_HT

                         0                                 0                                CBW20

                         1                                 0                                CBW40
                         2                                 0                                CBW80

                         3                                 0                                CBW160

                         3                              1 to 200                          CBW80+80




                                             Enumerated value                Value

                                    Static                                      0

                                    Dynamic                                     1



     18.3.9 PMD transmit specifications

     18.3.9.3 Transmit spectrum mask

     Insert the following note after the existing note after the first paragraph of 18.3.9.3, and number the


                                         nter frequency leakage levels by VHT STAs, see 22.3.18.4.2.

     18.3.9.7 Modulation accuracy

     18.3.9.7.2 Transmitter center frequency leakage

     Insert the following paragraph at the beginning of 18.3.9.7.2:

     For VHT STAs, the requirements on transmitter center frequency leakage are defined in 22.3.18.4.2;
     otherwise, the requirements are defined in this subclause.




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     19. Extended Rate PHY (ERP) specification

     19.3 Extended Rate PLCP sublayer

     19.3.3 PLCP data modulation and rate change

     19.3.3.4 Long and short DSSS-OFDM PLCP format

     19.3.3.4.1 General

     Change 19.3.3.4.1 as follows:

     The scrambler of 17.2.4 is used to scramble the DSSS-OFDM PLCP header, and, when the Clause 18
     TXVECTOR parameters CH_BANDWIDTH_IN_NON_HT and DYN_BANDWIDTH_IN_NON_HT are
     not present, the scrambler in 18.3.5.5 is used to scramble the data symbols in the OFDM segment.




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     20. High Throughput (HT) PHY specification

     20.1 Introduction

     20.1.1 Introduction to the HT PHY

     Change the sixth paragraph of 20.1.1 as follows:

     An HT non-AP STA shall support all equal modulation (EQM) rates for one spatial stream (MCSs 0 to 7)
     using 20 MHz channel width. An HT AP that is not a VHT AP shall support all EQM rates for one and two
     spatial streams (MCSs 0 8 to 15) using 20 MHz channel width.


     20.3 HT PLCP sublayer

     Change the title of 20.3.10 as follows:

     20.3.10 Transmission of NON_HT format PPDUs with more than one antenna transmit chain

     20.3.11 Data field

     20.3.11.3 Scrambler

     Change 20.3.11.3 as follows:

     The data field shall be scrambled by the scrambler defined in 18.3.5.5 and initialized with. The Clause 18
     TXVECTOR parameters CH_BAND-WIDTH_IN_NON_HT and DYN_BANDWIDTH_IN_NON_HT
     shall not be present; therefore, the initial state of the scrambler shall be set to a pseudorandom nonzero seed.

     20.3.20 PMD transmit specification

     20.3.20.1 Transmit spectrum mask

     Insert the following note after Note 2 at the beginning of 20.3.20.1:

                                         nter frequency leakage levels by VHT STAs, see 22.3.18.4.2.

     20.3.20.7 Modulation accuracy

     20.3.20.7.2 Transmit center frequency leakage

     Insert the following paragraph at the beginning of 20.3.20.7.2:

     For VHT STAs the requirements on transmitter center frequency leakage are defined in 22.3.18.4.2;
     otherwise, the requirements are defined in this subclause.




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     Insert the following text, Clause 22, after Clause 21:


     22. Very High Throughput (VHT) PHY specification

     22.1 Introduction

     22.1.1 Introduction to the VHT PHY

     Clause 22 specifies the PHY entity for a very high throughput (VHT) orthogonal frequency division
     multiplexing (OFDM) system.

     In addition to the requirements in Clause 22, a VHT STA shall be capable of transmitting and receiving
     PPDUs that are compliant with the mandatory PHY specifications defined in Clause 20.

     The VHT PHY is based on the HT PHY defined in Clause 20, which in turn is based on the OFDM PHY
     defined in Clause 18. The VHT PHY extends the maximum number of space-time streams supported to
     eight and provides support for downlink multi-user (MU) transmissions. A downlink MU transmission
     supports up to four users with up to four space-time streams per user with the total number of space-time
     streams not exceeding eight.

                                                  ddressed and group addressed transmissions.

     The VHT PHY provides support for 20 MHz, 40 MHz, 80 MHz, and 160 MHz contiguous channel widths
     and support for 80+80 MHz noncontiguous channel width.

     The VHT PHY data subcarriers are modulated using binary phase shift keying (BPSK), quadrature phase
     shift keying (QPSK), 16-quadrature amplitude modulation (16-QAM), 64-QAM, and 256-QAM. Forward
     error correction (FEC) coding (convolutional or LDPC coding) is used with coding rates of 1/2, 2/3, 3/4, and
     5/6.

     A VHT STA shall support the following features:
                                               rmats (transmit and receive) for all channel widths supported by
            the VHT STA


                             nsmit and receive)


                                              0 to 7 (transmit and receive) in all supported channel widths


     A VHT STA may support the following features:
                             rmat (transmit and receive)
                                eams (transmit and receive)




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     22.1.2 Scope

     The services provided to the MAC by the VHT PHY consist of the following protocol functions:
       a)    A function that defines a method of mapping the PSDUs into a framing format (PPDU) suitable for
             sending and receiving PSDUs between two or more STAs.
       b)    A function that defines the characteristics and method of transmitting and receiving data through a
             wireless medium between two or more STAs. Depending on the PPDU format, these STAs support
             a mixture of VHT: Clause 20 and Clause 18 PHYs.

     22.1.3 VHT PHY functions

     22.1.3.1 General

     The VHT PHY contains two functional entities: the PHY function and the physical layer management
     function (i.e., the PLME). Both of these functions are described in detail in 22.3 and 22.4.

     The VHT PHY service is provided to the MAC through the PHY service primitives defined in Clause 7. The
     VHT PHY service interface is described in 22.2.

     22.1.3.2 PHY management entity (PLME)

     The PLME performs management of the local PHY functions in conjunction with the MLME.

     22.1.3.3 Service specification method

     The models represented by figures and state diagrams are intended to be illustrations of the functions
     provided. It is important to distinguish between a model and a real implementation. The models are
     optimized for simplicity and clarity of presentation; the actual method of implementation is left to the
     discretion of the VHT-PHY-compliant developer.

     The service of a layer is the set of capabilities that it offers to a user in the next higher layer. Abstract
     services are specified here by describing the service primitives and parameters that characterize each
     service. This definition is independent of any particular implementation.

     22.1.4 PPDU formats

     The structure of the PPDU transmitted by a VHT STA is determined by the TXVECTOR parameters as
     defined in Table 22-1.

     For a VHT STA, the FORMAT parameter determines the overall structure of the PPDU and includes the
     following:


                                                  specified in Clause 20.
                                     (HT_GF) as specified in Clause 20.
                                              format contain a preamble compatible with Clause 18 and Clause
            20 STAs. The non-VHT portion of the VHT format preamble (the parts of VHT preamble preceding
            the VHT-SIG-A field) is defined so that it can be decoded by these STAs.




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                                                             defined in 10.39, 20.1.1, and 22.1.1.

     A VHT PPDU can be further categorized as a VHT SU PPDU or a VHT MU PPDU. A VHT PPDU using a
     group ID value of 0 or 63 is a VHT SU PPDU and either carries only one PSDU or no PSDU. A VHT PPDU
     using a group ID value in the range of 1 to 62 is a VHT MU PPDU and carries one or more PSDUs to one or
     more users.


     22.2 VHT PHY service interface

     22.2.1 Introduction

     The PHY provides an interface to the MAC through an extension of the generic PHY service interface
     defined in 7.3.4 (Basic service and options). The interface includes TXVECTOR, RXVECTOR, and
     PHYCONFIG_VECTOR.

     The TXVECTOR supplies the PHY with per-PPDU transmit parameters. Using the RXVECTOR, the PHY
     informs the MAC of the received PPDU parameters. Using the PHYCONFIG_VECTOR, the MAC
     configures the PHY for operation, independent of frame transmission or reception.

     22.2.2 TXVECTOR and RXVECTOR parameters

     The parameters in Table 22-1 are defined as part of the TXVECTOR parameter list in the PHY-
     TXSTART.request primitive and/or as part of the RXVECTOR parameter list in the PHY-
     RXSTART.indication primitive.


                                                                          d RXVECTOR parameters




                                                                                                                                      RXVECTOR
                                                                                                                           TXVECTOR
                 Parameter




                                    Condition                                       Value



                                                       Determines the format of the PPDU.                                  Y          Y
                                                       Enumerated type:
                                                         NON_HT indicates Clause 18 (Orthogonal frequency division
     FORMAT




                                                         multiplexing (OFDM) PHY specification) or non-HT
                                                         duplicated PPDU format. In this case, the modulation is
                                                         determined by the NON_HT_MODULATION parameter.
                                                         HT_MF indicates HT-mixed format.
                                                         HT_GF indicates HT-greenfield format.
                                                         VHT indicates VHT format.

                             FORMAT is NON_HT          In TXVECTOR, indicates the format type of the transmitted non-      Y          Y
     NON_HT_MODULATION




                                                       HT PPDU.
                                                       In RXVECTOR, indicates the estimated format type of the
                                                       received non-HT PPDU.
                                                       Enumerated type:
                                                          OFDM indicates Clause 18 (Orthogonal frequency division
                                                          multiplexing (OFDM) PHY specification) format
                                                          NON_HT_DUP_OFDM indicates non-HT duplicate format
                             Otherwise                 Not present                                                         N          N




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                                                           RXVECTOR parameters




                                                                                                                           RXVECTOR
                                                                                                                TXVECTOR
            Parameter

                               Condition                                  Value



                        FORMAT is NON_HT    Indicates the length of the PSDU in octets in the range of 1 to     Y          Y
                                            4095. This value is used by the PHY to determine the number of
                                            octet transfers that occur between the MAC and the PHY.
                        FORMAT is HT_MF     Indicates the value in the Length field of the L-SIG in the range   Y          Y
                                            of 1 to 4095.
     L_LENGTH




                        FORMAT is HT_GF     Not present                                                         N          N

                        FORMAT is VHT       Not present                                                         N          N

                                                                           e L-SIG in VHT PPDUs is
                                            defined in Equation (22-24) using the TXTIME value defined by
                                            Equation (22-109) and Equation (22-110), which in turn depend
                                            on other parameters including the TXVECTOR parameter
                                            APEP_LENGTH.
                        FORMAT is NON_HT    Indicates the data rate used to transmit the PSDU in Mb/s. The      Y          Y
                                            allowed values are 6, 9, 12, 18, 24, 36, 48, and 54.

                        FORMAT is HT_MF     Indicates the data rate value that is encoded in the L-SIG Rate     Y          Y
                                            field. This use is defined in 9.23.4 (L_LENGTH and
     L_DATARATE




                                            L_DATARATE parameter values for HT-mixed PPDUs).
                        FORMAT is HT_GF     Not present                                                         N          N

                        FORMAT is VHT       Not present                                                         N          N

                                                                              SIG field in a VHT PPDU is
                                            set to the value representing 6 Mb/s in the 20 MHz channel
                                            spacing column of Table 18-6 (Contents of the SIGNAL field).

                        FORMAT is VHT       Not present                                                         N          N
     LSIGVALID




                        Otherwise           See corresponding entry in Table 20-1



                        FORMAT is VHT       Not present                                                         N          N
     SERVICE




                        Otherwise           See corresponding entry in Table 20-1


                        FORMAT is VHT       Not present                                                         N          N
     SMOOTHING




                        Otherwise           See corresponding entry in Table 20-1




                        FORMAT is VHT       Not present                                                         N          N
     AGGREGATION




                        Otherwise           See corresponding entry in Table 20-1




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                                                                      RXVECTOR parameters




                                                                                                                                       RXVECTOR
                                                                                                                            TXVECTOR
                  Parameter

                                     Condition                                       Value



                              FORMAT is VHT             Not present                                                         N          N
     NUM_EXTEN_SS




                              Otherwise                 See corresponding entry in Table 20-1




                              FORMAT is VHT             Not present                                                         N          N
     ANTENNA_SET




                              Otherwise                 See corresponding entry in Table 20-1




                              FORMAT is HT_MF,          Indicates the number of transmit chains.                            Y          N
     N_TX




                              HT_GF or VHT
                              Otherwise                 Not present                                                         N          N
                              FORMAT is VHT and         Set to COMPRESSED_SV                                                Y          N
     EXPANSION_MAT_TYPE




                              EXPANSION_MAT
                              is present.
                              Otherwise                 See corresponding entry in Table 20-1




                              FORMAT is VHT             Contains a vector in the number of selected subcarriers             M          N
     EXPANSION_MAT




                                                        containing feedback matrices as defined in 22.3.11.2 based on       U
                                                        the channel measured during the training symbols of a previous
                                                        VHT NDP PPDU.

                              Otherwise                 See corresponding entry in Table 20-1



                              FORMAT is VHT and         Set to COMPRESSED_SV                                                N          Y
     CHAN_MAT_TYPE




                              PSDU_LENGTH equals 0
                              FORMAT is VHT and         Not present                                                         N          N
                              PSDU_LENGTH is
                              greater than 0

                              Otherwise                 See corresponding entry in Table 20-1




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                                                             RXVECTOR parameters




                                                                                                                              RXVECTOR
                                                                                                                   TXVECTOR
            Parameter

                               Condition                                    Value



                        FORMAT is VHT and      Contains a set of compressed beamforming feedback matrices as       N          Y
                        PSDU_LENGTH equals 0   defined in 22.3.11.2 based on the channel measured during the
     CHAN_MAT




                                               training symbols of the received VHT NDP PPDU.
                        FORMAT is VHT and      Not present                                                         N          N
                        PSDU_LENGTH is
                        greater than 0
                        Otherwise              See corresponding entry in Table 20-1

                        FORMAT is VHT          Contains an array of delta SNR values as defined in 8.4.1.49        M          Y
                                               based on the channel measured during the training symbols of        U
     DELTA_SNR




                                               the received VHT NDP PPDU.


                                               VHT NDP PPDUs for MU sounding.

                        Otherwise              Not present                                                         N          N
                                               Is a measure of the received RF power averaged over all the         N          Y
     RCPI




                                               receive chains in the Data field of a received PPDU. Refer to
                                               20.3.21.6 for the definition of RCPI.
                        FORMAT is VHT          Contains an array of received SNR measurements for each             N          Y
                                               spatial stream. SNR indications of 8 bits are supported. SNR
                                               shall be the sum of the decibel values of SNR per tone divided by
     SNR




                                               the number of tones represented in each stream as described in
                                               8.4.1.48
                        Otherwise              See corresponding entry in Table 20-1

                        FORMAT is VHT          Not present                                                         N          N
     NO_SIG_EXTN




                        Otherwise              See corresponding entry in Table 20-1




                        FORMAT is VHT          Indicates which FEC encoding is used.                               M          Y
     FEC_CODING




                                               Enumerated type:                                                    U
                                                  BCC_CODING indicates binary convolutional code.
                                                  LDPC_CODING indicates low-density parity check code.

                        Otherwise              See corresponding entry in Table 20-1

                        FORMAT is VHT          Indicates whether STBC is used.                                     Y          Y
                                               0 indicates no STBC (NSTS=NSS in the Data field).
     STBC




                                               1 indicates STBC is used (NSTS=2NSS in the Data field).
                                               This parameter is 0 for a VHT MU PPDU.

                        Otherwise              See corresponding entry in Table 20-1




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                                                                RXVECTOR parameters




                                                                                                                                 RXVECTOR
                                                                                                                      TXVECTOR
            Parameter

                               Condition                                       Value



                        FORMAT is HT_MF,          Indicates whether a short guard interval is used in the             Y          Y
                        HT_GF or VHT              transmission of the Data field of the PPDU.
                                                  Enumerated type:
     GI_TYPE




                                                     LONG_GI indicates short GI is not used in the Data field of
                                                     the PPDU.
                                                     SHORT_GI indicates short GI is used in the Data field of the
                                                     PPDU.
                        Otherwise                 Not present                                                         N          N

                        FORMAT is VHT             The allowed values for the TXPWR_LEVEL parameter are in             Y          N
     TXPWR_LEVEL




                                                  the range from 1 to
                                                  numberOfOctets(dot11TxPowerLevelExtended)/2. This
                                                  parameter is used to indicate which of the available transmit
                                                  output power levels defined in dot11TxPowerLevelExtended
                                                  shall be used for the current transmission.
                        Otherwise                 See corresponding entry in Table 20-1

                        FORMAT is VHT             The allowed values for the RSSI parameter are in the range 0 to     N          Y
                                                  255 inclusive. This parameter is a measure by the PHY of the
                                                  power observed at the antennas used to receive the current PPDU
     RSSI




                                                  measured during the reception of the VHT-LTF field. RSSI is
                                                  intended to be used in a relative manner, and it is a
                                                  monotonically increasing function of the received power.

                        Otherwise                 See corresponding entry in Table 20-1
                        FORMAT is VHT             Indicates the modulation and coding scheme used in the              M          Y
                                                  transmission of the PPDU.                                           U
     MCS




                                                  Integer: range 0 to 9

                        Otherwise                 See corresponding entry in Table 20-1
                        FORMAT is HT_MF,
     REC_MCS




                        HT_GF or VHT
                        Otherwise                 Not present                                                         N          N




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                                                                    RXVECTOR parameters




                                                                                                                                  RXVECTOR
                                                                                                                       TXVECTOR
                     Parameter

                                        Condition                                 Value



                                 FORMAT is HT_MF or   See corresponding entry in Table 20-1
                                 HT_GF
                                 FORMAT is VHT        Indicates the channel width of the transmitted PPDU:            Y           Y
                                                      Enumerated type:
                                                         CBW20 for 20 MHz
                                                         CBW40 for 40 MHz
     CH_BANDWIDTH




                                                         CBW80 for 80 MHz
                                                         CBW160 for 160 MHz
                                                         CBW80+80 for 80+80 MHz
                                 FORMAT is NON_HT     In TXVECTOR, indicates the channel width of the transmitted     Y           Y
                                                      PPDU.
                                                      In RXVECTOR, indicates the estimated channel width of the
                                                      received PPDU.
                                                      Enumerated type:
                                                         CBW40, CBW80, CBW160, or CBW80+80 if
                                                            NON_HT_MODULATION equals
                                                            NON_HT_DUP_OFDM
                                                         CBW20 if NON_HT_MODULATION equals OFDM

                                 FORMAT is NON_HT     In TXVECTOR, if present, indicates whether the transmitter is   O           Y
     DYN_BANDWIDTH_IN_NON_HT




                                                      capable of Static or Dynamic bandwidth operation.
                                                      In RXVECTOR, if valid, indicates whether the transmitter is
                                                      capable of Static or Dynamic bandwidth operation.
                                                      Enumerated type:
                                                         Static if the transmitter is capable of Static bandwidth
                                                            operation
                                                         Dynamic if the transmitter is capable of Dynamic bandwidth
                                                            operation


                                                      determined by the MAC based on the contents of the received
                                                      MPDU.

                                 Otherwise            Not present                                                     N           N

                                 FORMAT is NON_HT     In TXVECTOR, if present, indicates the channel width of the     O           Y
     CH_BANDWIDTH_IN_NON_HT




                                                      transmitted PPDU, which is signaled via the scrambling
                                                      sequence.
                                                      In RXVECTOR, if valid, indicates the channel width of the
                                                      received PPDU, which is signaled via the scrambling sequence.
                                                      Enumerated type:
                                                         CBW20, CBW40, CBW80, CBW160, CBW80+80


                                                      determined by the MAC based on the contents of the currently
                                                      received MPDU (e.g RTS) or the previous MPDU in an
                                                      exchange (e.g., the RTS preceding a CTS).
                                 Otherwise            Not present                                                     N           N

                                 FORMAT is HT_MF or   See corresponding entry in Table 20-1
     LENGTH




                                 HT_GF

                                 Otherwise            Not present                                                     N           N




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                                                                   RXVECTOR parameters




                                                                                                                                    RXVECTOR
                                                                                                                         TXVECTOR
              Parameter

                                 Condition                                        Value



                          FORMAT is VHT             If equal to 0, indicates a VHT NDP PPDU for both RXVECTOR            M          O
                                                    and TXVECTOR.                                                        U

                                                    If greater than 0 in the TXVECTOR, indicates the number of
                                                    octets in the range 1 to 1 048 575 in the A-MPDU pre-EOF
                                                    padding (see 9.12.2) carried in the PSDU. This parameter is used
                                                    to determine the number of OFDM symbols in the Data field that
     APEP_LENGTH




                                                    do not appear after a subframe with 1 in the EOF subfield and,
                                                    after being rounded up to a 4 octet boundary with the two LSBs
                                                    removed, is placed in the VHT-SIG-B Length field.


                                                    4-octet word boundary could result in a value that is larger than
                                                    the PSDU_LENGTH calculated using the equations in 22.4.3.

                                                    If greater than 0 in the RXVECTOR, this parameter is the value
                                                    obtained from the VHT-SIG-B Length field multiplied by 4.

                          Otherwise                 Not present                                                          N          N

                          FORMAT is VHT             Indicates the number of octets in the VHT PSDU in the range of       N          Y
     PSDU_LENGTH




                                                    0 to 1 048 575 octets. A value of 0 indicates a VHT NDP PPDU.

                          Otherwise                 Not present                                                          N          N




                          FORMAT is VHT and         Index for user in MU transmission. Integer: range 0-3.               M          O
     USER_POSITION




                          1 GROUP_ID 62                                                                                  U
                                                                                   ER_POSITION array are in
                                                    ascending order.
                          Otherwise                 Not present                                                          N          N


                          FORMAT is VHT             Indicates the number of space-time streams.                          M          Y
     NUM_STS




                                                    Integer: range 1-8 for SU, 1-4 per user in the TXVECTOR and 0-       U
                                                    4 in the RXVECTOR for MU.
                                                    NUM_STS summed over all users is in the range 1 to 8.

                          Otherwise                 Not present                                                          N          N
                          FORMAT is VHT             Indicates the group ID.                                              Y          Y
     GROUP_ID




                                                    Integer: range 0-63 (see Table 22-12)
                                                    A value of 0 or 63 indicates a VHT SU PPDU. A value in the
                                                    range 1 to 62 indicates a VHT MU PPDU.

                          Otherwise                 Not present                                                          N          N

                          FORMAT is VHT and         Provides an abbreviated indication of the intended recipient(s) of   Y          Y
     PARTIAL_AID




                          GROUP_ID is 0 or 63       the PSDU (see 9.17a).
                                                    Integer: range 0-511.
                          Otherwise                 Not present                                                          N          N




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                                                                        RXVECTOR parameters




                                                                                                                                        RXVECTOR
                                                                                                                             TXVECTOR
                        Parameter

                                           Condition                                  Value



                                    FORMAT is VHT         Indicates the number of users with non-zero space-time streams.   Y           N
     NUM_USERS




                                                          Integer: range 1 to 4.
                                    Otherwise             Not present                                                       N           N



                                    FORMAT is VHT and     Set to 1 if a beamforming steering matrix is applied to the       Y           O
     BEAMFORMED




                                    GROUP_ID is 0 or 63   waveform in an SU transmission as described in 20.3.11.11.2.
                                                          Set to 0 otherwise.

                                                                                               t to 1, smoothing is not
                                                          recommended.

                                    Otherwise             Not present                                                       N           N
                                    FORMAT is VHT         Indicates whether a VHT AP allows non-AP VHT STAs in              Y           Y
     TXOP_PS_NOT_ALLOWED




                                                          TXOP power save mode to enter Doze state during the TXOP.

                                                          0 indicates that the VHT AP allows non-AP VHT STAs to enter
                                                          doze mode during a TXOP.

                                                          1 indicates that the VHT AP does not allow non-AP VHT STAs
                                                          to enter doze mode during a TXOP.
                                    Otherwise             Not present                                                       N           N


                                                          Boolean value:                                                    O           N
     TIME_OF_DEPARTURE_REQUESTED




                                                            True indicates that the MAC entity requests that the PHY
                                                            entity measures and reports time of departure parameters
                                                            corresponding to the time when the first PPDU energy is sent
                                                            by the transmitting port.
                                                            False indicates that the MAC entity requests that the PHY
                                                            entity neither measures nor reports time of departure
                                                            parameters.




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                                                                                  RXVECTOR parameters




                                                                                                                                                   RXVECTOR
                                                                                                                                        TXVECTOR
                      Parameter

                                              Condition                                          Value



                                      dot11MgmtOptionTiming         0 to 232                             et (in 10 ns units) from the   N          Y
     RX_START_OF_FRAME_OFFSET




                                      MsmtActivated is true         point in time at which the start of the preamble corresponding to
                                                                    the incoming frame arrived at the receive antenna port to the
                                                                    point in time at which this primitive is issued to the MAC.

                                      Otherwise                     Not present                                                         N          N




                                Y = Present;
                                N = Not present;
                                O = Optional;
                                MU indicates that the parameter is present once for a VHT SU PPDU and present per user for a VHT MU PPDU.
                                Parameters specified to be present per user are conceptually supplied as an array of values indexed by u, where u
                                takes values 0 to NUM_USERS-1.

                                        valid, the CH_BANDWIDTH_IN_NON_HT parameter is likely to be a more reliable
         indication of subformat and channel width than the NON_HT_MODULATION and CH_BANDWIDTH parameters,
         since for non-HT or non-HT duplicate frames, CH_BANDWIDTH is a receiver estimate of the bandwidth, whereas
         CH_BANDWIDTH_IN_NON_HT is the signaled bandwidth.



     22.2.3 Effects of CH_BANDWIDTH parameter on PPDU format

     Table 22-2 shows the PPDU format as a function of the CH_BANDWIDTH parameter.


                                                                                       tion of CH_BANDWIDTH parameter

                                              NON_HT_
        FORMAT                                                     CH_BANDWIDTH                                  PPDU format
                                             MODULATION

    VHT,                                                          CBW20                     The STA transmits an HT-mixed PPDU (when
    HT_MF or                                                                                FORMAT is HT_MF) or HT-greenfield PPDU (when
    HT_GF                                                                                   FORMAT is HT_GF) or VHT PPDU (when FORMAT
                                                                                            is VHT) of 20 MHz bandwidth. If the operating channel
                                                                                            width is wider than 20 MHz, then the transmission shall
                                                                                            use the primary 20 MHz channel.

    VHT,                                                          CBW40                     The STA transmits an HT-mixed PPDU (when
    HT_MF or                                                                                FORMAT is HT_MF) or HT-greenfield PPDU (when
    HT_GF                                                                                   FORMAT is HT_GF) or VHT PPDU (when FORMAT
                                                                                            is VHT) of 40 MHz bandwidth. If the operating channel
                                                                                            width is wider than 40 MHz, then the transmission shall
                                                                                            use the primary 40 MHz channel.




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                      NON_HT_
     FORMAT                                 CH_BANDWIDTH                       PPDU format
                     MODULATION

    VHT                                    CBW80           The STA transmits a VHT PPDU of 80 MHz
                                                           bandwidth. If the operating channel width is 160 MHz
                                                           or 80+80 MHz, then the transmission shall use the
                                                           primary 80 MHz channel.
    VHT                                    CBW160          The STA transmits a VHT PPDU of 160 MHz
                                                           bandwidth.
    VHT                                    CBW80+80        The STA transmits a VHT PPDU of 80+80 MHz
                                                           bandwidth.
    NON_HT           OFDM                  CBW20           The STA transmits a NON_HT PPDU with
                                                           NON_HT_MODULATION set to OFDM using the
                                                           primary 20 MHz channel as defined in Clause 18.

    NON_HT           NON_HT_DUP_           CBW40           The STA transmits a NON_HT PPDU with
                     OFDM                                  NON_HT_MODULATION set to
                                                           NON_HT_DUP_OFDM using two adjacent 20 MHz
                                                           channels as defined in 22.3.10.12. If the operating
                                                           channel width is wider than 40 MHz, then the
                                                           transmission shall use the primary 40 MHz channel.
                                                           The one 20 MHz channel higher in frequency is rotated
                                                           +90º relative to the 20 MHz channel lowest in
                                                           frequency as defined in Equation (22-15).

    NON_HT           NON_HT_DUP_           CBW80           The STA transmits a NON_HT PPDU with
                     OFDM                                  NON_HT_MODULATION set to
                                                           NON_HT_DUP_OFDM using four adjacent 20 MHz
                                                           channels as defined in 22.3.10.12. If the BSS operating
                                                           channel width is 160 MHz or 80+80 MHz, then the
                                                           transmission shall use the primary 80 MHz channel.
                                                           The three 20 MHz channels higher in frequency are
                                                           rotated +180º relative to the 20 MHz channel lowest in
                                                           frequency as defined in Equation (22-16).

    NON_HT           NON_HT_DUP_           CBW160          The STA transmits a NON_HT PPDU with
                     OFDM                                  NON_HT_MODULATION set to
                                                           NON_HT_DUP_OFDM using eight adjacent 20 MHz
                                                           channels as defined in 22.3.10.12. The second, third,
                                                           fourth, sixth, seventh, and eighth 20 MHz channels in
                                                           the order of increasing frequency are rotated +180º
                                                           relative to the 20 MHz channel lowest in frequency as
                                                           defined in Equation (22-17).

    NON_HT           NON_HT_DUP_           CBW80+80        The STA transmits a NON_HT PPDU with
                     OFDM                                  NON_HT_MODULATION set to
                                                           NON_HT_DUP_OFDM using two non-adjacent
                                                           frequency segments, with each frequency segment
                                                           consisting of four adjacent 20 MHz channels as defined
                                                           in 22.3.10.12. In each frequency segment, the three
                                                           20 MHz channels higher in frequency are rotated +180º
                                                           relative to the 20 MHz channel lowest in frequency as
                                                           defined in Equation (22-16).




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     22.2.4 Support for NON_HT and HT formats

     22.2.4.1 General

     A VHT STA logically contains Clause 18, Clause 20, and Clause 22 PHYs. The MAC interfaces to the
     PHYs via the Clause 22 PHY service interface, which in turn interacts with the Clause 18 and Clause 20
     PHY service interfaces as shown in Figure 22-1, Figure 22-2, and Figure 22-3.


                                                              Clause 22 PHY-TXSTART.request(TXVECTOR)
         Clause 22
    PHY-TXSTART.confirm          FORMAT     FORMAT = NON_HT and                             FORMAT = NON_HT and                  FORMAT
      PHY-DATA.request              = HT    NON_HT_MODULATION                              NON_HT_MODULATION =                     = VHT
     PHY-DATA.confirm                                   = OFDM                                NON_HT_DUP_OFDM
     PHY-TXEND.request
     PHY-TXEND.confirm




                                                                                                                      TXVECTOR




                                                                                                                                           TXVECTOR
                                                                                         Clause 18      Clause 22
         Clause 20               22.2.4.3        Clause 18              22.2.4.2    PHY-TXSTART.confirm Transmit
    PHY-TXSTART.confirm                     PHY-TXSTART.confirm                       PHY-DATA.request  Procedure
      PHY-DATA.request          Clause 20     PHY-DATA.request         Clause 18      PHY-DATA.confirm
      PHY-DATA.confirm       PHY-TXSTART      PHY-DATA.confirm      PHY-TXSTART      PHY-TXEND.request
     PHY-TXEND.request           .request    PHY-TXEND.request          .request     PHY-TXEND.confirm
     PHY-TXEND.confirm        (TXVECTOR)     PHY-TXEND.confirm       (TXVECTOR)



         Clause 20 Transmit Procedure;           Clause 18 Transmit Procedure;        Clause 18    22.3.10.12 and                 Clause 22
      Clause 20 PPDU extended by 22.2.3       Clause 18 PPDU extended by 22.2.3       Transmit     22.3.18 non-HT                 VHT PPDU
             and 22.3.9.2, and with                  and 22.3.9.1, and with           Procedure    duplicate PPDU
       22.3.18.1 instead of 20.3.20.1 and       22.3.18.1 instead of 18.3.9.3 and
        22.3.18.4.2 instead of 20.3.20.4        22.3.18.4.2 instead of 18.3.9.7.2




                                                                   transmit for various PPDU formats




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                                                                            Clause 22 PHY-RXSTART.indication(RXVECTOR)
          Clause 22
     PHY-DATA.indication
    PHY-RXEND.indication



    Note: Not all                                 22.2.4.2                Clause 18                     22.2.4.3                  Clause 20
    parameters are                                                    PHY-DATA.indication                                     PHY-DATA.indication
    shown.                                                           PHY-RXEND.indication                                    PHY-RXEND.indication


                                                     Clause 18              Clause 18                                                       Clause 20             Clause 22
                                                                             Receive                       Clause 20                         Receive               Receive
                                                  PHY-RXSTART                                           PHY-RXSTART
                                                     .indication            Procedure                                                       Procedure             Procedure
                                                                                                           .indication
                                                   (RXVECTOR)                                            (RXVECTOR)

                                                  NON_HT             NON_HT +                               HT                                                          VHT
                                                  + OFDM             NON_HT_DUP_OFDM


                                                                                                 Format Detection




                                                                                       receive for various PPDU formats




                  C la u se 2 2 P H Y -C O N F IG .re q u est                             C la u se 2 2 P H Y -C O N F IG .c o n firm                                C la u se 2 2
                        (P H Y C O N FIG _ V E C T O R )                                                                                                   P H Y -C C A R E S E T .re q u est
                                                                                                                                                           P H Y -C C A R E S E T .c o n firm
                                                                                                                                                              P H Y -C C A .in d icatio n
                            C onfigure all P H Y s .                                       C onfirm c o nfigu ration o f all P H Y s


                                                                                                                                                             T he P H Y -C C A an d P H Y -
          22 .2 .4 .2               22 .2 .4 .3                               C la us e 18 P H Y -    C la us e 20 P H Y -             C la use 22         C C A R E S E T prim itive s fro m
                                                                              C O N F IG .con firm    C O N F IG .con firm                               clau ses 18 an d 20 are unu sed
     C la use 18 P H Y -       C la us e 20 P H Y -          C la us e 22                                                                                (C C A re quirem ents are de fined
     C O N F IG .reques t      C O N F IG .requ e st                                                                                                            in 22 .3.19 .5 instead )
      (P H Y C O N FIG _        (P H Y C O N F IG _
         VECTOR)                   VEC TO R )



                                                                                             th Clause 18, Clause 20, and Clause 22 PHYs




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     22.2.4.2 Support for NON_HT format when NON_HT_MODULATION is OFDM

     When a PHY-TXSTART.request(TXVECTOR) primitive with the FORMAT parameter equal to NON_HT
     and the NON_HT_MODULATION parameter equal to OFDM is issued, the behavior of the VHT PHY is
     defined in Clause 18 with additional requirements described in the following subclauses:




     The Clause 22 TXVECTOR parameters in Table 22-1 are mapped to Clause 18 TXVECTOR parameters in
     Table 18-1 according to Table 22-3 and the Clause 18 PHY-TXSTART.request(TXVECTOR) primitive is
     issued.

                                 is set to NON_HT and the NON_HT_MODULATION parameter is set to
     NON_HT_DUP_OFDM in a PHY-TXSTART.request(TXVECTOR) primitive, the behavior of the VHT PHY is
     defined in Clause 22.

     When the VHT PHY receives a Clause 22 PHYCONFIG.request(PHYCONFIG_VECTOR) primitive, the
     VHT PHY shall issue a Clause 18 PHYCONFIG.request(PHYCONFIG_VECTOR) primitive but with the
     OPERATING_CHANNEL             and       CHANNEL_OFFSET           parameters       discarded from
     PHYCONFIG_VECTOR. In order to transmit a non-HT PPDU on the primary channel, the MAC shall
     configure dot11CurrentFrequency to dot11CurrentPrimaryChannel before transmission.

     As defined in 22.3.21, once a PPDU is received and detected as a NON_HT PPDU, the behavior of the VHT
     PHY is defined in Clause 18. The RXVECTOR parameters from the Clause 18 PHY-RXSTART.indication
     primitive are mapped to the Clause 22 RXVECTOR parameters as defined in Table 22-3. VHT PHY
     parameters not listed in the table are not present.




                                                     5 GHz operation defined by
                 VHT PHY Parameter                                                           Parameter List
                                                             Clause 18

          L_LENGTH                               LENGTH                               TXVECTOR/RXVECTOR
          L_DATARATE                             DATARATE                             TXVECTOR/RXVECTOR

          TXPWR_LEVEL                            TXPWR_LEVEL                          TXVECTOR

          RSSI                                   RSSI                                 RXVECTOR
          SERVICE                                SERVICE                              TXVECTOR/RXVECTOR

          RCPI                                   RCPI                                 RXVECTOR
          CH_BANDWIDTH_IN_NON_HT                 CH_BANDWIDTH_IN_NON_HT               TXVECTOR/RXVECTOR

          DYN_BANDWIDTH_IN_NON_HT                DYN_BANDWIDTH_IN_NON_HT              TXVECTOR/RXVECTOR

          OPERATING_CHANNEL                      discarded (see NOTE)                 PHYCONFIG_VECTOR
          CHANNEL_OFFSET                         discarded (see NOTE)                 PHYCONFIG_VECTOR

                  fc in Equation (18-1) is set from dot11CurrentFrequency.




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     22.2.4.3 Support for HT formats

     When a PHY-TXSTART.request(TXVECTOR) primitive with the TXVECTOR parameter FORMAT in a
     PHY-TXSTART.request equal to HT_MF or HT_GF, the behavior of the PHY is defined by Clause 20 with
     additional requirements defined in the following subclauses:




     The Clause 22 TXVECTOR parameters in Table 22-1 are mapped directly to Clause 20 TXVECTOR
     parameters in Table 20-1 and the Clause 20 PHY-TXSTART.request(TXVECTOR) primitive is issued.

     When the VHT PHY receives a Clause 22 PHYCONFIG.request(PHYCONFIG_VECTOR) primitive, the
     VHT PHY shall issue a Clause 20 PHYCONFIG.request(PHYCONFIG_VECTOR) primitive but with the
     OPERATING_CHANNEL parameter set to min(40 MHz, dot11CurrentChannelWidth) and the
     CHANNEL_OFFSET parameter set to CH_OFFSET_NONE if dot11CurrentChannelWidth indicates
     20 MHz, to CH_OFFSET_ABOVE if f P20 idx f S20 idx , or to CH_OFFSET_BELOW if f P20 idx f S20 idx . In
     order to transmit a 40 MHz HT PPDU, the MAC shall configure dot11CurrentSecondaryChannel to f S20 idx .
     The quantities f P20 idx and f S20 idx are defined in 22.3.7.3.

     As defined in 22.3.21, once a PPDU is received and detected as an HT PPDU, the behavior of the VHT PHY
     is defined in Clause 20. The RXVECTOR parameters in Table 20-1 from the Clause 20 PHY-
     RXSTART.indication primitive are mapped directly to the RXVECTOR parameters in Table 22-1 and a
     Clause 22 PHY-RXSTART.indication primitive is issued.


     22.3 VHT PHY layer

     22.3.1 Introduction

     This subclause provides the procedure by which PSDUs are converted to and from transmissions on the
     wireless medium.

     During transmission, a PSDU (in the SU case) or one or more PSDUs (in the MU case) are processed (i.e.,
     scrambled and coded) and appended to the PHY preamble to create the PPDU. At the receiver, the PHY
     preamble is processed to aid in the detection, demodulation, and delivery of the PSDU.

     22.3.2 VHT PPDU format

     A single PPDU format is defined for this PHY: the VHT PPDU format. Figure 22-4 shows the VHT PPDU
     format.


             8 µs           8 µs        4 µs         8 µs     4 µs   4 µs per VHT-LTF symbol   4 µs


                                        L-                    VHT-                             VHT-
            L-STF          L-LTF                  VHT-SIG-A                VHT-LTF                           Data
                                       SIG                    STF                              SIG-B




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     The fields of the VHT PPDU format are summarized in Table 22-4.




                               Field                                  Description

                        L-STF               Non-HT Short Training field
                        L-LTF               Non-HT Long Training field
                        L-SIG               Non-HT SIGNAL field

                        VHT-SIG-A           VHT Signal A field
                        VHT-STF             VHT Short Training field

                        VHT-LTF             VHT Long Training field
                        VHT-SIG-B           VHT Signal B field
                        Data                The Data field carries the PSDU(s)



     The VHT-SIG-A, VHT-STF, VHT-LTF, and VHT-SIG-B fields exist only in VHT PPDUs. In a VHT NDP
     the Data field is not present. The number of symbols in the VHT-LTF field, NVHTLTF, can be either 1, 2, 4, 6,
     or 8 and is determined by the total number of space-time streams across all users being transmitted in the
     VHT PPDU (see Table 22-13).

     22.3.3 Transmitter block diagram

     The generation of each field in a VHT PPDU uses many of the following blocks:
       a)    PHY padding
       b)    Scrambler
       c)    BCC encoder parser
       d)    FEC (BCC or LDPC) encoders
       e)    Stream parser
       f)    Segment parser (for contiguous 160 MHz and noncontiguous 80+80 MHz transmissions)
       g)    BCC interleaver
       h)    Constellation mapper
       i)    Pilot insertion
       j)    Replicate over multiple 20 MHz (if BW > 20 MHz)
       k)    Multiply by 1st column of PVHTLTF
       l)    LDPC tone mapper
       m)    Segment deparser
       n)    Space time block code (STBC) encoder
       o)    Cyclic shift diversity (CSD) per STS insertion
       p)    Spatial mapper
       q)    Inverse discrete Fourier transform (IDFT)
       r)    Cyclic shift diversity (CSD) per chain insertion
       s)    Guard interval (GI) insertion
       t)    Windowing



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     Figure 22-5 to Figure 22-16 show example transmitter block diagrams. The actual structure of the
     transmitter is implementation dependent. In particular, Figure 22-5 shows the transmit process for the L-SIG
     and VHT-SIG-A fields of a VHT PPDU using one frequency segment. These transmit blocks are also used
     to generate the non-VHT modulated fields of the VHT PPDU, except that the BCC encoder and interleaver
     are not used when generating the L-STF and L-LTF fields.


                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                                     and
                                                                                                                                   and RF
                                                                                                                   Window




                                                                       20 MHz if BW > 20 MHz
                                                                                                                  Insert GI



                                                                        Replicate over multiple
                                                Constellation Mapper                                                               Analog
                                                                                                         CSD         and
                              BCC Interleaver




                                                                                                                                   and RF
                BCC Encoder




                                                                                                                   Window




                                                                                                  IDFT




                                                                                                         ...
                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                         CSD         and
                                                                                                                                   and RF
                                                                                                                   Window
                                  Single Spatial Stream


                                                                                                               Transmit Chains




     Figure 22-6 and Figure 22-7 show the transmit process for generating the VHT-SIG-B field of a VHT SU
     PPDU and VHT MU PPDU, respectively, in 20 MHz, 40 MHz, and 80 MHz channel widths. Figure 22-8
     and Figure 22-9 show the transmit process for generating the VHT_SIG-B field of a 160 MHz and
     80+80 MHz VHT SU PPDU, respectively.

     Figure 22-10 shows the transmitter blocks used to generate the Data field of a 20 MHz, 40 MHz, and
     80 MHz VHT SU PPDU with BCC encoding for a single frequency segment. A subset of these transmitter
     blocks consisting of the constellation mapper and CSD blocks, as well as the blocks to the right of, and
     including, the spatial mapping block, are also used to generate the VHT-LTF fields. This is illustrated in
     Figure 22-21. A subset of these transmitter blocks consisting of the constellation mapper and CSD blocks, as
     well as the blocks to the right of, and including, the spatial mapping block, are also used to generate the
                                                         k
     VHT-STF field but without the multiplication by A VHTLTF     (defined in Equation (22-40)).

     Figure 22-11 shows the transmitter blocks used to generate the Data field of a 20 MHz, 40 MHz, and
     80 MHz VHT SU PPDU with LDPC encoding for a single frequency segment.

     Figure 22-12 shows the transmit process for generating the Data field of a 20 MHz, 40 MHz, or 80 MHz
     VHT MU PPDU with BCC and LDPC encoding.

     Figure 22-13 and Figure 22-14 show the transmit process for generating the Data field of a contiguous 160
     MHz VHT SU PPDU with BCC and LDPC encoding, respectively.

     Figure 22-15 and Figure 22-16 show the transmit process for generating the Data field of a noncontiguous
     80+80 MHz VHT SU PPDU with BCC and LDPC encoding, respectively.




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                                                                                                                                                                                                                                                                          Insert GI
                                                                                                                                                                                                                                                                                          Analog
                                                                                                                                                                                                                                                           IDFT              and
                                                                                                                                                                                                                                                                                          and RF
       VHT-SIG-B Bit Repetition
                                                                                                                                                                                                                                                                          Window




                                                                                                                           Constellation Mapper
                                                                                                                                                                                                     CSD                                                                  Insert GI
                                                                                                                                                                                                                                                                                          Analog




                                                                                                                                                                  Multiply by 1st Column of




                                                                                                                                                                                                                   Spatial Mapping
                                                                                   BCC Interleaver
          if BW > 20 MHz



                                                       BCC Encoder                                                                                                                                   per                                                   IDFT              and
                                                                                                                                                                                                                                                                                          and RF
                                                                                                                                                                                                     STS                                                                  Window




                                                                                                                                                                                                     ...




                                                                                                                                                                                                                                                           ...
                                                                                                                                                                                                     CSD                                                                  Insert GI
                                                                                                                                                                                                                                                                                          Analog
                                                                                                                                                                                                     per                                                   IDFT              and
                                                                                                                                                                                                                                                                                          and RF
                                                                                                                                                                                                     STS                                                                  Window


                                                Single Spatial Stream                                                                                                                              Space-Time                                                        Transmit Chains
                                                                                                                                                                                                   Streams

                                                                                                                                                                                                      T-SIG-B field of a 20 MHz, 40 MHz, and 80 MHz
                                                                                                                                                                                              VHT SU PPDU
                   VHT-SIG-B Bit Repetition




                                                                                                                                                                                                                                                                           Insert GI
                                                                                                                                                         Multiply by User Specific
                                                                                                                                                         Elements of 1st Column




                                                                                                                                                                                                                                                                                           Analog
                                                                                                                   Constellation Mapper




                                                                                                                                                          of PVHTLTF for User 0




                                                                                                                                                                                                                                                             IDFT             and
                                                                                                                                                                                                                                                                                           and RF
                                                                                   BCC Interleaver




                                                                                                                                                                                                                                                                            Window
                       if BW>20MHz


                                                             BCC Encoder




                                                                                                                                                                                                     CSD
                                                                                                                                                                                                    per STS
                                                                                                                                                                                                          ...




                                                                                                                                                                                                                                                                           Insert GI
                                                                                                                                                                                                     CSD                                                                                   Analog
                                                                                                                                                                                                                                                             IDFT             and
                                                                                                                                                                                                    per STS                                                                                and RF
                                                                                                                                                                                                                                                                            Window


                                           Single Spatial Stream
                                                                                                                                                                                                                                     Spatial Mapping




                                                                                                                                                                                               ,0
    User 0                                                                                                                                               Space-time Streams
     ...




                                                                                                                                                                                                                                                                               ...
                                                                                                                                                               Elements of 1st Column of
                            VHT-SIG-B Bit Repetition




                                                                                                                                                               Multiply by User Specific




                                                                                                                                                                                                       CSD
                                                                                                                                                                                    -1
                                                                                                                                  Constellation Mapper




                                                                                                                                                                                                      per STS
                                                                                               BCC Interleaver
                                if BW>20MHz


                                                                     BCC Encoder




                                                                                                                                                                PVHTLTF for User



                                                                                                                                                                                                           ...




                                                                                                                                                                                                       CSD
                                                                                                                                                                                                      per STS                                                              Insert GI
                                                                                                                                                                                                                                                                                           Analog
                                                                                                                                                                                                                                                             IDFT             and
                                                                                                                                                                                                                                                                                           and RF
                                                                                                                                                                                                                                                                            Window
                                                       Single Spatial Stream                                                                                                                   ,     -1
     User                                -1                                                                                                                  Space-time Streams


                                                                                                                                                                                                                      ,total                                          Transmit Chains
                                                                                                                                                                                                          Space-time Streams

                                                                                                                                                                                                      T-SIG-B field of a 20 MHz, 40 MHz, and 80 MHz
                                                                                                                                                                                              VHT MU PPDU




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                                                                                                                                                                                                                                                                                                    Insert GI
                                                                                                                                                                                                                                                                                                                      Analog
                                                                                                                                                                                                                                                                                      IDFT             and
                                                                                                                                                                                                                                                                                                                      and RF




                                                                                                                Constellation
                                                                                                                                                                                                                                                                                                     Window




                                                                                              Interleaver
                                                                                                                                                                                                                                    CSD




                                                                                                                  mapper
     VHT-SIG-B Bit Repetition




                                                                                                 BCC
                                                                                                                                                                                                                                   per STS




                                                                                                                                                                   Segment Deparser
         if BW=160MHz


                                                                                                                                                                                                                                                                                                    Insert GI
                                      BCC Encoder



                                                                  Segment Parser
                                                                                                                                                                                                                                                                                                                      Analog




                                                                                                                                                                                                  Multiply By 1st Column of
                                                                                                                                                                                                                                                                                      IDFT             and




                                                                                                                                                                                                                                               Spatial Mapping
                                                                                                                                                                                                                                                                                                                      and RF
                                                                                                                                                                                                                                                                                                    Window




                                                                                                                Constellation




                                                                                                                                                                                                                                      ...
                                                                                              Interleaver




                                                                                                                                                                                                                                                                                       ...
                                                                                                                  mapper
                                                                                                 BCC
                                                                                                                                                                                                                                                                                                    Insert GI
                                                                                                                                                                                                                                                                                                                      Analog
                                                                                                                                                                                                                                                                                      IDFT            and
                                                                                                                                                                                                                                    CSD                                                                               and RF
                                                                                                                                                                                                                                                                                                    Window
                                                                                                                                                                                                                                   per STS



                                                                                   Single Spatial Stream                                                                                                                          Space-Time                                                   Transmit Chains
                                                                                                                                                                                                                                  Streams


                                                                                                                                                                                                                                   VHT-SIG-B field of a 160 MHz VHT SU PPDU




                                                                                                                                                                                                                                                                                                          Insert GI
                                                                                                                                                                                                                                                                                                                               Analog
                                                                                                                                                                                                                                                                                             IDFT           and
                                                                                                                                                                                                                                                                                                                               and RF
                                                                                                                                                                                                                                                                                                          Window
                                                                                                                                                                                     Multiply By 1st Column of PVHTLTF




                                                                                                                                                                                                                                  CSD
                                                                                                                                                                                                                                 per STS
                                                                                                                                                                                                                                      CSD
                                                                                                                                                                                                                                     per STS
                                                                                                                              Interleaver Constellation mapper




                                                                                                                                                                                                                                                                                                                Insert GI
                                                                                                                                                                                                                                                  Spatial Mapping




                                                                                                                                                                                                                                                                                                                                  Analog
                                                                                                            BCC Interleaver




                                                                                                                                                                                                                                                                                               IDFT               and
           VHT-SIG-B Bit Repetition




                                                                                                                                                                                                                                                                                                                                  and RF
                                                                                                                                                                                  Constellation mapper




                                                                                                                                                                                                                                                                                                                Window
                                                                                                                                                                    Multiply By 1st Column of PVHTLTF
                                                                                                                                         BCC Interleaver




                                                                                                                                                                                                                                        CSD
                                                                                                                                                                                                                                        CSD
               if BW=160MHz




                                                                                                                                                                                                                                    ...
                                                                                                                                                                                                                                    ...
                                                    BCC Encoder




                                                                                                                                                                                                                                      per STS
                                                                                                                                                                                                                                     CSD
                                                                                                                                                                                                                                      per STS
                                                                                    Segment




                                                                                                                                                                                                                                    per STSCSD
                                                                                     Parser




                                                                                                                                                                                                                                       ... ......
                                                                                                                                                                                      mapper




                                                                                                                                                                                                                                                                    Spatial Mapping




                                                                                                                                                                                                                                         CSD
                                                                                                                                                                                                                                          per STS
                                                                                                                                   Interleaver




                                                                                                                                                                                                                                        per STS
                                                                                                                                                                           Constellation
                                                                                                                                                                              mapper
                                                                                                                                                            Interleaver Constellation




                                                                                                                                                                                                                                              CSD
                                                                                                                              BCCBCC




                                                                                                                                                                                                                                            CSD                                                           Insert GI
                                                                                                                                                                                                                                            ...




                                                                                                                                          BCC                                                                                 Constellation
                                                                                                                                                                                                                                  CSD       per STS
                                                                                                                                                                                                                                            CSD                                                                                Analog
                                                                                                                                                                                                                                                                                             IDFT           and
                                                                                                                                       Interleaver                                                                               per STS per
                                                                                                                                                                                                                                mapper        STS
                                                                                                                                                                                                                                          per STS                                                                              and RF
                                                                                                                                                                                                                                                                                                          Window
                                                                                                                                                           Constellation
                                                                                                                                                              mapper
                                                                                                                                                               BCC




                                                                                                                                                                                                                                                                                                                Insert GI
                                                                                                                                                                                                                                                           ......




                                                                                                                                                                    BCC                                                           Constellation
                                                                                                                                                                                                                                      CSD       CSD                                                                               Analog
                                                                                                                                                                                                                                                                                                IDFT               and
                                                                                                                                                                 Interleaver                                                        mapper
                                                                                                                                                                                                                                     per STS per STS                                                                              and RF
                                                                                                                                                                                                                                                                                                                Window




                                                                                                                                                                                                                                      Space-Time                                                         Transmit Chains
                                                                  Single Spatial Stream                                                                                                                                               Streams

                                                                                                                                                                                                                                 VHT-SIG-B field of an 80+80 MHz VHT SU PPDU




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                                                          BCC Encoder




                                                                                                           Constellation
                                                                                            Interleaver



                                                                                                             mapper
                                                                                               BCC
                                                                                                                                                                        Insert GI
                                                                                                                                                                                      Analog
                                                                                                                                                                 IDFT     and
                                                                                                                                                                                      and RF
                                                                                                                                                                        Window



                                    BCC Encoder Parser
                                                                                                                                  CSD per




                                                                                                           Constellation
                                                                                            Interleaver




                                                                                                                                               Spatial Mapping
                                                                                                                                   STS                                  Insert GI




                                                                           Stream Parser




                                                                                                             mapper
        PHY Padding




                                                                                                                                                                                      Analog




                                                                                               BCC
                        Scrambler



                                                                                                                                                                 IDFT      and
                                                          ...                                                                                                                         and RF




                                                                                                                           STBC
                                                                                                                                                                        Window




                                                                                                                                   ...




                                                                                                                                                                         ...
                                                                                                          ...
                                                          BCC Encoder




                                                                                                           Constellation
                                                                                                                                                                        Insert GI

                                                                                            Interleaver
                                                                                                                                  CSD per                                             Analog




                                                                                                             mapper
     Single Data Stream                                                                                                                                          IDFT      and
                                                                                                                                   STS                                                and RF
                                                                                               BCC
                                                                                                                                                                        Window




                                                         Data Streams                            Spatial Streams                  Space-Time                            Transmit Chains
                                                                                                                                  Streams



                                                                                           SU PPDU with BCC encoding



     22.3.4 Overview of the PPDU encoding process

     22.3.4.1 General

     This subclause provides an overview of the VHT PPDU encoding process.

     22.3.4.2 Construction of L-STF

     Construct the L-STF field as defined in 22.3.8.2.2 with the following highlights:
       a)             Determine the CH_BANDWIDTH from the TXVECTOR.
       b)             Sequence generation: Generate the L-STF sequence over the CH_BANDWIDTH as described in
                      22.3.8.2.2.
       c)             Phase rotation: Apply appropriate phase rotation for each 20 MHz subchannel as described in
                      22.3.7.4 and 22.3.7.5.
       d)             IDFT: Compute the inverse discrete Fourier transform.
       e)             CSD: Apply CSD for each transmit chain and frequency segment as described in 22.3.8.2.1.
       f)             Insert GI and apply windowing: Prepend a GI (LONG_GI) and apply windowing as described in
                      22.3.7.4.
       g)             Analog and RF: Up-convert the resulting complex baseband waveform associated with each
                      transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
                      Refer to 22.3.7.4 and 22.3.8 for details.




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                                                                                         LDPC
                                                                         Constellation
                                                                                          tone
                                                                           mapper
                                                                                         mapper

                                                                                         LDPC
                                                                         Constellation                           CSD per
                                                                                          tone




                                                                                                                             Spatial Mapping
                                                     Stream Parser
                                      LDPC Encoder
                                                                           mapper                                 STS
            PHY Padding


                                                                                         mapper
                          Scrambler




                                                                                                   STBC
                                                                             ...




                                                                                                                  ...

                                                                                                                                               ...
                                                                                         LDPC                    CSD per
                                                                         Constellation
                                                                                          tone                    STS
                                                                           mapper
                                                                                         mapper



                                                                                                          Insert GI
                                                                                         Analog
                                                                                                             and           IDFT
                                                                                         and RF
                                                                                                          Window




                                                                                                                                               ...
                                                                                                          Insert GI
                                                                                         Analog
                                                                                                             and           IDFT
                                                                                         and RF
                                                                                                          Window


                                                                                                          Insert GI
                                                                                         Analog
                                                                                                             and           IDFT
                                                                                         and RF
                                                                                                          Window


                                                                                      e Data field of a 20 MH, 40 MHz, or 80 MHz
                                                                     VHT SU PPDU with LDPC encoding



     22.3.4.3 Construction of the L-LTF

     Construct the L-LTF field as defined in 22.3.8.2.3 with the following highlights:
       a)      Determine the CH_BANDWIDTH from the TXVECTOR.
       b)      Sequence generation: Generate the L-LTF sequence over the CH_BANDWIDTH as described in
               22.3.8.2.3.
       c)      Phase rotation: Apply appropriate phase rotation for each 20 MHz subchannel as described in
               22.3.7.4 and 22.3.7.5.
       d)      IDFT: Compute the inverse discrete Fourier transform.
       e)      CSD: Apply CSD for each transmit chain and frequency segment as described in 22.3.8.2.1.
       f)      Insert GI and apply windowing: Prepend a GI ( 2                              LONG_GI ) and apply windowing as described
               in 22.3.7.4.
       g)      Analog and RF: Up-convert the resulting complex baseband waveform associated with each
               transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
               Refer to 22.3.7.4 and 22.3.8 for details.




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                                                                                                                          Constellation      LDPC tone
                                                                                                                            mapper            mapper




                                                                                          Stream Parser
            PHY Padding
                                                                                                                          Constellation      LDPC tone          CSD

                                        Scrambler



                                                                Encoder
                                                                                                                            mapper            mapper           per STS



                                                                 LDPC




                                                                                                                              ...




                                                                                                                                                                 ...
                                                                                                                          Constellation      LDPC tone          CSD




                                                                                                                                                                                  Spatial Mapping
                                                                                                                            mapper            mapper           per STS
       User 0 (Using LDPC)




                                                                                                                                                                                                    ...
    ...


                                                                    BCC Encoder Parser




                                                                                                                                  BCC         Constellation
                                                                                          Encoder
                                                                                                                                                                   CSD
                                                                                           BCC


                                                                                                                               Interleaver      mapper            per STS
                          PHY Padding




                                                                                                          Stream Parser
                                                    Scrambler




                                                                                                                                   ...




                                                                                                                                                                     ...
                                                                                          Encoder
                                                                                           BCC




                                                                                                                                  BCC         Constellation        CSD
                                                                                                                               Interleaver      mapper            per STS
            User Nuser-1 (Using BCC)

                                                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                                                                     and             IDFT
                                                                                                                                   and RF
                                                                                                                                                   Window




                                                                                                                                                                                   ...
                                                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                                                                     and             IDFT
                                                                                                                                   and RF
                                                                                                                                                   Window


                                                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                                                                     and             IDFT
                                                                                                                                   and RF
                                                                                                                                                   Window



                                                                                                                                  MU PPDU



     22.3.4.4 Construction of L-SIG

     Construct the L-SIG field as the SIGNAL field defined by 22.3.8.2.4 with the following highlights:
       a)                 For a VHT PPDU, set the RATE subfield in the SIGNAL field to 6 Mb/s. Set the Length, Parity, and
                          Tail bits in the SIGNAL field as described in 22.3.8.2.4.
       b)                 BCC encoder: Encode the SIGNAL field by a convolutional encoder at the rate of R=1/2 as
                          described in 22.3.10.5.3.
       c)                 BCC interleaver: Interleave as described in 22.3.10.8.
       d)                 Constellation Mapper: BPSK modulate as described in 22.3.10.9.
       e)                 Pilot insertion: Insert pilots as described in 22.3.10.11.
       f)                 Duplication and phase rotation: Duplicate the L-SIG field over each 20 MHz of the
                          CH_BANDWIDTH. Apply appropriate phase rotation for each 20 MHz subchannel as described in
                          22.3.7.4 and 22.3.7.5.



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                                                                                                  BCC           Constellation




                                                       BCC Encoder




                                                                                     Segment
                                                                                               Interleaver        mapper




                                                                                      Parser
                                                                                                                                       Segment
                                                                                                                   Constellation       Deparser
                                                                                                  Interleaver
                                                                                                                     mapper
                                                                                                                                                                 CSD
                                                                                                                                                                per STS
                                  BCC Encoder Parser




                                                       BCC Encoder




                                                                                                                                                                          Spatial Mapping
                                                                     Stream Parser
       PHY Padding


                      Scrambler




                                                                                                                                                         STBC
                                                       BCC Encoder




                                                                                                  BCC           Constellation


                                                                                     Segment
                                                                                               Interleaver        mapper                                         CSD


                                                                                      Parser
                                                                                                                                       Segment
                                                                                                     BCC           Constellation       Deparser                 per STS
                                                                                                  Interleaver        mapper




                                                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                                                                    and           IDFT
                                                                                                                                   and RF
                                                                                                                                                   Window




                                                                                                                                                  Insert GI
                                                                                                                                   Analog
                                                                                                                                                    and           IDFT
                                                                                                                                   and RF
                                                                                                                                                   Window


                                                                                                      Data field of a 160 MHz VHT SU PPDU with BCC
                                                                                                  encoding



       g)            IDFT: Compute the inverse discrete Fourier transform.
       h)            CSD: Apply CSD for each transmit chain and frequency segment as described in 22.3.8.2.1.
       i)            Insert GI and apply windowing: Prepend a GI (LONG_GI) and apply windowing as described in
                     22.3.7.4.
       j)            Analog and RF: Up-convert the resulting complex baseband waveform associated with each
                     transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
                     Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.4.5 Construction of VHT-SIG-A

     The VHT-SIG-A field consists of two symbols, VHT-SIG-A1 and VHT-SIG-A2, as defined in 22.3.8.3.3
     and is constructed as follows:
       a)            Obtain the CH_BANDWIDTH, STBC, GROUP_ID, PARTIAL_AID (SU only), NUM_STS,
                     GI_TYPE, FEC_CODING, MCS (SU only), BEAMFORMED (SU only), NUM_USERS, and
                     TXOP_PS_NOT_ALLOWED from the TXVECTOR. Add the reserved bits, append the calculated
                     CRC, then append the N tail tail bits as shown in 22.3.8.3.3. This results in 48 uncoded bits.
       b)            BCC encoder: Encode the data by a convolutional encoder at the rate of R=1/2 as described in
                     18.3.5.6
       c)            BCC interleaver: Interleave as described in 18.3.5.7.
       d)            Constellation mapper: BPSK modulate the first 48 interleaved bits as described in 18.3.5.8 to form
                     the first symbol of VHT-SIG-A. BPSK modulate the second 48 interleaved bits and rotate by 90°
                     counter-clockwise relative to the first symbol to form the second symbol of VHT-SIG-A.



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                                                                               Constellation     LDPC tone




                                                                     Segment
                                                                                 mapper           mapper




                                                                      Parser
                                                                                                                        Segment
                                                                                                                        Deparser
                                                                                 Constellation     LDPC tone
                                                                                   mapper           mapper
                                                                                                                                                  CSD
                                                                                                                                                 per STS




                                                                                                                                                             Spatial Mapping
                                    LDPC Encoder



                                                   Stream Parser
        PHY Padding



                        Scrambler




                                                                                                                                          STBC
                                                                     Segment   Constellation     LDPC tone
                                                                      Parser     mapper           mapper                Segment                   CSD
                                                                                                                        Deparser                 per STS
                                                                                 Constellation     LDPC tone
                                                                                   mapper           mapper



                                                                                                                                   Insert GI
                                                                                                                    Analog
                                                                                                                                     and           IDFT
                                                                                                                    and RF
                                                                                                                                   Window




                                                                                                                                   Insert GI
                                                                                                                    Analog
                                                                                                                                     and           IDFT
                                                                                                                    and RF
                                                                                                                                   Window



                                                                                          Data field of a 160 MHz VHT SU PPDU with LDPC
                                                                                      encoding



       e)             Pilot insertion: Insert pilots as described in 18.3.5.10.
       f)             Duplication and phase rotation: Duplicate VHT-SIG-A1 and VHT-SIG-A2 over each 20 MHz of the
                      CH_BANDWIDTH. Apply the appropriate phase rotation for each 20 MHz subchannel as described
                      in 22.3.7.4 and 22.3.7.5.
       g)             IDFT: Compute the inverse discrete Fourier transform.
       h)             CSD: Apply CSD for each transmit chain as described in 22.3.8.2.1.
       i)             Insert GI and apply windowing: Prepend a GI (LONG_GI) and apply windowing as described in
                      22.3.7.4.
       j)             Analog and RF: Up-convert the resulting complex baseband waveform associated with each
                      transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
                      Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.4.6 Construction of VHT-STF

     The VHT-STF field is defined in 22.3.8.3.4 and is constructed as follows:
       a)             Sequence generation: Generate the VHT-STF in the frequency-domain over the bandwidth indicated
                      by CH_BANDWIDTH as described in 22.3.8.3.4.
       b)             Phase rotation: Apply appropriate phase rotation for each 20 MHz subchannel as described in
                      22.3.7.4 and 22.3.7.5.
       c)             CSD: Apply CSD for each space-time stream and frequency segment as described in 22.3.8.3.2.
       d)             Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.




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                                                                                                  BCC              Constellation




                                                      BCC Encoder




                                                                                    Segment
                                                                                     Parser
                                                                                               Interleaver           mapper
                                                                                                                       Constellation
                                                                                                    BCC
                                                                                                     Interleaver    Constellation        LDPC tone
                                                                                                                                                CSD
                                                                                                                          mapper
                                                                                                 Interleaver          mapper              mapper
                                                                                                                                               per STS




                                                                                                                                                                          Spatial Mapping
                                 BCC Encoder Parser


                                                      BCC Encoder


                                                                    Stream Parser
       PHY Padding




                                                                                                                       ...

                                                                                                                                       STBC
                     Scrambler




                                                                                                                                                                  Spatial Mapping
                                                                                    ...




                                                                                                                                                     ...
                                                                                                                                         STBC
                                                       ...
                                                      BCC Encoder




                                                                                                  BCC              Constellation                   CSD
                                                                                    Segment
                                                                                               Interleaver           mapper
                                                                                     Parser
                                                                                                                                                  per STS

                                                                                                    BCC              Constellation                   CSD
                                                                                                 Interleaver           mapper                       per STS


                                                                                                                                              Insert GI
                                                                                                                         Analog
                                                                                                                                                 and              IDFT
                                                                                                                         and RF
                                                                                                                                              Window

                                                                                                                                              Insert GI
                                                                                                                         Analog
                                                                                                                                                 and              IDFT
                                                                                                                         and RF
                                                                                                                                              Window




                                                                                                                                                                     ...
                                                                                                                                              Insert GI
                                                                                                                         Analog
                                                                                                                                                 and              IDFT
                                                                                                                         and RF
                                                                                                                                              Window

                                                                                                                                              Insert GI
                                                                                                                         Analog
                                                                                                                                                 and              IDFT
                                                                                                                         and RF
                                                                                                                                              Window


                                                                                                       ta field of an 80+80 MHz VHT SU PPDU with
                                                                                              BCC encoding



        e)           IDFT: Compute the inverse discrete Fourier transform.
        f)           Insert GI and apply windowing: Prepend a GI (LONG_GI) and apply windowing as described in
                     22.3.7.4.
        g)           Analog and RF: Up-convert the resulting complex baseband waveform associated with each
                     transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
                     Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.4.7 Construction of VHT-LTF

     The VHT-LTF field is defined in 22.3.8.3.5 and constructed as follows:
         a)          Sequence generation: Generate the VHT-LTF sequence in the frequency-domain over the bandwidth
                     indicated by CH_BANDWIDTH as described in 22.3.8.3.5.




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                                                                                Constellation    LDPC tone




                                                                      Segment
                                                                       Parser
                                                                                  mapper          mapper

                                                                                 Constellation    LDPC tone                  CSD
                                                                                   mapper          mapper                   per STS




                                                                                                                                               Spatial Mapping
                                                                                  ......
                                       LDPC Encoder



                                                      Stream Parser
          PHY Padding




                                                                                                                STBC



                                                                                                                              ......
                           Scrambler




                                                                                                                                       Spatial Mapping
                                                                      ...




                                                                                                                 STBC
                                                                                Constellation    LDPC tone                   CSD
                                                                      Segment


                                                                                  mapper          mapper
                                                                       Parser

                                                                                                                            per STS
                                                                                 Constellation    LDPC tone                   CSD
                                                                                   mapper          mapper                    per STS


                                                                                                                       Insert GI
                                                                                                   Analog
                                                                                                                          and          IDFT
                                                                                                   and RF
                                                                                                                        Window

                                                                                                                       Insert GI
                                                                                                   Analog
                                                                                                                          and          IDFT
                                                                                                   and RF
                                                                                                                        Window




                                                                                                                                        ...
                                                                                                                       Insert GI
                                                                                                   Analog
                                                                                                                          and          IDFT
                                                                                                   and RF
                                                                                                                        Window

                                                                                                                       Insert GI
                                                                                                   Analog
                                                                                                                          and          IDFT
                                                                                                   and RF
                                                                                                                        Window


                                                                                         ta field of an 80+80 MHz VHT SU PPDU with
                                                                                LDPC encoding



       b)               Phase rotation: Apply appropriate phase rotation for each 20 MHz subchannel as described in
                        22.3.7.4 and 22.3.7.5.
       c)               AVHTLTF matrix mapping: Apply the PVHTLTF matrix to the VHT-LTF sequence and apply the
                        RVHTLTF matrix to the pilot tones as described in 22.3.8.3.5.
       d)               CSD: Apply CSD for each space-time stream and frequency segment as described in 22.3.8.3.2.
       e)               Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.
       f)               IDFT: Compute the inverse discrete Fourier transform.
       g)               Insert GI and apply windowing: Prepend a GI (LONG_GI) and apply windowing as described in
                        22.3.7.4.
       h)               Analog and RF: Up-convert the resulting complex baseband waveform associated with each
                        transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
                        Refer to 22.3.7.4 and 22.3.8 for details.



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     22.3.4.8 Construction of VHT-SIG-B

     The VHT-SIG-B field is constructed per-user as follows:
       a)    Obtain the VHT-MCS (for MU only) and APEP_LENGTH from the TXVECTOR.
       b)    VHT-SIG-B bits: Set the VHT-MCS (for MU only) and VHT-SIG-B Length field as described in
             22.3.8.3.6. Add the reserved bits (for SU only) and N tail bits of tail. For an NDP set VHT-SIG-B to
             the fixed bit pattern for the bandwidth used as described in 22.3.8.3.6.
       c)    VHT-SIG-B Bit Repetition: Repeat the VHT-SIG-B bits as a function of CH_BANDWIDTH as
             defined in 22.3.8.3.6.
       d)    BCC encoder: Encode the VHT-SIG-B field using BCC at rate R=1/2 as described in 18.3.5.6.
       e)    Segment parser (if needed): For a contiguous 160 MHz or noncontiguous 80+80 MHz transmission,
             divide the output bits of the BCC encoder into two frequency subblocks as described in 22.3.10.7.
             This block is bypassed for 20 MHz, 40 MHz, and 80 MHz VHT PPDU transmissions.
       f)    BCC interleaver: Interleave as described in 22.3.10.8.
       g)    Constellation mapper: Map to a BPSK constellation as defined in 18.3.5.8.
       h)    Segment deparser (if needed): For a contiguous 160 MHz transmission, merge the two frequency
             subblocks into one frequency segment as described in 22.3.10.9.3. This block is bypassed for
             20 MHz, 40 MHz, 80 MHz, and 80+80 MHz VHT PPDU transmissions.
       i)    Pilot insertion: Insert pilots following the steps described in 22.3.10.10.
       j)    P VHTLTF matrix mapping: Apply the mapping of the 1st column of the P VHTLTF matrix to the data
             subcarriers as described in 22.3.8.3.6. The total number of data and pilot subcarriers is the same as in
             the Data field.
       k)    CSD: Apply CSD for each space-time stream and frequency segment as described in 22.3.8.3.2.
       l)    Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.
       m)    Phase rotation: Apply the appropriate phase rotations for each 20 MHz subchannel as described in
             22.3.7.4 and 22.3.7.5.
       n)    IDFT: Compute the inverse discrete Fourier transform.
       o)    Insert GI and apply windowing: Prepend a GI (LONG_GI) and apply windowing as described in
             22.3.7.4.
       p)    Analog and RF: Up-convert the resulting complex baseband waveform associated with each
             transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
             Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.4.9 Construction of the Data field in a VHT SU PPDU

     22.3.4.9.1 Using BCC

     The construction of the Data field in a VHT SU PPDU with BCC encoding proceeds as follows:
       a)    Insert the CRC calculated for VHT-SIG-B in the SERVICE field as described in 22.3.10.2 and
             append the PSDU to the SERVICE field.
       b)    PHY padding: Append the PHY pad bits and tail bits to the PSDU.
       c)    Scrambler: Scramble the PHY padded data.
       d)    BCC encoder: Divide the scrambled bits between the encoders by sending bits to different encoders
             in a round robin manner. The number of encoders is determined by rate-dependent parameters
             described in 22.5. BCC encode as described in 22.3.10.5.2 and 22.3.10.5.3.
       e)    Stream parser: Rearrange the output of the BCC encoders into blocks as described in 22.3.10.6.




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       f)   Segment parser (if needed): For a contiguous 160 MHz or noncontiguous 80+80 MHz transmission,
            divide the output bits of each stream parser into two frequency subblocks as described in 22.3.10.7.
            This block is bypassed for 20 MHz, 40 MHz, and 80 MHz VHT PPDU transmissions.
       g)   BCC interleaver: Interleave as described in 22.3.10.8.
       h)   Constellation mapper: Map to BPSK, QPSK, 16-QAM, 64-QAM, or 256-QAM constellation points
            as described in 22.3.10.9.
       i)   Segment deparser (if needed): For a contiguous 160 MHz transmission, merge the two frequency
            subblocks into one frequency segment as described in 22.3.10.9.3. This block is bypassed for
            20 MHz, 40 MHz, 80 MHz, and 80+80 MHz VHT PPDU transmissions.
       j)   STBC: Apply STBC as described in 22.3.10.9.4.
       k)   Pilot insertion: Insert pilots following the steps described in 22.3.10.10.
       l)   CSD: Apply CSD for each space-time stream and frequency segment as described in 22.3.8.3.2.
       m)   Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.
       n)   Phase rotation: Apply the appropriate phase rotations for each 20 MHz subchannel as described in
            22.3.7.4 and 22.3.7.5.
       o)   IDFT: For a noncontiguous 80+80 MHz transmission, map each frequency subblocks to the separate
            IDFT. Compute the inverse discrete Fourier transform.
       p)   Insert GI and apply windowing: Prepend a GI (SHORT_GI or LONG_GI) and apply windowing as
            described in 22.3.7.4.
       q)   Analog and RF: Up-convert the resulting complex baseband waveform associated with each
            transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
            Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.4.9.2 Using LDPC

     The construction of the Data field in a VHT SU PPDU with LDPC encoding proceeds as follows:
       a)   Insert the CRC calculated for VHT-SIG-B in the SERVICE field as described in 22.3.10.2 and
            append the PSDU to the SERVICE field.
       b)   PHY padding: Append the PHY pad bits to the PSDU. There are no tail bits.
       c)   Scrambler: Scramble the PHY padded data.
       d)   LDPC encoder: The scrambled bits are encoded using the LDPC code with the APEP_LENGTH in
            the TXVECTOR as described in 22.3.10.5.4.
       e)   Stream parser: The output of the LDPC encoder is rearranged into blocks as described in 22.3.10.6.
       f)   Segment parser (if needed): For a contiguous 160 MHz or noncontiguous 80+80 MHz transmission,
            divide the output bits of each stream parser into two frequency subblocks as described in 22.3.10.7.
            This block is bypassed for 20 MHz, 40 MHz, and 80 MHz VHT PPDU transmissions.
       g)   Constellation mapper: Map to BPSK, QPSK, 16-QAM, 64-QAM or 256-QAM constellation points
            as described in 22.3.10.9.
       h)   LDPC tone mapper: The LDPC tone mapping shall be performed on all LDPC encoded streams as
            described in 22.3.10.9.2.
       i)   Segment deparser (if needed): For a contiguous 160 MHz transmission, merge the two frequency
            subblocks into one frequency segment as described in 22.3.10.9.3. This block is bypassed for
            20 MHz, 40 MHz, 80 MHz, and 80+80 MHz VHT PPDU transmissions.
       j)   STBC: Apply STBC as described in 22.3.10.9.4.
       k)   Pilot insertion: Insert pilots following the steps described in 22.3.10.10.
       l)   CSD: Apply CSD for each space-time stream and frequency segment as described in 22.3.8.3.2.
       m)   Spatial mapping: Apply the Q matrix as described in 22.3.10.11.1.




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       n)    Phase rotation: Apply the appropriate phase rotations for each 20 MHz subchannel as described in
             22.3.7.4 and 22.3.7.5.
       o)    IDFT: For a noncontiguous 80+80 MHz transmission, map each frequency subblocks to the separate
             IDFT. Compute the inverse discrete Fourier transform.
       p)    Insert GI and apply windowing: Prepend a GI (SHORT_GI or LONG_GI) and apply windowing as
             described in 22.3.7.4.
       q)    Analog and RF: Up-convert the resulting complex baseband waveform associated with each
             transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
             Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.4.10 Construction of the Data field in a VHT MU PPDU

     22.3.4.10.1 General

     For an MU transmission, the PPDU encoding process is performed on a per-user basis up to the input of the
     Spatial Mapping block except CSD (as described in 22.3.8.3.2). All user data is combined and mapped to the
     transmit chains in the Spatial Mapping block.

     22.3.4.10.2 Using BCC

     A Data field with BCC encoding is constructed using the process described in 22.3.4.9.1 before the spatial
     mapping block and repeated for each user that uses BCC encoding.

     22.3.4.10.3 Using LDPC

     A Data field with LDPC encoding is constructed using the process described in 22.3.4.9.2 before the spatial
     mapping block and repeated for each user that uses LDPC encoding.

     22.3.4.10.4 Combining to form a VHT MU PPDU

     The per-user data is combined as follows:
       a)    Spatial Mapping: The Q matrix is applied as described in 22.3.10.11.1. The combining of all user
             data is done in this block.
       b)    Phase rotation: Apply the appropriate phase rotations for each 20 MHz subchannel as described in
             22.3.7.4 and 22.3.7.5.
       c)    IDFT: Compute the inverse discrete Fourier transform.
       d)    Insert GI and apply windowing: Prepend a GI (SHORT_GI or LONG_GI) and apply windowing as
             described in 22.3.7.4.
       e)    Analog and RF: Up-convert the resulting complex baseband waveform associated with each
             transmit chain to an RF signal according to the center frequency of the desired channel and transmit.
             Refer to 22.3.7.4 and 22.3.8 for details.

     22.3.5 VHT modulation and coding scheme (VHT-MCS)

     The VHT-MCS is a value that determines the modulation and coding used in the Data field of the PPDU. It
     is a compact representation that is carried in the VHT-SIG-A field for VHT SU PPDUs and in the VHT-
     SIG-B field for VHT MU PPDUs. Rate-dependent parameters for the full set of VHT-MCSs are shown in
     Table 22-30 to Table 22-61 (in 22.5). These tables give rate-dependent parameters for VHT-MCSs with
     indices 0 to 9, with number of spatial streams from 1 to 8 and bandwidth options of 20 MHz, 40 MHz,
     80 MHz, and either 160 MHz or 80+80 MHz. Equal modulation (EQM) is applied to all streams for a
     particular user.




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     22.3.6 Timing-related parameters

     Refer to Table 20-6 for timing-related parameters for non-VHT formats.

     Table 22-5 defines the timing-related parameters for VHT format.




     Parameter      CBW20            CBW40          CBW80            CBW80+80       CBW160              Description

          NSD           52             108             234              234             468       Number of complex
                                                                                                  data numbers per
                                                                                                  frequency segment

          NSP           4                6              8                8              16        Number of pilot values
                                                                                                  per frequency segment
          NST           56             114             242              242             484       Total number of
                                                                                                  subcarriers per
                                                                                                  frequency segment.
                                                                                                  See NOTE.

          NSR           28              58             122              122             250       Highest data subcarrier
                                                                                                  index per frequency
                                                                                                  segment
          NSeg          1                1              1                2              1         Number of frequency
                                                                                                  segments

            F                                       312.5 kHz                                     Subcarrier frequency
                                                                                                  spacing
        TDFT                                          3.2 µs                                      IDFT/DFT period

          TGI                                    0.8 µs = TDFT /4                                 Guard interval
                                                                                                  duration

          TGI2                                        1.6 µs                                      Double guard interval
          TGIS                                   0.4 µs = TDFT /8                                 Short guard interval
                                                                                                  duration

       TSYML                             4 µs = TDFT + TGI = 1.25     TDFT                        Long GI symbol
                                                                                                  interval

       TSYMS                           3.6 µs = TDFT + TGIS = 1.125    TDFT                       Short GI symbol
                                                                                                  interval

        TSYM                 TSYML or TSYMS depending on the GI used (see Table 22-8)             Symbol interval
       TL-STF                                  8 µs = 10 x TDFT /4                                Non-HT Short
                                                                                                  Training field duration
       TL-LTF                                 8 µs = 2 x TDFT + TGI2                              Non-HT Long
                                                                                                  Training field duration

       TL-SIG                                     4 µs = TSYML                                    Non-HT SIGNAL
                                                                                                  field duration

     TVHT-SIG-A                                   8 µs = 2TSYML                                   VHT Signal A field
                                                                                                  duration
      TVHT-STF                                    4 µs = TSYML                                    VHT Short Training
                                                                                                  field duration




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     Parameter        CBW20           CBW40               CBW80           CBW80+80        CBW160               Description

      TVHT-LTF                                          4 µs = TSYML                                     Duration of each VHT-
                                                                                                         LTF symbol
     TVHT-SIG-B                                         4 µs = TSYML                                     VHT Signal B field
                                                                                                         duration
       Nservice                                              16                                          Number of bits in the
                                                                                                         SERVICE field

        Ntail                                                 6                                          Number of tail bits per
                                                                                                         BCC encoder
                NST = NSD + NSP



     Table 22-6 defines parameters used frequently in Clause 22.




                  Symbol                                                   Explanation

           NCBPS, NCBPS,u         Number of coded bits per symbol for user u, u = 0, ..., Nuser
                                  For a VHT SU PPDU, NCBPS = NCBPS,0
                                  For a VHT MU PPDU, NCBPS is undefined

           NCBPSS, NCBPSS,u       Number of coded bits per symbol per spatial stream.
                                  For the VHT-SIG-B field, NCBPSS is common for all users.
                                                     N SD for a 20 MHz, 40 MHz, 80 MHz, and 160 MHz PPDU
                                  N CBPSS =
                                                     2N SD for an 80+80 MHz PPDU
                                  for all users.
                                  For the Data field, NCBPSS,u equals the number of coded bits per symbol per spatial
                                  stream for user u, u = 0, ..., Nuser
                                  For the Data field of a VHT SU PPDU, NCBPSS = NCBPSS,0
                                  For the Data field of a VHT MU PPDU, NCBPSS is undefined

           NCBPSSI, NCBPSSI,u     Number of coded bits per symbol per spatial stream per BCC interleaver block.
                                  For a VHT SU PPDU,
                                                     N CBPSS for a 20 MHz, 40 MHz, or 80 MHz PPDU
                                  N CBPSSI =         N CBPSS
                                                     ----------------- for a 160 MHz or 80+80 MHz PPDU
                                                            2
                                  For a VHT MU PPDU for user u, u = 0, ..., Nuser

                                                       N CB PSS   u   for a 20 MHz, 40 MHz, or 80 MHz PPDU
                                  N CBPSSI   u   =     N CBPSS u
                                                       --------------------- for a 160 MHz or 80+80 MHz PPDU
                                                                 2
                                  For a VHT MU PPDU, NCBPSSI is undefined.




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                  Symbol                                                  Explanation

          NDBPS, NDBPS,u     Number of data bits per symbol for user u, u = 0, ..., Nuser
                             For a VHT SU PPDU, NDBPS = NDBPS,0
                             For a VHT MU PPDU, NDBPS is undefined

          NBPSCS, NBPSCS,u   Number of coded bits per subcarrier per spatial stream for user u, u = 0, ..., Nuser
                             For a VHT SU PPDU, NBPSCS = NBPSCS,0
                             For a VHT MU PPDU, NBPSCS is undefined

          NRX                Number of receive chains

          Nuser              For pre-VHT modulated fields, Nuser = 1. For VHT modulated fields, Nuser
                             represents the number of users in the transmission (equal to the TXVECTOR
                             parameter NUM_USERS).

          NSTS, NSTS,u       For pre-VHT modulated fields, NSTS,u = 1 (see NOTE 2). For VHT modulated
                             fields, NSTS,u is the number of space-time streams for user u, u = 0 user
                             For a VHT SU PPDU, NSTS = NSTS,0.
                             For a VHT MU PPDU, NSTS is undefined.

          NSTS,total         For VHT modulated fields, NSTS,total is the total number of space-time streams in a
                             PPDU.
                                                 N user   1

                             N STS   total   =                N STS   u
                                                  u=0
                             For pre-VHT modulated fields, NSTS,total is undefined.
                             Note that NSTS,total = NSTS for a VHT SU PPDU.

          NSS, NSS,u         Number of spatial streams.
                             For the VHT-SIG-B field, NSS = 1 for each user.
                             For the Data field, NSS,u is the number of spatial streams for user u, u = 0          user
                             1.
                             For the Data field of a VHT SU PPDU, NSS = NSS,0.
                             For the Data field of a VHT MU PPDU, NSS is undefined.

          NTX                Number of transmit chains

          NES, NES,u         The number of BCC encoders.
                             For the VHT-SIG-B field, NES = 1 for each user.
                             For a Data field encoded using BCC, NES,u is the number of BCC encoders for user
                             u, u = 0      user
                             For the Data field encoded using LDPC, NES = 1 for a VHT SU PPDU and
                             NES,u = 1 for a VHT MU PPDU for user u, u = 0       user
                             For the Data field of a VHT SU PPDU, NES = NES,0.
                             For the Data field of a VHT MU PPDU, NES is undefined.

          NVHTLTF            Number of VHT-LTF symbols (see 22.3.8.3.5)

          R, Ru              Ru is the coding rate for user u, u = 0, ..., Nuser
                             For a VHT SU PPDU, R = R0
                             For a VHT MU PPDU, R is undefined




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                   Symbol                                             Explanation

             Mu                   For pre-VHT modulated fields, Mu = 0. For VHT modulated fields,
                                                                  u    1
                                  M 0 = 0 for u = 0 and M u =              N STS   u'   for u = 1       user   .
                                                                  u' = 0

                                                             STF, L-LTF, L-SIG, and VHT-SIG-A fields, while
             VHT modulated fields refer to the VHT-STF, VHT-LTF, VHT-SIG-B, and Data fields (see Figure 22-17).

                                                    u is 0 only since Nuser = 1.



     22.3.7 Mathematical description of signals

     22.3.7.1 Notation

     For a description of the conventions used for the mathematical description of the signals, see 18.3.2.5. In
     addition, the following notational conventions are used in Clause 22:

        Q          indicates the element in row m and column n of matrix Q , where 1                m      Nrow and 1     n   Ncol
             m n

       Nrow and Ncol are the number of rows and columns, respectively, of the matrix Q

         Q         indicates a matrix consisting of columns M to N of matrix Q
             M:N


     22.3.7.2 Subcarrier indices in use

     For description on subcarrier indices over which the signal is transmitted for non-HT and HT PPDUs, see
     20.3.7.

     For a 20 MHz VHT PPDU transmission, the 20 MHz is divided into 64 subcarriers. The signal is transmitted
     on subcarriers 28 to 1 and 1 to 28, with 0 being the center (DC) subcarrier.

     For a 40 MHz VHT PPDU transmission, the 40 MHz is divided into 128 subcarriers. The signal is
     transmitted on subcarriers 58 to 2 and 2 to 58.

     For an 80 MHz VHT PPDU transmission, the 80 MHz is divided into 256 subcarriers. The signal is
     transmitted on subcarriers 122 to 2 and 2 to 122.

     For a 160 MHz VHT PPDU transmission, the 160 MHz is divided into 512 subcarriers. The signal is
     transmitted on subcarriers 250 to 130, 126 to 6, 6 to 126, and 130 to 250.

     For a noncontiguous 80+80 MHz VHT PPDU transmission, each 80 MHz frequency segment is divided into
     256 subcarriers. In each frequency segment, the signal is transmitted on subcarriers 122 to 2 and 2 to 122.




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     22.3.7.3 Channel frequencies

     Let

       fc   idx0     = dot11CurrentChannelCenterFrequencyIndex0                                                                                     (22-1)

       fc   idx1     = dot11CurrentChannelCenterFrequencyIndex1                                                                                     (22-2)

       f P20   idx     = dot11CurrentPrimaryChannel                                                                                                 (22-3)

       f CH    start   = dot11ChannelStartingFactor                                  500 kHz                                                        (22-4)

     where
       dot11CurrentChannelCenterFrequencyIndex0, dot11CurrentChannelCenterFrequencyIndex1, and
             dot11CurrentPrimaryChannel are defined in Table 22-22.

     When dot11CurrentChannelWidth (see Table 22-22) is 20 MHz,                         f P20 idx = f c idx0 . For
     dot11CurrentChannelWidth greater than 20 MHz, f P20 idx and f c idx0 shall have the relationship specified in
     Equation (22-5).

                                                     N 20MHz
       f P20   idx     = fc     idx0         4       -----------------   n P20 + 2                                                                  (22-5)
                                                            2

     where

                                2 if dot11CurrentChannelWidth indicates 40 MHz
       N 20MHz =                4 if dot11CurrentChannelWidth indicates 80 MHz and 80+80 MHz
                                8 if dot11CurrentChannelWidth indicates 160 MHz

       n P20 is an integer with possible range 0                                     n P20    N 20MHz   1

     When dot11CurrentChannelWidth is 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz,
                                                                                                   annel with 20 MHz bandwidth centered at
                f CH    start + 5            f P20   idx     MHz.

                f CH    start   +5           f S20   idx ,     where f S20    idx    is given in Equation (22-6).

                            f P20      idx   +4            if nP20 is even
       f S20   idx     =                                                                                                                            (22-6)
                            f P20      idx       4              n P20 is odd

     When dot11CurrentChannelWidth is 80 MHz, 160 MHz, or 80+80 MHz,
                                                                                                    annel with 40 MHz bandwidth centered at
                f CH    start   +5           f P40   idx     MHz, where f P40          idx   is given in Equation (22-7).

                f CH    start   +5           f S40   idx     MHz, where f S40          idx   is given in Equation (22-8).

                                                     N 20MHz
       f P40   idx     = fc     idx0         8       -----------------   n P40 + 4                                                                  (22-7)
                                                            4




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                              f P40      idx   +8            if nP40 is even
       f S40     idx     =                                                                                                                   (22-8)
                              f P40      idx      8             n P40 is odd

     where n P40 =                n P20 2              and x is the largest integer less than or equal to x .

     When dot11CurrentChannelWidth is 160 MHz,
                                                                                                      annel with 80 MHz bandwidth centered at
                 f CH     start + 5            f P80   idx   MHz, where f P80            idx   is given in Equation (22-9).

                 f CH     start   +5           f S80   idx   MHz where f S80           idx     is given in Equation (22-10).

                                                        N 20MHz
       f P80     idx     = fc     idx0         16       -----------------   nP80 + 8                                                         (22-9)
                                                               8

                              f P80      idx   + 16           if n P80 is even
       f S80     idx     =                                                                                                                  (22-10)
                              f P80      idx      16               n P80 is odd

     where n P80 =                n P20 4 .

     When dot11CurrentChannelWidth is 80+80 MHz,
                                                                                                        annel with 80 MHz bandwidth centered at
                 f CH     start + 5            f P80   idx   MHz, where f P80            idx   = fc   idx0 .


                 f CH     start   +5           f S80   idx   MHz where f S80           idx     = fc   idx1   .

     22.3.7.4 Transmitted signal

     The transmitted signal is described in complex baseband signal notation. The actual transmitted signal is
     related to the complex baseband signal by the relation shown in Equation (22-11).

          i       i TX                  1            i Seg i TX              i
       r RFSeg           (t) = Re --------------- r PPDU        (t)exp(j2 f c Seg t)                                                        (22-11)
                                      N Seg

                                                                             i Seg = 0          N Seg        1 ; i TX = 1   N TX


     where
       Re .                  represents the real part of a complex variable;

       N Seg                 represents the number of frequency segments in the transmit signal, as defined in Table 22-5;
          i
          Seg TX  i
       r PPDU    (t) represents the complex baseband signal of frequency segment iSeg in transmit chain iTX;
         i
       f c Seg              represents the center frequency of the portion of the PPDU transmitted in frequency segment
                       iSeg. Table 22-7 shows f ci Seg as a function of the channel starting frequency and
                       dot11CurrentChannelWidth (see Table 22-22) where f P20 idx , f P40 idx , and f P80 idx are given in
                       Equation (22-4), Equation (22-5), Equation (22-7), and Equation (22-9), respectively.

                                        have different impairments such as phase offset or phase noise between the two
     frequency segments, which is not shown in Equation (22-11) for simplicity. See 22.3.18.3.



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                                                                                          f c iSeg = f CH   start   +5     f   i Seg
           dot11CurrentChannel
                                          CH_BANDWIDTH
                 Width
                                                                                      f   0                                       f    1

                                                                                    fc    idx0


                                                                                    f P20     idx
                    40 MHz
                                                                                    fc    idx0


                                                                                    f P20     idx


                    80 MHz                                                          f P40     idx


                                                                                    fc    idx0


                                                                                    f P20     idx


                                                                                    f P40     idx
                   160 MHz
                                                                                    f P80     idx


                                                                                    fc    idx0


                                                                                    f P20     idx


                                                                                    f P40     idx
                   80+80 MHz
                                                                                    f P80     idx


                                                 CBW80+80                           fc    idx0                                  fc     idx1




     The transmitted RF signal is derived by up-converting the complex baseband signal, which consists of
     several fields. The timing boundaries for the various fields are shown in Figure 22-17 where NVHTLTF is the
     number of VHT-LTF symbols and is defined in Table 22-13.


                    Non-VHT portion                                                                      VHT portion
                         Pre-VHT-modulated fields                                                            VHT modulated fields

                                                                                                       VHT-LTF                                              Data
                                                                                     VHT-            VHT-                 VHT-
                                                                           VHT-                                                            VHT-     Data            Data
           L-STF              L-LTF        L-SIG         VHT-SIG-A                   LTF             LTF                  LTF
                                                                           STF                                                             SIG-B   symbol          symbol
                                                                                    symbol          symbol               symbol

                                                                                                       NVHTLTF

    t=0              tL-LTF             tL-SIG      tVHT-SIG-A       tVHT-STF     tVHT-LTF                                     tVHT-SIG-B tVHT-Data




     The time offset, t Field , determines the starting time of the corresponding field.




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     The signal transmitted on frequency segment i Seg of transmit chain i TX shall be as shown in Equation (22-
     12).

           i Seg i TX                 iSeg i TX             iSeg i TX
       r PPDU           (t) = r L-STF (t) + r L-LTF (t            t L-LTF)                                                                                              (22-12)
                                    i Seg i TX            i Seg i TX
                             +   r L-SIG (t t L-SIG) + r VHT-SIG-A(t tVHT-SIG-A)
                                    i Seg i TX                  i Seg i TX
                             +   r VHT-STF(t t VHT-STF) + r VHT-LTF         (t t VHT-LTF)
                                    i Seg i TX                        i Seg i TX
                             +   r VHT-SIG-B(t t VHT-SIG-B) + r VHT-Data(t t VHT-Data)


     where
       0      i Seg        N Seg       1

       1      i TX        N TX

       t L-LTF = T L-STF

       t L-SIG = t L-LTF + T L-LTF

       t VHT-SIG-A = t L-SIG + T L-SIG

       t VHT-STF = t VHT-SIG-A + T VHT-SIG-A

       t VHT-LTF = t VHT-STF + T VHT-STF

       t VHT-SIG-B = t VHT-LTF + N V HTLTF T VHT-LTF

       t VHT-Data = t VHT-SIG-B + T VHT-SIG-B

                    Seg TX  i     i
     Each field, r Field   (t) , is defined as the summation of one or more subfields, where each subfield is defined
     to be an inverse discrete Fourier transform as specified in Equation (22-13).

                                                                              N SR        N user   1 N STS   u
          i Seg i TX                        1                                                                                                        i Seg m
       r Subfield       (t) = ------------------------------- w TSubfield(t)                                          i
                                                                                                                 Q k Seg                     k BW X k u                 (22-13)
                                      Tone                                                                                    i TX M u + m
                                  N Field N Norm                             k=    N SR u = 0        m=1


                                                                                          exp(j2 k           F   t     T GI   Field   T CS   VHT   Mu + m )


     This general representation holds for all subfields. In the remainder of this subclause, pre-VHT modulated
     fields refer to the L-STF, L-LTF, L-SIG, and VHT-SIG-A fields, while VHT modulated fields refer to the
     VHT-STF, VHT-LTF, VHT-SIG-B, and Data fields, as shown in Figure 22-17. Total power of the time
     domain VHT modulated field signals summed over all transmit chains should not exceed the total power of
     the time domain pre-VHT modulated field signals summed over all transmit chains. For notational
     simplicity, the parameter BW is omitted from some bandwidth dependent terms.

     In Equation (22-13) the following notions are used:
           Tone                                                                                                      Tone
       N Field              Table 22-8 summarizes the various values of N Field as a function of bandwidth per frequency
                   segment.
       N Norm               For pre-VHT modulated fields, N Norm = N TX . For VHT modulated fields,
                     N Norm = N STS               total   where N STS             total    is given in Table 22-6.



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                                                                                     interval duration values for PHY fields

                                                              Tone
                                                            N Field as a function of bandwidth per frequency
                                                                                     segment                             Guard interval
                                Field
                                                                                                                           duration
                                                             20 MHz          40 MHz          80 MHz        160 MHz

          L-STF                                                   12            24             48              96                -

          L-LTF                                                   52           104             208            416              TGI2
          L-SIG                                                   52           104             208            416               TGI
          VHT-SIG-A                                               52           104             208            416               TGI
          VHT-STF                                                 12            24             48              96                -

          VHT-LTF                                                 56           114             242            484               TGI

          VHT-SIG-B                                               56           114             242            484               TGI
          VHT-Data                                                56           114             242            484           TGI or TGIS
                                                                                                                          (see NOTE 2)
          NON_HT_DUP_OFDM-Data                                    -            104             208            416               TGI
          (see NOTE 1)
                                             _HT_DUP_OFDM-Data is used as a label for the Data field of a
          NON_HT PPDU with format type NON_HT_DUP_OFDM.

                    TGI denotes guard interval duration when TXVECTOR parameter GI_TYPE equals LONG_GI,
          TGIS denotes short guard interval duration when TXVECTOR parameter GI_TYPE equals SHORT_GI.



       w T Subfield(t) is a windowing function. An example function, w TSubfield(t) , is given in 18.3.2.5 (Mathematical
                  conventions in the signal descriptions). T Subfield is TL-STF for L-STF, TL-LTF for L-LTF, TL-SIG for
                  L-SIG, TSYML for VHT-SIG-A, TVHT-STF for VHT-STF, TVHT-LTF for VHT-LTF and TVHT-SIG-B
                  for VHT-SIG-B. T Subfield is TSYM for VHT-Data, that is TSYML when not using the short guard
                  interval (Short GI field of VHT-SIG-A is 0) and TSYMS when using the short guard interval (Short
                  GI field of VHT-SIG-A is 1).

       Q ki Seg          is the spatial mapping matrix for the subcarrier k in frequency segment i Seg . For pre-VHT
                  modulated fields, Q ki Seg is a column vector with N TX elements with element i TX being
                                           i TX             i TX
                      exp( j2 k        F T CS ) ,   where T CS   represents the cyclic shift for transmitter chain i TX whose values
                  are given in Table 22-10. For VHT modulated fields, Q ki Seg is a matrix with N TX rows and
                      N STS   total   columns.

          k BW           is defined in 22.3.7.5

          F              is the subcarrier frequency spacing given in Table 22-5.
          i       m
       Xk Seg
           u             is the frequency-domain symbol in subcarrier k of user u for frequency segment i Seg of space-
                                                              i       m
                  time stream m. Some of the X k Seg
                                                  u                       within N SR    k     N SR have a value of 0. Examples of such
                  cases include the DC tones, guard tones on each side of the transmit spectrum, as well as the




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                                                                                                       k
                 unmodulated tones of L-STF and VHT-STF fields. Note that the multiplication matrices AVHTLTF
                                                                           i Seg m
                 and P VHTLTF are included in the calculation of X k          u      for the VHT-LTF and VHT-SIG-B fields,
                 respectively.
       T GI   Field    is the guard interval duration used for each OFDM symbol in the field. For L-STF and VHT-
                 STF, T GI        = T GI but it can be omitted from Equation (22-13) due to the periodic property of
                                   Field
                 L-STF and VHT-STF over every 0.8 µs. For the L-SIG, VHT-SIG-A, VHT-LTF, and VHT-SIG-B
                       T GI Field

       T CS   VHT(l)       For pre-VHT modulated fields, T CS   VHT(l)    = 0 . For VHT modulated fields, T CS     VHT(l)
                 represents the cyclic shift per space-time stream, whose value is defined in Table 22-11.

     22.3.7.5 Definition of tone rotation

     The function k BW is used to represent a rotation of the tones. BW in                         k BW   is determined by the
     TXVECTOR parameter CH_BANDWIDTH as defined in Table 22-9.


                                                                                            k BW


                                                CH_BANDWIDTH                         k BW

                                            CBW20                  k 20

                                            CBW40                  k 40

                                            CBW80                  k 80

                                            CBW160                 k 160

                                            CBW80+80               k 80    per frequency segment



     For a 20 MHz PPDU transmission,

         k 20   = 1                                                                                                    (22-14)

     For a 40 MHz PPDU transmission,


                      1        k       0
         k 40   =                                                                                                      (22-15)
                       j       k       0

     For an 80 MHz PPDU transmission,


                       1           k       64
         k 80   =                                                                                                      (22-16)
                           1       k       64

     For a noncontiguous 80+80 MHz PPDU transmission, each 80 MHz frequency segment shall use the phase
     rotation for 80 MHz PPDU transmissions as defined in Equation (22-16).




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     For a contiguous 160 MHz PPDU transmission,


                      1       k        192
                          1                    k
          k 160   =                                                                                                         (22-17)
                      1        0       k       64
                          1                k

     22.3.8 VHT preamble

     22.3.8.1 Introduction

     A VHT preamble is defined to carry the required information to operate in either single user or multi-user
     mode. To ensure compatibility with non-VHT STAs, specific non-VHT fields are defined that can be
     received by non-VHT STAs compliant with Clause 18 or Clause 20. The non-VHT fields are followed by
     VHT fields specific to VHT STAs.

     22.3.8.2 Non-VHT portion of VHT format preamble

     22.3.8.2.1 Cyclic shift for pre-VHT modulated fields
                               iTX
     The cyclic shift value T CS   for the L-STF, L-LTF, L-SIG, and VHT-SIG-A fields of the PPDU for transmit
     chain iTX out of a total of NTX are defined in Table 22-10.


                                                                         LTF, L-SIG, and VHT-SIG-A fields of the PPDU

                                i TX
                              T CS   values for L-STF, L-LTF, L-SIG, and VHT-SIG-A fields of the PPDU

           Total                                        Cyclic shift for transmit chain iTX (in units of ns)
        number of
         transmit
       chains (NTX)                1                2    3          4          5         6          7          8          >8




                                                                                                                       Between

                                                                                                                       inclusive




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     22.3.8.2.2 L-STF definition

     The L-STF field for a 20 MHz or 40 MHz transmission is defined by Equation (20-8) and Equation (20-9),
     respectively, in 20.3.9.3.3 (L-STF definition). For 80 MHz, the L-STF field is defined by Equation (22-18).
     Note that these equations do not include the phase rotation per 20 MHz subchannel.

       S    122 122      =      S   58 58    0 0 0 0 0 0 0 0 0 0 0 S                      58 58                                  (22-18)

     where
       S    58 58      is defined in Equation (20-9)

     For 160 MHz, the L-STF is defined by Equation (22-19).

       S    250 250      =      S   122 122     0 0 0 0 0 0 0 0 0 0 0 S                     122 122                              (22-19)

     where
       S    122 122      is defined in Equation (22-18)

     For a noncontiguous transmission using two 80 MHz frequency segments, each 80 MHz frequency segment
     shall use the L-STF pattern for the 80 MHz ( S 122 122 ) defined in Equation (22-18).

     The time domain representation of the signal on frequency segment i Seg in transmit chain i TX shall be as
     specified in Equation (22-20).

                                                                        N SR
          i Seg i TX                      1                                                                       i
       r L-STF         (t) = ----------------------------- w TL-STF(t)            k BW S k exp    j2 k   F   t     TX
                                                                                                                 T CS            (22-20)
                                     Tone
                                 N L-STF N TX                          k=   NSR


     where
           i TX
       T CS                represents the cyclic shift for transmit chain i TX with a value given in Table 22-10

           k BW            is defined by Equation (22-14), Equation (22-15), Equation (22-16). and Equation (22-17)
           Tone
       N L-STF             has the value given in Table 22-8

     22.3.8.2.3 L-LTF definition

     For a 20 MHz or 40 MHz transmission, the L-LTF pattern in the VHT preamble is defined by Equation (20-
     11) and Equation (20-12) in 20.3.9.3.4 (L-LTF definition), respectively. For an 80 MHz transmission, the L-
     LTF pattern is defined by Equation (22-21). Note that these equations do not include the phase rotation per
     20 MHz subchannel.

       L    122 122      =      L   58 58     0 0 0 0 0 0 0 0 0 0 0 L                     58 58                                  (22-21)

     where
       L    58 58      is defined in Equation (20-12)

     For a 160 MHz transmission, the L-LTF is defined by Equation (22-22). Note that this equation does not
     include the phase rotations per 20 MHz subchannel.



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       L    250 250        =      L   122 122     0 0 0 0 0 0 0 0 0 0 0 L                      122 122                                                (22-22)

     where
       L    122 122        is given by Equation (22-21)

     For noncontiguous transmissions using two 80 MHz frequency segments, each 80 MHz frequency segment
     shall use the L-LTF pattern for the 80 MHz L-LTF pattern ( L 122 122 ) defined in Equation (22-21).

     The time domain representation of the signal on transmit chain i TX shall be as defined in Equation (22-23).

                                                                            N SR
             i Seg i TX                      1                                                                                 i
          r L-LTF         (t) = ------------------------------ w TL-LTF(t)            k BW L k exp   j2 k   F   t     T GI2     TX
                                                                                                                              T CS                    (22-23)
                                        Tone
                                    N L-LTF N TX                           k=   NSR


     where
           i TX
       T CS                  represents the cyclic shift for transmitter chain i TX with a value given in Table 22-10

           k BW              is defined by Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)
           Tone
       N L-LTF               has the value given in Table 22-8

     22.3.8.2.4 L-SIG definition

     The L-SIG field is used to communicate rate and length information. The structure of the L-SIG field is
     defined in Figure 18-5.

     In a VHT PPDU, the RATE field shall be set to the value representing 6 Mb/s in the 20 MHz channel
     spacing column of Table 18-6. In a non-HT duplicate PPDU, the RATE field is defined in 18.3.4.2 using the
     L_DATARATE parameter in the TXVECTOR.

     The LENGTH field shall be set to the value given by Equation (22-24).

                TXTIME 20
       Length = ----------------------------------        3     3                                                                                     (22-24)
                                4

     where
       TXTIME (in µs) is defined in 22.4.3

     The LSB of the binary expression of the Length value shall be mapped to B5. In a non-HT duplicate PPDU,
     the LENGTH field is defined in 18.3.4.3 using the L_LENGTH parameter in the TXVECTOR.

     The Reserved (R) field shall be set to 0.

     The Parity (P) field has the even parity of bits 0-16.

     The SIGNAL TAIL field shall be set to 0.

     The L-SIG field shall be encoded, interleaved, and mapped following the steps described in 18.3.5.6,
     18.3.5.7, and 18.3.5.8. The stream of 48 complex numbers generated by these steps is denoted by
     dk k = 0        47 . Pilots shall be inserted as described in 18.3.5.9. The time domain waveform of the L-SIG
     field shall be as given by Equation (22-25).



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         i Seg i TX                      1
       r L-SIG        (t) = ---------------------------- w T L-SIG(t)                                                                                (22-25)
                                    Tone
                                N L-SIG N TX
                                    N 20MHz     1    26
                                                                  k     K Shift i BW    BW   Dk   20   + p0 Pk
                                                                                                                                     i TX
                                       iBW = 0 k = 26
                                                                                       exp j2     k     K Shift i BW   F   t   T GI T CS

     where
       N 20MHz            is defined in 22.3.7.3

       K Shift(i) = N 20MHz                   1        i     32



                             0 k = 0 7 21
        Dk      20    =                                                                                                                              (22-26)
                             d M r k otherwise
                                  20




                                k + 26 26 k     22
                                k + 25 20 k     8
            r
       M 20 k =                 k + 24 6 k    1                                                                                                      (22-27)
                                k + 23 1 k 6
                                k + 22 8 k 20
                                k + 21 22 k 26


       Pk                 is defined in 18.3.5.10

       p0                 is the first pilot value in the sequence defined in 18.3.5.10
         Tone
       N L-SIG            has the value given in Table 22-8

         k BW             is defined in Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)
         i TX
       T CS               represents the cyclic shift for transmitter chain i TX with a value given in Table 22-10

                   r (k)
                 M 20                                                     e function M(k) defined in 18.3.5.10.




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     22.3.8.3 VHT portion of VHT format preamble

     22.3.8.3.1 Introduction

     The VHT portion of the VHT format preamble consists of the VHT-SIG-A, VHT-STF, VHT-LTF, and
     VHT-SIG-B fields.

     22.3.8.3.2 Cyclic shift for VHT modulated fields

     The cyclic shift values defined in this subclause apply to the VHT-STF, VHT-LTF, VHT-SIG-B, and Data
     fields of the VHT PPDU. The cyclic shift values defined in 22.3.8.2.1 apply to VHT-SIG-A field in the VHT
     format preamble.

     Throughout the VHT modulated fields of the preamble, cyclic shifts are applied to prevent unintended
     beamforming when correlated signals are transmitted in multiple space-time streams. The same cyclic shift
     is also applied to these streams during the transmission of the Data field of the VHT PPDU. The cyclic shift
     value T CS VHT n for the VHT modulated fields for space-time stream n out of NSTS,total total space-time
     streams is shown in Table 22-11.




                              T CS   VHT   n values for the VHT modulated fields of a PPDU

          Total number                             Cyclic shift for space-time stream n (ns)
          of space-time
             streams
            (NSTS,total)     1             2          3           4           5           6           7           8




     In a VHT MU PPDU, the cyclic shifts are applied sequentially across the space-time streams as follows: the
     cyclic shift of the space-time stream number m of user u is given by T CS VHT M u + m of the row
     corresponding to NSTS,total in Table 22-11.

     22.3.8.3.3 VHT-SIG-A definition

     The VHT-SIG-A field carries information required to interpret VHT PPDUs. The structure of the VHT-SIG-
     A field for the first part (VHT-SIG-A1) is shown in Figure 22-18 and for the second part (VHT-SIG-A2) is
     shown in Figure 22-19.

                                                igned binary format with the least significant bit in the lowest numbered bit
     position.



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                                    B0          B1                  B2                 B3       B4 B9 B10                B12 B13       B15 B16        B18 B19 B21           B22          B23




                                                                                                                                                                           TXOP_PS_NOT
    Composite Name:                                                                                                              NSTS/Partial AID




                                                                                                                                                                            _ALLOWED
                                                                                                    Group ID
                                                                    Reserved




                                                                                                                                                                                         Reserved
                                                                                       STBC
           SU Name:                                                                                              SU NSTS                      Partial AID




                                         BW
                                                                                                                  MU[0]          MU[1]          MU[2]        MU[3]
           MU Name:
                                                                                                                  NSTS           NSTS           NSTS         NSTS

                 Bits:                    2                                 1            1            6              3             3              3            3               1           1




                         B0               B1              B2                     B3            B4               B5          B6           B7           B8      B9         B10 B17 B18 B23

                                                                                                                                                   Beamfor
  Composite Name:                                                                                SU VHT-MCS/MU[1-3] Coding
                                                          SU/MU[0] Coding
                                         Short GI NSYM




                                                                                                                                                     med
                                         Disambiguation




                                                                                OFDM Symbol
                                                                                 LDPC Extra




                                                                                                                                                              Reserved
                         Short GI




                                                                                                                                                   Beamfor




                                                                                                                                                                           CRC



                                                                                                                                                                                             Tail
        SU Name:                                                                                                SU VHT-MCS
                                                                                                                                                    med

                                                                                              MU[1]            MU[2]      MU[3]
       MU Name:                                                                                                                        Reserved Reserved
                                                                                              Coding           Coding     Coding

              Bits:        1                 1                 1                   1            1                1          1             1             1       1            8                  6



     The VHT-SIG-A field contains the fields listed in Table 22-12. The mapping of the fields is also described
     in Table 22-12. Note that the mapping of the STBC field, the NSTS/Partial AID field, the SU/MU[0] Coding
     field, the SU VHT-MCS/MU[1-3] Coding field, and the Beamformed field is different for VHT SU and MU
     PPDUs.

     The VHT-SIG-A field is composed of two parts, VHT-SIG-A1 and VHT-SIG-A2, each containing 24 data
     bits, as shown in Table 22-12. VHT-SIG-A1 is transmitted before VHT-SIG-A2. The VHT-SIG-A symbols
     shall be BCC encoded at rate, R = 1/2, be interleaved, be mapped to a BPSK constellation, and have pilots
     inserted following the steps described in 18.3.5.6, 18.3.5.7, 18.3.5.8, and 18.3.5.9, respectively. The first and
     second half of the stream of 96 complex numbers generated by these steps (before pilot insertion) is divided
     into two groups of 48 complex numbers d k n k = 0 47 , where n = 0 1 , respectively. The first 48
     complex numbers form the first symbol of VHT-SIG-A and the second 48 complex numbers form the
     second symbol of VHT-SIG-A after rotating by 90° counter-clockwise relative to the first symbol. The first
     symbol of VHT-SIG-A, which does not have the 90° rotation, is used to differentiate VHT PPDUs from HT
     PPDUs, while the second symbol of VHT-SIG-A, which has the 90° rotation, is used to differentiate VHT
     PPDUs from non-HT PPDUs. The time domain waveform for the VHT-SIG-A field in a VHT PPDU shall
     be as specified in Equation (22-28).




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    Two parts of                                 Number
                            Bit        Field                                        Description
    VHT-SIG-A                                     of bits

                       B0-B1      BW             2          Set to 0 for 20 MHz, 1 for 40 MHz, 2 for 80 MHz, and 3 for
                                                            160 MHz and 80+80 MHz

                       B2         Reserved       1          Reserved. Set to 1.
                       B3         STBC           1          For a VHT SU PPDU:
                                                              Set to 1 if space time block coding is used and set to 0
                                                              otherwise.
                                                            For a VHT MU PPDU:
                                                              Set to 0.

                       B4-B9      Group ID       6          Set to the value of the TXVECTOR parameter GROUP_ID.
                                                            A value of 0 or 63 indicates a VHT SU PPDU; otherwise,
                                                            indicates a VHT MU PPDU.
                       B10-B21    NSTS/Partial   12         For a VHT MU PPDU: NSTS is divided into 4 user
                                  AID                       positions of 3 bits each. User position p, where 0 p 3 ,
                                                            uses bits B( 10 + 3p ) to B( 12 + 3p ). The number of space-
                                                            time streams for user u are indicated at user position
                                                            p = USER_POSITION u where
                                                            u = 0 1       NUM_USERS 1 and the notation A[b] denotes
                                                            the value of array A at index b. Zero space-time streams are
                                                            indicated at positions not listed in the USER_POSITION
                                                            array. Each user position is set as follows:
                                                               Set to 0 for 0 space-time streams
          VHT-SIG-A1




                                                               Set to 1 for 1 space-time stream
                                                               Set to 2 for 2 space-time streams
                                                               Set to 3 for 3 space-time streams
                                                               Set to 4 for 4 space-time streams
                                                               Values 5-7 are reserved
                                                            For a VHT SU PPDU:
                                                            B10-B12
                                                               Set to 0 for 1 space-time stream
                                                               Set to 1 for 2 space-time streams
                                                               Set to 2 for 3 space-time streams
                                                               Set to 3 for 4 space-time streams
                                                               Set to 4 for 5 space-time streams
                                                               Set to 5 for 6 space-time streams
                                                               Set to 6 for 7 space-time streams
                                                               Set to 7 for 8 space-time streams
                                                            B13-B21
                                                               Partial AID: Set to the value of the TXVECTOR
                                                               parameter PARTIAL_AID. Partial AID provides an
                                                               abbreviated indication of the intended recipient(s) of the
                                                               PSDU (see 9.17a).

                       B22        TXOP_PS_       1          Set to 0 by VHT AP if it allows non-AP VHT STAs in
                                  NOT_ALLO                  TXOP power save mode to enter Doze state during a TXOP.
                                  WED                       Set to 1 otherwise.

                                                            The bit is reserved and set to 1 in VHT PPDUs transmitted
                                                            by a non-AP VHT STA.

                       B23        Reserved       1          Set to 1




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    Two parts of                                  Number
                          Bit           Field                                         Description
    VHT-SIG-A                                      of bits

                     B0          Short GI         1          Set to 0 if short guard interval is not used in the Data field.
                                                             Set to 1 if short guard interval is used in the Data field.

                     B1          Short GI         1          Set to 1 if short guard interval is used and NSYM mod 10 = 9;
                                 NSYM                        otherwise, set to 0. NSYM is defined in 22.4.3.
                                 Disambiguati
                                 on

                     B2          SU/MU[0]         1          For a VHT SU PPDU, B2 is set to 0 for BCC, 1 for LDPC
                                 Coding                      For a VHT MU PPDU, if the MU[0] NSTS field is nonzero,
                                                             then B2 indicates the coding used for user u with
                                                             USER_POSITION[u] = 0; set to 0 for BCC and 1 for LDPC.
                                                             If the MU[0] NSTS field is 0, then this field is reserved and
                                                             set to 1.

                     B3          LDPC Extra       1          Set to 1 if the LDPC PPDU encoding process (if an SU
                                 OFDM                        PPDU), or at least one LDPC
                                 Symbol                      (if a VHT MU PPDU), results in an extra OFDM symbol (or
                                                             symbols) as described in 22.3.10.5.4 and 22.3.10.5.5. Set to
                                                             0 otherwise.

                     B4-B7       SU VHT-          4          For a VHT SU PPDU:
                                 MCS/MU[1-                     VHT-MCS index
                                 3] Coding                   For a VHT MU PPDU:
                                                               If the MU[1] NSTS field is nonzero, then B4 indicates
        VHT-SIG-A2




                                                               coding for user u with USER_POSITION[u] = 1: set to 0
                                                               for BCC, 1 for LDPC. If the MU[1] NSTS field is 0, then
                                                               B4 is reserved and set to 1.
                                                               If the MU[2] NSTS field is nonzero, then B5 indicates
                                                               coding for user u with USER_POSITION[u] = 2: set to 0
                                                               for BCC, 1 for LDPC. If the MU[2] NSTS field is 0, then
                                                               B5 is reserved and set to 1.
                                                               If the MU[3] NSTS field is nonzero, then B6 indicates
                                                               coding for user u with USER_POSITION[u] = 3: set to 0
                                                               for BCC, 1 for LDPC. If the MU[3] NSTS field is 0, then
                                                               B6 is reserved and set to 1.
                                                               B7 is reserved and set to 1
                     B8          Beamformed       1          For a VHT SU PPDU:
                                                               Set to 1 if a Beamforming steering matrix is applied to the
                                                               waveform in an SU transmission as described in
                                                               20.3.11.11.2, set to 0 otherwise.
                                                             For a VHT MU PPDU:
                                                               Reserved and set to 1

                                                                                           hing is not recommended.

                     B9          Reserved         1          Reserved and set to 1

                     B10-B17     CRC              8          CRC calculated as in 20.3.9.4.4 with c7 in B10. Bits 0-23 of
                                                             HT-SIG1 and bits 0-9 of HT-SIG2 are replaced by bits 0-23
                                                             of VHT-SIG-A1 and bits 0-9 of VHT-SIG-A2, respectively.
                     B18-B23     Tail             6          Used to terminate the trellis of the convolutional decoder.
                                                             Set to 0.




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                                                                         1
           i Seg i TX                      1
        r VHT-SIG-A(t) = ---------------------------------------              w TSYML(t         nT SYML)                                                               (22-28)
                                 Tone
                             N VHT-SIG-A N TX                        n=0


                                                           26
                                     N 20MHz       1
                                                                     k       K Shift i BW    BW   jn Dk      n BW   + pn + 1 P k
                                                       k = 26
                                        i BW = 0                                                                                                                i TX
                                                                                            exp j2       k    K Shift i BW         F   t    nT SYML    T GI    T CS

     where
        N 20MHz and K Shift(i) are defined in 22.3.8.2.4


                               0 k = 0 7 21
        Dk    n 20    =
                              d M r k n otherwise
                                   20



          r (k)
        M 20              is defined in Equation (22-27)

        Pk and p n are defined in 18.3.5.10
          Tone
        N VHT-SIG-A has the value given in Table 22-8

          k BW            is defined in Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)
          i TX
        T CS              represents the cyclic shift for transmitter chain i TX with a value given in Table 22-10

                                                 K modulation on the second symbol of VHT-SIG-A where the constellation of
     the data tones is rotated by 90º counter-clockwise relative to the first symbol of VHT-SIG-A and relative to the non-HT
     signal field in VHT PPDUs (Figure 22-20). In VHT PPDUs, the VHT-SIG-A is transmitted with the same number of
     subcarriers and the same cyclic shifts as the preceding non-HT portion of the preamble.

     For a noncontiguous 80+80 MHz transmission, each frequency segment shall use the time domain
     waveform for 80 MHz transmissions.


                                                       Q                                             Q                                          Q
                            L-SIG                                        VHT-SIG-A1                                  VHT-SIG-A2
                                            +1                                                  +1                                         +1   1
                                        0                       1    I
                                                                                            0                  1      I                                    I
                                   -1                           +1                     -1                      +1              -1                     +1

                                             -1                                                 -1                                         -1   0




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     22.3.8.3.4 VHT-STF definition

     The main purpose of the VHT-STF field is to improve automatic gain control estimation in a MIMO
     transmission. The duration of the VHT-STF field is TVHT-STF regardless of the Short GI field setting in
     VHT-SIG-A. The frequency domain sequence used to construct the VHT-STF field in a 20 MHz
     transmission is identical to the L-STF field. In a 40 MHz and an 80 MHz transmission, the VHT-STF field is
     constructed from the 20 MHz version by frequency shifting a duplicate of it to each 20 MHz subchannel and
     applying appropriate phase rotations per 20 MHz subchannel.

     For a 20 MHz transmission, the frequency domain sequence is given by Equation (22-29).

       VHTS    28 28   = HTS   28 28                                                                                    (22-29)

     where
       HTS   28 28   is defined in Equation (20-19)

     For a 40 MHz transmission, the frequency domain sequence is given by Equation (22-30).

       VHTS    58 58   = HTS   58 58                                                                                    (22-30)

     where
       HTS   58 58   is defined in Equation (20-20)

     For an 80 MHz transmission, the frequency domain sequence is given by Equation (22-31).

       VHTS    122 122   =   VHTS      58 58    0 0 0 0 0 0 0 0 0 0 0 VHTS            58 58                             (22-31)

     where
       VHTS    58 58   is given by Equation (22-30)

     For a 160 MHz transmission, the frequency domain sequence is given by Equation (22-32).

       VHTS    250 250   =   VHTS      122 122    0 0 0 0 0 0 0 0 0 0 0 VHTS            122 122                         (22-32)

     where
       VHTS    122 122   is given by Equation (22-31)

                                               (22-30), Equation (22-31), and Equation (22-32) do not show the phase rotation per
     20 MHz subchannel.

     For a noncontiguous 80+80 MHz transmission, each 80 MHz frequency segment shall use the VHT-STF
     pattern for the 80 MHz ( VHTS 122 122 ) defined in Equation (22-31).

     The time domain representation of the signal on frequency segment i Seg of transmit chain i TX shall be as
     specified in Equation (22-33).




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          i Seg i TX                         1
       r VHT-STF(t) = ------------------------------------------------ w T VHT-STF(t)                                                             (22-33)
                              Tone
                          N VHT-STF N STS total
                                      N SR     N user 1 N STS      u
                                                                        Q kiSeg     i TX M u + m   k BW VHTS k

                                   k = N SR       u=0       m=1                         exp j2 k     F    t   T CS,VHT(M u + m)

     where
         Tone
       N VHT-STF has the value given in Table 22-8

       T CS,VHT(n) is given in Table 22-11

       Q ki Seg          is defined in 22.3.10.11.1

          k BW           is defined in Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)

     22.3.8.3.5 VHT-LTF definition

     The VHT Long Training field (VHT-LTF) field provides a means for the receiver to estimate the MIMO
     channel between the set of constellation mapper outputs (or, if STBC is applied, the STBC encoder outputs)
     and the receive chains. The transmitter provides training for NSTS,total space-time streams (spatial mapper
     inputs) used for the transmission of the PSDU(s). For each tone the MIMO channel that can be estimated is
     an NRX NSTS,total matrix. A VHT transmission has a preamble that contains VHT-LTF symbols, where the
     data tones of each VHT-LTF symbol are multiplied by entries belonging to a matrix PVHTLTF, to enable
     channel estimation at the receiver. The pilot tones of each VHT-LTF symbol are multiplied by the entries of
     a matrix RVHTLTF defined in the following text. The multiplication of the pilot tones in the VHT-LTF
     symbol by the RVHTLTF matrix instead of the PVHTLTF matrix allows receivers to track phase and frequency
     offset during MIMO channel estimation using the VHT-LTF. The number of VHT-LTF symbols, NVHTLTF,
     is a function of the total number of space-time streams NSTS,total as shown in Table 22-13. As a result the
     VHT-LTF field consists of one, two, four, six or eight symbols.




                                                                         NSTS,total                NVHTLTF

                                                                               1                      1
                                                                               2                      2

                                                                               3                      4
                                                                               4                      4

                                                                               5                      6

                                                                               6                      6
                                                                               7                      8

                                                                               8                      8



     Let LTF left and LTF right be the sequences defined in Equation (22-34) and Equation (22-35), respectively.




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       LTF left =     1 1          1   1 1 1   1                                                                           (22-34)

       LTF right =       1     1                                                                                           (22-35)

              LTF left                                                                        LTF right
     26 elements of Equation (17-9).

     In a 20 MHz transmission, the VHT-LTF sequence transmitted is given by Equation (22-36).

        VHTLTF       28 28     = 1 1 LTF left 0 LTF right             1    1                                               (22-36)
                               = HTLTF 28 28

     where
       HTLTF     28 28       is defined in Equation (20-23)

     In a 40 MHz transmission, the VHT-LTF sequence transmitted is given by Equation (22-37).

       VHTLTF        58 58    = LTF left 1 LTF right          1   1       1 1 0 0 0   1 1 1   1 LTF left 1 LTF right       (22-37)
                              = HTLTF 58 58

     where
       HTLTF     58 58       is defined in Equation (20-24)

     In an 80 MHz transmission, the VHT-LTF sequence transmitted is given by Equation (22-38).

       VHTLTF        122 122    =      LTF left 1 LTF right 1 1 1 1 1             1 1   1 1 1     1 LTF left 1 LTF right (22-38)
                                       1 1 1 1 0 0 0 1 1 1 1
                                       LTF left 1 LTF right 1 1 1 1 1             1 1   1 1 1     1 LTF left 1 LTF right

     In a 160 MHz transmission, the VHT-LTF sequence transmitted is given by Equation (22-39).

       VHTLTF        250 250    =      VHTLTF      122 122   0 0 0 0 0 0 0 0 0 0 0 VHTLTF             122 122              (22-39)

     where
       VHTLTF        122 122    is given in Equation (22-38)

                                               (22-37), Equation (22-38), and Equation (22-39) do not show the phase rotation per
     20 MHz subchannel.

     For a noncontiguous 80+80 MHz transmission, each 80 MHz frequency segment shall use the 80 MHz
     VHT-LTF sequence, VHTLTF 122 122 , defined in Equation (22-38).




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     The generation of the time domain VHT-LTF symbols per frequency segment is shown in Figure 22-21
            k
     where AVHTLTF  is given in Equation (22-40).


                                                k
                                               AVHTLTF
                                                                1, n


    VHTLTFk                                         x
                                                                                                                                                          IDFT


                                                   ...




                                                                                                          ...
                                                                                     CSD                                 Qk




                                                                                                                                                           ...
                                                                                                                              1: N STS ,total




                                                                                                                                                          IDFT
                                                    x
                                             k
                                            AVHTLTF
                                                             N STS ,total , n




                                R VHTLTF if k                      K Pilot
        k
       AVHTLTF =                                                                                                                                                            (22-40)
                                P VHTLTF otherwise

     where
       K Pilot             is the set of subcarrier indices for the pilot tones.
                 For a 20 MHz transmission, K Pilot =                                              7      21 .
                 For a 40 MHz transmission, K Pilot =                                              11      25        53 .
                 For an 80 MHz transmission, K Pilot =                                               11        39     75      103 .
                 For a 160 MHz transmission, K Pilot =                                               25        53     89      117               139   167     203   231 .
                 For a noncontiguous 80+80 MHz transmission, K Pilot for each 80 MHz frequency segment is
                 identical to K Pilot for an 80 MHz transmission.

       RVHTLTF is a N VHTLTF                               N VHTLTF matrix whose elements are defined in Equation (22-41).


          R VHTLTF                = P VHTLTF                            1           m n     N VHTLTF                                                                        (22-41)
                       m n                                     1 n


     The time domain representation of the waveform transmitted on frequency segment iSeg of transmit chain
     iTX shall be as described by Equation (22-42).

                                                                                 NVHTLTF    1
          i Seg i TX                                 1
       r VHT-LTF     (t)    = ------------------------------------------------                  w TVHT-LTF(t    nT VHT-LTF)                                                 (22-42)
                                      Tone
                                  N VHT-LTF N STS total                              n=0
                                          N SR       N user 1 N STS             u
                                                                                     Q ki Seg                       k BW
                                                                                                                               k
                                                                                                                             A VHTLTF                           VHTLTF k
                                                                                                i TX M u + m                                     Mu + m   n+1

                                     k = N SR           u=0            m=1                         exp j2 k          F   t    nT VHT-LTF T GI               T CS,VHT(M u + m)




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     where
         Tone
       N VHT-LTF has the value given in Table 22-8

       T CS,VHT(n) is given in Table 22-11

       Q ki Seg       is defined in 22.3.10.11.1

         k BW         is defined in Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)
        k
       AVHTLTF is defined in Equation (22-40)


                           P4          4    N STS      total    4
       PVHTLTF =           P6          6    N STS      total   = 5 6                                              (22-43)
                           P8          8    N STS      total   = 7 8

     where
       P4    4    is defined in Equation (20-27)

     The VHT-LTF mapping matrix for six VHT-LTF symbols, P 6           6   , is defined in Equation (22-44).


                      1        1
                                   1        2
                    1      w           w        w3     w4       w5
       P6         = 1      w2          w4       w6     w8       w 10                                              (22-44)
             6
                    1      w3          w6       w9     w 12     w 15
                    1      w4          w8       w 12   w 16     w 20
                    1      w5          w 10     w 15   w 20     w 25

     where
       w = exp            j2           6

     The VHT-LTF mapping matrix for eight VHT-LTF symbols, P 8             8,   is defined in Equation (22-45).


                      P4       4       P4       4
       P8    8    =                                                                                               (22-45)
                      P4       4       P4       4


     where
       P4    4    is defined in Equation (20-27)

     As defined in Table 22-5, the duration of each VHT-LTF symbol is T VHT-LTF regardless of the Short GI
     field setting in VHT-SIG-A.




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     22.3.8.3.6 VHT-SIG-B definition

     The VHT-SIG-B field is one symbol and contains 26 bits in a 20 MHz PPDU, 27 bits in a 40 MHz PPDU,
     and 29 bits in 80 MHz, 160 MHz, and 80+80 MHz PPDUs for each user. The fields in the VHT-SIG-B field
     are listed in Table 22-14. For fields consisting of multiple bits, the LSB of the value occupies the lowest
     numbered bit of the field. For example, for an MU transmission using VHT-MCS 5 (0101 in binary) in
     20 MHz bandwidth, the VHT-SIG-B field bits are set as follows: B16=1, B17=0, B18=1, and B19=0.




          Field          VHT MU PPDU Allocation (bits)                      VHT SU PPDU Allocation (bits)                Description

                                                       80 MHz,                                            80 MHz,
                        20 MHz         40 MHz          160 MHz,           20 MHz         40 MHz          160 MHz,
                                                      80+80 MHz                                         80+80 MHz

                         B0-B15         B0-B16           B0-B18           B0-B16         B0-B18             B0-B20    Length of A-
     VHT-SIG-B            (16)           (17)             (19)             (17)           (19)               (21)     MPDU pre-EOF
      Length                                                                                                          padding in units of
                                                                                                                      four octets

                        B16-B19        B17-B20          B19-B22             N/A            N/A               N/A
      VHT-MCS
                          (4)            (4)              (4)

                           N/A            N/A              N/A           B17-B19         B19-B20            B21-B22   All ones
       Reserved
                                                                           (3)             (2)                (2)

                        B20-B25        B21-B26          B23-B28          B20-B25         B21-B26            B23-B28   All zeros
          Tail
                          (6)            (6)              (6)              (6)             (6)                (6)

      Total # bits          26             27               29               26             27                29



                                                                                    B19-20 will always be 0 for an 80 MHz, 160 MHz,
     and 80+80 MHz VHT SU PPDU.

     The VHT-SIG-B Length field for user u shall be set using Equation (22-46).

                                                            APEP_LENGTH
       VHT-SIG-B Length (for user u in units of 4 octets) = -------------------------------------------u-                         (22-46)
                                                                                 4

     where
       APEP_LENGTHu is the TXVECTOR parameter APEP_LENGTH for user u (in octets)

                                         ented by the VHT-SIG-B Length field will not exceed the PSDU_LENGTH
     determined by Equation (22-112), Equation (22-113), and Equation (22-114) by more than 3 octets.

     The VHT-SIG-B bits for an NDP transmission in various channel widths shall be set as defined in
     Table 22-15.

     For a 40 MHz transmission, the VHT-SIG-B bits are repeated twice. For an 80 MHz transmission, the VHT-
     SIG-B bits are repeated four times and a pad bit appended that is set to 0. For a 160 MHz and 80+80 MHz
     transmission, the VHT-SIG-B bits are first repeated four times and a pad bit appended that is set to 0 as in
     the 80 MHz transmission. Then, the resulting 117 bits are repeated again to fill the 234 available bits. The
     repetition of the VHT-SIG-B bits for various channel width PPDUs is shown in Figure 22-22.




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                                                                                                                              eld) in NDP for various channel widths

   Channel      B0     B1         B2         B3        B4         B5        B6     B7             B8     B9 B10 B11 B12 B13 B14 B15 B16 B17 B18 B19 B20 B21 B22
    Width

   20 MHz        0      0          0            0         0            1     1         1            0      1        0        0       0           1     0          0            0        0        1        0

   40 MHz        1      0          1            0         0            1     0         1            1      0        1        0       0           0     1          0            0        0        0        1       1        -

   80 MHz,
  160 MHz,       0      1          0            1         0            0     1         1            0      0        1        0       1           1     1          1            1        1        1        0       0        1     0
  or 80+80
     MHz




                                  6 tail
             20 MHz   20 bits
                                  bits



                                    6 tail                    6 tail
             40 MHz    21 bits                  21 bits
                                    bits                       bits


                                     Repeated

                                       6 tail                      6 tail                      6 tail               6 tail 1 Pad
             80 MHz     23 bits                     23 bits                  23 bits                    23 bits
                                        bits                        bits                        bits                bits bit


                                                          Repeated


         160 MHz                       6 tail                      6 tail                      6 tail               6 tail 1 Pad             6 tail                   6 tail                 6 tail               6 tail 1 Pad
                        23 bits                     23 bits                  23 bits                    23 bits                    23 bits              23 bits                    23 bits              23 bits
       80+80 MHz                        bits                        bits                        bits                bits bit                  bits                     bits                   bits                 bits bit


                                                          Repeated



                                                                                                                          Repeated




                                                                                                         transmissions

     For each user u, the VHT-SIG-B field shall be BCC encoded at rate R = 1/2 as defined in 18.3.5.6, be
     segment parsed as defined in 22.3.10.7, be interleaved as defined in 22.3.10.8, be mapped to a BPSK
     constellation as defined in 18.3.5.8, and have pilots inserted following the steps described in 22.3.10.10. The
     VHT-SIG-B field constellation points are mapped to NSTS,u space-time streams by the user-specific
     elements of the first column of the PVHTLTF matrix, which is defined in clause 22.3.8.3.5. The total number
     of data subcarriers and pilot subcarriers are the same as in the Data field. The space-time streams per each
     frequency segment are input into the CSD block, which is defined in Table 22-11 and follow the same
     transmission flow as the Data field from there on. The duration of the VHT-SIG-B field is TVHT-SIG-B,
     regardless of the value of the TXVECTOR parameter GI_TYPE. The time domain waveform for the VHT-
     SIG-B field in a VHT PPDU is specified by Equation (22-47).


           i Seg i TX                             1
        r VHT-SIG-B(t) = ---------------------------------------------------- w TVHT-SIG-B(t)                                                                                                                       (22-47)
                                 Tone
                             N VHT-SIG-B N STS total
                                                    N SR          N user 1 N STS           u
                                                                                                    Q ki Seg                         k BW            P VHTLTF           Mu + m 1
                                                                                                                                                                                         D kuBW + p 3 P 0k
                                                                                                                  i TX Mu + m

                                                k = NSR                u=0       m=1                                exp j2 k             F   t       T GI     T CS,VHT(M u + m)
     where
          Tone
        N VHT-SIG-B has the value given in Table 22-8

        T CS,VHT(n) is given in Table 22-11



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       Q ki Seg   is defined in 22.3.10.11.1

       pn         is defined in 18.3.5.10

       Pnk        is defined in 22.3.10.10

          k BW    is defined in Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)

       PVHTLTF is given in Equation (22-43)

     For a 20 MHz VHT transmission,


                   0 k = 0 7 21
       D ku20 =                                                                                            (22-48)
                   d Mur k otherwise
                        20




                    k + 28 28 k     22
                    k + 27 20 k     8
          r
       M 20 k =     k + 26 6 k    1                                                                        (22-49)
                    k + 25 1 k 6
                    k + 24 8 k 20
                    k + 23 22 k 28


     For a 40 MHz VHT transmission,


                   0 k = 0 1 11 25             53
       D ku40 =                                                                                            (22-50)
                   d Mur k otherwise
                        40




                    k + 58 58 k    54
                    k + 57 52 k    26
                    k + 56 24 k    12
          r         k + 55 10 k    2
       M 40 k =                                                                                            (22-51)
                    k + 52 2 k 10
                    k + 51 12 k 24
                    k + 50 26    k     52
                    k + 49 54    k     58

     For an 80 MHz VHT transmission,


                   0 k = 0 1 11 39             75   103
       D ku80 =                                                                                            (22-52)
                   d Mur k otherwise
                        80




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                      k + 122 122 k   104
                      k + 121 102 k   76
                      k + 120 74 k   40
                      k + 119 38 k   12
         r            k + 118 10 k   2
       M 80 k =                                                                                                           (22-53)
                      k + 115 2 k 10
                      k + 114 12        k           38
                      k + 113 40        k           74
                      k + 112 76        k           102
                      k + 111 104           k           122

     For a 160 MHz VHT transmission,


                     0 k=0 1 2 3                             4     5   25   53   89   117   127   128   129   139   167   203   231
       D ku160 =
                     d Mur k otherwise
                        160                                                                                               (22-54)



                       k + 250     250              k         232
                       k + 249     230              k         204
                       k + 248     202              k         168
                       k + 247     166              k         140
                       k + 246     138              k         130
                       k + 243     126              k         118
                       k + 242     116              k         90
                       k + 241     88           k            54
                       k + 240     52           k            26
         r             k + 239     24           k            6
       M 160 k =                                                                                                          (22-55)
                       k + 228 6        k           24
                       k + 227 26           k           52
                       k + 226 54           k           88
                       k + 225 90           k           116
                       k + 224 118              k        126
                       k + 221 130              k        138
                       k + 220 140              k        166
                       k + 219 168              k        202
                       k + 218 204              k        230
                       k + 217 232              k        250


     For a noncontiguous 80+80 MHz VHT transmission, each frequency segment shall follow the 80 MHz VHT
     transmission format as specified in Equation (22-52) and Equation (22-53).

     In Equation (22-48), Equation (22-50), Equation (22-52), and Equation (22-54), d ku is the constellation
     point of VHT-SIG-B for user u (starting with 0) at subcarrier k (prior to multiplication by PVHTLTF).



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     22.3.9 Transmission of NON_HT and HT PPDUs with multiple transmit chains

     22.3.9.1 Transmission of 20 MHz NON_HT PPDUs with more than one transmit chain

     A VHT STA that transmits a NON_HT PPDU shall apply the cyclic shifts defined in Table 22-10 to the
     preamble and Data field.

     22.3.9.2 Transmission of HT PPDUs with more than four transmit chains

     A VHT STA that transmits an HT PPDU with FORMAT equal to HT_MF shall apply the cyclic shifts
     defined in Table 22-10 for the non-HT portion of the PPDU, including the HT-SIG field.

     22.3.10 Data field

     22.3.10.1 General

     The number of OFDM symbols in the Data field is determined by the Length field in L-SIG (see
     Equation (22-24)), the preamble duration and the setting of the Short GI field in VHT-SIG-A (see
     22.3.8.3.3).

     When BCC encoding is used, the Data field shall consist of the SERVICE field, the PSDU, the PHY pad
     bits, and the tail bits ( N tail N E S bits for SU and N tail N E S u bits for each user u in MU). When LDPC
     encoding is used, the Data field shall consist of the SERVICE field, the PSDU, and the PHY pad bits. No tail
     bits are present when LDPC encoding is used.

     The padding flow is as follows. The MAC delivers a PSDU that fills the available octets in the Data field of
     the PPDU for each user u. The PHY determines the number of pad bits to add and appends them to the
     PSDU. The number of pad bits added will always be 0 to 7 per user. When user u of a VHT MU PPDU uses
     BCC encoding, the number of pad bits is calculated using Equation (22-56). In the case of SU ignore u in
     Equation (22-56).

       N PAD   u   = N SYM N DBPS   u   8 PSDU_LENGTH u      N service   N tail N ES   u                         (22-56)

     where
       PSDU_LENGTH u is defined in 22.4.3

       N SYM          is the number of symbols in the Data field and is given by Equation (22-111) for a VHT SU
               PPDU and by Equation (22-67) for a VHT MU PPDU

     For an SU PPDU, if LDPC encoding is used then the PHY padding bits are calculated using Equation (22-
     57).

       N PAD = N SYM      init N DBPS   8 PSDU_LENGTH       N service                                            (22-57)

     where
       PSDU_LENGTH is defined in 22.4.3

       N SYM   init   is given by Equation (22-62)

     For a VHT MU PPDU, if LDPC encoding is used for user u then the PHY padding bits are calculated using
     Equation (22-58).




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       N PAD   u   = N SYM_max_init N DBPS        u   8 PSDU_LENGTH u          N service                                  (22-58)

     where
       PSDU_LENGTH u is defined in 22.4.3

       N SYM_max_init is given by Equation (22-65)

     The Data field of the VHT PPDU contains data for one or more users. For a VHT MU PPDU, the data
     processing, from scrambling to constellation mapping shall happen on a per-user basis. In the following
     subclauses, this process is described

     22.3.10.2 SERVICE field

     The SERVICE field is as shown in Table 22-16.




                  Bits                    Field                                        Description

             B0-B6            Scrambler Initialization        Set to 0

             B7               Reserved                        Set to 0
             B8-B15           CRC                             CRC calculated over VHT-SIG-B (excluding tail bits)



     22.3.10.3 CRC calculation for VHT-SIG-B

     The CRC calculation and insertion is illustrated in Figure 22-23.


                                              VHT-SIG-B                                        SERVICE field


                  20 bits (20 MHz), 21 bits (40 MHz),                Tail     Scrambler Init     Reserved       CRC
                  23 bits (80 MHz, 160 MHz and 80+80 MHz)          (6 bits)      (7 bits)         (1 bit)      (8 bits)




                                                                          SERVICE field relationship

     The value of the CRC field shall be the ones complement of Equation (22-59).

       crc(D) = M(D)                I(D) D 8 modG D                                                                       (22-59)

     where
       M D = m0 D N            1   + m1 D N   2   +   + mN   2D   + mN   1

       N              is the number of bits over which the CRC is generated; 20 for 20 MHz, 21 for 40 MHz, and 23
                  for 80 MHz/160 MHz/80+80 MHz
       mi                is bit i of VHT-SIG-B




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                         N    1

       I D =                          D i are initialized values that are added modulo 2 to the first 8 bits of VHT-SIG-B
                        i=N       8

       G D = D 8 + D 2 + D + 1 is the CRC generating polynomial

       crc D = c 0 D 7 + c 1 D 6 +                       + c6 D + c7

     Figure 20-8 shows the operation of the CRC. First, the shift register is reset to all ones. The bits are then
     passed through the XOR operation at the input. When the last bit has entered, the output is generated by
     shifting the bits out of the shift register, c7 first, through an inverter.

     As an example, if bits {m0     m22} are given by {1 0 0 1 1 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 0 1 1}, the CRC bits
     {c7    c0} are {0 0 0 1 1 1 0 0}.

     The CRC field is transmitted with c7 first. Hence, c7 is mapped to B8 of the SERVICE field, c6 is mapped to
               c0 is mapped to B15 of the SERVICE field.

     22.3.10.4 Scrambler

     The SERVICE, PSDU, and PHY pad parts of the Data field shall be scrambled by the scrambler defined in
     18.3.5.5. The Clause 18 TXVECTOR parameters CH_BANDWIDTH_IN_NON_HT and
     DYN_BANDWIDTH_IN_NON_HT are not present; therefore, the initial state of the scrambler is set to a
     pseudorandom nonzero seed. Different users in a VHT MU PPDU may use different pseudorandom nonzero
     seeds.

     22.3.10.5 Coding

     22.3.10.5.1 General

     The Data field shall be encoded using either the binary convolutional code (BCC) defined in 22.3.10.5.2 and
     22.3.10.5.3 or the low density parity check (LDPC) code defined in 22.3.10.5.4. The encoder is selected by
     the SU/MU[0] Coding, MU[1] Coding, MU[2] Coding, or MU[3] Coding field in VHT-SIG-A, as defined in
     22.3.8.3.3. When BCC FEC encoding is used, the number of encoders is determined by rate-dependent
     parameters as defined in 22.5. The operation of the BCC FEC is described in 22.3.10.5.2 and 22.3.10.5.3.
     The operation of the LDPC coder is described in 22.3.10.5.4. Support for the reception of a BCC encoded
     Data field is mandatory.

     22.3.10.5.2 BCC encoder parsing operation

     If multiple encoders are used, the scrambled SERVICE, PSDU, and PHY pad bits are divided between the
     encoders by sending bits to different encoders in a round robin manner. Bit i to encoder j of user u, denoted
     x i ju , is as specified in Equation (22-60).


                                                              N DBPS u
                        b N ES    i + j u;   0     i    N SYM -------------------   N tail        0    j   NES   u     1
                                                                 N ES u
       xi   j       =                                                                                                                                  (22-60)
                u
                                  N DBPS u                                       N DBPS u
                        0 ; N SYM -------------------   N tail       i     N SYM -------------------   0   j     NES   u   1
                                     N ES u                                         N ES u


     where
       bk,u                is bit k of the scrambled SERVICE, PSDU, and pad bits of user u




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       NSYM        is the number of symbols in the Data field and is given by Equation (22-111) for a VHT SU
                PPDU and by Equation (22-67) for a VHT MU PPDU

                                           e being appended to each FEC input sequence in Equation (22-60).

     22.3.10.5.3 Binary convolutional coding and puncturing

     The BCC encoder parser output sequences of user u x i ju 0 i N SYM N DBPS u N ES u 0 j N ES u 1
     will each be encoded by a rate R = ½ convolutional encoder defined in 18.3.5.6. After encoding, the encoded
     data is punctured by the method defined in 18.3.5.6 (except for rate 5/6), to achieve the rate selected by the
     modulation and coding scheme. In the case that rate 5/6 coding is selected, the puncturing scheme will be
     same as described in 20.3.11.6.

     22.3.10.5.4 LDPC coding

     For a VHT SU PPDU using LDPC coding to encode the Data field, the LDPC code and encoding process
     described in 20.3.11.7 (LDPC codes) shall be used with the following modifications. First, all bits in the
     Data field including the scrambled SERVICE, PSDU, and pad bits are encoded. Thus, N pld for VHT PPDUs
     shall be computed using Equation (22-61) instead of Equation (20-35).

       N pld = N SYM     init N DBPS                                                                                     (22-61)

     where
       N SYM   init   is given by Equation (22-62)

                                   8 APEP_LENGTH + N service
       N SYM   init   = m STBC     --------------------------------------------------------------------------            (22-62)
                                                      m STBC N DBPS

     where
       m STBC         is equal to 2 when STBC is used, and 1 otherwise

       APEP_LENGTH is the TXVECTOR parameter APEP_LENGTH

     Following the calculation of N pld , N avbits shall be computed using Equation (22-63) instead of Equation
     (20-36).

       N avbits = N SYM    init N CBPS                                                                                   (22-63)

     In addition, if N SYM computed in Equation (20-41) in step (d) of 20.3.11.7.5 (LDPC PPDU encoding
     process) is greater than N SYM init , then the LDPC Extra OFDM Symbol field of VHT-SIG-A shall be set to
     1. Otherwise, the LDPC Extra OFDM Symbol field of VHT-SIG-A shall be set to 0.

     LDPC codes used in VHT MU PPDUs shall also follow the definitions in 20.3.11.7 (LDPC codes). Refer to
     22.3.10.5.5 for a description of the LDPC encoding process for VHT MU PPDUs.

     22.3.10.5.5 Encoding process for VHT MU PPDUs

     For a VHT MU PPDU, first compute the initial number of OFDM symbols for each user using Equation (22-
     64).




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                            8 APEP_LENGTH u + N service + N tail N ES u
                            ---------------------------------------------------------------------------------------------------------------   when user u uses BCC
                                                                          N DBPS u
       N SYM_init   u   =                                                                                                                                                       (22-64)
                            8 APEP_LENGTH u + N service
                            ----------------------------------------------------------------------------        when user u uses LDPC
                                                        N DBPS u


     where
       APEP_LENGTHu is the TXVECTOR parameter APEP_LENGTH for user u

     Based on the above equation, compute the largest initial number of symbols over all users using
     Equation (22-65).

                                                                 N user 1
       N SYM_max_init = max N SYM_init                         u u=0                                                                                                            (22-65)

     Then, for each user u that uses LDPC in the VHT MU PPDU, the final number of symbols in the Data field
     (NSYM,u) shall be computed as follows. First, perform step a) in 20.3.11.7.5 with the exception that Npld is
     computed using Equation (22-66) instead of Equation (20-35).

       N pld = N SYM_max_init N DBPS                  u                                                                                                                         (22-66)

     Then, perform steps b) through d) in 20.3.11.7.5 (LDPC PPDU encoding process) with NCBPS and R replaced
     with NCBPS,u and Ru, respectively. NSYM,u for user u shall then be equal to the value of NSYM obtained at the
     end of step d) using Equation (20-41).

     The purpose of going through steps a) to d) in 20.3.11.7.5 (LDPC PPDU encoding process) in the above
     paragraph is to compute NSYM,u. Thus, at this stage NSYM,u for each user may be calculated without actually
     encoding the data using LDPC.

     For BCC users, N SYM         u    = N SYM_init u .

     Then, compute the number of symbols in the Data field using Equation (22-67).

                                        N user 1
       N SYM = max N SYM              u u=0                                                                                                                                     (22-67)

     When constructing the Data field for user u encoded using LDPC code, the MAC follows the padding
     procedure described in 9.12.6 and delivers a PSDU that contains PSDU_LENGTHu octets (see 22.4.3). The
     PHY follows the padding procedure described in 22.3.10.1 to fill N SYM_max_init symbols, where
     N SYM_max_init is defined in Equation (22-65). Then, for each user, all bits in the Data field including the
     scrambled SERVICE, PSDU, and pad bits shall be encoded using the LDPC encoding process specified in
     20.3.11.7.5 with the following modifications. First, N pld shall be computed using Equation (22-66) instead
     of Equation (20-35). Also, replace NCBPS and R with NCBPS,u and Ru, respectively. Next, step d) in
     20.3.11.7.5 is replaced with step d) below:
       d)    If NSYM computed in Equation (22-67) is equal to N SYM_max_init , then the number of bits to be
             punctured, N punc , from the codewords after encoding is computed as shown in Equation (20-38).
             If NSYM computed in Equation (22-67) is greater than N SYM_max_init , then the number of bits to be
             punctured, N punc , from the codewords after encoding is computed using Equation (20-39) and
             Equation (20-40). Note also that Navbits has now been updated in Equation (20-39) in this case.
             The punctured bits shall be equally distributed over all NCW codewords with the first



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                 rem(N punc N CW) codewords punctured 1 bit more than the remaining codewords. Define
                 N ppcw =                 N punc N CW . When N ppcw                 0 , the puncturing is performed by discarding parity bits
                   pn      k     N ppcw                pn      k       of the first rem(N punc N CW) codewords and discarding parity bits
                 pn      k      N ppcw           pn     k          of the remaining codewords after encoding.

     When constructing the Data field for users encoded using BCC, the MAC follows the padding procedure
     described in 9.12.6 and delivers a PSDU that contains PSDU_LENGTHu octets. The PHY follows the
     padding procedure described in 22.3.10.1 to fill up NSYM symbols computed in Equation (22-67). Then, for
     each user, all bits in the Data field including the scrambled SERVICE, PSDU, and pad bits shall be encoded
     using the BCC encoding process specified in 22.3.10.5.2 and 22.3.10.5.3. Note that this process ensures that
     the BCC tail bits are placed at the very end of the PPDU.

     In addition, if NSYM computed in Equation (22-67) is greater than N SYM_max_init computed in Equation (22-
     65), then the LDPC Extra OFDM Symbol field of VHT-SIG-A2 shall be set to 1. Otherwise, the LDPC
     Extra OFDM Symbol field of VHT-SIG-A2 shall be set to 0.

     22.3.10.6 Stream parser

     After coding and puncturing, the data bit streams at the output of the FEC encoders are processed in groups
     of NCBPS bits. Each of these groups is re-arranged into NSS blocks of NCBPSS bits (NSS,u blocks of NCBPSS,u
     bits in the case of an MU transmission). This operation is referred to as
     this subclause.

     The description is given in terms of an SU transmission. For MU transmissions, the rearrangements are
     carried out in the same way per user.

     The number of bits assigned to a single axis (real or imaginary) of a constellation point in a spatial stream is
     denoted by Equation (22-68).


                 N BPSCS
       s = max 1 ----------------
                                -                                                                                                    (22-68)
                        2

     The sum of these over all streams is S = N SS s

     Consecutive blocks of s bits are assigned to different spatial streams in a round robin fashion.

     Let

                                N CBPS
       N Block =               ---------------
                                             -                                                                                       (22-69)
                               N ES S

     and

           N CBPS N Block N ES S
       M = -------------------------------------------------------
                                                                 -                                                                   (22-70)
                               s N ES

     For the first N Block N ES S bits of each OFDM symbol, S bits from the output of first encoder are divided
     among all spatial streams, s bits per stream. Then, S bits from the output of next encoder are used, and so on.
     If N CBPS is greater than N Block N ES S , then for the last N CBPS N Block N ES S bits of each OFDM
     symbol, M s bits from the output of the first encoder are fed into spatial streams 1 through M (s bits per



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     spatial stream), and then M s bits from the output of the next encoder are used for spatial stream M + 1
     through 2M 1 mod N SS + 1 , and so on, where z mod t is the remainder resulting from the division of
     integer z by integer t.

     The following equations are an equivalent description to the above procedure. Bit i at the output of encoder j
     is assigned to input bit k of spatial stream i SS where

                 k mod N            k = 0 1            N Block N ES s      1
                 --      ES
                 s
       j =                                                                                                              (22-71)
                  L-
                 ----   k = N Block N ES s                N CBPSS   1
                 M

     and


                i SS 1 s + S               k
                                    ---------------- + k mod s   k = 0 1       N Block N ES s   1
       i =                          N ES s                                                                              (22-72)
                L mod M          s + N Block S + k mod s         k = N Block N ES s       N CBPSS    1

     where
       i SS = 1 2         N SS

       i = 0 1          N CB PS N ES 1

       j = 0 1          N ES 1

       k = 0 1          N CBPSS 1

       L =      k'
                --- N SS + i SS 1
                 s
       k' = k       N Block N ES s

           x is the largest integer less than or equal to x

       z mod t is the remainder resulting from the division of integer z by integer t

               NCBPS is greater than N Block N ES S in only the following cases:

                                             NSS = 5, VHT-MCS = 5
                                             NSS = 5, VHT-MCS = 6
                                             NSS = 7, VHT-MCS = 5
                                             NSS = 7, VHT-MCS = 6

     22.3.10.7 Segment parser

     The description in this subclause is given in terms of an SU transmission. For MU transmissions, the
     rearrangements are carried out in the same way per user.

     For a contiguous 160 MHz or a noncontiguous 80+80 MHz transmission, the output bits of each stream
     parser are first divided into blocks of NCBPSS bits (NCBPSS,u bits in the case of an MU transmission). Then,
     each block is further divided into two frequency subblocks of N CBPSS 2 bits as shown in Equation (22-73).




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                                                                                                                     N CBPSS
        yk      l   = x                  k - + l s N + k mod(s N )                                k = 0 1            -----------------   1                        (22-73)
                          2s N ES ---------------
                                  s N ES
                                                    ES          ES                                                          2

     where
            z                  is the largest integer less than or equal to z

        z mod t                is the remainder resulting from the division of integer z by integer t

        xm                     is the m th bit of a block of N CBPSS bits, m= 0 to N CBPSS 1

        l                      is the frequency subblock index, l = 0 1

        yk      l              is bit k of the frequency subblock l

        s                      is defined in Equation (22-68)

     If NCBPSS is not divisible by 2s N ES , then apply the segment parsing method described in Equation (22-73)

     for        N CBP SS          2s N ES
                                 sets of 2s N ES segment parser input bits. At this point, each stream parser
                                    N CBPSS mod(2s N ES)
     output has 2s N res ( N res = ----------------------------------------------------
                                                                                      - N ES integer ) residue bits. Then, the residue bits are
                                                           2s
     divided into subsets of s bits, with each subset being assigned to different subblock ( l = 0 1 ) in a round

     robin fashion. The first s bits are assigned to the subblock with index l = 0 . Repeat Nres times (until all
     bits are distributed to the two subblocks). That is, if N CBPSS is not divisible by 2s N ES , each block is

     further divided into two subblocks of N CBPSS 2 bits as shown in Equation (22-74).


                          x                  k                                                   k = 0 1               N CBPSS           2s N ES   s N ES 1       (22-74)
                              2s N ES ---------------
                                                    - + l s NES + k mod(s N ES)
                                      s N ES
           yk   l   =                                                                                                                                         N CBPSS
                          x                  k - + 2s    k mod(s N ES)                                         k =    N CBPSS            2s N ES   s N ES     -----------------   1
                              2s N ES ---------------    ----------------------------------- + l s + k mod s                                                         2
                                      s N ES                              s



     Segment parser is bypassed for a 20 MHz, 40 MHz, or 80 MHz VHT PPDU transmission, i.e., as specified
     in Equation (22-75).

        yk l = x k              k = 0 1             N CBPSS                                                                                                       (22-75)

     where
        l                      is the frequency subblock index. l = 0 for a 20, 40 or 80 MHz VHT PPDU transmission.

        yk      l              is bit k of the frequency subblock l

        xm                     is bit m of a block of N CBPSS bits, m = 0 to N CBPSS 1

     22.3.10.8 BCC interleaver

     For ease of explanation, the operation of the interleaver is described for the SU case. For user u of an MU
     transmission, the interleaver operates in the same way on the output bits for the user from the stream parser
     by replacing NSS, NCBPSS, NCBPSSI, and NBPSCS with NSS,u, NCBPSS,u, NCBPSSI,u, and NBPSCS,u, respectively.



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     That is, the operation of the interleaver is the same as if the transmission were an SU one, consisting of bits
     from only that user.

     This subclause describes the interleaver used in the case of BCC encoding. The interleaver described in this
     subclause shall be bypassed in the case of LDPC encoding.

     For a 20 MHz, 40 MHz, or 80 MHz VHT PPDU transmission, the bits at the output of the stream parser are
     processed in groups of NCBPS bits. Each of these groups is divided into NSS blocks of NCBPSS bits, and each
     block shall be interleaved by an interleaver based on the Clause 18 interleaver. For a contiguous 160 MHz or
     a noncontiguous 80+80 MHz VHT PPDU transmission, each frequency subblock of NCBPSS/2 output bits
     from the segment parser is interleaved by the interleaver for 80 MHz defined in this subclause. This
     interleaver, which is based on entering the data in rows, and reading it out in columns, has a different
     number of columns N COL and rows N ROW for different bandwidths. The values of N COL and N ROW are
     given in Table 22-17.




                        Parameter                            20 MHz                 40 MHz                    80 MHz

                         N COL                                  13                    18                        26

                         N ROW                           4     N BPSCS          6    N BPSCS              9    N BPSCS

                     N ROT (NSS 4)                              11                    29                        58

                     N ROT (NSS > 4)                            6                     13                        28



     After the operations based on the Clause 18 interleaver have been applied and if more than one spatial
     stream exists, a third operation called frequency rotation is applied to the additional spatial streams. The
     parameter for the frequency rotation is NROT. The values of NROT are given in Table 22-17.

     An additional parameter is the spatial stream index i SS = 1 2                       N SS . The output of the third operation is
     a function of the spatial stream index.

     The interleaving is defined using three permutations. The first permutation is given by the rule shown in
     Equation (22-76).

                                   k -
       i = NROW k mod N COL + ------------                   k = 0 1     N CBPSSI    1                                        (22-76)
                              N COL

     where
          x   is the largest integer less than or equal to x

     The second permutation is defined by the rule shown in Equation (22-77).

                                       N COL i
       j = s -i + i + N CBPSSI         -------------------    mod s      i = 0 1         N CBPSSI   1                         (22-77)
             s                         N CBPSSI

     where




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        s is defined in Equation (22-68)

     If 2 N SS 4 , a frequency rotation is applied to the output of the second permutation as shown in
     Equation (22-78).


                                           iSS 1
        r =    j     2 i SS 1    mod 3 + 3 --------------
                                                        -     N ROT N BPSCS mod N CBPSSI                         (22-78)
                                                 3

                                                                              j = 0 1      N CBPSSI 1


     where
        i SS = 1 2      N SS is the spatial steam index on which this interleaver is operating

     If N SS   4 , a frequency rotation is applied to the output of the second permutation as shown in Equation (22-
     79).

        r =    j   J(iSS) N ROT N BPSCS mod N CBPSSI j = 0 1                  N CBPSSI 1                         (22-79)

     where
        i SS = 1 2      N SS is the spatial steam index on which this interleaver is operating, and J iSS is an
               integer as defined in Table 22-18.


                                                                    (   ) values

                                                       i SS             J iSS

                                                        1                 0

                                                        2                 5

                                                        3                 2

                                                        4                 7

                                                        5                 3
                                                        6                 6
                                                        7                 1

                                                        8                 4



     The deinterleaver uses the following three operations to perform the inverse permutations. Let r denote the
     index of the bit in the received block (per spatial stream). The first operation reverses the third (frequency
     rotation) permutation of the interleaver. When N SS = 1 , this reversal is performed by j = r
     (r = 0 1      N CBPSSI 1 ). When 2 N SS 4 , this reversal is performed by as shown in Equation (22-80).




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                                                i SS 1
       j =       r+       2 i SS 1    mod 3 + 3 --------------
                                                             -      N ROT N BPSCS mod N CBPSSI                               (22-80)
                                                      3

                                                                                     r = 0 1         N CBPSSI 1


     When N SS           4 , this reversal is performed by Equation (22-81).

       j =       r + J(iSS) N R OT N BPSCS mod N CBPSSI                    r = 0 1        N CBPSSI   1                       (22-81)

     where
       J(i SS) is defined in Table 22-18

     The second operation defined by Equation (22-82) reverses the second permutation in the interleaver.

                      N COL j
       i = s -j + j + ------------------
                                       -     mod s             j = 0 1      N CBP SSI 1                                      (22-82)
             s        N CBPSSI

     where
       s                 is defined in Equation (22-68)

     The third operation defined in Equation (22-83) reversed the first permutation of the interleaver.

       k = N COL i             N CBPSSI 1            i           i = 0 1       N CBPSSI    1                                 (22-83)
                                               -------------
                                               N ROW

     22.3.10.9 Constellation mapping

     22.3.10.9.1 General

     The mapping between bits at the output of the interleaver and complex constellation points for BPSK,
     QPSK, 16-QAM, and 64-QAM follows the rules defined in 18.3.5.8. For 256-QAM, the mapping is shown
     in Figure 22-24, Figure 22-25, Figure 22-26, and Figure 22-27.

     The bit-string convention in Figure 22-24, Figure 22-25, Figure 22-26, and Figure 22-27 follows the bit-
     string convention outlined in 18.3.5.8.

     The streams of complex numbers in frequency subblock l for user u are denoted

       d' k   i n l u;    k=0 1       N SD 1 ; i = 1    N SS u ; n = 0 1                    N SYM    1;                      (22-84)
                          l = 0 for 20 MHz, 40 MHz, and 80 MHz;
                          l = 0 1 for 160 MHz and 80+80 MHz ;
                          u = 0      N user 1

     The normalization factor, KMOD, for 256-QAM is 1                       170 .




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                                             coding for 256-QAM (4th quadrant)




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     22.3.10.9.2 LDPC tone mapping

     The LDPC tone mapping shall be performed on all LDPC encoded streams as described in this subclause
     and using an LDPC tone-mapping distance parameter D TM . D TM is constant for each bandwidth and its
     value for different bandwidths is given in Table 22-19. LDPC tone mapping shall not be performed on
     streams that are encoded using BCC.




                                                                                                                      160 MHz,
                          Parameter                    20 MHz                       40 MHz          80 MHz
                                                                                                                     80+80 MHz

                               D TM                          4                        6                 9                 9



     For a 20 MHz, 40 MHz, and 80 MHz VHT PPDU transmission, the LDPC tone mapping for LDPC-coded
     streams corresponding to user u is done by permuting the stream of complex numbers generated by the
     constellation mappers (see Equation (22-84)) to obtain

        d'' t(k)   i n l u   = d' k   i n l u;     k=0 1        N SD 1 ; i = 1   N SS u ; n = 0 1                     N SYM    1;      (22-85)
                                                   l = 0 for 20 MHz, 40 MHz, and 80 MHz ;
                                                   l = 0 1 for 160 MHz and 80+80 MHz ;
                                                   u = 0      N user 1
     where

                                 N SD
                                         - + k-----------------
                      D TM k mod ---------
                                                     DTM
                                                                             for 20 MHz, 40 MHz, 80 MHz, and 80+80 MHz
                                 D TM             N SD
        t(k) =                                                                                                                         (22-86)
                                      N SD 2             k D TM
                      D TM      k mod ---------------- + -----------------      for 160 MHz
                                         D TM             N SD 2

     As a result of the LDPC tone mapping operation above, each two consecutively generated complex
     constellation numbers d' k                  i n l u   and d' k + 1   i n l u   will be transmitted on two data tones that are separated by
     at least DTM            1 from other data tones. Note that the operation above is equivalent to block-interleaving the
     complex numbers d' 0                i n l u           d' NSD
                                                             for each i, n, and u using a matrix with D TM rows and
                                                                    1 i n l u
                                                                                  N SD
     N SD D TM         (for 20 MHz, 40 MHz, 80 MHz, or 80+80 MHz) or -----------------   - (for 160 MHz) columns, where
                                                                                2 D TM
     d' 0   i n l u      d' NSD 1 i n l u are written row-wise into the matrix, and d'' 0 i n l u   d'' NSD 1 i n l u are read
     column-wise from the matrix.

                                    performed separately for the upper and lower 80 MHz segments of a 160 MHz of
     80+80 MHz transmission as indicated by the frequency subblock index l in Equation (22-85) and Equation (22-86).

     Since LDPC tone mapping is not performed on BCC-coded streams, for BCC-coded streams, the following
     applies:

        d'' k   i n l u   = d' k   i n l u;      k=0 1        N SD 1 ; i = 1   N SS u ; n = 0 1                      N SYM    1;       (22-87)
                                                 l = 0 for 20 MHz, 40 MHz, and 80 MHz ;
                                                 l = 0 1 for 160 MHz and 80+80 MHz ;
                                                 u = 0      N user 1



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     22.3.10.9.3 Segment deparser

     For a 160 MHz VHT PPDU transmission, the two frequency subblocks at the output of the LDPC tone
     mapper for LDPC or constellation mapper for BCC are combined into one frequency segment as shown in
     Equation (22-88).


                                                                        N SD
                              d'' k   i n 0 u       if 0        k       ---------     1
                                                                           2
          d ki Seg
               i n u     =                                                                                  i Seg = 0                                                      (22-88)
                                                                   N SD
                              d'' k    N SD 2 i n 1 u           if --------
                                                                          -          k      N SD 1
                                                                      2


     For a 20 MHz, 40 MHz, or 80 MHz VHT PPDU transmission, the segment deparsing is not performed.
     Hence,

          d ki Seg
               i n   u   = d'' k   i n 0 u      0       k       N SD 1               i Seg = 0                                                                             (22-89)

     For an 80+80 MHz VHT PPDU transmission, the segment deparsing is not performed. Hence,

          d ki Seg
               i n   u   = d'' k   i n iSeg u       0       k    NSD 1                   i Seg = 0 1                                                                       (22-90)

     22.3.10.9.4 Space-time block coding

     This subclause defines a set of optional robust transmission techniques that are applicable only when using
     STBC coding for VHT SU PPDUs. In this case, NSS,0 spatial streams are mapped to NSTS,0 space-time
     streams. These techniques are based on STBC. When the VHT-SIG-A STBC field is 1, a symbol operation
     shall occur between the constellation mapper and the spatial mapper as defined in this subclause. STBC
     shall not be applied in a VHT MU PPDU. Hence, the user subscript u is 0 in this subclause.

     If              STBC                 is                applied,                        the            stream               of              complex               numbers,
        i
     d k Seg
          i n 0;         k = 0          N SD 1 ; i = 1                          N SS 0 ; n = 0                  N SYM      1,        generated         by    the       segment
     deparser, is the input to the STBC encoder, which produces as output the stream of complex numbers
          i
     d k Seg
         i STS   n 0;     k = 0              N SD 1 ; i STS = 1                             N STS 0 ; n = 0               N SYM          1 . For given values of k and i,
     STBC processing operates on the complex modulation symbols in sequential pairs of OFDM symbols so
                                       i Seg                    i Seg                                         i Seg                  i Seg                        i Seg
     that the value of d k               2i 1   m 0         and d k
                                                                  2i 2m 0 depend                    on d k      i 2m 0   and d k       i 2m + 1 0   . Also, d k     2i 1    m+1 0
                 i Seg                                 iSeg            i Seg
     and      d k 2i 2m + 1 0      depend on        d k i 2m 0 and d k i 2m + 1 0 .                 This is defined in Table 22-20. Note that the segment
     index i Seg is omitted in Table 22-20 for simplicity.




                                             N STS              N SS                i STS         dk   i STS 2m 0          dk    i STS 2m + 1 0


                                                2                   1                1             dk                       dk
                                                                                                        1 2m 0                    1 2m + 1 0

                                                                                     2            d k* 1                        d k* 1
                                                                                                           2m + 1 0                      2m 0




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                               N STS          N SS         i STS       dk   i STS 2m 0     dk    i STS 2m + 1 0


                                 4             2            1           dk                 dk
                                                                             1 2m 0               1 2m + 1 0

                                                            2          d k* 1                   d k* 1
                                                                                2m + 1 0                 2m 0

                                                            3           dk                 dk
                                                                             2 2m 0               2 2m + 1 0

                                                            4          d k* 2                   d k* 2
                                                                                2m + 1 0                 2m 0

                                 6             3            1           dk                 dk
                                                                             1 2m 0               1 2m + 1 0

                                                            2          d k* 1                   d k* 1
                                                                                2m + 1 0                 2m 0

                                                            3           dk                 dk
                                                                             2 2m 0               2 2m + 1 0

                                                            4          d k* 2                   d k* 2
                                                                                2m + 1 0                 2m 0

                                                            5           dk                 dk
                                                                             3 2m 0               3 2m + 1 0

                                                            6          d k* 3                   d k* 3
                                                                                2m + 1 0                 2m 0

                                 8             4            1           dk                 dk
                                                                             1 2m 0               1 2m + 1 0

                                                            2          d k* 1                   d k* 1
                                                                                2m + 1 0                 2m 0

                                                            3           dk                 dk
                                                                             2 2m 0               2 2m + 1 0

                                                            4          d k* 2                   d k* 2
                                                                                2m + 1 0                 2m 0

                                                            5           dk                 dk
                                                                             3 2m 0               3 2m + 1 0

                                                            6          d k* 3                   d k* 3
                                                                                2m + 1 0                 2m 0

                                                            7           dk                 dk
                                                                             4 2m 0               4 2m + 1 0

                                                            8          d k* 4                   d k* 4
                                                                                2m + 1 0                 2m 0



                                 i
                                 Seg            i
     If STBC is not applied, d k i n   0   = d k Seg
                                                 i n   0   and N STS   0    = N SS 0 .

                                                                space-time streams is not allowed, and N STS      0   = 2N SS 0 .

     22.3.10.10 Pilot subcarriers

     For a 20 MHz transmission, four pilot tones shall be inserted in subcarriers k      21                                   . The pilot
     mapping P nk for subcarrier k for symbol n shall be as specified in Equation (22-91).




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       Pn      21             =         1                1                       1                     1
                                       1 n mod 4        1 n + 1 mod 4           1 n + 2 mod 4         1 n + 3 mod 4
                                                                                                                                              (22-91)
       P nk          21            = 0

     where
            1        is given by the N STS = 1 row of Table 20-19
           1 m




     pilot mapping P nk for subcarrier k for symbol n shall be as specified in Equation (22-92).

       Pn      53                        =            1              1                           1
                                                     1 n mod 6      1 n + 1 mod 6               1 n + 5 mod 6
                                                                                                                                              (22-92)
       P nk          53                         = 0

     where
            1        is given by the NSTS = 1 row of Table 20-20
           1 m




     75, and 103. The pilot mapping P nk for subcarrier k for symbol n shall be as specified in Equation (22-93).

       Pn      103                                     =         n mod 8       n + 1 mod 8             n + 7 mod 8
                                                                                                                                              (22-93)
       P nk          103                                   = 0

     where

           m   is defined in Table 22-21




                                                 0          1         2          3       4         5         6         7

                                                 1         1         1           1       1        1        1          1



     For a 160 MHz transmission, the 80 MHz pilot mapping is replicated in the two 80 MHz subchannels

                                                         7, 203, and 231. The pilot mapping P nk for subcarrier k
     for symbol n shall be as specified in Equation (22-94).

       Pn      231
                                                                                                                                              (22-94)
       =            n mod 8       n + 1 mod 8         n + 2 mod 8          n + 3 mod 8       n + 4 mod 8         n + 5 mod 8   n + 6 mod 8   n + 7 mod 8

                    n mod 8       n + 1 mod 8         n + 2 mod 8          n + 3 mod 8       n + 4 mod 8       n + 5 mod 8     n + 6 mod 8   n + 7 mod 8

       P nk          231                                                                                 = 0

     where

           m   is given in Table 22-21




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     For a noncontiguous transmission using two 80 MHz frequency segments, each frequency segment shall
     follow the 80 MHz pilot tone allocation and values defined for 80 MHz transmission as specified in
     Equation (22-93) and Table 22-21.

     The above pilot mapping shall be copied to all space-time streams before the space-time stream cyclic shifts
     are applied.

     22.3.10.11 OFDM modulation

     22.3.10.11.1 Transmission in VHT format

     The time domain waveform of the Data field of a VHT PPDU from transmit chain iTX, 1                                                                        iTX   NTX shall be
     as defined in Equation (22-95).

                                                                                      N SYM 1
          i Seg i TX                                     1
       r VHT-Data(t)            = -------------------------------------------------             w T SYM(t    nT SYM)                                                      (22-95)
                                          Tone
                                      N VHT-Data N STS total                           n=0
                                              N SR        N user      1 N STS     u                                           i   u
                                                                                        Q ki Seg                  k BW      D k Seg
                                                                                                                                m n   BW   + p n + 4 P nk
                                                                                                   i TX Mu + m

                                         k = N SR           u=0           m=1                         exp j2 k      F   t     nT SYM       T GI   Data      T CS,VHT(M u + m)

     where
       pn                   is defined in 18.3.5.10

       Pnk                  is defined in 22.3.10.10

         k BW               is defined in Equation (22-14), Equation (22-15), Equation (22-16), and Equation (22-17)

             i     u
       D k Seg
           m n         is the transmitted constellation for user u at subcarrier k, space-time stream m, and Data field
                       BW
                    OFDM symbol n and is defined in Equation (22-96) through Equation (22-99)
         Tone
       N VHT-Data has the value given in Table 22-8

       T CS,VHT(n) is given in Table 22-11

       T GI      Data       is the guard interval duration. T GI                                    Data    = T GI when not using the short guard interval (Short
                    GI field of VHT-SIG-A2 is 0) and T GI                                            Data   = T GIS when using the short guard interval (Short GI
                    field of VHT-SIG-A2 is 1). T GI and T GIS are given in Table 22-5.

     For a 20 MHz VHT transmission,


             i     u                   0 k=0                   7        21
       D k Seg
           m n         20   =             i                                                                                                                               (22-96)
                                       d MSeg
                                            r                        otherwise
                                            20 k m n u




     where
         r (k) is defined in Equation (22-49)
       M 20




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     For a 40 MHz VHT transmission,


          i   u             0 k=0         1     11   25        53
       D k Seg
           m n    40    =    i Seg                                                                                          (22-97)
                            dMr      k m n u
                                               otherwise
                              40




     where
         r (k) is defined in Equation (22-51)
       M 40

     For an 80 MHz transmission,


          i   u             0 k=0         1     11   39        75   103
       D k Seg
           m n    80    =    i Seg                                                                                          (22-98)
                            dMr      k m n u   otherwise
                              80




     where
         r (k) is defined in Equation (22-53)
       M 80

     For a 160 MHz transmission,


          i   u             0 k=0          1    2    3     4    5   25    53   89   117     127    128     129    139    167    203     231
       D k Seg
           m n    160   =      i
                            d MSeg
                                 r              otherwise
                                 160 k m n u                                                                                (22-99)

     where
         r (k) is defined in Equation (22-55)
       M 160

     For a noncontiguous 80+80 MHz transmission, each frequency segment shall follow the 80 MHz VHT
     subcarrier mapping as specified in Equation (22-98) and Equation (22-53).

     Q kiSeg is a spatial mapping/steering matrix with NTX rows and NSTS,total columns for subcarrier k in
     frequency segment i Seg . Q kiSeg may be frequency dependent. Refer to the examples of Q k listed in
     20.3.11.11.2 for examples of Q ki Seg that could be used for VHT SU PPDUs. Note that implementations are
     not restricted to the spatial mapping matrix examples listed in 20.3.11.11.2 and the number of transmit
     chains NTX could be greater than 4. For VHT SU PPDUs to which beamforming is applied, Q kiSeg is a
     beamforming steering matrix and is derived from the TXVECTOR parameter EXPANSION_MAT. For
     VHT MU PPDUs, Q ki Seg is the DL-MU-MIMO steering matrix and is derived from the TXVECTOR
     parameter EXPANSION_MAT. The beamforming steering matrices and DL-MU-MIMO steering matrices
     are implementation specific.

     22.3.10.12 Non-HT duplicate transmission

     When the TXVECTOR parameter FORMAT is NON_HT and the TXVECTOR parameter
     NON_HT_MODULATION is NON_HT_DUP_OFDM, the transmitted PPDU is a non-HT duplicate. Non-
     HT duplicate transmission is used to transmit to non-HT OFDM STAs, HT STAs, or VHT STAs that may be
     present in a part of a 40 MHz, 80 MHz, or 160 MHz channel (see Table 22-2). The VHT-SIG-A, VHT-STF,
     VHT-LTF, and VHT-SIG-B fields are not transmitted. The L-STF, L-LTF, and L-SIG fields shall be



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     transmitted in the same way as in the VHT transmission, with the exceptions for the Rate and Length fields
     which shall follow 18.3.4.

     For a 40 MHz non-HT duplicate transmission, the Data field shall be as defined by Equation (20-61).

     For 80 MHz and 160 MHz non-HT duplicate transmissions, the Data field shall be as defined by
     Equation (22-100).


                                                                                                  N SYM   1
            i TX                                                1
          r non-HT BW (t)         = -----------------------------------------------------------               w TSYM(t   nT SYM)                                                (22-100)
                                             Tone
                                        N NON_HT_DUP_OFDM-Data
                                                                                                   n=0


                                                           26
                                      N 20MHz      1
                                                                               k    K Shift(i BW) BW      Dk n + p n + 1 Pk
                                                         k = 26
                                       i BW = 0                                                                                                      i
                                                                               exp(j2        k         K Shift(i BW)     F   t   nT SYM     T GI   T CS
                                                                                                                                                      TX
                                                                                                                                                         )

     where
          N 20MHz and K Shift(i) are defined in 22.3.8.2.4

          Pk and pn are defined in 18.3.5.10
          Dk,n               is defined in Equation (22-26)

              k BW           is defined in Equation (22-16) and Equation (22-17)
              i
          T CS
             TX
                             represents the cyclic shift for transmitter chain i TX with a value given in Table 22-10
            Tone
          N NON_HT_DUP_OFDM-Data has the value given in Table 22-8

     For a noncontiguous 80+80 MHz non-HT duplicate transmission, data transmission in each frequency
     segment shall be as defined for an 80 MHz non-HT duplicate transmission in Equation (22-100).

     22.3.11 SU-MIMO and DL-MU-MIMO Beamforming

     22.3.11.1 General

     SU-MIMO and DL-MU-MIMO beamforming are techniques used by a STA with multiple antennas (the
     beamformer) to steer signals using knowledge of the channel to improve throughput. With SU-MIMO
     beamforming all space-time streams in the transmitted signal are intended for reception at a single STA.
     With DL-MU-MIMO beamforming, disjoint subsets of the space-time streams are intended for reception at
     different STAs.

     For SU-MIMO beamforming, the steering matrix Qk can be determined from the beamforming feedback
     matrix Vk that is sent back to the beamformer by the beamformee using the compressed beamforming
     feedback matrix format as defined in 20.3.12.3.6. The feedback report format is described in 8.4.1.48.

     For DL-MU-MIMO beamforming, the receive signal vector in subcarrier k at beamformee u,
                                                                       T                                                                                 T        T         T                T
     yk   u       = yk   0   yk   1          yk     N RX           1       , is shown in Equation (22-101), where x k = x k                                  0   xk   1    xk   N user   1
                                                           u
     denotes         the          transmit               signal                    vector         in      subcarrier         k   for      all   Nuser            beamformees,            with
                                                                           T
     xk   u       = xk   0   xk   1           xk       N STS   u       1           being the transmit signal for beamformee u.



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       yk   u    = Hk   u    Qk    0   Qk   1     Qk   N user   1   xk + n                                              (22-101)

     where
       Hk,u             is the channel matrix from the beamformer to beamformee u in subcarrier k with dimensions
                  N RX u    N TX

       N RX u           is the number of receive antennas at beamformee u

       Qk    u          is a steering matrix for beamformee u in subcarrier k with dimensions N TX            N STS u

       Nuser            is the number of VHT MU PPDU recipients (see Table 22-6)
       n                is a vector of additive noise and may include interference

     The DL-MU-MIMO steering matrix Q k = Q k 0 Q k 1                 Q k Nuser 1 can be determined by the
     beamformer using the beamforming feedback matrices for subcarrier k from beamformee u, Vk,u, and SNR
     information for subcarrier k from beamformee u, SNRk,u, where u = 0 1         N user 1 . The steering matrix
     that is computed (or updated) using new beamforming feedback matrices and new SNR information from
     some or all of participating beamformees might replace the existing steering matrix Q k for the next DL-MU-
     MIMO data transmission. The beamformee group for the MU transmission is signaled using the Group ID
     field in VHT-SIG-A (see 22.3.8.3.3 and 22.3.11.4).

     22.3.11.2 Beamforming Feedback Matrix

     Upon receipt of a VHT NDP sounding PPDU, the beamformee shall remove the space-time stream CSD in
     Table 22-11 from the measured channel before computing a set of matrices for feedback to the beamformer.
     The beamforming feedback matrix, Vk,u, found by the beamformee u for subcarrier k shall be compressed in
     the form of angles using the method described in 20.3.12.3.6. The angles, k and k,u , are quantized
     according to Table 8-53e. The number of bits for quantization is chosen by the beamformee, based on the
     indication from the beamformer as to whether the feedback is requested for SU-MIMO beamforming or DL-
     MU-MIMO beamforming. The compressed beamforming feedback using 20.3.12.3.6 is the only Clause 22
     beamforming feedback format defined.

     The beamformee shall generate the beamforming feedback matrices with the number of rows (Nr) equal to
     the NSTS of the NDP.

     After receiving the angle information, k,u and k,u , the beamformer reconstructs Vk,u using Equation
     (20-79). For SU-MIMO beamforming, the beamformer can use this Vk,0 matrix to determine the steering
     matrix Qk. For DL-MU-MIMO beamforming, the beamformer may calculate a steering matrix
     Q k = Q k 0 Qk 1       Q k Nuser 1 using Vk,u and SNRk,u ( 0 u N user 1 ) in order to suppress crosstalk
     between participating beamformees. The method used by the beamformer to calculate the steering matrix Qk
     is implementation specific.

     The beamformee decides the tone grouping value to be used in the beamforming feedback matrix V. A STA
     with dot11VHTSUBeamformerOptionImplemented equal to true shall support all tone grouping values and
     Codebook Information values.

                                            is required to set dot11VHTSUBeamformerOptionImplemented to true (see 9.31.5).

     22.3.11.3 Maximum Number of Total Spatial Streams in VHT MU PPDUs

     An MU-capable STA shall support reception of VHT MU PPDUs with the total number of space-time
     streams across the NUM_USERS users being less than or equal to its Beamformee STS Capability in the
     VHT Capabilities Info field.



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     22.3.11.4 Group ID

     A value in the Group ID field in VHT-SIG-A (see 22.3.8.3.3) in the range 1 to 62 indicates a VHT MU
     PPDU. Prior to transmitting a VHT MU PPDU, group assignments have been established by the AP for DL-
     MU-MIMO capable STAs using the Group ID Management frame as defined in 8.5.23.3.

                                               using the PHYCONFIG_VECTOR                                     parameter
     GROUP_ID_MANAGEMENT, the following lookup tables are populated:
       a)    group ID to Membership Status, denoted by MembershipStatusInGroupID[g] for 1               g     62
       b)    group ID to User Position, denoted by UserPositionInGroupID[g] for 1            g   62

     When a STA receives a VHT MU PPDU where the Group ID field in VHT-SIG-A has the value k and where
     MembershipStatusInGroupID[k] is equal to 1, then the number of space-time streams for that STA is
     indicated in the MU[UserPositionInGroupID[k]] NSTS field in VHT-SIG-A. The space-time streams of
     different users are ordered in accordance to user position values, i.e., the space-time streams for the user in
     user position 0 come first, followed by the space-time streams for the user in position 1, followed by the
     space-time streams for the user in position 2, and followed by the space-time streams for the user in
     position 3.

     A STA is also able to identify the space-time streams intended for other STAs that act as interference. VHT-
     LTF symbols in the VHT MU PPDU are used to measure the channel for the space-time streams intended
     for the STA and can also be used to measure the channel for the interfering space-time streams. To
     successfully demodulate the space-time streams intended for the STA, the STA may use the channel state
     information for all space-time streams to reduce the effect of interfering space-time streams.

     If a STA finds that it is not a member of the group, or the STA is a member of the group but the
     corresponding MU NSTS field in VHT-SIG-A indicates that there are zero space-time streams for the STA
     in the PPDU, then the STA may elect to not process the remainder of the PPDU.

     22.3.12 VHT preamble format for sounding PPDUs

     NDP is the only VHT sounding format.

     The format of a VHT NDP PPDU is shown in Figure 22-28.


                      8 µs           8 µs         4 µs      8 µs     4 µs   4 µs per VHT-LTF symbol    4 µs


                                                   L-                VHT-                             VHT-
                    L-STF          L-LTF                 VHT-SIG-A                 VHT-LTF
                                                  SIG                STF                              SIG-B




                                                               determined by the SU NSTS field in VHT-SIG-A.

     The VHT NDP PPDU has the following properties:


                                              ed by the VHT-SIG-A field




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     22.3.13 Regulatory requirements

     Wireless LANs (WLANs) implemented in accordance with this standard are subject to equipment
     certification and operating requirements established by regional and national regulatory administrations. The
     PHY specification establishes minimum technical requirements for interoperability, based upon established
     regulations at the time this standard was issued. These regulations are subject to revision or may be
     superseded. Requirements that are subject to local geographic regulations are annotated within the PHY
     specification. Regulatory requirements that do not affect interoperability are not addressed in this standard.
     Implementers are referred to the regulatory sources in Annex D for further information. Operation in
     countries within defined regulatory domains might be subject to additional or alternative national
     regulations.

     22.3.14 Channelization

     A VHT channel is specified by the four PLME MIB fields specified in Table 22-22.




                          Field                                                Meaning

      dot11CurrentChannelWidth                       Channel width. Possible values represent 20 MHz, 40 MHz,
                                                     80 MHz, 160 MHz, and 80+80 MHz channels.

      dot11CurrentChannelCenterFrequencyIndex0       For a 20 MHz, 40 MHz, 80 MHz, or 160 MHz channel, denotes
                                                     the channel center frequency.
                                                     For an 80+80 MHz channel, denotes the center frequency of the
                                                     frequency segment 0, which is the frequency segment containing
                                                     the primary channel.
                                                     Valid range is 1 to 200.
                                                     See Equation (22-102).

      dot11CurrentChannelCenterFrequencyIndex1       For an 80+80 MHz channel, denotes the center frequency of the
                                                     frequency segment 1, which is the frequency segment that does
                                                     not contain the primary channel.
                                                     Valid range is 1 to 200.
                                                     See Equation (22-102).
                                                     For a 20 MHz, 40 MHz, 80 MHz, or 160 MHz channel, set to 0.

      dot11CurrentPrimaryChannel                     Denotes the location of the primary 20 MHz channel.
                                                     Valid range is 1 to 200.
                                                     See Equation (22-103).



     Given dot11CurrentChannelCenterFrequencyIndex0 and dot11CurrentChannelCenterFrequencyIndex1, the
     respective center frequency is given by Equation (22-102).

       Channel center frequency [MHz]                                                                        (22-102)
        = Channel starting frequency + 5     dot11CurrentChannelCenterFrequencyIndex

     where
       Channel starting frequency is given by the operating class (Annex E)
       dot11CurrentChannelCenterFrequencyIndex is either dot11CurrentChannelCenterFrequencyIndex0 or
             dot11CurrentChannelCenterFrequencyIndex1

     The center frequency of the primary 20 MHz channel is given by Equation (22-103).




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       Primary 20 MHz channel center frequency [MHz]                                                   (22-103)
        = Channel starting frequency + 5 dot11CurrentPrimaryChannel

     The channel starting frequency is defined as dot11ChannelStartingFactor × 500 kHz. If a channel center
     frequency is 5.000 GHz, it shall be indicated by dot11ChannelStartingFactor = 8000 and
     dot11CurrentPrimaryChannel = 200.

     For an 80+80 MHz channel, any two channels that would each be allowed as 80 MHz channels and whose
     center   frequencies     are     separated     by    greater  than    80 MHz    (difference   between
     dot11CurrentChannelCenterFrequencyIndex0            and      dot11CurrentChannelCenterFrequencyIndex1
     corresponds to a frequency difference greater than 80 MHz) may be used.

     For example, a channel specified by
            channel starting frequency = 5000 MHz
            dot11CurrentChannelWidth = 80 MHz
            dot11CurrentChannelCenterFrequencyIndex0 = 42
            dot11CurrentPrimaryChannel = 36

     is an 80 MHz channel with a center frequency of 5210 MHz and the primary 20 MHz channel centered at
     5180 MHz.

     A channel specified by
            channel starting frequency = 5000 MHz
            dot11CurrentChannelWidth = 160 MHz
            dot11CurrentChannelCenterFrequencyIndex0 = 50
            dot11CurrentPrimaryChannel = 56

     is a 160 MHz channel with a center frequency of 5250 MHz and the primary 20 MHz channel centered at
     5280 MHz.

     A channel specified by
            channel starting frequency = 5000 MHz
            dot11CurrentChannelWidth = 80+80 MHz
            dot11CurrentChannelCenterFrequencyIndex0 =155
            dot11CurrentChannelCenterFrequencyIndex1 = 106
            dot11CurrentPrimaryChannel = 161

     is an 80+80 MHz channel in which frequency segment 0 has 80 MHz bandwidth and center frequency of
     5775 MHz. Frequency segment 1 also has 80 MHz bandwidth and center frequency of 5530 MHz. The
     primary 20 MHz channel is centered at 5805 MHz.

     22.3.15 Transmit RF delay

     The transmitter RF delay is defined in 18.3.8.6.

     22.3.16 Slot time

     The slot time for the VHT PHY shall be 9 s for 20 MHz, 40 MHz, 80 MHz, 160 MHz, and 80+80 MHz
     channel spacing.

     22.3.17 Transmit and receive port impedance

     Transmit and receive antenna port impedance for each transmit and receive antenna is defined in 18.3.8.8.




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     22.3.18 VHT transmit specification

     22.3.18.1 Transmit spectrum mask

                                                     atory restrictions, the device has to meet both the regulatory requirements
     and the mask defined in this subclause.



                                                 frequency leakage levels, see 22.3.18.4.2. The spectral mask requirements in
     this subclause do not apply to the RF LO.

     For a 20 MHz mask PPDU of non-HT, HT or VHT format, the interim transmit spectral mask shall have a 0
     dBr (dB relative to the maximum spectral density of

     The interim transmit spectral mask for frequency offsets in between 9 and 11 MHz, 11 and 20 MHz, and 20
     and 30 MHz shall be linearly interpolated in dB domain from the requirements for 9 MHz, 11 MHz,
     20 MHz, and 30 MHz frequency offsets. The transmit spectrum shall not exceed the maximum of the
                                                             y frequency offset. Figure 22-29 shows an example



                                                                     PSD

                                                                    0 dBr




                                                                    -20 dBr

                                                                    -28 dBr




                                                                    -40 dBr
                                                                                                                        Freq [MHz]

               -30             -20             -11    -9                         9    11           20              30




     For a 40 MHz mask PPDU of non-HT, non-HT duplicate, HT or VHT format, the interim transmit spectral
     mask shall have a 0 dBr (dB relative to the maximum sp

     offset and above. The interim transmit spectral mask for frequency offsets in between 19 and 21 MHz, 21
     and 40 MHz, and 40 and 60 MHz shall be linearly interpolated in dB domain from the requirements for
     19 MHz, 21 MHz, 40 MHz, and 60 MHz frequency offsets. The transmit spectrum shall not exceed the
     maximum of the interim transmit spectral mask and
     19 MHz. Figure 22-30 shows an example of the result




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                                                           PSD

                                                          0 dBr




                                                          -20 dBr

                                                          -28 dBr




                                                          -40 dBr
                                                                                                        Freq [MHz]

               -60             -40          -21   -19               19   21          40            60




     For an 80 MHz mask PPDU of non-HT, non-HT duplicate, HT or VHT format, the interim transmit
     spectral mask shall have a 0 dBr (dB relative to the maximum spectral density of the signal) bandwidth of

     120 MHz frequency offset and above. The interim transmit spectral mask for frequency offsets in between
     39 and 41 MHz, 41 and 80 MHz, and 80 and 120 MHz shall be linearly interpolated in dB domain from the
     requirements for 39 MHz, 41 MHz, 80 MHz, and 120 MHz frequency offsets. The transmit spectrum shall
     not exceed the maximum of the interi                                 dBm/MHz at any frequency offset.
     Figure 22-31 shows an example of the resulting over



                                                           PSD

                                                          0 dBr




                                                          -20 dBr

                                                          -28 dBr




                                                          -40 dBr
                                                                                                        Freq [MHz]

              -120             -80           -41 -39                 39 41           80           120




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     For a 160 MHz mask PPDU of non-HT, non-HT duplicate, HT or VHT format, the interim transmit spectral
     mask shall have a 0 dBr (dB relative to the maximum spectral density of the signal) bandwidth of 158 MHz,
      20 dBr at 81 MHz frequency offset, 28 dBr at 160 MHz frequency offset, and 40 dBr at 240 MHz
     frequency offset and above. The interim transmit spectral mask for frequency offsets in between 79 and
     81 MHz, 81 and 160 MHz, and 160 and 240 MHz shall be linearly interpolated in dB domain from the
     requirements for 79 MHz, 81 MHz, 160 MHz, and 240 MHz frequency offsets. The transmit spectrum shall
     not exceed the maximum of the interim transmit spectrum mask and 59 dBm/MHz at any frequency offset.
     Figure 22-32 shows an example of the resulting overall spectral mask when the 40 dBr spectrum level is
     above 59 dBm/MHz.


                                                             PSD

                                                            0 dBr




                                                            -20 dBr

                                                            -28 dBr




                                                            -40 dBr
                                                                                                              Freq [MHz]

              -240          -160         -81 -79                       79 81           160              240




     For an 80+80 MHz mask PPDU of non-HT duplicate or VHT format, the overall transmit spectral mask is
     constructed in the following manner. First, the 80 MHz interim spectral mask is placed on each of the two
     80 MHz segments. Then, for each frequency at which both of the 80 MHz interim spectral masks have
     values greater than 40 dBr and less than 20 dBr, the sum of the two interim mask values (summed in linear
     domain) shall be taken as the overall spectral mask value. Next, for each frequency at which neither of the
     two 80 MHz interim masks have values greater than or equal to 20 dBr and less than or equal to 0 dBr, the
     higher value of the two interim masks shall be taken as the overall interim spectral value. Finally, for any
     frequency region where the mask value has not been defined yet, linear interpolation (in dB domain)
     between the nearest two frequency points with the interim spectral mask value defined shall be used to
     define the interim spectral mask value. The transmit spectrum shall not exceed the maximum of the interim
     transmit spectrum mask and 59 dBm/MHz at any frequency offset. Figure 22-33 shows an example of a
     transmit spectral mask for a noncontiguous transmission using two 80 MHz channels where the
     center frequency of the two 80 MHz channels are separated by 160 MHz and the 40 dBr spectrum level is
     above 59 dBm/MHz.

     Different center frequency separation between the two 80 MHz frequency segments of the spectral mask as
     well as different peak levels of each 80 MHz frequency segment of the spectral mask are possible, in which
     case a similar procedure in determining the spectral mask as in Figure 22-33 is followed.

     The transmit spectral mask for noncontiguous transmissions using two nonadjacent 80 MHz channels is
     applicable only in regulatory domains that allow for such transmissions.

     Measurements shall be made using a 100 kHz resolution bandwidth and a 30 kHz video bandwidth.



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                                              PSD                                                                                                          PSD

                                0 dBr                                                                                                        0 dBr


                                                        80 MHz Mask 1                                                                                                 80 MHz Mask 2

                               -20 dBr                                                                                                       -20 dBr

                               -28 dBr                                                                                                       -28 dBr




                               -40 dBr                                                                                                       -40 dBr


      -120   -80     -41      -39        0        39   41       80       120     f[MHz]                        -120        -80     -41   -39           0         39   41       80    120      f[MHz]




                                                                                                    PSD

                                                                0 dBr
                                                                                                                                                  Overall transmit spectral mask
                                                                                                                                                             (bold line)

                                                               -20 dBr

        both of the 80 MHz                                                                                      -25 dBr
                                                               -28 dBr                                                                                                neither of the two 80
       spectral masks have
                                                                                                                                                                        MHz masks have
        values greater than
                                                                                                                                                                      values greater than
         -40 dBr and less
                                                                                                                                                                       or equal to -20 dBr
           than -20 dBr
                                                                                                                                                                        and less than or
                                                                                                                                                                         equal to 0 dBr


                                                               -40 dBr


                                                                                                                                                                           f[MHz]
                                    -200        -160   -121   -119      -80     -41   -39            39   41          80         119   121      160        200
                                             higher                  Original                lin.                Original                        higher
                                             value                   Mask 1                 sum                  Mask 2                          value




     22.3.18.2 Spectral flatness

     Spectral flatness measurements shall be conducted using BPSK modulated PPDUs. Demodulate the PPDUs
     according to the following (or equivalent) procedure:
       a)      Start of PPDU shall be detected.
       b)      Transition from L-STF to L-LTF shall be detected and fine timing shall be established.
       c)      Coarse and fine frequency offsets shall be estimated.
       d)      Symbols in a PPDU shall be derotated according to estimated frequency offset.
       e)      For each VHT-LTF symbol, transform the symbol into subcarrier received values, estimate the
               phase from the pilot subcarriers, and derotate the subcarrier values according to the estimated phase.
       f)      For each of the data OFDM symbols: transform the symbol into subcarrier received values.

     The spectral flatness test shall be performed over at least 20 PPDUs. The PPDUs under test shall be at least
     16 data OFDM symbols long.

     Evaluate spectral flatness using the subcarrier received values or the magnitude of the channel estimation.

     Let E i avg denote the magnitude of the channel estimation on subcarrier i or the average constellation
     energy of a BPSK modulated subcarrier i in a VHT data symbol.



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     In a contiguous non-HT duplicate or VHT transmission having a bandwidth listed in Table 22-23, E i avg of
     each of the subcarriers with indices listed as tested subcarrier indices shall not deviate by more than the
     specified maximum deviation in Table 22-23 from the average of E i avg over subcarrier indices listed as
     averaging subcarrier indices. Averaging of E i avg is done in the linear domain.




                  Bandwidth of                                                                         Maximum
                                     Averaging subcarrier          Tested subcarrier indices
       Format     transmission                                                                         deviation
                                      indices (inclusive)                 (inclusive)
                     (MHz)                                                                               (dB)




        VHT



                                                                                                           ±4
                                                                     +126, and +130 to +172
                        160         +44 to +126, and +130 to
                                             +172
                                                                     +43, and +173 to +250

                                                                                                           ±4
                        40                                               and +33 to +42
                                    +6 to +31, and +33 to +42


                                                                                                           ±4
                                                                +6 to +31, +33 to +58, +70 to +84
                        80
                                     +33 to +58, +70 to +84
                                                                       to +95, +97 to +122
       non-HT
      duplicate
                                                                                                           ±4
                                    +70 to +95, +97 to +122,        +70 to +95, +97 to +122,
                                   +134 to +159, +161 to +172      +134 to +159, +161 to +172
                        160



                                                                  +173 to +186, +198 to +223,
                                                                         +225 to +250



     In a noncontiguous transmission consisting of two 80 MHz frequency segments nonadjacent in frequency,
     each segment shall meet the spectral flatness requirement for an 80 MHz transmission.

     For the spectral flatness test, the transmitting STA shall be configured to use a spatial mapping matrix Qk
     (see 22.3.10.11) with flat frequency response. Each output port under test of the transmitting STA shall be
     connected through a cable to one input port of the testing instrumentation. The requirements apply to
     20 MHz, 40 MHz, 80 MHz, and 160 MHz contiguous transmissions as well as noncontiguous 80+80 MHz
     transmissions.




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     22.3.18.3 Transmit center frequency and symbol clock frequency tolerance

     The symbol clock frequency and transmit center frequency tolerance shall be ±20 ppm maximum. The
     transmit center frequency and the symbol clock frequency for all transmit antennas and frequency segments
     shall be derived from the same reference oscillator. Transmit signals with TXVECTOR parameter
     CH_BANDWIDTH set to CBW160 or CBW80+80 may be generated using two separate RF LOs, one for
     each of the lower and upper 80 MHz frequency portions.

                                                  quency portions might not be correlated.

     22.3.18.4 Modulation accuracy

     22.3.18.4.1 Introduction to modulation accuracy tests

     Transmit modulation accuracy specifications are described in 22.3.18.4.2 and 22.3.18.4.3. The test method
     is described in 22.3.18.4.4.

     22.3.18.4.2 Transmit center frequency leakage

     TX LO leakage shall meet the following requirements for all formats and bandwidths except noncontiguous
     80+80 MHz where the RF LO falls outside both frequency segments:
                                                           ted PPDU BW, the power measured at the center of
            transmission BW using resolution BW 312.5 kHz shall not exceed the average power per-subcarrier
            of the transmitted PPDU, or equivalently, ( P 10 log 10(N ST) ), where P is the transmit power per
            antenna in dBm, and NST is defined in Table 22-5.
                                                          transmitted PPDU BW, the power measured at the
            location of the RF LO using resolution BW 312
                                                                             max(P 32   )       P is the
            transmit power per antenna in dBm, and NST is defined in Table 22-5.

     For an 80+80 MHz transmission where the RF LO falls outside both frequency segments, the RF LO shall
     follow the spectral mask requirements as defined in 22.3.18.1.

     The transmit center frequency leakage is specified per antenna.

     22.3.18.4.3 Transmitter constellation error

     The relative constellation RMS error, calculated by first averaging over subcarriers, frequency segments,
     OFDM PPDUs, and spatial streams (see Equation (20-89)) shall not exceed a data-rate dependent value
     according to Table 22-24. The number of spatial streams under test shall be equal to the number of utilized
     transmitting STA antenna (output) ports and also equal to the number of utilized testing instrumentation
     input ports. In the test, NSS = NSTS (no STBC) shall be used. Each output port of the transmitting STA shall
     be connected through a cable to one input port of the testing instrumentation. The requirements apply to
     20 MHz, 40 MHz, 80 MHz, and 160 MHz contiguous transmissions as well as 80+80 MHz noncontiguous
     transmissions.

     For non-HT duplicate transmissions, requirements defined in 18.3.9.7.4 apply to each 20 MHz subchannel.




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                                                           ror versus constellation size and coding rate

                        Modulation         Coding rate        Relative constellation error (dB)




     22.3.18.4.4 Transmitter modulation accuracy (EVM) test

     The transmit modulation accuracy test shall be performed by instrumentation capable of converting the
     transmitted signals into a stream of complex samples at sampling rate greater than or equal to the bandwidth
     of the signal being transmitted; except that

            subchannels are being transmitted and
                                               each frequency segment may be tested independently while both
            segments are being transmitted.

     In this case, transmit modulation accuracy of each segment shall meet the required value in Table 22-24
     using only the subcarriers within the corresponding segment.

     The instrument shall have sufficient accuracy in terms of I/Q arm amplitude and phase balance, DC offsets,
     phase noise, and analog to digital quantization noise. A possible embodiment of such a setup is converting
     the signals to a low IF frequency with a microwave synthesizer, sampling the signal with a digital
     oscilloscope and decomposing it digitally into quadrature components. The sampled signal shall be
     processed in a manner similar to an actual receiver, according to the following steps, or equivalent
     procedure:
       a)   Start of PPDU shall be detected.
       b)   Transition from L-STF to L-LTF shall be detected and fine timing shall be established.
       c)   Coarse and fine frequency offsets shall be estimated.
       d)   Symbols in a PPDU shall be derotated according to estimated frequency offset.
       e)   For each VHT-LTF symbol, transform the symbol into subcarrier received values, estimate the
            phase from the pilot subcarriers, and derotate the subcarrier values according to the estimated phase.
       f)   Estimate the complex channel response coefficient for each of the subcarriers and each of the
            transmit streams.
       g)   For each of the data OFDM symbols: transform the symbol into subcarrier received values, estimate
            the phase from the pilot subcarriers, derotate the subcarrier values according to the estimated phase,
            group the results from all the receiver chains in each subcarrier to a vector, and multiply the vector
            by a zero-forcing equalization matrix generated from the estimated channel.



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       h)        For each data-carrying subcarrier in each spatial stream, find the closest constellation point and
                 compute the Euclidean distance from it.
       i)        Compute the average across PPDUs of the RMS of all errors per PPDU as given by Equation (20-
                 89).

                                              accuracy test is performed simultaneously for the two frequency segments
     of the noncontiguous 80+80 MHz transmissions, NST in Equation (20-89) represents the total number of subcarriers of
     both 80 MHz frequency segments.

     The test shall be performed over at least 20 PPDUs ( N f as defined in Equation (20-89)). The PPDUs under
     test shall be at least 16 data OFDM symbols long. Random data shall be used for the symbols.

     22.3.18.5 Time of Departure accuracy

     The Time of Departure accuracy test evaluates TIME_OF_DEPARTURE against aTxPHYTxStartRMS and
     aTxPHYTxStartRMS against TIME_OF_DEPARTURE_ACCURACY_TEST_THRESH as defined in
     Annex T with the following test parameters:


                              6       fH fL
                      20    10 1 + -------------------
                                                     -     sample/s, for a CH_BANDWIDTH parameter equal to CBW20
                                   20 MHz

                              6       fH fL
                      40    10 1 + -------------------
                                                     -     sample/s, for a CH_BANDWIDTH parameter equal to CBW40
                                   40 MHz

                              6       fH fL
                      80    10 1 + -------------------
                                                     -     sample/s, for a CH_BANDWIDTH parameter equal to CBW80
                                   80 MHz

                             6        fH f L
                      160  10 1 + ----------------------
                                                       -     sample/s, for a CH_BANDWIDTH parameter equal to CBW160
                                  160 MHz
                      or CBW80+80

             where
                      fH         is the nominal center frequency in Hz of the highest channel in the channel set
                      fL         is the nominal center frequency in Hz of the lowest channel in the channel set, the
                                 channel set is the set of channels upon which frames providing measurements are
                                 transmitted, the channel set comprises channels uniformly spaced across
                                 fH f L

                        x        equals the smallest integer equal to or larger than x.




             described in 18.3.2.5 (Mathematical conventions in the signal descriptions) with TTR = 100 ns.
                                                                 _TEST_THRESH is 80 ns.

                                          ng applies to the time of departure accuracy test equipment, and not the transmitter or
     receiver.




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     22.3.19 VHT receiver specification

     For tests in this subclause, the input levels are measured at the antenna connectors and are referenced as the
     average power per receive antenna. The number of spatial streams under test shall be equal to the number of
     utilized transmitting STA antenna (output) ports and also equal to the number of utilized Device Under Test
     input ports. Each output port of the transmitting STA shall be connected through a cable to one input port of
     the Device Under Test.

     22.3.19.1 Receiver minimum input sensitivity

     The packet error ratio (PER) shall be less than 10% for a PSDU length of 4096 octets with the rate-
     dependent input levels listed in Table 22-25. The test in this subclause and the minimum sensitivity levels
     specified in Table 22-25 apply only to non-STBC modes, 800 ns GI, BCC, and VHT PPDUs.

                                                            mum input level sensitivity

                                                                                            Minimum
                                          Minimum         Minimum         Minimum
                                                                                            sensitivity
                                          sensitivity     sensitivity     sensitivity
                                 Rate                                                     (160 MHz or
                  Modulation               (20 MHz         (40 MHz         (80 MHz
                                 (R)                                                       80+80 MHz
                                            PPDU)           PPDU)           PPDU)
                                                                                              PPDU)
                                            (dBm)           (dBm)           (dBm)
                                                                                              (dBm)




     22.3.19.2 Adjacent channel rejection

     Adjacent channel rejection for W MHz channels (where W is 20, 40, 80 or 160) shall be measured by setting
                                                             ent sensitivity specified in Table 22-25 and raising
     the power of the interfering signal of W MHz bandwidth until 10% PER is caused for a PSDU length of
     4096 octets. The power difference between the interfering and desired channel is the corresponding adjacent
     channel rejection. The center frequency of the adjacent channel shall be placed W MHz away from the
     center frequency of the desired signal.

     Adjacent channel rejection for 80+80 MHz channels
     strength 3 dB above the rate dependent sensitivity specified in Table 22-25. Then, an interfering signal of
     80 MHz bandwidth is introduced, where the center frequency of the interfering signal is placed 80 MHz
     away from the center frequency of the frequency segment lower in frequency of the desired signal. The
     power of the interfering signal is raised until 10% PER is caused for a PSDU length of 4096 octets. Let P 1
     be the power difference between the interfering and desired signal. Next, the interfering signal of 80 MHz



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     bandwidth is moved to a frequency where the center frequency of the interfering signal is 80 MHz away
     from the center frequency of the frequency segment higher in frequency of the desired signal. The power of
     the interfering signal is raised until 10% PER is caused for a PSDU length of 4096 octets. Let P 2 be the
     power difference between the interfering and desired signal. The smaller value between P 1 and P 2 is the
     corresponding adjacent channel rejection.

     The interfering signal in the adjacent channel shall be a conformant OFDM signal, unsynchronized with the
     signal in the channel under test, and shall have a minimum duty cycle of 50%. For a conforming OFDM
     PHY, the corresponding rejection shall be no less than specified in Table 22-26.

     The test in this subclause and the adjacent sensitivity levels specified in Table 22-26 apply only to non-
     STBC modes, 800 ns GI, BCC, and VHT PPDUs.




                                          Adjacent channel rejection (dB)   Nonadjacent channel rejection (dB)

        Modulation        Rate (R)          20/40/80/                          20/40/80/
                                                             80+80 MHz                           80+80 MHz
                                            160 MHz                            160 MHz
                                                              Channel                             Channel
                                            Channel                            Channel

           BPSK              1/2                  16              13              32                  29
           QPSK              1/2                  13              10              29                  26

           QPSK              3/4                  11              8               27                  24

         16-QAM              1/2                  8               5               24                  21
         16-QAM              3/4                  4               1               20                  17




     The measurement of adjacent channel rejection for 160 MHz operation in a regulatory domain is required
     only if such a frequency band plan is permitted in that regulatory domain.

     22.3.19.3 Nonadjacent channel rejection

     Nonadjacent channel rejection for W MHz channels (where W is 20, 40, 80, or 160) shall be measured by
                                                          te-dependent sensitivity specified in Table 22-25, and
     raising the power of the interfering signal of W MHz bandwidth until a 10% PER occurs for a PSDU length
     of 4096 octets. The power difference between the interfering and desired channel is the corresponding
     nonadjacent channel rejection. The nonadjacent channel rejection shall be met with any nonadjacent
     channels located at least 2×W MHz away from the center frequency of the desired signal.

     Nonadjacent channel rejection for 80+80 MHz channels
     strength 3 dB above the rate dependent sensitivity specified in Table 22-25. Then, an interfering signal of
     80 MHz bandwidth is introduced, where the center frequency of the interfering signal is placed at least
     160 MHz away from the center frequency of the frequency segment lower in frequency of the desired signal.
     The center frequency of the interfering signal shall also be at least 160 MHz away from the center frequency


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     of the frequency segment higher in frequency of the desired signal. The power of the interfering signal is
     raised until 10% PER is caused for a PSDU length of 4096 octets. Let P1 be the power difference between
     the interfering and desired signal. Next, the interfering signal of 80 MHz bandwidth is moved to a frequency
     where the center frequency of the interfering signal is at least 160 MHz away from the center frequency of
     the frequency segment higher in frequency of the desired signal. The center frequency of the interfering
     signal shall also be at least 160 MHz away from the center frequency of the frequency segment lower in
     frequency of the desired signal. The power of the interfering signal is raised until 10% PER is caused for a
     PSDU length of 4096 octets. Let P2 be the power difference between the interfering and desired channel.
     The smaller value between P 1 and P 2 is the corresponding nonadjacent channel rejection.

     The interfering signal in the nonadjacent channel shall be a conformant OFDM signal, unsynchronized with
     the signal in the channel under test, and shall have a minimum duty cycle of 50%. For a conforming OFDM
     PHY, the corresponding rejection shall be no less than specified in Table 22-26.

     The test in this subclause and the nonadjacent sensitivity levels specified in Table 22-26 apply only to non-
     STBC modes, 800 ns GI, BCC, and VHT PPDUs.

     The measurement of non-adjacent channel rejection for 160 MHz operation in a regulatory domain is only
     required if such a frequency band plan is permitted in that regulatory domain.

     22.3.19.4 Receiver maximum input level

     The receiver shall provide a maximum PER of 10% at a PSDU length of 4096 octets, for a maximum input
                                         tenna for any baseband VHT modulation.

     22.3.19.5 CCA sensitivity

     22.3.19.5.1 General

     The thresholds in this subclause are compared with the signal level at each receiving antenna.

     22.3.19.5.2 CCA sensitivity for operating classes requiring CCA-ED

     For the operating classes requiring CCA-Energy Detect (CCA-ED), CCA shall also detect a medium busy
     condition when CCA-ED detects a channel busy condition.

     For improved spectrum sharing, CCA-ED is required in some bands. The behavior class indicating CCA-ED
     is given in Table D-2. The operating classes requiring the corresponding CCA-ED behavior class are given
     in Annex E. A STA that is operating within an operating class that requires CCA-ED shall operate with
     CCA-ED. The CCA-ED is not required for license-exempt operation in any band.

     CCA-ED shall indicate a channel busy condition when the received signal strength exceeds the CCA-ED
     threshold as given by dot11OFDMEDThreshold for the primary 20 MHz channel and the secondary 20 MHz
     channel,     dot11OFDMEDThreshold + 3 dB         for     the      secondary 40 MHz    channel,   and
     dot11OFDMEDThreshold+6 dB for the secondary 80 MHz channel. The CCA-ED thresholds for the
     operating classes requiring CCA-ED are subject to the criteria in D.2.5.
                                                signal busy as stated in 22.3.19.5.3 and 22.3.19.5.4 is a mandatory energy
     detect requirement on all Clause 22 receivers. Support for CCA-ED is an additional requirement that relates specifically
     to the sensitivities described in D.2.5.

     22.3.19.5.3 CCA sensitivity for signals occupying the primary 20 MHz channel

     The PHY shall issue a PHY-CCA.indication(BUSY, {primary}) if one of the conditions listed in Table 22-
     27 is met in an otherwise idle 20 MHz, 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz operating channel



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     width. With >90% probability, the PHY shall detect the start of a PPDU that occupies at least the primary
     20 MHz channel under the conditions listed in Table 22-27 within a period of aCCATime (see 22.4.4) and
     hold the CCA signal busy (PHY_CCA.indicate(BUSY, channel-list)) for the duration of the PPDU.




        Operating Channel Width                                          Conditions

       20 MHz, 40 MHz, 80 MHz,          The start of a 20 MHz NON_HT PPDU in the primary 20 MHz channel as
       160 MHz, or 80+80 MHz            defined in 18.3.10.6.
                                        The start of an HT PPDU under the conditions defined in 20.3.21.5.
                                        The start of a 20 MHz VHT PPDU in the primary 20 MHz channel at or


       40 MHz, 80 MHz, 160 MHz,         The start of a 40 MHz non-HT duplicate or VHT PPDU in the primary 40 MHz
       or 80+80 MHz
                                        The start of an HT PPDU under the conditions defined in 20.3.21.5.
       80 MHz, 160 MHz, or              The start of an 80 MHz non-HT duplicate or VHT PPDU in the primary 80 MHz
       80+80 MHz

       160 MHz or 80+80 MHz             The start of a 160 MHz or 80+80 MHz non-HT duplicate or VHT PPDU at or



     The receiver shall issue a PHY-CCA.indication(BUSY, {primary}) for any signal that exceeds a threshold
     equal to 20 dB above the minimum modulation and coding rate sensitivity ( 82 + 20 = 62 dBm) in the
     primary 20 MHz channel within a period of aCCATime after the signal arrives at the receiver's antenna(s);
     then the receiver shall not issue a PHY-CCA.indication(BUSY,{secondary}), PHY-
     CCA.indication(BUSY,{secondary40}),       PHY-CCA.indication(BUSY,{secondary80}),           or     PHY-
     CCA.indication(IDLE) while the threshold continues to be exceeded.

     22.3.19.5.4 CCA sensitivity for signals not occupying the primary 20 MHz channel

     The PHY shall issue a PHY-CCA.indication(BUSY, {secondary}) if the conditions for issuing PHY-
     CCA.indication(BUSY, {primary}) are not present and one of the following conditions are present in an
     otherwise idle 40 MHz, 80 MHz, 160 MHz, or 80+80 MHz operating channel width:
                                                   channel at or above a threshold of 62 dBm within a period
            of aCCATime after the signal arrives at the recei                        e PHY shall not issue a
            PHY-CCA.indication(BUSY,{secondary40}), PHY-CCA.indication(BUSY,{secondary80}), or
            PHY-CCA.indication(IDLE) while the threshold continues to be exceeded.
                                                                detected in the secondary 20 MHz channel at
            or above 72 dBm with >90% probability within a period aCCAMidTime (see 22.4.4).

     The PHY shall issue a PHY-CCA.indication(BUSY, {secondary40}) if the conditions for issuing PHY-
     CCA.indication(BUSY, {primary}) and PHY-CCA.indication(BUSY, {secondary}) are not present and one
     of the following conditions are present in an otherwise idle 80 MHz, 160 MHz, or 80+80 MHz operating
     channel width:
                                                   channel at or above a threshold of 59 dBm within a period
            of aCCATime after the signal arrives at the recei                        e PHY shall not issue a
            PHY-CCA.indication(BUSY, {secondary80}) or PHY-CCA.indication(IDLE) while the threshold
            continues to be exceeded.
                                                            VHT PPDU detected in the secondary 40 MHz
            channel at or above 72 dBm with >90% probability within a period aCCAMidTime (see 22.4.4).




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                                                                   detected in any 20 MHz sub-channel of the
            secondary 40 MHz channel at or above             72 dBm with >90% probability within a period
            aCCAMidTime.

     The PHY shall issue a PHY-CCA.indication(BUSY, {secondary80}) if the conditions for PHY-
     CCA.indication(BUSY,      {primary}),  PHY-CCA.indication(BUSY,         {secondary}),   and     PHY-
     CCA.indication(BUSY, {secondary40}) are not present and one of the following conditions are present in
     an otherwise idle 160 MHz or 80+80 MHz operating channel width:
                                            ry 80 MHz channel at or above 56 dBm.




            of the secondary 80 MHz channel at or above 72 dBm with >90% probability within a period
            aCCAMidTime.

            secondary 80 MHz channel at or above             72 dBm with >90% probability within a period
            aCCAMidTime.

     22.3.19.6 RSSI

     The RSSI parameter returned in the RXVECTOR shall be calculated during the reception of the VHT-LTFs
     and shall be a monotonically increasing function of the received power.

     22.3.20 PHY transmit procedure

     There are two paths for the transmit PHY procedure:
                                                                es are shown in Figure 22-34, is selected if the
            FORMAT parameter of the PHY-TXSTART.request(TXVECTOR) primitive is VHT. These
            transmit procedures do not describe the operation of optional features, such as LDPC, STBC or MU.
                                                     ure in Clause 18 if the FORMAT parameter of the
            PHY-TXSTART.request(TXVECTOR) primitive is NON_HT and the NON_HT_MODULATION
            parameter is set to NON_HT_DUP_OFDM except that the signal referred to in Clause 18 is instead
            generated simultaneously on each of the 20 MHz channels that are indicated by the
            CH_BANDWIDTH parameter as defined in 22.3.8 and 22.3.10.12.

                                                                 the MAC sublayer and the VHT Training Symbols, VHT-
     SIG-B, and Data are per user in the PHY layer in Figure 22-34, with the number VHT Training Symbols depending on
     the total number of space-time streams across all users.

                                            NON_HT format where NON_HT_MODULATION is OFDM is specified in
     22.2.4.2. The transmit procedure for HT_MF and HT_GF formats is specified in 22.2.4.3.

     In both paths, in order to transmit data, the MAC generates a PHY-TXSTART.request primitive, which
     causes the PHY entity to enter the transmit state. Further, the PHY is set to operate at the appropriate
     frequency through station management via the PLME, as specified in 22.4. Other transmit parameters, such
     as VHT-MCS Coding types and transmit power, are set via the PHY-SAP using the PHY-
     TXSTART.request(TXVECTOR) primitive, as described in 22.2.2. The remainder of the clause applies to
     the first path.

     The PHY indicates the state of the primary channel and other channels (if any) via the PHY-CCA.indication
     primitive (see 22.3.19.5 and 7.3.5.11). Transmission of the PPDU shall be initiated by the PHY after
     receiving the PHY-TXSTART.request(TXVECTOR) primitive. The TXVECTOR elements for the PHY-
     TXSTART.request primitive are specified in Table 22-1.



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                                                                            PHY-TXSTART.confirm




                                                                                                                         PHY-TXEND.request
                                                                                                                         PHY-DATA.request
                                                                                                                         PHY-DATA.confirm
                                                                            PHY-DATA.request
                                                                            PHY-DATA.confirm
          PHY-TXSTART.request




                                                                                                                                                                   PHY-TXEND.confirm
              (TXVECTOR)


   MAC
                                                                                                  A-MPDU including
                                                                                                    EOF padding


                                                                                                                                                    Bit Padding
                                                VHT-      VHT-                                                                                      if needed
                                    L-SIG                          Service                        PSDU
                                                SIG-A     SIG-B                                                                                        Tail Bits


                                                                                                                     Scrambling
                                                                                                                     + encoding


                                                          VHT-     VHT-                VHT
                                                                                                    VHT-
                                L-STF   L-LTF    L-SIG    SIG-A    SIG-A             Training                  Data (Variable number of OFDM symbols)
                                                                                                    SIG-B
                                                          Sym 1    Sym 2             Symbols
   PHY                                           Coded             Coded                            Coded
                                                 OFDM              OFDM                             OFDM             Coded OFDM, VHT-MCS indicated in
                                                 BPSK,             QBPSK,                           BPSK,                      VHT-SIG-A
                                                 Rate ½            Rate ½                           Rate ½
                                                          Coded
                                                          OFDM
                                                          BPSK,
                                                          Rate ½




     After the PHY preamble transmission is started, the PHY entity immediately initiates data scrambling and
     data encoding. The encoding method for the Data field is based on the FEC_CODING, CH_BANDWIDTH,
     NUM_STS, STBC, MCS, and NUM_USERS parameter of the TXVECTOR, as described in 22.3.2.

     The SERVICE field and PSDU are encoded as described in 22.3.3. The data shall be exchanged between the
     MAC and the PHY through a series of PHY-DATA.request(DATA) primitives issued by the MAC, and
     PHY-DATA.confirm primitives issued by the PHY. Zero to seven PHY padding bits are appended to the
     PSDU to make the number of bits in the coded PSDU an integral multiple of the number of coded bits per
     OFDM symbol.

     Transmission can be prematurely terminated by the MAC through the primitive PHY-TXEND.request.
     PSDU transmission is terminated by receiving a PHY-TXEND.request primitive. Each PHY-
     TXEND.request is acknowledged with a PHY-TXEND.confirm primitive from the PHY. In an SU
     transmission, normal termination occurs after the transmission of the final bit of the last PSDU octet,
     according to the number of OFDM symbols indicated by NSYM (see 22.4.3).

     In the PHY, the GI or short GI is inserted in every data OFDM symbol as a countermeasure against delay
     spread.

     When the PPDU transmission is completed the PHY entity enters the receive state.

     A typical state machine implementation of the transmit PHY for an SU transmission is provided in
     Figure 22-35. Request (.request) and confirmation (.confirm) primitives are issued once per state as shown.
     This state machine does not describe the operation of optional features, such as multi-user, LDPC or STBC.


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        PHY-TXSTART.request
            (TXVECTOR)                                                           TX PSDU OCTET                PHY-DATA.
                                                                                                            request(DATA)
                                                                                 Get octet from MAC,
                                         FORMAT=                                 scramble, encode and
               Initialize                NON_HT Refer                            buffer
                                         to Clause 18

                                       FORMAT=                                   PHY-data.confirm
                                       HT_MF or
                                       HT_GF
                                       Refer to                         Buffer contains a
     Set TX parameters
                                       Clause 20
                                                                        data or last octet           otherwise &&
                                                                       received from MAC              PHY-DATA
                                                                                                    request(DATA)

                      FORMAT=
                      VHT
                                                                                     Last Symbol?
          TX L-Preamble                                                                                     Yes
                                                                         No

     TX L-STF
     TX L-LTF
     TX L-SIG in BPSK rate 1/2
                                                                                              PADDING & TAIL
                                                                                              Add 0 to 7 PHY
                                                                                              padding bits,
                                                                                              scramble, encode, and
        TX VHT-Preamble                                                                       buffer,
                                                                                              encode & buffer tail
                                                                                              bits (BCC only)

     TX VHT-SIG-A1 (BPSK)
     TX VHT-SIG-A2 (QBPSK)                                                          TX SYMBOL
     TX VHT Training Symbols
     TX VHT-SIG-B (BPSK)




               TX Data
     Use MCS and number of
     space-time streams set by                                                   Decrement Symbol
     TXVECTOR
                                                                                 Decrement symbol
     16 bit service field prepended,                                             count                    Symbol Count > 0
     padding and tail bits appended
     to PSDU                                                                                   Symbol Count = 0

                                                                                 Switch to RX state
       SETUP MPDU TX
                                                                                                                  A
       PHY-TXSTART.confirm        PHY-DATA.request(DATA)
      Set symbol count to

                                                                     At any stage in the
                                                                 A   above flow diagram, if
                                                                     a PHY-TXEND.request
                                                                     is received

                                               ibe the operation of optional features, such as MU-MIMO, LDPC or STBC.




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     22.3.21 PHY receive procedure

     A typical PHY receive procedure is shown in Figure 22-36 for VHT format. A typical state machine
     implementation of the receive PHY is given in Figure 22-37. This receive procedure and state machine do
     not describe the operation of optional features, such as LDPC or STBC. If the detected format indicates a
     NON_HT PPDU, refer to the receive procedure and state machine in Clause 18. If the detected format
     indicates an HT PPDU format, refer to the receive procedure and state machine in Clause 20. Further,
     through station management (via the PLME) the PHY is set to the appropriate frequency, as specified in
     22.4. The PHY has also been configured with group information (i.e., group membership and position in
     group) so that it can receive data intended for the STA. Other receive parameters, such as RSSI and
     indicated DATARATE, may be accessed via the PHY-SAP.

     Upon receiving the transmitted PHY preamble overlapping the primary 20 MHz channel, the PHY measures
     a receive signal strength. This activity is indicated by the PHY to the MAC via a PHY-CCA.indication
     primitive. A PHY-CCA.indication(BUSY, channel-list) primitive is also issued as an initial indication of
     reception of a signal as specified in 22.3.19.5. The channel-list parameter of the PHY-CCA.indication
     primitive is absent when the operating channel width is 20 MHz. The channel-list parameter is present and
     includes the element primary when the operating channel width is 40 MHz, 80 MHz, 160 MHz, or
     80+80 MHz.

     The PHY shall not issue a PHY-RXSTART.indication primitive in response to a PPDU that does not
     overlap the primary 20 MHz channel.

     The PHY includes the most recently measured RSSI value in the PHY-RXSTART.indication(RXVECTOR)
     primitive issued to the MAC.

     After the PHY-CCA.indication(BUSY, channel-list) is issued, the PHY entity shall begin receiving the
     training symbols and searching for L-SIG in order to set the maximum duration of the data stream. If the
     check of the L-SIG parity bit is not valid, a PHY-RXSTART.indication primitive is not issued, and instead
     the PHY shall issue the error condition PHY-RXEND.indication(FormatViolation) primitive. If a valid L-
     SIG parity bit is indicated, the VHT PHY shall maintain PHY-CCA.indication(BUSY, channel-list) for the
     predicted duration of the transmitted PPDU, as defined by RXTIME in Equation (22-105), for all supported
     modes, unsupported modes, Reserved VHT-SIG-A Indication, invalid VHT-SIG-A CRC and invalid L-SIG
     Length field value. The L-SIG Length field value of a VHT PPDU is invalid if it is not divisible by 3.
     Reserved VHT-SIG-A Indication is defined as a VHT-SIG-A with Reserved bits equal to 0 or MU[u] NSTS
     fields (u = 0, 1, 2, 3) set to 5-7 or Short GI field set to 0 and Short GI NSYM Disambiguation field set to 1,
     or a combination of VHT-MCS and NSTS not included in 22.5 or any other VHT-SIG-A field bit
     combinations that do not correspond to modes of PHY operation defined in Clause 22. If the VHT-SIG-A
     indicates an unsupported mode, the PHY shall issue PHY-RXEND.indication(UnsupportedRate). If the
     VHT-SIG-A indicates an invalid CRC or Reserved VHT-SIG-A Indication or if the L-SIG Length field is
     invalid, the PHY shall issue the error condition PHY-RXEND.indication(FormatViolation).

     After receiving a valid L-SIG and VHT-SIG-A indicating a supported mode, the PHY entity shall begin
     receiving the VHT training symbols and VHT-SIG-B. If the received group ID in VHT-SIG-A has a value
     indicating a VHT SU PPDU (see 9.17a), the PHY entity may choose not to decode VHT-SIG-B. If VHT-
     SIG-B is not decoded, subsequent to an indication of a valid VHT-SIG-A CRC, a PHY-
     RXSTART.indication(RXVECTOR) primitive shall be issued. The RXVECTOR associated with this
     primitive includes the parameters specified in Table 22-1.

     If the Group ID field in VHT-SIG-A has a value indicating a VHT MU PPDU (see 9.17a), the PHY, in a
     STA that is MU beamformee capable, shall decode VHT-SIG-B. If the VHT-SIG-B indicates an
     unsupported mode, the PHY shall issue the error condition PHY-RXEND.indication(UnsupportedRate)
     primitive.




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     If VHT-SIG-B was decoded the PHY may check the VHT-SIG-B CRC in the SERVICE field. If the VHT-
     SIG-B CRC in the SERVICE field is not checked a PHY-RXSTART.indication(RXVECTOR) primitive
     shall be issued. The RXVECTOR associated with this primitive includes the parameters specified in
     Table 22-1.

     The PHY optionally filters out the PPDU based on the GroupID, MU[0-3] NSTS and Partial AID fields of
     VHT-SIG-A and the contents of the PHYCONFIG_VECTOR as follows:


                   g = 0) and (l00 is true) and (partialaid is included in PARTIAL_AID_LIST_GID00)
                   g = 63) and (l63 is true) and (partialaid is included in PARTIAL_AID_LIST_GID63)
                       g 62) and (MembershipStatusInGroupID[g] = 1) and
                  (nSTS[UserPositionInGroupID[g]] > 0)


                  lNN is the one of the LISTEN_TO_GIDNN parameters of the PHYCONFIG_VECTOR
                                                   g] is the Membership Status Array field of the
                  GROUP_ID_MANAGEMENT parameter of the PHYCONFIG_VECTOR for group g
                  g is the value of the GroupID field of VHT-SIG-A
                  nSTS[u] is the value of the MU[u] NSTS field of VHT-SIG-A
                                            g] is the User Position Array field of the
                  GROUP_ID_MANAGEMENT parameter of the PHYCONFIG_VECTOR for group g
                  partialaid is the value of the Partial AID field of VHT-SIG-A


     If the PPDU is filtered out, the PHY shall issue a PHY-RXEND.indication(Filtered) primitive.

     Following training and signal fields, the Data field shall be received. The number of symbols in the Data
     field is determined by Equation (22-104).

                   N' SYM 1
       N SYM =                                                                                                                                                                            (22-104)
                   N' SYM otherwise

     where

                                                   T L-STF + T L-LTF + T L-SIG + T VHT-SIG-A +
                    RXTIME
                                                               T VHT-STF + N LTF T VHT-LTF + T VHT-SIG-B
       N' SYM =     -----------------------------------------------------------------------------------------------------------------------------------------
                                                                                  T SYM


       RXTIME( s =                      LENGTH                    + 3-
                                        --------------------------------         4 + 20                                                                                                   (22-105)
                                                       3

                                                                                the LENGTH field in L-SIG.

     The value of the PSDU_LENGTH parameter returned in the RXVECTOR using BCC encoding is
     calculated using Equation (22-106).

                                                 N SYM N DBPS N service N tail N ES
        PSDU_LENGTH =                            ----------------------------------------------------------------------------------
                                                                                                                                  -                                                       (22-106)
                                                                                         8

     where




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       N SYM       is given by Equation (22-104)

         x         denotes the largest integer smaller than or equal to x

     For a VHT SU PPDU, the SU/MU[0] Coding field of VHT-SIG-A2 indicates the type of coding. The PHY
     entity shall use an LDPC decoder to decode the C-PSDU if this bit is 1; otherwise, BCC decoding shall be
     used. For an MU transmission, the SU/MU[0] Coding, MU[1] Coding, MU[2] Coding and MU[3] Coding
     fields of VHT-SIG-A2 indicate the type of coding for user u with USER_POSITION[u] = 0, 1, 2, and 3,
     respectively. The PHY entity shall use an LDPC decoder to decode the C-PSDU for the respective user if its
     bit for its C-PSDU is 1. BCC decoding shall be used otherwise. When an LDPC decoder is to be used, NSYM
     is obtained from Equation (22-107).

                   N SYM if LDPC Extra OFDM Symbol = 0
       N SYM =     N SYM 1                                                                             (22-107)
                   N SYM 2

     where
       LDPC Extra OFDM Symbol and STBC are fields in VHT-SIG-A (see Table 22-12)

     The value of the PSDU_LENGTH parameter returned in the RXVECTOR using LDPC encoding is
     calculated using Equation (22-108).

                                 N SYM N DBPS N service
       PSDU_LENGTH =             ----------------------------------------------------                  (22-108)
                                                          8

     where
       N SYM       is given by Equation (22-107)

     The value of the PSDU_LENGTH parameter returned in the RXVECTOR for an NDP is 0.

     If VHT-SIG-B is decoded and the VHT-SIG-B CRC in the SERVICE field is checked and not valid, the
     PHY shall issue the error condition PHY-RXEND.indication(FormatViolation) primitive. If the VHT-SIG-
     B field is decoded and the VHT-SIG-B CRC field is checked and valid, a PHY-
     RXSTART.indication(RXVECTOR) primitive shall be issued. The RXVECTOR associated with this
     primitive includes the parameters specified in Table 22-1.

     If signal loss occurs during reception prior to completion of the PSDU reception, the error condition PHY-
     RXEND.indication(CarrierLost) shall be reported to the MAC. After waiting for the end of the PSDU as
     determined by Equation (22-105), the PHY shall set the PHY-CCA.indication(IDLE) primitive and return to
     the RX IDLE state.

     The received PSDU bits are assembled into octets, decoded, and presented to the MAC using a series of
     PHY-DATA.indication(DATA) primitive exchanges. Any final bits that cannot be assembled into a
     complete octet are considered pad bits and discarded. After the reception of the final bit of the last PSDU
     octet, and possible padding and tail bits, the receiver shall be returned to the RX IDLE state, as shown in
     Figure 22-37. A PHY-RXEND.indication(NoError) primitive shall be issued on entry to the RX IDLE state.




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                                                           CS/CCA state                                                                                                           RX state




                                                                                                            PHY-RXSTART.indication




                                                                                                                                                                                                     PHY-RXEND.indication
                                                                                                                                                                                                     (NoError, RXVECTOR)
                                                                                                                                                                                                      PHY-DATA.indication
                                                                                                                                     PHY-DATA.indication

                                                                                                                                                           PHY-DATA.indication




                                                                                                                                                                                                                            PHY-CCA.indication
                    PHY-CCA.indication
                    (busy,primary)




                                                                                                            (RXVECTOR)




                                                                                                                                                                                                                            (IDLE)
   MAC

                                                                                                                                                                                   A-MPDU



                                                             Decoding Delay                          VHT-
                                                                                   L-SIG                                                                                         PSDU
                                                                                                     SIG-A

                                                                                                                                                                                 Decoded and                          Pad (if present)
                                                                                                                                                                                 descrambled                          and Tail bits
                         Measure RSSI




                                                                                    Measure RSSI




                                                                                                                                                                                               Measure RCPI
   PHY



                                                         VHT-     VHT-         VHT-
                                                                                                   VHT-                              Data (Variable number of OFDM
                L-STF                   L-LTF   L-SIG    SIG-A    SIG-A       Training
                                                                                                   SIG-B                                        symbols)
                                                         Sym 1    Sym 2       Symbols
                                                Coded             Coded                            Coded
                                                OFDM              OFDM                             OFDM                                          Coded OFDM, VHT-MCS indicated in
                                                BPSK,             QBPSK,                           BPSK,                                                   VHT-SIG-A
                                                Rate ½            Rate ½                           Rate ½
                                                         Coded
                                                         OFDM
                                                         BPSK,
                                                         Rate ½


                                                                                                                                                                                                                      ase where
   VHT-SIG-A indicates a mode not requiring decoding of VHT -SIG-B.




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                                                                        RX IDLE state

                                                                           CS/CCA


                                                                                  Set PHY_CCA.indication(BUSY,primary)


             End of Wait                       Detect SIG
                                                               HT_SIG (HT GF preamble):                                  RX Symbol
                                           Determine type of   Refer to 20.3.23
           Set
                                               SIG field
           PHY_CCA.indicat
           ion() in
           accordance with                           L-SIG
           22.3.19.5                                                                                          Carrier lost                         Valid Signal
                                             Detect L-SIG
                                                                                                                         If SERVICE
                                                                                                                         field and        Decode Symbol
                                            Receive L-SIG
                                                field                                               Signal Not Valid     VHT-SIG-B
                    Carrier Lost:                                                                                                        Decode and
                                                                                                                         decoded
                    Set PHY_RXEND.indication                                                                                             descramble
                                                     Signal Valid                                                        and CRC
                    (CarrierLost)                                                                 Set RxEndStatus =                      symbol
                                                                                                                         checked
                                                                                                  (CarrierLost, Null)
                                                RX L-SIG                                                                                      Otherwise
         Parity Fail:
                                              RX and test                                                                         CRC
         Set PHY_RXEND.indication
                                                Parity
         (FormatViolation)
                                                                                                                                 CRC        CRC




                                                                                                                                                                  N_symbol>0
                                                                                                                                 fail       pass
                                            Detect HT-SIG
                                                               HT_SIG (HT MF preamble):                                      A          Decrement N_symbol
                                               Determine       Refer to 20.3.23
                                            whether HT-SIG
                                             follows L-SIG                                                                              PHY_DATA.indication
                                                     Not HT-SIG                                                                         (DATA)
         Carrier Lost:                                                                                                                  (bit removing if
         Set PHY_RXEND.indication         Detect VHT-SIG-A     Not VHT-SIG-A:                                                           needed)
         (CarrierLost)                    Determine whether    Refer to 18.3.12                      Decrement Time                     Decrement symbol
                                          VHT-SIG-A follows                                                                             count
                                                L-SIG
                                                                                                   Wait for intended                               N_symbol=0
                                                     VHT-SIG-A                                     end of PSDU based
         CRC Fail:
                                                                                                   on RXTIME                              End of PSDU RX
         Set PHY_RXEND.indication           RX VHT-SIG-A
         (FormatViolation)

                                           RX and test CRC                                                    Time = 0                  Set RxEndStatus =
                                                                                                                                        (NoError, RXVECTOR)
          Unsupported mode:
          Set PHY_RXSTART.indication             CRC OK                                                End of Wait
          (RXVECTOR)                     Evaluate VHT-
          then set PHY_RXEND.indication      SIG-A                                                 Set
          (UnsupportedRate)             Check contents in                                          PHY_CCA.indication
                                                                             Supported             (IDLE)
                                        VHT-SIG-A for                        mode, no
                                        supported mode                       VHT-SIG-B
                  Reserved VHT-SIG-A Indication                              decoding
                  and Invalid L-LENGTH:              Supported mode,
                  Set PHY_RXEND.indication           VHT-SIG-B
                  (FormatViolation)                  decoding

                                              RX VHT-SIG-B


                  Unsupported mode:     RX
                  Set
                  PHY_RXSTART.indication
                  (RXVECTOR)
                  then set
                  PHY_RXEND.indication Evaluate VHT-SIG-B
                  (UnsupportedRate)        Check contents in
                                           VHT-SIG-B for
                                           supported mode
                  Filtered out:                         Supported
                  Set                                   mode
                  PHY_RXSTART.indication(RXVECTOR)
                  then set                     Determine if PPDU is
                  PHY_RXEND.indication            filtered out or not
                  (Filtered)                                                                                  describe the operation of optional features,
                                             Evaluate whether the
                                                  PPDU is filtered out or not
                                                                                                              such as LDPC, STBC or partial AID.
                                                  based on
                                                  PHYCONFIG_VECTOR
                  End of Wait
                                                                    Not filtered out
          For unsupported modes,
          Reserved VHT-SIG-A
          Indication, VHT-SIG-A CRC                            Setup PSDU RX
          failure or filtered PPDU: set
          PHY_CCA.indication(IDLE)          A           Set N_symbols =
          when predicted duration                       Set PHY_RXSTART.indication
          based on RXTIME has                           (RXVECTOR)
          elapsed.




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     22.4 VHT PLME

     22.4.1 PLME_SAP sublayer management primitives

     Table 22-28 lists the MIB attributes that may be accessed by the PHY entities and the intralayer of higher
     level LMEs. These attributes are accessed via the PLME-GET, PLME-SET, PLME-RESET, and PLME-
     CHARACTERISTICS primitives defined in 6.5.

     22.4.2 PHY MIB

     VHT PHY MIB attributes are defined in Annex C with specific values defined in Table 22-28. The



                                      are interpreted according to the MAX-ACCESS field of the MIB attribute.

     When MAX-ACCESS is read-only, the MIB attribute value may be updated by the PLME and read from the
     MIB attribute by management entities. When MAX-ACCESS is read-write, the MIB attribute may be read
     and written by management entities but shall not be updated by the PLME.




                                                                     Default value/            Operational
                              Managed Object
                                                                         range                  Semantics

                                              dot11PHYOperationTable
           dot11PHYType                                            vht(9)                   Static

                                               dot11PHYTxPowerTable
           dot11NumberSupportedPowerLevels                         Implementation           Static
                                                                   dependent

           dot11TxPowerLevel1                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel2                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel3                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel4                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel5                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel6                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel7                                      Implementation           Static
                                                                   dependent

           dot11TxPowerLevel8                                      Implementation           Static
                                                                   dependent

           dot11CurrentTxPowerLevel                                Implementation           Static
                                                                   dependent




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                                                                     Default value/     Operational
                                Managed Object
                                                                         range           Semantics

            dot11TxPowerLevelExtended                            Implementation       Static
                                                                 dependent
            dot11CurrentTxPowerLevelExtended                     Implementation       Static
                                                                 dependent
                                                   dot11PHYHTTable

            dot11CurrentPrimaryChannel                           Implementation       Dynamic
                                                                 dependent
            dot11CurrentSecondaryChannel                         Implementation       Dynamic
                                                                 dependent

            dot11FortyMHzOperationImplemented                    False/Boolean        Static
            dot11FortyMHzOperationActivated                      False/Boolean        Dynamic

            dot11NumberOfSpatialStreamsImplemented               Implementation       Static
                                                                 dependent

            dot11NumberOfSpatialStreamsActivated                 Implementation       Dynamic
                                                                 dependent

            dot11HTGreenfieldOptionImplemented                   False/Boolean        Static

            dot11HTGreenfieldOptionActivated                     False/Boolean        Dynamic
            dot11ShortGIOptionInTwentyImplemented                False/Boolean        Static

            dot11ShortGIOptionInTwentyActivated                  False/Boolean        Dynamic
            dot11ShortGIOptionInFortyImplemented                 False/Boolean        Static

            dot11ShortGIOptionInFortyActivated                   False/Boolean        Dynamic

            dot11LDPCCodingOptionImplemented                     False/Boolean        Static
            dot11LDPCCodingOptionActivated                       False/Boolean        Dynamic

            dot11TxSTBCOptionImplemented                         False/Boolean        Static
            dot11TxSTBCOptionActivated                           False/Boolean        Dynamic

            dot11RxSTBCOptionImplemented                         False/Boolean        Static

            dot11RxSTBCOptionActivated                           False/Boolean        Dynamic
            dot11BeamFormingOptionImplemented                    False/Boolean        Static

            dot11BeamFormingOptionActivated                      False/Boolean        Dynamic
                                                  dot11PHYVHTTable

            dot11CurrentChannelWidth                             Implementation       Dynamic
                                                                 dependent
            dot11CurrentChannelCenterFrequencyIndex0             Implementation       Dynamic
                                                                 dependent
            dot11CurrentChannelCenterFrequencyIndex1             Implementation       Dynamic
                                                                 dependent




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                                                                  Default value/         Operational
                             Managed Object
                                                                      range               Semantics

           dot11VHTChannelWidthOptionImplemented                Implementation        Static
                                                                dependent
           dot11VHTShortGIOptionIn80Implemented                 False/Boolean         Static
           dot11VHTShortGIOptionIn80Activated                   False/Boolean         Dynamic

           dot11VHTShortGIOptionIn160and80p80Implemented        False/Boolean         Static
           dot11VHTShortGIOptionIn160and80p80Activated          False/Boolean         Dynamic
           dot11VHTLDPCCodingOptionImplemented                  False/Boolean         Static

           dot11VHTLDPCCodingOptionActivated                    False/Boolean         Dynamic
           dot11VHTTxSTBCOptionImplemented                      False/Boolean         Static
           dot11VHTTxSTBCOptionActivated                        False/Boolean         Dynamic

           dot11VHTRxSTBCOptionImplemented                      False/Boolean         Static
           dot11VHTRxSTBCOptionActivated                        False/Boolean         Dynamic

           dot11VHTMaxNTxChainsImplemented                      Implementation        Static
                                                                dependent

           dot11VHTMaxNTxChainsActivated                        Implementation        Dynamic
                                                                dependent
                                      dot11TransmitBeamformingConfigTable

           dot11ReceiveStaggerSoundingOptionImplemented         False/Boolean         Static
           dot11TransmitStaggerSoundingOptionImplemented        False/Boolean         Static

           dot11ReceiveNDPOptionImplemented                     False/Boolean         Static

           dot11TransmitNDPOptionImplemented                    False/Boolean         Static
           dot11ImplicitTransmitBeamformingOptionImplemented    False/Boolean         Static

           dot11CalibrationOptionImplemented                    Implementation        Static
                                                                dependent

           dot11ExplicitCSITransmitBeamformingOptionImplement   False/Boolean         Static
           ed

           dot11ExplicitNonCompressedBeamformingMatrixOptionI   False/Boolean         Static
           mplemented

           dot11ExplicitTransmitBeamformingCSIFeedbackOptionI   Implementation        Static
           mplemented                                           dependent

           dot11ExplicitNoncompressedBeamformingFeedbackOptio   Implementation        Static
           nImplemented                                         dependent

           dot11ExplicitCompressedBeamformingFeedbackOptionI    Implementation        Static
           mplemented                                           dependent




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                                                                             Default value/                      Operational
                                Managed Object
                                                                                 range                            Semantics

             dot11NumberBeamFormingCSISupportAntenna                      Implementation                  Static
                                                                          dependent
             dot11NumberNonCompressedBeamformingMatrixSuppor              Implementation                  Static
             tAntenna                                                     dependent
             dot11NumberCompressedBeamformingMatrixSupportAnt             Implementation                  Static
             enna                                                         dependent

                                        dot11VHTTransmitBeamformingConfigTable
             dot11VHTSUBeamformeeOptionImplemented                        False/Boolean                   Static

             dot11VHTSUBeamformerOptionImplemented                        False/Boolean                   Static
             dot11VHTMUBeamformeeOptionImplemented                        False/Boolean                   Static

             dot11VHTMUBeamformerOptionImplemented                        False/Boolean                   Static
             dot11VHTNumberSoundingDimensions                             Implementation                  Static
                                                                          dependent

             dot11VHTBeamformeeNTxSupport                                 Implementation                  Static
                                                                          dependent



     22.4.3 TXTIME and PSDU_LENGTH calculation

     The value of the TXTIME parameter returned by the PLME-TXTIME.confirm primitive shall be calculated
     for a VHT PPDU using Equation (22-109) for short GI and Equation (22-110) for long GI.

                                                                                               TSYMS N SYM
       TXTIME = TLEG_PREAMBLE + TL-SIG + T VHT-SIG-A + T VHT_PREAMBLE + T VHT-SIG-B + TSYML    -----------------------------------   (22-109)
                                                                                                         T SYML


       TXTIME = TLEG_PREAMBLE + TL-SIG + T VHT-SIG-A + T VHT_PREAMBLE + T VHT-SIG-B + TSYML   N SYM                                  (22-110)

     where
         x         denotes the smallest integer greater than or equal to x

       T LEG_PREAMBLE = T L-STF + T L-LTF

       T VHT_PREAMBLE = T VHT-STF + N VHTLTF T VHT-LTF

       T SYML , T SYMS , T VHT-SIG-A , T VHT-SIG-B , T L-STF , T VHT-STF , T L-LTF , and T VHT-LTF are defined in Table 22-
               5
       N VHTLTF is defined in Table 22-13

     For an NDP, there is no Data field and N SYM = 0 .

     For a VHT SU PPDU using BCC encoding, the total number of data symbols in the Data field is given by
     Equation (22-111).




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                               8 APEP_LENGTH + N service + N tail N ES
       N SYM = m STBC          --------------------------------------------------------------------------------------------------------                                    (22-111)
                                                                  mSTBC N DBPS

     where
       m STBC         is equal to 2 when STBC is used, and 1 otherwise

     For a VHT SU PPDU using LDPC encoding, the total number of data symbols in the Data field, N SYM , is
     given in 22.3.10.5.4 (computed using Equation (20-41) in step (d) of 20.3.11.7.5).

     For a VHT MU PPDU, the total number of data symbols in the Data field, N SYM , is given by Equation (22-
     67).

     The value of the PSDU_LENGTH parameter returned in the PLME-TXTIME.confirm primitive for a VHT
     SU PPDU using BCC encoding is calculated using Equation (22-112).

                                        N SYM N DBPS N service N tail N ES
        PSDU_LENGTH =                   ----------------------------------------------------------------------------------
                                                                                                                         -                                                 (22-112)
                                                                                8

     where
       N SYM          is given by Equation (22-111)

          x           denotes the largest integer smaller than or equal to x

     The value of the PSDU_LENGTH parameter returned in the PLME-TXTIME.confirm primitive for a VHT
     SU PPDU using LDPC encoding is calculated using Equation (22-113).

                                       N SYM init N DBPS N service
       PSDU_LENGTH =                   -------------------------------------------------------------                                                                       (22-113)
                                                                    8

     where
       N SYM   init   is given by Equation (22-62)

     The value of the PSDU_LENGTH parameter for user u returned in the PLME-TXTIME.confirm primitive
     and in the RXVECTOR for a VHT MU PPDU is calculated using Equation (22-114).


                                            N SYM N DBPS u N service N tail N ES u
                                            -------------------------------------------------------------------------------------------   when BCC is used for user u
                                                                                        8
       PSDU_LENGTH u =                                                                                                                                                     (22-114)
                                            N SYM_max_init N DBPS u N service
                                            --------------------------------------------------------------------------          when LDPC is used for user u
                                                                                8


     where
          x           denotes the largest integer smaller than or equal to x ,

       N SYM          is given by Equation (22-67),

       N SYM_max_init is given by Equation (22-65),




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     The value of the PSDU_LENGTH parameter returned in the PLME-TXTIME.confirm primitive for an NDP
     is 0.

     22.4.4 PHY characteristics

     The static VHT PHY characteristics, provided through the PLME-CHARACTERISTICS service primitive,
     shall be as shown in Table 20-25 unless otherwise listed in Table 22-29. The definitions for these
     characteristics are given in 6.5.




                            Characteristics                            Value

                      aTxPHYDelay                 Implementation dependent

                      aRxPHYDelay                 Implementation dependent

                      aCCAMidTime                 25 µs
                      aPPDUMaxTime                5.484 ms

                      aPSDUMaxLength              4 692 480 octets (see NOTE)


                      bandwidth of 160 MHz or 80+80 MHz, VHT-MCS9 and 8 spatial streams, limited
                      by 1504 possible Short GI data symbols in aPPDUMaxTime.



     22.5 Parameters for VHT-MCSs

     The rate-dependent parameters for 20 MHz, 40 MHz, 80 MHz, 160 MHz, and 80+80 MHz N SS = 1                 8
     are given in Table 22-30 through Table 22-61. Support for 400 ns GI is optional in all cases. Support for
     VHT-MCS 8 and 9 (when valid) is optional in all cases. A VHT STA shall support single spatial stream
     VHT-MCSs within the range VHT-MCS 0 to VHT-MCS 7 for all channel widths for which it has indicated
     support regardless of the Tx or Rx Highest Supported Long GI Data Rate subfield values in the Supported
     VHT-MCS and NSS Set field. When more than one spatial stream is supported, the Tx or Rx Highest
     Supported Long GI Data Rate subfield values in the Supported VHT-MCS and NSS Set field may result in a
     reduced VHT-MCS range (cut-off) for N SS = 2         8 . Support for 20 MHz, 40 MHz, and 80 MHz with
     N SS = 1 is mandatory. Support for 20 MHz, 40 MHz, and 80 MHz with N SS = 2                 8 is optional.
     Support for 160 MHz and 80+80 MHz with N SS = 1           8 is optional. NES values were chosen to yield an
     integer number of punctured blocks for each BCC encoder per OFDM symbol.

     Table 22-30 to Table 22-33, Table 22-38 to Table 22-41, Table 22-46 to Table 22-49, and Table 22-54 to
     Table 22-57 define VHT-MCSs not only for SU transmission but also for user u of MU transmission. In the
     case of VHT-MCSs for MU transmission, the parameters, NSS, R, NBPSCS, NCBPS, NDBPS, and NES are
     replaced with NSS,u, Ru, NBPSCS,u, NCBPS,u, NDBPS,u, and NES,u, respectively.




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                                                                                  =1


     VHT-                                                                                Data rate (Mb/s)
     MCS      Modulation   R     NBPSCS   NSD   NSP      NCBPS    NDBPS     NES
     Index                                                                             800 ns GI   400 ns GI

          0      BPSK      1/2     1      52     4          52     26         1           6.5         7.2
          1      QPSK      1/2     2      52     4         104     52         1          13.0        14.4
          2      QPSK      3/4     2      52     4         104     78         1          19.5        21.7

          3     16-QAM     1/2     4      52     4         208     104        1          26.0        28.9
          4     16-QAM     3/4     4      52     4         208     156        1          39.0        43.3

          5     64-QAM     2/3     6      52     4         312     208        1          52.0        57.8
          6     64-QAM     3/4     6      52     4         312     234        1          58.5        65.0

          7     64-QAM     5/6     6      52     4         312     260        1          65.0        72.2

          8    256-QAM     3/4     8      52     4         416     312        1          78.0        86.7
          9                                           Not valid



                                                                                  =2


     VHT-                                                                                Data rate (Mb/s)
     MCS      Modulation   R     NBPSCS   NSD   NSP      NCBPS    NDBPS     NES
     Index                                                                             800 ns GI   400 ns GI

          0      BPSK      1/2     1      52     4         104     52         1          13.0        14.4
          1      QPSK      1/2     2      52     4         208     104        1          26.0        28.9

          2      QPSK      3/4     2      52     4         208     156        1          39.0        43.3

          3     16-QAM     1/2     4      52     4         416     208        1          52.0        57.8
          4     16-QAM     3/4     4      52     4         416     312        1          78.0        86.7

          5     64-QAM     2/3     6      52     4         624     416        1          104.0       115.6
          6     64-QAM     3/4     6      52     4         624     468        1          117.0       130.0

          7     64-QAM     5/6     6      52     4         624     520        1          130.0       144.4

          8    256-QAM     3/4     8      52     4         832     624        1          156.0       173.3
          9                                           Not valid




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                                                                                       =3


     VHT-                                                                                     Data rate (Mb/s)
     MCS       Modulation        R      NBPSCS    NSD   NSP      NCBPS    NDBPS   NES
     Index                                                                                  800 ns GI   400 ns GI

        0         BPSK          1/2        1      52     4         156     78      1          19.5        21.7

        1         QPSK          1/2        2      52     4         312     156     1          39.0        43.3
        2         QPSK          3/4        2      52     4         312     234     1          58.5        65.0
        3        16-QAM         1/2        4      52     4         624     312     1          78.0        86.7

        4        16-QAM         3/4        4      52     4         624     468     1          117.0       130.0
        5        64-QAM         2/3        6      52     4         936     624     1          156.0       173.3

        6        64-QAM         3/4        6      52     4         936     702     1          175.5       195.0
        7        64-QAM         5/6        6      52     4         936     780     1          195.0       216.7

        8       256-QAM         3/4        8      52     4        1248     936     1          234.0       260.0
        9       256-QAM         5/6        8      52     4        1248    1040     1          260.0       288.9



                                                                                       =4


      VHT-                                                                                    Data rate (Mb/s)
      MCS       Modulation       R      NBPSCS    NSD   NSP       NCBPS   NDBPS   NES
      Index                                                                             800 ns GI       400 ns GI

        0          BPSK         1/2        1      52     4         208     104     1          26.0        28.9
        1          QPSK         1/2        2      52     4         416     208     1          52.0        57.8

        2          QPSK         3/4        2      52     4         416     312     1          78.0        86.7

        3        16-QAM         1/2        4      52     4         832     416     1         104.0        115.6
        4        16-QAM         3/4        4      52     4         832     624     1         156.0        173.3

        5        64-QAM         2/3        6      52     4        1248     832     1         208.0        231.1
        6        64-QAM         3/4        6      52     4        1248     936     1         234.0        260.0

        7        64-QAM         5/6        6      52     4        1248    1040     1         260.0        288.9

        8        256-QAM        3/4        8      52     4        1664    1248     1         312.0        346.7
        9                                                     Not valid




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                                                                                  =5


      VHT-                                                                               Data rate (Mb/s)
      MCS      Modulation   R     NBPSCS   NSD   NSP      NCBPS   NDBPS     NES
      Index                                                                         800 ns GI      400 ns GI

          0      BPSK       1/2     1      52     4        260     130        1          32.5        36.1

          1      QPSK       1/2     2      52     4        520     260        1          65.0        72.2
          2      QPSK       3/4     2      52     4        520     390        1          97.5        108.3
          3     16-QAM      1/2     4      52     4       1040     520        1         130.0        144.4

          4     16-QAM      3/4     4      52     4       1040     780        1         195.0        216.7
          5     64-QAM      2/3     6      52     4       1560    1040        1         260.0        288.9

          6     64-QAM      3/4     6      52     4       1560    1170        1         292.5        325.0
          7     64-QAM      5/6     6      52     4       1560    1300        1         325.0        361.1

          8    256-QAM      3/4     8      52     4       2080    1560        1         390.0        433.3
          9                                           Not valid



                                                                                  =6


     VHT-                                                                                Data rate (Mb/s)
     MCS      Modulation     R    NBPSCS   NSD   NSP      NCBPS   NDBPS     NES
     Index                                                                             800 ns GI   400 ns GI

       0         BPSK       1/2      1      52    4        312     156        1          39.0        43.3
       1         QPSK       1/2      2      52    4        624     312        1          78.0        86.7

       2         QPSK       3/4      2      52    4        624     468        1          117.0       130.0

       3        16-QAM      1/2      4      52    4        1248    624        1          156.0       173.3
       4        16-QAM      3/4      4      52    4        1248    936        1          234.0       260.0

       5        64-QAM      2/3      6      52    4        1872   1248        1          312.0       346.7
       6        64-QAM      3/4      6      52    4        1872   1404        1          351.0       390.0

       7        64-QAM      5/6      6      52    4        1872   1560        1          390.0       433.3

       8       256-QAM      3/4      8      52    4        2496   1872        1          468.0       520.0
       9       256-QAM      5/6      8      52    4        2496   2080        1          520.0       577.8




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                                                                                      =7


      VHT-                                                                                 Data rate (Mb/s)
      MCS       Modulation       R      NBPSCS    NSD   NSP      NCBPS   NDBPS   NES
      Index                                                                            800 ns GI    400 ns GI

        0          BPSK         1/2        1      52     4        364     182     1        45.5        50.6

        1          QPSK         1/2        2      52     4        728     364     1        91.0       101.1
        2          QPSK         3/4        2      52     4        728     546     1        136.5      151.7
        3        16-QAM         1/2        4      52     4       1456     728     1        182.0      202.2

        4        16-QAM         3/4        4      52     4       1456    1092     1        273.0      303.3
        5        64-QAM         2/3        6      52     4       2184    1456     1        364.0      404.4

        6        64-QAM         3/4        6      52     4       2184    1638     1        409.5      455.0
        7        64-QAM         5/6        6      52     4       2184    1820     1        455.0      505.6

        8        256-QAM        3/4        8      52     4       2912    2184     2        546.0      606.7
        9                                                    Not valid



                                                                                      =8


      VHT-                                                                                 Data rate (Mb/s)
      MCS       Modulation       R      NBPSCS    NSD   NSP      NCBPS   NDBPS   NES
      Index                                                                            800 ns GI    400 ns GI

        0          BPSK         1/2        1      52     4        416     208     1        52.0        57.8
        1          QPSK         1/2        2      52     4        832     416     1        104.0      115.6

        2          QPSK         3/4        2      52     4        832     624     1        156.0      173.3

        3        16-QAM         1/2        4      52     4       1664     832     1        208.0      231.1
        4        16-QAM         3/4        4      52     4       1664    1248     1        312.0      346.7

        5        64-QAM         2/3        6      52     4       2496    1664     1        416.0      462.2
        6        64-QAM         3/4        6      52     4       2496    1872     1        468.0      520.0

        7        64-QAM         5/6        6      52     4       2496    2080     1        520.0      577.8

        8        256-QAM        3/4        8      52     4       3328    2496     2        624.0      693.3
        9                                                    Not valid




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     VHT-                                                                                    Data rate (Mb/s)
     MCS      Modulation    R       NBPSCS   NSD   NSP       NCBPS   NDBPS     NES
     Index                                                                                 800 ns GI   400 ns GI

        0        BPSK      1/2         1     108     6        108     54         1           13.5        15.0

        1        QPSK      1/2         2     108     6        216     108        1           27.0        30.0
        2        QPSK      3/4         2     108     6        216     162        1           40.5        45.0
        3       16-QAM     1/2         4     108     6        432     216        1           54.0        60.0

        4       16-QAM     3/4         4     108     6        432     324        1           81.0        90.0
        5       64-QAM     2/3         6     108     6        648     432        1           108.0       120.0

        6       64-QAM     3/4         6     108     6        648     486        1           121.5       135.0
        7       64-QAM     5/6         6     108     6        648     540        1           135.0       150.0

        8      256-QAM     3/4         8     108     6        864     648        1           162.0       180.0
        9      256-QAM     5/6         8     108     6        864     720        1           180.0       200.0



                                                                                      =2


     VHT-                                                                                     Data rate (Mb/s)
     MCS     Modulation    R        NBPSCS   NSD   NSP   NCBPS       NDBPS      NES
     Index                                                                                 800 ns GI   400 ns GI

       0        BPSK       1/2        1      108    6         216     108         1           27.0        30.0
       1        QPSK       1/2        2      108    6         432     216         1           54.0        60.0

       2        QPSK       3/4        2      108    6         432     324         1           81.0        90.0

       3       16-QAM      1/2        4      108    6         864     432         1          108.0       120.0
       4       16-QAM      3/4        4      108    6         864     648         1          162.0       180.0

       5       64-QAM      2/3        6      108    6        1296     864         1          216.0       240.0
       6       64-QAM      3/4        6      108    6        1296     972         1          243.0       270.0

       7       64-QAM      5/6        6      108    6        1296     1080        1          270.0       300.0

       8      256-QAM      3/4        8      108    6        1728     1296        1          324.0       360.0
       9      256-QAM      5/6        8      108    6        1728     1440        1          360.0       400.0




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     VHT-                                                                                 Data rate (Mb/s)
     MCS       Modulation        R      NBPSCS    NSD   NSP   NCBPS   NDBPS   NES
     Index                                                                              800 ns GI   400 ns GI

        0         BPSK          1/2        1      108    6     324     162     1          40.5        45.0

        1         QPSK          1/2        2      108    6     648     324     1          81.0        90.0
        2         QPSK          3/4        2      108    6     648     486     1          121.5       135.0
        3        16-QAM         1/2        4      108    6    1296     648     1          162.0       180.0

        4        16-QAM         3/4        4      108    6    1296     972     1          243.0       270.0
        5        64-QAM         2/3        6      108    6    1944    1296     1          324.0       360.0

        6        64-QAM         3/4        6      108    6    1944    1458     1          364.5       405.0
        7        64-QAM         5/6        6      108    6    1944    1620     1          405.0       450.0

        8       256-QAM         3/4        8      108    6    2592    1944     1          486.0       540.0
        9       256-QAM         5/6        8      108    6    2592    2160     1          540.0       600.0



                                                                                   =4


     VHT-                                                                                 Data rate (Mb/s)
     MCS       Modulation        R      NBPSCS    NSD   NSP   NCBPS   NDBPS   NES
     Index                                                                              800 ns GI   400 ns GI

        0         BPSK          1/2        1      108    6     432     216     1          54.0        60.0
        1         QPSK          1/2        2      108    6     864     432     1          108.0       120.0

        2         QPSK          3/4        2      108    6     864     648     1          162.0       180.0

        3        16-QAM         1/2        4      108    6    1728     864     1          216.0       240.0
        4        16-QAM         3/4        4      108    6    1728    1296     1          324.0       360.0

        5        64-QAM         2/3        6      108    6    2592    1728     1          432.0       480.0
        6        64-QAM         3/4        6      108    6    2592    1944     1          486.0       540.0

        7        64-QAM         5/6        6      108    6    2592    2160     1          540.0       600.0

        8       256-QAM         3/4        8      108    6    3456    2592     2          648.0       720.0
        9       256-QAM         5/6        8      108    6    3456    2880     2          720.0       800.0




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                                                                                    =5


     VHT-                                                                                  Data rate (Mb/s)
     MCS     Modulation    R        NBPSCS   NSD   NSP      NCBPS   NDBPS     NES
     Index                                                                               800 ns GI   400 ns GI

       0        BPSK      1/2         1      108    6        540     270        1          67.5        75.0

       1        QPSK      1/2         2      108    6       1080     540        1          135.0       150.0
       2        QPSK      3/4         2      108    6       1080     810        1          202.5       225.0
       3       16-QAM     1/2         4      108    6       2160    1080        1          270.0       300.0

       4       16-QAM     3/4         4      108    6       2160    1620        1          405.0       450.0
       5       64-QAM     2/3         6      108    6       3240    2160        1          540.0       600.0

       6       64-QAM     3/4         6      108    6       3240    2430        2          607.5       675.0
       7       64-QAM     5/6         6      108    6       3240    2700        2          675.0       750.0

       8      256-QAM     3/4         8      108    6       4320    3240        2          810.0       900.0
       9      256-QAM     5/6         8      108    6       4320    3600        2          900.0      1000.0



                                                                                    =6


    VHT-                                                                                    Data rate (Mb/s)
    MCS      Modulation   R        NBPSCS    NSD   NSP      NCBPS   NDBPS      NES
    Index                                                                                800 ns GI   400 ns GI

      0         BPSK      1/2         1      108    6        648     324        1           81.0        90.0
      1        QPSK       1/2         2      108    6       1296     648        1          162.0       180.0

      2        QPSK       3/4         2      108    6       1296     972        1          243.0       270.0

      3       16-QAM      1/2         4      108    6       2592     1296       1          324.0       360.0
      4       16-QAM      3/4         4      108    6       2592     1944       1          486.0       540.0

      5       64-QAM      2/3         6      108    6       3888     2592       2          648.0       720.0
      6       64-QAM      3/4         6      108    6       3888     2916       2          729.0       810.0

      7       64-QAM      5/6         6      108    6       3888     3240       2          810.0       900.0

      8       256-QAM     3/4         8      108    6       5184     3888       2          972.0       1080.0
      9       256-QAM     5/6         8      108    6       5184     4320       2          1080.0      1200.0




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                                                                                   =7


    VHT-                                                                                   Data rate (Mb/s)
    MCS       Modulation       R       NBPSCS     NSD   NSP   NCBPS   NDBPS   NES
    Index                                                                               800 ns GI   400 ns GI

      0          BPSK          1/2        1       108    6     756     378     1           94.5       105.0

      1          QPSK          1/2        2       108    6    1512     756     1          189.0       210.0
      2          QPSK          3/4        2       108    6    1512     1134    1          283.5       315.0
      3        16-QAM          1/2        4       108    6    3024     1512    1          378.0       420.0

      4        16-QAM          3/4        4       108    6    3024     2268    2          567.0       630.0
      5        64-QAM          2/3        6       108    6    4536     3024    2          756.0       840.0

      6        64-QAM          3/4        6       108    6    4536     3402    2          850.5       945.0
      7        64-QAM          5/6        6       108    6    4536     3780    2          945.0       1050.0

      8        256-QAM         3/4        8       108    6    6048     4536    3          1134.0      1260.0
      9        256-QAM         5/6        8       108    6    6048     5040    3          1260.0      1400.0



                                                                                   =8


     VHT-                                                                                 Data rate (Mb/s)
     MCS       Modulation       R      NBPSCS     NSD   NSP   NCBPS   NDBPS   NES
     Index                                                                              800 ns GI   400 ns GI

       0          BPSK          1/2        1      108    6     864     432     1          108.0       120.0
       1          QPSK          1/2        2      108    6    1728     864     1          216.0       240.0

       2          QPSK          3/4        2      108    6    1728    1296     1          324.0       360.0

       3        16-QAM          1/2        4      108    6    3456    1728     1          432.0       480.0
       4        16-QAM          3/4        4      108    6    3456    2592     2          648.0       720.0

       5        64-QAM          2/3        6      108    6    5184    3456     2          864.0       960.0
       6        64-QAM          3/4        6      108    6    5184    3888     2          972.0      1080.0

       7        64-QAM          5/6        6      108    6    5184    4320     2         1080.0      1200.0

       8        256-QAM         3/4        8      108    6    6912    5184     3         1296.0      1440.0
       9        256-QAM         5/6        8      108    6    6912    5760     3         1440.0      1600.0




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                                                                                   =1


     VHT-                                                                                Data rate (Mb/s)
                                                           NCBP
     MCS      Modulation   R      NBPSCS   NSD   NSP              NDBPS      NES
     Index                                                  S
                                                                                       800 ns GI   400 ns GI

       0         BPSK      1/2       1     234    8        234     117        1          29.3         32.5

       1         QPSK      1/2       2     234    8        468     234        1          58.5         65.0
       2         QPSK      3/4       2     234    8        468     351        1          87.8         97.5
       3       16-QAM      1/2       4     234    8        936     468        1          117.0       130.0

       4       16-QAM      3/4       4     234    8        936     702        1          175.5       195.0
       5       64-QAM      2/3       6     234    8        1404    936        1          234.0       260.0

       6       64-QAM      3/4       6     234    8        1404   1053        1          263.3       292.5
       7       64-QAM      5/6       6     234    8        1404   1170        1          292.5       325.0

       8       256-QAM     3/4       8     234    8        1872   1404        1          351.0       390.0
       9       256-QAM     5/6       8     234    8        1872   1560        1          390.0       433.3



                                                                                  =2


     VHT-                                                                                Data rate (Mb/s)
     MCS      Modulation   R      NBPSCS   NSD   NSP   NCBPS      NDBPS      NES
     Index                                                                             800 ns GI   400 ns GI

       0         BPSK      1/2      1      234    8        468     234        1          58.5         65.0
       1         QPSK      1/2      2      234    8        936     468        1          117.0       130.0

       2         QPSK      3/4      2      234    8        936     702        1          175.5       195.0

       3       16-QAM      1/2      4      234    8        1872    936        1          234.0       260.0
       4       16-QAM      3/4      4      234    8        1872   1404        1          351.0       390.0

       5       64-QAM      2/3      6      234    8        2808   1872        1          468.0       520.0
       6       64-QAM      3/4      6      234    8        2808   2106        1          526.5       585.0

       7       64-QAM      5/6      6      234    8        2808   2340        2          585.0       650.0

       8       256-QAM     3/4      8      234    8        3744   2808        2          702.0       780.0
       9       256-QAM     5/6      8      234    8        3744   3120        2          780.0       866.7




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     VHT-                                                                                     Data rate (Mb/s)
     MCS       Modulation       R      NBPSCS     NSD   NSP      NCBPS    NDBPS   NES
     Index                                                                                  800 ns GI   400 ns GI

       0          BPSK         1/2        1       234    8         702     351     1          87.8        97.5

       1          QPSK         1/2        2       234    8        1404     702     1          175.5       195.0
       2          QPSK         3/4        2       234    8        1404    1053     1          263.3       292.5
       3        16-QAM         1/2        4       234    8        2808    1404     1          351.0       390.0

       4        16-QAM         3/4        4       234    8        2808    2106     1          526.5       585.0
       5        64-QAM         2/3        6       234    8        4212    2808     2          702.0       780.0

       6                                                      Not valid
       7        64-QAM         5/6        6       234    8        4212    3510     2          877.5       975.0

       8        256-QAM        3/4        8       234    8        5616    4212     2         1053.0      1170.0
       9        256-QAM        5/6        8       234    8        5616    4680     3         1170.0      1300.0



                                                                                       =4


     VHT-                                                                                     Data rate (Mb/s)
     MCS       Modulation       R      NBPSCS     NSD   NSP      NCBPS    NDBPS   NES
     Index                                                                                  800 ns GI   400 ns GI

       0          BPSK         1/2        1       234    8         936     468     1          117.0       130.0
       1          QPSK         1/2        2       234    8        1872     936     1          234.0       260.0

       2          QPSK         3/4        2       234    8        1872    1404     1          351.0       390.0

       3        16-QAM         1/2        4       234    8        3744    1872     1          468.0       520.0
       4        16-QAM         3/4        4       234    8        3744    2808     2          702.0       780.0

       5        64-QAM         2/3        6       234    8        5616    3744     2          936.0      1040.0
       6        64-QAM         3/4        6       234    8        5616    4212     2         1053.0      1170.0

       7        64-QAM         5/6        6       234    8        5616    4680     3         1170.0      1300.0

       8        256-QAM        3/4        8       234    8        7488    5616     3         1404.0      1560.0
       9        256-QAM        5/6        8       234    8        7488    6240     3         1560.0      1733.3




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                                                                                    =5


     VHT-                                                                                  Data rate (Mb/s)
     MCS      Modulation   R      NBPSCS   NSD   NSP      NCBPS    NDBPS      NES
     Index                                                                               800 ns GI   400 ns GI

       0        BPSK       1/2      1      234    8        1170     585        1           146.3       162.5

       1        QPSK       1/2      2      234    8        2340    1170        1           292.5       325.0
       2        QPSK       3/4      2      234    8        2340    1755        1           438.8       487.5
       3       16-QAM      1/2      4      234    8        4680    2340        2           585.0       650.0

       4       16-QAM      3/4      4      234    8        4680    3510        2           877.5       975.0
       5       64-QAM      2/3      6      234    8        7020    4680        3          1170.0      1300.0

       6       64-QAM      3/4      6      234    8        7020    5265        3          1316.3      1462.5
       7       64-QAM      5/6      6      234    8        7020    5850        3          1462.5      1625.0

       8       256-QAM     3/4      8      234    8        9360    7020        4          1755.0      1950.0
       9       256-QAM     5/6      8      234    8        9360    7800        4          1950.0      2166.7



                                                                                    =6


     VHT-                                                                                  Data rate (Mb/s)
     MCS      Modulation   R      NBPSCS   NSD   NSP       NCBPS   NDBPS      NES
     Index                                                                               800 ns GI   400 ns GI

       0         BPSK      1/2      1      234    8         1404    702         1          175.5       195.0
       1        QPSK       1/2      2      234    8         2808    1404        1          351.0       390.0

       2        QPSK       3/4      2      234    8         2808    2106        1          526.5       585.0

       3       16-QAM      1/2      4      234    8         5616    2808        2          702.0       780.0
       4       16-QAM      3/4      4      234    8         5616    4212        2         1053.0      1170.0

       5       64-QAM      2/3      6      234    8         8424    5616        3         1404.0      1560.0
       6       64-QAM      3/4      6      234    8         8424    6318        3         1579.5      1755.0

       7       64-QAM      5/6      6      234    8         8424    7020        4         1755.0      1950.0

       8       256-QAM     3/4      8      234    8        11232    8424        4         2106.0      2340.0
       9                                               Not valid




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                                                                                       =7


     VHT-                                                                                     Data rate (Mb/s)
     MCS      Modulation        R      NBPSCS     NSD   NSP      NCBPS    NDBPS   NES
     Index                                                                                  800 ns GI   400 ns GI

       0         BPSK          1/2        1       234    8        1638     819     1          204.8       227.5

       1         QPSK          1/2        2       234    8        3276    1638     1          409.5       455.0
       2         QPSK          3/4        2       234    8        3276    2457     3          614.3       682.5
       3        16-QAM         1/2        4       234    8        6552    3276     2          819.0       910.0

       4        16-QAM         3/4        4       234    8        6552    4914     3         1228.5      1365.0
       5        64-QAM         2/3        6       234    8        9828    6552     4         1638.0      1820.0

       6                                                      Not valid
       7        64-QAM         5/6        6       234    8        9828    8190     6         2047.5      2275.0

       8       256-QAM         3/4        8       234    8        13104   9828     6         2457.0      2730.0
       9       256-QAM         5/6        8       234    8        13104   10920    6          2730       3033.3



                                                                                       =8


     VHT-                                                                                     Data rate (Mb/s)
     MCS      Modulation        R      NBPSCS     NSD   NSP      NCBPS    NDBPS   NES
     Index                                                                                  800 ns GI   400 ns GI

       0         BPSK          1/2        1       234    8        1872     936     1          234.0       260.0
       1         QPSK          1/2        2       234    8        3744    1872     1          468.0       520.0

       2         QPSK          3/4        2       234    8        3744    2808     2          702.0       780.0

       3        16-QAM         1/2        4       234    8        7488    3744     2          936.0      1040.0
       4        16-QAM         3/4        4       234    8        7488    5616     3         1404.0      1560.0

       5        64-QAM         2/3        6       234    8        11232   7488     4         1872.0      2080.0
       6        64-QAM         3/4        6       234    8        11232   8424     4         2106.0      2340.0

       7        64-QAM         5/6        6       234    8        11232   9360     6         2340.0      2600.0

       8       256-QAM         3/4        8       234    8        14976   11232    6         2808.0      3120.0
       9       256-QAM         5/6        8       234    8        14976   12480    6         3120.0      3466.7




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    VHT-                                                                                  Data rate (Mb/s)
    MCS     Modulation   R       NBPSCS   NSD·NSeg   NSP   NCBPS   NDBPS      NES
    Index                                                                             800 ns GI     400 ns GI

      0        BPSK      1/2       1        468      16     468      234        1        58.5          65.0

      1        QPSK      1/2       2        468      16     936      468        1        117.0         130.0
      2        QPSK      3/4       2        468      16     936      702        1        175.5         195.0
      3       16-QAM     1/2       4        468      16    1872      936        1        234.0         260.0

      4       16-QAM     3/4       4        468      16    1872     1404        1        351.0         390.0
      5       64-QAM     2/3       6        468      16    2808     1872        1        468.0         520.0

      6       64-QAM     3/4       6        468      16    2808     2106        1        526.5         585.0
      7       64-QAM     5/6       6        468      16    2808     2340        2        585.0         650.0

      8      256-QAM     3/4       8        468      16    3744     2808        2        702.0         780.0
      9      256-QAM     5/6       8        468      16    3744     3120        2        780.0         866.7



                                                                                           =2


    VHT-                                                                                  Data rate (Mb/s)
    MCS     Modulation   R       NBPSCS   NSD·NSeg   NSP   NCBPS   NDBPS      NES
    Index                                                                             800 ns GI     400 ns GI

      0        BPSK      1/2       1        468      16     936      468        1        117.0         130.0
      1        QPSK      1/2       2        468      16    1872      936        1        234.0         260.0

      2        QPSK      3/4       2        468      16    1872     1404        1        351.0         390.0

      3       16-QAM     1/2       4        468      16    3744     1872        1        468.0         520.0
      4       16-QAM     3/4       4        468      16    3744     2808        2        702.0         780.0

      5       64-QAM     2/3       6        468      16    5616     3744        2        936.0        1040.0
      6       64-QAM     3/4       6        468      16    5616     4212        2       1053.0        1170.0

      7       64-QAM     5/6       6        468      16    5616     4680        3       1170.0        1300.0

      8      256-QAM     3/4       8        468      16    7488     5616        3       1404.0        1560.0
      9      256-QAM     5/6       8        468      16    7488     6240        3       1560.0        1733.3




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    VHT-                                                                                     Data rate (Mb/s)
    MCS      Modulation       R      NBPSCS       NSD·NSeg   NSP     NCBPS   NDBPS   NES
    Index                                                                                  800 ns GI   400 ns GI

     0          BPSK         1/2        1           468      16       1404    702     1      175.5       195.0

     1          QPSK         1/2        2           468       16      2808   1404     1      351.0       390.0
     2          QPSK         3/4        2           468       16      2808   2106     1      526.5       585.0
     3        16-QAM         1/2        4           468      16       5616   2808     2      702.0       780.0

     4        16-QAM         3/4        4           468      16       5616   4212     2     1053.0      1170.0
     5        64-QAM         2/3        6           468      16       8424   5616     3     1404.0      1560.0

     6        64-QAM         3/4        6           468      16       8424   6318     3     1579.5      1755.0
     7        64-QAM         5/6        6           468      16       8424   7020     4     1755.0      1950.0

     8        256-QAM        3/4        8           468      16      11232   8424     4     2106.0      2340.0
     9                                                         Not valid



                                                                                              =4


   VHT-                                                                                       Data rate (Mb/s)
   MCS      Modulation        R      NBPSCS       NSD·NSeg   NSP    NCBPS    NDBPS   NES
   Index                                                                                   800 ns GI   400 ns GI

     0         BPSK          1/2        1           468      16      1872     936     1      234.0       260.0
     1         QPSK          1/2        2           468      16      3744    1872     1      468.0       520.0

     2         QPSK          3/4        2           468      16      3744    2808     2      702.0       780.0

     3        16-QAM         1/2        4           468      16      7488    3744     2      936.0       1040.0
     4        16-QAM         3/4        4           468      16      7488    5616     3     1404.0       1560.0

     5        64-QAM         2/3        6           468      16      11232   7488     4     1872.0       2080.0
     6        64-QAM         3/4        6           468      16      11232   8424     4     2106.0       2340.0

     7        64-QAM         5/6        6           468      16      11232   9360     6     2340.0       2600.0

     8       256-QAM         3/4        8           468      16      14976   11232    6     2808.0       3120.0
     9       256-QAM         5/6        8           468      16      14976   12480    6     3120.0       3466.7




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                                                                                          =5


   VHT-                                                                                   Data rate (Mb/s)
   MCS     Modulation   R      NBPSCS   NSD·NSeg   NSP    NCBPS    NDBPS       NES
   Index                                                                               800 ns GI    400 ns GI

     0        BPSK      1/2      1        468      16     2340      1170        1        292.5         325.0

     1        QPSK      1/2      2        468      16     4680      2340        2        585.0         650.0
     2        QPSK      3/4      2        468      16     4680      3510        2        877.5         975.0
     3       16-QAM     1/2      4        468      16     9360      4680        3       1170.0        1300.0

     4       16-QAM     3/4      4        468      16     9360      7020        4       1755.0        1950.0
     5       64-QAM     2/3      6        468      16     14040     9360        5       2340.0        2600.0

     6       64-QAM     3/4      6        468      16     14040    10530        5       2632.5        2925.0
     7       64-QAM     5/6      6        468      16     14040    11700        6       2925.0        3250.0

     8      256-QAM     3/4      8        468      16     18720    14040        8       3510.0        3900.0
     9      256-QAM     5/6      8        468      16     18720    15600        8       3900.0        4333.3



                                                                                          =6


   VHT-                                                                                   Data rate (Mb/s)
   MCS     Modulation   R      NBPSCS   NSD·NSeg   NSP    NCBPS    NDBPS       NES
   Index                                                                               800 ns GI    400 ns GI

     0        BPSK      1/2      1        468      16     2808      1404        1        351.0         390.0
     1        QPSK      1/2      2        468      16     5616      2808        2        702.0         780.0

     2        QPSK      3/4      2        468      16     5616      4212        2       1053.0        1170.0

     3       16-QAM     1/2      4        468      16     11232     5616        3       1404.0        1560.0
     4       16-QAM     3/4      4        468      16     11232     8424        4       2106.0        2340.0

     5       64-QAM     2/3      6        468      16     16848    11232        6       2808.0        3120.0
     6       64-QAM     3/4      6        468      16     16848    12636        6       3159.0        3510.0

     7       64-QAM     5/6      6        468      16     16848    14040        8       3510.0        3900.0

     8      256-QAM     3/4      8        468      16     22464    16848        8       4212.0        4680.0
     9      256-QAM     5/6      8        468      16     22464    18720        9       4680.0        5200.0




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                                                                                            =7


   VHT-                                                                                     Data rate (Mb/s)
   MCS      Modulation        R      NBPSCS       NSD·NSeg   NSP   NCBPS   NDBPS   NES
   Index                                                                                 800 ns GI   400 ns GI

     0         BPSK          1/2        1           468      16    3276    1638     1      409.5       455.0

     1         QPSK          1/2        2           468      16    6552    3276     2      819.0       910.0
     2         QPSK          3/4        2           468      16    6552    4914     3     1228.5       1365.0
     3        16-QAM         1/2        4           468      16    13104   6552     4     1638.0       1820.0

     4        16-QAM         3/4        4           468      16    13104   9828     6     2457.0       2730.0
     5        64-QAM         2/3        6           468      16    19656   13104    7     3276.0       3640.0

     6        64-QAM         3/4        6           468      16    19656   14742    7     3685.5       4095.0
     7        64-QAM         5/6        6           468      16    19656   16380    9     4095.0       4550.0

     8       256-QAM         3/4        8           468      16    26208   19656   12     4914.0       5460.0
     9       256-QAM         5/6        8           468      16    26208   21840   12     5460.0       6066.7



                                                                                            =8


   VHT-                                                                                     Data rate (Mb/s)
   MCS      Modulation       R      NBPSCS        NSD·NSeg   NSP   NCBPS   NDBPS   NES
   Index                                                                                 800 ns GI   400 ns GI

     0         BPSK         1/2        1            468      16    3744    1872     1      468.0       520.0
     1         QPSK         1/2        2            468      16    7488    3744     2      936.0       1040.0

     2         QPSK         3/4        2            468      16    7488    5616     3     1404.0       1560.0

     3       16-QAM         1/2        4            468      16    14976   7488     4     1872.0       2080.0
     4       16-QAM         3/4        4            468      16    14976   11232    6     2808.0       3120.0

     5       64-QAM         2/3        6            468      16    22464   14976    8     3744.0       4160.0
     6       64-QAM         3/4        6            468      16    22464   16848    8     4212.0       4680.0

     7       64-QAM         5/6        6            468      16    22464   18720    9     4680.0       5200.0

     8       256-QAM        3/4        8            468      16    29952   22464   12     5616.0       6240.0
     9       256-QAM        5/6        8            468      16    29952   24960   12     6240.0       6933.3




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     Annex B
     (normative)

     Protocol Implementation Conformance Statement (PICS)
     proforma

     B.2 Abbreviations and special symbols

     B.2.2 General abbreviations for Item and Support columns

     Insert the following abbreviations into B.2.2:

       VHTM       Very High Throughput MAC
       VHTP       Very High Throughput PHY


                                     EEE Std 802.11-<year>

     Change the following row in the B.4.3 table, and insert the new rows as shown:

    B.4.3 IUT configuration


          Item                   IUT configuration              References           Status               Support
                        What is the configuration of the IUT?
       *CF10            Is spectrum management operation         8.4.1.4,        (CF6 OR            Yes     No
                        supported?                               10.6            CF16: O)
                                                                                 (CF6 OR
                                                                                 CF16 OR
                                                                                 CF29): O
       *CF16            High-throughput (HT) features            8.4.2.58        O                  Yes     No
       *CF16.1          HT operation in the 2.4 GHz band         Clause 20       CF16:O.6           Yes     No
       *CF16.2          HT operation in the 5 GHz band           Clause 20       CF16:O.6           Yes     No
                                                                                 CF29:M
       *CF29            Very High Throughput (VHT) Features      8.4.2.160       O                  Yes     No




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     B.4.4 MAC protocol

     Change the following rows in the B.4.4.1 table, and insert the new rows as shown:

     B.4.4.1 MAC protocol capabilities


              Item              Protocol capability         References        Status            Support
     ...
     PC9              Multirate support                    9.7, Annex J   M              Yes   No
            PC9.1     Rate selection using Rx Supported    9.7.11.1,      CF29:M         Yes   No    N/A
                      VHT-MCS and NSS Set / Tx             9.7.11.2
                      Supported VHT-MCS and NSS Set
            PC9.2     Cropping of VHT Basic MCS Set        9.7.11.3       CF29:O         Yes   No    N/A
     ...
     PC34.1.2.1       Counter mode with Cipher-block       11.4.3         PC34:M         Yes   No    N/A
                      chaining Message authentication code
                      Protocol (CCMP) data confidentiality
                      protocol using CCMP-128
     PC34.1.2.1.1     CCMP cryptographic encapsulation     11.4.3.3       PC34.1.2.1:M   Yes   No    N/A
                      procedure using CCMP-128
     PC34.1.2.1.2     CCMP decapsulation procedure using 11.4.3.4         PC34.1.2.1:M   Yes   No    N/A
                      CCMP-128

     Insert the following rows into the B.4.4.2 table:

     B.4.4.2 MAC frames


              Item                  MAC frame               References        Status            Support
                       Is transmission of the following     Clause 8,
                       MAC frames supported?                Annex J
      ...
      FT40             VHT NDP Announcement                 Clause 8      VHTM4.1:M      Yes    No    N/A
      FT41             Beamforming Report Poll              Clause 8      VHTM4.1:O      Yes    No    N/A
                                                                          VHTM4.3:M
      FT42             Transmission of Operating Mode       8.5.23.4,     O              Yes    No    N/A
                       Notification frame and Operating     8.4.2.168,
                       Mode Notification element            10.41
                       Is reception of the following MAC    Clause 8,
                       frames supported?                    Annex J
      ...
      FR41             VHT NDP Announcement                 Clause 8      VHTM4.2:M      Yes    No    N/A
      FR42             Beamforming Report Poll              Clause 8      VHTM4.2:O      Yes    No    N/A
                                                                          VHTM4.4:M
      FR43             Reception of Operating Mode          8.5.23.4,     O              Yes    No    N/A
                       Notification frame and Operating     8.4.2.168,    CF29:M
                       Mode Notification element            10.41




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     Change the following rows in the B.4.12 table, and insert the new rows as shown:

    B.4.12 Spectrum management extensions


        Item            IUT configuration             References        Status                 Support
      SM1        Country, Power Constraint, and     8.3.3.2,       CF10: M              Yes    No    N/A
                 transmit power control (TPC)       8.3.3.10,
                 Report elements included in        8.4.2.10,
                 Beacon and Probe Response frames   8.4.2.14,
                                                    8.4.2.17
      SM1.1      VHT Transmit Envelope              8.4.2.164      CF10 AND             Yes    No    N/A
                 element(s) in Beacon and Probe                    CF29:M
                 Response frames
      SM20       Channel switch procedure
      SM20.1     Transmission of channel switch     10.9.8         (CF1 and             Yes    No    N/A
                 announcement and channel switch                   CF10):M
                 procedure by an AP
      SM20.2     Transmission of channel switch     10.9.8         (CF2.12 and          Yes    No    N/A
                 announcement and channel switch                   CF10):M
                 procedure by a STA
      SM20.3     Reception of channel switch        10.9.8         CF10:M               Yes    No    N/A
                 announcement and channel switch
                 procedure by a STA
      SM20.4     Transmission of Wide Bandwidth     10.39.4        (CF1 and CF10        Yes    No    N/A
                 Channel Switch element in                         and CF29):M
                 Channel Announcement frame and
                 transmission of Wide Bandwidth
                 Channel Switch subelement in
                 Channel Switch Wrapper element
                 in Beacon/Probe Response frames,
                 and associated channel switching
                 procedure by an AP
      SM20.5     Transmission of Wide Bandwidth     10.39.4        (CF2.2 and CF10      Yes    No    N/A
                 Channel Switch element in                         and CF29):M
                 Channel Announcement frame and
                 transmission of Wide Bandwidth
                 Channel Switch subelement in
                 Channel Switch Wrapper element
                 in Beacon/Probe Response frames,
                 and associated channel switching
                 procedure by a STA.
      SM20.6     Reception of Wide Bandwidth        10.39.4        (CF10 and            Yes    No    N/A
                 Channel Switch element in                         CF29):M
                 Channel Announcement frame and
                 reception of Wide Bandwidth
                 Channel Switch subelement in
                 Channel Switch Wrapper element
                 in Beacon/Probe Response frames,
                 and associated channel switching
                 procedure by a STA.




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    B.4.12 Spectrum management extensions


        Item              IUT configuration            References        Status               Support
      SM20.7      Transmission of New VHT             10.39.4       (CF1 and CF10       Yes   No    N/A
                  Transmit Power Envelope element                   and CF29):M
                  in Channel Announcement frame
                  and transmission of New VHT
                  Transmit Power Envelope
                  subelement in Channel Switch
                  Wrapper element in Beacon/Probe
                  Response frames, and associated
                  channel switching procedure by an
                  AP.
      SM20.8      Transmission of New VHT             10.39.4       (CF2.2 and CF10     Yes   No    N/A
                  Transmit Power Envelope element                   and CF29):M
                  in Channel Announcement frame
                  and transmission of New VHT
                  Transmit Power Envelope
                  subelement in Channel Switch
                  Wrapper element in Beacon/Probe
                  Response frames, and associated
                  channel switching procedure by a
                  STA.
      SM20.9      Reception of New VHT Transmit       10.39.4       (CF10 and           Yes   No    N/A
                  Power Envelope element in                         CF29):M
                  Channel Announcement frame and
                  reception of New VHT Transmit
                  Power Envelope subelement in
                  Channel Switch Wrapper element
                  in Beacon/Probe Response frames,
                  and associated channel switching
                  procedure by a STA.


     Change the following rows in the B.4.18 table, and insert the new rows as shown:

    B.4.18 DSE functions


        Item              Protocol capability          References        Status               Support
      DSE9        Extended channel switch procedure
      DES9.1      Transmission of extended channel    10.10.3       (CF15&CF1):M        Yes   No    N/A
                  switch announcement frame/                        (CF1 and
                  element and extended channel                      CF29):M
                  switch procedure by an AP.
      DSE9.2      Transmission of extended channel    10.10.3       (CF15&CF2.12):      Yes   No    N/A
                  switch announcement frame/                        M
                  element and extended channel                      (CF2.2 and
                  switch procedure by a STA.                        CF29):M
      DSE9.3      Reception of extended channel       10.10.3       CF15:M              Yes   No    N/A
                  switch announcement frame/                        CF29:M
                  element and extended channel
                  switch procedure by a STA.




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    B.4.18 DSE functions


       Item             Protocol capability         References        Status                 Support
     DSE9.4      Transmission of Wide Bandwidth    10.39.4       (CF1 and            Yes     No    N/A
                 Channel Switch element in                       CF29):M
                 Extended Channel Announcement
                 frame and transmission of Wide
                 Bandwidth Channel Switch
                 subelement in Channel Switch
                 Wrapper element in Beacon/Probe
                 Response frames, and associated
                 extended channel switching
                 procedure by an AP.
     DSE9.5      Transmission of Wide Bandwidth    10.39.4       (CF2.2 and          Yes     No    N/A
                 Channel Switch element in                       CF29):M
                 Extended Channel Announcement
                 frame and transmission of Wide
                 Bandwidth Channel Switch
                 subelement in Channel Switch
                 Wrapper element in Beacon/Probe
                 Response frames, and associated
                 extended channel switching
                 procedure by a STA.
     DSE9.6      Reception of Wide Bandwidth       10.39.4       CF29:M              Yes     No    N/A
                 Channel Switch element in
                 Extended Channel Announcement
                 frame and reception of Wide
                 Bandwidth Channel Switch
                 subelement in Channel Switch
                 Wrapper element in Beacon/Probe
                 Response frames, and associated
                 extended channel switching
                 procedure by a STA.
     DSE9.7      Transmission of New VHT           10.39.4       (CF1 and            Yes     No    N/A
                 Transmit Power Envelope element                 CF29):M
                 in Extended Channel
                 Announcement frame and
                 transmission of New VHT
                 Transmit Power Envelope
                 subelement in Channel Switch
                 Wrapper element in Beacon/Probe
                 Response frames, and associated
                 extended channel switching
                 procedure by an AP.
     DSE9.8      Transmission of New VHT           10.39.4       (CF2.2 and          Yes     No    N/A
                 Transmit Power Envelope element                 CF29):M
                 in Extended Channel
                 Announcement frame and
                 transmission of New VHT
                 Transmit Power Envelope
                 subelement in Channel Switch
                 Wrapper element in Beacon/Probe
                 Response frames, and associated
                 extended channel switching
                 procedure by a STA.




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    B.4.18 DSE functions


        Item              Protocol capability         References                Status          Support
      DSE9.9      Reception of New VHT Transmit      10.39.4               CF29:M         Yes   No    N/A
                  Power Envelope element in
                  Extended Channel Announcement
                  frame and reception of New VHT
                  Transmit Power Envelope
                  subelement in Channel Switch
                  Wrapper element in Beacon/Probe
                  Response frames, and associated
                  extended channel switching
                  procedure by a STA.
      DSE9.10     Transmission of New Country        10.39.4               (CF1 and       Yes   No    N/A
                  element in Extended Channel                              CF29):M
                  Announcement frame and
                  transmission of New Country
                  subelement in Channel Switch
                  Wrapper element in Beacon/Probe
                  Response frames, and associated
                  extended channel switching
                  procedure by an AP.
      DSE9.11     Transmission of New Country        10.39.4               (CF2.2 and     Yes   No    N/A
                  element in Extended Channel                              CF29):M
                  Announcement frame and
                  transmission of New Country
                  subelement in Channel Switch
                  Wrapper element in Beacon/Probe
                  Response frames, and associated
                  extended channel switching
                  procedure by a STA.
      DSE9.12     Reception of New Country element   10.39.4               CF29:M         Yes   No    N/A
                  in Extended Channel
                  Announcement frame and
                  reception of New Country
                  subelement in Channel Switch
                  Wrapper element in Beacon/Probe
                  Response frames, and associated
                  extended channel switching
                  procedure by a STA.


     B.4.19 High-throughput (HT) features

     Change the following rows in the B.4.19.1 table:

     B.4.19.1 HT MAC features


         Item                Protocol capability          References             Status         Support

      HTM3            MPDU aggregation
      HTM3.5          Transmission of A-MPDU            8.4.2.58.3, 11.3     CF16:O       Yes   No    N/A
                                                                             CF29:M

      HTM8            Duration/ID rules for A-MPDU      8.2.4.2              CF16:O       Yes   No    N/A
                      and TXOP                                               CF29:M




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     Insert B.4.27 to B4.27.2 after B.4.26.2:


     B.4.27 Very high throughput (VHT) features

     B.4.27.1 VHT MAC features


           Item                 Protocol capability           References               Status              Support
                        Are the following MAC protocol
                        features supported?
      VHTM1             VHT capabilities signaling
      VHTM1.1           VHT capabilities element            8.4.2.160.1           CF29:M             Yes    No    N/A
      VHTM1.2           Signaling of STA capabilities in    8.4.2.160.1,          (CF29 AND          Yes    No    N/A
                        Probe Request, (Re)Association      8.3.3.9, 8.3.3.5,     CF2):M
                        Request frames                      8.3.3.7               (CF29 AND
                                                                                  CF21):M
      VHTM1.3           Signaling of STA and BSS            8.4.2.160,            (CF29 AND          Yes    No    N/A
                        capabilities in Beacon, Probe       8.3.3.2,              CF1):M
                        Response, (Re)Association           8.3.3.10,             (CF29 AND
                        Response frames                     8.3.3.6, 8.3.3.8      CF21):M
      VHTM2             Signaling of VHT operation          8.4.2.161             (CF29 AND          Yes    No    N/A
                                                                                  CF1):M
                                                                                  (CF29 AND
                                                                                  CF21):M
                                                                                  (CF29 AND
                                                                                  CF2.2):M
      VHTM3             Link adaptation
      VHTM3.1           Use of the VHT variant HT Control   8.2.4.6,              CF29:O             Yes    No    N/A
                        field for link adaptation in        8.3.3.14, 9.28.3
                        immediate response exchange.
      VHTM4             Transmit beamforming
      *VHTM4.1          SU Beamformer Capable               8.4.2.160             CF29:O             Yes    No    N/A
      *VHTM4.2          SU Beamformee Capable               8.4.2.160             CF29:O             Yes    No    N/A
      *VHTM4.3          MU Beamformer Capable               8.4.2.160             CF1 AND            Yes    No    N/A
                                                                                  VHTM4.1:O
      *VHTM4.4          MU Beamformee Capable               8.4.2.160             CF2 AND            Yes    No    N/A
                                                                                  VHTM4.2:O
      VHTM4.5           Transmission of Null Data packet    9.31                  VHTM4.1:M          Yes    No    N/A
      VHTM4.6           Reception of Null Data Packet       9.31                  VHTM4.2:M
      VHTM5             VHT Sounding Protocol
      VHTM5.1           VHT sounding protocol as SU         9.31.5                VHTM4.1:M          Yes    No    N/A
                        beamformer
      VHTM5.2           VHT sounding protocol as SU         9.31.5                VHTM4.2:M          Yes    No    N/A
                        beamformee
      VHTM5.3           VHT sounding protocol as MU         9.31.5                VHTM4.3:M          Yes    No    N/A
                        beamformer
      VHTM5.4           VHT sounding protocol as MU         9.31.5                VHTM4.4:M          Yes    No    N/A
                        beamformee
      VHTM6             TXOP Sharing
      VHTM6.1           Sharing of EDCA TXOP                9.19.2.3a             CF29:O             Yes    No    N/A
      VHTM6.2           Use of Primary and Secondary AC     9.19.2.3a             VHTM6.1: M         Yes    No    N/A




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     B.4.27.1 VHT MAC features


           Item                  Protocol capability             References         Status           Support
      VHTM7             TXOP Power Saving                      10.2.1.19         CF29:O        Yes    No   N/A
      VHTM8             BSS Operation
      VHTM8.1           Use of primary 20 MHz, secondary       9.3.2.5a,         CF29:M        Yes    No   N/A
                        20 MHz, and secondary 40 MHz           9.3.2.6
                        channels
      VHTM8.2           Use of secondary 80 MHz channels       10.39.1           (VHTP3.4 OR   Yes    No   N/A
                        for 160 MHz and 80+80 MHz                                VHTP3.5):M
      VHTM8.3           CCA on primary 20 MHz, secondary       10.39.5           CF29:M        Yes    No   N/A
                        20 MHz, and secondary 40 MHz
                        channels
      VHTM8.4           CCA on secondary 80 MHz channels       10.39.5           (VHTP3.4 OR   Yes    No   N/A
                        for 160 MHz and 80+80 MHz                                VHTP3.5):M
      VHTM9             Group ID
      VHTM9.1           Transmission of Group ID               8.5.23.3          VHTM4.3:M     Yes    No   N/A
                        Management frame
      VHTM9.2           Reception of Group ID Management       8.5.23.3          VHTM4.4:M
                        frame
      VHTM10            Bandwidth signaling
      VHTM10.1          Support for non-HT bandwidth           9.3.2.5a          CF29:M        Yes    No   N/A
                        signaling and static operation
      VHTM10.2          Support for non-HT bandwidth           9.3.2.5a          CF29:O        Yes    No   N/A
                        signaling and dynamic operation
      VHTM11            VHT single MPDU format                 9.12.7            CF29:M        Yes    No   N/A
      VHTM12            Partial AID in VHT PPDU                9.17a             CF29:M        Yes    No   N/A
      VHTM13            Extended BSS Load element              8.4.2.162         CF29:O        Yes    No   N/A
      VHTM13.1          Transmission of the Extended BSS       8.4.2.162         CF1 AND       Yes    No   N/A
                        Load element                                             CF29:O
      VHTM14            Quiet Channel element
      VHTM14.1          Transmission of Quiet Channel          8.3.3.2,          (CF1 OR       Yes    No   N/A
                        element by an AP or mesh station in    8.3.3.10,         CF21) AND
                        Beacon and Probe Response frames       8.4.2.167,        CF10 AND
                                                               10.9.3            CF29 AND
                                                                                 VHTP3.4:O
      VHTM14.2          Transmission of Quiet Channel          8.3.3.2,          (CF2 OR       Yes    No   N/A
                        element by an independent station or   8.3.3.10,         CF21) AND
                        mesh station in Beacon and Probe       8.4.2.167,        CF10 AND
                        Response frames                        10.9.3            CF29 AND
                                                                                 VHTP3.4:O
      VHTM14.3          Reception of Quiet Channel element     8.3.3.2,          (CF2 OR       Yes    No   N/A
                        by an independent station or mesh      8.3.3.10,         CF21) AND
                        station in Beacon and Probe            8.4.2.167,        CF10 AND
                        Response frames                        10.9.3            CF29:M
      VHTM15            Space-time block coding (STBC)
      VHTM15.1          STBC operation                         8.4.2.160, 9.15   VHTP9:M       Yes    No   N/A
      VHTM15.2          Transmission of at least 2x1 STBC      8.4.2.160.2       VHTP9:O.1     Yes    No   N/A
      VHTM15.3          Reception of 1 STBC spatial stream     8.4.2.160.2       VHTP9:O.1     Yes    No   N/A
      VHTM15.4          Reception of 2 STBC spatial stream     8.4.2.160.2       VHTM15.3:O    Yes    No   N/A




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     B.4.27.1 VHT MAC features


          Item                  Protocol capability            References          Status              Support
      VHTM15.5          Reception of 3 STBC spatial stream   8.4.2.160.2      VHTM15.4:O         Yes    No    N/A
      VHTM15.6          Reception of 4 STBC spatial stream   8.4.2.160.2      VHTM15.5:O         Yes    No    N/A
      VHTM16            Highest Supported Long GI Data
                        Rate
      VHTM16.1          Tx Highest Supported Long GI Data    8.4.2.160.3      CF29:M             Yes    No    N/A
                        Rate
      VHTM16.2          Rx Highest Supported Long GI Data    8.4.2.160.3      CF29:M             Yes    No    N/A
                        Rate
                                                                declaration of Tx and Rx Highest Supported Long GI
      Data Rates.




     B.4.27.2 VHT PHY features


          Item                  Protocol capability            References          Status              Support
                        Are the following PHY protocol
                        features supported?
      VHTP1             PHY operating modes
      VHTP1.1           Operation according to Clause 18     22.1.4           CF29:M             Yes    No    N/A
                        (Orthogonal frequency division
                        multiplexing (OFDM) PHY
                        specification) and/or Clause 20
                        (High Throughput)
      VHTP2             VHT format                           22.3.2           CF29:M             Yes    No    N/A
      VHTP3             BSS bandwidth
      VHTP3.1           20 MHz operation                     10.39.1          CF29:M             Yes    No    N/A
      VHTP3.2           40 MHz operation                     10.39.1          CF29:M             Yes    No    N/A
      VHTP3.3           80 MHz operation                     10.39.1          CF29:M             Yes    No    N/A
      VHTP3.4           160 MHz operation                    10.39.1          CF29:O             Yes    No    N/A
                                                                              VHTP3.5:M
      VHTP3.5           80+80 MHz operation                  10.39.1          CF29:O             Yes    No    N/A
      VHTP4             Bandwidth indication                 18.3.5.5         CF29:M             Yes    No    N/A
      VHTP5             PHY timing parameters
      VHTP5.1           Values in 20 MHz channel             22.3.6           CF29:M             Yes    No    N/A
      VHTP5.2           Values in 40 MHz channel             22.3.6           CF29:M             Yes    No    N/A
      VHTP5.3           Values in 80 MHz channel             22.3.6           CF29:M             Yes    No    N/A
      VHTP5.4           Values in 160 MHz channel            22.3.6           VHTP3.4:M          Yes    No    N/A
      VHTP5.5           Values in 80+80 MHz channel          22.3.6           VHTP3.5:M          Yes    No    N/A
      VHTP6             VHT preamble                         22.3.8           CF29:M             Yes    No    N/A
      VHTP7             Use of LDPC Code                     22.3.10.5.4      CF29:O             Yes    No    N/A
      VHTP8             Modulation and coding schemes
                        (MCS)
      VHTP8.1           CBW20, CBW40 and CBW80               22.5



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     B.4.27.2 VHT PHY features


           Item                  Protocol capability    References      Status            Support
      VHTP8.1.1         VHT-MCS with Index 0-7 and     22.5          CF29:M         Yes    No   N/A
                        NSS = 1
      VHTP8.1.2         VHT-MCS with Index 0-8 and     22.5          VHTP8.1.1:O    Yes    No   N/A
                        NSS = 1
      VHTP8.1.3         VHT-MCS with Index 0-9 and     22.5          VHTP8.1.2:O    Yes    No   N/A
                        NSS = 1
      VHTP8.1.4         VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 2
      VHTP8.1.5         VHT-MCS with Index 0-8 and     22.5          VHTP8.1.4:O    Yes    No   N/A
                        NSS = 2
      VHTP8.1.6         VHT-MCS with Index 0-9 and     22.5          VHTP8.1.5:O    Yes    No   N/A
                        NSS = 2
      VHTP8.1.7         VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 3
      VHTP8.1.8         VHT-MCS with Index 0-8 and     22.5          VHTP8.1.7:O    Yes    No   N/A
                        NSS = 3
      VHTP8.1.9         VHT-MCS with Index 0-9 and     22.5          VHTP8.1.7:O    Yes    No   N/A
                        NSS = 3
      VHTP8.1.10        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 4
      VHTP8.1.11        VHT-MCS with Index 0-8 and     22.5          VHTP8.1.10:O   Yes    No   N/A
                        NSS = 4
      VHTP8.1.12        VHT-MCS with Index 0-9 and     22.5          VHTP8.1.11:O   Yes    No   N/A
                        NSS = 4
      VHTP8.1.13        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 5
      VHTP8.1.14        VHT-MCS with Index 0-8 and     22.5          VHTP8.1.13:O   Yes    No   N/A
                        NSS = 5
      VHTP8.1.15        VHT-MCS with Index 0-9 and     22.5          VHTP8.1.14:O   Yes    No   N/A
                        NSS = 5
      VHTP8.1.16        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 6
      VHTP8.1.17        VHT-MCS with Index 0-8 and     22.5          VHTP8.1.16:O   Yes    No   N/A
                        NSS = 6
      VHTP8.1.18        VHT-MCS with Index 0-9 and     22.5          VHTP8.1.17:O   Yes    No   N/A
                        NSS = 6
      VHTP8.1.19        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 7
      VHTP8.1.20        VHT-MCS with Index 0-8 and     22.5          VHTP8.1.19:O   Yes    No   N/A
                        NSS = 7
      VHTP8.1.21        VHT-MCS with Index 0-9 and     22.5          VHTP8.1.20:O   Yes    No   N/A
                        NSS = 7
      VHTP8.1.22        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 8
      VHTP8.1.23        VHT-MCS with Index 0-8 and     22.5          VHTP8.1.22:O   Yes    No   N/A
                        NSS = 8
      VHTP8.1.24        VHT-MCS with Index 0-9 and     22.5          VHTP8.1.23:O   Yes    No   N/A
                        NSS = 8



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     B.4.27.2 VHT PHY features


          Item                 Protocol capability      References          Status              Support
      VHTP8.2           CBW160                        22.5
      VHTP8.2.1         VHT-MCS with Index 0-7 and    22.5             VHTP3.4:M          Yes    No    N/A
                        NSS = 1
      VHTP8.2.2         VHT-MCS with Index 0-8 and    22.5             VHTP8.2.1:O        Yes    No    N/A
                        NSS = 1
      VHTP8.2.3         VHT-MCS with Index 0-9 and    22.5             VHTP8.2.2:O        Yes    No    N/A
                        NSS = 1
      VHTP8.2.4         VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 2
      VHTP8.2.5         VHT-MCS with Index 0-8 and    22.5             VHTP8.2.4:O        Yes    No    N/A
                        NSS = 2
      VHTP8.2.6         VHT-MCS with Index 0-9 and    22.5             VHTP8.2.5:O        Yes    No    N/A
                        NSS = 2
      VHTP8.2.7         VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 3
      VHTP8.2.8         VHT-MCS with Index 0-8 and    22.5             VHTP8.2.7:O        Yes    No    N/A
                        NSS = 3
      VHTP8.2.9         VHT-MCS with Index 0-9 and    22.5             VHTP8.2.8:O        Yes    No    N/A
                        NSS = 3
      VHTP8.2.10        VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 4
      VHTP8.2.11        VHT-MCS with Index 0-8 and    22.5             VHTP8.2.10:O       Yes    No    N/A
                        NSS = 4
      VHTP8.2.12        VHT-MCS with Index 0-9 and    22.5             VHTP8.2.11:O       Yes    No    N/A
                        NSS = 4
      VHTP8.2.13        VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 5
      VHTP8.2.14        VHT-MCS with Index 0-8 and    22.5             VHTP8.2.13:O       Yes    No    N/A
                        NSS = 5
      VHTP8.2.15        VHT-MCS with Index 0-9 and    22.5             VHTP8.2.14:O       Yes    No    N/A
                        NSS = 5
      VHTP8.2.16        VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 6
      VHTP8.2.17        VHT-MCS with Index 0-8 and    22.5             VHTP8.2.16:O       Yes    No    N/A
                        NSS = 6
      VHTP8.2.18        VHT-MCS with Index 0-9 and    22.5             VHTP8.2.17:O       Yes    No    N/A
                        NSS = 6
      VHTP8.2.19        VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 7
      VHTP8.2.20        VHT-MCS with Index 0-8 and    22.5             VHTP8.2.19:O       Yes    No    N/A
                        NSS = 7
      VHTP8.2.21        VHT-MCS with Index 0-9 and    22.5             VHTP8.2.20:O       Yes    No    N/A
                        NSS = 7
      VHTP8.2.22        VHT-MCS with Index 0-7 and    22.5             CF29:O             Yes    No    N/A
                        NSS = 8
      VHTP8.2.23        VHT-MCS with Index 0-8 and    22.5             VHTP8.2.22:O       Yes    No    N/A
                        NSS = 8




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     B.4.27.2 VHT PHY features


           Item                  Protocol capability    References      Status            Support
      VHTP8.2.24        VHT-MCS with Index 0-9 and     22.5          VHTP8.2.23:O   Yes    No   N/A
                        NSS = 8
      VHTP8.3           CBW80+80                       22.5
      VHTP8.3.1         VHT-MCS with Index 0-7 and     22.5          VHTP3.5:M      Yes    No   N/A
                        NSS = 1
      VHTP8.3.2         VHT-MCS with Index 0-8 and     22.5          VHTP8.3.1:O    Yes    No   N/A
                        NSS = 1
      VHTP8.3.3         VHT-MCS with Index 0-9 and     22.5          VHTP8.3.2:O    Yes    No   N/A
                        NSS = 1
      VHTP8.3.4         VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 2
      VHTP8.3.5         VHT-MCS with Index 0-8 and     22.5          VHTP8.3.4:O    Yes    No   N/A
                        NSS = 2
      VHTP8.3.6         VHT-MCS with Index 0-9 and     22.5          VHTP8.3.5:O    Yes    No   N/A
                        NSS = 2
      VHTP8.3.7         VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 3
      VHTP8.3.8         VHT-MCS with Index 0-8 and     22.5          VHTP8.3.7:O    Yes    No   N/A
                        NSS = 3
      VHTP8.3.9         VHT-MCS with Index 0-9 and     22.5          VHTP8.3.8:O    Yes    No   N/A
                        NSS = 3
      VHTP8.3.10        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 4
      VHTP8.3.11        VHT-MCS with Index 0-8 and     22.5          VHTP8.3.10:O   Yes    No   N/A
                        NSS = 4
      VHTP8.3.12        VHT-MCS with Index 0-9 and     22.5          VHTP8.3.11:O   Yes    No   N/A
                        NSS = 4
      VHTP8.3.13        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 5
      VHTP8.3.14        VHT-MCS with Index 0-8 and     22.5          VHTP8.3.13:O   Yes    No   N/A
                        NSS = 5
      VHTP8.3.15        VHT-MCS with Index 0-9 and     22.5          VHTP8.3.14:O   Yes    No   N/A
                        NSS = 5
      VHTP8.3.16        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 6
      VHTP8.3.17        VHT-MCS with Index 0-8 and     22.5          VHTP8.3.16:O   Yes    No   N/A
                        NSS = 6
      VHTP8.3.18        VHT-MCS with Index 0-9 and     22.5          VHTP8.3.17:O   Yes    No   N/A
                        NSS = 6
      VHTP8.3.19        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 7
      VHTP8.3.20        VHT-MCS with Index 0-8 and     22.5          VHTP8.3.19:O   Yes    No   N/A
                        NSS = 7
      VHTP8.3.21        VHT-MCS with Index 0-9 and     22.5          VHTP8.3.20:O   Yes    No   N/A
                        NSS = 7
      VHTP8.3.22        VHT-MCS with Index 0-7 and     22.5          CF29:O         Yes    No   N/A
                        NSS = 8




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     B.4.27.2 VHT PHY features


          Item                  Protocol capability              References          Status              Support
      VHTP8.3.23        VHT-MCS with Index 0-8 and             22.5             VHTP8.3.22:O       Yes    No    N/A
                        NSS = 8
      VHTP8.3.24        VHT-MCS with Index 0-9 and             22.5             VHTP8.3.23:O       Yes    No    N/A
                        NSS = 8
      VHTP8.4           Transmit and receive support for 400   22.5             CF29:O             Yes    No    N/A
                        ns GI
      VHTP9             Space-time block coding (STBC)         22.3.10.9.4      CF29:O             Yes    No    N/A
      VHTP10            Non-HT duplicate format                22.3.10.12       CF29:M             Yes    No    N/A




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     Annex C
     (normative)

     ASN.1 encoding of the MAC and PHY MIB

     C.3 MIB Detail

     Change Dot11StationConfigEntry as follows:

     Dot11StationConfigEntry ::= SEQUENCE
        {
            dot11StationID                                        MacAddress,
            dot11MediumOccupancyLimit                             Unsigned32,
            dot11CFPollable                                       TruthValue,
            dot11CFPPeriod                                        Unsigned32,
            dot11CFPMaxDuration                                   Unsigned32,
            dot11AuthenticationResponseTimeOut                    Unsigned32,
            dot11PrivacyOptionImplemented                         TruthValue,
            dot11PowerManagementMode                              INTEGER,
            dot11DesiredSSID                                      OCTET STRING,
            dot11DesiredBSSType                                   INTEGER,
            dot11OperationalRateSet                               OCTET STRING,
            dot11BeaconPeriod                                     Unsigned32,
            dot11DTIMPeriod                                       Unsigned32,
            dot11AssociationResponseTimeOut                       Unsigned32,
            dot11DisassociateReason                               Unsigned32,
            dot11DisassociateStation                              MacAddress,
            dot11DeauthenticateReason                             Unsigned32,
            dot11DeauthenticateStation                            MacAddress,
            dot11AuthenticateFailStatus                           Unsigned32,
            dot11AuthenticateFailStation                          MacAddress,
            dot11MultiDomainCapabilityImplemented                 TruthValue,
            dot11MultiDomainCapabilityActivated                   TruthValue,
            dot11CountryString                                    OCTET STRING,
            dot11SpectrumManagementImplemented                    TruthValue,
            dot11SpectrumManagementRequired                       TruthValue,
            dot11RSNAOptionImplemented                            TruthValue,
            dot11RSNAPreauthenticationImplemented                 TruthValue,
            dot11OperatingClassesImplemented                      TruthValue,
            dot11OperatingClassesRequired                         TruthValue,
            dot11QosOptionImplemented                             TruthValue,
            dot11ImmediateBlockAckOptionImplemented               TruthValue,
            dot11DelayedBlockAckOptionImplemented                 TruthValue,
            dot11DirectOptionImplemented                          TruthValue,
            dot11APSDOptionImplemented                            TruthValue,
            dot11QAckOptionImplemented                            TruthValue,
            dot11QBSSLoadImplemented                              TruthValue,
            dot11QueueRequestOptionImplemented                    TruthValue,
            dot11TXOPRequestOptionImplemented                     TruthValue,
            dot11MoreDataAckOptionImplemented                     TruthValue,
            dot11AssociateInNQBSS                                 TruthValue,
            dot11DLSAllowedInQBSS                                 TruthValue,
            dot11DLSAllowed                                       TruthValue,
            dot11AssociateStation                                 MacAddress,
            dot11AssociateID                                      Unsigned32,
            dot11AssociateFailStation                             MacAddress,
            dot11AssociateFailStatus                              Unsigned32,
            dot11ReassociateStation                               MacAddress,



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             dot11ReassociateID                                     Unsigned32,
             dot11ReassociateFailStation                            MacAddress,
             dot11ReassociateFailStatus                             Unsigned32,
             dot11RadioMeasurementImplemented                       TruthValue,
             dot11RadioMeasurementActivated                         TruthValue,
             dot11RMMeasurementProbeDelay                           Unsigned32,
             dot11RMMeasurementPilotPeriod                          Unsigned32,
             dot11RMLinkMeasurementActivated                        TruthValue,
             dot11RMNeighborReportActivated                         TruthValue,
             dot11RMParallelMeasurementsActivated                   TruthValue,
             dot11RMRepeatedMeasurementsActivated                   TruthValue,
             dot11RMBeaconPassiveMeasurementActivated               TruthValue,
             dot11RMBeaconActiveMeasurementActivated                TruthValue,
             dot11RMBeaconTableMeasurementActivated                 TruthValue,
             dot11RMBeaconMeasurementReportingConditionsActivated   TruthValue,
             dot11RMFrameMeasurementActivated                       TruthValue,
             dot11RMChannelLoadMeasurementActivated                 TruthValue,
             dot11RMNoiseHistogramMeasurementActivated              TruthValue,
             dot11RMStatisticsMeasurementActivated                  TruthValue,
             dot11RMLCIMeasurementActivated                         TruthValue,
             dot11RMLCIAzimuthActivated                             TruthValue,
             dot11RMTransmitStreamCategoryMeasurementActivated      TruthValue,
             dot11RMTriggeredTransmitStreamCategoryMeasurementActivated TruthValue,
             dot11RMAPChannelReportActivated                        TruthValue,
             dot11RMMIBActivated                                    TruthValue,
             dot11RMMaxMeasurementDuration                          Unsigned32,
             dot11RMNonOperatingChannelMaxMeasurementDuration       Unsigned32,
             dot11RMMeasurementPilotTransmissionInformationActivated TruthValue,
             dot11RMMeasurementPilotActivated                       Unsigned32,
             dot11RMNeighborReportTSFOffsetActivated                TruthValue,
             dot11RMRCPIMeasurementActivated                        TruthValue,
             dot11RMRSNIMeasurementActivated                        TruthValue,
             dot11RMBSSAverageAccessDelayActivated                  TruthValue,
             dot11RMBSSAvailableAdmissionCapacityActivated          TruthValue,
             dot11RMAntennaInformationActivated                     TruthValue,
             dot11FastBSSTransitionImplemented                      TruthValue,
             dot11LCIDSEImplemented                                 TruthValue,
             dot11LCIDSERequired                                    TruthValue,
             dot11DSERequired                                       TruthValue,
             dot11ExtendedChannelSwitchActivated                    TruthValue,
             dot11RSNAProtectedManagementFramesActivated            TruthValue,
             dot11RSNAUnprotectedManagementFramesAllowed            TruthValue,
             dot11AssociationSAQueryMaximumTimeout                  Unsigned32,
             dot11AssociationSAQueryRetryTimeout                    Unsigned32,
             dot11HighThroughputOptionImplemented                   TruthValue,
             dot11RSNAPBACRequired                                  TruthValue,
             dot11PSMPOptionImplemented                             TruthValue,
             dot11TunneledDirectLinkSetupImplemented                TruthValue,
             dot11TDLSPeerUAPSDBufferSTAActivated                   TruthValue,
             dot11TDLSPeerPSMActivated                              TruthValue,
             dot11TDLSPeerUAPSDIndicationWindow                     Unsigned32,
             dot11TDLSChannelSwitchingActivated                     TruthValue,
             dot11TDLSPeerSTAMissingAckRetryLimit                   Unsigned32,
             dot11TDLSResponseTimeout                               Unsigned32,
             dot11OCBActivated                                      TruthValue,
             dot11TDLSProbeDelay                                    Unsigned32,
             dot11TDLSDiscoveryRequestWindow                        Unsigned32,
             dot11TDLSACDeterminationInterval                       Unsigned32,
             dot11WirelessManagementImplemented                     TruthValue,
             dot11BssMaxIdlePeriod                                  Unsigned32,
             dot11BssMaxIdlePeriodOptions                           OCTET STRING,
             dot11TIMBroadcastInterval                              Unsigned32,
             dot11TIMBroadcastOffset                                Integer32,
             dot11TIMBroadcastHighRateTIMRate                       Unsigned32,




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              dot11TIMBroadcastLowRateTIMRate                             Unsigned32,
              dot11StatsMinTriggerTimeout                                 Unsigned32,
              dot11RMCivicMeasurementActivated                            TruthValue,
              dot11RMIdentifierMeasurementActivated                       TruthValue,
              dot11TimeAdvertisementDTIMInterval                          Unsigned32,
              dot11TimeAdvertisementTimeError                             OCTET STRING,
              dot11TimeAdvertisementTimeValue                             OCTET STRING,
              dot11RM3rdPartyMeasurementActivated                         TruthValue,
              dot11InterworkingServiceImplemented                         TruthValue,
              dot11InterworkingServiceActivated                           TruthValue,
              dot11QosMapImplemented                                      TruthValue,
              dot11QosMapActivated                                        TruthValue,
              dot11EBRImplemented                                         TruthValue,
              dot11EBRActivated                                           TruthValue,
              dot11ESNetwork                                              TruthValue,
              dot11SSPNInterfaceImplemented                               TruthValue,
              dot11SSPNInterfaceActivated                                 TruthValue,
              dot11HESSID                                                 MacAddress,
              dot11EASImplemented                                         TruthValue,
              dot11EASActivated                                           TruthValue,
              dot11MSGCFImplemented                                       TruthValue,
              dot11MSGCFActivated                                         TruthValue,
              dot11MeshActivated                                          TruthValue,
              dot11RejectUnadmittedTraffic                                TruthValue,
              dot11BSSBroadcastNullCount                                  Unsigned32,
              dot11QMFActivated                                           TruthValue,
              dot11QMFReconfigurationActivated                            TruthValue,
              dot11QMFPolicyChangeTimeout                                 Unsigned32,
              dot11RobustAVStreamingImplemented                           TruthValue,
              dot11MultibandImplemented                                   TruthValue,
              dot11VHTOptionImplemented                                   TruthValue,
              dot11OperatingModeNotificationImplemented                   TruthValue
         }

     Insert the following after the dot11RobustAVStreamingImplemented OPJECT-TYPE element in the
     Dot11StationConfig TABLE:

     dot11VHTOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute indicates whether the entity is VHT Capable."
         ::= { dot11StationConfigEntry 141}

     dot11OperatingModeNotificationImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute indicates whether the entity is Operating Mode Notification
            Capable."
         ::= { dot11StationConfigEntry 142}

     Change dot11RSNAConfigPairwiseCipherSizeImplemented as follows:

     dot11RSNAConfigPairwiseCipherSizeImplemented OBJECT-TYPE



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          SYNTAX Unsigned32 (0..4294967295)
          MAX-ACCESS read-only
          STATUS current
          DESCRIPTION
             "This is a capability variable.
             Its value is determined by device capabilities.

             This object indicates the length in bits of the pairwise cipher key. This
             should be 256 for TKIP and 128 or 256 for CCMP and 128 or 256 for GCMP."
          ::= { dot11RSNAConfigPairwiseCiphersEntry 4 }


     Change dot11BeaconRprtPhyType as follows:

     dot11BeaconRprtPhyType OBJECT-TYPE
        SYNTAX INTEGER {
            fhss(1),
            dsss(2),
            irbaseband(3),
            ofdm(4),
            hrdsss(5),
            erp(6),
            ht(7)
            dmg(8),
            vht(9) }
        UNITS "dot11PHYType"
        MAX-ACCESS read-create
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the SME when a measurement report is completed.

             This attribute indicates the PHY used for frame reception in this row of
             the frame report."
          ::= { dot11BeaconReportEntry 9 }

     Change dot11FrameRprtPhyType as follows:

     dot11FrameRprtPhyType OBJECT-TYPE
        SYNTAX INTEGER {
            fhss(1),
            dsss(2),
            irbaseband(3),
            ofdm(4),
            hrdsss(5),
            erp(6),
            ht(7),
            dmg(8),
            vht(9) }
        UNITS "dot11PHYType"
        MAX-ACCESS read-create
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the SME when a measurement report is completed.

             This attribute indicates the PHY used for frame reception in this row of
             the frame report."
          ::= { dot11FrameReportEntry 10 }

     Change dot11RMNeighborReportPhyType as follows:

     dot11RMNeighborReportPhyType OBJECT-TYPE



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         SYNTAX INTEGER {
            fhss(1),
            dsss(2),
            irbaseband(3),
            ofdm(4),
            hrdsss(5),
            erp(6),
            ht(7)
            dmg(8),
            vht(9) }
         UNITS "dot11PHYType"
         MAX-ACCESS read-create
         STATUS current
         DESCRIPTION
            "This is a status variable.
            It is written by the SME when a measurement report is completed.

            This attribute indicates the PHY Type of the neighbor AP identified by
            this BSSID."
         ::= { dot11RMNeighborReportEntry 15 }


     Change dot11RMNeighborReportHTRxHighestSupportedDataRate as follows:

     dot11RMNeighborReportHTRxHighestSupportedDataRate OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-create
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the SME when a measurement report is completed.

            The HT Highest Supported Data Rate is a 10-bit subfield that defines the
            highest HT PPDU data rate that the STA is able to receive, in units of 1
            Mb/s, where 1 represents 1 Mb/s, and incrementing by 1 Mb/s steps to the
            value 1023, which represents 1023 Mb/s. See 8.4.2.58.4."
         ::= { dot11RMNeighborReportEntry 40 }

     Change dot11WNMRqstBssTransitCandidateList as follows:

     dot11WNMRqstBssTransitCandidateList OBJECT-TYPE
        SYNTAX OCTET STRING (SIZE(0..2304 11426))
        MAX-ACCESS read-create
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity when making a management
            request. Changes take effect when dot11WNMRqstRowStatus is set to Active.
            This attribute lists one or more Neighbor Report elements described in
            8.4.2.39. If the STA has no Transition Candidate information in response
            to the BSS Transition Management Query frame, the candidate list is null.
            "
        ::= { dot11WNMRequestEntry 51 }

     Change dot11WNMBssTransitRprtCandidateList as follows:

     dot11WNMBssTransitRprtCandidateList OBJECT-TYPE
        SYNTAX OCTET STRING (SIZE(0..2304 11426))
        MAX-ACCESS read-create
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the SME when a management report is completed.



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             This attribute lists one or more Neighbor Report elements which are BSS
             transition candidates for this request. The Neighbor Report elements are
             described in 8.4.2.39."
          ::= { dot11WNMBssTransitReportEntry 7 }

     Insert the following after the dot11APC TABLE:

     -- *********************************************************************
     -- * dot11VHTStationConfig TABLE
     -- **********************************************************************
     dot11VHTStationConfigTable OBJECT-TYPE
        SYNTAX SEQUENCE OF Dot11VHTStationConfigEntry
        MAX-ACCESS not-accessible
        STATUS current
        DESCRIPTION
            "Station Configuration attributes. In tabular form to allow for multiple
            instances on an agent."
        ::= { dot11smt 31 }

     dot11VHTStationConfigEntry OBJECT-TYPE
        SYNTAX Dot11VHTStationConfigEntry
        MAX-ACCESS not-accessible
        STATUS current
        DESCRIPTION
            "An entry (conceptual row) in the dot11HTStationConfig Table.

             ifIndex - Each IEEE 802.11 interface is represented by an ifEntry.
             Interface tables in this MIB module are indexed by ifIndex."
          INDEX { ifIndex }
          ::= { dot11VHTStationConfigTable 1 }

     Dot11VHTStationConfigEntry ::=
        SEQUENCE {
            dot11MaxMPDULength                                          INTEGER,
            dot11VHTMaxRxAMPDUFactor                                    Unsigned32,
            dot11VHTControlFieldOptionImplemented                       TruthValue,
            dot11VHTTXOPPowerSaveOptionImplemented                      TruthValue,
            dot11VHTRxVHTMCSMap                                         OCTET STRING,
            dot11VHTRxHighestDataRateSupported                          Unsigned32,
            dot11VHTTxVHTMCSMap                                         OCTET STRING,
            dot11VHTTxHighestDataRateSupported                          Unsigned32,
            dot11VHTOBSSScanCount                                       Unsigned32
            }

     dot11MaxMPDULength OBJECT-TYPE
        SYNTAX INTEGER { short(3895), medium(7991), long(11454) }
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute indicates the supported maximum MPDU size."
          DEFVAL { short }
          ::= { dot11VHTStationConfigEntry 1 }

     dot11VHTMaxRxAMPDUFactor OBJECT-TYPE
        SYNTAX Unsigned32 (0..7)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.




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            This attribute indicates the maximum length of A-MPDU that the STA can
            receive. The Maximum Rx A-MPDU defined by this field is equal to
            2^(13+dot11VHTMaxRxAMPDUFactor) -1 octets."
         DEFVAL { 0 }
         ::= { dot11VHTStationConfigEntry 2 }

     dot11VHTControlFieldOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the station implementation is
            capable of receiving the VHT variant HT Control field."
         DEFVAL { false }
         ::= { dot11VHTStationConfigEntry 3 }

     dot11VHTTXOPPowerSaveOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the station implementation is
            capable of TXOP Power Save operation."
         DEFVAL { false }
         ::= { dot11VHTStationConfigEntry 4 }

     dot11VHTRxVHTMCSMap OBJECT-TYPE
        SYNTAX OCTET STRING (SIZE(8))
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            Each octet represents the highest VHT-MCS supported (for Rx) on the number
            of streams represented by the octet position (first octet represents 1
            stream, second octet represents 2 streams, etc.) A value 0 indicates that
            VHT-MCSs 0-7 are supported. A value 1 indicates that VHT-MCSs 0-8 are
            supported. A value 2 indicates that VHT-MCSs 0-9 are supported. A value 3
            indicates no support for that number of spatial streams."
         ::= { dot11VHTStationConfigEntry 5 }

     dot11VHTRxHighestDataRateSupported OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            Represents the highest data rate in Mb/s that the STA is capable of
            receiving."
         ::= { dot11VHTStationConfigEntry 6 }

     dot11VHTTxVHTMCSMap OBJECT-TYPE
        SYNTAX OCTET STRING (SIZE(8))
        MAX-ACCESS read-only
        STATUS current



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          DESCRIPTION
             "This is a capability variable.
             Its value is determined by device capabilities.

             Each octet represents the highest VHT-MCS supported (for Tx) on the number
             of streams represented by the octet position (first octet represents 1
             stream, second octet represents 2 streams, etc.). A value 0 indicates that
             VHT-MCSs 0-7 are supported. A value 1 indicates that VHT-MCSs 0-8 are
             supported. A value 2 indicates that VHT-MCSs 0-9 are supported. A value 3
             indicates no support for that number of spatial streams."
          ::= { dot11VHTStationConfigEntry 7 }

     dot11VHTTxHighestDataRateSupported OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             Represents the highest data rate in Mb/s that the STA is capable of
             transmitting."
          DEFVAL { 0 }
          ::= { dot11VHTStationConfigEntry 8 }

     dot11VHTOBSSScanCount OBJECT-TYPE
        SYNTAX Unsigned32 (3..100)
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity or the SME.
            Changes take effect as soon as practical in the implementation.

             This attribute indicates the minimum number of scan operations performed
             on a channel to detect another OBSS."
          DEFVAL { 3 }
          ::= { dot11VHTStationConfigEntry 9 }

     -- ********************************************************************
     -- * End of dot11VHTStationConfigTable TABLE
     -- ********************************************************************

     Change the dot11FragmentationThreshold object as follows:

     dot11FragmentationThreshold OBJECT-TYPE
        SYNTAX Unsigned32 (256..8000 11500)
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation.

             This attribute specifies the current maximum size, in octets, of the MPDU
             that may be delivered to the security encapsulation. This maximum size
             does not apply when an MSDU is transmitted using an HT-immediate or HT-
             delayed Block Ack agreement, or when an MSDU or MMPDU is carried in an A-
             MPDU that does not contain a VHT single MPDU. Fields added to the frame by
             security encapsulation are not counted against the limit specified by this
             attribute. Except as described above, an MSDU or MMPDU is fragmented when
             the resulting frame has an individual address in the Address1 field, and
             the length of the frame is larger than this threshold, excluding security
             encapsulation fields. The default value for this attribute is the lesser



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            of 8000 11500 or the aMPDUMaxLength or the aPSDUMaxLength of the attached
            PHY and the value never exceeds the lesser of 8000 11500 or the
            aMPDUMaxLength or the aPSDUMaxLength of the attached PHY."
         ::= { dot11OperationEntry 5 }


     Change the dot11PHYType object as follows:

     dot11PHYType OBJECT-TYPE
        SYNTAX INTEGER {
            fhss(1),
            dsss(2),
            irbaseband(3),
            ofdm(4),
            hrdsss(5),
            erp(6),
            ht(7)
            dmg(8),
            vht(9) }
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the PHY.

              This is an 8-bit integer value that identifies the PHY type supported by
              the attached PLCP and PMD. Currently defined values and their
              corresponding PHY types are:

            FHSS 2.4 GHz = 01, DSSS 2.4 GHz = 02, IR Baseband = 03,
            OFDM = 04, HRDSSS = 05, ERP = 06, HT = 07, DMG = 08, VHT = 09"
         ::= { dot11PhyOperationEntry 1 }

     Change the Dot11PhyTxPowerEntry object as follows:

     Dot11PhyTxPowerEntry ::=
        SEQUENCE {
            dot11NumberSupportedPowerLevelsImplemented              Unsigned32,
            dot11TxPowerLevel1                                      Unsigned32,
            dot11TxPowerLevel2                                      Unsigned32,
            dot11TxPowerLevel3                                      Unsigned32,
            dot11TxPowerLevel4                                      Unsigned32,
            dot11TxPowerLevel5                                      Unsigned32,
            dot11TxPowerLevel6                                      Unsigned32,
            dot11TxPowerLevel7                                      Unsigned32,
            dot11TxPowerLevel8                                      Unsigned32,
            dot11CurrentTxPowerLevel                                Unsigned32,
            dot11TxPowerLevelExtended                               OCTET STRING,
            dot11CurrentTxPowerLevelExtended                        Unsigned32 }

     Change the dot11CurrentTxPowerLevel object as follows:

     dot11CurrentTxPowerLevel OBJECT-TYPE
        SYNTAX Unsigned32 (1..8)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the PHY.




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             The TxPowerLevel N currently being used to transmit data. Some PHYs also
             use this value to determine the receiver sensitivity requirements for
             CCA."
             Set to min(N,8) where N is an index into dot11TxPowerLevel<N> or
             dot11TxPowerLevelExtended and identifies the transmit power level
             currently being used to transmit data. Some PHYs also use this value to
             determine the receiver sensitivity requirements for CCA."
          ::= { dot11PhyTxPowerEntry 10 }

     Insert following the dot11CurrentTxPowerLevel object:

     dot11TxPowerLevelExtended OBJECT-TYPE
        SYNTAX OCTET STRING (SIZE(2..256))
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             It has an even number of octets. It is organized as a variable length list
             of octet pairs, where each octet pair defines a big-endian 16-bit integer.
             The N-th integer represents the N-th EIRP, in units of 250 microWatts. The
             values dot11TxPowerLevel1 to dot11TxPowerLevel<min(8,
             dot11NumberSupportedPowerLevelsImplemented)> inclusive, in order,
             correspond to the first to min(8,
             dot11NumberSupportedPowerLevelsImplemented)-th integers in this variable.
             Where dot11TxPowerLevel1 to dot11TxPowerLevel<min(8,
             dot11NumberSupportedPowerLevelsImplemented)> inclusive contain EIRP
             values then, when converted from units of milliWatts to 250 microWatts,
             they shall appear in order in positions 1 to min(8,
             dot11NumberSupportedPowerLevelsImplemented) in this variable."
          ::= { dot11PhyTxPowerEntry 11 }

     dot11CurrentTxPowerLevelExtended OBJECT-TYPE
        SYNTAX Unsigned32 (1..128)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a status variable.
            It is written by the PHY.

             Contains an index into the integer array in dot11TxPowerLevelExtended
             (where the value 1 indicates the first value in dot11TxPowerLevelExtended,
             and so on) that identifies the transmit output power currently being used
             to transmit data."
          ::= { dot11PhyTxPowerEntry 12 }


     Change the dot11NumberOfSpatialStreamsImplemented and dot11NumberOfSpatialStreamsActivated
     objects as follows:

     dot11NumberOfSpatialStreamsImplemented OBJECT-TYPE
        SYNTAX Unsigned32 (1..48)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute indicates the maximum number of spatial streams
             implemented."
          DEFVAL { 2 }
          ::= { dot11PhyHTEntry 5 }



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     dot11NumberOfSpatialStreamsActivated OBJECT-TYPE
        SYNTAX Unsigned32 (1..48)
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation.

            This attribute indicates the maximum number of spatial streams enabled."
         DEFVAL { 2 }
         ::= { dot11PhyHTEntry 6 }

     Change the dot11NumberCompressedBeamformingMatrixSupportAntenna object as follows:

     dot11NumberCompressedBeamformingMatrixSupportAntenna OBJECT-TYPE
        SYNTAX Unsigned32 (1..48)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute indicates the maximum number of beamforming antennas the
            beamformee can support when compressed beamforming feedback matrix
            feedback is required."
         ::= { dot11TransmitBeamformingConfigEntry 14 }

     Insert the dot11 Phy VHT TABLE and dot11 VHT Transmit Beamforming table below after the
     dot11PhyDMG TABLE:

     -- **********************************************************************
     -- * dot11 Phy VHT TABLE
     -- **********************************************************************

     dot11PhyVHTTable OBJECT-TYPE
        SYNTAX SEQUENCE OF Dot11PhyVHTEntry
        MAX-ACCESS not-accessible
        STATUS current
        DESCRIPTION
            "Entry of attributes for dot11PhyVHTTable. Implemented as a table indexed
            on ifIndex to allow for multiple instances on an Agent."
        ::= { dot11phy 23 }

     dot11PhyVHTEntry OBJECT-TYPE
        SYNTAX Dot11PhyVHTEntry
        MAX-ACCESS not-accessible
        STATUS current
        DESCRIPTION
            "An entry in the dot11PhyHTEntry Table. ifIndex - Each IEEE 802.11
            interface is represented by an ifEntry. Interface tables in this MIB
            module are indexed by ifIndex."
        INDEX {ifIndex}
        ::= { dot11PhyVHTTable 1 }

     Dot11PhyVHTEntry ::=
        SEQUENCE {
            dot11VHTChannelWidthOptionImplemented                          INTEGER,
            dot11CurrentChannelWidth                                       INTEGER,
            dot11CurrentChannelCenterFrequencyIndex0                       Unsigned32,
            dot11CurrentChannelCenterFrequencyIndex1                       Unsigned32,
            dot11VHTShortGIOptionIn80Implemented                           TruthValue,



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              dot11VHTShortGIOptionIn80Activated                        TruthValue,
              dot11VHTShortGIOptionIn160and80p80Implemented             TruthValue,
              dot11VHTShortGIOptionIn160and80p80Activated               TruthValue,
              dot11VHTLDPCCodingOptionImplemented                       TruthValue,
              dot11VHTLDPCCodingOptionActivated                         TruthValue,
              dot11VHTTxSTBCOptionImplemented                           TruthValue,
              dot11VHTTxSTBCOptionActivated                             TruthValue,
              dot11VHTRxSTBCOptionImplemented                           TruthValue,
              dot11VHTRxSTBCOptionActivated                             TruthValue,
              dot11VHTMUMaxUsersImplemented                             Unsigned32,
              dot11VHTMUMaxNSTSPerUserImplemented                       Unsigned32,
              dot11VHTMUMaxNSTSTotalImplemented                         Unsigned32,
              dot11VHTMaxNTxChainsImplemented                           Unsigned32,
              dot11VHTMaxNTxChainsActivated                             Unsigned32
          }

     dot11VHTChannelWidthOptionImplemented OBJECT-TYPE
        SYNTAX INTEGER { contiguous80(0), contiguous160(1), noncontiguous80plus80(2)
            }
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute indicates the channel widths supported: 20/40/80 MHz, 20/
             40/80/160 MHz or 20/40/80/160/80+80 MHz."
          DEFVAL { contiguous80 }
          ::= { dot11PhyVHTEntry 1 }

     dot11CurrentChannelWidth OBJECT-TYPE
        SYNTAX INTEGER { cbw20(0), cbw40(1), cbw80(2), cbw160(3), cbw80p80(4) }
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a status variable.

             This attribute indicates the operating channel width."
          DEFVAL { cbw20 }
          ::= { dot11PhyVHTEntry 2 }

     dot11CurrentChannelCenterFrequencyIndex0 OBJECT-TYPE
        SYNTAX Unsigned32 (0..200)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a status variable.

             For a 20 MHz, 40 MHz, 80 MHz, or 160 MHz channel, denotes the channel
             center frequency.
             For an 80+80 MHz channel, denotes the center frequency of frequency
             segment 0. See 22.3.14."
          DEFVAL { 0 }
          ::= { dot11PhyVHTEntry 3 }

     dot11CurrentChannelCenterFrequencyIndex1 OBJECT-TYPE
        SYNTAX Unsigned32 (0..200)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a status variable.

              For an 80+80 MHz channel, denotes the center frequency of frequency
              segment 1.




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            Set to 0 for a 20 MHz, 40 MHz, 80 MHz, or 160 MHz channel. See 22.3.14."
         DEFVAL { 0 }
         ::= { dot11PhyVHTEntry 4 }

     dot11VHTShortGIOptionIn80Implemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the device is capable of
            receiving 80 MHz short guard interval packets."
         DEFVAL { false }
         ::= { dot11PhyVHTEntry 5 }

     dot11VHTShortGIOptionIn80Activated OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation. Changes
            made while associated with an AP or while operating a BSS should take
            effect only after disassociation or the deactivation of the BSS,
            respectively.

            This attribute, when true, indicates that the reception of 80 MHz short
            guard interval packets is enabled."
         DEFVAL { false }
         ::= { dot11PhyVHTEntry 6 }

     dot11VHTShortGIOptionIn160and80p80Implemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the device is capable of
            receiving 160 MHz and 80+80 MHz short guard interval packets."
         DEFVAL { false }
         ::= { dot11PhyVHTEntry 7 }

     dot11VHTShortGIOptionIn160and80p80Activated OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation. Changes
            made while associated with an AP or while operating a BSS should take
            effect only after disassociation or the deactivation of the BSS,
            respectively.

            This attribute, when true, indicates that the reception of 160 MHz and
            80+80 MHz short guard interval packets is enabled."
         DEFVAL { false }
         ::= { dot11PhyVHTEntry 8 }




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     dot11VHTLDPCCodingOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute, when true, indicates that the LDPC coding option for VHT
             packets is implemented."
          DEFVAL { false }
          ::= { dot11PhyVHTEntry 9 }

     dot11VHTLDPCCodingOptionActivated OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation. Changes
            made while associated with an AP or while operating a BSS should take
            effect only after disassociation or the deactivation of the BSS,
            respectively.

             This attribute, when true, indicates that the LDPC coding option for VHT
             packets is enabled."
          DEFVAL { false }
          ::= { dot11PhyVHTEntry 10 }

     dot11VHTTxSTBCOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute, when true, indicates that the device is capable of
             transmitting VHT PPDUs using STBC."
          DEFVAL { false }
          ::= { dot11PhyVHTEntry 11 }

     dot11VHTTxSTBCOptionActivated OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation. Changes
            made while associated with an AP or while operating a BSS should take
            effect only after disassociation or the deactivation of the BSS,
            respectively.

             This attribute, when true, indicates that the entity's capability for
             transmitting VHT PPDUs using STBC is enabled."
          DEFVAL { false }
          ::= { dot11PhyVHTEntry 12 }

     dot11VHTRxSTBCOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current




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         DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the device is capable of
            receiving VHT PPDUs using STBC."
         DEFVAL { false }
         ::= { dot11PhyVHTEntry 13 }

     dot11VHTRxSTBCOptionActivated OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation. Changes
            made while associated with an AP or while operating a BSS should take
            effect only after disassociation or the deactivation of the BSS,
            respectively.

            This attribute, when true, indicates that the entity's capability for
            receiving VHT PPDUs using STBC is enabled."
         DEFVAL { false }
         ::= { dot11PhyVHTEntry 14 }

     dot11VHTMUMaxUsersImplemented OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute indicates the maximum number of users to which this device
            is capable of transmitting within a VHT MU PPDU."
         DEFVAL { 1 }
         ::= { dot11PhyVHTEntry 15 }

     dot11VHTMUMaxNSTSPerUserImplemented OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute indicates the maximum number of space-time streams per user
            that this device is capable of transmitting within a VHT MU PPDU."
         DEFVAL { 1 }
         ::= { dot11PhyVHTEntry 16 }

     dot11VHTMUMaxNSTSTotalImplemented OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute indicates the maximum number of space-time streams for all
            users that this device is capable of transmitting within a VHT MU PPDU."
         DEFVAL { 1 }
         ::= { dot11PhyVHTEntry 17 }



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     dot11VHTMaxNTxChainsImplemented OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute indicates the maximum number of transmit chains within this
             device."
          DEFVAL { 1 }
          ::= { dot11PhyVHTEntry 18 }

     dot11VHTMaxNTxChainsActivated OBJECT-TYPE
        SYNTAX Unsigned32
        MAX-ACCESS read-write
        STATUS current
        DESCRIPTION
            "This is a control variable.
            It is written by an external management entity.
            Changes take effect as soon as practical in the implementation.

            This attribute indicates the maximum number of transmit chains that are
            activated within this device, unless this attribute exceeds
            dot11VHTMaxNTxChainsImplemented, in which case the maximum number of
            transmit chains that are activated within this device is equal to
            dot11VHTMaxNTxChainsImplemented."
        DEFVAL { 2147483647}
     ::= { dot11PhyVHTEntry 19 }

     -- **********************************************************************
     -- * End of dot11PhyVHT TABLE
     -- **********************************************************************

     -- **********************************************************************
     -- * dot11 VHT Transmit Beamforming Config TABLE
     -- **********************************************************************

     dot11VHTTransmitBeamformingConfigTable OBJECT-TYPE
        SYNTAX SEQUENCE OF Dot11VHTTransmitBeamformingConfigEntry
        MAX-ACCESS not-accessible
        STATUS current
        DESCRIPTION
            "Entry of attributes for dot11VHTTransmitBeamformingConfigTable.
            Implemented as a table indexed on ifIndex to allow for multiple instances
            on an Agent."
        ::= { dot11phy 24 }

     dot11VHTTransmitBeamformingConfigEntry OBJECT-TYPE
        SYNTAX Dot11VHTTransmitBeamformingConfigEntry
        MAX-ACCESS not-accessible
        STATUS current
        DESCRIPTION
            "An entry in the dot11VHTTransmitBeamformingConfig Table.
            ifIndex - Each IEEE 802.11 interface is represented by an ifEntry.
            Interface tables in this MIB module are indexed by ifIndex."
        INDEX {ifIndex}
        ::= { dot11VHTTransmitBeamformingConfigTable 1 }

     Dot11VHTTransmitBeamformingConfigEntry ::=
        SEQUENCE {
            dot11VHTSUBeamformeeOptionImplemented                       TruthValue,
            dot11VHTSUBeamformerOptionImplemented                       TruthValue,




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              dot11VHTMUBeamformeeOptionImplemented               TruthValue,
              dot11VHTMUBeamformerOptionImplemented               TruthValue,
              dot11VHTNumberSoundingDimensions                    Unsigned32,
              dot11VHTBeamformeeNTxSupport
              Unsigned32
         }

     dot11VHTSUBeamformeeOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the STA supports the SU
            Beamformee role."
         DEFVAL { false }
         ::= { dot11VHTTransmitBeamformingConfigEntry 1 }

     dot11VHTSUBeamformerOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the STA supports the SU
            Beamformer role."
         DEFVAL { false }
         ::= { dot11VHTTransmitBeamformingConfigEntry 2 }

     dot11VHTMUBeamformeeOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the STA supports the MU
            Beamformee role."
         DEFVAL { false }
         ::= { dot11VHTTransmitBeamformingConfigEntry 3 }

     dot11VHTMUBeamformerOptionImplemented OBJECT-TYPE
        SYNTAX TruthValue
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

            This attribute, when true, indicates that the STA supports the MU
            Beamformer role."
         DEFVAL { false }
         ::= { dot11VHTTransmitBeamformingConfigEntry 4 }

     dot11VHTNumberSoundingDimensions OBJECT-TYPE
        SYNTAX Unsigned32 (1..8)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION



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             "This is a capability variable.
             Its value is determined by device capabilities.

             This attribute indicates the number of antennas used by the beamformer
             when sending beamformed transmissions."
          ::= { dot11VHTTransmitBeamformingConfigEntry 5 }

     dot11VHTBeamformeeNTxSupport OBJECT-TYPE
        SYNTAX Unsigned32 (1..8)
        MAX-ACCESS read-only
        STATUS current
        DESCRIPTION
            "This is a capability variable.
            Its value is determined by device capabilities.

             This attribute indicates the maximum number of space-time streams that the
             STA can receive in a VHT NDP, the maximum value for NSTS, total that can
             be sent to the STA in a VHT MU PPDU if the STA is MU beamformee capable and
             the maximum value of Nr that the STA transmits in a VHT Compressed
             Beamforming frame."
          ::= { dot11VHTTransmitBeamformingConfigEntry 6 }

     -- **********************************************************************
     -- * End of dot11 VHT Transmit Beamforming Config TABLE
     -- **********************************************************************


     Insert the following compliance objects after the dot11TDLSComplianceGroup object:

     dot11VHTTransmitBeamformingGroup OBJECT-GROUP
        OBJECTS {
            dot11VHTSUBeamformeeOptionImplemented,
            dot11VHTSUBeamformerOptionImplemented,
            dot11VHTMUBeamformeeOptionImplemented,
            dot11VHTMUBeamformerOptionImplemented,
            dot11VHTNumberSoundingDimensions,
            dot11VHTBeamformeeNTxSupport }
        STATUS current
        DESCRIPTION
            "Attributes that configure VHT transmit beamforming for IEEE 802.11."
        ::= { dot11Groups 76 }

     dot11PhyVHTComplianceGroup OBJECT-GROUP
        OBJECTS {
            dot11VHTChannelWidthOptionImplemented,
            dot11CurrentChannelWidth,
            dot11CurrentChannelCenterFrequencyIndex0,
            dot11CurrentChannelCenterFrequencyIndex1,
            dot11VHTShortGIOptionIn80Implemented,
            dot11VHTShortGIOptionIn80Activated,
            dot11VHTShortGIOptionIn160and80p80Implemented,
            dot11VHTShortGIOptionIn160and80p80Activated,
            dot11VHTLDPCCodingOptionImplemented,
            dot11VHTLDPCCodingOptionActivated,
            dot11VHTTxSTBCOptionImplemented,
            dot11VHTTxSTBCOptionActivated,
            dot11VHTRxSTBCOptionImplemented,
            dot11VHTRxSTBCOptionActivated,
            dot11VHTMUMaxUsersImplemented,
            dot11VHTMUMaxNSTSPerUserImplemented,
            dot11VHTMUMaxNSTSTotalImplemented,
            dot11VHTMaxNTxChainsImplemented,
            dot11VHTMaxNTxChainsActivated}
        STATUS current



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         DESCRIPTION
            "Attributes that configure the VHT PHY."
         ::= { dot11Groups 77 }

     dot11VHTMACAdditions OBJECT-GROUP
        OBJECTS {
            dot11VHTOptionImplemented,
            dot11OperatingModeNotificationImplemented,
            dot11MaxMPDULength,
            dot11VHTMaxRxAMPDUFactor,
            dot11VHTControlFieldOptionImplemented,
            dot11VHTTXOPPowerSaveOptionImplemented,
            dot11VHTRxVHTMCSMap,
            dot11VHTRxHighestDataRateSupported,
            dot11VHTTxVHTMCSMap,
            dot11VHTTxHighestDataRateSupported,
            dot11VHTOBSSScanCount}
        STATUS current
        DESCRIPTION
            "Attributes that configure the VHT MAC."
        ::= { dot11Groups 78 }

     dot11PhyTxPowerComplianceGroup2 OBJECT-GROUP
        OBJECTS {
            dot11TxPowerLevelExtended,
            dot11CurrentTxPowerLevelExtended }
        STATUS current
        DESCRIPTION
            "Additional attributes for Control and Management of transmit power."
        ::= { dot11Groups 79 }

     Change the dot11Compliance object as follows:

     dot11Compliance MODULE-COMPLIANCE
        STATUS current
        DESCRIPTION
            "The compliance statement for SNMPv2 entities that implement the IEEE
            802.11 MIB."
        MODULE -- this module
        MANDATORY-GROUPS {
            dot11SMTbase12,
            dot11MACbase3,
            dot11CountersGroup3,
            dot11SmtAuthenticationAlgorithms,
            dot11ResourceTypeID,
            dot11PhyOperationComplianceGroup2 }

         GROUP dot11PhyDSSSComplianceGroup
         DESCRIPTION
            "Implementation of this group is required when object dot11PHYType is
            dsss.
            This group is mutually exclusive to the following groups:
            dot11PhyIRComplianceGroup
            dot11PhyFHSSComplianceGroup2
            dot11PhyOFDMComplianceGroup3
            dot11PhyHRDSSSComplianceGroup
            dot11PhyERPComplianceGroup
            dot11PhyHTComplianceGroup
            dot11DMGComplianceGroup
            dot11PhyVHTComplianceGroup"

         GROUP dot11PhyOFDMComplianceGroup3
         DESCRIPTION
            "Implementation of this group is required when object dot11PHYType is



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             ofdm.
             This group is mutually exclusive to the following groups:
             dot11PhyIRComplianceGroup
             dot11PhyFHSSComplianceGroup2
             dot11PhyDSSSComplianceGroup
             dot11PhyHRDSSSComplianceGroup
             dot11PhyERPComplianceGroup
             dot11PhyHTComplianceGroup
             dot11DMGComplianceGroup
             dot11PhyVHTComplianceGroup"

          GROUP dot11PhyHRDSSSComplianceGroup
          DESCRIPTION
             "Implementation of this group is required when object dot11PHYType is
             hrdsss.
             This group is mutually exclusive to the following groups:
             dot11PhyIRComplianceGroup
             dot11PhyFHSSComplianceGroup2
             dot11PhyDSSSComplianceGroup
             dot11PhyOFDMComplianceGroup3
             dot11PhyERPComplianceGroup
             dot11PhyHTComplianceGroup
             dot11DMGComplianceGroup
             dot11PhyVHTComplianceGroup"

          GROUP dot11PhyERPComplianceGroup
          DESCRIPTION
             "Implementation of this group is required when object dot11PHYType is ERP.
             This group is mutually exclusive to the following groups:
             dot11PhyIRComplianceGroup
             dot11PhyFHSSComplianceGroup2
             dot11PhyDSSSComplianceGroup
             dot11PhyOFDMComplianceGroup3
             dot11PhyHRDSSSComplianceGroup
             dot11PhyHTComplianceGroup
             dot11DMGComplianceGroup
             dot11PhyVHTComplianceGroup"

          GROUP dot11PhyHTComplianceGroup
          DESCRIPTION
             "Implementation of this group is required when object dot11PHYType has the
             value of ht.
             This group is mutually exclusive to the following groups:
             dot11PhyIRComplianceGroup
             dot11PhyFHSSComplianceGroup2
             dot11PhyDSSSComplianceGroup
             dot11PhyOFDMComplianceGroup3
             dot11PhyHRDSSSComplianceGroup
             dot11PhyERPComplianceGroup
             dot11DMGComplianceGroup
             dot11PhyVHTComplianceGroup"

          GROUP dot11PhyVHTComplianceGroup
          DESCRIPTION
             "Implementation of this group is required when object dot11PHYType has the
             value of vht.
             This group is mutually exclusive to the following groups:
             dot11PhyIRComplianceGroup
             dot11PhyFHSSComplianceGroup2
             dot11PhyDSSSComplianceGroup
             dot11PhyOFDMComplianceGroup3
             dot11PhyHRDSSSComplianceGroup
             dot11PhyERPComplianceGroup
             dot11DMGComplianceGroup




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              dot11PhyHTComplianceGroup"

     Insert the following after GROUP dot11PhyTxPowerComplianceGroup:

         GROUP dot11PhyTxPowerComplianceGroup2
         DESCRIPTION
            "The dot11PhyTxPowerComplianceGroup2 group is optional, but dependent on
            dot11PhyTxPowerConplianceGroup."

     Insert the following after GROUP dot11TransmitBeamformingGroup:

         GROUP dot11VHTTransmitBeamformingGroup
         DESCRIPTION
            "The dot11VHTTransmitBeamformingGroup group is optional."

         GROUP dot11VHTMACAdditions
         DESCRIPTION
            "The dot11VHTMACAdditions group is optional."

     Change OPTIONAL-GROUPS as follows:

     -- OPTIONAL-GROUPS {
        -- dot11SMTprivacy
        -- dot11MACStatistics,
        -- dot11PhyAntennaComplianceGroup,
        -- dot11PhyTxPowerComplianceGroup,
        -- dot11PhyRegDomainsSupportGroup,
        -- dot11PhyAntennasListGroup,
        -- dot11PhyRateGroup,
        -- dot11MultiDomainCapabilityGroup,
        -- dot11PhyFHSSComplianceGroup2,
        -- dot11RSNAadditions,
        -- dot11OperatingClassesGroup,
        -- dot11Qosadditions,
        -- dot11RMCompliance,
        -- dot11FTComplianceGroup
        -- dot11PhyAntennaComplianceGroup2,
        -- dot11HTMACadditions,
        -- dot11PhyMCSGroup,
        -- dot11TransmitBeamformingGroup,
        -- dot11VHTTransmitBeamformingGroup,
        -- dot11PhyVHTComplianceGroup,
        -- dot11VHTMACAdditions,
        -- dot11WNMCompliance}

     Insert the following after dot11TDLSCompliance:

     -- ********************************************************************
     -- * Compliance Statements - VHT
     -- ********************************************************************
     dot11VHTCompliance MODULE-COMPLIANCE
        STATUS current
        DESCRIPTION
            "This object class provides the objects from the IEEE 802.11
            MIB used to operate at very high throughput."
        MODULE -- this module
        MANDATORY-GROUPS { dot11PhyVHTComplianceGroup,
            dot11PhyTxPowerComplianceGroup2, dot11VHTTransmitBeamformingGroup,
            dot11VHTMACAdditions }
     -- OPTIONAL-GROUPS { }
        ::= { dot11Compliances 14 }




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     Annex D
     (normative)

     Regulatory references

     D.1 External regulatory references

     Change the following row in Table D-1:




      Geographic                                                                                              Approval
                                  Approved standards                          Documents
         area                                                                                                 authority

     China               Ministry of Industry and Information      Xin Bu Wu [2002] #353,                MIIT
                         Technology (MIIT)                         Xin Bu Wu [2002] #277,
                                                                   Gong Xin Bu Wu Han [2012] #620



     Insert the following rows into Table D-2 in numeric order, change the reserved value accordingly, and
     change the table notes as shown:




              Encoding            Behavior limits set                                Description

             19             80+                                 In a channel width that contains two or more frequency
                                                                segments, the frequency segment that does not contain
                                                                the primary 80 MHz channel (see NOTE 2)

             20             UseEirpForVhtTxPowEnv               A STA that sends one or more a VHT Transmit Power
                                                                Envelope elements shall indicate EIRP in the Local
                                                                Maximum Transmit Power Unit Interpretation subfield
                                                                in one of the VHT Transmit Power Envelope elements

             1921
             NOTE 1                                       channels are described in 20.3.15.4.

                                                                     an 80+ Behavior limit, see 8.4.2.10. The maxi-
             mum number of frequency segments is PHY dependent.




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     D.2 Radio performance specifications

     D.2.5 CCA-ED threshold

     Change D.2.5 as follows:

     For OFDM PHY operation with CCA-ED, the

     sensitivity for BPSK, R=1/2 + 10 dB in Table 18-14).

     CCA-ED thresholds for operation in specific bands are given in E.2 where they differ from the values in
     PHY clauses. CCA-ED thresholds for operation in license-exempt bands are stated in PHY clauses.




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     Annex E
     (normative)

     Country elements and operating classes

     E.1 Country information and operating classes

     Change the second paragraph of E.1 as follows:

     The Country element (see 8.4.2.10) allows a STA to configure its PHY and MAC for operation when the
     operating triplet of Operating Extension Identifier, Operating Class, and Coverage Class fields Operating
     Triplet field is present. The operating triplet Operating Triplet field indicates both PHY and MAC
     configuration characteristics and operational characteristics. The First Channel Number field of subsequent
     subband triplet(s) Subband Triplet fields is based on the dot11ChannelStartingFactor that is indicated by the
     Operating Class field.

     Insert the following paragraph after the sixth parag

     The channel center frequency index is the set of integer channel numbers that correspond to frequency
     segments and that are allowed for the operating class.

     Change the following rows in Table E-1, insert the new column and rows, change the reserved values
     accordingly, and change the table notes as shown: :




                                    Channel     Channel     Channel       Channel            Behavior limits set
                     Global
   Operating                        starting    spacing       set          center
                operating class
     class                         frequency     (MHz)                   frequency
                (see Table E-4)
                                     (GHz)                                 index
       ...

       4                121            5           20       100, 104,                     DFS_50_100_Behavior,
                                                            108, 112,                    UseEirpForVHTTxPowEnv
                                                            116, 120,
                                                            124, 128,
                                                            132, 136,
                                                            140, 144

       ...
       24               122            5           40       100, 108,                  PrimaryChannelLowerBehavior,
                                                            116, 124,                      DFS_50_100_Behavior,
                                                            132, 140                     UseEirpForVHTTxPowEnv

       ...

       29               123            5           40       104, 112,                        NomadicBehavior,
                                                            120, 128,                  PrimaryChannelUpperBehavior,
                                                            136, 144                       DFS_50_100_Behavior,
                                                                                         UseEirpForVHTTxPowEnv
       ...




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                                        Channel       Channel      Channel        Channel              Behavior limits set
                          Global
   Operating                            starting      spacing        set           center
                     operating class
     class                             frequency       (MHz)                     frequency
                     (see Table E-4)
                                         (GHz)                                     index

          127           Reserved       Reserved       Reserved     Reserved       Reserved                  Reserved
      128                 128              5             80                      42, 58, 106,      UseEirpForVHTTxPowEnv
                                                                                  122, 138,
                                                                                     155
      129                 129              5            160                        50, 114         UseEirpForVHTTxPowEnv

      130                 130              5             80                      42, 58, 106,                80+,
                                                                                  122, 138,        UseEirpForVHTTxPowEnv
                                                                                     155

                        Reserved       Reserved       Reserved     Reserved       Reserved                  Reserved

   NOTE 1                                             s 22 to 33 is for the supported bandwidth channel width rather than the
   operating bandwidthchannel width. In these operating classes, the AP operates either a 20/40 MHz BSS or a 20 MHz BSS,
   and the operating bandwidth channel width for a non-AP STA is either 20 MHz or 40 MHz.

                                       r operating classes 128, 129, and 130 is for the supported bandwidth rather than the
   operating channel width.



     Insert the following rows and column into Table E-2, change the reserved values accordingly, and
     change the table notes as shown:




                         Global          Channel                                    Channel
                                                       Channel
     Operating          operating        starting                    Channel         center
                                                       spacing                                         Behavior limits set
       class            class (see      frequency                      set         frequency
                                                        (MHz)
                        Table E-4)        (GHz)                                      index

         ...
               255       Reserved       Reserved       Reserved      Reserved       Reserved                Reserved

        128                 128             5             80                      42, 58, 106,     UseEirpForVHTTxPowEnv
                                                                                      122

        129                 129             5             160                        50, 114       UseEirpForVHTTxPowEnv
        130                 130             5             80                      42, 58, 106,               80+,
                                                                                      122          UseEirpForVHTTxPowEnv
                         Reserved       Reserved       Reserved      Reserved       Reserved                Reserved

    NOTE 1                                           s 5 to 12 is for the supported bandwidth channel width rather than the
    operating bandwidthchannel width. In these operating classes, the AP operates in a 20/40 MHz BSS, and the operating
    bandwidth channel width for a non-AP STA is either 20 MHz or 40 MHz.

                                        r operating classes 128, 129, and 130 is for the supported channel width rather than the
    operating channel width.




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     Insert the following rows and column in Table E-3, change the reserved values accordingly, and change
     the table notes as shown:




                          Global             Channel                                        Channel
                                                           Channel
     Operating           operating           starting                     Channel            center
                                                           spacing                                            Behavior limits set
       class             class (see         frequency                       set            frequency
                                                            (MHz)
                         Table E-4)           (GHz)                                          index

          ...

                255       Reserved          Reserved       Reserved       Reserved          Reserved               Reserved
        128                 128                5             80                            42, 58, 106,    UseEirpForVHTTxPowEnv
                                                                                               122

        129                 129                5             160                             50, 114       UseEirpForVHTTxPowEnv

        130                 130                5             80                            42, 58, 106,              80+,
                                                                                               122         UseEirpForVHTTxPowEnv

                          Reserved          Reserved       Reserved       Reserved          Reserved               Reserved

    NOTE 1                                            s 34 to 55 is for the supported bandwidthchannel width rather than the
    operating bandwidthchannel width. In these regulatory domains, the AP operates in a 20/40 MHz BSS, and the operating
    bandwidthchannel width of a non-AP STA is either 20 MHz or 40 MHz.

                                                                        9, and 130 is for the supported channel width rather than the
    operating channel width.



     Change the following rows in Table E-4, insert the new column and rows, change the reserved values
     accordingly, and insert new table notes as shown:




                                                Channel                                         Channel
                                                              Channel
   Operating              Nonglobal             starting                      Channel            center
                                                              spacing                                            Behavior limits set
     class            operating class(es)      frequency                        set            frequency
                                                               (MHz)
                                                 (GHz)                                           index

       ...
       81                  E-1-12,                 2.407           25        1, 2, 3, 4,
                           E-2-4,                                            5, 6, 7, 8,
                           E-3-30                                            9, 10, 11,
                            E-5-7                                             12, 13

       ...
       83                  E-1-32,                 2.407           40        1, 2, 3, 4,                     PrimaryChannelLowerBeha
                           E-2-11,                                           5, 6, 7, 8,                               vior
                           E-3-56                                                 9
                            E-5-8




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                                           Channel                             Channel
                                                      Channel
   Operating          Nonglobal            starting             Channel         center
                                                      spacing                                Behavior limits set
     class        operating class(es)     frequency               set         frequency
                                                       (MHz)
                                            (GHz)                               index

      84                E-1-33,             2.407       40      5, 6, 7, 8,               PrimaryChannelUpperBeha
                        E-2-12,                                 9, 10, 11,                          vior
                        E-3-57                                   12, 13
                         E-5-9
       ...

      115                E-1-1                5         20       36, 40,                  UseEirpForVHTTxPowEnv
                         E-2-1                                   44, 48
                         E-3-1
                         E-5-1

      116               E-1-22                5         40       36, 44                   PrimaryChannelLowerBeha
                        E-2-5                                                                       vior,
                        E-3-36                                                            UseEirpForVHTTxPowEnv
                        E-5-4

      117               E-1-27,               5         40       40, 48                   PrimaryChannelUpperBeha
                        E-2-8,                                                                      vior,
                        E-3-41                                                            UseEirpForVHTTxPowEnv

      118               E-1-2                 5         20       52, 56,                   DFS_50_100_Behavior,
                        E-2-2                                    60, 64                   UseEirpForVHTTxPowEnv
                      E-3-32,33
                        E-5-2

      119              E-1-23,                5         40       52, 60                   PrimaryChannelLowerBeha
                       E-2-6,                                                                       vior,
                      E-3-37,38                                                             DFS_50_100_Behavior,
                        E-5-5                                                             UseEirpForVHTTxPowEnv

      120              E-1-28,                5         40       56, 64                   PrimaryChannelUpperBeha
                       E-2-9,                                                                       vior,
                      E-3-42,43                                                            DFS_50_100_Behavior,
                                                                                          UseEirpForVHTTxPowEnv
      121               E-1-4                 5         20      100, 104,                  DFS_50_100_Behavior,
                        E-2-3                                   108, 112,                 UseEirpForVHTTxPowEnv
                     E-3-34,35,58                               116, 120,
                                                                124, 128,
                                                                132, 136,
                                                                140, 144
      122              E-1-24                 5         40      100, 108,                 PrimaryChannelLowerBeha
                        E-2-7                                   116, 124,                           vior,
                      E-3-39,40                                 132, 140                    DFS_50_100_Behavior,
                                                                                          UseEirpForVHTTxPowEnv
      123              E-1-29                 5         40      104, 112,                 PrimaryChannelUpperBeha
                       E-2-10                                   120, 128,                           vior,
                      E-3-44,45                                 136, 144                   DFS_50_100_Behavior,
                                                                                          UseEirpForVHTTxPowEnv
      124                E-1-3                5         20      149, 153,                    NomadicBehavior,
                                                                157, 161                  UseEirpForVHTTxPowEnv
      125            E-1-5, E-2-17            5         20      149, 153,                  LicenseExemptBehavior,
                         E-5-3                                  157, 161,                 UseEirpForVHTTxPowEnv
                                                                165, 169



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                                           Channel                                    Channel
                                                         Channel
   Operating           Nonglobal           starting                    Channel         center
                                                         spacing                                       Behavior limits set
     class         operating class(es)    frequency                      set         frequency
                                                          (MHz)
                                            (GHz)                                      index

       126              E-1-25,26              5             40        149, 157                    PrimaryChannelLowerBeha
                          E-5-6                                                                              vior,
                                                                                                   UseEirpForVHTTxPowEnv

       127              E-1-30,31              5             40        153, 161                    PrimaryChannelUpperBeha
                                                                                                             vior,
                                                                                                   UseEirpForVHTTxPowEnv
       128              E-1-128,               5             80            -        42, 58, 106,   UseEirpForVHTTxPowEnv
                        E-2-128,                                                     122, 138,
                        E-3-128                                                         155
                        E-5-128

       129              E-1-129,               5            160            -          50, 114      UseEirpForVHTTxPowEnv
                        E-2-129,
                        E-3-129
                        E-5-129

       130              E-1-130,               5             80            -        42, 58, 106,             80+,
                        E-2-130,                                                     122, 138,     UseEirpForVHTTxPowEnv
                        E-3-130                                                         155
                        E-5-130

      128               Reserved           Reserved      Reserved      Reserved      Reserved                Reserved
    131

        ...
                                   for operating classes 116, 117, 119, 120, 122, 123, 126, and 127 is for the supported channel
   width rather than the operating channel width. In these operating classes, the AP operates in a 20/40 MHz BSS, and the
   operating channel width for a non-AP STA is either 20 MHz or 40 MHz.
                                    for operating classes 128, 129, and 130 is for the supported channel width rather than the
   operating channel width.



     Insert the following paragraph (including Table E-5) after Table E-4 in E.1:

     Operating classes for operation in China are enumerated in Table E-5.




                                          Channel                                    Channel
                   Global operating                      Channel
    Operating                             starting                    Channel         center
                      class (see                         spacing                                       Behavior limits set
      class                              frequency                      set         frequency
                      Table E-4)                          (MHz)
                                           (GHz)                                      index

         1                115                 5             20         36, 40,                     UseEirpForVHTTxPowEnv
                                                                       44, 48
         2                118                 5             20         52, 56,                      DFS_50_100_Behavior,
                                                                       60, 64                      UseEirpForVHTTxPowEnv




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                                             Channel                                        Channel
                    Global operating                          Channel
    Operating                                starting                       Channel          center
                       class (see                             spacing                                           Behavior limits set
      class                                 frequency                         set          frequency
                       Table E-4)                              (MHz)
                                              (GHz)                                          index

         3                  125                   5               20        149, 153,                       UseEirpForVHTTxPowEnv
                                                                            157, 161,
                                                                              165

         4                  116                   5               40          36, 44                        PrimaryChannelLowerBeha
                                                                                                                      vior
                                                                                                            UseEirpForVHTTxPowEnv
         5                  119                   5               40          52, 60                        PrimaryChannelLowerBeha
                                                                                                                      vior
                                                                                                              DFS_50_100_Behavior
                                                                                                            UseEirpForVHTTxPowEnv

         6                  126                   5               40         149, 157                       PrimaryChannelLowerBeha
                                                                                                                      vior
                                                                                                            UseEirpForVHTTxPowEnv

         7                   81                2.407              25        1, 2, 3, 4,                      LicenseExemptBehavior
                                                                            5, 6, 7, 8,
                                                                            9, 10, 11,
                                                                             12, 13
         8                   83                2.407              40            1-9                          LicenseExemptBehavior,
                                                                                                            PrimaryChannelLowerBeha
                                                                                                                      vior

         9                   84                2.407              40           5-13                          LicenseExemptBehavior,
                                                                                                            PrimaryChannelUpperBeha
                                                                                                                      vior




                                                                                                            UseEirpForVHTTxPowEnv



                                                                    for the supported channel width rather than the operating
   channel width. In these operating classes, the AP operates in a 20/40 MHz BSS, and the operating channel width for a non-
   AP STA is either 20 MHz or 40 MHz.
                                                      g classes 128, 129, and 130 is for the supported channel width rather than the
   operating channel width.



     Change the second to last paragraph of E.1, insert a new note after the existing note after this paragraph,


     Nonglobal operating classes refer to the operating classes enumerated in the leftmost column of Table E-1,
     Table E-2, and Table E-3, and Table E-5 (see 8.4.2.56).

     NOTE 1                                                                         8-90) describes USA operation ('55', '53') using both
     Table E-1 class 12 (non-global) and Table E-4 class 81 (global) for 2.4 GHz band, 11 channels at 100 mW limit (in
     hexadecimal): '07', '0F', '55', '53', '04', 'C9', '0C', '0', '01', '0B', '64', 'C9', '51', '0', '01', '0B', '64'.



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                                                    element describes US operation for an 80+80 MHz BSS using Table E-4
     classes 116, 128 and 130 at a 100 mW limit for 40 MHz. The contents (in decimal) are: '07' [Country element ID], '18'
     [Length], '85', '83', '04' [Country string indicating US and Table E-4], '201', '116', '0' [Operating Triplet field for 20/
     40 MHz with the primary 20 MHz channel on the lower 20 MHz], '36', '1', '20' [Subband triplet field indicating 20 dBm
     on the 40 MHz channel 36+40], '201','128', '0' [Operating Triplet field for 80 MHz] , '201', '130', '0', '201', '128', '0' [Pair
     of Operating Triplet field indicating 80+80 MHz]. Although the Operating Triplet fields for 80 MHz and 80+80 MHz
     only express BSS operating channel widths rather than specific regulatory permissions (so are optional), they are
     included in this example.



     E.2 Band-specific operating requirements



     Change the fourth paragraph of E.2.2 as follows:

     STAs shall use the following:
             CCA-ED




             CCA-ED (See D.2.5)

     Insert the following paragraph after the fourth paragraph of E.2.2:

     For OFDM PHY operation in this specific band, the CCA-ED thresholds shall be less than or equal to
      72 dBm for 20 MHz channel widths, 75 dBm for 10 MHz channel widths, and 78 dBm for 5 MHz
     channel widths (minimum sensitivity for BPSK, R=1/2 + 10 dB in Table 18-14).

     Change the number of Table E-5




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     Annex G
     (normative)

     Frame exchange sequences

     G.1 General

     Change the second paragraph of G.1 as follows:

     Two types of terminals are defined:
            Frames. A frame is shown in bold and identified by its type/subtype (e.g., Beacon, Data). Frames
            are shown with an initial capital letter.
            Attributes. Attributes are shown in italic. An attribute is introduced
            attribute specifies a condition that applies to the frame (or alternatively, for the attributes that start
            +mu, the A-MPDU) that precedes it. Where there are multiple attributes applied, they are generally
            ordered in the same order of the fields in the frame to which they refer. The syntax a+(b|c) where b
            and c are attributes is equivalent to (a+b) | (a+c).

     Change the following rows in Table G-1, and insert the new rows and table notes as shown:




              Attribute                                                  Description

      a-mpdu                        Frame is part of an A-MPDU aggregate. See NOTE 2.
      a-mpdu-end                    Frame is the last frame in an A-MPDU aggregate. See NOTE 2.
      mu-ppdu-end                   This attribute delineates the end of a VHT MU PPDU. See NOTE 3 and
                                    NOTE 4.
      mu-user-respond               The preceding frame or A-MPDU is part of a VHT MU PPDU and is ad-
                                    dressed to a user from which an immediate response is expected. See NOTE
                                    3 and NOTE 4.
      mu-user-not-respond           The preceding frame or A-MPDU is part of a VHT MU PPDU and is ad-
                                    dressed to a user from which no immediate response is expected. See NOTE
                                    3 and NOTE 4.
      ndp-announce                  A +HTC frame with the HT NDP Announcement subfield equal to 1.
      NOTE 1                                      HT Control field is always transmitted using the control wrapper frame.
                                            MPDU, a single MPDU is carried in a A-MPDU, but the attributes +a-mpdu
      and +a-mpdu-end are not used.
                +mu-ppdu-end, +mu-user-respond and +mu-user-other are used in productions that generate VHT MU
      PPDUs, according to the pattern: ["an A-MPDU (which might contain a VHT single MPDU) needing a response"
      +mu-user-respond ] {"an A-MPDU (which might contain a VHT single MPDU) not needing a response" +mu-user-
      not-respond} +mu-ppdu-end. There is at least one of +mu-user-respond or +mu-user-not-respond in a VHT MU
      PPDU.
                                A+mu-user-respond B+mu-user-not-respond               +mu-ppdu-end, although the terms A,
      B                                      frames) are listed sequentially in these productions, the per-user sequence of
      frames represented by A, B, ... are transmitted simultaneously per-user using a VHT MU PPDU.




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     Change the title of G.4 as follows:

     G.4 HT and VHT sequences

     Change nav-set sequence in G.4 as follows:

     (* These are the series of frames that establish NAV protection for an HT sequence *)
     nav-set =                    (RTS[+HTC] CTS[+HTC]) |
                                  CTS+self |
                                  (Data[+HTC]+individual[+null][+QoS+normal-ack] Ack) |
                                  Data[+HTC]+individual[+QoS+(block-ack)] |
                                  Data+group[+null][+QoS] |
                                  ( 1{ Data[+HTC]+individual+QoS+implicit-bar+a-mpdu}+a-mpdu-end
                                                     BlockAck[+HTC]
                                  )|
                                  (BlockAckReq[+HTC] (BlockAck[+HTC]|Ack[+HTC])) |
                                  (BlockAck[+HTC] Ack);
                                  1{vht-rts-cts}

     (* The vht-rts-cts term applies to RTS transmitted by a VHT STA to another VHT STA. When the RTS is
     transmitted using a non-HT or non-HT duplicate PPDU, the transmission of the RTS is delayed so that at
     least a PIFS has elapsed since the previous frame exchange sequence (see 9.19.2.4) and the RTS is
     transmitted with a signaling TA (see 9.3.2.5a). *)
     vht-rts-cts =               RTS+pifs [+HTC] CTS[+HTC];


     Change the ht-ack-sequence in G.4 as follows:

     (* The per-user parts of a VHT MU PPDU that do not require a response *)
     other-users =               {ppdu-not-requiring-response-per-user +mu-user-not-respond} +mu-ppdu-end;

     (* These are sequences that occur within an ht-txop-sequence that have an ack response *)
     ht-ack-sequence =         (BlockAck+delayed[+HTC] [+mu-user-respond other-users] ACK[+HTC]) |
                               (BlockAckReq+delayed[+HTC] [+mu-user-respond other-users] ACK[+HTC]) |
                               (Data[+HTC]+individual[+null][+QoS+normal-ack][+mu-user-respond other-
                               users] ACK[+HTC]);


     Change ppdu-not-requiring-response sequence in G.4 as follows:

     (* The per-user part of a A PPDU not requiring a response is either a single frame not requiring response, or
     an A-MPDU of such frames.*)
     ppdu-not-requiring-response-per-user =
                                 frame-not-requiring-response-non-ampdu | (* Includes VHT single MPDU *)
                                 1{frame-not-requiring-response-ampdu+a-mpdu}+a-mpdu-end;

     (* A PPDU not requiring a response is either a single frame not requiring response, or an A-MPDU of such
     frames.*)
     ppdu-not-requiring-response =
                               ppdu-not-requiring-response-per-user [+mu-user-not-respond other-users];




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     Change ppdu-bar through ppdu-ba-rd-bar sequences in G.4 as follows:

     (* A PPDU containing a BlockAckReq is either a non-A-MPDU BlockAckReq, or an A-MPDU containing
     Data carrying implicit Block Ack request*).
     ppdu-bar=
                                (
                                                  BlockAckReq[+HTC] |
                                                  (1{Data[+HTC]+QoS+implicit-bar+a-mpdu} + a-mpdu-
                                end);
                                ) [+mu-user-respond other-users];

     (* A PPDU containing both BlockAack and BlockAckReq is an A-MPDU that contains a BlockAck, plus
     either a BlockAckReq frame, or 1 or more data frames carrying implicit Block Ack request. *)
     ppdu-ba-bar=
                              ( BlockAck[+HTC]+a-mpdu
                                                 (
                                                 BlockAckReq[+HTC]+a-mpdu |
                                                 1{Data[+HTC]+QoS+implicit-bar+a-mpdu}
                                                 ) + a-mpdu-end;
                              ) [+mu-user-respond other-users];

     (*A PPDU containing BlockAck is either a non-A-MPDU BlockAck, or an A-MPDU containing a
     BlockAck, and also containing data that does not carry implicit Block Ack request. *)
     ppdu-ba=
                               ( BlockAck[+HTC] |
                                                  (
                                                  BlockAck[+HTC]+a-mpdu
                                                  1{Data[+HTC]+QoS+(no-ack|block-ack)+a-mpdu}
                                                  ) + a-mpdu-end;
                               ) [+mu-user-respond other-users];

     (* A PPDU delivering an RDG, but not delivering a BlockAckReq is either a data frame, not requiring
     immediate acknowledgment, or a BlockAck or BlockAckReq, not requiring immediate acknowledgment *).
     ppdu-rd=
                              ( Data+HTC[+null]+QoS+(no-ack|block-ack)+RD |
                                                (BlockAck|BlockAckReq)+HTC+delayed-no-ack+RD |
                                                (
                                                1{Data+HTC+QoS+RD+a-mpdu}
                                                ) + a-mpdu-end;
                              ) [+mu-user-respond other-users];

     (* A PPDU containing a BlockAckReq and delivering an RDG is either an non-A-MPDU BlockAckReq
     frame, or an A-MPDU containing at least one data frame with RD and implicit-bar. *)
     ppdu-rd-bar=
                             ( BlockAckReq+HTC+RD |
                                                 (
                                                 1{Data+HTC+QoS+implicit-bar+RD+a-mpdu}
                                                 ) + a-mpdu-end;
                             ) [+mu-user-respond other-users];

     (* A PPDU containing a BlockAck and granting RD is either an unaggregated BlockAck or an A-MPDU
     that contains a BlockAck and at least one data frame containing RD, but not implicit Block Ack request. *)
     ppdu-ba-rd=
                               ( BlockAck+HTC+RD |


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                                                  (
                                                  BlockAck+a-mpdu (
                                                  1{Data+HTC+QoS+(no-ack|block-ack)+RD+a-mpdu}
                                                  )
                                                  ) + a-mpdu-end;
                                ) [+mu-user-respond other-users];

     (* A PPDU containing a BlockAck, BlockAckReq and granting RD is an A-MPDU that contains a
     BlockAck and either an explicit BlockAckReq (and no data frames) or data frames carrying the implicit
     Block Ack request. The RD attribute is present in all frames carrying an HT Control field, and at least one of
     these frames is present. This constraint is not expressed in the syntax below. *)
     ppdu-ba-rd-bar=
                                (
                                                     (
                                                     BlockAck[+HTC+RD]+a-mpdu
                                                     BlockAckReq[+HTC+RD]+a-mpdu
                                                     ) + a-mpdu-end |
                                                     (
                                                     BlockAck[+HTC+RD]+a-mpdu
                                                     1{Data[+HTC+RD]+QoS+implicit-bar+a-mpdu}
                                                     ) + a-mpdu-end;
                                ) [+mu-user-respond other-users];


     Change link-adaptation-exchange sequence in G.4 as follows:

     (* A link adaptation exchange is a frame exchange sequence in which on-the-air signaling is used to control
     or return the results of link measurements so that the initiator device can choose effective values for its
     TXVECTOR parameters. *)
     link-adaptation-exchange =
                                  mcs-adaptation |
                                  implict-txbf |
                                  explicit-txbf;
                                  vht-bf;


                                                   tory description in G.4 as follows:

     (* NDP sounding. In this case, the HT NDP announcement is present in a frame that also generates an
     immediate response. The beamformer transmits an NDP once the immediate response is received, and the
     beamformee transmits immediate feedback once it receives the NDP. *)


     Insert the following sequences at the end of G.4:

     (* The VHT beamforming sequence starts with a VHT NDP Announcement frame, followed by a VHT
     NDP. One of the STAs in the sequence responds immediately with explicit feedback. The VHT AP might
     poll the other STAs to obtain their feedback before generating an MU tranmission. The names of the frames
     include spaces, so they are delimited using parentheses. *)
     vht-bf =
                                (VHT NDP Announcement) (VHT NDP) vht-feedback
                                {(Beamforming Report Poll) vht-feedback};




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     (* VHT feedback is provided using VHT Compressed Beamforming frames. Multiple frames may be
     needed to provide feedback. *)
     vht-feedback =
                               (VHT Compressed Beamforming frame) | (* VHT single MPDU or non-VHT
                               PPDU *)
                               1{(VHT Compressed Beamforming frame) +a-mpdu} +a-mpdu-end;




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     Annex M
     (informative)

     RSNA reference implementations and test vectors

     M.6 Additional test vectors

     Change the title and first line of M.6.4 as follows:


     M.6.4 CCMP-128 test vector

             === CCMP 128 test mpdu ====

     Insert the following text at the end of M.6.4:

             === CCMP 256 test vector ====

             TK: c9 7c 1f 67 ce 37 11 85 51 4a 8a 19 f2 bd d5 2f 00 01 02 03 04 05 06 07
             08 09 0a 0b 0c 0d 0e 0f

             PN: b5 03 97 76 e7 0c

             802.11 Header: 08 48 c3 2c 0f d2 e1 28 a5 7c 50 30 f1 84 44 08 ab ae a5 b8
             fc ba 80 33

             CCMP-256 AAD: 08 40 0f d2 e1 28 a5 7c 50 30 f1 84 44 08 ab ae a5 b8 fc ba
             00 00

             CCMP-256 Nonce: 00 50 30 f1 84 44 08 b5 03 97 76 e7 0c

             Plaintext Data: f8 ba 1a 55 d0 2f 85 ae 96 7b b6 2f b6 cd a8 eb 7e 78 a0 50

             CCMP-256 encrypted: 6d 15 5d 88 32 66 82 56 d6 a9 2b 78 e1 1d 8e 54 49 5d
             d1 74

             Encrypted MPDU (without FCS): 08 48 c3 2c 0f d2 e1 28 a5 7c 50 30 f1 84 44
             08 ab ae a5 b8 fc ba 80 33 0c e7 00 20 76 97 03 b5 6d 15 5d 88 32 66 82 56
             d6 a9 2b 78 e1 1d 8e 54 49 5d d1 74 80 aa 56 c9 49 2e 88 2b 97 64 2f 80 d5
             0f e9 7b

             FCS: 29 c2 06 69




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     M.7 Key hierarchy test vectors for pairwise keys

     M.7.1 General

     Change the first paragraph of M.7.1 as follows:

     The test vectors in this subclause provide an example of PTK derivation for both CCMP-128 and TKIP.

     Change the title and first paragraph of M.7.2 and the title of Table M-14 as follows:


     M.7.2 CCMP-128 pairwise key derivation

     Using the values from Table M-13 for PMK, AA, SPA, SNonce, and ANonce, the key derivation process for
     CCMP-128 generates a temporal key as shown in Table M-14.

                                                                       temporal key (TK)


     M.9 Management frame protection test vectors

     Change the title and 11th line of M.9.1 as follows:


     M.9.1 BIP-CMAC-128 with broadcast Deauthentication frame

             BIP-CMAC-128 AAD (FC | A1 | A2 | A3): c0 00 ff ff ff ff ff ff 02 00 00 00
             00 00 02 00 00 00 00 00

     Insert the following text at the end of M.9.1:

             ==== BIP-GMAC-128 with broadcast Deauthentication frame ====

             Unprotected broadcast Deauthentication frame (without FCS):
             c0 00 00 00 ff ff ff ff ff ff 02 00 00 00 00 00 02 00 00 00 00 00 09 00 02
             00

             FC=c0 00
             DUR=00 00
             DA=ff ff ff ff ff ff
             SA=02 00 00 00 00 00
             BSSID=02 00 00 00 00 00
             SEQ=09 00
             Reason Code: 00 20

             IGTK: 4e a9 54 3e 09 cf 2b 1e ca 66 ff c5 8b de cb cf

             IPN: 04 00 00 00 00 00

             BIP-GMAC AAD (FC | A1 | A2 | A3): c0 00 ff ff ff ff ff ff 02 00 00 00 00 00
             02 00 00 00 00 00




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            Management Frame Body: 02 00

            BIP-GMAC IV: 02 00 00 00 00 00 00 00 00 00 00 04

            BIP-GMAC MMIE MIC: 3e d8 62 fb 0f 33 38 dd 33 86 c8 97 e2 ed 05 3d

            Protected MPDU (without FCS):
            c0 00 00 00 ff ff ff ff ff ff 02 00 00 00 00 00 02 00 00 00 00 00 09 00 02
            00 4c 18 04 00 04 00 00 00 00 00 3e d8 62 fb 0f 33 38 dd 33 86 c8 97 e2 ed
            05 3d



            ==== BIP-GMAC-256 with broadcast Deauthentication frame ====

            Unprotected broadcast Deauthentication frame (without FCS):
            c0 00 00 00 ff ff ff ff ff ff 02 00 00 00 00 00 02 00 00 00 00 00 09 00 02
            00

            FC=c0 00
            DUR=00 00
            DA=ff ff ff ff ff ff
            SA=02 00 00 00 00 00
            BSSID=02 00 00 00 00 00
            SEQ=09 00
            Reason Code: 00 20

            IGTK: 4e a9 54 3e 09 cf 2b 1e ca 66 ff c5 8b de cb cf 00 01 02 03 04 05 06
            07 08 09 0a 0b 0c 0d 0e 0f

            IPN: 04 00 00 00 00 00

            BIP-GMAC AAD (FC | A1 | A2 | A3): c0 00 ff ff ff ff ff ff 02 00 00 00 00 00
            02 00 00 00 00 00

            Management Frame Body: 02 00

            BIP-GMAC IV: 02 00 00 00 00 00 00 00 00 00 00 04

            BIP-GMAC MMIE MIC: 23 be 59 dc c7 02 2e e3 83 62 7e bb 10 17 dd fc

            Protected MPDU (without FCS):
            c0 00 00 00 ff ff ff ff ff ff 02 00 00 00 00 00 02 00 00 00 00 00 09 00 02
            00 4c 18 04 00 04 00 00 00 00 00 23 be 59 dc c7 02 2e e3 83 62 7e bb 10 17
            dd fc

     Change the title and tenth line of M.9.2 as follows:


     M.9.2 CCMP-128 with unicast Deauthentication frame

            CCMP-128 TK: 66 ed 21 04 2f 9f 26 d7 11 57 06 e4 04 14 cf 2e




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     M.11 GCMP

     M.11.1 Test vector

     Insert the following text at the end of M.11.1:

             ==== GCMP-256 test mpdu #3 =====

             TK= c9 7c 1f 67 ce 37 11 85 51 4a 8a 19 f2 bd d5 2f 00 01 02 03 04 05 06 07
             08 09 0a 0b 0c 0d 0e 0f

             PN= 00 89 5f 5f 2b 08

             802.11 Header= 88 48 0b 00 0f d2 e1 28 a5 7c 50 30 f1 84 44 08 50 30 f1 84
             44 08 80 33 03 00

             GCMP AAD= 88 40 0f d2 e1 28 a5 7c 50 30 f1 84 44 08 50 30 f1 84 44 08 00 00
             03 00

             GCMP Nonce= 50 30 f1 84 44 08 00 89 5f 5f 2b 08

             Plaintext Data= 00 01 02 03 04 05 06 07 08 09 0a 0b 0c 0d 0e 0f 10 11 12 13
                                        14 15 16 17 18 19 1a 1b 1c 1d 1e 1f 20 21 22 23
             24 25 26 27

             GCMP MIC= 11 43 16 85 90 95 47 3d 5b 1b d5 96 b3 de a3 bf

             Encrypted Data= 65 83 43 c8 b1 44 47 d9 21 1d ef d4 6a d8 9c 71 0c 6f c3 33
                                         33 23 6e 39 97 b9 17 6a 5a 8b e7 79 b2 12 66 55
             5e 70 ad 79

             Encrypted MPDU        (without       FCS)=
             88 48 0b 00 0f        d2 e1 28       a5 7c   50   30   f1   84   44 08 50 30 f1 84 44 08 80 33 03
             00 08 2b 00 20        5f 5f 89       00 65   83   43   c8   b1   44 47 d9 21 1d ef d4 6a d8 9c 71
             0c 6f c3 33 33        23 6e 39       97 b9   17   6a   5a   8b   e7 79 b2 12 66 55 5e 70 ad 79 11
             43 16 85 90 95        47 3d 5b       1b d5   96   b3   de   a3   bf

             FCS= cf 16 ed 59




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     Annex S
     (informative)

     Change the title of Annex S as follows:

     Additional VHT and HT Information
     Change S.1 (including the title) as follows:

     S.1 VHT and HT waveform generator tool

     As an informative extension to this standard, the waveform generator tools have has been written to model
     the PHY transmission process described in Clause 18, Clause 19, and Clause 20, and Clause 22.

     The waveform generators can be downloaded from the public IEEE 802.11 document website (https://
     mentor.ieee.org/802.11/documents). The waveform generator code that includes Clause 18, Clause 19, and
     Clause 20 may be found in document 11-06/1715, and the waveform generator description may be found in
     document 11-06/1714 (HT code). A description of the waveform generator that includes Clause 18,
     Clause 20, and Clause 22 and the waveform generator code itself may be found in document 11-11/0517
     (VHT code).

     The purpose of these tools is to promote common understanding of complex PHY algorithms, facilitate
     device interoperability by providing reference test vectors, and assist researchers in industry and academia to
     develop next generation wireless solutions.

     The code is written in the MATLAB computing language and can be configured to generate test vectors for
     most PHY configurations, defined by this standard. Instructions on how to configure and run the tools are
     specified in the documentation files that are supplied with the code.referenced documents.

     A command line interface is used to configure the VHT code tool. For consistency with this standard, the
     configuration interface is made very similar to the TXVECTOR parameters defined in 22.2.2.

     A command line interface and graphic user interface (GUI) exist to configure the HT code tool. For
     consistency with this standard, the configuration interface is made very similar to the TXVECTOR
     parameters defined in 20.2.2. The waveform generator tool produces test vectors for all transmitter blocks,
     defined in Figure 20-2 and Figure 20-3, generating reference samples in both frequency and time domains.
     Outputs of the tool are time domain samples for all transmitting chains.


     S.4 Illustration of determination of NDP addresses


     and twice in Figure S-4).




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     Annex T
     (informative)

     Location and Time Difference accuracy test

     T.2 Time Difference of departure accuracy test

     Change the following list item and note after the fifth paragraph of T.2 as follows:

       l)    The Time Difference of Departure accuracy test is passed if both of the following conditions are
             met:
             1)    The RMS value of e is less than aTxPmdTxStartRMS when transmitting a non-VHT PPDU or
                   aTxPHYTxStartRMS when transmitting a VHT PPDU. and
             2)    aTxPmdTxStartRMS when transmitting a non-VHT PPDU or aTxPHYTxStartRMS when
                   transmitting         a      VHT         PPDU        is      less       than
                   TIME_OF_DEPARTURE_ACCURACY_TEST_THRESH, where the units of e,
                   aTxPmdTxStartRMS when transmitting a non-VHT PPDU or aTxPHYTxStartRMS when
                   transmitting a VHT PPDU, and TIME_OF_DEPARTURE_ACCURACY_TEST_THRESH
                   are properly accounted for.

                                                   time of departure measurement system is a free-running oscillator clocking
     (a) the digital-to-analog converter(s) used to transmit the packet, (b) a 32-bit continuously counting counter, and (c) a
     hardware finite state machine such that PMD_TXSTART.request causes a transition within the finite state machine that
     in turn causes frame transmission at the DACs a fixed number of cycles later; where the time of departure is recorded as
     the value of the counter at that transition minus aTxPmdTxStartRFDelay when transmitting a non-VHT PPDU or
     aTxPHYTxStartRFDelay when transmitting a VHT PPDU (using TIME_OF_DEPARTURE_ClockRate), where
     aTxPmdTxStartRFDelay or aTxPHYTxStartRFDelay can vary by channel. In this implementation, the principal source
     of time of departure error is short term oscillator imperfection (e.g., phase noise) and RF group delay variation across
     channels uncompensated by aTxPmdTxStartRFDelay when transmitting a non-VHT PPDU or aTxPHYTxStartRFDelay
     when transmitting a VHT PPDU.




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     Annex V
     (informative)

     Interworking with external networks

     V.2 Network discovery and selection

     V.2.4 Sales meeting

                                      time in list item b)3)] in V.2.4.




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     Annex W
     (informative)

     Mesh BSS operation

     W.1 Clarification of Mesh Data frame format


     remains unchanged) in W.1.

     Insert the following note below Figure W-1:

                                                  frames, and all other STAs have a maximum MSDU size of 2304 octets
     (see Table 8-13c).




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